     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 1 of 500



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11
                          FOR THE DISTRICT OF ARIZONA
12
13   Alvie Copeland Kiles,                       No. CV-17-04092-PHX-GMS
14                        Petitioner,
15   vs.                                         DEATH-PENALTY CASE
16   Charles L. Ryan, et al.,
17                        Respondents.
18
19
20                   PETITION FOR WRIT OF HABEAS CORPUS
21                                      28 U.S.C. § 2254
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28
      Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 2 of 500



1                                               Table of Contents
2
3 I.        INTRODUCTION ......................................................................................... 1
  II.       FACTUAL HISTORY .................................................................................. 1
4
  III.      STATE COURT PRESUMPTION OF CORRECTNESS ............................ 6
5
  IV.       PROCEDURAL STATUS OF CLAIMS AND EXHAUSTION ................. 7
6 V.        RIGHT TO AMEND ..................................................................................... 8
7 VI.       AEDPA IS UNCONSTITUTIONAL ............................................................ 9
8           A.     AEDPA unconstitutionally suspends the writ of habeas corpus. ........ 9
9           B.     AEDPA violates the separation-of-powers doctrine. ........................ 10
            C.     Conclusion. ........................................................................................ 11
10
     Claim One .............................................................................................................. 12
11   Representation at trial was so marred by conflicts, misrepresentations, and
12   procedural violations that Kiles was denied effective counsel and fair and
     reliable capital proceedings.................................................................................... 12
13          A.     Kiles received ineffective assistance of counsel from the start. ....... 12
14                 1.       Greg Clark’s appointment did not satisfy Arizona’s
15                          standards for appointment as capital defense counsel. ........... 13
                   2.       Clark failed to establish an attorney-client relationship with
16                          Kiles. ....................................................................................... 16
17                 3.       Clark’s lack of communication and deficient performance
                            compelled co-counsel to withdraw. ........................................ 22
18
                   4.       Clark blamed others for his irreparably fractured
19                          relationship with Kiles. ........................................................... 24
20                 5.       Kiles filed a Complaint in Special Action with the Arizona
                            Supreme Court requesting new counsel.................................. 28
21                 6.       After Kiles’s guilt-phase proceedings, Kiles continued to
                            request new counsel to represent him at the penalty phase. ... 30
22
                   7.       Co-counsel represented Kiles while under a conflict of
23                          interest. .................................................................................... 31
24                 8.       Counsel’s conflicts and deficient performance undermined
                            the defense team and mitigation work in preparation for
25                          Kiles’s penalty-phase proceedings.......................................... 35
26          B.     Lead counsel’s lack of qualifications and affirmative
                   misrepresentations of those qualifications deprived Kiles of his
27                 right to due process and qualified counsel. ....................................... 38
28
      Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 3 of 500



1                      1.  Lead counsel did not satisfy Arizona’s standards for
                           appointment as capital defense counsel, depriving Kiles of
2                          his due-process rights. ............................................................. 39
3                 2.       Lead counsel and co-counsel misrepresented Clark’s
                           qualifications to the court, denying the court the ability to
4                          protect Kiles’s due process rights. .......................................... 41
5          C.     Kiles’s counsel were ineffective due to a conflict of interest,
                  denying Kiles his right to competent and un-conflicted
6                 representation. ................................................................................... 43
7          D.     The irreparably fractured relationship between Kiles and Clark
                  adversely affected the representation Kiles received. ....................... 46
8
           E.     The contract structure under which Kiles’s counsel were
9                 appointed created a financial conflict of interest. ............................. 48
10         F.     The state post-conviction court’s decision that Kiles failed to state
                  a colorable claim for relief was unreasonable and does not bar
11                relief................................................................................................... 53
12         G.     Taken individually and together, these conflicts plaguing counsel,
                  following from an initial denial of a liberty interest, resulted in a
13                conviction and sentencing that cannot withstand constitutional
                  scrutiny. ............................................................................................. 54
14
     Claim Two.............................................................................................................. 55
15
     Counsel’s ineffective assistance in jury selection at the guilt-phase proceedings
16   deprived Kiles of his rights to counsel, a fair trial, an impartial jury, due
     process, and equal protection. ................................................................................ 55
17
           A.     A defendant has a Sixth Amendment right to the effective
18                assistance of counsel during voir dire. .............................................. 55
19         B.     Counsel were deficient in failing to adequately or meaningfully
                  question prospective jurors to ensure a fair and impartial jury,
20                thereby prejudicing Kiles. ................................................................. 57
21                1.       Counsel were deficient in failing to adequately screen
                           prospective jurors through questionnaires. ............................. 58
22                2.       Counsel were deficient in failing to question those
23                         prospective jurors who were biased in favor of the death
                           penalty. .................................................................................... 60
24                3.       Counsel were deficient in failing to question jurors who
25                         were likely biased due to past personal experiences. ............. 61
                  4.       Counsel were deficient in failing to question prospective
26                         jurors about their knowledge of Kiles’s previous
27                         conviction. ............................................................................... 64
                  5.       Counsel were deficient in failing to meaningfully question
28                         jurors about their exposure to Kiles’s case in the media. ....... 65


                                                                  ii
      Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 4 of 500



1             C. Counsel failed to challenge the denial of a fair cross-section of the
                 community in the venire. ................................................................... 67
2
           D.    Counsel failed to make a record as to the reasons underlying the
3                removal of many prospective jurors. ................................................. 68
4    Claim Three............................................................................................................ 69
5    Kiles was denied effective assistance of counsel at his guilt-phase proceedings
     because counsel failed to investigate, develop, and present critical evidence,
6    among other significant errors. .............................................................................. 69
7          A.    Background on guilt-phase proceedings. .......................................... 70
           B.    A defendant has a Sixth Amendment right to the effective
8                assistance of counsel at guilt-phase proceedings. ............................. 77
9          C.    Trial counsel were ineffective for failing because of their
                 constitutionally inadequate investigation to present a reasonable
10               defense for the death of Gunnel. ....................................................... 79
11               1.         Trial counsel performed deficiently by failing to conduct a
                            reasonable investigation; that performance resulted in them
12                          settling on a legally unsound and ill-considered guilt-phase
13                          strategy. ................................................................................... 80
                 2.         Had trial counsel conducted an adequate investigation,
14                          counsel would have been able to develop a persuasive
15                          defense strategy. ...................................................................... 90
                 3.         Trial counsel’s deficient performance prejudiced Kiles. ...... 107
16
           D.    Counsel were ineffective for failing to object to Kiles’s shackling.
17                ......................................................................................................... 112
18         E.    Counsel rendered ineffective assistance during the defense’s
                 opening statement. ........................................................................... 115
19
           F.    Counsel were ineffective for failing to effectively cross-examine
20               crucial State’s witnesses on matters relating to whether Gunnel’s
                 death was premeditated. .................................................................. 117
21
           G.    Counsel were ineffective for stipulating to the admission of
22               hearsay statements from Gunnel at the guilt-phase proceedings. ... 121
23         H.    Counsel were ineffective for failing to object to the worst of the
                 gruesome photographs repeatedly displayed at trial. ...................... 123
24         I.    Counsel rendered ineffective assistance by failing to request
25               critical jury instructions. .................................................................. 125
           J.    Counsel provided ineffective assistance when they failed to object
26               to numerous aspects of the State’s closing argument. .................... 129
27         K.    Counsel also rendered ineffective assistance in failing to ensure
                 that a record was made of key parts of the guilt-phase
28               proceedings...................................................................................... 134


                                                                 iii
      Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 5 of 500



1             L.   Counsel’s numerous errors, individually and cumulatively,
                   undermined the reliability of Kiles’s guilt-phase proceedings. ...... 135
2
            M. The state post-conviction court’s decision that Kiles failed to state
3                  a colorable claim is no bar to this Court’s de novo review of this
                   claim. ............................................................................................... 136
4
            N.     Conclusion. ...................................................................................... 140
5
     Claim Four ........................................................................................................... 140
6    Kiles’s counsel’s ineffective assistance in jury selection at the penalty phase
7    of trial deprived Kiles of his rights to counsel, a fair trial, an impartial jury,
     reliable sentencing proceedings, due process, and equal protection. .................. 140
8           A.     Despite having won the right to question prospective jurors on
9                  specific types of mitigation, counsel failed to do so, thereby
                   prejudicing Kiles. ............................................................................ 143
10          B.     Counsel deficiently failed to question a number of seated jurors
11                 about their pro-death sentence biases, thereby prejudicing Kiles. .. 147
            C.     Counsel deficiently altogether failed to question eight seated
12                 jurors, thereby prejudicing Kiles. .................................................... 148
13          D.     Counsel failed to question adequately and to challenge for cause
                   jurors who should have been disqualified for cause. ...................... 150
14
            E.     Counsel failed to rehabilitate prospective jurors who expressed
15                 discomfort with the death penalty but who still could have
                   properly served. ............................................................................... 152
16
            F.     Counsel failed to challenge the prosecutor’s discriminatory use of
17                 peremptory strikes to exclude an African-American prospective
18                 juror. ................................................................................................ 155
            G.     Counsel failed to challenge the denial of a fair cross-section of the
19                 community in the venire. ................................................................. 158
20          H.     Counsel failed to make a record as to the reasons underlying the
                   removal of many prospective jurors. ............................................... 159
21
     Claim Five ............................................................................................................ 160
22   Kiles was denied effective assistance of counsel at his aggravation-phase
23   proceedings because counsel failed to adequately challenge the alleged
     aggravating circumstances and otherwise defend against a death sentence. ....... 160
24          A.     Background on aggravation-phase proceedings. ............................ 160
25          B.     Trial counsel has a duty to make every effort to avoid a death
26                 sentence, including by investigating and contesting the
                   aggravating circumstances alleged against Kiles. ........................... 166
27
28



                                                                  iv
      Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 6 of 500



1             C.  Counsel were ineffective for failing to effectively challenge the
                  (F)(2) aggravating circumstance, especially as Kiles’s prior
2                 aggravated assault conviction was an invalid basis for that
3                 circumstance. ................................................................................... 167
                  1.         Kiles’s 1986 conviction for aggravated assault does not
4                            qualify as a prior violent felony for the purposes of the
5                            (F)(2) aggravator. .................................................................. 168
                  2.         Counsel performed deficiently and prejudiced Kiles in
6                            failing to challenge the 1986 conviction as a basis for the
7                            (F)(2) aggravator. .................................................................. 172
           D.     Counsel were ineffective for failing to investigate and adequately
8                 challenge the (F)(6) “especially heinous, cruel or depraved”
9                 aggravating circumstance. ............................................................... 175
                  1.         Counsel unreasonably failed to investigate in preparation
10                           for a challenge to “cruelty” for the purposes of the (F)(6)
11                           aggravating circumstance...................................................... 176
                  2.         Because of the insufficient investigation and lack of
12                           preparation, counsel failed to mount an adequate challenge
13                           to the (F)(6) aggravator, thereby prejudicing Kiles. ............. 181
           E.     Counsel performed deficiently and prejudiced Kiles by failing to
14                frontload mitigation at the aggravation phase. ................................ 184
15         F.     Counsel were ineffective for failing to properly object to Kiles’s
                  restraints. ......................................................................................... 187
16
           G.     Counsel were ineffective for failing to object to, or to request a
17                curative instruction for, the prosecutor’s misconduct in opening
                  and closing statements. .................................................................... 189
18
           H.     Counsel were ineffective for failing to object to the trial court’s
19                erroneous instruction defining reasonable doubt. ........................... 192
20         I.     Counsel were ineffective for failing to ensure that a complete
                  record was made of aggravation-phase proceedings....................... 192
21
           J.     Counsel’s numerous errors, individually and cumulatively,
22                undermined the reliability of Kiles’s aggravation phase. ............... 193
23         K.     The state post-conviction court’s decision that Kiles did not state
                  a colorable claim is no bar to this Court’s de novo review of this
24                claim. ............................................................................................... 194
25         L.     Conclusion. ...................................................................................... 196
26   Claim Six.............................................................................................................. 196
     Kiles was denied effective assistance of counsel at his mitigation phase when
27   his counsel failed to investigate and present powerful mitigating evidence,
28   among other significant errors. ............................................................................ 196



                                                                  v
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 7 of 500



1        A.    A capital defendant must receive an individualized sentencing
               after a full and fair consideration by the jury. ................................. 196
2
         B.    Kiles’s personal history. .................................................................. 197
3        C.    A defendant’s right to a full mitigation investigation and
4              presentation necessitates effective counsel at the mitigation phase
               of trial. ............................................................................................. 210
5
         D.    Lead counsel’s derogation of his duties and the resulting team
6              dysfunction led to a deficient mitigation investigation and
               inadequate presentation. .................................................................. 212
7
               1.      Lead counsel did not assist in the mitigation-phase
8                      investigation, leaving Kiles with one attorney in violation
                       of prevailing professional norms. ......................................... 212
9
               2.      Counsel failed to request a mitigation specialist or to begin
10                     a mitigation investigation upon appointment. ...................... 213
11             3.      Counsel’s failure to be involved in the investigation and the
                       subsequent resignation of the mitigation specialist resulted
12                     in a disjointed mitigation investigation................................. 214
13       E.    Trial counsel were ineffective for failing to reasonably
               investigate, develop, and present important mitigation evidence. .. 219
14             1.      Counsel failed to properly investigate, develop, and present
15                     mitigation evidence pertaining to lay witnesses. .................. 220
               2.      Counsel failed to retain the necessary experts to properly
16                     investigate and explain several avenues of mitigation. ........ 232
17             3.      Counsel performed deficiently in failing to provide the
                       experts she did retain with complete and accurate
18                     information. ........................................................................... 240
19             4.      Counsel’s unreasonable investigation and failure to provide
                       experts with critical information resulted in the jury hearing
20                     a constitutionally inadequate mitigation presentation. ......... 249
21             5.      Counsel provided ineffective assistance in failing to
                       adequately investigate and address the State’s evidence and
22                     arguments in mitigation rebuttal. .......................................... 256
23             6.      Counsel’s mitigation-phase closing argument constituted
                       deficient performance that prejudiced Kiles. ........................ 264
24             7.      Counsel provided ineffective assistance when she failed to
25                     object to numerous aspects of the State’s closing argument.
                       ............................................................................................... 267
26             8.      Counsel’s deficient performance at the mitigation phase
27                     prejudiced Kiles. ................................................................... 270
28



                                                          vi
      Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 8 of 500



1             F.  Counsel provided ineffective assistance in failing to request a
                  special verdict form listing which mitigating circumstances the
2                 jury found proven. ........................................................................... 273
3           G.    Counsel were ineffective in failing to object to juror
                  questionnaires and jury instructions that primed the jury to find
4                 that death was the appropriate sentence. ......................................... 274
5           H.    The cumulative effect of trial counsel’s many instances of
                  deficient performance deprived Kiles of his right to counsel at the
6                 mitigation phase and resulted in an unreliable sentencing
7                 proceeding. ...................................................................................... 277
            I.    The state post-conviction court’s decision that Kiles did not state
8                 a colorable claim is no bar to this Court’s de novo review of this
9                 claim. ............................................................................................... 278
            J.    Conclusion ....................................................................................... 281
10
     Claim Seven ......................................................................................................... 281
11
     The trial court’s numerous errors during the guilt phase of trial violated Kiles’s
12   constitutional rights. ............................................................................................. 281
13          A.    The trial court erred by not appointing qualified, un-conflicted
                  counsel, violating Kiles’s rights under the Sixth and Fourteenth
14                Amendments.................................................................................... 281
15                1.       The trial court erred by failing to conduct an appropriate
                           inquiry into counsel’s conflicts. ............................................ 281
16                2.       The trial court erred by failing to appoint qualified,
17                         un-conflicted counsel. ........................................................... 283
            B.    The trial court denied Kiles a fair trial by denying his motion for
18                a change of venue. ........................................................................... 284
19                1.       Kiles’s trial was marked by pervasive, prejudicial media
                           coverage. ............................................................................... 285
20
                  2.       Clearly established federal law required a change of venue
21                         to ensure Kiles’s due process rights...................................... 286
22                3.       As the media attention prevented Kiles from receiving a
                           fair trial, the trial court erred in denying the motion for
23                         change of venue. ................................................................... 287
24          C.    The trial court erred by not dismissing the venire after a highly
                  prejudicial statement poisoned the jury pool. ................................. 289
25
                  1.       A prospective juror disclosed highly prejudicial
26                         information before the venire. .............................................. 289
27                2.       The trial court erred by failing to grant the motion to
                           dismiss the venire. ................................................................. 290
28



                                                                vii
      Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 9 of 500



1             D.  The trial court’s admission of an excessively gruesome
                  photograph during Kiles’s trial resulted in the denial of a fair trial
2                 and due process. .............................................................................. 292
3                 1.         The trial court failed to exclude an irrelevant and gruesome
                             autopsy photograph during the guilt-phase proceedings. ..... 292
4
                  2.         The trial court’s admission of an excessively gruesome
5                            photograph to the jury was violative of due process and
                             undermined the fairness of the proceedings. ........................ 293
6
           E.     The trial court declined to give the jury instructions to which Kiles
7                 was constitutionally entitled. ........................................................... 294
8                 1.         The trial court erred in failing to instruct the jury that
                             premeditation requires actual reflection. .............................. 295
9                 2.         The trial court erred in denying Kiles an intoxication
10                           defense, which he was constitutionally entitled to present. .. 296
                  3.         The trial court erred in improperly instructing the jury on
11                           the definition of “reasonable doubt.” .................................... 299
12         F.     The trial court unconstitutionally required that Kiles be physically
                  restrained at the guilt phase. ............................................................ 300
13
           G.     The trial court failed to make a complete record of the guilt-phase
14                proceeding in violation of Kiles’s constitutional rights. ................. 302
15         H.     The trial court violated Kiles’s right to be free from double
                  jeopardy and a reliable sentencing determination. .......................... 303
16
           I.     The cumulative effect of these trial-court errors prejudiced Kiles.
17                 ......................................................................................................... 304
18   Claim Eight .......................................................................................................... 305
     The trial court’s numerous errors during the penalty phase of trial violated
19   Kiles’s constitutional rights. ................................................................................ 305
20         A.     The trial court unconstitutionally required that Kiles be physically
21                restrained at the penalty phase. ....................................................... 306
           B.     The trial court violated Kiles’s constitutional rights during his
22                penalty-phase voir dire. ................................................................... 308
23                1.         The trial court should not have struck Prospective Juror 56
                             based on her views of the death penalty, as she evidenced
24                           her ability to be fair and impartial. ....................................... 308
25                2.         The trial court should have struck Prospective Jurors 78 and
                             82 for cause based on their views of the death penalty. ....... 310
26
                  3.         The trial court erred in permitting statements in voir dire
27                           and on the juror questionnaire that implied that, if
                             sentenced to life in prison, Kiles would be eligible for
28                           parole in 25 years. ................................................................. 312


                                                                 viii
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 10 of 500



1             C. The trial court erred in denying defense counsel’s motion for a
                 directed verdict on the “especially heinous, cruel or depraved”
2                aggravating circumstance. ............................................................... 314
3          D.    The trial court erred in not striking the (F)(8) aggravator as
                 unconstitutionally vague. ................................................................ 316
4
           E.    The trial court denied Kiles’s due-process rights by admitting a
5                gruesome and unduly prejudicial photograph. ................................ 317
6          F.    The trial court unconstitutionally permitted the victims’ attorney
                 to file pleadings, including a requested jury instruction. ................ 318
7
           G.    The trial court unconstitutionally permitted the introduction of
8                victim-impact evidence. .................................................................. 318
9          H.    The trial court unconstitutionally permitted the State to ask
                 witnesses at trial about statements contained in the reports of
10               experts who testified at the first trial but not at the second trial, in
                 violation of Kiles’s rights. ............................................................... 321
11
           I.    The trial court unconstitutionally failed to provide the jury with a
12               special verdict form listing the specific mitigating factors they
                 found proven, violating Kiles’s rights............................................. 323
13
           J.    The trial court unconstitutionally failed to make a complete record
14               at trial, in violation of Kiles’s rights. .............................................. 325
15         K.    The cumulative effect of these trial-court errors prejudiced Kiles.
                  ......................................................................................................... 326
16   Claim Nine ........................................................................................................... 326
17   Kiles was deprived of his right to due process and a fair trial because the
18   prosecutor engaged in pervasive misconduct. ..................................................... 326
           A.    The prosecutor committed misconduct in the guilt-phase
19               proceedings...................................................................................... 328
20               1.         The prosecutor repeatedly mischaracterized testimony,
                            made speculative arguments, and used inflammatory
21                          language in its guilt-phase opening and closing. .................. 329
22               2.         The prosecutor mischaracterized the scientific evidence
                            during the guilt phase. ........................................................... 331
23
                 3.         The prosecutor improperly testified on the record during
24                          the guilt phase. ...................................................................... 332
25               4.         The prosecutor failed to disclose information on one of its
                            witnesses. .............................................................................. 333
26               5.         The prosecutor improperly dehumanized the defendant in
27                          the guilt-phase closing. ......................................................... 333
           B.    The prosecutor committed further misconduct in the penalty-
28               phase proceedings. .......................................................................... 335


                                                                 ix
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 11 of 500



1                       1.   The prosecutor improperly struck a juror on the basis of
                             race during voir dire. ............................................................. 335
2
                  2.         The prosecutor improperly vouched for witnesses and
3                            evidence. ............................................................................... 336
4                 3.         The prosecutor continued to advance an unsupported
                             theory of the crime through improper questioning of expert
5                            witnesses. .............................................................................. 337
6                 4.         The prosecutor used inflammatory language to influence
                             the jury. ................................................................................. 339
7                 5.         The prosecutor’s theory of the crime was not reasonably
8                            inferred from the evidence. ................................................... 339
           C.     The prosecutor’s performance rendered the trial fundamentally
9                 unfair and violated Kiles’s substantive rights. ................................ 340
10   Claim Ten ............................................................................................................. 341
11   Juror misconduct at Kiles’s guilt- and penalty-phase proceedings deprived
     Kiles of his rights to a fair and impartial jury, the assistance of counsel,
12   confrontation, equal protection, and a fair trial. .................................................. 341
13         A.     Jurors considered extraneous evidence at Kiles’s guilt-phase
                  proceedings...................................................................................... 344
14
           B.     Jurors committed misconduct in multiple ways at Kiles’s penalty-
15                phase proceeding. ............................................................................ 345
16                1.         Jurors’ deliberations were informed by extraneous
                             influences. ............................................................................. 345
17                2.         Jurors slept through the proceedings. ................................... 347
18                3.         Jurors improperly considered extraneous and incorrect
                             information about race and criminality during their
19                           deliberations. ......................................................................... 349
20                4.         Jurors curtailed their deliberations or compromised their
                             votes because one member of the jury was gravely ill. ........ 351
21
           C.     Juror misconduct throughout the course of proceedings violated
22                Kiles’s right to due process and a fair trial. .................................... 352
23   Claim Eleven ........................................................................................................ 353
     Kiles’s appellate counsel failed to provide effective assistance. ......................... 353
24
           A.     Appellate counsel focused his efforts on a claim that was not
25                cognizable on appeal. ...................................................................... 355
26         B.     Appellate counsel was ineffective for failing to raise meritorious
                  claims............................................................................................... 358
27
                  1.         Appellate counsel failed to challenge the child-abuse
28                           convictions. ........................................................................... 358



                                                                  x
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 12 of 500



1                      2. Appellate counsel failed to challenge the trial court’s denial
                          of a mistrial due to prosecutorial misconduct. ...................... 361
2
                  3.      Appellate counsel failed to adequately brief his challenge
3                         to the improperly admitted gruesome photographs. ............. 364
4                 4.      Appellate counsel failed to challenge the trial court’s error
                          in allowing the State to question statements made to
5                         defense experts in a prior trial............................................... 365
6                 5.      Appellate counsel failed to present an argument for
                          leniency on independent review by the Arizona Supreme
7                         Court...................................................................................... 366
8                 6.      Appellate counsel failed to adequately challenge the (F)(2)
                          aggravating circumstance...................................................... 367
9                 7.      Appellate counsel failed to challenge Kiles’s shackling
10                        during his proceedings. ......................................................... 368
            C.    Conclusion. ...................................................................................... 368
11
     Claim Twelve ....................................................................................................... 369
12   The Arizona Supreme Court’s decision affirming Kiles’s death sentence
13   violated Kiles’s constitutional rights. .................................................................. 369
14          A.    The Arizona Supreme Court violated Kiles’s due process rights
                  in its review of the prior-conviction aggravating circumstance...... 371
15                1.      The Arizona Supreme Court denied Kiles his right to due
16                        process in upholding the prior-conviction aggravating
                          circumstance.......................................................................... 371
17                2.      The Arizona Supreme Court violated Kiles’s rights by
18                        summarily determining that the invalidation of one prior
                          conviction was immaterial. ................................................... 374
19          B.    The Arizona Supreme Court denied Kiles meaningful appellate
20                review when it arbitrarily upheld the (F)(6) aggravating factor. .... 376
            C.    The Arizona Supreme Court denied meaningful appellate review
21                by inflating the weight of the (F)(8) aggravating circumstance. .... 381
22          D.    The Arizona Supreme Court denied Kiles his constitutionally
                  protected right to meaningful independent review when it ignored
23                many of his mitigating factors and mischaracterized others. .......... 383
24          E.    The Arizona Supreme Court’s decision denied Kiles meaningful
                  appellate review by irrationally discounting and failing to give
25                effect to the mitigating circumstances it did acknowledge. ............ 384
26          F.    The Arizona Supreme Court’s individual and cumulative errors
                  deprived Kiles of his constitutional rights. ..................................... 387
27
            G.    This Court may review this claim de novo. .................................... 388
28
     Claim Thirteen ..................................................................................................... 388


                                                                xi
       Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 13 of 500



 1 Kiles’s jury-imposed death sentence unconstitutionally relied upon two invalid
   prior convictions. ................................................................................................. 388
 2
   Claim Fourteen..................................................................................................... 391
 3 Kiles’s second state post-conviction counsel were constitutionally ineffective. 391
 4        A.     Post-conviction counsel were ineffective........................................ 393
 5               1.      Post-conviction counsel failed to adequately raise claims. .. 393
 6               2.      Post-conviction counsel failed to adequately develop
                         mitigation evidence with both lay and expert witnesses. ..... 394
 7               3.      Post-conviction counsel failed to file a reply. ...................... 399
 8        B.     Post-conviction counsel’s ineffectiveness excuses any procedural
                 default of claims raised throughout this Petition. ........................... 400
 9
          C.     Post-conviction counsel’s ineffectiveness entitles Kiles to relief. .. 403
10
   Claim Fifteen........................................................................................................ 405
11 Trial counsel was ineffective for failing to file a motion to remand because of
12 errors rendering the grand-jury proceedings unconstitutional. ............................ 405
          A.     Counsel planned to file a motion to remand to address
13               improprieties with the grand-jury session and the resulting
14               indictment. ....................................................................................... 407
          B.     Counsel was deficient in failing to file a motion to remand based
15               on the fact that a grand juror had prior knowledge of the facts of
16               the crime. ......................................................................................... 408
          C.     Counsel was deficient in failing to file a motion to remand based
17               on the fact that the State knew that Imojean Kiles was an
18               incompetent witness during her grand-jury testimony.................... 410
          D.     Counsel was ineffective for failing to file a motion to remand
19               because Kiles was denied his right to a grand jury free from
20               discrimination. ................................................................................. 411
          E.     Conclusion. ...................................................................................... 414
21
   Claim Sixteen ....................................................................................................... 415
22
   Counsel were ineffective for failing to ensure that critical portions of the record
23 were preserved and recorded. .............................................................................. 415
24        A.     Trial counsel failed to preserve evidence needed for proper
                 consideration of Kiles’s claims on appeal....................................... 416
25               1.      Trial counsel denied Kiles’s right to be present at
26                       unrecorded proceedings. ....................................................... 416
                 2.      Trial counsel failed to record and retain evidence during
27                       voir dire. ................................................................................ 417
28



                                                                xii
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 14 of 500



1                      3. Trial counsel failed to ensure bench conferences were on
                          the record............................................................................... 418
2
                   4.     Trial counsel failed to ensure conferences on jury
3                         instructions were on the record. ............................................ 419
4           B.     Counsel’s ineffectiveness for failing to ensure a complete record
                   violated Kiles’s rights...................................................................... 420
5    Claim Seventeen .................................................................................................. 422
6    Capital punishment is per se cruel and unusual. .................................................. 422
7    Claim Eighteen..................................................................................................... 425
8    Arizona’s death-penalty statute unconstitutionally serves no deterrent purpose,
     exceeds any legitimate retributive aim, is without penological justification, and
9    results in the gratuitous infliction of suffering. ................................................... 425
10   Claim Nineteen .................................................................................................... 428
     Arizona’s capital-sentencing scheme unconstitutionally does not genuinely
11   narrow the murder cases eligible for the death penalty and fails to channel the
12   discretion of the sentencing jury. ......................................................................... 428
13   Claim Twenty....................................................................................................... 432
     Arizona’s capital-sentencing scheme unconstitutionally affords the prosecutor
14   unlimited discretion to seek the death penalty. .................................................... 432
15   Claim Twenty-One............................................................................................... 433
16   Arizona’s capital-sentencing scheme is unconstitutional because it does not
     require the State to prove, or the jury to find beyond a reasonable doubt, that
17   the aggravating factors outweighed the mitigating circumstances. ..................... 433
18          A.     The trial court’s penalty-phase instructional error regarding the
                   burden and standard of proof, derived from Arizona’s
19                 unconstitutional statute, violated Kiles’s rights under clearly
                   established precedent....................................................................... 434
20
            B.     If Hurst instead announced a new rule of constitutional law, it is
21                 retroactive to cases on collateral review. ........................................ 437
22          C.     Conclusion ....................................................................................... 438
23   Claim Twenty-Two .............................................................................................. 439
     Arizona’s capital-sentencing scheme unconstitutionally requires a defendant
24   to affirmatively prove that the jury should spare his life. .................................... 439
25   Claim Twenty-Three ............................................................................................ 440
26   Arizona’s capital-sentencing scheme unconstitutionally fails to require the
     cumulative consideration of mitigation. .............................................................. 440
27
     Claim Twenty-Four .............................................................................................. 442
28



                                                               xiii
        Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 15 of 500



 1 Arizona’s death-penalty statute is unconstitutional because it fails to require
   the jury to make specific findings as to each mitigating circumstance. .............. 442
 2
   Claim Twenty-Five .............................................................................................. 444
 3 Arizona’s capital-sentencing scheme unconstitutionally limits the jury’s full
 4 consideration of mitigation by requiring that mitigating circumstances be
   proven by a preponderance of the evidence......................................................... 444
 5
   Claim Twenty-Six ................................................................................................ 445
 6 Arizona’s capital-sentencing scheme unconstitutionally fails to set forth
 7 objective standards to guide the sentencer in weighing the aggravating
   circumstances against the mitigating circumstances. .......................................... 445
 8 Claim Twenty-Seven ........................................................................................... 446
 9 Arizona’s capital-sentencing scheme unconstitutionally denies capital
   defendants the benefit of proportionality review of their sentences.................... 446
10
   Claim Twenty-Eight............................................................................................. 447
11
   Arizona’s capital-sentencing scheme unconstitutionally discriminates against
12 poor, young, African-American male defendants................................................ 447
13 Claim Twenty-Nine ............................................................................................. 450
   The death qualification of Kiles’s guilt- and penalty-phase juries was
14 unconstitutional. ................................................................................................... 450
15 Claim Thirty ......................................................................................................... 453
16 The “especially heinous, cruel or depraved” aggravating circumstance is
   unconstitutionally vague. ..................................................................................... 453
17
   Claim Thirty-One ................................................................................................. 457
18 Arizona’s prior felony conviction aggravating circumstance is
19 unconstitutionally vague. ..................................................................................... 457
   Claim Thirty-Two ................................................................................................ 459
20
   Kiles is innocent of first-degree murder and of the death penalty....................... 459
21 Claim Thirty-Three .............................................................................................. 461
22 Kiles’s death sentence constitutes an impermissible violation of the Ex Post
23 Facto Clause. ........................................................................................................ 461
   Claim Thirty-Four ................................................................................................ 463
24
   Executing Kiles after more than 28 years on death row violates the Eighth and
25 Fourteenth Amendments. ..................................................................................... 463
26 Claim Thirty-Five ................................................................................................ 467
27 Due  process requires that this Court re-evaluate Kiles’s death sentence in light
   of the significant changes to Kiles’s circumstances in the 12 years since he was
28 sentenced. ............................................................................................................. 467



                                                                 xiv
       Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 16 of 500



 1 Claim Thirty-Six .................................................................................................. 470
 2 Executing Kiles is unconstitutional because he has a serious mental illness. ..... 470
 3 Claim Thirty-Seven .............................................................................................. 474
   Subjecting Kiles to execution in Arizona will deny his fundamental human
 4 rights under binding international law norms. ..................................................... 474
 5 Claim Thirty-Eight ............................................................................................... 479
 6 Kiles will be unable to receive a fair clemency process in Arizona. ................... 479
   Claim Thirty-Nine ................................................................................................ 480
 7
   Kiles’s convictions and sentences must be vacated because of the cumulative
 8 prejudicial effect of all of the errors in this case. ................................................ 480
 9 PRAYER FOR RELIEF ...................................................................................... 482
10 Certificate of Service ........................................................................................... 484
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                               xv
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 17 of 500



 1 I.      INTRODUCTION
 2         Pursuant to 28 U.S.C. § 2254, Alvie Copeland Kiles respectfully petitions
 3 this Court for a writ of habeas corpus. He is currently in the custody of Respondents,
 4 who are detaining him pursuant to judgments and sentences of the Arizona state
 5 courts. In 2000, Kiles was convicted of three counts of first-degree murder and two
 6 counts of child abuse. He was subsequently sentenced to death for the first-degree
 7 murder of Valerie Gunnel and to life imprisonment on each of the remaining counts.
 8 Through this Petition, Kiles challenges his first-degree murder conviction and death
 9 sentence for the death of Valerie Gunnel and his convictions and sentences on the
10 child-abuse counts, as these convictions and sentences were obtained in violation
11 of his rights under the Constitution, laws, and treaties of the United States. He
12 requests that this Court grant a writ of habeas corpus and any other appropriate
13 relief from these unconstitutional convictions and sentences.1
14 II.     FACTUAL HISTORY
15         In February 1989, Alvie Kiles was living with his girlfriend, Valerie Gunnel,
16 and her two daughters, five-year-old Shemaeah Gunnel and nine-month-old
17 LeCresha Kirklin. (Tr. July 17, 2000 at 152; Tr. July 12, 2000 at 5–6, 32.)2 The four
18
   1
     While Kiles maintains that he is factually innocent of the crimes underlying his
19 first-degree murder convictions for the deaths of Shemaeah Gunnel and LeCresha
20 Kirklin, he recognizes the risk in seeking relief from those convictions—
   convictions for which he was not sentenced to death—and therefore declines at
21 present to do so.
   2
22 When counsel is referring to the state-court record, transcripts are designated “Tr.”
   followed by the relevant date and page number. Indexed documents from Case No.
23 CR89-15444 supplied by the Arizona Supreme Court as part of the record on appeal
   are designated “ROA,” followed by the docket number. If the indexed document
24 appears only in Case No. CR89-15577, the document is designated “CR89-15577
   ROA,” followed by the docket number. Exhibits from the 1989 trial, the 1990
25 sentencing proceeding, the 2000 guilt phase, and 2006 penalty phase are designated,
26 respectively, “1989 State [or Def.] Trial Ex.,” “1990 State [or Def.] Trial Ex.,”
   “2000 Trial Ex.,” and “2006 Trial Ex.,” followed by the exhibit number. Direct
27 appeal documents from Case No. CR-90-0106-AP supplied by the Arizona
   Supreme Court are designated “DA1,” followed by the docket number. Direct
28 appeal documents from Case No. CR-06-0240-AP supplied by the Arizona
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 18 of 500



 1 of them were staying at Gunnel’s apartment in a complex on South First Avenue in
 2 Yuma, Arizona. (Tr. July 17, 2000 at 152; Tr. July 12, 2000 at 5–6, 32.) On
 3 February 9, 1989, Gunnel visited Kiles’s mother, Imojean Kiles, at her workplace;
 4 Gunnel claimed that Kiles had stolen her food stamps and that she had no money to
 5 feed her children. (Tr. July 11, 2000 at 32.) Kiles later testified that he and Gunnel
 6 devised a plan for him to sell the food stamps to get dope for them to use together.
 7 (Tr. July 17, 2000 at 155–56.) Imojean gave Gunnel twenty dollars to buy food and
 8 told Gunnel to “leave little Alvie alone.” (Tr. July 17, 2000 at 145–46.)
 9         At some point during the night of February 9, 1989, or early the following
10 morning, Gunnel and her children were killed. Kiles later testified that he had an
11 argument with Gunnel; she had slapped him once, and when she slapped him a
12 second time, he grabbed a tire jack that was on the ground and killed her. (Tr. July
13 17, 2000 at 164–65.) Kiles testified that the argument began when he returned home
14 intoxicated with drugs and alcohol, having used all of the drugs that he had acquired
15 for him and Gunnel to use together. (Tr. July 17, 2000 at 157–58.)
16         He disclaimed responsibility for the deaths of Shemaeah and LeCresha,
17 testifying that he saw his friend Kale Johnson swinging the jack at the children
18 while they were on a bed. (Tr. July 17, 2000 at 170.) Kiles further testified that
19 Johnson and another friend took Kiles’s car to dispose of the children’s bodies,
20 while Kiles remained in the apartment to try to clean up the crime scene. (Tr. July
21
22 Supreme Court are designated “DA2,” followed by the docket number. Documents
   from the first and second state post-conviction proceedings are also designated
23 “ROA,” followed by the docket number. Exhibits to the first post-conviction
   petition are labeled “ROA 225 Ex.,” followed by the exhibit number. Exhibits from
24 the second post-conviction petition are labeled “PFR2,” with the appropriate docket
   and exhibit number, as these exhibits were re-filed during the second petition for
25 review proceedings before the Arizona Supreme Court. Documents from the 1996
26 and 1997 petition for review proceedings are labeled “PFR1,” followed by the
   docket number. Documents from the petition for review proceedings under Case
27 No. CR-16-0072 are designated “PFR2,” followed by the docket number. Special
   Action documents are designated by the case number, name of pleading, date, and
28 page number.
                                               2
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 19 of 500



 1 17, 2000 at 172–73.)
 2         Around 9:00 a.m. on February 10, 1989, Kiles knocked on the door of the
 3 home of his brother-in-law, Larry Hawkins. (Tr. July 13, 2000 at 5–7.) As Hawkins
 4 had just finished a 24-hour shift at work, he declined to answer the door, but he did
 5 notice that Kiles had driven over in Gunnel’s car. (Tr. July 13, 2000 at 6–7.) Kale
 6 Johnson, who later claimed to have nothing to do with the killings, said that he
 7 encountered Kiles, who was seated in Gunnel’s car, at Carver Park on the afternoon
 8 of February 10, 1989. (Tr. July 14, 2000 at 74–75, 128–29.) There, according to
 9 Johnson’s testimony, Kiles confessed, “I killed Valerie.” (Tr. July 14, 2000 at 76–
10 77.) Johnson then accompanied Kiles to Gunnel’s apartment, where Johnson
11 observed “Valerie lying on the floor.” (Tr. July 14, 2000 at 79–82.) Johnson
12 testified that he only entered Gunnel’s apartment, inspected her body, and then left
13 (Tr. July 14, 2000 at 130), but he was later discovered with blood on his Converse
14 shoes, clothing, and hands (Tr. July 14, 2000 at 132–33; Tr. July 17, 2000 at 78).
15 Johnson admitted that he may have wiped his hands on his pants and the inside
16 frame of Gunnel’s apartment door after getting blood on them. (Tr. July 14, 2000
17 at 134–35; Tr. July 17, 2000 at 35; PFR2 Dkt. 20 Ex. 1 at 7.)
18         On the evening of February 10, 1989, Kiles returned to Larry Hawkins’s
19 house with Johnson. (Tr. July 13, 2000 at 9–10; Tr. July 14, 2000 at 91–92.)
20 According to Hawkins, Kiles informed him that he had “killed Valerie and possibly
21 her children too.” (Tr. July 13, 2000 at 12.) Hawkins asked Kiles, “Why the
22 children?” and said that Kiles that it was because they had seen him. (Tr. July 13,
23 2000 at 13). Hawkins testified that Kiles was high when he arrived at Hawkins’s
24 apartment and that he was still doing cocaine at Hawkins’s apartment when he
25 shared this information. (Tr. Mar. 22, 2006 at 47–48, 69.) Hawkins described Kiles
26 as “not himself. He had a crazed look in his eyes, and was rambling and, at times,
27 incoherent. . . . He was acting really crazy and paranoid.” (ROA 225 Ex. 38 at 2–3;
28 Tr. Mar. 22, 2006 at 66–67.) Four or five days later, Hawkins authored a letter to
                                              3
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 20 of 500



 1 Silent Witness, Yuma’s anonymous tip line, to provide information to authorities
 2 to help fill in the missing pieces of evidence from what he had heard on the radio,
 3 on the news, and from others. (Tr. July 13, 2000 at 16–18, 59; Tr. Mar. 22, 2006 at
 4 62–63.) Even so, Hawkins later acknowledged, “I don’t know that anything [Kiles]
 5 told me that day was accurate.” (ROA 225 Ex. 38 at 2–3.)
 6         Kiles and Johnson also went to Imojean Kiles’s work place on the evening
 7 of February 10, 1989. (Tr. July 11, 2000 at 28–29.) Kiles told Imojean that he had
 8 killed someone, and he went on to say that he had killed Gunnel. (Tr. July 11, 2000
 9 at 30–31.) Imojean stated that Kiles said that the children were “taken care of” as
10 well. (Tr. Feb. 21, 1989 at 57–58.) She denied, though, that Kiles told her he had
11 killed the children. (Tr. July 11, 2000 at 31, 44.) Imojean described Kiles as
12 nervous; he seemed like he was on some kind of drug. (Tr. Feb. 21, 1989 at 59.)
13         In the early morning of February 11, 1989, lead investigator Detective Brian
14 Rodgers of the Yuma Police Department arrived at Gunnel’s apartment and
15 requested assistance from Detective Cynthia Anderson. (Tr. July 11, 2000 at 140.)
16 The apartment was in disarray, with cartons of eggs on the kitchen floor, smeared
17 blood stains, furniture overturned, and a body that was later identified as that of
18 Gunnel. (Tr. July 11, 2000 at 143–44.) The living room had a pool of blood on the
19 carpet under an overturned ottoman, which was later confirmed through DNA
20 testing to be Gunnel’s blood. (Tr. July 17, 2000 at 8–9.) There was also blood on a
21 soft-back chair. (Tr. July 17, 2000 at 9–10.) A ratchet mechanism for a car jack,
22 which had Gunnel’s blood and hair on it, was found in the east bedroom under a
23 pillow with blood. (Tr. July 11, 2000 at 170–71; Tr. July 17, 2000 at 26.) The
24 bathroom had blood smears on the floor, smelled like cleanser, and contained a pile
25 of bloody towels. (Tr. July 11, 2000 at 144.)
26         Police found shoe impressions, Converse, Adidas-style, and “running Ws,”
27 throughout and around the apartment. (Tr. July 11, 2000 at 158–60; Tr. July 12,
28 2000 at 48–49; Tr. July 17, 2000 at 19–23.) The police also identified Converse and
                                              4
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 21 of 500



 1 Adidas-style shoe impressions close to Gunnel’s vehicle, which was recovered near
 2 Carver Park. (Tr. July 12, 2000 at 48–52.) Rodgers testified that he saw Converse
 3 shoe impressions in the sand where the children’s bodies were potentially put into
 4 the river, but that he failed to take any photographs. (Tr. July 17, 2000 at 94–95.)
 5         As Rodgers was preparing to leave the crime scene on the morning of
 6 February 10, 1989, he ran into Kale Johnson outside Gunnel’s apartment. (Tr. July
 7 17, 2000 at 30–31.) Rodgers arrested Johnson upon realizing that he was wearing
 8 Converse shoes with blood stains. (Tr. July 17, 2000 at 30–31.) DNA analysis later
 9 confirmed that the blood on Johnson’s shoes belonged to Gunnel. (Tr. July 12, 2000
10 at 122.) Johnson was also wearing grey pants and a grey jacket at the time of his
11 arrest; the pants had Gunnel’s blood on them, and the one spot of blood on the jacket
12 that was tested came from an unidentified male. (Tr. July 12, 2000 at 129, 137–38.)
13 After arresting Johnson, Rodgers took him to the police station, where he was
14 questioned and threatened with murder charges if he did not testify against Kiles.
15 (PFR2 Dkt. 20 Exs. 1-2 at 9.) Johnson ultimately pled to hindering prosecution and
16 was sentenced to two and a half years in prison. (Tr. July 14, 2000 at 103–04.)
17         In the early morning hours of February 11, 1989, Officer David Sherman of
18 the Yuma Police Department found Kiles hiding under a bunk bed at a friend’s
19 apartment. (Tr. July 17, 2000 at 201–03.) Kiles’s clothing contained Gunnel’s blood
20 and blood from a source consistent with an offspring of Gunnel and Ward Wade,
21 Jr. (Tr. July 12, 2000 at 122–24)—i.e., their only child, Shemaeah. Following
22 Kiles’s arrest, while at the jail, Kiles told Detective Anderson that he wanted her to
23 know that he had not killed the children. (Tr. July 10, 2000 at 194–95.) A few days
24 later, on February 14, 1989, Kiles’s parole officer Ramon Mendoza interviewed
25 Kiles. (2006 Trial Ex. 169 at 2.) Kiles conveyed to Mendoza, too, that he had killed
26 Gunnel, but that he had not killed the children. (2006 Trial Ex. 175 at 2.) Kiles told
27 Mendoza he was under the influence of cocaine, crack, heroin, and alcohol at the
28 time of the crime. (2006 Trial Ex. 175 at 2.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 22 of 500



 1         During the course of the investigation, detectives learned that on February
 2 10, 1989, Kiles and Johnson had sold some of Gunnel’s possessions to various
 3 individuals. (Tr. July 17, 2000 at 55.) Kiles and Johnson had ransacked the
 4 apartment in search of property they could sell for drugs. (Tr. July 17, 2000 at 190–
 5 91.) On February 10, 1989, Kiles and Johnson sold a telephone from Gunnel’s
 6 apartment to Jesse Solomon, a friend of the Kiles family. (Tr. July 10, 2000 at 145–
 7 46.) Once Johnson left, Kiles cried and told Solomon that he had killed somebody.
 8 (Tr. July 10, 2000 at 148–49.)
 9         On February 17, 1989, Anderson and Lieutenant John Lekan, of the Yuma
10 Police Department, traveled to a city in Mexico to retrieve the body of LeCresha,
11 who had been found in the Central Canal. (Tr. July 12, 2000 at 59–60, 64.)
12 Shemaeah’s body was never found. (Tr. July 12, 2000 at 63.)
13         Robert Mallon, M.D., a pathologist with the Yuma Regional Medical Center,
14 performed autopsies on both Gunnel and LeCresha. (Tr. July 13, 2000 at 95, 101.)
15 He concluded that Gunnel had died from “multiple blunt trauma to the head with
16 multiple scalp lacerations, skull fractures, laceration to the brain.” (Tr. July 13, 2000
17 at 97.) Gunnel also had a “fracture of the right arm, laceration to the skin of the
18 right arm, and fracture of the bone.” (Tr. July 13, 2000 at 97.) Dr. Mallon further
19 concluded that LeCresha had died from “blunt trauma to the skull with extensive
20 skull fractures and brain laceration.” (Tr. July 13, 2000 at 101.)
21 III.    STATE COURT PRESUMPTION OF CORRECTNESS
22         Kiles hereby challenges the presumption of correctness provided for by 28
23 U.S.C. § 2254(e)(1) that could, in different circumstances, attach to certain factual
24 findings made by the state courts in his case. As detailed throughout this Petition—
25 and as evidentiary development will further illustrate—such factual findings, to the
26 extent any are found to exist, are not entitled to the presumption of correctness in
27 § 2254(e)(1).
28         More specifically, Kiles asserts that findings of fact made by the state courts
                                                6
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 23 of 500



 1 at his retrial, on direct appeal, during state post-conviction proceedings, or at any
 2 other point since legal proceedings began in this case in 1989—should any such
 3 findings exist—are not entitled to this Court’s deference because those findings are
 4 not fairly supported by the record before the state courts. Kiles further asserts that
 5 the presumption of correctness is inapplicable and inappropriate in this case for
 6 several additional reasons, including but not limited to (1) the state courts’ fact-
 7 finding procedures were inadequate to afford his constitutional claims full and fair
 8 consideration; (2) material facts were not adequately developed in state-court
 9 proceedings; (3) he did not receive full, fair, and adequate hearings in state court;
10 and (4) the state-court proceedings otherwise denied him due process of law.
11 IV.     PROCEDURAL STATUS OF CLAIMS AND EXHAUSTION
12         Most of the federal constitutional claims alleged throughout this Petition
13 have been exhausted in proceedings before Arizona courts. Some claims, however,
14 were not fully presented in state court, were not ripe for review, or could only be
15 adequately raised in this forum. Respondents bear the burden of demonstrating that
16 Kiles has failed to exhaust a particular claim. See, e.g., Johnson v. Zerbst, 304 U.S.
17 458, 464 (1938); Esslinger v. Davis, 44 F.3d 1515, 1528 (11th Cir. 1995); Herbst
18 v. Scott, 42 F.3d 902, 905 (5th Cir. 1995); Brown v. Maass, 11 F.3d 914, 914 (9th
19 Cir. 1993) (per curiam).
20         To the extent that any claim is deemed procedurally defaulted, and because
21 the doctrine of procedural default is based upon comity rather than upon
22 jurisdiction, this Court retains the power to consider the merits of that claim. See,
23 e.g., Reed v. Ross, 468 U.S. 1, 9 (1984). Further, this Court may review the merits
24 of any procedurally defaulted claim because Kiles can demonstrate both cause for
25 any failure to properly exhaust a particular claim and prejudice from the alleged
26 constitutional violation. Alternatively, Kiles can demonstrate that a fundamental
27 miscarriage of justice would result if this Court declined to hear any particular claim
28 on the merits. Coleman v. Thompson, 501 U.S. 722, 735 n.1 (1991). And, to the
                                               7
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 24 of 500



 1 extent that Respondents argue that any state-court decisions adverse to Kiles were
 2 based upon state procedural grounds, those grounds were neither adequate to
 3 support the state court’s judgments nor independent of federal constitutional
 4 guarantees. See generally Stewart v. Smith, 536 U.S. 856 (2002) (per curiam); Ford
 5 v. Georgia, 498 U.S. 411, 423–24 (1991).
 6         As an additional matter, for any claims not raised or properly exhausted due
 7 to the ineffective assistance of prior counsel, Kiles can show, with the benefit of
 8 evidentiary development, that he has cause to overcome any procedural default of
 9 his meritorious constitutional claims. See, e.g., Martinez v. Ryan, 566 U.S. 1, 9
10 (2012). Further, as Kiles will explain in his evidentiary-development motions,
11 Rules 6 (discovery), 7 (expansion of the record), and 8 (evidentiary hearing) of the
12 Rules Governing Section 2254 Cases in the United States District Courts require
13 that federal courts provide a habeas petitioner with reasonable means to investigate
14 and factually support the claims presented in a petition for a writ of habeas corpus.
15 See McCleskey v. Zant, 499 U.S. 467, 498 (1991).
16         Lastly, Kiles respectfully reserves the right to timely request a limited stay
17 and abeyance pursuant to Rhines v. Weber, 544 U.S. 269 (2005), in order to return
18 to state court to present any unexhausted claims, should the need to do so become
19 apparent.
20 V.      RIGHT TO AMEND
21         Kiles expressly reserves his right to amend this Petition, both as a matter of
22 course under Federal Rule of Civil Procedure 15(a)(1) and later, as necessary and
23 appropriate. See Rule 12, Rules Governing Section 2254 Cases in the United States
24 District Courts (applying Federal Rules of Civil Procedure to habeas proceedings).
25 In McCleskey v. Zant, the Supreme Court reaffirmed the “principle that [a]
26 petitioner must conduct a reasonable and diligent investigation aimed at including
27 all relevant claims and grounds for relief in the first federal habeas petition.” 499
28 U.S. 467, 498 (1991). Kiles believes that additional claims may be identified
                                              8
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 25 of 500



 1 through ongoing investigation, after discovery is conducted and completed, and/or
 2 after an evidentiary hearing is held. At the appropriate time during these
 3 proceedings, Kiles will therefore present any additional claims through
 4 amendments or supplements to this Petition.
 5 VI.     AEDPA IS UNCONSTITUTIONAL
 6         As an initial matter, the principle that every prisoner must have all of his
 7 constitutional claims heard by a court is central to fundamental fairness and the
 8 integrity of the justice system. See Bounds v. Smith, 430 U.S. 817, 822–23 (1977).
 9 One essential method of ensuring that a prisoner’s constitutional claims are heard
10 is through the availability of the writ of habeas corpus. However, the passage of the
11 Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA) substantially
12 changed the law that governs habeas petitions. See Felker v. Turpin, 518 U.S. 651,
13 654 (1996). AEDPA’s restrictions suspend the writ of habeas corpus and violate the
14 separation of powers, which results in prisoners remaining in prison without review
15 of alleged constitutional defects of their convictions and sentences.
16         A.     AEDPA unconstitutionally suspends the writ of habeas corpus.
17         Congress cannot define prisoners’ rights so narrowly that it, in effect,
18 suspends the writ of habeas corpus. The writ of habeas corpus is guaranteed by the
19 U.S. Constitution in the Suspension Clause, which provides that “[t]he Privilege of
20 the Writ of Habeas Corpus shall not be suspended, unless when in Cases of
21 Rebellion or Invasion the public Safety may require it.” U.S. Const. art. I, § 9, cl. 2.
22 The Suspension Clause is a structural limitation on the power of Congress. Like
23 bills of attainder and ex post facto laws, which are also prohibited in Article I,
24 section 9, the suspension of habeas (except in cases of rebellion or invasion) belongs
25 to a “category of congressional actions which the Constitution barred.” United
26 States v. Lovett, 328 U.S. 303, 315 (1946). The writ “can be preserved in practice
27 no other way than through the medium of the courts of justice; whose duty it must
28 be to declare all acts contrary to the manifest tenor of the Constitution void.” Id. at
                                                9
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 26 of 500



 1 314 (quoting The Federalist No. 78 (Alexander Hamilton)).
 2         AEDPA prevents federal courts in certain circumstances from granting relief
 3 when it is undisputed that a conviction or sentence is unconstitutional. See 28
 4 U.S.C. § 2254. Under AEDPA, before granting the writ a federal court must
 5 determine whether, for example, the complete deprivation of a jury in a capital case
 6 is a “reasonable” or “unreasonable” constitutional violation. As explained long ago,
 7                habeas is “the most important human right” in the
                  Constitution because it functions as a mechanism for the
 8                enforcement of the Bill of Rights against the federal
 9                government: “Censorship can be evaded; prosecutions
                  against ideas may break down; a prison wall is there. Only
10                habeas corpus can penetrate it. When imprisonment is
                  possible without explanation or redress, every form of
11                liberty is impaired.
12 Dan Poulson, Note, Suspension for Beginners: Ex parte Bollman and the
13 Unconstitutionality of the 1996 Antiterrorism and Effective Death Penalty Act, 35
14 Hastings Const. L. Q. 373, 399 (2008) (quoting Zechariah Chafee, Jr., How Human
15 Rights Got Into the Constitution 53 (1952)). This restriction on courts’ ability to
16 grant relief constitutes an unconstitutional suspension of the writ.
17         B.     AEDPA violates the separation-of-powers doctrine.
18         Congress cannot impinge on the courts’ duty to say what the law is, but
19 Congress does so when it requires Article III courts to ignore any part of the
20 Constitution and to instead give effect to a contrary law. See Marbury v. Madison,
21 5 U.S. (1 Cranch) 137, 178 (1803). Congress has the power to constrain courts’
22 authority. See Keene Corp. v. United States, 508 U.S. 200, 207 (1993); see also
23 U.S. Const. art. III, § 1 (“The judicial Power of the United States, shall be vested in
24 one supreme Court, and in such inferior Courts as the Congress may from time to
25 time ordain and establish.”). However, there are limits on that power. On such limit
26 is that Congress must not manipulate the “test for determining the scope of [habeas
27 corpus]” because the writ “is designed to restrain” Congress, and because the writ
28 is “an indispensable mechanism for monitoring the separation of powers.”
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 27 of 500



 1 Boumediene v. Bush, 553 U.S. 723, 765–66 (2008).
 2         The separation-of-powers doctrine found in Article III “serves both to protect
 3 the role of the independent judiciary within the constitutional scheme of tripartite
 4 government . . . and to safeguard litigants’ right to have claims decided before
 5 judges who are free from potential domination by other branches of government.”
 6 Commodity Futures Trading Comm’n v. Schor, 478 U.S. 833, 848 (1986) (citations
 7 and internal quotation marks omitted). When confronted with an unconstitutional
 8 provision, the Supreme Court in Marbury considered whether courts are bound by
 9 “an act of the legislature” that is “repugnant to the constitution.” The Court
10 concluded, “It is emphatically the province and duty of the judicial department to
11 say what the law is.” 5 U.S. at 177.
12         “[I]f Congress does provide for habeas in the federal courts, Congress cannot
13 . . . instruct the federal courts, whether acting in a federal or in a state case, how to
14 think, how to ascertain the law, how to judge.” Irons v. Carey, 505 F.3d 846, 855
15 (9th Cir. 2007) (Noonan, J., concurring), overruled on other grounds by Hayward
16 v. Marshall, 603 F.3d 546 (9th Cir. 2010) (en banc). AEDPA infringes upon the
17 power of the courts to say what the law is and to give effect to that law and thereby
18 violates the separation-of-powers doctrine.
19         C.     Conclusion.
20         AEDPA unconstitutionally suspends the writ of habeas corpus and violates
21 the separation-of-powers doctrine because it dictates that courts must not “grant
22 relief to citizens who are being held in prison in violation of their constitutional
23 rights unless the constitutional error that led to their unlawful conviction or sentence
24 is one that could not have been made by a reasonable jurist.” Irons, 505 F.3d at 859
25 (Reinhardt, J., concurring specially). Also, AEDPA does not allow an appellate
26 judge to correct an unlawful detention if a lower court’s “error is understandable,”
27 which is inconsistent with a judge’s duty “to enforce the laws and protect the rights
28 of our citizens against arbitrary state action.” Id. “Whether it was reasonable for a
                                                11
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 28 of 500



 1 state court to misapprehend the dictates of the Constitution in a particular case
 2 hardly seems relevant to a citizen’s right not to be imprisoned in violation of the
 3 fundamental liberties he is granted by the document that governs our societal
 4 structure.” Id. As AEDPA is unconstitutional, this Court should not be constrained
 5 by its dictates.
 6                                        Claim One
 7         Representation at trial was so marred by conflicts,
           misrepresentations, and procedural violations that Kiles was denied
 8         effective counsel and fair and reliable capital proceedings.
 9         Kiles’s trial began with a procedural due-process violation, proceeded with
10 counsel whose interests diverged from their client’s during the course of
11 representation, and ended in a capital sentence that can only be described as
12 arbitrary and unfair, in violation of the Sixth, Eighth, and Fourteenth Amendments
13 to the U.S. Constitution. Kiles presented this claim below. (ROA 1189 at 10–18,
14 23–30; PFR2 Dkt. 1 at 12–18, 25–30.) Kiles incorporates by specific reference all
15 facts, allegations, and arguments made elsewhere in this Petition.
16         A.     Kiles received ineffective assistance of counsel from the start.
17         Kiles’s first trial, held in 1989, was reversed on state post-conviction review
18 based on ineffective-assistance-of-counsel grounds in 1996. (ROA 314 at 4.) The
19 case was referred back to Yuma County Superior Court and assigned to Judge Kirby
20 Kongable. (ROA 337 at 1.) Kiles’s state post-conviction counsel, Mary Boyte,
21 moved to withdraw, as she was not qualified to be lead counsel on a trial-level
22 capital case. (Tr. Mar. 13, 1998 at 4.) Initially, the Yuma County Office of the Legal
23 Defender was appointed to the case. (Tr. Mar. 13, 1998 at 6.) Given the size of the
24 case, the Office of the Legal Defender determined it was insufficiently staffed to
25 retain the case, and the case was assigned to two private defense attorneys, Robert
26 Roberson and Jerrold Shelley. (ROA 352 at 1.) After concerns were raised, Mary
27 Boyte was appointed as special counsel to investigate whether Roberson and
28 Shelley had a conflict of interest. (Tr. Mar. 13, 1998 at 36–37). As a result of
                                              12
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 29 of 500



 1 multiple conflicts, Roberson and Shelley were forced to withdraw. (ROA 376 at 3–
 2 10; ROA 377 at 1.) Kiles’s case was referred back to the Office of the Legal
 3 Defender for assignment of counsel. (ROA 377 at 1.)
 4                1.     Greg Clark’s appointment did not satisfy Arizona’s
                         standards for appointment as capital defense counsel.
 5
 6         At the time of Kiles’s trial, Yuma County had adopted a bidding system to
 7 appoint counsel for indigent defendants. While the court appointed attorneys to
 8 represent indigent defendants, the Office of the Legal Defender held the contracts
 9 providing payment to private attorneys. On September 10, 1998, after Roberson and
10 Shelley had withdrawn from Kiles’s case, the Yuma County Legal Defender and
11 Conflict Administrator Jose de la Vara solicited a bid from Phoenix attorney Greg
12 Clark to represent Kiles. Clark submitted a bid that same day, attesting that he had
13 tried 25 first-degree murder cases, including eight capital cases, and that he had
14 only one client on death row. However, Clark had at least three clients on death row
15 at the time of his bid.3 Clark’s material misrepresentation was the first in a long
16 string of misrepresentations by Clark throughout the eight years he was appointed
17 to represent Kiles.
18         Clark had also been publicly censured in 1997 for ineffective assistance in a
19 juvenile case. Despite being on notice that Clark had been disciplined by the
20 Arizona State Bar Association (hereinafter “Bar”), de la Vara nevertheless sought
21 his appointment.4 De la Vara also requested that Mark Reeves, an attorney from the
22 Office of the Legal Defender, be appointed as co-counsel.
23
24
     3
       At the time of Greg Clark’s appointment to Kiles’s case, Clark’s former clients
     Michael Gallegos, Timothy Ring, and Kenneth Laird were on Arizona’s death row.
25   See Gallegos v. Schriro, 583 F. Supp. 2d 1041 (D. Ariz. 2008); State v. Ring, 25
     P.3d 1139 (Ariz. 2000), overruled by Ring v. Arizona, 536 U.S. 584 (2002); State
26   v. Laird, 920 P.2d 769 (Ariz. 1996).
27   4
       In a letter to Mary Boyte, Jose de la Vara stated that he did not take the time to
     investigate whether Greg Clark was qualified for appointment because de la Vara
28   had known Clark for a long time and relied on that relationship of trust.
                                              13
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 30 of 500



 1         Mary Boyte, in her role as special counsel, filed a notice with the court on
 2 October 2, 1998 stating that she was “concerned that the attorneys who are being
 3 designated for appointment by the Office of the Legal Defender and the Yuma
 4 County Board of Supervisors do not meet the requirements for representation of
 5 capital defendants as set forth in Rule 6.8 [of the Arizona Rules of Criminal
 6 Procedure].” (ROA 379 at 1–2.) Arizona Rule of Criminal Procedure (hereinafter
 7 “Rule”) 6.8, which contains Arizona’s Standards for Appointment of Counsel in
 8 Capital Cases, requires that to be eligible for appointment in a capital case, an
 9 attorney “shall have been a member in good standing of the State Bar of Arizona
10 for at least five years immediately preceding the appointment.” Rule 6.8(a)(1). The
11 court held a hearing to determine whether Clark met the qualifications under Rule
12 6.8. Boyte informed the court that Clark had been censured in 1997 for providing
13 ineffective assistance in a juvenile transfer case and had been suspended for
14 administrative proceedings a few months prior. (Tr. Oct. 7, 1998 at 5–6.)
15         In response, Clark misrepresented to the court the nature and severity of those
16 disciplinary actions. Clark said that the public censure for his ineffective assistance
17 was not a failing on his part but “a judgment call and, you know, given the facts as
18 they were then and today, I probably would do the same thing.” (Tr. Oct. 7, 1998
19 at 10.) He then misrepresented his suspension, asserting that the mistake was not
20 his, but that of the Bar’s. “The Bar believed that I did not pay my dues this year. So
21 as a matter of course, they issued an order of suspension which they later retracted
22 almost immediately when it was learned that, in fact, I had paid those dues.” (Tr.
23 Oct. 7, 1998 at 10.)
24         Neither of these accounts was accurate. Regarding the public censure for
25 ineffective assistance of counsel, Clark failed, despite ample evidence, support, and
26 opportunity, to effectively advocate for his juvenile client. Clark’s inadequate
27 representation resulted in the juvenile being transferred to adult court. In order to
28 receive no more severe a punishment than public censure, Clark conditionally
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 31 of 500



 1 admitted to the Disciplinary Commission of the Supreme Court that his conduct
 2 was in violation of ethical rules governing competence, diligence, and
 3 communication. Clark’s discipline was not the result of a mere bad “judgment call,”
 4 but the result of his repeated failures during the representation to provide
 5 constitutionally effective counsel. The Arizona Court of Appeals found that Clark’s
 6 actions in the case were so unreasonable as to be constitutionally deficient. Indeed,
 7 the court declared that Clark’s “failure to even attempt” to advocate whatsoever for
 8 his juvenile client, even when given multiple opportunities to do so, “leads us to
 9 conclude that ‘but for counsel’s unprofessional errors, the result of the proceeding
10 would have been different.’” Matter of Appeal in Maricopa Cty., Juvenile Action
11 No. JV-511576, 925 P.2d 745, 748 (Ariz. Ct. App. 1996) (quoting Strickland v.
12 Washington, 466 U.S. 668, 694 (1984)). As to the suspension as a result of the non-
13 payment of dues, the mistake was not on the part of the Bar. It appears that Clark
14 had in fact failed to pay his dues and was only reinstated upon payment of those
15 dues, two weeks later. (Tr. Oct. 7, 1998 at 10; PFR2 Dkt. 1 at 16.)
16         Four months before the hearing regarding Clark’s suitability for appointment,
17 the prosecutor at the time had emphasized to the court, “Your Honor, this is a capital
18 case. Under Rule 6.8 there are standards for appointment of counsel in capital cases
19 that we have to observe.” (Tr. Mar. 13, 1998 at 5). At the hearing regarding Clark’s
20 qualifications, however, prosecutor David Powell, who had recently taken over the
21 case on behalf of the Arizona Attorney General’s Office, told the judge that Clark
22 “enjoys a wonderful reputation in Maricopa [County]” and that his main concern
23 was whatever was “most expeditious.” (Tr. Oct. 7, 1998 at 11–12.)
24         The court relied on the State’s representations to approve Clark’s
25 appointment, in violation of Rule 6.8 and without any further inquiry. The court
26 stated:
27                Well, even Mr. Powell thinks that Mr. Clark enjoys an
                  excellent reputation in Maricopa County. That’s one thing
28                . . . I am not at all concerned about the Bar thinking maybe
                                              15
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 32 of 500



 1               he hadn’t paid his dues when he had and that matter being
                 resolved in a quick matter. The incident that occurred in
 2               1995 perhaps causes me some concern, but I think when
 3               you weigh that against his experience and reputation and
                 the fact that may very well have been a judgment call on
 4               his part, that that’s not enough for me to say that I don’t
                 feel Mr. Clark is qualified.
 5
     (Tr. Oct. 7, 1998 at 21.) Accordingly, the court expressly relied on Clark’s
 6
     misrepresentations in discounting the importance of his disciplinary issues.
 7
           After the hearing, Clark submitted a Notice of Compliance with Rule 6.8,
 8
     stating that he had met the practice element of the Rule. (ROA 381.) He, notably,
 9
     did not assert that he had been in good standing with the Bar for the preceding five
10
     years, nor did he attach a Certificate of Good Standing, which at the time under
11
     Rule 74 of the Rules of the Arizona Supreme Court would have listed his
12
     disciplinary record. However, to prove he met the training requirement under Rule
13
     6.8, Clark provided his attendance form and a copy of the check in payment for the
14
     training. The check was from his IOLTA account, itself a violation of his
15
     obligations as an attorney.5 (ROA 381 at 6.)
16
           The court subsequently appointed Clark as lead counsel for Kiles. The terms
17
     of the contract with the Office of the Legal Defender provided for a flat fee of
18
     $25,000 for Clark to accept the case, with another $25,000 in the event the case
19
     went to trial. (Tr. Nov. 29, 1999 at 6.) The contract required that Clark meet the
20
     requirements for attorneys handling death-penalty cases in Arizona as set forth in
21
     Rule 6.8. (PFR2 Dkt. 22 Ex. 10 at 1.)
22                2.    Clark failed to establish an attorney-client relationship with
23                      Kiles.
24
           Clark’s relationship with his client was tenuous from the start. After the court
25
26   IOLTA accounts contain client funds and should not be co-mingled with the
     5

   attorney’s own money or used to attend seminars. See Ariz. R. Professional
27 Conduct, ER 1.15; (DA2 Dkt. 86 at 71 n.7). The same month Clark was appointed
   to Kiles’s case, he was placed in a counseling program to address his ethical
28 misconduct for trust account violations. (ROA 1189 at 16; PFR2 Dkt. 29 Ex. 37.)
                                               16
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 33 of 500



 1 hearing on Clark’s qualifications, Kiles expressed some concern to his state post-
 2 conviction counsel. She listed questions Kiles could ask Clark about his experience
 3 in order to assuage any concerns. However, Kiles never had the opportunity to ask
 4 those questions, and Clark’s representation in the initial months of his appointment
 5 only heightened Kiles’s concerns. On January 6, 1999, Kiles sent a letter to Judge
 6 Kirby Kongable requesting new counsel, stating that in the first three months of
 7 appointment Clark had spoken with him for only two hours and that Clark had
 8 informed Kiles that he was not going to “baby-sit” him. (ROA 392 at 5.) Kiles wrote
 9 that communication with Clark was down to “zero.” (ROA 392 at 3.) In response,
10 Clark filed an ex parte response with Judge Kongable and defended himself by
11 portraying Kiles as difficult.6 Clark agreed he was not communicating with Kiles,
12 but he blamed Kiles for this failure. (ROA 393 at 1.) Clark further defended himself
13 by stating that until he had completely read the case file and discovery was
14 complete, he would be “unable to have any meaningful communication” with
15 Kiles.7 (ROA 393 at 2.) Clark concluded his response by writing, “It is only human
16 nature that differences of opinion arise and other conflicts come about.” (ROA 393
17 at 3.)
18          At a status hearing only three months after Clark’s appointment, Kiles again
19 informed the judge of his concerns regarding Clark’s effectiveness, especially his
20 lack of communication. (Tr. Jan. 22, 1999 at 5.) Kiles told the court that from
21 October 17, 1998 to January 5, 1999, he had had no communication whatsoever
22
23   6
       Under Arizona law at that time, Judge Kongable would have made the capital-
24   sentencing decision in the event Kiles was convicted of first-degree murder.
     7
       In contrast, Roberson and Shelley, who had been appointed prior to Clark,
25   informed the court that adequately preparing to represent Kiles would take
26   approximately one hundred hours of jail visits. (Tr. Mar. 24, 1998 at 21–22; DA2
     Dkt. 89 at 78.) This representation was more in line with the prevailing standards
27   of care in Arizona at the time of these proceedings. Ariz. Attorneys for Crim. Justice
     & Ariz. Capital Rep. Project, Arizona Capital Case Defense Manual at 20–21 (1995
28   ed.).
                                               17
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 34 of 500



 1 from Clark, prompting Kiles’s January 1999 letter to the judge.8 (Tr. Jan. 22, 1999
 2 at 5–6.) The court demurred—its first in a long series of refusals to take action to
 3 ensure appropriate representation—and merely admonished all parties do the best
 4 they could to work together. (Tr. Jan. 22, 1999 at 10–11.) One month later, Mark
 5 Reeves withdrew as co-counsel after he discovered a conflict that prohibited his
 6 office from representing Kiles, and Mary Boyte was appointed as Kiles’s second
 7 counsel. (Tr. Dec. 9, 1998 at 5; ROA 399 at 1.)
 8         In the first year of Clark’s appointment, the irreparable breakdown between
 9 attorney and client was clear. In July 1999, Kiles filed a pro per motion requesting
10 new counsel, asserting that, though the court had accused him at the January 1999
11 hearing of trying to “interject error into the proceedings, this was not my intention
12 then or now. I just want adequate attorneys.” (ROA 407 at 4.) Kiles wrote that Clark
13 had promised to send Kiles legal material pertaining to his case but had not done
14 so; Kiles also stated that Clark had told Kiles to call, but that Clark’s staff would
15 often hang up when Kiles did so. (ROA 407 at 6–7.) Kiles supplemented this motion
16 two days later “to correct a lie told to the court” by Clark and to inform the court
17 about Kiles’s first legal visit from Clark in five months. (ROA 408 at 1.) The lie
18 was in a motion to continue that Clark had submitted that stated, “Defense counsel
19 has spoken with the Defendant in this matter, who has [] indicated that he has no
20 objection to continuing this matter.” (ROA 405 at 1–2.) Kiles reported that he could
21 not have agreed to a continuation, as he had never been asked by Clark. (ROA 408
22 at 1.) As to the legal visit, it was not a productive visit; Clark did not bring any
23 papers, nor even anything to write with or on, and therefore nothing was
24 accomplished. (ROA 408 at 2–3.)
25         At an August 1999 hearing regarding second counsel Boyte’s motion to
26
     In response to Clark’s allegations that Kiles was at fault for the lack of
     8

27 communication, Kiles told the court, “I mean, I can’t get out of jail and go to his
   office. So how could it be my choice not to communicate with him?” (Tr. Jan. 22,
28 1999 at 5.)
                                              18
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 35 of 500



 1 withdraw from the case,9 Kiles flagged for the court Clark’s continued
 2 misrepresentations to him. For example, when Clark was appointed, Clark had both
 3 promised Kiles and informed the court that he would be filing a motion to challenge
 4 Kiles’s grand-jury proceedings. (ROA 388 at 1–2.) That motion was never filed.
 5 (Tr. Aug. 6, 1999 at 14–15.) As another example, Kiles notified the court that Clark
 6 had misled him, pushing him toward an early trial date based on Clark’s assertion
 7 that doing so would encourage a plea deal. (Tr. Aug. 6, 1999 at 11.) Kiles agreed to
 8 Clark’s proposed early trial date, only to later discover that the State had rejected
 9 any such deal a month prior to Kiles’s conversation with Clark. (Tr. Aug. 6, 1999
10 at 11.) Kiles expressed concern that Clark was failing to do any investigation in his
11 case and that he was also refusing to read the file from Kiles’s successful state post-
12 conviction petition. Clark readily agreed about prior counsel’s file: “I certainly did
13 indicate—and [Kiles] is absolutely right—that the boxes of information that are out
14 there now were worthless.” (Tr. Aug. 6, 1999 at 30.)
15           The previous case file, however, was not worthless. Kiles’s second trial was
16 based on the same State’s facts that had been challenged during state post-
17 conviction proceedings and involved many of the same witnesses who had been
18 interviewed during those proceedings. Moreover, the case file highlighted the
19 mistakes of counsel during the first trial, which would have been instructive for
20 Clark as he prepared for Kiles’s retrial. Still, Clark chose not to avail himself of this
21 crucial information.
22           Kiles told the court that he was not the only one with whom Clark would not
23 communicate. Boyte was having the same problem with Clark. While Kiles often
24 had trouble getting Clark on the phone, when Kiles succeeded, he then had to call
25 Boyte to relay what Clark had said. Otherwise, Boyte was left in the dark. (Tr. Aug.
26 6, 1999 at 12.) Kiles told the court that this method of communication between
27
28   9
         Mary Boyte’s motion and its impetus are discussed in greater depth below.
                                                19
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 36 of 500



 1 co-counsel was “ridiculous.” (Tr. Aug. 6, 1999 at 17.)
 2         Additionally, Kiles was concerned about informal discussions between
 3 counsel and with the court that were off-the-record and outside of his presence. (Tr.
 4 Aug. 6, 1999 at 13.) He told the court that, as his life was on the line, he believed
 5 he had a right to be present for informal meetings about him or his case, or at least
 6 have the opportunity to read a transcript later. (Tr. Aug. 6, 1999 at 13–14.) Kiles
 7 said simply, “I am not trained as an attorney. I respect Mr. Clark as an attorney, but
 8 still I am not an idiot. I can read; I can write. So I would like to be there.” (Tr. Aug.
 9 6, 1999 at 14.) But when Kiles informed Clark that he would like to be present,
10 Clark refused the request and told Kiles he would continue to have off-the-record
11 discussions.10 (Tr. Aug. 6, 1999 at 14.) Clark’s unauthorized waiver of his client’s
12 constitutional rights left Kiles without an advocate he could trust to be honest with
13 the court.
14         That fundamental lack of trust also affected Kiles’s ability to lay out his
15 concerns before the court at the hearing. Kiles stated that he felt like he was at a
16 disadvantage because he was unsure whether what he wanted to say could harm
17 him or his case. (Tr. Aug. 6, 1999 at 15.) Kiles told the court, “If I had an attorney
18 stand up here I can trust, I would ask him.” (Tr. Aug. 6, 1999 at 15.) But because
19 he was unsure if he should relay all of his concerns about Clark for fear of
20 endangering his case, Kiles felt compelled to stay silent. (Tr. Aug. 6, 1999 at 15.)
21 The court made no further inquiries as to those concerns.
22         When given the opportunity to respond, Clark told the judge that, “with
23 regard to what has been going on in this case; I have been to the scene, I have been
24 to the place where the bodies were found. I have made a complete review of all of
25 the documentation in this case.” (Tr. Aug. 6, 1999 at 31.) Clark also claimed,
26 “Judge, I have done everything I can on [Kiles’s] behalf in this case.” (Tr. Aug. 6,
27
   10
      Kiles was right to be concerned, as trial counsel were ineffective for failing to
28 make a record at every stage of the proceedings. See Claim 16, infra.
                                               20
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 37 of 500



 1 1999 at 33.) Beyond asserting that he had done a complete review of the
 2 documentation of the case after stating that the case file was “worthless,” Clark was
 3 not in control of the basic facts of the case. Clark had neither conducted witness
 4 interviews nor arranged to speak with any experts, as confirmed by the time logs
 5 Clark later submitted to the court. (Tr. Aug. 6, 1999 at 41–42; ROA 414 at 32–49.)
 6 And at the August 1999 hearing, Clark asserted, “It is to no defendant’s advantage
 7 in a capital case to rush quickly to trial,” even though Kiles had filed his request for
 8 new counsel precisely because he believed (accurately) that Clark was rushing to
 9 trial. (Tr. Aug. 6, 1999 at 11, 34; ROA 409 at 2.)
10         By this time, Clark had been lead counsel for ten months. When Clark was
11 first appointed to Kiles’s case, he had told Kiles that if Kiles asked him to withdraw
12 for good reason, Clark would do so. (Tr. Aug. 6, 1999 at 12.) Kiles believed his and
13 Clark’s inability to maintain communication, trust, or any kind of working
14 relationship was a good reason. (Tr. Aug. 6, 1999 at 12.) Kiles was also frustrated
15 with Clark’s dishonesty, both to him and to the court, and with Clark’s waiver of
16 Kiles’s right to be present at pretrial proceedings. (Tr. Aug. 6, 1999 at 12–14.) Kiles
17 felt Clark was preventing Kiles’s ability to participate in his own defense. (Tr. Aug.
18 6, 1999 at 14.) Therefore, Kiles had asked Clark to withdraw, but Clark had
19 refused.11 (Tr. Aug. 6, 1999 at 12.) Frustrated with Clark’s misrepresentations,
20 Kiles expressed desperation:
21                I am at the point now where I don’t believe anything he
                  tells me. Nothing whatsoever. I have asked him to
22                withdraw from being my attorney. He told me when I first
23                -- when he was first appointed to my case, that if I asked
                  him to withdraw for a good reason, he would do just that
24                and I think it’s a good reason. I feel like I have been lied to.
25
26   Clark may have refused to withdraw for financial reasons. Kiles’s prior attorneys,
     11

   who withdrew before Clark was appointed due to a conflict of interest, were
27 required to refund Yuma County the majority of their flat-fee payment after
   subtracting for the hours they had worked on Kiles’s case at a rate set by the court.
28 (Tr. Nov. 29, 1999 at 3–8.)
                                                21
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 38 of 500



1                   I know I have been lied to by him. He lied to the court on
                    me and said something I didn’t say.
2
     (Tr. Aug. 6, 1999 at 12.) Kiles had a good relationship with Boyte—she had guided
3
     him to relief previously—and made multiple requests to the court to deny Boyte’s
4
     motion to withdraw and assign adequate counsel to replace Clark. (Tr. Aug. 6, 1999
5
     at 10, 15–16, 27.) Kiles told the court, “If you keep Mr. Clark on my case, I don’t
6
     know how he is going to be able to defend me because there is some things I need
7
     to tell my attorney, but I will not tell him.” (Tr. Aug. 6, 1999 at 17.) Yet the court
8
     granted Boyte’s motion to withdraw, and Clark remained lead counsel. (Tr. Aug. 6,
9
     1999 at 48.)
10
                    3.    Clark’s lack of communication and deficient performance
11                        compelled co-counsel to withdraw.
12
           The client-attorney relationship was not the only relationship that Clark had
13
     irredeemably destroyed. Mark Reeves, initially appointed as Clark’s co-counsel,
14
     was required to withdraw due to a conflict, and Mary Boyte replaced Reeves as
15
     Kiles’s second trial attorney. (ROA 399 at 1.) Boyte, Kiles’s state post-conviction
16
     counsel, had a strong relationship with Kiles and a deep familiarity with the case.
17
     Rather than relying on her as an asset, however, Clark largely ignored Boyte. (ROA
18
     409 at 1.)
19
           In the four months after her appointment in March 1999, Boyte had no
20
     communication with Clark save a single fax. (ROA 409 at 1.) When Clark pushed
21
     for a speedy trial, Boyte expressed concern that Clark wanted a trial date in
22
     November 1999, as “there has been no investigation or pretrial work of any kind
23
     conducted” in the case. (ROA 409 at 2.) Although funding for an investigator and
24
     a mental-health expert had been approved by the court, no investigator had been
25
     hired, no witnesses had been interviewed, and the lone proposed expert had not
26
     been contacted. (ROA 409 at 2.) Boyte also believed that Clark’s lump-sum,
27
     contingency fee contract with the Office of the Legal Defender was pushing Clark
28
                                               22
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 39 of 500



 1 to go to trial without sufficient investigation or preparation and that the contract
 2 violated ER 1.5(D)(2) of the Arizona Rules of Professional Conduct, which
 3 prohibited attorneys from entering into an arrangement to represent a defendant in
 4 a criminal case for a contingent fee. (ROA 409 at 3.)
 5         Based upon what she perceived as her ethical obligations and Clark’s failure
 6 to provide effective assistance of counsel, Boyte moved to withdraw on July 16,
 7 1999. (ROA 409 at 3–4.) At the August 1999 hearing on Boyte’s motion to
 8 withdraw, Kiles testified that Clark had justified his refusal to speak with Boyte by
 9 telling Kiles that Boyte would not understand strategy and might object to some of
10 the things Clark was doing. (Tr. Aug. 6, 1999 at 16.) In other words, according to
11 Kiles, Clark acknowledged that he was interfering with Kiles’s ability to have two
12 trial attorneys, to which Kiles had a right under Arizona law. See Ariz. R. Crim. P.
13 6.2(b).
14         At the hearing on her motion, Boyte was represented by attorney Robert
15 Wood, a member of the State Bar of Arizona Ethics Committee. Wood stated he
16 had urged Boyte to withdraw. (Tr. Aug. 6, 1999 at 22.) Wood informed the court
17 that there was a “complete lack of cooperation” of the “kind between lead counsel
18 and second counsel.” (Tr. Aug. 6, 1999 at 23.) Wood also stated that Boyte believed
19 “the flat fee arrangement that Mr. Clark has with the county is in effect a contingent
20 fee.” (Tr. Aug. 6, 1999 at 24–25.) While Wood explained that he was not there to
21 argue the ethical nature of Clark’s contract, he supported Boyte’s decision to not
22 enter into a similar contract as co-counsel. He did so given Boyte’s concerns about
23 the perverse incentives such a contract creates in general, as well as the conflict it
24 created for Boyte with lead counsel, as Boyte believed the defense was unprepared
25 for trial and disagreed with Clark over how they should proceed.12 (Tr. Aug. 6, 1999
26
     As the person most knowledgeable about Kiles’s case, Boyte did not believe the
     12

27 case should proceed to trial, much less without investigation or expert witnesses. In
   correspondence with her attorney, she stated that she and the other state post-
28 conviction attorneys who had previously assisted with the case believed that the
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 40 of 500



 1 at 25–26.)
 2         After listening to testimony, Judge Kongable acknowledged on the record
 3 that he believed Kiles’s concerns were “genuine.” After the previous request for
 4 new counsel, Judge Kongable had been “hoping that communication would
 5 increase.” (Tr. Aug. 6, 1999 at 46–47.) Judge Kongable said that lack of
 6 communication concerned him, but concluded that it appeared—despite Kiles’s and
 7 Boyte’s reports to the contrary, and indeed Clark’s own admission that the case files
 8 were “worthless”—Clark was “making progress in terms of going through
 9 voluminous material.” (Tr. Aug. 6, 1999 at 30, 47.) And though Clark had been on
10 Kiles’s case for ten months, Judge Kongable credited Clark as taking preparatory
11 steps toward basic investigation, such as “setting up interviews” and “making
12 arrangements for an investigation.” (Tr. Aug. 6, 1999 at 47.) Judge Kongable
13 therefore did not believe “certainly to this point” Kiles was receiving ineffective
14 assistance of counsel. (Tr. Aug. 6, 1999 at 47.)
15         Thus, despite the irreconcilable conflict with the client, despite Clark’s
16 misrepresentations, and over Kiles’s objections, the court granted Boyte’s request
17 to withdraw. (ROA 412 at 1.) Clark remained lead counsel.
18         Four days later, Treasure VanDreumel, an attorney also based in Phoenix,
19 accepted the position as second chair. Her contract was also structured on a flat fee,
20 contingency basis: she would receive $10,000 for accepting the appointment to the
21 case and another $10,000 if the case went to trial.
22                4.    Clark blamed others for his irreparably fractured
                        relationship with Kiles.
23
24         The conflicts between lead counsel and Kiles, and between counsel
25 themselves, did not improve. In September 1999, Kiles submitted his third pro per
26 motion to the court, informing it that the communication between him and Clark
27 had deteriorated even further since the evidentiary hearing the previous month.
28 best possible outcome would be for Kiles to not proceed to trial.
                                              24
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 41 of 500



 1 (ROA 413 at 1–2.) Kiles wrote that he understood, “I am not allowed an attorney
 2 of my choice since I am indigent but I do believe I have the right to attorneys who
 3 are effective and competent.” (ROA 413 at 5.) Kiles stated that communication with
 4 his attorneys had become more difficult, as now neither of his attorneys practiced
 5 in Yuma but in Phoenix; upon VanDreumel’s appointment, he had been given no
 6 contact information to communicate with her. (ROA 413 at 2.) Though Clark had
 7 promised to schedule a legal visit at which he, VanDreumel, and the investigator
 8 would be present, Kiles reported Clark had failed to do so. (ROA 413 at 2.) Kiles
 9 informed the court that he had learned that Clark had another client in Yuma who
10 he had visited without also seeing Kiles. (ROA 413 at 4.) Kiles explained to the
11 court that he simply wished he could have legal visits on a regular basis, but Clark
12 had refused. (ROA 413 at 4.)
13         Also in September 1999, Judge Kongable received a call from another Yuma
14 County judge, Judge Nelson, expressing concern that Kiles was “potentially not
15 receiving adequate representation.” (ROA 414 at 16.) This phone call arose from a
16 conversation that Boyte had had with Judge Nelson, which he relayed in part to
17 Judge Kongable. (Tr. Oct. 8, 1999 at 3, 10–11.) Judge Kongable set a hearing to
18 address these issues for October 8, 1999. Clark filed a response with the court
19 stating, “It is the position of undersigned counsel that this issue has been
20 manufactured by Mary Boyte, Esq. and the defendant in a blatant effort to create
21 what they believe is error.” (ROA 414 at 4.)13
22         Because Boyte’s conversation with Judge Nelson had precipitated the phone
23 call to Judge Kongable, Boyte was put on the stand and questioned by the court at
24 the October 1999 hearing. The court also allowed the prosecutor David Powell to
25 cross-examine Boyte regarding whether she was conspiring to undermine Clark’s
26
27   Despite Clark’s conspiracy theory, Kiles’s counsel would later rely on Boyte to
     13

   obtain signatures and file motions for them so they would not have to travel to
28 Yuma to do so.
                                             25
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 42 of 500



 1 representation of Kiles. Powell questioned Boyte about her continuing relationship
 2 with Kiles. (Tr. Oct. 8, 1999 at 18–19.) Boyte stated she was still visiting Kiles, as
 3 she was representing him on civil matters. (Tr. Oct. 8, 1999 at 20.) When the court
 4 cautioned Powell that his questions were straying into privileged attorney-client
 5 communications, Powell responded, “Judge, it is the theory of the State, as well as
 6 I believe Mr. Clark, that this witness . . . is trying to do anything to have Mr. Clark
 7 taken off. I am trying to point out the extremes she has gone to to subvert Mr.
 8 Clark’s representation.” (Tr. Oct. 8, 1999 at 22.)
 9         Boyte stated she could not understand what could be gained from her creating
10 conflict between Kiles and Clark. (Tr. Oct. 8, 1999 at 35–36.) Rather, when she was
11 co-counsel, she “asked that the defendant make every attempt to get along with Mr.
12 Clark. I encouraged that. And the defendant did that. He really did make every
13 attempt.” (Tr. Oct. 8, 1999 at 36.) She stated that Clark had simply made the
14 decision “not to communicate with this defendant.” (Tr. Oct. 8, 1999 at 36.)
15         Boyte explained that she had spoken to Judge Nelson “just for advice, more
16 than anything. I did not expect him to take any action.” (Tr. Oct. 8, 1999 at 10.) She
17 believed that the conversation was only “going to be between him and myself.” (Tr.
18 Oct. 8, 1999 at 7.) Boyte went to him because, she said, “I have a burden in my
19 heart, because I don’t feel that [Kiles] is being defended the way he needs to be
20 defended.” (Tr. Oct. 8, 1999 at 10.) She had simply been trying to ascertain
21 “whether or not I had some kind of obligation” to take action about her concerns.
22 (Tr. Oct. 8, 1999 at 27.)
23         Clark was also given the opportunity to question Boyte, and he made clear
24 that his concerns were the allegations against him, rather than the quality of his
25 representation to his client. He told the court, “This is just the type of thing that,
26 you know, can rear its ugly head later on down the road sometime in a PCR. I don’t
27 want to get blind-sided.” (Tr. Oct. 8, 1999 at 33.)
28         Clark was questioned as well, and when asked by the judge, admitted, “I
                                              26
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 43 of 500



 1 don’t tend to waste a whole lot of time in discussing [trial] issues with someone in
 2 Mr. Kiles’s position.” (Tr. Oct. 8, 1999 at 41.) Clark said he was “not the type of
 3 lawyer that holds someone’s hand.” (Tr. Oct. 8, 1999 at 45.) Additionally, he made
 4 the claim, “I have probably tried more murder cases at federal level than anyone in
 5 this part of the United States, just because of our proximity in the federal system
 6 and jurisdiction we have in this state.” (Tr. Oct. 8, 1999 at 45.) He disclosed trial
 7 strategy in an attempt to portray himself in a positive light, telling the court,
 8                I have, you know, have done the research that I have needed
                  to do with regard to the current state of the law regarding
 9                the imposition of the death penalty. I have done the
10                research that deals with the applicable issues on the old
                  code. Because, at some point in time, his earlier counsel
11                chose not to pursue a defense, which was absolutely
                  applicable 12 years ago, when this conviction occurred,
12                which can have a great impact with regard to how this case
                  is ultimately portrayed in front of the jury, allowing him to
13                pursue less included offenses, that will be well brought, and
14                not summarily denied by a court, when offered by way of
                  an instruction.
15
16 (Tr. Oct. 8, 1999 at 41.)
17       Powell was also given a chance to question Clark.14 Under friendly
18 questioning, Clark again misrepresented that he had been qualified for the capital
19 appointment, stating “it was [Boyte’s] assumption, somehow, I was suspended from
            15
20 the Bar.” (Tr. Oct. 8, 1999 at 53.) Clark again called the case file from Kiles’s first
21 state post-conviction “worthless,” even though the file contained the extensive
22 investigation information, expert reports, and witness interviews that had won Kiles
23 a new trial. (Tr. Oct. 8, 1999 at 65.) And Clark assured the court, “If in fact I
24 perceive some problem with adequately representing Mr. Kiles, I will be the first to
25 step up to the plate.” (Tr. Oct. 8, 1999 at 59.)
26
27    It is unclear why the State had standing or grounds to do so.
     14

   15
      As discussed further below, Clark had been suspended from the Bar a few months
28 prior to his appointment on Kiles’s case.
                                               27
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 44 of 500



 1           At the hearing, Kiles clarified that the conflict between him and Clark was
 2 not due to Boyte, but Clark’s misrepresentations and his continued failure to follow
 3 through with his promises. Kiles testified that Clark had previously misrepresented
 4 to the court Clark’s involvement in a previous attempt at victim contact, as well as
 5 that Clark had lied to Kiles about the possibility of a plea bargain. (Tr. Oct. 8, 1999
 6 at 84–85, 90.)16 Kiles told the court, “He tells me so many different things, and
 7 contradicts them, and I don’t understand why he is still on my case. I don’t know if
 8 it’s for financial reasons. I don’t believe he is trying to help me.” (Tr. Oct. 8, 1999
 9 at 81.)
10           Despite Kiles’s repeated insistence that Clark was lying to him about material
11 facts and legal matters, Judge Kongable refused to take action. The court
12 announced, “I think, when all of the shouting is said and done, Mr. Clark is going
13 to probably do a bang-up job for Mr. Kiles. So request to remove him is denied.”
14 (Tr. Oct. 8, 1999 at 97.)
15                 5.     Kiles filed a Complaint in Special Action with the Arizona
                          Supreme Court requesting new counsel.
16
17           Given the outcome of the above hearing, Kiles wrote to Clark, telling him
18 that, as they were still forced to work together, Kiles would try to work with him
19 and the recently appointed Treasure VanDreumel to assist in his defense. This good-
20 faith attempt by Kiles to give Clark a chance to be honest and communicative failed,
21 prompting Kiles to file a pro per motion in January 2000. Kiles requested a stay to
22 pursue a Special Action with the Arizona Supreme Court and requested the court
23 appoint him counsel to do so. (ROA 428; ROA 430.) The court denied both
24 requests, stating, “Defendant already has competent counsel. This issue has been
25
26   Kiles raised the additional concern that Clark had represented Powell’s wife in a
     16

   previous legal action. “Then, today, I see Mr. Powell defending Greg Clark. So
27 what is going on there? I don’t know what is going on there. Is that a conflict?” (Tr.
   Oct. 8, 1999 at 81.) Whether this created an actual conflict between Powell and
28 Clark or not, it added to the conflict between Kiles and Clark.
                                                28
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 45 of 500



 1 thoroughly litigated. If defense counsel felt that a special action were appropriate,
 2 he would have pursued the matter.” (ROA 427 at 1.) It is worth noting the paradox
 3 embedded in the court’s statement: ineffective counsel would hardly pursue a
 4 Special Action to establish his own ineffectiveness. Additionally, the court claimed
 5 that, “At this date any petition for special action would seem to be untimely as
 6 well.” (ROA 427 at 1.) The court did so despite the fact that “Arizona’s Rules of
 7 Procedure for Special Actions, A.R.S. 17B, provide no limits on the time within
 8 which a special action may be filed.” State ex rel. McDougall v. Tvedt, 787 P.2d
 9 1077, 1079 (Ariz. Ct. App. 1989).
10         Kiles had, from the beginning of Clark’s appointment, made a record that he
11 was not receiving effective representation.17 It was only after the trial court’s
12 repeated refusals to investigate Kiles’s claims that Kiles was forced to petition
13 another juridical body for help.
14         Despite the ruling, and out of desperation, Kiles submitted his pro per
15 Complaint in Special Action with the Arizona Supreme Court on March 10, 2000.
16 (Case No. M-00-0006, Pet. For Special Action, Mar. 10, 2000.) He informed the
17 court that Clark had (1) revealed privileged information in court, (2) to date not read
18 the full file, (3) undertaken little to no pretrial investigation, and (4) lied to Kiles
19 about his trial and to the court about communication with Kiles. (Case No. M-00-
20 0006, Pet. For Special Action, Mar. 10, 2000 at 4–5.) Kiles’s concerns included that
21 Clark had aggressively misrepresented to the court the work he had done, when
22 there had been little to no pretrial investigation to that point.18 (Case No. M-00-
23
24
     17
        The court had additional notice that Clark had not been providing adequate
     representation. In June 2000, Kiles wrote a letter to Judge Kongable requesting an
25   attorney to represent him after being subpoenaed to testify in a different case
     regarding Clark’s ineffective assistance of another client. The request was denied,
26   and therefore Kiles did not testify.
27   18
        Kiles noted that Clark’s assertion that he had interviewed “more witnesses than
     anybody has interviewed prior to this time, in this case” was especially outrageous.
28   See Claim 3, infra. Clark’s own time logs, which he had submitted to the court after
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 46 of 500



 1 0006, Pet. For Special Action, Mar. 10, 2000 at 5.) Kiles expressed his concern that
 2 his trial was set for the following month, but to date there had been only one single
 3 pretrial motion submitted by his counsel. (Case No. M-00-0006, Reply re: Pet. For
 4 Special Action, Apr. 10, 2000 at 4.) And despite his quickly upcoming trial date,
 5 Kiles said Clark was refusing to discuss with him the most basic aspects of his trial.
 6 (Case No. M-00-0006, Reply re: Pet. For Special Action, Apr. 10, 2000 at 6.) Kiles
 7 did not know what defense would be presented, and he and counsel had not yet
 8 discussed whether Kiles should testify at trial. (Case No. M-00-0006, Reply re: Pet.
 9 For Special Action, Apr. 10, 2000 at 8–9.) When he was able to speak with his
10 attorneys, Kiles received conflicting information from Clark and VanDreumel.
11 (Case No. M-00-0006, Reply re: Pet. For Special Action, Apr. 10, 2000 at 4.) In his
12 reply, Kiles wrote that his complaint was not based on feelings, but rights:
13 “Petitioner is not requesting a ‘meaningful relationship’ with counsel. He is
14 requesting an ethical and adequate one.” (Case No. M-00-0006, Reply re: Pet. For
15 Special Action, Apr. 10, 2000 at 9.) The Arizona Supreme Court declined to accept
16 jurisdiction of the Special Action. (ROA 441.)
17               6.     After Kiles’s guilt-phase proceedings, Kiles continued to
                        request new counsel to represent him at the penalty phase.19
18
19         Because of Clark’s continued deficient performance, Kiles filed a pro per
20 motion in January 2001 requesting new counsel and a supplement to that motion in
21 March 2001. (ROA 519; ROA 522.) The motion stated that Kiles believed he was
22 not adequately represented before or during his July 2000 guilt-phase proceeding.
23 Kiles moreover asserted that he was not given adequate time to speak with counsel
24 in order to assist in his own defense. (ROA 519 at 4.) The supplement contained an
25 affidavit from a third party, a student at Arizona State University, with no prior
26
27 this claim, listed no time spent interviewing witnesses. (ROA 414 at 32–49.)
   19
      Throughout this Petition, Kiles uses the term “penalty phase” to refer to the 2006
28 aggravation-phase and mitigation-phase proceedings together.
                                              30
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 47 of 500



 1 knowledge of or connection to Kiles’s case. The student had overheard Clark
 2 announce that he had just finished a case in Yuma where the client was guilty from
 3 the beginning, and the “whole thing was a waste of his time and there had been no
 4 point in being there at all.” (ROA 522 at 3.) Kiles stated that in light of receiving
 5 that affidavit, he was concerned there was no confidentiality between him and his
 6 attorneys, and he was again “put in a situation where he doubts he can trust his
 7 attorney.” (ROA 522 at 1–2.)
 8         Despite the court’s repeated refusals to ensure adequate representation, Kiles
 9 continued to plead with the court for new counsel. Kiles made clear that he did not
10 want Clark to represent him or speak for him and that there was no possible
11 relationship between them. Kiles was unequivocal: “I would like the court to
12 understand that what Mr. Clark says in no way represents me. I object to anything
13 and everything Mr. Clark says.” (ROA 576 at 2.) Competent counsel would have
14 recognized that effective representation was no longer possible and moved to
15 withdraw. Despite Clark’s earlier assurance to the court that he would withdraw if
16 necessary, at no point did Clark do so. (Tr. Oct. 8, 1999 at 59 (“If in fact I perceive
17 some problem with adequately representing Mr. Kiles, I will be the first to step up
18 to the plate.”).)
19                7.    Co-counsel represented Kiles while under a conflict of
                        interest.
20
21         Compounding Clark’s irreconcilable conflict with Kiles, VanDreumel’s own
22 conflicts hindered her ability to fully and adequately represent Kiles.20 In March
23
     Kiles believed that part of counsel’s failure to adequately represent him stemmed
     20
24 from the nature of the contract his attorneys had signed. In a pro per motion to
   appoint new counsel after the guilt phase of his trial, Kiles stated to the court that
25 Clark had no incentive to continue to work on his case, as the fee structure and
26 contingency fee arrangement meant that Clark was losing money by continuing to
   represent him through the penalty phase of the trial. (ROA 549 at 20.) Kiles wrote
27 to VanDreumel in 2001, asserting his belief that the contingency fee had affected
   how she and Clark had handled his case. Kiles suggested VanDreumel request
28 additional compensation from the court so she would represent him effectively.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 48 of 500



 1 2000, Clark hired VanDreumel to represent him before the Disciplinary
 2 Commission of the Supreme Court of Arizona regarding allegations by the Bar.
 3 (PFR2 Dkt. 1 at 16.) VanDreumel continued to represent Clark until he was
 4 censured again for trust account issues on June 28, 2001. (PFR2 Dkt. 1 at 16; PFR2
 5 Dkt. 29 Ex. 35 at 1.) Notably, Clark hired VanDreumel after Kiles had filed his
 6 request with the trial court to pursue a Complaint in Special Action with the Arizona
 7 Supreme Court against Clark, and VanDreumel represented Clark throughout the
 8 time Kiles sought recourse from the Bar after filing a complaint against Clark.
 9 VanDreumel represented both Clark and Kiles for the duration of Kiles’s guilt-
10 phase proceedings. (ROA 1189 at 16; PFR2 Dkt. 29 Ex. 35 at 1.)
11          As a result of lead counsel’s actions, VanDreumel was divided in her
12 loyalties: She was representing Clark against allegations of dereliction of duties as
13 an attorney, and she therefore had a duty to not undermine his position before the
14 Bar. (PFR2 Dkt. 29 Ex. 35.) She also had a conflicting duty to Kiles, another client.
15 To admit or support Kiles’s allegations against Clark, she would have had to
16 undermine her representation of Clark before the Bar. Under the Arizona Rules of
17 Professional Conduct, these incompatible duties gave rise to a conflict of interest.
18 Specifically, ER 1.7 provides that with respect to current clients, a concurrent
19 conflict of interest exists if “there is a significant risk that the representation of one
20 or more clients will be materially limited by the lawyer’s responsibility to another
21 client.” ER 1.7(a)(2).
22          VanDreumel’s relationship with Kiles showed the strain of working with
23 unqualified lead counsel, as well as her own conflict between her two clients. When
24 VanDreumel was first appointed, she wrote to Kiles stressing that she, Clark, and
25 Kiles must present a unified front and work together to focus on the case and the
26 issues. While she stated she did not believe it necessary, she did acknowledge
27 Kiles’s right to submit motions pro per and represent himself if he believed counsel
28 to be ineffective. She informed Kiles, however, that the most difficult aspect of the
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 49 of 500



 1 case was working with him. As VanDreumel interpreted Kiles’s appropriate
 2 requests for communication as a sign of his lack of gratitude, she told Kiles she was
 3 not eager to spend her time working for someone who did not appreciate her efforts.
 4         After Clark hired VanDreumel to represent him in March 2000, however, her
 5 representations to Kiles became increasingly inconsistent, perhaps due to the
 6 conflict created by lead counsel.21 While recognizing the animosity between Clark
 7 and Kiles, VanDreumel told Kiles there was nothing she could do to cure it;
 8 apparently she did not consider supporting Kiles’s efforts to obtain effective
 9 representation an option. Occasionally VanDreumel expressed fondness for Kiles,
10 calling him “dear” and “darlin’,” and she told him he was never far from her
11 thoughts. However, when Kiles insisted to VanDreumel that she get Clark off the
12 case, VanDreumel responded harshly. She told Kiles that if he raised his complaints
13 about Clark’s representation in open court, the jury would judge him harshly and
14 most certainly sentence him to death.
15         Between his guilt and sentencing phases, Kiles alerted the court to
16 VanDreumel’s conflict. On July 8, 2002, Kiles informed the court “that the
17 friendship that Ms. VanDreumel shares with Mr. Clark is also detrimental to me.
18 Their friendship won’t allow Ms. VanDreumel to objectively criticize Mr. Clark’s
19 effectiveness on this case and this damages my chances at justice. This put [sic] Ms.
20 VanDreumel in a very precarious situation.” (ROA 576 at 3; ROA 615 at 3.) Kiles
21 also raised VanDreumel’s conflicting duties to her two clients to the court, stating
22 that “Ms. VanDreumel is not candid about Mr. Clark’s ineffectiveness in this case,”
23 possibly because VanDreumel represented Clark before the Disciplinary
24 Commission of the Supreme Court of Arizona, “where Mr. Clark was censured for
25
26    VanDreumel’s correspondence occasionally anticipated charges of deficient
     21

   performance. For example, VanDreumel sent Kiles a letter soon after his guilt-
27 phase trial telling him that his request for copies of documents—a routine request
   for items Kiles was entitled to receive—was just another one of his attempts to
28 create grounds for state post-conviction relief and that it would not work.
                                              33
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 50 of 500



1 conduct in violation of his duties and obligations as a lawyer, while they were both
2 still appointed to my case.” (ROA 585 at 7.)
3          The court held a status hearing in January 2002 at which the conflict was
4 discussed. At that status hearing, VanDreumel misrepresented Clark’s
5 qualifications under Rule 6.8 to the court:
6                 KILES: So here we have a capital case and here’s my
                  attorney and he is in trouble with the State Bar and I have
7                 my other attorney representing him. I just don’t think it’s
8                 right, Your Honor. I think it’s a conflict. I think I should be
                  given new attorneys. I think because I opposed Mr. Clark
9                 from the beginning—and the record speaks for itself—I
                  think I should be given a new trial with adequate attorneys.
10                I just think the record speaks for itself, Your Honor.
11                THE COURT: All right. Thank you. Mr. Clark, you want
                  to respond?
12
                  MR. CLARK: Judge, no. I think we have gone over this
13                area before. The court is well-aware of what has transpired.
14                THE COURT: Ms. Van Dreumel, anything from you?
                  MS. VAN DREUMEL: Only, Your Honor, that I—I have
15                spoken with Mr. Kiles about this issue. I explained to him
16                that the State Bar proceedings are confidential and so I
                  could not—it could not be discussed with him and I can
17                say, as I have told Alvie, that the most recent State Bar
                  proceeding involved simply a trust account issue. It was a
18                money issue. And that was the sum and substance of that.
19                It had nothing to do with representation and I also
                  explained under 6.2 and 6.8 of the Supreme Court rules to
20                Alvie, those rules require a lawyer to be in good standing
                  and Mr. Clark is still in good standing with the State Bar
21                and meets the qualifications set forth under the rule.22
22
23   22
       Clark was ultimately censured by the Arizona Supreme Court for his conduct in
     the matter for which he retained VanDreumel to represent him. (PFR2 Dkt. 29 Ex.
24   35 at 1.) During the course of his representation of Kiles, Clark was also informally
     reprimanded for ineffective assistance of counsel twice. On October 28, 2002, Clark
25   was reprimanded for failing to adequately communicate with his client, and on
26   February 9, 2004, he was placed on probation for a year for failing to communicate
     with his client, charging a fee that was not earned, and not timely refunding that
27   fee. See In The Matter of Greg Clark, Attorney No. 009431, Respondent, Supreme
     Court No. SB-01-0118-D, 2001 Ariz. LEXIS 99 (2001); (see also PFR2 Dkt. 22
28   Ex. 4 at 1–2; PFR2 Dkt. 29 Ex. 38 at 1–2).
                                                34
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 51 of 500



 1 (Tr. Jan. 7, 2002 at 68–69.) But Clark had again been suspended for non-payment
 2 of dues from April 28, 2000 to May 5, 2000. In 2002, he would not have met Rule
 3 6.8’s requirement that an attorney remain in good standing for the five years
 4 immediately prior in order to qualify for a capital appointment.23
 5                8.    Counsel’s conflicts and deficient performance undermined
                        the defense team and mitigation work in preparation for
 6                      Kiles’s penalty-phase proceedings.
 7         Clark and VanDreumel’s inadequate representation and conflicted,
 8 contentious relationships with Kiles adversely affected other members of the
 9 defense team. After having tried unsuccessfully to work with counsel, the first
10 mitigation specialist hired after the guilt-phase trial, Jan Dowling, resigned.
11         The court approved funding and appointment for Jan Dowling on October,
12 6, 2000. (ROA 510 at 1.) Dowling had been a practicing lawyer and was an
13 experienced capital mitigation specialist at the time of her appointment. Dowling
14 found Kiles an easy client to work with, but struggled to maintain communication
15 and a working relationship with Kiles’s attorneys. (ROA 533 Ex. A at 3–4.)
16         One of the precipitating events that necessitated Dowling’s resignation was
17 when VanDreumel released Dowling’s work product, clearly marked “Not for
18 Distribution to Client,” to Kiles.24 (ROA 533 Ex. A at 2.) When Dowling asked
19 VanDreumel why she had released the documents, VanDreumel admitted that in
20 any other case she would not have done so. However, in this case, Kiles had
21
22   23
        Additionally, under Rule 63(a) of the Rules of the Arizona Supreme Court, within
     ten days of his suspension in 2000, Clark was required to provide notice to
23   co-counsel, the court, opposing counsel, and his client that he had been suspended.
24   There is no evidence in the record that Clark fulfilled this obligation.
     24
        The memos VanDreumel shared with Kiles contained notes from Dowling about
25   her perceptions of Kiles’s close family members and friends. These notes were
26   intended to assist the defense team, and would have included, for instance,
     Dowling’s personal observations about whether a witness was candid or whether a
27   witness would seem credible to a jury. These observations could have caused Kiles
     offense and damaged Dowling’s relationship with Kiles, harming her ability to get
28   information from him that was essential to the mitigation investigation.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 52 of 500



 1 continued to file motions with the court alleging ineffective assistance of counsel,
 2 and he had filed a complaint with the Bar against Clark. VanDreumel defended her
 3 decision by explaining that, by providing work product to Kiles, VanDreumel
 4 hoped to mitigate his dissatisfaction with counsel.25 But by continuing to focus on
 5 Clark’s disciplinary issues, VanDreumel placed Clark’s interests before Kiles’s and
 6 thus furthered the conflict of interest. VanDreumel’s decision not only undermined
 7 a member of her defense team, it threatened the critical relationship between the
 8 mitigation specialist and Kiles.
 9         Dowling, who as a seasoned mitigation specialist had experience working
10 with numerous defense teams, was also greatly concerned about Clark’s
11 involvement in Kiles’s case. In June 2001, after she had been on the case for eight
12 months, Dowling wrote to Judge Kongable: “In particular, lead counsel, Greg
13 Clark, made no effort to contact or meet me. Months passed, and counsel made no
14 effort to meet and discuss the case, or comment on the information being gathered.”
15 (ROA 533 Ex. A at 1.) During her time working on the Kiles case, there was but a
16 single hour of “meaningful discussion” with counsel, which was the only
17 interaction Dowling ever had with Clark. (ROA 533 Ex. A at 1–2.) Dowling stated
18 that this was not typical: “In all of my other cases, the two attorneys and I actually
19 discuss the case.” (ROA 533 Ex. A at 1–2.) Dowling concluded that this was not a
20 case where attorneys had different strategies or working styles; rather, “[t]his is a
21 case where both the client and I have been completely abandoned by counsel.”
22 (ROA 533 Ex. A at 3.)
23         In response, VanDreumel filed a motion to appoint a new mitigation
24 specialist, and she took the opportunity to attack Dowling and the claims in her
25
26   VanDreumel did not truly believe, as she stated to Dowling, that Kiles should
     25

   receive copies of all documentation in his case; she was merely attempting to
27 navigate her role between Clark and Kiles in disclosing Dowling’s memos.
   VanDreumel later told Kiles he did not need a copy of the mitigation notebook
28 prepared for his penalty phase (although the State was provided one).
                                              36
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 53 of 500



 1 letter. (ROA 533 Ex. C at 1–7.) Dowling wrote back to Judge Kongable, stating that
 2 VanDreumel was not being honest with the court, and Dowling offered to provide
 3 documentation of those misrepresentations. (ROA 533 Ex. D at 1–5.) The court
 4 demurred. Judge Kongable wrote back to Dowling:
 5               I have read your letter of July 6, 2001 and noted the points
                 which you raise. Mr. Kiles and Ms. Boyte have voiced
 6               similar concerns.
 7               After some deliberation I have concluded that nothing
                 positive would result from a hearing in court in an attempt
 8               to establish “who is right and who is wrong,” at least at this
 9               time. I strongly suspect that whatever sentence I end up
                 imposing, there will be filed a petition for post conviction
10               relief alleging ineffective assistance of trial counsel. In the
                 overall scheme of things that would be the appropriate time
11               for me to take action, if any.
12 (ROA 533 Ex. E at 1.)
13         After Dowling resigned, the ongoing mitigation work in Kiles’s case
14 proceeded, albeit deficiently, as the work was hampered by Clark’s complete lack
15 of interest or involvement. Although another mitigation specialist was subsequently
16 appointed (ROA 530 at 1), Clark’s failure to consider mitigation hindered Kiles’s
17 penalty-phase case from the beginning. VanDreumel told Kiles that competent
18 counsel would have hired a mitigation specialist when counsel was first appointed
19 —though when Kiles questioned why this was not done, VanDreumel defended
20 Clark for not having done so. Meanwhile, VanDreumel admitted to the mitigation
21 specialist hired after Dowling’s withdrawal that Clark had been ineffective for
22 failing to bring on the mitigation specialist immediately after he was appointed.
23         Further, while VanDreumel told Kiles in correspondence that she was
24 continuing to fight battles for him every day and that she was ready to tackle the
25 issues in his case, she admitted to the mitigation specialist that she was trying to
26 keep too many balls in the air, was at her limit managing the work on Kiles’s case,
27 and needed assistance. VanDreumel also directed the mitigation specialist to check
28
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 54 of 500



 1 on Clark’s representations, as VanDreumel herself did not trust them.26 By the time
 2 Kiles’s sentence was handed down, Clark had ceased keeping up appearances of
 3 adequately representing his client; Kiles had not spoken to Clark outside of a
 4 courtroom in years, and Clark did not even show up for the sentencing. (ROA 924
 5 at 1.)
 6          Kiles was sentenced to death, after eight years of representation by dishonest,
 7 unqualified, and conflicted counsel. Over those eight years, Kiles repeatedly begged
 8 his attorneys to effectively advocate for him, but for personal, professional, and
 9 financial reasons, they did not.
10          B.    Lead counsel’s lack of qualifications and affirmative
                  misrepresentations of those qualifications deprived Kiles of his
11                right to due process and qualified counsel.
12          To provide the “counsel” guaranteed by the Sixth and Fourteenth
13 Amendments, a lawyer must satisfy standards set by the courts for practice. See
14 Reese v. Peters, 926 F.2d 668, 669 (7th Cir. 1991) (“The ‘Counsel’ to which the
15 sixth amendment refers is a professional advocate who meets the standards set by
16 the court.” (citing Solina v. United States, 709 F.2d 160 (2d Cir. 1983))).
17 Performance standards for attorney appointment are specifically promulgated to
18 ensure adequate representation and to preserve a defendant’s right to a fair trial. A
19 court that appoints counsel who falls short of those standards also falls short of
20 ensuring the constitutional rights of due process and effective representation. See
21
22
     26
       Moreover, the correspondence between Kiles and VanDreumel contains troubling
     hints about what VanDreumel was telling Kiles in person and on the phone. Kiles
23   believed at one point, and accordingly informed the court, that VanDreumel would
     support Kiles about Clark’s ineffectiveness at an upcoming hearing, though
24   VanDreumel ultimately declined to do so. (ROA 615 at 3.) Kiles said VanDreumel
     was using him to deliver messages to the court because she could not get in contact
25   with Clark and that she was using Kiles as a sounding board to complain about
26   Clark. Shortly before his penalty phase, Kiles asked if he could take VanDreumel
     up on her offer to speak with the State, the judge, and Clark off the record and have
27   another attorney appointed as lead counsel. (Kiles had only objected to this proffer
     previously because it would be off the record.) Whether VanDreumel’s offer was
28   in earnest is unknown because of her own conflict of interest.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 55 of 500



 1 id. at 670. Especially in a capital case, the defendant “has a substantial and
 2 legitimate expectation that he will be deprived of his liberty” only after the state has
 3 followed its own statutory guidelines setting forth the mandatory protections
 4 guaranteed to preserve a defendant’s right to a fair trial and adequate representation.
 5 Hicks v. Oklahoma, 447 U.S. 343, 346 (1980). The expectation of adequate counsel,
 6 and the expectation that the state will adhere to its own rules ensuring that right, is
 7 a fundamental liberty interest “that the Fourteenth Amendment preserves against
 8 arbitrary deprivation by the State.” Id.
 9         In Arizona, the appointment of capital-defense counsel who did not meet the
10 requirements under Rule 6.8 deprives a capital defendant of his Sixth and
11 Fourteenth Amendment rights. Where a state has provided specific regulations
12 regarding how capital trials shall proceed, “it is not correct to say that the
13 defendant’s interest” in having those rules adhered to, especially when those rules
14 were created specifically to protect his rights, “is merely a matter of state procedural
15 law.” Id. “The failure of a state to abide by its own statutory commands” implicates
16 “a liberty interest protected by the Fourteenth Amendment against arbitrary
17 deprivation by a state.” Fetterly v. Paskett, 997 F. 2d 1295, 1300 (9th Cir. 1993).
18 The State of Arizona failed to ensure Kiles received adequate representation in
19 compliance with its own law, in violation of Kiles’s Sixth and Fourteenth
20 Amendment rights.
21                1.     Lead counsel did not satisfy Arizona’s standards for
22                       appointment as capital defense counsel, depriving Kiles of
                         his due-process rights.
23
24         Rule 6.8, promulgated by the Arizona Supreme Court, sets forth the
25 qualifications required for appointment in capital cases.27 See, e.g., State v. Snelling,
26
27   The Rules referenced here are those applicable in 1998, at the time of Clark’s
     27

   appointment; though some have changed in numbering, they are substantively the
28 same as those presently in force.
                                                39
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 56 of 500



 1 236 P.3d 409, 413 (Ariz. 2010). As the Arizona Attorney General has emphasized,
 2 these “standards of competency” are both “comprehensive and mandatory.” Brief
 3 of Respondents-Appellants at 9, 2001 WL 34092875, Spears v. Stewart, 283 F.3d
 4 992 (9th Cir. 2002). Among other requirements, Rule 6.8 restricts eligibility to
 5 serve as counsel in capital trials to attorneys who “have been a member in good
 6 standing of the State Bar of Arizona for at least five years immediately preceding
 7 the appointment.”
 8         Because Clark did not meet this requirement, the State of Arizona failed to
 9 adhere to its own “comprehensive and mandatory” rules for appointment of counsel
10 in capital cases when Clark was appointed as Kiles’s lead counsel. While “good
11 standing” is not defined in Rule 6.8 itself, the term appears in Rule 33(d) of the
12 Rules of the Arizona Supreme Court, which describes those eligible for admission
13 pro hac vice to practice in Arizona courts. Those who submit an application to
14 practice pro hac vice are required to be in good standing, “currently eligible to
15 practice in those courts” in which the submitter was already admitted, and “not
16 currently suspended or disbarred in any court” at the time in which the application
17 is made. Clark was suspended by the Bar for non-payment of dues mere months
18 before his appointment to Kiles’s case. Accordingly, Clark was not in good standing
19 with the Bar at that time, and he thus did not meet the requirement under Rule 6.8
20 that he be in good standing for the five years immediately preceding his
21 appointment as lead counsel in Kiles’s case. Indeed, though Clark submitted a
22 motion claiming he satisfied Rule 6.8 requirements, he failed to attach a Certificate
23 of Good Standing from the Bar, possibly because under Rule 74(c) of the Rules of
24 the Arizona Supreme Court, the certificate would have noted his suspension and his
25 prior public discipline for ineffective assistance of counsel.
26         The State of Arizona’s failure to ensure the requirements of Rule 6.8 were
27 met is not a mere state procedural matter, as is illustrated by the string of
28 disciplinary measures and sanctions against Clark throughout his representation of
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 57 of 500



 1 Kiles.28 The requirements of Rule 6.8 were designed to prevent what ultimately
 2 occurred—the consistent failure of appointed counsel to conduct himself in
 3 accordance with the ethical rules governing attorneys. The denial here of procedural
 4 due process implicates every decision that followed made by counsel on Kiles’s
 5 case, leading to the unreliable and arbitrary imposition of a death sentence.
 6         The State of Arizona failed to follow its own procedures ensuring that capital
 7 defendants receive adequate counsel under the Sixth and Fourteenth Amendments.
 8 “Such an arbitrary disregard of the petitioner’s right to liberty is a denial of due
 9 process of law.” Hicks, 447 U.S. at 346. Kiles was denied the guaranteed right to
10 effective counsel in violation of his Constitutional rights, and as his sentence is
11 arbitrary and unreliable, it must be overturned.
12               2.     Lead counsel and co-counsel misrepresented Clark’s
                        qualifications to the court, denying the court the ability to
13                      protect Kiles’s due process rights.
14         On October 8, 1998, the trial court conducted an inquiry into whether Clark
15 and his co-counsel at the time, Mark Reeves, were qualified to be appointed to a
16 capital case under Rule 6.8. Clark’s statements during the trial court’s inquiry into
17 his eligibility for appointment under Rule 6.8 denied the court the ability to make
18 an informed and accurate decision and constituted ineffective assistance of counsel,
19 as well as a denial of Kiles’s procedural due-process rights protected under the
20 Fourteenth Amendment. Hicks, 447 U.S. at 346.
21         Mary Boyte, Kiles’s previous state post-conviction counsel, raised two
22 concerns at the court’s inquiry about Clark’s appointment: (1) Clark’s public
23 censure for ineffective assistance of counsel on a juvenile transfer case; and (2)
24 Clark’s suspension from the Bar for non-payment of dues. (Tr. Oct. 7, 1998 at 5–
25 6.) Clark misrepresented both of those issues to the court.29 He informed the court
26
27    These disciplinary measures are discussed in footnote 22, supra.
     28

   29
      In submitting a bid for appointment to Kiles’s case, Clark misrepresented to the
28 Yuma County Legal Defender how many clients he had on death row. Clark said
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 58 of 500



 1 that the first was merely a “judgment call,” after he himself had conditionally
 2 admitted his conduct failed to meet the ethical duties of competence and diligence.
 3 In reviewing the claims against Clark, the Court of Appeals of Arizona found there
 4 was a “failure to even attempt” to advocate for his former client. See Matter of
 5 Appeal in Maricopa Cty., Juvenile Action No. JV-511576, 925 P.2d 745, 748 (Ariz.
 6 Ct. App. 1996) (quoting Strickland, 466 U.S. at 694). He also stated to the court
 7 that the Bar had made the mistake regarding payment of dues, and that it had
 8 rectified it immediately. This was not true. The Arizona Supreme Court issued an
 9 order regarding non-payment, and the Bar only reinstated Clark after he submitted
10 payment, two weeks later.
11         At a January 2002 hearing, VanDreumel, who was at the time representing
12 Clark before the Bar on another matter,30 also misrepresented Clark’s qualifications
13 for appointment under Rule 6.8. VanDreumel informed the court that Clark was in
14 good standing and had remained in good standing, and thus that he “meets the
15 qualifications set forth under the rule.” (Tr. Jan. 7, 2002 at 68–69.) As stated above,
16 to qualify under Rule 6.8, Clark would have had to remain in good standing with
17 the Bar for the five years immediately preceding the appointment. But Clark had
18 not remained in good standing; he had again been suspended for non-payment of
19 dues in 2000. Thus, Clark would not have been eligible for appointment to a capital
20
21 he only had one former client sitting on death row; upon information and belief, he
   had at least three. See footnote 3, supra. Clark had previously misrepresented his
22 work history and was exposed for falsely claiming to be a former Navy SEAL and
   lying about his military service in Vietnam. According to retired U.S. Navy veteran
23 Jim Wade, who directed the investigation into Clark’s falsehoods, Clark also
24 claimed to have “participated in the failed Iran hostage rescue operation Desert
   One.”
25 30 The Arizona Supreme Court censured Clark in June 2001 for failure to respond
26 to a request for information from the Bar, failure to provide full and complete
   responses to inquiries from the Bar, and for trust account violations. (PFR2 Dkt. 29
27 Ex. 35 at 1.) The check Clark submitted to show the court he had completed his
   capital training, and that he was qualified to be lead counsel, had been improperly
28 issued from his IOLTA account. (ROA 381 at 6.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 59 of 500



 1 case at the time of VanDreumel’s representation.
 2         Further, VanDreumel and the court should have already been aware of
 3 Clark’s failure to meet the good standing requirement. Under Rule 63(a) of the
 4 Rules of the Arizona Supreme Court, Clark was required to notify co-counsel, the
 5 court, opposing counsel, and the client of his suspension in 2000. There is no
 6 evidence in the record that he did so, and the court seems to have been unaware of
 7 his suspension. Therefore, VanDreumel either knowingly misrepresented Clark’s
 8 disciplinary history to the court, or she was misled as to Clark’s qualifications and
 9 subsequently misled the court.
10         Ultimately, Clark’s misrepresentations and failure to act ethically and
11 professionally resulted in the court’s extralegal appointment, violating the Arizona
12 Rules of Criminal Procedure. The process that permitted Clark’s appointment had
13 a substantial and injurious effect on Kiles’s conviction and sentencing, as discussed
14 below in the numerous claims of ineffective assistance of trial counsel.31 See Brecht
15 v. Abramson, 507 U.S. 619, 623 (1993); see also, e.g., infra, Claim 3. Because Kiles
16 failed to receive qualified counsel as required by state law, violating his Sixth
17 Amendment right to counsel and his liberty rights as protected under the Fourteenth
18 Amendment, and that failure had substantial and injurious effect, habeas relief is
19 warranted. Hicks, 447 U.S. at 346; Brecht, 507 U.S. at 623.
20         C.    Kiles’s counsel were ineffective due to a conflict of interest,
                 denying Kiles his right to competent and un-conflicted
21               representation.
22         “The Sixth Amendment right to counsel requires effective assistance by an
23 attorney, which has two components: competence and conflict-free representation.”
24 Garcia v. Bunnell, 33 F.3d 1193, 1195 (9th Cir. 1994) (citing Wood v. Georgia, 450
25 U.S. 261, 271 (1981)). The right to conflict-free representation is a right to
26
27   31
      Kiles incorporates by specific reference into this discussion of prejudice the
   following claims of ineffective assistance of trial counsel: Claim 2, Claim 3, Claim
28 4, Claim 5, Claim 6, Claim 15, and Claim 16, infra.
                                              43
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 60 of 500



 1 counsel’s undivided loyalty, and it is evaluated by a different standard than one
 2 measuring competence. See Cuyler v. Sullivan, 446 U.S. 335, 348–49 (1980);
 3 Wood, 450 U.S. at 271. The Supreme Court has stated that to establish a Sixth
 4 Amendment violation based on a conflict of interest, a defendant must make two
 5 showings: (1) that counsel actively represented conflicting interests, and (2) that the
 6 actual conflict of interest adversely affected the lawyer’s performance. Hovey v.
 7 Ayers, 458 F.3d 892, 907–08 (9th Cir. 2006) (citing Cuyler, 446 U.S. at 348–50).
 8 Unlike a challenge to counsel’s competency, prejudice is presumed if the defendant
 9 shows both prongs have been met. Strickland, 466 U.S. at 692; United States v.
10 Miskinis, 966 F.2d 1263, 1268 (9th Cir. 1992).
11         Although the test articulated in Cuyler involved an attorney representing two
12 clients with conflicting interests, the presumption of prejudice extends to conflicts
13 between a client and his lawyer’s personal, professional, or financial interests.
14 Mannhalt v. Reed, 847 F.2d 576, 579–80 (9th Cir. 1988); see also Pometta v. Poole,
15 992 F.2d 1220 (9th Cir. 1993); United States v. Hoffman, 733 F.2d 596, 601–02
16 (9th Cir. 1984) (finding a conflict based on attorney’s failure to notify federal judge
17 of state bar suspension); United States v. Hearst, 638 F.2d 1190, 1193 (9th Cir.
18 1980) (finding a conflict based on attorney’s private financial interests).
19         Counsel in this case actively represented conflicting interests. Clark created
20 the conflict of interest when he hired VanDreumel to defend his conduct as an
21 attorney before the Bar. At the same time that she represented Clark, VanDreumel
22 also represented a client, Kiles, who was actively litigating Clark’s ineffective
23 assistance and conduct as an attorney before the Arizona Supreme Court and the
24 Bar. Clark, as lead counsel, was responsible for both the effective representation of
25 his client and the integrity and working relationship of the defense team; he failed
26 in both respects. VanDreumel could not have assisted Kiles in ensuring he received
27 effective assistance without undermining Clark’s interests before the Bar; she
28 furthered the conflict by accepting the dual representation and failing to recognize
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 61 of 500



 1 that her actions sacrificed one client’s interests in favor of another.
 2         There is no doubt that VanDreumel’s representation was adversely affected
 3 by her conflict of interest; VanDreumel admitted so to mitigation specialist Jan
 4 Dowling. VanDreumel shared memos from Dowling with Kiles that were clearly
 5 marked as “Not for Distribution to Client.” VanDreumel justified doing so because
 6 Kiles was filing motions with the court and had just filed a complaint with the Bar
 7 about Clark’s ineffective assistance. VanDreumel’s decision was one of the issues
 8 that led Dowling to resign. In other words, VanDreumel chose to undermine a
 9 specialist hired on one client’s case to benefit another client. This was not sound
10 legal strategy, but an attempt to navigate the conflict of interest lead counsel had
11 created.
12         Clark was not providing effective assistance, so VanDreumel had a duty to
13 speak to the court on behalf of Kiles. That she could not and did not do so satisfies
14 the two-pronged test in Cuyler. Instead, during a hearing, VanDreumel
15 misrepresented Clark’s qualifications under Rule 6.8 after Kiles raised his concerns
16 about her representation of Clark to the court. (Tr. Jan. 7, 2002 at 68–69.)
17         Additionally, VanDreumel made troubling attempts to silence her client
18 about lead counsel’s ineffective assistance, which shed light on the conflict under
19 which she was laboring. In correspondence, Kiles demanded that VanDreumel take
20 action to represent him and remove Clark. In response, VanDreumel insisted to
21 Kiles that raising Clark’s ineffective assistance during his trial would cause a jury
22 to judge him harshly and condemn him to death. She was protecting Clark, her
23 client and her co-counsel, with whom she had a personal and professional
24 relationship, at Kiles’s expense. See United States v. Williams, 594 F.2d 1258, 1260
25 (9th Cir. 1979) (finding sufficient conflict existed where the attorney-client
26 relationship was “a stormy one” with “threats, and counter-threats”).
27         “The very premise of our adversary system of criminal justice is that partisan
28 advocacy on both sides of a case will best promote the ultimate objective that the
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 62 of 500



 1 guilty be convicted and the innocent go free.” Herring v. New York, 422 U.S. 853,
 2 862 (1975). In Kiles’s case, the State received partisan advocacy, while Kiles’s
 3 counsel had divided loyalties. Moreover, counsel’s interests directly contradicted
 4 Kiles’s interest. Prejudice must be presumed, as a conflict between Kiles and his
 5 counsel existed and adversely affected counsel’s performance. Cuyler, 446 U.S. at
 6 348–50.
 7         D.     The irreparably fractured relationship between Kiles and Clark
                  adversely affected the representation Kiles received.
 8
 9         To “compel one charged with grievous crime to undergo a trial with the
10 assistance of an attorney with whom he has become embroiled in irreconcilable
11 conflict is to deprive him of the effective assistance of any counsel whatsoever.”
12 Brown v. Craven, 424 F.2d 1166, 1170 (9th Cir. 1970); see also United States v.
13 Moore, 159 F.3d 1154, 1158 (9th Cir. 1998). Accordingly, the “Sixth Amendment
14 requires on the record an appropriate inquiry into the grounds for such a motion [for
15 new counsel], and that the matter be resolved on the merits before the case goes
16 forward.” Schell v. Witek, 218 F.3d 1017, 1025 (9th Cir. 2000). Further, if a “serious
17 conflict did exist that resulted in the constructive denial of assistance of counsel, no
18 further showing of prejudice is required,” and the trial is “presumed to have been
19 unfair.” Id. at 1027; see also Frazer v. United States, 18 F.3d 778, 782 (9th Cir.
20 1994); Williams, 594 F.2d at 1260.
21         The conflict between Kiles and Clark deprived Kiles of his effective
22 assistance of counsel. As stated above, to establish an ineffective assistance of
23 counsel claim based on conflict of interest, a defendant must show that “an actual
24 conflict of interest adversely affected his lawyer’s performance.” Cuyler, 446 U.S.
25 at 350.
26         Sufficient conflict exists when the defendant was forced to trial with the
27 “assistance of a particular lawyer with whom he was dissatisfied, with whom he
28 would not cooperate, and with whom he would not, in any manner whatsoever,
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 63 of 500



 1 communicate.” Brown, 424 F.2d at 1169. Kiles stated to the court, “If you keep Mr.
 2 Clark on my case, I don’t know how he is going to be able to defend me because
 3 there is some things I need to tell my attorney, but I will not tell him.” (Tr. Aug. 6,
 4 1999 at 17.) “When a defendant accuses his counsel of improper behavior and the
 5 counsel disputes his client’s accusations, an actual conflict of interest results
 6 because ‘any contention by counsel that defendant’s allegations were not true would
 7 (and did) contradict his client.’” United States v. Shorter, 54 F.3d 1248, 1252–53
 8 (7th Cir. 1995). Clark repeatedly defended himself to the court by disparaging his
 9 client. (ROA 393 at 1; ROA 414 at 4.) As Kiles could not communicate with
10 Clark, and as Clark blamed their failure to communicate on Kiles, there could be
11 no attorney-client relationship whatsoever. Accordingly, Kiles and Clark had a
12 conflict of the sort contemplated by Brown.
13         Further, if a “defense attorney was required to make a choice advancing his
14 own interests to the detriment of his client’s interests,” an actual conflict of interest
15 exists, meeting the first prong of a Cuyler test. United States v. Horton, 845 F.2d
16 1414, 1419 (7th Cir. 1988). Thus, the court hearings on Kiles’s motions for new
17 counsel during the very first year of Clark’s appointment only helped solidify the
18 conflict between Kiles and Clark. At those hearings, Clark was representing
19 himself, not his client. Therefore the “interests of counsel were diametrically
20 opposed to those” of Kiles. United States v. Del Muro, 87 F.3d 1078, 1080 (9th Cir.
21 1996) (holding that the trial court's determination that an evidentiary hearing was
22 warranted heightened the conflict). Throughout the eight years Clark represented
23 Kiles, Clark’s continued need to justify his performance before the court, to the
24 detriment of his client, resulted in a conflict of interest under Cuyler that was never
25 resolved. This is especially true in light of the ongoing Bar proceedings against
26 Clark—his interests were necessarily split between adequately representing Kiles
27 and protecting himself against further disciplinary action.
28         Cuyler’s second prong, requiring an adverse effect, is satisfied where an
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 64 of 500



 1 attorney’s conflict of interest causes a “lapse in representation contrary to the
 2 defendant’s interests.” Wilson v. Mintzes, 761 F.2d 275, 286 (6th Cir.1985) (quoting
 3 Sullivan v. Cuyler, 723 F.2d 1077, 1086 (3d Cir. 1983)).32 Mary Boyte testified
 4 before the court only a year after Clark’s appointment, “There is, as best as I can
 5 tell, no attorney-client relationship between Mr. Kiles and Mr. Clark.” (Tr. Oct. 8,
 6 1999 at 31.) The lapse in representation lasted for another seven years. It was not a
 7 reasonable legal or ethical decision for Clark to continue to represent Kiles, with
 8 whom Clark had “no attorney-client relationship.” Clark’s continued representation
 9 was contrary to Kiles’s interest, as Kiles stated repeatedly he could not assist Clark,
10 and therefore himself, in his own defense. The irreconcilable conflict between Clark
11 and Kiles had an adverse effect on Kiles’s representation. Therefore, Kiles failed to
12 receive the effective representation required under Cuyler and the Sixth
13 Amendment. See Brown, 424 F.2d at 1170.
14         E.     The contract structure under which Kiles’s counsel were
                  appointed created a financial conflict of interest.
15
16         Kiles’s counsel were appointed to his case under contracts that gave rise to a
17 conflict of interest and that had an adverse effect on representation, in violation of
18 Kiles’s Sixth, Eighth, and Fourteenth Amendment rights.
19         Both lead and co-counsel in Kiles’s case had contracts for appointment that
20 amounted to contingency fees and that disincentivized effective representation in a
21 capital case. Clark’s contract stated Clark would receive $25,000 for accepting lead
22 counsel appointment on Kiles’s case and would receive another $25,000 if the case
23 went to trial. (Tr. Nov. 29, 1999 at 6.) VanDreumel agreed to accept $10,000 for
24 taking Kiles’s case, with another $10,000 if the case went to trial. Accordingly,
25 counsel (especially Clark, as VanDreumel was appointed not long before trial) had
26
     As noted above, Kiles’s prior attorneys were required to refund their fee after they
     32

27 withdrew. (ROA 1189 at 26; PFR2 Dkt. 22 Ex 11.) Financial concerns may have
   been motivating Clark’s insistence he remain Kiles’s attorney contrary to Kiles’s
28 interests.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 65 of 500



 1 a financial interest in not adequately representing Kiles at pretrial proceedings, as
 2 the first lump sum was paid upon appointment. There was no additional
 3 compensation for adequate representation, but there was compensation for
 4 gambling with Kiles’s life at trial.33 Counsel’s contracts not only created a conflict
 5 at the pretrial stage—under the contracts’ express terms, counsel were paid for
 6 guilt-phase representation—but no additional funds were to be disbursed for
 7 penalty-phase representation. These financial incentives led to deficient
 8 performance of counsel at both phases of trial, and a capital sentence against Kiles
 9 that is arbitrary and unreliable.
10         Flat fee and contingency fee contracts are not per se violations of the Sixth
11 Amendment. Rather, the defendant must show that the fee arrangement constituted
12 an actual conflict of interest. See Cuyler, 446 U.S. at 348. “Under this standard, an
13 ‘actual conflict’ is ‘a conflict that affected counsel’s performance’—as opposed to
14 a mere theoretical division of loyalties.” United States v. Wells, 394 F.3d 725, 733
15 (9th Cir. 2005) (quoting Mickens v. Taylor, 535 U.S. 162, 171 (2002)).
16 Additionally, the defendant must show adverse effect. Beyond that, a showing of
17 prejudice is not required, “but only ‘that some plausible alternative defense strategy
18 or tactic might have been pursued but was not and that the alternative defense was
19 inherently in conflict with or not undertaken’” due to the attorney’s financial
20 interests. Id. (quoting United States v. Stantini, 85 F.3d 9, 16 (2d Cir. 1996)).
21         The contract structure under which Clark and VanDreumel were appointed
22 created clear conflicts of interest and affected their representation of Kiles’s
23 interests. That Clark stood to benefit financially if Kiles went to trial, and to obtain
24 the flat fee promised regardless of the hours worked, adversely affected Clark’s
25 efforts on behalf of Kiles at the pretrial stage and after the guilt phase.
26
      VanDreumel has stated that Clark, as lead counsel, made all the strategic
     33

27 decisions as to the defenses to be raised and the witnesses called at the guilt phase
   and that those decisions were made before VanDreumel’s appointment to Kiles’s
28 case.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 66 of 500



 1         Adequate representation of capital defendants requires extensive pretrial
 2 investigation and mitigation work, work that would conflict with the terms of a
 3 contract that financially incentivized and compensated trial work, not pretrial work.
 4 The emphasis on pretrial representation was the norm expected of capital defense
 5 attorneys at the time of Clark’s and VanDreumel’s appointments. In 1989, the
 6 American Bar Association (ABA) promulgated its Guidelines for the Appointment
 7 and Performance in Death Penalty Cases, which it had drafted over the course of
 8 several years and which reflected a national consensus among capital defense
 9 practitioners as to the obligations of counsel for capital cases in the 1980s. See ABA
10 Guidelines for the Appointment and Performance in Death Penalty Cases (1989)34
11 (hereinafter “1989 ABA Guideline(s)”). The Supreme Court has consistently relied
12 upon guidelines from the ABA and similar professional groups to inform the
13 inquiry into reasonable professional conduct. See, e.g., Padilla v. Kentucky, 559
14 U.S. 356, 366–67 (2010) (“We long have recognized that the ‘[p]revailing norms
15 of practice as reflected in American Bar Association standards and the like . . . are
16 guides to determining what is reasonable. . . .’” (omissions in original) (quoting
17 Strickland, 466 U.S. at 688)); see also, e.g., Bobby v. Van Hook, 558 U.S. 4 (2009)
18 (per curiam); Ariz. Att’ys for Crim. Just. & Ariz. Cap. Representation Project,
19 Arizona Capital Case Defense Manual (1995).
20         As the 1989 ABA Guidelines explained, effective advocacy in a capital case
21 must begin immediately upon appointment. “Counsel should conduct independent
22 investigations relating to the guilt/innocence phase and to the penalty phase of a
23 capital trial. Both investigations should begin immediately upon counsel’s entry
24 into the case and should be pursued expeditiously.” 1989 ABA Guideline 11.4.1(A).
25 As to the guilt-phase investigation, while Clark did initially request funding for an
26 investigator, one was not hired until nearly a year after his appointment. (ROA 384
27
   34
      The ABA updated these guidelines in 2003. The updated version will hereinafter
28 be referred to as the “2003 ABA Guideline(s).”
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 67 of 500



 1 at 1; Tr. Oct. 8, 1999 at 74.) Moreover, Clark testified that his investigation was not
 2 independent, but based almost entirely upon information provided by the State.35
 3 Unfortunately, Clark’s decision not to conduct any independent investigation was
 4 a fiscally sound, financially responsible decision under his contract. The flat fee,
 5 contingency contract in this case created a conflict of interest between Kiles’s right
 6 to effective representation and Clark’s financial welfare. This is undoubtedly why
 7 the ABA Guidelines adopted an hourly rate model of compensation: “Capital
 8 counsel should be compensated for actual time and service performed. The
 9 objective should be to provide a reasonable rate of hourly compensation which is
10 commensurate with the provision of effective assistance of counsel.” 1989 ABA
11 Guideline 10.1(A).
12         Concurrent with the guilt-phase investigation, the mitigation investigation
13 “should comprise efforts to discover all reasonably available mitigating evidence
14 and evidence to rebut any aggravating evidence that may be introduced by the
15 prosecutor.” 1989 ABA Guideline 11.4.1(C). In Kiles’s case, lead counsel failed to
16 do any mitigation investigation, before or after the guilt phase. Indeed, Clark had
17 access to boxes and boxes worth of mitigation material from Kiles’s first successful
18 state post-conviction petition, but rather than review that important information in
19 the critical period before the trial, Clark insisted it was “worthless.” (Tr. Oct. 8,
20 1999 at 65.) No mitigation investigation was undertaken by Clark until after Kiles
21 had been found guilty. (ROA 509 at 1.) This was not in line with long-standing
22 norms of appropriate representation for capital representation at the time.
23
24   35
        “Mr. Powell and I sat down and went through the complete trial record of this
     case, located every piece of evidence, went through every piece of evidence that
25   was used in the last trial, judge. We ordered additional pieces of evidence because
26   from what we now know of the trial from the appellate records, there are items of
     evidence that are certainly out there that are to Mr. Kiles’ advantage. We have
27   located those and I have ordered copies of all of the photographs that were used
     both in the trial and the photographs that were not used in the trial.” (Tr. Aug. 6,
28   1999 at 31.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 68 of 500



 1 VanDreumel admitted as much to Kiles and to the mitigation specialists, who were
 2 hired later in the proceedings.
 3         Once Kiles’s guilt-phase trial was over, the fee arrangement still created a
 4 financial conflict for both of his counsel. Once the second lump sum was paid for
 5 the guilt-phase proceeding and no more funds were forthcoming, any additional
 6 work on Kiles’s case went unpaid. Clark was rarely involved in the case after the
 7 guilt phase was completed. VanDreumel alerted the court to Clark’s inaction when
 8 she wrote asking for additional funds, stating that she alone had done all post-trial
 9 work and that she could no longer do so without financial compensation. While the
10 court approved additional monies, VanDreumel still did the majority of the work
11 for Kiles’s penalty phase with little assistance from Clark, who had no financial
12 incentive to assist.
13         Given the financial and personal conflicts of interest under which Kiles’s
14 attorneys represented him at the penalty phase, “it is virtually impossible for a
15 reviewing court to determine what evidence would have been presented if substitute
16 counsel had been appointed, or how the presentation of testimony might have been
17 affected by trial counsel’s conflicting interest.” Del Muro, 87 F.3d at 1080. Indeed,
18 as discussed below, trial counsel failed to investigate and present a wealth of
19 mitigation that has since been uncovered. See infra, Claim 6. What is clear is that
20 Kiles was denied his right to un-conflicted, effective representation. The perverse
21 incentives of the contract and the adverse effect on representation harmed the
22 quality of representation Kiles received.
23         Because the fee arrangement with Kiles’s counsel created a conflict of
24 interest adversely affecting their representation both before and after trial, Kiles’s
25 conviction and sentence are unreliable and in violation of his constitutional right to
26 effective assistance.
27
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 69 of 500



 1         F.     The state post-conviction court’s decision that Kiles failed to state
                  a colorable claim for relief was unreasonable and does not bar
 2                relief.
 3         Kiles raised these claims below in similar form on direct appeal. (DA2 Dkt.
 4 86 at 66–84.) The Arizona Supreme Court declined to consider the claims, saying
 5 that they were more appropriate for a state post-conviction proceeding. See State v.
 6 Kiles, 213 P.3d 174, 183–84 & n.12 (Ariz. 2009) (“Because we do not address his
 7 claims of ineffective assistance, we express no opinion on the allegations or their
 8 veracity and leave them for Kiles to raise in a proper proceeding”).
 9       These claims were then appropriately presented in Kiles’s state post-
10 conviction relief petition. (ROA 1189 at 10–18, 23–30.) The post-conviction court’s
11 order was the last reasoned state-court decision, and it is therefore the subject of
12 this Court’s review. See Wilson v. Sellers, 138 S. Ct. 1188, 1192 (2018). The state
13 post-conviction court denied the claims on the merits, ruling that Kiles failed to
14 state a colorable claim. (ROA 1214 at 1).
15        This denial, with its justification that Kiles’s claim lacked the requisite
16 specificity, was unreasonable. Kiles’s state post-conviction petition included details
17 on Clark’s suspensions from the Bar. It also included facts that demonstrated that
18 the conflicts under which counsel labored while representing Kiles were actual, not
19 theoretical. (See, e.g., ROA 1189 at 11, 12–18.) Additionally, the petition laid out
20 a number of ways in which counsel performed deficiently, adversely affecting
21 Kiles, as a result of those conflicts. (See, e.g., ROA 1189 at 28, 30 (“[T]he
22 relationship between Mr. Kiles and Mr. Clark was irrevocably fractured,” which
23 resulted in a failure to communicate and establish an attorney-client relationship);
24 see also ROA 1189 at 23–30.) Because the allegations in Kiles’s state post-
25 conviction petition were adequately specific and would, if proven, entitle him to
26 relief, he stated a colorable claim. See Phillips v. Woodford, 267 F.3d 966, 992 (9th
27 Cir. 2001). The state court’s denial was contrary to, or involved an unreasonable
28 application of, clearly established federal law as determined by the Supreme Court.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 70 of 500



 1 See 28 U.S.C. § 2254(d)(1). The state court’s denial was also based upon
 2 unreasonable factual determinations in light of the record before the court. See 28
 3 U.S.C. § 2254(d)(2).
 4         Kiles has, therefore, satisfied the strictures of § 2254(d), and this Court must
 5 review the merits of his claim de novo. See Frantz v. Hazey, 533 F.3d 724, 736 (9th
 6 Cir. 2008) (en banc) (stating that once § 2254(d)’s limitation on relief has been
 7 satisfied, a federal court conducts a de novo review of the underlying constitutional
 8 violation).36
 9         G.      Taken individually and together, these conflicts plaguing counsel,
                   following from an initial denial of a liberty interest, resulted in a
10                 conviction and sentencing that cannot withstand constitutional
11                 scrutiny.

12         Following an initial due-process violation, Kiles never had qualified,
13 effective, conflict-free counsel, creating a breakdown in the adversarial process.
14 Indeed, for much of the proceedings, counsel and client acted as adversaries while
15 the State took sides, advocating for defense counsel and against Kiles’s interests.
16 (See, e.g., Tr. Oct. 8, 1999 at 22.) Once the adversarial process between appropriate
17 parties breaks down “and loses its character as a confrontation between adversaries,
18 the constitutional guarantee [of counsel] is violated.” United States v. Cronic, 466
19 U.S. 648, 656–57 (1984).
20       That breakdown throws Kiles’s sentencing into question and negates any
21 inference that the myriad unreasonable decisions counsel made cataloged in this
22 Petition “were carefully considered.” Bemore v. Chappell, 788 F.3d 1151, 1162 (9th
23 Cir. 2015). The myriad of conflicts and violations listed here “are so likely to
24 prejudice the accused that the cost of litigating their effect in a particular case is
25 unjustified.” Cronic, 466 U.S. at 658. As Kiles’s convictions and sentences were
26
27   Alternatively, Kiles alleges he can overcome any default by showing cause and
     36

   prejudice, because of the ineffective assistance of state counsel. See Martinez v.
28 Ryan, 566 U.S. 1, 9 (2012); Strickland, 466 U.S. at 688, 694.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 71 of 500



 1 the products of these Sixth, Eighth, and Fourteenth Amendment violations, Kiles is
 2 entitled to relief.
 3                                        Claim Two
 4         Counsel’s ineffective assistance in jury selection at the guilt-phase
           proceedings deprived Kiles of his rights to counsel, a fair trial, an
 5         impartial jury, due process, and equal protection.
 6         Counsel’s ineffective assistance in guilt-phase jury selection deprived Kiles
 7 of his rights to counsel, a fair trial, impartial jury, due process, and equal protection
 8 in violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments to the U.S.
 9 Constitution. Kiles incorporates by specific reference all facts, allegations, and
10 arguments made elsewhere in this Petition.
11         Kiles did not present this claim in state court. Kiles can overcome any default
12 by showing cause and prejudice, as the ineffective assistance of Kiles’s state post-
13 conviction counsel in failing to raise this claim constitutes cause for the default and
14 resulted in prejudice to Kiles. See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Strickland
15 v. Washington, 466 U.S. 668, 688, 694 (1984). Kiles will demonstrate at an
16 evidentiary hearing that state post-conviction counsel fell below the standards of
17 minimally competent capital post-conviction attorneys when they failed to raise this
18 meritorious claim. Because this claim has not been adjudicated by the Arizona state
19 courts, the limitations on relief imposed by 28 U.S.C. § 2254(d) do not apply to this
20 Court’s review, and the Court may consider the merits of the claim de novo.
21         A.     A defendant has a Sixth Amendment right to the effective
                  assistance of counsel during voir dire.
22
23         The Sixth Amendment guarantees to a defendant the right to effective
24 assistance of counsel, which in turn protects the due-process right to a fair trial.
25 Strickland, 466 U.S. at 684; see also Kimmelman v. Morrison, 477 U.S. 365, 374
26 (1986) (“The right to counsel is a fundamental right of criminal defendants; it
27 assures the fairness, and thus the legitimacy, of our adversary process.”). Under
28 Strickland, a defendant was denied effective assistance when (1) the “representation
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 72 of 500



 1 fell below an objective standard of reasonableness,” and (2) “there is a reasonable
 2 probability that, but for counsel’s unprofessional errors, the result of the proceeding
 3 would have been different.” Strickland, 466 U.S. at 687–88, 694. Ultimately, “[t]he
 4 benchmark for judging any claim of ineffectiveness must be whether counsel’s
 5 conduct so undermined the proper functioning of the adversarial process that the
 6 trial cannot be relied on as having produced a just result.” Id. at 686.
 7         With respect to the first prong of the Strickland test, “[t]he proper measure
 8 of attorney performance remains simply reasonableness under prevailing
 9 professional norms.” Id. at 688. The Supreme Court has consistently relied upon
10 guidelines from the ABA and similar professional groups to inform the inquiry into
11 reasonable professional conduct. See, e.g., Padilla v. Kentucky, 559 U.S. 356, 366–
12 67 (2010) (“We long have recognized that the ‘[p]revailing norms of practice as
13 reflected in American Bar Association standards and the like . . . are guides to
14 determining what is reasonable. . . .’” (omissions in original) (quoting Strickland,
15 466 U.S. at 688)); see also 1989 ABA Guidelines; 2003 ABA Guidelines. Courts
16 have regularly used these and similar guidelines to help determine whether counsel
17 performed deficiently. See, e.g., Rompilla v. Beard, 545 U.S. 374, 387 & n.7 (2005)
18 (citing the 1982 ABA Criminal Justice Standards for Criminal Justice when
19 deeming trial counsel ineffective for their failure to conduct a thorough
20 investigation); Wiggins v. Smith, 539 U.S. 510, 524–25 (2003) (“Counsel’s conduct
21 similarly fell short of the standards for capital defense work articulated by the
22 American Bar Association (ABA)—standards to which we long have referred as
23 ‘guides to determining what is reasonable.’”)
24         With respect to the prejudice prong of the Strickland test, the inquiry is
25 whether there is a “reasonable probability” that the jury would have reached a
26 different result absent counsel’s errors. Strickland, 466 U.S. at 694. A “reasonable
27 probability” is just one “sufficient to undermine confidence in the outcome”—a
28 “defendant need not show that counsel’s deficient conduct more likely than not
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 73 of 500



 1 altered the outcome.” Id. at 693–94.
 2         The effective assistance of counsel is particularly necessary to ensure that a
 3 defendant’s rights are protected during one of the most critical phases of trial: jury
 4 selection. “Voir dire plays a critical function in assuring the criminal defendant that
 5 his [constitutional] right to an impartial jury will be honored. Without an adequate
 6 voir dire the trial judge’s responsibility to remove prospective jurors who will not
 7 be able impartially to follow the court’s instructions and evaluate the evidence
 8 cannot be fulfilled.” Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981)
 9 (plurality opinion). The importance of jury selection is heightened in a capital
10 case—jury selection can even be dispositive. See Harris ex rel. Ramseyer v.
11 Blodgett, 853 F. Supp. 1239, 1265 (W.D. Wash. 1994); Gary Goodpaster, The Trial
12 for Life: Effective Assistance of Counsel in Death Penalty Cases, 58 N.Y.U. L. Rev.
13 299 (1983). Because of the critical nature of jury selection, especially in capital
14 cases, counsel’s failure to engage in adequate voir dire can constitute ineffective
15 assistance. See Strickland, 466 U.S. at 688, 694; Ybarra v. McDaniel, 656 F.3d 984,
16 1001 (9th Cir. 2011) (analyzing claim of ineffective assistance of counsel with
17 respect to jury selection).
18         As elaborated below, defense counsel performed deficiently in multiple ways
19 during jury selection at Kiles’s guilt-phase proceeding, and Kiles was prejudiced as
20 a result. Accordingly, counsel were ineffective. See Strickland, 466 U.S. at 688,
21 694.
22         B.     Counsel were deficient in failing to adequately or meaningfully
                  question prospective jurors to ensure a fair and impartial jury,
23                thereby prejudicing Kiles.
24         To ensure a fair trial, defendants have a right to have their cases heard “by a
25 panel of impartial, indifferent jurors.” Irvin v. Dowd, 366 U.S. 717, 722 (1961)
26 (internal quotation marks omitted). Voir dire is a critical tool in ensuring that those
27 prospective jurors who cannot fairly assess the evidence and follow the law are
28 removed from the jury pool. See Rosales-Lopez, 451 U.S. at 188 (plurality opinion).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 74 of 500



 1         The 1989 ABA Guidelines list requirements counsel must meet to adequately
 2 represent a capital defendant during voir dire. See 1989 ABA Guideline 11.7.2.
 3 These guidelines require capital counsel to familiarize themselves “with the
 4 precedents relating to questioning and challenging of potential jurors, including the
 5 procedures surrounding ‘death qualification’ concerning any potential juror’s
 6 beliefs about the death penalty.” Id. The standards therefore require counsel to ask
 7 about more than just prospective jurors’ views on the death penalty. It is critical
 8 counsel learn the juror’s feelings on issues relevant to the case at bar. For example,
 9 a juror might personally feel that a lesser-included charge is never appropriate if a
10 defendant has committed a crime involving children or domestic violence. Effective
11 counsel must know of these impairments before they select the jury. In order to
12 elicit the information necessary to avoid the selection of biased jurors, counsel must
13 use vigorous voir dire to fully explore each prospective juror’s views, knowing well
14 ahead the information that both parties will likely present. Here, counsel failed to
15 satisfy even the most minimal standards for competent jury selection.
16                1.    Counsel were deficient in failing to adequately screen
                        prospective jurors through questionnaires.
17
18         Prior to Kiles’s trial, prospective jurors were asked to complete a
19 questionnaire. (See Tr. July 5, 2000 at 7–8.) The State’s proffered questionnaire
20 was entered into the record. (CR89-15577 ROA 169 at 2–10.) Pursuant to a
21 stipulation off the record, the questionnaire from the State was submitted to defense
22 counsel, who were given the opportunity to submit additional questions before
23 sending the questionnaire to the court for approval. The questionnaires provided a
24 brief summary of the crime and then asked each prospective juror for limited
25 background information, as well as information about views on the death penalty.
26 The questionnaires themselves were incomplete, and defense counsel from the start
27 should have requested that questions be added to adequately evaluate prospective
28 jurors and determine an effective and thorough strategy for voir dire. Counsel
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 75 of 500



 1 should have requested questions on such topics as race, views on drug addiction,
 2 whether the prospective juror or someone close to that person had been a victim of
 3 domestic violence, whether the prospective juror had previous knowledge about the
 4 crime through the media or other means, and whether the death of young children
 5 in a crime would have an effect. There were also no questions about whether
 6 prospective jurors had themselves been or knew someone who had been the victim
 7 of a similar crime.
 8         Moreover, there were no questions asking prospective jurors about the depth
 9 of their personal knowledge about Kiles’s case. This was unreasonable in light of
10 Kiles’s first trial and conviction; it was even more unreasonable given that defense
11 counsel were litigating the extensive coverage of the ongoing 2000 proceedings in
12 the local news. (See Tr. Apr. 11, 2000 at 8; DA2 Dkt. 86 at 85–87; Case No. CV-
13 00-0143, Pet. For Special Action, May 5, 2000.)
14         Though defense counsel were given the opportunity to do so, they failed to
15 add any questions or request additional information; the State’s proffered
16 questionnaire was given to jurors unaltered. Defense counsel’s failure to solicit
17 meaningful information from prospective jurors impaired counsel’s ability to
18 conduct voir dire effectively and ensure an impartial jury was empaneled.
19         Defense counsel have a duty to question jurors beyond “general inquiries,”
20 as such inquiries are inadequate to “detect those jurors with views preventing or
21 substantially impairing their duties in accordance with their instructions and oath.”
22 Morgan v. Illinois, 504 U.S. 719, 734–735 (1992). Kiles’s counsel were given the
23 opportunity to use questionnaires to investigate the ability of prospective jurors to
24 be fair and impartial, given the facts and defenses in Kiles’s case, but counsel failed
25 to take it. As a result, counsel were unable to make strategic decisions when
26 conducting voir dire, in violation of their duty to ensure a fair and impartial duty.
27 See id. And, as described below, the failure to elicit critical information led to the
28 empaneling of a biased jury.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 76 of 500



 1                2.    Counsel were deficient in failing to question those
                        prospective jurors who were biased in favor of the death
 2                      penalty.
 3         While the Constitution “does not dictate a catechism for voir dire,” it entitles
 4 a defendant to a voir dire proceeding that is adequate to ensure both that an impartial
 5 jury is empaneled and that unqualified jurors are identified. Morgan, 504 U.S. at
 6 729; Dennis v. United States, 339 U.S. 162, 171–72 (1950). To effectuate that right,
 7 counsel must elicit information that goes to whether a prospective juror is unable to
 8 be impartial. See Morgan, 504 U.S. at 729; 1989 ABA Guideline 11.7.2.
 9       Despite the paucity of information elicited by the questionnaires, some of the
10 jurors who were ultimately seated gave answers that should have alerted defense
11 counsel of their bias in favor of the death penalty. Those jurors had a “substantial[]
12 impair[ment]” that required challenges for cause or, at the very least, further
13 examination during voir dire. See Morgan, 504 U.S. at 728. Defense counsel failed
14 to do either of those things. The failure to ask follow-up questions or to challenge
15 prospective jurors for cause, which was the result of lack of diligent preparation and
16 investigation, was unreasonable. See Wiggins, 539 U.S. at 521–22 (“[S]trategic
17 choices made after less than complete investigation are reasonable precisely to the
18 extent that reasonable professional judgments support the limitations on
19 investigation.”).
20         The questionnaire given to prospective jurors included the following
21 question: “Which of the following statements comes closest to your feeling on the
22 death penalty?”37 Several prospective jurors indicated that they had strong views in
23 favor of the death penalty, by marking either (1) that they were in favor of the death
24
25    Prospective jurors were given six options. They ranged from being so opposed to
     37

26 the death penalty that the juror would not vote guilty for first-degree murder even
   if it were proven beyond a reasonable doubt, to feeling that the death penalty should
27 be used in every case when a person knowingly or intentionally takes the life of
   another. The middle-ground option was “I am not opposed to the death penalty, but
28 feel it should be used only in special cases.” (CR89-15577 ROA 169 at 8–9.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 77 of 500



 1 penalty in every case where the state has proven beyond a reasonable doubt a person
 2 killed another with premeditation, or (2) that they felt the death penalty should be
 3 used when a person knowingly or intentionally takes the life of another. Among
 4 these prospective jurors were nine jurors who were ultimately seated, including
 5 Jurors L.G., L.W., D.W., B.S., D.M., B.M., A.M., C.A.K., and T.D.38 Even though
 6 these jurors provided glaring indications of a likely “substantial impairment” under
 7 Morgan, counsel failed to ask these nine prospective jurors any questions before
 8 they were seated. (Tr. July 7, 2000 at 75–80, 100–170.)
 9         One juror, expressed Juror H.D., strong pro-death penalty beliefs and was
10 questioned at voir dire before being seated. However, defense counsel did not
11 question him on his views on capital punishment. (Tr. July 7, 2000 at 114–16.) Juror
12 H.D. was only asked cursorily about his exposure to the case in the media.39 (Tr.
13 July 7, 2000 at 114–16.)
14         Because the ineffectual voir dire led to the seating of jurors with actual pro-
15 death biases, Kiles was prejudiced. See Ybarra, 656 F.3d at 1001.
16                3.    Counsel were deficient in failing to question jurors who were
                        likely biased due to past personal experiences.
17
18         Counsel also deficiently failed to question or challenge jurors who had a
19 “substantial impairment” based on their prior personal experiences, prejudicing
20 Kiles. See Morgan, 504 U.S. at 728.
21         Two of the empaneled jurors, Jurors L.W. and C.A.K., stated on their
22 questionnaires that they had been victims of domestic violence. Neither of these
23 jurors were asked any questions at voir dire. (Tr. July 7, 2000 at 75–80, 100–70.)
24 This failure was especially egregious given counsel’s guilt-phase strategy, which
25 was to contend that Gunnel’s murder was a “heat of passion” crime. Such a defense
26
27
      Voir dire at the guilt phase used last names rather than numbers.
     38

28 39 Juror H.D. ultimately served as an alternate juror. (Tr. July 19, 2000 at 99.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 78 of 500



 1 invited association with domestic violence. Accordingly, defense counsel should
 2 have been trying to determine whether prospective jurors—especially those who
 3 had been victims of domestic violence—would have difficulty being impartial in a
 4 case involving a female victim who had been killed by her partner. When a
 5 prospective juror has been the victim of a crime similar to the one at issue, it is
 6 imperative that counsel question the prospective juror about that experience. If, in
 7 response, the juror cannot conclusively state that he can be impartial, bias is
 8 presumed. Cf. United States v. Kechedzian, No. 16-50326, 2018 WL 4200969, at
 9 *6 (9th Cir. Sept. 4, 2018) (holding where a juror has been a victim of a similar
10 crime, the juror must unequivocally state he can be impartial or he must be excused
11 for cause). Therefore, Kiles’s counsel should have been particularly diligent in
12 questioning jurors who had been involved in or were victims of domestic violence.
13 It was unreasonable for defense counsel to not question these jurors about whether
14 those experiences impaired their ability to remain impartial.
15         Juror C.L.K. wrote on her questionnaire that her maternal great-grandfather
16 was murdered, as was her best friend’s father. But defense counsel asked Juror
17 C.L.K. no questions about these murders at voir dire. Rather, Clark questioned her
18 what she remembered about the instant crime from the media. (Tr. July 7, 2000 at
19 134.) Juror C.L.K. remembered that a woman and children had died, that one of the
20 children was found in a canal, and that the other was never found. (Tr. July 7, 2000
21 at 134.) Clark asked no follow-up questions. (Tr. July 7, 2000 at 75–80, 100–70.)
22 Asking Juror C.L.K. solely about her media exposure, when her ability to remain
23 indifferent may have been compromised by her close experiences with murder and
24 the impact it had on a family, was neither reasoned nor strategic, and counsel were
25 deficient for making such a glaring error. See Wiggins, 539 U.S. at 521–22.
26         Instead of asking pertinent questions of prospective jurors whose
27 questionnaires revealed potential bias, defense counsel failed to inquire whatsoever
28 into whether any of the jurors who were ultimately seated were Morgan-impaired.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 79 of 500



 1 (Tr. July 7, 2000 at 75–80, 100–70.) Defense counsel’s failure to question or to
 2 meaningfully question those jurors was deficient. Moreover, that failure resulted in
 3 the seating of several jurors who likely had significant actual biases based on their
 4 personal experiences. See United States v. Gonzalez, 214 F.3d 1109, 1112 (9th Cir.
 5 2000) (explaining that a court may assume a juror is biased where he “has had some
 6 personal experience that is similar or identical to the fact pattern at issue in the
 7 trial”). Because counsel’s deficient voir dire resulted in the seating of a jury that
 8 was not impartial, counsel were ineffective. See Ybarra, 656 F.3d at 1001.
 9         Finally, Juror A.B. babysat a little girl who was kidnapped, raped, and
10 murdered in 1988. Juror A.B. was close with the family, worked with the little girl’s
11 father, and saw how her murder affected him. While not discussed on her
12 questionnaire, this experience directly affected the way in which Juror A.B. heard
13 the evidence at Kiles’s trial; the testimony of Shemaeah’s father deeply affected
14 her, as she had seen another father of a murdered child go through a similar tragedy.
15 Having such an experience could have only been prejudicial against Kiles, but no
16 appropriate questioning at voir dire was done. Juror A.B. was only asked a few
17 questions about whether she had seen anything about Kiles’s case or the crime in
18 the media when it occurred. (Tr. July 7, 2000 at 106–07.) She was seated without
19 further questioning. Having been close to a victim and family of a similar crime is
20 a substantial impairment under Morgan, and adequate defense counsel would not
21 have allowed a juror to be seated with such a cursory questioning or investigation
22 to uncover such bias.
23         That these jurors were seated on Kiles’s jury denied Kiles his right to an
24 impartial jury, a fair trial, and a reliable verdict. Defense counsel’s ineffective
25 assistance at voir dire resulted in a jury that could not “stand impartial and
26 indifferent to the extent commanded by the Sixth Amendment.” Morgan, 504 U.S.
27 at 727.
28
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 80 of 500



 1                4.     Counsel were deficient in failing to question prospective
                         jurors about their knowledge of Kiles’s previous conviction.
 2
 3         At capital re-trials or re-sentencings, it is universally acknowledged as
 4 extremely damaging and prejudicial to inform the new jury of the prior death
 5 sentence or to make repeated references to the fact that defendant has been
 6 previously convicted and on death row. See, e.g., Fullwood v. Lee, 290 F.3d 663,
 7 682–83 (4th Cir. 2002) (remanding for hearing to determine whether jurors were
 8 exposed to information about prior death sentence because “generally speaking,
 9 such information is prejudicial in nature”); Atkins v. Commonwealth, 631 S.E.2d
10 93, 100 (Va. 2006) (reversing death sentence reached at resentencing because the
11 jury was made aware of prior death sentence); People v. Woolley, 793 N.E.2d 519,
12 524 (Ill. 2002) (reversing death sentence because “[t]he fact that the jurors heard
13 that another jury sentenced defendant to death could have mitigated the serious
14 consequences of their decision”); Hammond v. State, 776 So.2d 884, 889 (Ala.
15 Crim. App. 1998) (holding that the prosecutor “committed reversible error when he
16 informed the jury that Hammond had previously been sentenced to death for the
17 same offense at a previous trial”); State v. Miller, 771 S.W.2d 401, 404 (Tenn. 1989)
18 (“[I]t is clearly improper, as a general rule, to inform a jury at a resentencing hearing
19 that at a prior trial defendant was sentenced to death.”); State v. Britt, 220 S.E.2d
20 283, 292 (N.C. 1975) (“[N]o instruction by the court could have removed from the
21 minds of the jurors the prejudicial effect that flowed from knowledge of the fact
22 that defendant had been on death row as a result of his prior conviction of first
23 degree murder in this very case.”). For this reason, competent capital counsel should
24 have questioned jurors individually as to whether they had personal knowledge of
25 the crime or defendant prior to their being called to serve. Kiles’s counsel failed to
26 add any germane questions to the questionnaire; counsel again failed by not asking
27 jurors questions during voir dire that would have flagged jurors with potentially
28 damaging knowledge of Kiles’s prior proceedings. (Tr. July 7, 2000 at 75–80, 100–
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 81 of 500



 1 70.) Given the risks associated with a seated juror having knowledge of Kiles’s
 2 prior convictions and death sentences, counsel’s failure to address this topic even
 3 obliquely was deficient. See Strickland, 466 U.S. at 688.
 4         At least one juror was aware at the time he was seated on the jury that Kiles
 5 had been convicted at a prior trial and that the jury was not supposed to know that
 6 fact. The juror was uncertain whether he was supposed to alert counsel or the judge
 7 about his knowledge of the case. Because the juror was not questioned on the
 8 matter, he assumed it was of no consequence. That this juror was seated without
 9 any questioning is evidence enough of ineffective assistance. However, the failure
10 by counsel to uncover his knowledge of Kiles’s prior conviction was prejudicial to
11 Kiles. See, e.g., Fullwood, 290 F.3d at 682–83 (holding that jurors’ exposure to
12 information about prior death sentence is “prejudicial in nature”).
13               5.     Counsel were deficient in failing to meaningfully question
                        jurors about their exposure to Kiles’s case in the media.
14
15         Kiles’s guilt-phase voir dire was completely unproductive. Counsel did not
16 ask any individual questions of eleven people who were selected for Kiles’s jury:
17 Jurors E.B., T.D., C.A.K., A.M., B.M., D.M., B.S., L.W., D.W., L.G., and C.M.
18 Jurors L.G. and C.M. were alternates. (Tr. July 7, 2000 at 75–80, 100–70; ROA
19 479.)
20         This was especially unreasonable, as defense counsel were well aware of the
21 extensive coverage in local news of the crime, the criminal proceedings, and Kiles’s
22 prior convictions and sentences. To combat bias from media exposure, the defense
23 filed a petition for special action with the Arizona Supreme Court for a change of
24 venue. The petition detailed how pervasive news coverage was in Yuma regarding
25 Kiles’s case. (Case No. CV-00-0143, Pet. For Special Action, May 5, 2000 at 4–
26 46.) The defense further argued against a motion by the Yuma Sun, a prominent
27 local newspaper, to print information about Kiles’s former trial and conviction; the
28 Yuma Sun was given permission to print the information. (ROA 491 at 3–8; Tr.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 82 of 500



 1 July 7, 2000 at 9–14.) On another occasion, defense counsel told the court, “It is
 2 apparent, based upon my investigation of the pleadings, when they’re filed with the
 3 court that the press is—they come and get them almost the next day, if not the very
 4 same day, and then they’re reported in the press.” (Tr. Apr. 11, 2000 at 8.) Defense
 5 counsel knew exactly how widespread the media coverage of the case was. Yet
 6 counsel still failed to ask a single question of the majority of jurors who were seated
 7 on Kiles’s jury. This failure was simply unreasonable.
 8         Given the objective importance of capital jury selection, the legal precedent
 9 and established professional norms require counsel to question prospective jurors
10 on their knowledge of a prior capital sentence when a case is being retried, as well
11 as their potential biases or inability to fairly consider the evidence before them.
12 Kiles’s counsel permitted 11 of 16 jurors to be selected without asking any
13 questions. Kiles’s counsel’s failure to ask even one question of these jurors to assess
14 whether they were substantially impaired constitutes deficient performance. See
15 Morgan, 504 U.S. at 728; Virgil v. Dretke, 446 F.3d 598, 613 (5th Cir. 2006)
16 (counsel must make reasonable efforts “to explore the depth or intensity” of
17 potentially disqualifying views among the venire).
18         Kiles’s counsel’s failure to ask any questions of most of the seated jurors,
19 and failure to adequately question other seated jurors, resulted in multiple people
20 on Kiles’s jury who should have been disqualified for cause because their ability to
21 consider all the evidence or be free of biases was substantially impaired. See
22 Ybarra, 656 F.3d at 1001. Such a jury was unconstitutional, as “due process alone
23 has long demanded that, if a jury is to be provided the defendant, regardless of
24 whether the Sixth Amendment requires it, the jury must stand impartial and
25 indifferent to the extent commanded by the Sixth Amendment.” Morgan, 504 U.S.
26 at 727.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 83 of 500



 1         C.     Counsel failed to challenge the denial of a fair cross-section of the
                  community in the venire.
 2
 3         A venire comprised of “a representative cross section of the community is an
 4 essential component of the Sixth Amendment right to a jury trial.” Taylor v.
 5 Louisiana, 419 U.S. 522, 528 (1975). It is unconstitutional where a “distinctive”
 6 group is not fairly represented due to systematic exclusion, without a significant
 7 state interest justifying it. Duren v. Missouri, 439 U.S. 357 (1979); Taylor, 419 U.S.
 8 at 533–35. The under-representation need not be intentional or a product of bad
 9 faith. Glasser v. United States, 315 U.S. 60, 86 (1942).
10         Counsel’s failure to object to the fair cross-section violation in Kiles’s case
11 was deficient, as Taylor long pre-dated Kiles’s 2000 guilt phase. See 1989 ABA
12 Guideline 11.7.2(A) (requiring counsel to consider challenges to the venire panel).
13 Kiles’s guilt-phase jury was chosen through a selection process that involved
14 excessive unsupervised discretion and that was therefore susceptible to abuse. The
15 Jury Commissioner for the County of Yuma mailed questionnaires to prospective
16 jurors who were selected from voter registration lists. (ROA 225 at 5; ROA 225 Ex.
17 55 at 1.) If the questionnaire was returned due to a bad address, there was no follow
18 up or attempt to locate these individuals. (ROA 225 at 5; ROA 225 Ex. 55 at 1.)
19 The Jury Commissioner eliminated prospective jurors based on the returned
20 questionnaires at the Jury Commissioner’s sole discretion. (ROA 225 at 5; ROA
21 225 Ex. 55 at 1–2.) These questionnaires were then destroyed, without any
22 possibility for review by litigants or judicial officers. (ROA 225 at 5; ROA 225 Ex.
23 63 at 2.) Therefore, there is no way to ensure that the venire represented a fair cross-
24 section of the community.
25         Compounding the failure to challenge the flawed method above, trial counsel
26 failed to seek information about race on the questionnaires (CR89-15577 ROA 169
27 at 4–11) provided to jurors. It is unknown if the defense took contemporaneous
28 notes on prospective jurors or if they took an accounting of race of the prospective
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 84 of 500



 1 juror pool.40 Counsel’s failure to investigate or object to the lack of a fair cross-
 2 section was deficient. See Taylor, 419 U.S. at 533–35; 1989 ABA Guideline
 3 11.7.2(A).
 4         Kiles was prejudiced by his counsel’s failure to investigate or object, as the
 5 failure to do so deprived Kiles of a fair trial. Strickland, 466 U.S. at 687. Jury
 6 selection from a venire that violates the fair cross-section guarantee is structural
 7 error. United States v. Rodriguez-Lara, 421 F.3d 932, 940 (9th Cir. 2005), overruled
 8 on other grounds by United States v. Hernandez-Estrada, 749 F.3d 1154 (9th Cir.
 9 2014). Here, had counsel objected to the denial of the fair cross-section, “there is a
10 reasonable probability that the claim [counsel] failed to raise at trial would have
11 prevailed, either at trial or on appeal.” Doe v. Ayers, 782 F.3d 425, 432 (9th Cir.
12 2015) (citing Strickland, 466 U.S. at 694). Kiles was therefore prejudiced by his
13 counsel’s deficient performance.
14         D.    Counsel failed to make a record as to the reasons underlying the
                 removal of many prospective jurors.
15
16         Finally, counsel failed to make a complete record regarding jury selection,
17 compromising Kiles’s right to meaningful appellate review. See Gregg v. Georgia,
18 428 U.S. 153, 195 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.);
19 Dobbs v. Zant, 506 U.S. 357, 358 (1993) (“We have emphasized before the
20 importance of reviewing capital sentences on a complete record.”). Counsel’s
21 failure was deficient and prejudiced Kiles. See Strickland, 466 U.S. at 688, 694; see
22 also Claim 16, infra.
23         Kiles’s counsel and the State stipulated to the removal of a vast majority of
24 prospective jurors, without providing any reason for their removal on the record.
25 After reviewing the questionnaires, but without engaging in any voir dire of these
26
27    Defense counsel failed to preserve the 2000 guilt-phase proceeding juror
     40

   questionnaires. This was part of a pattern of failing to create a record. See Claim
28 16, infra.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 85 of 500



 1 prospective jurors, trial counsel and the State stipulated that 41 prospective jurors
 2 should be excused. (ROA 456.) The record of jury selection does not reflect the fact
 3 of these prospective jurors’ removal, let alone the reasons underlying removal. (See
 4 Tr. July 7, 2000 at 19–28.) Thus, the record on appeal lacked critical information
 5 necessary for Kiles’s appellate lawyer to challenge his convictions, prejudicing
 6 Kiles. The failure to make a complete record constituted ineffective assistance by
 7 Kiles’s counsel. See Claim 16, infra.
 8          In capital cases, “certain inquiries must be made to effectuate constitutional
 9 protections.” Morgan, 504 U.S. at 730. In Kiles’s case, however, counsel’s voir dire
10 performance did not satisfy objective standards of capital representation. The
11 standards were developed to ensure capital counsel’s performance adhered to
12 prevailing Supreme Court law, and at the time of retrial, counsel were obligated to
13 know and follow these standards. See 1989 ABA Guideline 11.7.2. Reasonably
14 competent capital attorneys would have worked to uncover jurors’ biases justifying
15 their removal for cause, as well as information that would have enabled counsel to
16 make informed peremptory strikes. Competent counsel would have rehabilitated
17 prospective jurors rather than release them by stipulation and would have ensured
18 a complete record. The failure of Kiles’s counsel to do so undermined his right to
19 an impartial jury, and therefore to a fair trial, such that Kiles is entitled to relief.
20                                         Claim Three
21          Kiles was denied effective assistance of counsel at his guilt-phase
            proceedings because counsel failed to investigate, develop, and
22          present critical evidence, among other significant errors.
23          Kiles’s trial counsel failed to investigate and prepare adequately for the guilt
24 phase of trial and consequently neglected to develop and present Kiles’s only viable
25 defense to first-degree murder for the death of Valerie Gunnel. Counsel’s deficient
26 performance in that respect and others, both individually and cumulatively,
27 prejudiced Kiles and thereby violated his rights under the Sixth and Fourteenth
28 Amendments to the U.S. Constitution. Kiles incorporates by specific reference all
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 86 of 500



 1 facts, allegations, and arguments made elsewhere in this Petition. Kiles presented
 2 this claim below. (ROA 1189 at 23–25, 30–40, 42–46; PFR2 Dkt. 1 at 23–46.)
 3         A.     Background on guilt-phase proceedings.
 4         The trial commenced on July 10, 2000, with prosecutor David Powell’s
 5 opening statement. Powell offered the jury a brief overview of the State’s theory of
 6 the crime: Late on February 9, 1989, Kiles returned home to Gunnel’s apartment,
 7 where he and Gunnel argued over food stamps that he had taken from her. (Tr. July
 8 10, 2000 at 12–13.) She slapped him twice, after which he went to his car, returned
 9 with a tire jack, and began beating her. (Tr. July 10, 2000 at 12–13.) Powell
10 contended that the assault began in the east bedroom and continued into the living
11 room, where Gunnel eventually died. (Tr. July 10, 2000 at 13.) According to
12 Powell, Kiles then went into the west bedroom, where “the carnage continued” as
13 Kiles beat both of Gunnel’s children, Shemaeah and LeCresha, to death. (Tr. July
14 10, 2000 at 13.) He later disposed of the children’s bodies in the river. (Tr. July 10,
15 2000 at 13.)
16       Powell laid out for the jury the three types of witnesses the State planned to
17 present. First, the State would offer the testimony of several witnesses who would
18 help lay the scene for what occurred on the day of the crime and until Kiles’s arrest.
19 (Tr. July 10, 2000 at 14–15.) Second, the State would present several “scientific
20 witnesses.” (Tr. July 10, 2000 at 16.) Powell overstated what these experts could
21 attest to, claiming for example that, through DNA evidence, the State would explain
22 “the chronology of what happened inside that apartment.” (Tr. July 10, 2000 at 16–
23 17.) Powell similarly insisted that blood-spatter expert Tom Bevel would be able to
24 “explain exactly what happened,” including that “there were a minimum of 14
25 blows struck” in the west bedroom. (Tr. July 10, 2000 at 19–20.) In addition, the
26 State would use the DNA expert and a statistician to establish that Shemaeah had
27 been killed, even though her body had not been found, and would present the
28 testimony of R.B. Mallon, M.D., who conducted the autopsies. (Tr. July 10, 2000
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 87 of 500



 1 at 18–20.) Lastly, the State would call witnesses who could speak to Kiles’s
 2 statements in the wake of the killings. (Tr. July 10, 2000 at 21.) One such witness
 3 would be Kiles’s mother; Powell asserted that she would testify that Kiles said,
 4 “point blank, ‘I killed Valerie and the kids.’” (Tr. July 10, 2000 at 21.)
 5          Lead defense counsel Greg Clark had three focal points during his opening.
 6 First, despite Powell’s misrepresentations, Clark extolled the scientific evidence in
 7 this case, hammering home for the jury that it was incontrovertible. Clark informed
 8 the jury that “Mr. Powell [wa]s absolutely correct with regard to the blood spatter
 9 evidence.” (Tr. July 10, 2000 at 34.) The field was “a very scientific area”; further,
10 “[y]ou can’t fight the DNA. You can’t. You can’t find [sic] that blood spatter
11 because that is a forensic fact in this case.” (Tr. July 10, 2000 at 34–35.) In that
12 same vein, Clark confirmed for the jury, “I can tell you now that the physical
13 evidence, that scientific evidence doesn’t lie. It’s not going to lie and it’s never lied.
14 It is what it is.” (Tr. July 10, 2000 at 41.)
15          Second, Clark laid out the defense’s theory of the case. Clark made clear
16 from the outset that Kiles was “absolutely responsible for the death of Valerie
17 Gunnel. That is not [the] issue.” (Tr. July 10, 2000 at 39–40.) What was at issue,
18 however, was Kiles’s degree of culpability for the death, which Clark noted
19 occurred “during the heat of the passion, a heated, ugly fight.” (Tr. July 10, 2000 at
20 40.) With respect to the children’s deaths, Kiles “didn’t act alone.” (Tr. July 10,
21 2000 at 40.)
22          Third, Clark previewed for the jury Kiles’s anticipated testimony. Clark
23 explained that Gunnel and Kiles had used drugs together on February 9, 1989, to
24 celebrate his new job, until Kiles eventually used Gunnel’s food stamps to buy
25 drugs and use them with friends. (Tr. July 10, 2000 at 42–43.) When he went home
26 with his friends to “face the music,” Gunnel started an argument because Kiles had
27 returned without the drugs he had promised. (Tr. July 10, 2000 at 44–45.) Clark
28 noted Kiles had had “a little bit to drink, he’s had a lot of drugs,” and “[h]e [was]
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 88 of 500



 1 not having any of it.” (Tr. July 10, 2000 at 44.) He started preparing to leave, but
 2 the argument escalated when Gunnel slapped Kiles twice. (Tr. July 10, 2000 at 45.)
 3 At that point, he reached down, grabbed the tire jack by his side, and hit her. (Tr.
 4 July 10, 2000 at 45–46.) After the shock lessened, Kiles went to look for his friends;
 5 he found them in the bedroom and saw that they had killed the children. (Tr. July
 6 10, 2000 at 46.) Kiles tried to clean the apartment while his friends left to dispose
 7 of the children’s bodies. (Tr. July 10, 2000 at 47–48.) Later, because he still “wants
 8 to get high,” Kiles tried to sell some of Gunnel’s property in order to get money for
 9 more drugs. (Tr. July 10, 2000 at 49.)
10         As Powell had pledged, the State did offer three types of witnesses over the
11 course of six days of testimony. Through several witnesses, the State tried to
12 develop a timeline of events starting on February 9, 1989. (See, e.g., Tr. July 12,
13 2000 at 6–9, 11–13 (Gunnel’s sister giving overview of when she saw Gunnel on
14 February 9, 1989); Tr. July 12, 2000 at 42–43 (Shemaeah’s father testifying about
15 when he saw Gunnel and Shemaeah on that day).) Several Yuma Police Department
16 officers, including lead investigator Detective Brian Rodgers, detailed the crime
17 scene and aspects of the investigation. (See, e.g., Tr. July 11, 2000 at 143–44
18 (Rodgers describing crime scene at Gunnel’s apartment).) Defense counsel
19 concentrated on asserting that Kale Johnson was responsible for the deaths of the
20 children, so counsel focused their cross-examinations on undercutting the
21 credibility of these witnesses, especially those who suggested that Johnson was not
22 involved in the crime. (See, e.g., Tr. July 12, 2000 at 158–61, 168–69, 172–83
23 (defense counsel trying to impeach credibility of Deirdre Johnson, who had
24 suggested that Kale Johnson had not seen Kiles on the morning of February 10,
25 1989).) Defense counsel further elicited testimony on cross-examination regarding
26 forensic evidence, including Kale Johnson’s shoeprints at Gunnel’s apartment and
27 blood on Johnson’s clothing, tying Johnson to the crime scene. (See, e.g., July 17,
28 2000 at 74–76 (Rodgers testifying that Converse prints appearing to match
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 89 of 500



 1 Johnson’s shoes were found in the hallway and back patio area of Gunnel’s
 2 apartment); July 17, 2000 at 83–84 (Rodgers testifying that Gunnel’s blood was
 3 found on Johnson’s shoes and pants).) Little, if anything, of relevance to how
 4 Gunnel’s death unfolded emerged.
 5         The State then presented the testimony of four experts.41 First, DNA analyst
 6 David Duplissa informed the jury that he had analyzed 11 items from the crime
 7 scene for DNA profiles and had compared those profiles to five known standards,
 8 including those of Gunnel, Kiles, and Kale Johnson. (Tr. July 12, 2000 at 114–17.)
 9 Among the items that had blood with Gunnel’s DNA profile were a tire jack ratchet,
10 a shoe, and a swab from the living room door. (Tr. July 12, 2000 at 122–23.) Kiles’s
11 trial counsel, seeking to bolster their third-party defense, drew out on cross-
12 examination that one of Johnson’s Converse shoes and his pants had Gunnel’s
13 blood on them, as well as that the blood on Johnson’s jacket had a DNA profile
14 from an unidentified individual. (Tr. July 12, 2000 at 132–38.)
15         The State next sought to establish the fact of Shemaeah’s death through
16 Thomas Wiltbank, M.D., who testified that it was “extremely likely” that the blood
17 on the bedsheet submitted for testing was from an offspring of Gunnel and Ward
18 Wade, namely Shemaeah. (Tr. July 13, 2000 at 87, 92.) The defense asked no
19 questions of Dr. Wiltbank.
20         Third, the State called the pathologist, Dr. Mallon, who had conducted the
21 autopsies of Gunnel and LeCresha Kirklin. Dr. Mallon identified the primary cause
22 of death of both victims as blunt trauma to the head. (Tr. July 13, 2000 at 97, 101.)
23 He further defined the term “defensive wound” and indicated that he saw evidence
24 of such a wound with Gunnel’s broken arm. (Tr. July 13, 2000 at 99.) On cross-
25 examination, defense counsel made a particular point of getting Dr. Mallon to agree
26 that this defensive wound must have occurred when Gunnel was conscious,
27
   41
      The State also presented Rodgers as a crime-scene management expert. (ROA
28 446 at 2.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 90 of 500



 1 meaning that it must have occurred early on during the beating. (Tr. July 13, 2000
 2 at 105.)
 3         Fourth, blood-spatter expert and crime-scene reconstructionist Tom Bevel
 4 testified on behalf of the State. He declared that blood-stain analysis can provide
 5 “in essence, a reconstruction of the occurrences that might have taken place in order
 6 to produce the blood as it is found.” (Tr. July 14, 2000 at 8–9.) From his photograph-
 7 based analysis of the west bedroom, where the children were killed, Bevel testified
 8 that there had been a minimum of 14 blows and that the attacker was right-handed.
 9 (Tr. July 14, 2000 at 15, 19, 27.) On cross-examination, the defense once again
10 focused on its third-party defense and had Bevel discuss what the implications
11 would be (in terms of who was swinging the weapon) if the blood on Johnson’s
12 jacket were castoff or spatter. (Tr. July 14, 2000 at 37–39.) Bevel also testified that
13 for a shoeprint to be made in blood, that blood still has to be in a liquid state; he
14 was unable to identify any clotting in the photographs of the bloody Converse
15 shoeprints in Gunnel’s apartment, suggesting that the blood was “[f]resher” when
16 the Converse shoe was placed in it. (Tr. July 14, 2000 at 40–44.) Bevel
17 acknowledged that a compromised crime scene—one that has changed since the
18 crime—can limit what blood-stain evidence can say about the crime. (Tr. July 14,
19 2000 at 47–48.) Defense counsel’s cross-examination focused nearly exclusively
20 on information relating to the children’s deaths, not to Gunnel’s. (See Tr. July 14,
21 2000 at 30–50, 55–59.)
22         Lastly, the State called Imojean Kiles, Jesse Solomon, Larry Hawkins, and
23 Kale Johnson to testify about the admissions Kiles made to them. The State’s
24 purpose was to establish that Kiles had repeatedly confided to family and close
25 friends that he had killed Gunnel and her children and had disposed of the children’s
26 bodies, and moreover that he had not implicated Johnson in the crimes. (See, e.g.,
27 Tr. July 13, 2000 at 12–13.) The State further elicited testimony from Hawkins
28 about what he claimed to have learned from Kiles, including that (1) the assault
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 91 of 500



 1 began after Gunnel slapped Kiles, “enrag[ing] him,” (2) Kiles went outside to get
 2 the tire jack from the car and then returned and struck Gunnel, and (3) Gunnel
 3 regained consciousness at one point during the attack, after which Kiles beat her
 4 again until she died. (Tr. July 13, 2000 at 23–24, 28–29, 32–33.)
 5         For all of these witnesses, the defense focused heavily on undercutting any
 6 suggestion that Kiles had admitted to killing the children or disposing of their
 7 bodies. (See, e.g., Tr. July 11, 2000 at 79 (Imojean Kiles testified that she
 8 understood from Johnson that he had been involved in the killings); Tr. July 13,
 9 2000 at 57–58 (defense getting Hawkins to admit that some of the information he
10 gave to police must have been based on news sources, not just information from
11 Kiles).) During the cross-examination of Johnson and other testimony about
12 Johnson, the defense determinedly sought to highlight inconsistencies in his prior
13 statements, his inadequate explanation for Gunnel’s blood on his clothing, the fact
14 that he spent much of the day after the killings with Kiles, and the fact that he was
15 spared murder charges once he named Kiles as the sole culprit in the killings. (See,
16 e.g., Tr. July 14, 2000 at 113–15 (Johnson indicating he signed affidavit stating he
17 would have been indicted for murder if he did not testify); Tr. July 14, 2000 at 129
18 (Johnson dismissing the blood spots on his clothing as having gotten there “some
19 type of way” when he was in Gunnel’s apartment); Tr. July 17, 2000 at 89 (Rodgers
20 admitting that Johnson “didn’t have an explanation for the [blood on his] jacket”).)
21 Once again, the defense focused on Johnson’s involvement and paid little heed to
22 Gunnel’s death.
23         The centerpiece of the defense case was Kiles’s testimony. After briefly
24 presenting only three other witnesses (see Tr. July 17, 2000 at 127, 138, 145), the
25 defense called Kiles to the stand. Kiles set out in detail his relationship with Gunnel,
26 that he had just gotten a job the morning of February 9, 1989, and how he and
27 Gunnel planned to sell her food stamps for drugs so they could celebrate. (Tr. July
28 17, 2000 at 153–55.) Kiles walked the jury through much of the day in question,
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 92 of 500



 1 including his drinking and drug use with Johnson and others in the afternoon. (Tr.
 2 July 17, 2000 at 157–58.) Kiles further testified that he and his friends, including
 3 Johnson and one Mike Parker, used all of the drugs and the money—such that they
 4 had to return to Gunnel’s apartment with no food stamps, no money, and no drugs.
 5 (Tr. July 17, 2000 at 158–60.)
 6         Kiles continued that Gunnel started arguing with him because he had come
 7 back empty-handed, so he and his friends started packing his stuff to move out. (Tr.
 8 July 17, 2000 at 160.) To make room in his car for his belongings, which included
 9 a television, clothes, and a bed, Kiles had to move some of the items in his car—
10 including a tire jack—into the apartment. (Tr. July 17, 2000 at 160–62.) But Gunnel
11 was still arguing with him, and things got “so heated.” (Tr. July 17, 2000 at 164.)
12 Kiles testified, “She slapped me. I asked her not to do that. Well, I told her, Don’t
13 slap me again. More words was exchanged and she slapped me again.” (Tr. July 17,
14 2000 at 165.) Then Kiles “just reached down and grabbed the jack and just swung
15 it.” (Tr. July 17, 2000 at 165.) Gunnel, who had been facing Kiles, fell into a leather
16 chair; Kiles continued, “I guess I hit her more than one time.” (Tr. July 17, 2000 at
17 165–66.) Kiles explained that Gunnel went down quickly: once he hit her, “[s]he
18 didn’t move again.” (Tr. July 17, 2000 at 166.) She did not regain consciousness or
19 speak again. (Tr. July 17, 2000 at 166.) He went into shock and dropped the tire
20 jack; it was only once a noise roused him that he went to the west bedroom, where
21 he saw Johnson swinging the tire jack at the children and Parker watching from
22 nearby. (Tr. July 17, 2000 at 167–70.)
23         Afterward, Parker, Johnson, and Kiles devised a plan: Parker and Johnson
24 would dispose of the children’s bodies, while Kiles tried to clean the apartment.
25 (Tr. July 17, 2000 at 170–73.) As part of the attempted clean-up, Kiles wrapped
26 Gunnel’s body in a blanket and moved her from the chair into the hallway, out of
27 sight from the apartment’s front door. (Tr. July 17, 2000 at 171.) Kiles testified that
28 he later passed out; afterward, he and Johnson ransacked Gunnel’s apartment for
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 93 of 500



 1 property they could sell in order to feed their addictions. (Tr. July 17, 2000 at 177,
 2 190.)
 3         On cross-examination, Kiles testified that anyone who said that he had killed
 4 all three victims was wrong—that Johnson was lying. (Tr. July 17, 2000 at 215.)
 5         Powell’s closing argument for the State emphasized just how much time
 6 Kiles had, according to the State’s version of events, to think about what he was
 7 doing. (Tr. July 19, 2000 at 36.) Powell announced, “The state maintains to you,
 8 ladies and gentlemen, never has a case exhibited more premeditation than the one
 9 we exhibit now.” (Tr. July 19, 2000 at 36–37.) Powell further shared that he
10 personally did not credit Kiles’s testimony that Johnson had killed the children. (Tr.
11 July 19, 2000 at 30.) During closing argument, with regard to Gunnel’s death,
12 defense counsel countered that the State’s theory that the attack on Gunnel started
13 in the bedroom was untenable. (Tr. July 19, 2000 at 51.) Lauding Bevel as “the
14 foremost expert” in blood-stain analysis, Clark noted that some of Bevel’s
15 testimony corroborated Kiles’s statement that he did not kill the children. (Tr. July
16 19, 2000 at 57.) Clark also told the jury that it could consider intoxication when
17 assessing whether the killings were premeditated. (Tr. July 19, 2000 at 70–71.)
18         With respect to Gunnel’s death, the court instructed the jury on premeditated
19 first-degree murder, second-degree murder, heat-of-passion manslaughter, and
20 reckless manslaughter. The court also provided additional instructions for the
21 counts regarding Shemaeah and LeCresha. (Tr. July 19, 2000 at 86–99.) After what
22 appears to have been more than a full day of deliberations, the jury returned verdicts
23 of guilty as to three counts of first-degree murder and two counts of child abuse.
24 (See ROA 479 at 1; CR89-15577 ROA 217 at 1.)
25         B.     A defendant has a Sixth Amendment right to the effective
                  assistance of counsel at guilt-phase proceedings.
26
27         As described in Claim 2, supra, the Sixth Amendment guarantees to a
28 defendant the right to effective assistance of counsel. Strickland v. Washington, 466
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 94 of 500



 1 U.S. 668, 684 (1984). Under Strickland, a defendant is denied effective assistance
 2 when (1) the “representation fell below an objective standard of reasonableness,”
 3 and (2) “there is a reasonable probability that, but for counsel’s unprofessional
 4 errors, the result of the proceeding would have been different.” 466 U.S. at 687–88,
 5 694.
 6         Whether an attorney performed deficiently depends on the “reasonableness
 7 [of the attorney’s actions] under prevailing professional norms.” Id. at 688. As
 8 noted previously, the Supreme Court has consistently relied upon guidelines from
 9 the ABA and similar professional groups to inform the inquiry into reasonable
10 professional conduct. See, e.g., Padilla v. Kentucky, 559 U.S. 356, 366–67 (2010);
11 Bobby v. Van Hook, 558 U.S. 4 (2009) (per curiam); Rompilla v. Beard, 545 U.S.
12 374, 387 & n.7 (2005); see also 1989 ABA Guidelines; 2003 ABA Guidelines.
13 While strategic choices made by trial counsel are presumed reasonable, that
14 deference applies only insofar as the choices resulted from “thorough investigation
15 of law and facts relevant to plausible options[.]” Strickland, 466 U.S. at 689–90.
16 “[S]trategic choices made after less than complete investigation are reasonable
17 precisely to the extent that reasonable professional judgments support the
18 limitations on investigation. In other words, counsel has a duty to make reasonable
19 investigations or to make a reasonable decision that makes particular investigations
20 unnecessary.” Wiggins v. Smith, 539 U.S. 510, 521–22 (2003).
21         Notably, whether an attorney performed reasonably takes into account the
22 attorney’s professional history: the “character of a particular lawyer’s experience
23 may shed light in an evaluation of his actual performance.” United States v. Cronic,
24 466 U.S. 648, 665 (1984); see supra, Claim 1 (discussing some of trial counsel’s
25 relevant history).
26         Whether an attorney’s deficient performance caused prejudice depends on
27 whether there is a “reasonable probability” that the jury would have reached a
28 different result absent counsel’s errors. Cronic, 466 U.S. at 694. A “reasonable
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 95 of 500



 1 probability” is just one “sufficient to undermine confidence in the outcome”—a
 2 “defendant need not show that counsel’s deficient conduct more likely than not
 3 altered the outcome.” Id. at 693. Further, because of the requirement of unanimity,
 4 prejudice turns on whether there is a reasonable probability that even one juror
 5 would have made a different decision. Wiggins, 539 U.S. at 537.
 6         When evaluating prejudice, a court must consider “the totality of the
 7 evidence—both that adduced at trial, and the evidence adduced in the habeas
 8 proceeding[s].” Id. at 536 (alteration in original) (quoting Williams v. Taylor, 529
 9 U.S. 362, 397–98 (2000)). And, critically, the question is not only whether each
10 instance of deficient performance was on its own prejudicial, but also whether the
11 combined effect of all of those instances was to undermine confidence in the
12 outcome. See Strickland, 466 U.S. at 694; see also, e.g., Martin v. Grosshans, 424
13 F.3d 588, 592 (7th Cir. 2005) (“[E]ven if these [unprofessional] errors, in isolation,
14 were not sufficiently prejudicial, their cumulative effect prejudiced Martin’s
15 defense.”).
16         C.     Trial counsel were ineffective for failing because of their
                  constitutionally inadequate investigation to present a reasonable
17                defense for the death of Gunnel.
18         One of the primary duties of trial counsel is to conduct a reasonable
19 investigation. See Kimmelman, 477 U.S. at 384 (concluding that the adversarial
20 process “will not function properly unless defense counsel has done some
21 investigation into the prosecution’s case and in to various defense strategies”).
22 Counsel must “conduct a prompt investigation of the circumstances of the case and
23 . . . explore all avenues leading to facts relevant to the merits of the case.” Doe v.
24 Ayers, 782 F.3d 425, 434 (9th Cir. 2015) (alteration and internal quotation marks
25 omitted). Then, once counsel has conducted a reasonable investigation, counsel
26 may make strategic decisions based upon the information gathered—including the
27 decision to curtail further investigation. Simply put, investigation must precede and
28 inform strategy. See Wiggins, 539 U.S. at 521–22. Counsel’s decisions warrant
                                              79
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 96 of 500



 1 deference only when those decisions follow a “thorough investigation of law and
 2 facts relevant to plausible options[.]” Strickland, 466 at 689–90. Such is not the
 3 case when counsel (1) adopts a strategy after an inadequate investigation, and then
 4 (2) limits further investigation based on that ill-conceived strategy. See Wiggins,
 5 539 U.S. at 521–22; Weeden v. Johnson, 854 F.3d 1063, 1070 (9th Cir. 2017)
 6 (“[C]ounsel could not have reasonably concluded that obtaining a psychological
 7 examination would conflict with his trial strategy without first knowing what such
 8 an examination would reveal.”).
 9         Trial counsel failed to adequately investigate the law and facts related to
10 Kiles’s guilt-phase proceedings, especially as they related to the charge of first-
11 degree murder with premeditation for the death of Gunnel. Instead of conducting a
12 reasonable investigation and then developing a strategy for the defense, counsel
13 conducted an extremely limited investigation, settled on a strategy, and then tailored
14 subsequent investigative and other decisions to fit with that predetermined and
15 unsupportable strategy. As described below, had counsel conducted a reasonable
16 investigation and then determined trial strategy, taking into account expert
17 consultations, witness interviews, and the like, counsel would have been able to
18 present a reasonable defense and undercut the State’s case, such that there is a
19 reasonable probability that at least one juror would have concluded that Kiles was
20 guilty of second-degree murder, not first-degree murder, in Gunnel’s death.
21                1.    Trial counsel performed deficiently by failing to conduct a
                        reasonable investigation; that performance resulted in them
22                      settling on a legally unsound and ill-considered guilt-phase
23                      strategy.

24         From the outset, lead counsel Greg Clark had a wealth of information on
25 valuable avenues of investigation for Kiles’s guilt-phase proceedings. Indeed, Kiles
26 had previously been convicted of all three counts of first-degree murder, and first
27 state post-conviction counsel had obtained relief from those convictions based on
28 ineffective assistance both of trial counsel in preparing and presenting a defense
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 97 of 500



 1 and of appellate counsel. (See CR89-15577 ROA 60 at 3–4.)
 2         First, state post-conviction counsel had alleged that Kiles’s 1989 trial counsel
 3 performed deficiently in numerous respects, including by (1) failing to request the
 4 appointment of experts to evaluate blood spatter and other forensic evidence, and
 5 (2) failing to investigate and present evidence that Kiles could not and did not
 6 premeditate murder because of his intoxication and impulsivity. (ROA 225 at 37–
 7 41, 66.) Counsel attached to their petition over 80 exhibits, including an affidavit
 8 from expert criminalist Peter Barnett critiquing the work of Tom Bevel, the State’s
 9 blood-spatter expert (see ROA 225 Ex. 59; ROA 225 Ex. 79), and an affidavit from
10 psychiatrist and neurologist Albert Globus, M.D., discussing such topics as Kiles’s
11 dysfunctional family, childhood trauma, struggles with addiction, and impulsivity
12 (ROA 225 Ex. 60.) At the subsequent state post-conviction hearing in 1996, Dr.
13 Globus testified extensively about Kiles’s impulsivity, which Dr. Globus concluded
14 was likely attributable to in utero toxic exposure and aggravated by chronic
15 depression and intoxication. (See, e.g., Tr. Feb. 21, 1996 at 177–78.) Dr. Globus
16 further described how organic brain damage and genetic predisposition contributed
17 to Kiles’s addictions and how Kiles’s “toxic psychosis from the drugs” led to
18 “severely disordered” thought processes at the time of the offense. (See, e.g., Tr.
19 Feb. 21, 1996 at 177–85.) Persuaded by such testimony, the state post-conviction
20 court granted relief in 1996. (See CR89-15577 ROA 60.)
21         Competent subsequent trial counsel would have regarded prior counsel’s
22 extensive investigation as a resource and would have reviewed it carefully. Clark,
23 however, did not do so. See Rompilla, 545 U.S. at 383–84 (counsel performed
24 deficiently when they were on notice that a readily available file had relevant,
25 helpful information but failed to review it). After Clark’s appointment as lead
26 counsel in September 1998 (see Tr. Oct. 7, 1998 at 2–4), Clark moved for funding
27 for an investigator and for a mental-health expert (ROA 384 at 1–2). At a hearing
28 on that motion, Clark indicated that the mental-health expert would conduct “just,
                                               81
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 98 of 500



 1 I think, probably a pre-screen type examination.” (Tr. Oct. 30, 1998 at 45–46.)
 2 Clark further specified that the court should appoint Dr. Globus, noting that “[i]t
 3 appears this gentleman has had some contact with Mr. Kiles. . . . [Dr. Globus] was
 4 somebody, I think, [who was] referenced in the appellate procedure, judge. Possibly
 5 a PCR.” (Tr. Oct. 30, 1998 at 45–46.) Clark had no idea that Dr. Globus had testified
 6 at the post-conviction hearing, let alone the substance of that testimony.
 7         The court42 granted Clark’s request for funding for an investigator and for
 8 Dr. Globus’s pre-screening examination. (ROA 386 at 1); see also ABA Guideline
 9 8.1 cmt. (recognizing the importance of trained investigators as support for
10 counsel). But Clark made no move to contact either an investigator or Dr. Globus.
11 See Richey v. Bradshaw, 498 F.3d 344, 362 (6th Cir. 2007) (“[T]he mere hiring of
12 an expert is meaningless if counsel does not consult with that expert to make an
13 informed decision about whether a particular defense is viable.”).
14         Sixth Amendment precedent and professional guidelines required Clark to
15 expeditiously investigate guilt/innocence issues. See, e.g., Doe, 782 F.3d at 434;
16 1989 ABA Guideline 11.4.1(A); see also, e.g., ABA Standards for Criminal
17 Justice—Defense Function (3d ed. 1993) (hereinafter “ABA Defense Standard(s)”),
18 Standard 4-4.1(a) (“Defense counsel should conduct a prompt investigation of the
19 circumstances of the case and explore all avenues leading to facts relevant to the
20 merits of the case. . . .”).
21         Nearly nine months later, however, “no investigation or pretrial work of any
22 kind [had been] conducted in this case.” (ROA 409 at 2.) On July 16, 1999, then-
23 second counsel Mary Boyte cited the complete lack of investigation and trial
24 preparation as a justification for her motion to withdraw from the case. (ROA 409
25 at 1–5.) Boyte informed the court that Clark, despite having done none of the
26 requisite investigation, was pushing for a November 1999 trial date. (ROA 409 at
27
   42
      Kiles’s case was, by this time, in front of a different judge than the one who had
28 granted state post-conviction relief.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 99 of 500



 1 2.) Boyte also alerted the court to the extent of Clark’s failure to investigate up to
 2 that point:
 3         1.    No investigator had been hired or had done any work on this
 4               case, despite the court’s allocation of funding;
           2.    No witnesses had been interviewed;
 5
           3.    No contact had been made with Dr. Globus, again despite the
 6
                 court’s appointment of the expert; and
 7
           4.    Clark had not reviewed the prior trial and post-conviction
 8               investigation files, which were in Boyte’s possession and which
 9               Clark refused to collect.

10 (ROA 409 at 2.) At that point, to Boyte’s knowledge Clark had possession of and
11 had reviewed only police reports and the 1989 trial transcripts, as well as a few
12 pages of additional information. (ROA 409 at 2.) Boyte further cited the breakdown
13 in communication between Clark and Kiles and her belief that “the Defendant is
14 not receiving effective assistance of counsel” before seeking permission to
15 withdraw from the case. (ROA 409 at 2–4.)
16       At the hearing on Boyte’s motion to withdraw, Clark laid out for the court
17 his investigation to date: he had (1) been “to the place where the bodies were
18 found,” (2) obtained the court’s appellate and post-conviction records, (3) reviewed
19 the trial exhibits and evidence with the prosecutor, (4) “ordered additional pieces
20 of evidence,” as well as copies of all of the relevant photographs, and (5) had the
21 investigator at the Office of the Legal Defender—which was conflicted off this
                           43
22 case—locate witnesses. (Tr. Aug. 6, 1999 at 31–33.) Clark made no mention of
23 having contacted a single potential expert or witness. (See Tr. Aug. 6, 1999 at 27–
24 37.) Prosecutor David Powell confirmed that Clark had received police reports and
25 grand jury transcripts, had reviewed exhibits, and had “made numerous requests [to
26
     Clark added that he had “made a complete review of all of the documentation in
     43

27 this case,” but he appears to have been referring to the trial and appellate
   documentation. Certainly he had not read first post-conviction counsel’s file. (Tr.
28 Aug. 6, 1999 at 31–32.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 100 of 500



 1 the State] to do interviews.” (Tr. Aug. 6, 1999 at 41–42.) Powell also made clear
 2 that no interviews had occurred—“we haven’t really done any interview
 3 discovery.” (Tr. Aug. 6, 1999 at 41–42.) After professing his belief that the state
 4 post-conviction investigation materials were “worthless” (Tr. Aug. 6, 1999 at 30–
 5 31), Clark announced that Kiles—whose prior counsel had won post-conviction
 6 relief—was “in a better position now than he has ever been with regards to being
 7 represented adequately and effectively.” (Tr. Aug. 6, 1999 at 35.)
 8         Clark so proclaimed despite having neglected some of the most basic aspects
 9 of a criminal-defense investigation. See, e.g., Cannedy v. Adams, 706 F.3d 1148,
10 1166 (9th Cir. 2013) (highlighting importance of interviewing potentially crucial
11 witnesses); see also, e.g., Weeden, 854 F.3d at 1070 (faulting counsel for failing to
12 investigate psychological guilt-phase defense with assistance of expert); Elmore v.
13 Ozmint, 661 F.3d 783, 786, 859 (4th Cir. 2011) (holding that counsel were
14 ineffective for failing to conduct an independent examination of the State’s forensic
15 evidence, when such evidence was central to conviction); 1989 ABA Guideline
16 11.4.1(D)(3) (listing the types of witnesses counsel should consider interviewing,
17 including “witnesses familiar with aspects of the client’s life history that might
18 affect the likelihood that the client committed the charged offense(s)”).
19 Accordingly, having conducted not even a minimally adequate investigation, Clark
20 was in no position to make reasonable, sound, deference-worthy strategic decisions
21 at that time. See, e.g., Bemore v. Chappell, 788 F.3d 1151, 1165 (9th Cir. 2015)
22 (deference to strategic judgments is defined in terms of the adequacy of the
23 investigation supporting those judgments); Phillips v. Woodford, 267 F.3d 966, 978
24 (9th Cir. 2001) (emphasizing that the rejection of an alternative defense cannot be
25 considered strategic when not preceded by an investigation allowing for an
26 informed decision).
27         The lack of preparation, however, did not stop Clark. Although he had done
28 no interviews, had consulted with no experts, and had no investigator working on
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 101 of 500



 1 the case (see ROA 414 at 31–49), he had done one thing by the time of the August
 2 1999 hearing on co-counsel’s motion to withdraw: he had already settled on his trial
 3 strategy. By the time new second counsel Treasure VanDreumel and investigator
 4 Mary Meyer joined the defense just days after that hearing,44 Clark had committed
 5 to the strategy later presented at trial. There were no team strategy discussions, and
 6 VanDreumel accepted Clark’s uninformed plan without question. For the death of
 7 Gunnel, the defense would argue that Kiles was guilty of a heat-of-passion crime
 8 that was not premeditated and therefore not first-degree murder. For the deaths of
 9 the children, counsel would argue that Kiles was not the perpetrator.45
10         Kiles, whose relationship with Clark had fractured many months earlier, filed
11 in September 1999 a motion for new counsel.46 (See ROA 413); see also Claim 1,
12 supra. At the hearing on that motion, the court had Clark give sworn testimony
13 about a number of issues, including his work to date. (Tr. Oct. 8, 1999 at 39.) Clark
14 testified in open court that he had “interviewed more witnesses—more witnesses
15 than anybody has interviewed prior to this time, in this case, because the file I
16 received never had any transcripts of any witnesses that testified at this trial.” (Tr.
17 Oct. 8, 1999 at 40.) In other words, Clark claimed to have interviewed more than
18
19
     44
        After the August 1999 hearing, the court granted Boyte’s motion to withdraw.
     (Tr. Aug. 6, 1999 at 48.) Treasure VanDreumel signed on to the case as second
20   counsel within four days of that hearing, and it appears that she brought with her
     investigator Mary Meyer—the first defense investigator to work on the case and to
21   use the funding granted over nine months prior. (See, e.g., Tr. Oct. 8, 1999 at 74.)
22   45
        Even if Clark’s actions to this point could be construed as investigation, that does
     not render the strategy decision reasonable. See, e.g., Wiggins, 539 U.S. at 526
23   (stating that “Strickland does not establish that a cursory investigation
24   automatically justifies a tactical decision”); Driscoll v. Delo, 71 F.3d 701, 709 (8th
     Cir. 1995) (even when defense counsel elicited a concession from state expert,
25   counsel was deficient for having failed to take measures to understand the testing
     performed and the meaning of the results); Dugas v. Coplan, 428 F.3d 317, 328 (1st
26   Cir. 2005) (defense counsel failed to adequately investigate a defense that no arson
27   occurred, even though counsel had inspected the fire scene, talked with the state’s
     experts, done some reading, and spoken with other defense attorneys).
28   46
        This was Kiles’s third such plea to the court. (See ROA 395 at 1; ROA 407 at 1.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 102 of 500



 1 the zero witnesses interviewed (as far as Clark was aware) by prior trial counsel.
 2 Clark so testified despite the fact that he still had not bothered to review first state
 3 post-conviction counsel’s investigative file—he again dismissed it as “worthless”
 4 (Tr. Oct. 8, 1999 at 65)—even though the file included notes on state post-
 5 conviction counsel’s interviews of many of the 100 or more witnesses to whom they
 6 had spoken (PFR2 Dkt. 21 Ex. 7 at 1–3). And Clark so testified even though his
 7 time logs from the day of his appointment to the day prior to the hearing reflected
 8 not even one minute spent interviewing any witness.47 (See ROA 414 at 31–49.)
 9         In the two months before trial, long after determining their trial strategy (see
10 Tr. Oct. 8, 1999 at 44), Clark and VanDreumel did have the prosecutor set up
11 interviews of several witnesses, including law enforcement personnel and State’s
12 experts. Apart from the defense’s contact with Imojean Kiles, there is no indication
13 that trial counsel conducted a single interview that was not organized by the
14 prosecutor.48 Further, trial counsel knew full well that the State planned to call
15 several experts, among them the pathologist who conducted the autopsies of two
16 victims, the blood-spatter expert who had testified during the 1989 trial, and a DNA
17 expert. (See ROA 446.) Even so, and despite Kiles’s pleas to bring defense experts
18 on board, counsel still declined—based on their previously determined trial
19 strategy—to retain and consult with even one independent expert before trial.49
20
   47
      Clark also testified that he had reviewed the evidence, read “all of the transcripts,”
21 reviewed the “entire appellate file” and made arrangements to have it copied,
22 ordered photographs, reviewed exhibits, requested additional evidence not
   presented at trial with forensic significance, been to the crime scene, and been to
23 the river bed, “where the bodies were recovered.” (Tr. Oct. 8, 1999 at 39–40.) He
   still did not hint at any expert consultation.
24 48
      Investigator Mary Meyer had two primary tasks: (1) maintain contact with
25 Imojean Kiles, and (2) unearth background information on other witnesses. Her
   focus was not on interviewing witnesses.
26 49
      Clark’s reliance on the prosecutor to arrange what little investigation occurred is
27 further cause for alarm. Clark repeatedly cited his friendship with Powell as a virtue
   in court, and he depended upon Powell and law enforcement to arrange witness
28 interviews and the like. In doing so, Clark butted up against the fundamental
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 103 of 500



 1         As a result, the defense theory presented at trial for the death of Gunnel was
 2 deeply problematic. Counsel conceded that Kiles had killed Gunnel, but argued that
 3 he had done so (1) while intoxicated, and (2) in the heat of passion. (See, e.g., Tr.
 4 July 10, 2000 at 40 (Clark announcing during opening statement that Kiles struck
 5 Gunnel “during the heat of the passion, a heated, ugly fight”).) Counsel evidently
 6 hoped that intoxication, heat of passion, or the combination of the two would
 7 convince the jury to determine that Kiles was guilty not of first-degree murder but
 8 instead of a lesser-included offense.
 9         Counsel’s focus should have been on undercutting evidence of
10 premeditation. In order to convict Kiles of first-degree murder, the State had to
11 convince the jury that Kiles knowingly killed Gunnel and that he did so with
12 premeditation. Given Kiles’s admission that he killed Gunnel, the only real issue
13 was that of premeditation.50 Importantly, the jury would have had to conclude that
14 Kiles was not guilty of first-degree murder before the jury could even consider any
15 lesser-included offense. (Tr. July 19, 2000 at 95–96.) In other words, if the jury
16 found that the State had proven beyond a reasonable doubt that the killing was
17 premeditated and knowing, then nothing else mattered.
18         Under Arizona case law, however, intoxication was not a legal defense to
19 first-degree murder as charged in this case (i.e., to premeditation). The Arizona
20 Supreme Court had previously rejected the argument that intoxication could negate
21 either premeditation or the mens rea of “knowingly.” See State v. Rankovich, 765
22 P.2d 518, 524 (Ariz. 1988) (holding that a defendant charged with knowingly
23
24 principle that the purpose of defense counsel is to ensure “a reliable adversarial
   testing process.” Strickland, 466 U.S. at 688. Counsel’s duty to make that “testing
25 process work in the particular case [is] an obligation that cannot be shirked because
   of the lawyer’s unquestioning confidence in the prosecution.” Elmore, 661 F.3d at
26 859 (citation and internal quotation marks omitted).
27 50 “Knowingly means that a defendant acted with awareness of the existence of
   conduct or circumstances constituting an offense.” (Tr. July 19, 2000 at 91.) Trial
28 counsel did not attempt to argue that the crime was not “knowingly” committed.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 104 of 500



 1 committing first-degree murder was not entitled to a voluntary-intoxication
 2 instruction and that “the fact that first-degree murder requires a finding of
 3 premeditation has no bearing on this result”). Even while trial counsel argued that
 4 the jury could consider intoxication, they acknowledged that it was not on its own
 5 a legal defense to the charge of knowing first-degree murder. (Tr. July 18, 2000 at
 6 18 (VanDreumel agreeing with court that “from a legal standpoint intoxication is
 7 not or was not at the time a defense to a crime charged as knowingly” and that the
 8 jury “will not be instructed” otherwise).) Ultimately, the trial court gave the jury
 9 the legal definition of voluntary intoxication, but in accordance with state law did
10 not instruct jurors that intoxication could figure into their determination as to
11 premeditation.51 (Tr. July 19, 2000 at 92.) Accordingly, the jury had no court-
12 sanctioned mechanism through which to conclude that intoxication affected its
13 decision on first-degree murder.52 This aspect of counsel’s defense was, at best,
14 legally and strategically suspect.
15         Trial counsel’s heat-of-passion argument against premeditation fared no
16 better. Kiles’s testimony was the principal evidence of how his fight with Gunnel
17 unfolded and, therefore, of heat of passion. Kiles testified that Gunnel was angry at
18 him for using her food stamps to get drugs and then using the drugs before he
19 returned home; the two were arguing. (Tr. July 17, 2000 at 159.) (In contrast,
20 Kiles’s mother had previously suggested that Gunnel had needed the food stamps
21
      This instruction declared to the jury that “[n]o act committed by a person while
     51
22 in the state of voluntary intoxication is less criminal by reason of his having been
   in such condition.” (Tr. July 19, 2000 at 92.)
23
   52
      If counsel were going to argue effectively that intoxication could negate
24 premeditation even without an accompanying jury instruction, that argument
   required substantial evidentiary support of the sort discussed below. Clark’s proffer
25 to the jury that Kiles’s “perception [wa]s a little skewed from having imbibed, you
26 know, the cocaine and the alcohol,” supported largely by Kiles’s own testimony,
   was far from sufficient. (Tr. July 10, 2000 at 44–45; see also ROA 225 Ex. 49 at 1
27 (juror at 1989 trial noting that lackluster intoxication argument made at first trial
   was unimpressive in light of jury instructions, but that juror had wanted to know
28 more about how Kiles’s cocaine addiction affected him).)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 105 of 500



 1 to buy food for her children. (Tr. July 17, 2000 at 145.)) Kiles continued, “[Gunnel]
 2 had pretty much been fighting with me the whole night, pushing on me, pulling—
 3 this and that. Then she just slapped me. . . . It was so heated.” (Tr. July 17, 2000 at
 4 163–64.) “She slapped me. I asked her not to do that. Well, I told her, [d]on’t slap
 5 me again. More words was exchanged and she slapped me again.” (Tr. July 17,
 6 2000 at 165.) When asked what happened next, Kiles testified, “I just reached down
 7 and grabbed the jack and just swung it.” (Tr. July 17, 2000 at 165.)
 8         The problem was that, in order for the jurors to determine that the crime
 9 occurred in the heat of passion and was therefore not premeditated, counsel needed
10 two things to happen. The jury not only needed to accept as true Kiles’s testimony,
11 but also needed to conclude that his testimony was sufficient to establish that he
12 had acted in the heat of passion and to give rise to reasonable doubt regarding
13 premeditation. That counsel failed to corroborate Kiles’s testimony was one major
14 hurdle to success. See Bennett v. Cate, 407 F. App’x 213, 215 (9th Cir. 2010). That
15 counsel also did little to challenge the State’s theory or purported forensic evidence
16 of premeditation practically ensured that this argument would fall flat.
17         Finally, counsel argued that the jury should find that Kiles committed heat-
18 of-passion manslaughter. In order to so find, the jury would have had to find, among
19 other things, that (1) Kiles “acted upon a sudden quarrel or heat of passion,” and
20 (2) the quarrel “resulted from adequate provocation by the person who was killed.”
21 (Tr. July 19, 2000 at 94.) “Adequate provocation” required “conduct or
22 circumstances sufficient to deprive a reasonable person of self control.” (Tr. July
23 19, 2000 at 94.) In arguing that the killing occurred in the heat of passion, counsel
24 were contending to the jury that Gunnel’s second slap was adequate provocation
25 that would cause a reasonable person—not Kiles himself, not an intoxicated person,
26 but a reasonable person—to lose control.53 This is a particularly high hurdle when
27
   53
      Clark argued in closing that the jury had to consider Kiles’s intoxication when
28 considering what constituted adequate provocation (Tr. July 19, 2000 at 72), but
                                              89
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 106 of 500



 1 the jury may have concluded from Imojean Kiles’s and others’ testimony that
 2 Gunnel’s anger stemmed from the fact that her food stamps, which she had needed
 3 to buy food for her children, had instead been used to purchase drugs for others. In
 4 effect, counsel were telling the jury that Gunnel’s second slap was provocation
 5 enough that it was reasonable to kill her. A jury could easily have found that
 6 argument more offensive than persuasive, leaving the defense with no defense at
 7 all to first-degree murder.54
 8         Trial counsel had scant hope of such success with such a legally flawed and
 9 factually dubious strategy. But having settled on that strategy early on, counsel
10 tailored their subsequent investigative decisions to bolster that approach, leaving
11 them—and Kiles—ill-equipped for trial when the time came.
12                2.    Had trial counsel conducted an adequate investigation,
                        counsel would have been able to develop a persuasive
13                      defense strategy.
14         Instead of embracing a deficient defense strategy early on, trial counsel could
15 have conducted an adequate investigation—one that involved consulting with
16 independent forensic experts, speaking with one or more experts who could have
17 helped explore viable defenses to premeditation, and interviewing witnesses
18 familiar with Kiles’s character, history, and addictions. Armed with that
19 information, counsel would then have been able to prepare a legally and factually
20 defensible challenge to the charge of first-degree murder.
21         Preliminarily, as the Supreme Court has recognized, “[c]riminal cases will
22 arise where the only reasonable and available defense strategy requires consultation
23 with experts or introduction of expert evidence.” Hinton v. Alabama, 571 U.S. 263,
24
   again, that seemed inconsistent with the objective standard laid out in the jury
25 instructions.
26
   54
      Because of the inadequate guilt-phase voir dire, counsel did not know, for
   example, whether seated jurors had personal and familial experience with domestic-
27 violence incidents or how such jurors might have perceived such an argument. See
   Claim 2, supra. In fact, at least one seated juror had personal exposure to a similarly
28 violent homicide before her jury service.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 107 of 500



 1 273 (2014). That is particularly true when the State’s case features several experts,
 2 including forensic experts who would, per the State, explain to the jury “exactly
 3 what happened” at the crime scene. (Tr. July 10, 2000 at 19–20); see Richey, 498
 4 F.3d at 362 (identifying cases with critical scientific evidence and “wherein lawyers
 5 altogether fail to hire an expert” as the “most egregious” of cases); see also Hinton,
 6 571 U.S. at 273 (highlighting import of consulting with an adequate expert when
 7 forensic evidence was a centerpiece of the State’s case). In this case, trial counsel
 8 should have consulted with several experts to fulfill counsel’s obligation to
 9 independently examine the forensic evidence. Elmore, 661 F.3d at 859; Dees v.
10 Caspiri, 904 F.2d 452, 454 (8th Cir. 1990) (per curiam) (“Considering the
11 importance of the shoe print evidence in this case, counsel had a duty to make a
12 diligent investigation of the forensic evidence and its potential weaknesses.”); see
13 also, e.g., 1989 ABA Guideline 11.4.1(D)(7) (requiring independent experts to help
14 with preparation of the defense).
15         Counsel should have consulted with the following medical and forensic
16 experts:
17         Pathologist: The State’s medical examiner, Dr. Mallon, testified at trial that
18 Gunnel showed evidence of a defensive wound on her forearm. (Tr. July 13, 2000
19 at 99.) At the defense’s prodding, Dr. Mallon further testified that Gunnel must
20 have received that wound early on during the altercation, as she needed to have
21 been conscious to incur a defensive wound. (Tr. July 13, 2000 at 105.) It appeared
22 that defense counsel had accepted that Gunnel had a defensive wound and were
23 trying to spin it as evidence of a serious fight between Gunnel and Kiles—evidence
24 that he acted in the heat of passion. (Tr. July 10, 2000 at 46 (Clark promising the
25 jury “medical testimony” corroborating that there was a fight).) However, that
26 attempted spin made no sense and was thus unreasonable: One person can attack
27 another out of the blue and still cause a defensive wound.
28         If, instead, counsel had consulted an independent pathologist, that expert
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 108 of 500



 1 would have educated counsel about defensive wounds. See, e.g., Lindstadt v.
 2 Keane, 239 F.3d 191, 201 (2d Cir. 2001) (criticizing counsel for failing to educate
 3 themselves on meaning of physical “evidence” of abuse cited by state expert).
 4 Counsel would have learned that, while Gunnel’s wound was “consistent with” a
 5 defensive wound, that meant only that the possibility that the wound was defensive
 6 could not be excluded. There is no way to establish that the wound was in fact a
 7 defensive wound. Indeed, as an independent pathologist would have testified, it is
 8 eminently possible that Gunnel received the arm wound after she had already died.
 9         Had counsel known that Gunnel’s broken forearm was very plausibly not a
10 defensive wound, they could have challenged Dr. Mallon’s premise, rather than
11 committing to a bizarre story that the wound was evidence of a fight and
12 emphasizing the aggravating possibility that Gunnel was conscious for that wound.
13 Counsel could have had their expert testify to the facts, as opposed to Dr. Mallon’s
14 suppositions. See Thomas v. Clements, 789 F.3d 760, 769–71 (7th Cir. 2015)
15 (finding counsel ineffective when decision “[t]o not even contact an expert . . . was
16 to accept [the State’s expert’s] finding of intentional death without challenge and
17 basically doom the defense’s theory of the case”). At the very least, a defense expert
18 could have helped fashion an effective cross-examination, in particular one that
19 highlighted the fact that Dr. Mallon seemed during his 1989 testimony far less
20 certain then he seemed in his 2000 testimony that the wound was defensive in
21 nature. (Compare Mallon Tr. Dec. 12, 1989 at 8 (such wounds “can be defensive
22 wounds”), with Tr. July 13, 2000 at 105 (agreeing that arm wound was a defensive
23 wound)); see Lindstadt, 239 F.3d at 201–02 (deeming counsel ineffective for failing
24 to retain expert or otherwise conduct adequate research to cross-examine State’s
25 expert); see also 1989 ABA Guideline 11.4.1(D)(7) (instructing counsel on
26 importance of independent experts to help provide “adequate understanding of the
27 prosecution’s case”).
28         Blood-spatter expert: State’s expert Tom Bevel testified that, among other
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 109 of 500



 1 things, there had been a minimum of 14 blows in the bedroom where the children
 2 were killed, their attacker was right-handed, and there was evidence of movement
 3 on the bed. (Tr. July 14, 2000 at 16, 19, 23, 27.) The defense embraced his
 4 testimony—Clark later hailed Bevel in closing as “the foremost expert” in the field
 5 (Tr. July 19, 2000 at 57)—but not because any testimony elicited by the State was
 6 helpful to the defense. Instead, trial counsel had Bevel explain to the jury how blood
 7 moves and that there was no evidence of coagulation on the bloody shoeprints that
 8 appeared to have been made by Kale Johnson’s Converse shoes. (Tr. July 14, 2000
 9 at 40–44.) The lack of evidence of coagulation meant that the blood was “[f]resher”
10 when stepped in (Tr. July 14, 2000 at 43–44), suggesting that Johnson was at
11 Gunnel’s apartment closer in time to the killings than he had admitted. In response
12 to a jury question, not one from the defense, Bevel testified that the most “primitive
13 stages” of coagulation are visible approximately 30 minutes after the blood is
14 released. (Tr. July 14, 2000 at 54.)
15         Even though counsel sought some helpful testimony from Bevel, that did not
16 obviate their duty to independently investigate his work. They could well have hired
17 an independent expert in blood-spatter analysis, such as Peter Barnett, to describe
18 blood movement and coagulation for the jury. (See, e.g., ROA 225 Ex. 59; ROA
19 1189 at 32–35.) Moreover, the need for due diligence on Bevel’s work was
20 heightened because of his checkered history: his testimony in other cases has come
21 into question for its unreliability or indefensibility. See Rivas v. Fischer, 780 F.3d
22 529 (2d Cir. 2015) (concluding counsel’s conduct in failing to investigate medical
23 examiner’s qualifications and background was deficient).
24         Indeed, an independent expert could have informed counsel that Bevel’s
25 conclusions were incorrect on several fronts. First, Bevel’s claim that he could
26 count the minimum number of blows in an area was unfounded. (See Tr. July 14,
27 2000 at 9.) As a different expert could have explained to trial counsel—and as was
28 well known by 2000—a separate blow or impact is not needed to produce each
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 110 of 500



 1 castoff pattern; a separate movement of the instrument carrying blood (even if it
 2 does not strike anything) is sufficient. In other words, the number of castoff patterns
 3 reflects the number of swings of the instrument, not the number of times it hit
 4 anything. (See ROA 225 Ex. 79 at 4 (noting that castoff “comes off a bloody object
 5 as it is swung”); see also ROA 1189 at 35.) Second, Bevel erred in saying that the
 6 rightward arcing pattern of the blood stains indicated a right-handed assailant. (See
 7 Tr. July 14, 2000 at 19.) Instead, all that the pattern meant was that the swing was
 8 to the right, which can be achieved with the right hand, with both hands, or with the
 9 left hand. Nothing could be concluded about handedness. Third, normal clotting
10 time for blood that has left the body is five to eight minutes, not the 30 minutes
11 posited by Bevel. (See Tr. July 14, 2000 at 54.) Finally, Bevel appeared to assume
12 that all of the blood spatter on the walls occurred during the attack; however, it is
13 possible that some of the spatter happened afterward, for example when the bodies
14 were moved.
15         Trial counsel were on notice of the need for independent evaluation, not only
16 because of the State’s heavy reliance on Bevel’s testimony, but because the first
17 state post-conviction counsel had asserted that 1989 trial counsel were ineffective
18 for not challenging that same testimony from Bevel. (See ROA 225 at 37–41); see
19 also, e.g., Elmore, 661 F.3d at 786 (admonishing defense counsel for “blind
20 acceptance of the State’s forensic evidence”). With testimony from an independent
21 expert, counsel could have conveyed the information about blood spatter and
22 bloody shoeprints that they wanted to highlight, along with the useful detail that
23 coagulation occurs even faster than Bevel had suggested. That testimony would
24 have undercut Kale Johnson’s testimony and, by extension, bolstered Kiles’s
25 credibility—both that he was not responsible for the children’s death and more
26 generally, including his description of not premeditating Gunnel’s death. Counsel
27 could further have elicited expert testimony (1) on the fact that the blood spatter
28 and castoff in the living room was near the ground, suggesting that Gunnel was not
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 111 of 500



 1 standing for any blow that produced spatter,55 and (2) that the blood stain in the
 2 chair was consistent with the blood source—presumably Gunnel’s head injury—
 3 being low to the chair cushion.56 Those tidbits would have provided key
 4 corroboration for Kiles’s testimony that Gunnel fell into the chair after a single blow
 5 and, in turn, for his lack of premeditation. (Tr. July 17, 2000 at 165–66.)
 6 Anything—especially expert testimony—that corroborated Kiles’s testimony
 7 would have buttressed the defense as a whole. See, e.g., Cunningham v. Wong, 704
 8 F.3d 1143, 1168 (9th Cir. 2013) (Pregerson, J., concurring in part and dissenting in
 9 part) (recognizing that “[a]n expert opinion is one from an objective third party that
10 carries an aura of special reliability and trustworthiness,” while a defendant’s
11 testimony “may be viewed by the jury as a desperate attempt to save himself”
12 (internal quotation marks omitted)).
13         Finally, counsel could further have damaged the credibility of a crucial State
14 witness through an effective cross-examination on Bevel’s work in other cases, as
15 well as on how Bevel counted his minimum number of blows and determined
16 handedness. See Dugas, 428 F.3d at 331–32 (counsel deficient for failing to consult
17 expert or research science sufficiently to challenge State’s expert witnesses). That
18 the jurors asked questions on Bevel’s testimony reflected its import to them, and
19 counsel’s failure to consult an expert about blood-stain analysis before trial meant
20 that they missed crucial opportunities to advance their case. (See Tr. July 14, 2000
21 at 54); see also, e.g., Bennett, 407 F. App’x at 215 (“The jury asked questions . . .
22 that revealed the critical importance of the blood evidence.”).
23         Crime-scene management expert: Yuma law enforcement officers, including
24 Rodgers, testified that a number of items of forensic interest had not been tested,
25
      The first blow to a victim does not produce spatter. (Tr. July 14, 2000 at 26.)
     55
26 56
      Bevel testified to these two points in 2006, during the State’s aggravation-phase
27 direct examination. (Tr. Mar. 27, 2006 at 65–66, 71.) With proper preparation and
   the aid of a defense expert, trial counsel could have brought out this corroborative
28 information at the guilt-phase proceedings.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 112 of 500



 1 including latent prints lifted from surfaces in the apartment, a bloody fingerprint
 2 from the living room door, and blood on a pillow found in the east bedroom. (See,
 3 e.g., Tr. July 17, 2000 at 29, 63–64.) Rodgers further testified that photographs had
 4 not been taken of tire tracks and shoeprints found near the river, even though the
 5 tire tracks appeared similar to those from Kiles’s car and the shoeprints resembled
 6 Kale Johnson’s shoeprints. (Tr. July 17, 2000 at 92–95.) Analysis of such items
 7 could have helped corroborate the defense on important points, including that (1)
 8 the fingerprint on the door and the blood on the pillow may have belonged to
 9 someone other than Gunnel, leaving no forensic indication that she was conscious
10 after the initial blow, and (2) Johnson’s shoeprints were at the likely disposal site
11 for the children’s bodies (and therefore that Johnson was lying during his
12 testimony). Counsel clearly recognized the importance of these matters—they
13 requested a Willits instruction allowing the jury to draw an adverse inference from
14 the police’s failure to preserve evidence. (Tr. July 18, 2000 at 21; ROA 489 at 4.)
15 Even the jury’s interest was piqued, as illustrated by the question submitted by the
16 jury to Rodgers about the failure to analyze latent prints. (Tr. July 17, 2000 at 108.)
17         Had defense counsel consulted with an expert in crime-scene investigation,
18 that expert would have informed them as to whether the Yuma Police Department’s
19 decisions regarding what to test and what not to test were reasonable or whether to
20 request testing of additional items. See Lindstadt, 239 F.3d at 201–02. An expert
21 would also have helped counsel develop effective cross-examinations on the
22 reasonableness of law enforcement’s decisions, as well as about the nature and
23 magnitude of the problems created for investigators by a compromised crime scene.
24 With such information in hand, counsel might well have been able to convey that
25 the attack against Gunnel had not started in the bedroom and that she had not left a
26 fingerprint on the door after being hit—both support for Kiles’s testimony. See, e.g.,
27 Cunningham, 704 F.3d at 1168 (Pregerson, J., concurring in part and dissenting in
28 part). Counsel could also have more conclusively established that Johnson’s
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 113 of 500



 1 shoeprints were at the disposal site, which would have further undercut Johnson’s
 2 credibility and bolstered Kiles’s.
 3         If counsel had consulted with such experts as a pathologist, blood-spatter
 4 expert, and crime-scene management expert, counsel would have been far better
 5 equipped to start making certain strategy decisions.57 But, because their
 6 “investigation into the State’s forensic evidence never started, there could be no
 7 reasonable strategic decision either to stop the investigation or to forgo use of the
 8 evidence that the investigation would have uncovered.” Elmore, 661 F.3d at 864.
 9         Likewise, counsel should have consulted with appropriate experts before
10 declining to pursue the impulsivity defense recognized by State v. Christensen, 628
11 P.2d 580 (Ariz. 1981). See, e.g., Bemore, 788 F.3d at 1165 (deeming counsel
12 ineffective when “a potentially viable alternative defense” was available but not
13 explored); Phillips, 267 F.3d at 976; Sowell v. Anderson, 663 F.3d 783, 790–91 (6th
14 Cir. 2011) (counsel did not make a reasonable choice among alternative strategies
15 when choice stemmed from ignorance about evidence); see also Wiggins, 539 U.S.
16 at 521. In Christensen, the Arizona Supreme Court held that a tendency to act
17 impulsively can negate premeditation: “The establishment of the character trait of
18 acting without reflection tends to establish that appellant acted impulsively. From
19 such a fact, the jury could have concluded that he did not premeditate the homicide.”
20 628 P.2d at 583. While an expert could not testify to the ultimate jury question
21
22
      Counsel should also have consulted with a DNA expert or other appropriate
     57

23 experts before deciding not to challenge the State’s evidence regarding Shemaeah’s
   death. (See ROA 1189 at 36.) This is especially true given Dr. Wiltbank’s improper
24 use of statistics in his testimony. See Nat’l Institute of Justice, DNA for the Defense
   Bar, June 2012, at 34 (“Consulting is invaluable in DNA cases and can assist
25 counsel in understanding all of the issues. . . . Typically, the question in a DNA case
26 is not ‘Do I need an expert?’ but rather ‘What kind of expert do I need?’. . . . If the
   statistics are questionable or flawed, a statistician or population geneticist is a much
27 better choice. . . .”). While Kiles is not presently challenging his conviction for
   Shemaeah’s death, the defense’s failure to investigate before making this decision
28 confirms the broader failure to investigate.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 114 of 500



 1 whether the defendant was acting reflexively at the time of the killing, the expert
 2 could testify to a defendant’s tendency to act reflexively and the bases of such an
 3 opinion. Id. at 582–84. Counsel were well aware of the Christensen defense and its
 4 potential applicability to Kiles’s case, as first state post-conviction counsel had
 5 successfully asserted that 1989 trial counsel was ineffective for failing to investigate
 6 and present the defense.58 (ROA 225 at 1–2, 66); see also Bemore, 788 F.3d at
 7 1165–66 (noting that counsel was on notice of the defense he ineffectively failed to
 8 investigate). And, as the only viable way to counter the first-degree murder charge
 9 was to undercut the case for premeditation, counsel should not have discounted so
10 lightly a defense to premeditation that had been espoused by Arizona courts.
11         To adequately investigate the applicability of the Christensen defense,
12 counsel should have spoken to at least some of the following experts:
13         Psychiatrist and/or psychologist: As psychiatrist and neurologist Dr. Globus
14 demonstrated at the 1996 state post-conviction hearing and again during the 2006
15 penalty phase, a psychiatrist or psychologist would have helped defense counsel
16 understand impulsivity and how it plays out in real-life situations. (See Tr. Feb. 21,
17 1996 at 167–21; Tr. May 8, 2006 at 3–51.) Had counsel consulted a psychiatrist or
18 psychologist, that person would have explained that impulsivity is a “term of art”
19 meaning a “behavior or more often a whole series of behaviors that are performed
20 in a semi-automatic way without evaluating the goals . . . or assessing the
21 consequences of the behavior.” (Tr. May 8, 2006 at 33.) It is not the case that an
22 impulsive person can never consider consequences—that would involve complete
23 ablation of the frontal lobe—but only that such a person’s ability to consider
24
   58
      Counsel’s failures in this aspect are even more pronounced because Clark and
25 VanDreumel believed that the crime was caused by Kiles’s impulsivity, as counsel
26 latched onto his impulsivity as mitigation shortly after the guilt-phase proceedings
   and made impulsivity a central theme of the 2006 mitigation case. (See, e.g., ROA
27 509 Ex. A at 1; Tr. Apr. 25, 2006 at 101 (Dr. Globus testifying that homicides were,
   to a reasonable degree of medical certainty, attributable to Kiles’s impulsivity, over
28 which he had no control).)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 115 of 500



 1 consequences is significantly impaired. An impulsive person might do something,
 2 or even a sequence of things, without thinking, especially when impaired.59 (See
 3 Apr. 25, 2006 at 99–100.) He might also do something impulsively, again without
 4 thinking, and regret it immediately afterward or even take steps to mitigate his
 5 actions. (See Tr. Feb. 21, 1996 at 220.) Even acts that do not on their face seem
 6 impulsive may in fact be done without any thought as to consequence. (Tr. May 8,
 7 2006 at 36–37 (Dr. Globus explaining why Kiles’s involvement in a 1984 fight
 8 might well have been impulsive, even though Kiles claimed he “sat down and
 9 thought” before assaulting the other individual).) The operative issue is whether the
10 person considered the consequences of his actions before acting. (Tr. May 8, 2006
11 at 36.)
12           Moreover, an expert could have informed trial counsel of some of the major
13 causes of impulsivity, such as brain damage (including damage due to in utero
14 exposure to toxins), mental illness that interferes with someone’s ability to
15 understand his surroundings, and intoxication. (Tr. Feb. 21, 1996 at 177, 192; Tr.
16 May 8, 2006 at 33–34.)
17           A psychiatrist or psychologist could, relatedly, have reviewed Kiles’s
18 personal history and his family history—including his sister’s and parents’ own
19 struggles with impulsivity60—and interviewed him to assess whether he had a
20 tendency toward impulsivity. (See ROA 225 Ex. 60.) By reviewing Kiles’s personal
21 history, an expert would have seen that Kiles suffered from all of the major causes
22 of impulsivity and that his behavior over many years reflected that impulsive nature.
23
24
     59
        According to Dr. Globus, in response to an environmental stimulus, “like being
     struck . . . instead of going through the process of thinking about the consequences
25   of behavior, [an impulsive person] go[es] directly to the behavior. So there’s no
     imposition of thinking between the impulse . . . and the behavior.” (Tr. May 8, 2006
26   at 34–35.)
27   60
        For example, Kiles’s sister, Janell Hawkins, suffered from kleptomania (cf., e.g.,
     Tr. Feb. 21, 1996 at 185; ROA 225 Ex. 36 at 23–24, 34–35, 42–43), evidencing her
28   struggles with impulsivity (Tr. May 9, 2006 at 38-39).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 116 of 500



 1 (See ROA 225 Ex. 60 at 26–37.)
 2         With that background, counsel would have understood how to educate the
 3 jury about Kiles’s seemingly lifelong impulsivity, as they did at the mitigation
 4 phase through Dr. Globus’s testimony. Such evidence would have been pivotal to
 5 counsel in trying to determine an appropriate guilt-phase strategy.
 6         Neuropsychologist and/or neuroimaging specialist: Trial counsel should
 7 further have consulted with a neuropsychologist and/or a neuroimaging specialist
 8 prior to settling on their defense strategy. See Bemore, 788 F.3d at 1165–66;
 9 Phillips, 267 F.3d at 976–80. Impulsivity is a result of brain dysfunction generally
10 attributable to some combination of brain damage, mental illness, childhood
11 trauma, and substance abuse. Accordingly, counsel should have sought out
12 neuropsychological testing and neuroimaging to learn whether Kiles had
13 demonstrable deficits of the sort associated with impulsivity and its underlying
14 causes. Indeed, later neuropsychological, especially executive-function, testing
15 revealed “clear indications . . . of impulsivity and difficulties with self-regulation,”
16 which became even more apparent when considered in the context of Kiles’s
17 history.61 (PFR2 Dkt. 27 Ex. 24 at 1.) In that testing, neuropsychologist John Toma,
18 Ph.D., repeatedly highlighted Kiles’s impulsivity (see, e.g., PFR2 Dkt. 27 Ex. 24 at
19 2), and he diagnosed Kiles with a disorder defined in large part by that impulsivity
20 (PFR2 Dkt. 27 Ex. 24 at 2). Similarly, had trial counsel obtained brain imaging and
21 consulted a neuroimaging expert (for example, a radiologist), counsel would have
22 learned that Kiles had brain damage, including a reduced-size corpus callosum and
23 damage to the frontal lobe, that was observable on brain scans. (See PFR2 Dkt. 28
24 Ex. 25 at 7 (expert during second state post-conviction proceedings discussing
25 Kiles’s brain abnormalities and damage observable on images).) Both forms of
26 brain damage are causally related to impulsivity. (See, e.g., Tr. May 8, 2006 at 33–
27
   61
      Kiles has also been diagnosed with Attention Deficit Hyperactivity Disorder, an
28 impulse-control related disorder. (Tr. May 9, 2006 at 41, 64.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 117 of 500



 1 34.)
 2         If counsel had armed themselves with such information, they would have
 3 understood that they could (1) contend persuasively that Kiles had an impulsive
 4 nature, and, as importantly, (2) ground that information in neuropsychological and
 5 neuroimaging evidence to make clear that impulsivity is not simply a bad
 6 personality trait, but the result of brain dysfunction. Expert consultations would
 7 have painted for counsel a picture of an individual whose brain did not work the
 8 same way a “normal” adult brain is expected to work. Counsel, in turn, could have
 9 painted that picture for the jury to help demonstrate why Kiles did not premeditate
10 the killing of Gunnel. Counsel had a duty to obtain such information before
11 deciding strategy. See Bemore, 788 F.3d at 1165–66, Phillips, 267 F.3d at 976–80.
12         Pharmacologist or neurotoxicologist: Additionally, counsel should have
13 consulted with a pharmacologist, neurotoxicologist, or similar individual with
14 expertise in the effect on the brain of drugs and alcohol. Counsel were on notice of
15 Kiles’s alcoholism, cocaine addiction, and related issues, as well as of his familial
16 history of alcoholism and other addictions. (See, e.g., Tr. Feb. 21, 1996 at 178–86.)
17 Indeed, counsel made a feeble attempt to communicate Kiles’s drug use to the jury
18 and to use that as evidence of a lack of premeditation. (See, e.g., Tr. July 10, 2000
19 at 44 (Clark setting forth in opening that “Alvie by this time has had a little bit to
20 drink, he’s had a lot of drugs to do.”).)
21         Still, in order to fulfill the obligation to investigate, counsel should have
22 consulted a pharmacologist or comparable expert. See Bemore, 788 F.3d at 1165–
23 66, Phillips, 267 F.3d at 976–80. Such an expert could have explained the effects
24 of long-term addiction on the brain and on an individual’s thought processes. That
25 sort of expertise is particularly useful in a case like this, where counsel needed to
26 understand the interplay of numerous substances, including alcohol. In fact, if
27 provided with an adequate social history, a pharmacologist would have offered that
28 Kiles was in a drug-induced psychosis at the time of the crime. (PFR2 Dkt. 28 Ex.
                                               101
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 118 of 500



 1 25 at 5.) Because of the extent to which that psychosis disordered Kiles’s thought
 2 processes, Kiles was experiencing severe paranoid delusions, impaired judgment,
 3 and impaired mental flexibility when he killed Gunnel. (PFR2 Dkt. 28 Ex. 25 at 5.)
 4 Counsel tendered to the jury only meager evidence of drug use, primarily through
 5 Kiles’s own testimony. Instead, counsel could have had an expert present a
 6 compelling explanation of what was happening inside Kiles’s head at the time. Such
 7 evidence would have supported the idea that Kiles was acting impulsively and
 8 without premeditation at the time of the crime and, accordingly, was crucial for
 9 counsel to know before adopting a strategy.62
10         Beyond speaking with experts, counsel had a duty to interview lay witnesses
11 who could have enlightened counsel on issues bearing on premeditation, including
12 Kiles’s impulsivity, the causes of his impulsivity, and the debilitating extent of his
13 addictions. See Cannedy, 706 F.3d at 1161 (counsel deficient for failing to interview
14 potentially favorable witness “when that witness had been clearly identified, . . .
15 was easily accessible[,] and [was] willing to provide information”); see also 1989
16 ABA Guideline 11.4.1(D)(3) (instructing counsel to interview potential witnesses
17 regarding “aspects of the client’s life history that might affect the likelihood that
18 the client committed the charged offense(s)” (i.e., premeditated murder)). While
19 counsel had access to a great deal of this information from earlier proceedings,
20 nothing that counsel did reflects that they made use of—or even that they
21 reviewed—the relevant affidavits and expert reports discussing Kiles’s impulsivity
22 or addictions before Clark committed to his defense approach. (See Tr. Aug. 6, 1999
23 at 31–33.) That noted, as part of a reasonable investigation preceding that decision,
24
25    Such information about the effects of addiction was critical even to the
     62

26 intoxication defense that trial counsel ultimately presented, as presumably only
   powerful evidence of the effects of intoxication could have convinced jurors to take
27 intoxication into account when assessing premeditation. Instead, counsel offered
   the jury some paltry evidence of Kiles’s drug use and none at all of the effects of
28 his addictions on his thinking or his ability to premeditate.
                                             102
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 119 of 500



 1 defense counsel should have tried to speak to at least some of the following
 2 witnesses:
 3         Witnesses regarding impulsivity: Numerous people who knew Kiles
 4 throughout his life could have provided trial counsel with information that bore
 5 upon his impulsive nature and/or the causes of such impulsivity. For example,
 6 Kiles’s sister Janell Hawkins could have informed counsel of Kiles’s history of
 7 childhood trauma and physical abuse—terrors of the sort that lead to mental
 8 illness—as well as the familial history of addiction, including her own. (See ROA
 9 225 Ex. 39.) As noted earlier, such problems are known causes of the brain
10 dysfunction associated with impulsivity. Janell Hawkins could also have spoken of
11 her own problems with shoplifting (see, e.g., ROA 225 Ex. 39 at 5, 7), reflecting an
12 issue with impulsivity that mirrored Kiles’s.
13         Imojean Kiles could have told counsel about any number of aspects of Kiles’s
14 childhood, including the head trauma he suffered when struck by a car at age five—
15 childhood traumatic brain injury is a major causal factor in producing impulse-
16 control disorders—and the violence he endured at his father’s hands.63 (See, e.g.,
17 ROA 225 Ex. 37.) Again, brain damage and mental illness stemming from
18 childhood trauma can cause impulsivity.
19         Similarly, Kiles’s aunt, Darnella Long, among numerous other relatives,
20 could have spoken to the trauma Kiles endured as a child and the severe dysfunction
21 of the Kiles family. (See ROA 225 Ex. 54 at 5.) Moreover, Kiles’s associates from
22 around the time of the crime and the years before, including Griffen Lewis, Jimmy
23 Gilmore, and Virgil Schultz, would have been able to tell counsel that Kiles was
24 short-fused and would have been able to provide anecdotes about his outbursts.
25 (See, e.g., ROA 225 Ex. 44 at 1; ROA 225 Ex. 46 at 1.) Such behavior is strongly
26 associated with impulsivity. (PFR2 Dkt. 27 Ex. 24 at 3.)
27
   63
      While counsel spoke to Imojean Kiles before guilt-phase proceedings, there is
28 nothing to indicate that the discussion covered the types of matters noted above.
                                            103
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 120 of 500



 1         Accordingly, these witnesses could have provided useful social-history
 2 context for experts in diagnosing Kiles’s impulsivity and its causes and for counsel
 3 in determining whether and how to present that information to the jury. See Bemore,
 4 788 F.3d at 1164–66 (counsel ineffective for failing to explore viable mental-health
 5 defense, including by investigating statements from friends and family that should
 6 have put counsel on notice of possible defense).
 7         Witnesses regarding Kiles’s addictions: Any number of people who knew
 8 Kiles in the years, and particularly in the weeks, around the time of the crime could
 9 have furnished useful information to counsel about Kiles’s addictions and their
10 effects on his thinking. For example, Kiles’s associates, such as John Hendrix, Jr.,
11 Griffen Lewis, Virgil Schultz, and Walter “Pierre” Hogan, could have conveyed
12 just how terribly Kiles’s drug usage had disordered his thinking around the time of
13 the crime. According to Hendrix, “Alvie was completely out of it. He acted crazy.
14 He was really high on some kind of drug. . . . [He] was rambling and making little
15 sense. . . . He seemed deranged.” (ROA 225 Ex. 41 at 1.) Lewis, who had seen
16 Kiles’s addictions worsen over time, described Kiles as being around the time of
17 the crime “as deep into drugs as [Lewis] had ever seen him.” (ROA 225 Ex. 44 at
18 1.) Schultz noted that on February 10, 1989, Kiles was “strung out. . . . Alvie was
19 acting very crazy. He was coming off the wall.” (ROA 225 Ex. 46 at 1.) Schultz
20 had to leave Kiles because of how “high and out of control” Kiles was that day.
21 (ROA 225 Ex. 46 at 1.) Even some of Kiles’s friends and colleagues from the Air
22 Force had valuable information on the progression of Kiles’s alcoholism. (See, e.g.,
23 ROA 225 Ex. 58 at 1 (noting that while in the Air Force, Kiles started drinking
24 “more and more,” to the point that “he couldn’t lift his head off the bed” and “started
25 having blackouts”).)
26         Witnesses such as Kiles’s probation officer, Ramon Mendoza, and the Yuma
27 County Adult Detention Center nursing director at the time of Kiles’s arrest, Linda
28
                                              104
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 121 of 500



 1 Rautenberg, had similarly useful information.64 (See, e.g., ROA 225 Ex. 48 at 2
 2 (noting that when Kiles was arrested, he weighed a measly 147.5 pounds); see also
 3 2006 Trial Ex. 169 at 2 (Mendoza reporting that just after arrest, Kiles had said he
 4 was on crack cocaine, alcohol, and heroin at the time of the offense).) And counsel
 5 should certainly have interviewed Janell Hawkins to appreciate fully how poorly
 6 Kiles was functioning at the time of the crime. As she had previously stated, “I
 7 know better than anyone what drugs do to Alvie and me. It makes us crazy.” (ROA
 8 225 Ex. 39 at 8.) As sustained alcohol and drug use both causes and exacerbates
 9 impulsivity, such information was important for counsel to know when evaluating
10 the viability of the impulsivity defense. See Bemore, 788 F.3d at 1164-66.
11         The fact that many of these witnesses spoke to first state post-conviction
12 counsel and were willing to provide affidavits suggests that (1) the witnesses could
13 be located, and (2) attempts to speak with them would have been fruitful. (See, e.g.,
14 ROA 225 Ex. 39 at 8.) But counsel appears to not have interviewed any lay witness,
15 save some witnesses noticed by the State.65 (See ROA 446 at 1–2.)
16         Finally, as part of a reasonable investigation, counsel should have made use
17 of the two resources most easily available to them: previously collected records and
18 their own client. First state post-conviction counsel had collected myriad records
19 and materials concerning Kiles and his family, many of which had information
20 relevant to an impulsivity defense. (See, e.g., ROA 225 Ex. 5; ROA 225 Ex. 36.)
21 Once again, it does not appear that counsel were aware of the contents of the vast
22 majority of these records and accordingly performed deficiently. See Rompilla, 545
23
24   64
      Kiles also told Mendoza shortly after being arrested that he had not killed the
25 children, so Mendoza’s testimony would have been useful on multiple fronts. (See
   2006 Trial Ex. 169 at 2.)
26 65
      Counsel also should have interviewed witnesses, like Louie Gomez, who could
27 have corroborated Kiles’s testimony that he was in Gunnel’s apartment with two
   other men. Clark was notified well before trial that Gomez had relevant
28 information.
                                             105
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 122 of 500



 1 U.S. at 383–84 (counsel deficient for failure to review easily accessible known to
 2 have critical information); Bemore, 788 F.3d at 1165–66 (counsel deficient for
 3 failing to investigate readily available evidence). Additionally, nobody had more
 4 information pertaining to the crime, the days around the time of the crime, and
 5 possible defenses than Kiles himself. As discussed in detail previously, counsel did
 6 not develop a relationship with the client that was adequate to ensure that Kiles was
 7 willing and able to communicate with them. See Claim 1, supra. Because of that
 8 and counsel’s lack of interest in Kiles’s thoughts, counsel were unable to avail
 9 themselves of the beneficial information they had in determining strategy. See
10 United States v. Tucker, 716 F.2d 576, 582 (9th Cir. 1983) (“Adequate consultation
11 between attorney and client is an essential element of competent representation of
12 a criminal defendant. . . . While the amount of consultation will depend on the facts
13 of each case, the consultation should be sufficient to determine all legally relevant
14 information known to the defendant.”); see also, e.g., Correll v. Ryan, 539 F.3d
15 938, 943 (9th Cir. 2008); 1989 ABA Guideline 11.4.1(D)(2) (requiring counsel to
16 seek information from client regarding events giving rise to charges, as well as
17 regarding client’s mental state).
18         In sum, counsel failed to conduct an adequate investigation before making
19 strategy decisions for Kiles’s guilt-phase proceedings. Accordingly, counsel’s
20 decisions were uninformed, unreasoned, and unworthy of any sort of deference. See
21 Wiggins, 539 U.S. at 521; Bemore, 788 F.3d at 1162–69. Even if counsel’s strategy
22 was reasonable in the abstract, “it was not reasonable in this case because counsel
23 were not fully aware of their options.” Sowell, 663 F.3d at 794. That counsel’s
24 strategy—to try to establish intoxication and heat-of-passion manslaughter in the
25 death of Gunnel—was legally and factually not viable only emphasizes the
26 unreasonableness of counsel’s actions.
27         If counsel had instead conducted a constitutionally adequate investigation,
28 they would have had access to a wealth of information regarding the accuracy of
                                             106
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 123 of 500



 1 the State’s forensic evidence and the applicability of a court-approved alternative
 2 defense to premeditation. With such information in hand, counsel could have made
 3 an informed and reasoned decision as to when to discontinue their investigation and
 4 as to which defense to pursue at trial. See Wiggins, 539 U.S. at 521. But counsel did
 5 not do so, and the fact that counsel may have performed capably at some points
 6 during trial does not excuse their foundational failure to investigate. See Rogers v.
 7 Israel, 746 F.2d 1288, 1295 n.5 (7th Cir. 1984) (“The fact that trial counsel’s
 8 performance was otherwise admirable would not excuse the failure to conduct a
 9 proper investigation.”); see also Moore v. United States, 432 F.2d 730, 739 (3d Cir.
10 1970 (en banc); ABA Defense Standard 4-4.1 cmt. (“The effectiveness of advocacy
11 is not to be measured solely by what the lawyer does at the trial; without careful
12 preparation, the lawyer cannot fulfill the advocate’s role.”). Here, counsel failed to
13 conduct a reasonable investigation and, as a consequence of that abridged
14 investigation, adopted a faulty strategy. Counsel thus performed deficiently under
15 Strickland.
16                3.    Trial counsel’s deficient performance prejudiced Kiles.
17         As discussed previously, defense counsel went into trial equipped with at
18 best a half-baked defense against the charge of first-degree murder for the death of
19 Gunnel. Nearly the only evidence proffered by the defense regarding Gunnel’s
20 death was Kiles’s testimony—everything hinged on whether the jury found his
                    66
21 account credible. Practically speaking, the jury not only needed to believe Kiles,
22 but also needed to find that his account gave rise to reasonable doubt as to
                 67
23 premeditation. For that, counsel sought to rely on evidence of intoxication and
24
      As a further consequence of this reliance on Kiles’s testimony alone, nearly all
     66

25 of the trial testimony focused on the deaths of Shemaeah and LeCresha. That the
   defense spent relatively little time on Gunnel’s death likely made it seem to jurors
26 as though defense counsel recognized the uphill battle they faced on the resultant
27 charge.
   67
      While the burden of proof for premeditation remained on the State, the fact that
28 Kiles testified that he killed Gunnel by beating her with a tire jack effectively meant
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 124 of 500



 1 heat of passion. But, while other witnesses mentioned Kiles’s drug use (see, e.g.,
 2 Tr. July 12, 2000 at 200–01; Tr. July 13, 2000 at 61), only Kiles testified about his
 3 drug use on the day of the crime (see Tr. July 17, 2000 at 157–58, 177, 209). And
 4 even he hardly alluded to the effects of that drug use—that is, to why his drug use
 5 scrambled his thinking and, relatedly, his ability to premeditate. (See generally Tr.
 6 July 17, 2000 at 151–222.) Similarly, Kiles’s testimony offered little basis for the
 7 jury to understand why Gunnel’s actions—just two slaps—roiled Kiles so much
 8 that he grabbed the tire jack in a heat of passion and reacted without thinking. (See
 9 generally Tr. July 17, 2000 at 151–222.)
10         Trial counsel were thus asking the jury to believe Kiles and to find that there
11 was no premeditation despite having presented no evidence explaining why Kiles’s
12 addictions might have affected his ability to premeditate or why he was in such a
13 heat of passion that he did not premeditate. Counsel were further doing so despite
14 the fact that Kiles, as the State pointed out, was not entitled under state law to have
15 the court instruct the jury that voluntary intoxication could negate premeditation.68
16 See Rankovich, 765 P.2d at 524. As a result, the jury had little reason to conclude
17 that the State had not proven premeditation beyond a reasonable doubt. That, in
18 combination with Kiles’s testimony that he killed Gunnel, led directly to the first-
19 degree murder conviction. See Yun Hseng Liao v. Junious, 817 F.3d 678, 694 (9th
20 Cir. 2016) (“[O]ur precedent recognizes that prejudice is established when . . .
21 counsel’s error left the defense with weaknesses that were exploited by the
22 prosecution.” (internal quotation marks omitted).)
23         If counsel had conducted an adequate investigation, however, the defense
24 could have taken on an entirely different hue. Counsel could have submitted to the
25
   that the defense needed to undercut the State’s proffered evidence of premeditation
26 to avoid the first-degree murder conviction.
27 68 Powell announced during the State’s closing that “[a]nything about intoxication
   does not apply when you consider first-degree murder. That is all there is to it. . . .
28 That’s the law.” (Tr. July 19, 2000 at 42.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 125 of 500



 1 jury that Kiles had an impulsive nature due to brain dysfunction, see Christensen,
 2 628 P.2d at 582–84, which was partly due to and partly exacerbated by his
 3 addictions. Instead of gambling entirely on Kiles’s ability to persuade the jury,
 4 counsel could have offered a psychiatrist or psychologist to explain the nature of
 5 Kiles’s impulsivity and how his thought processes were consequently impaired. See
 6 id. (allowing expert testimony to explain a defendant’s impulsive nature); (see also,
 7 e.g., Tr. Feb. 21, 1996 at 167–21; Tr. May 8, 2006 at 33–34). Counsel could have
 8 presented a neuropsychologist and a neuroimaging expert to show to the jury that
 9 Kiles had demonstrable markers of brain damage, trauma, and other known causes
10 of impulsivity, as well as that his performance on testing made clear his struggles
11 with impulsivity. (See, e.g., PFR2 Dkt. 27 Ex. 24 at 1–2; PFR2 Dkt. 28 Ex. 25 at
12 7.) In addition, counsel could have had a pharmacologist or comparable expert lay
13 out for the jury the effect of Kiles’s addictions on his tendency toward impulsivity
14 and thought processes around the time of the crime. (See, e.g., PFR2 Dkt. 28 Ex. 25
15 at 5.) Lay-witness testimony could have corroborated that expert testimony about
16 Kiles’s impulsivity, its causes, and its effects. (See, e.g., ROA 225 Ex. 44 at 1; ROA
17 225 Ex. 46 at 1.)
18         While an impulsivity defense could have opened the door for the State to
19 introduce parts of Kiles’s criminal history, even such testimony could have been
20 used by the defense to further illustrate Kiles’s impulsivity. Indeed, much of Kiles’s
21 criminal history is proof of his impulsive nature. (See, e.g., PFR2 Dkt. 27 Ex. 24 at
22 1–2.) Further, such evidence would have given Kiles’s experts an opportunity to
23 explain that even actions that superficially seem reflective may well be impulsive
24 and done without prior thought to consequences.69 (Tr. May 8, 2006 at 36–37 (Dr.
25 Globus detailing how Kiles’s actions in a 1984 fight might well have been
26
      Any argument that opening the door to Kiles’s criminal history would have
     69

27 increased the likelihood of conviction in Gunnel’s death falls flat, given that Kiles
   testified that he was responsible for her death and had no chance of escaping a
28 conviction.
                                             109
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 126 of 500



 1 impulsive, even though Kiles claimed he “sat down and thought” before responding
 2 to assault against him).)
 3         Overall, then, defense experts on impulsivity, corroborated appropriately by
 4 lay witnesses, would have given the jurors what they were missing: a compelling
 5 explanation as to why Kiles’s actions were, given his nature, inconsistent with
 6 premeditation.
 7         An even minimally adequate investigation would also have allowed defense
 8 counsel to confront head-on critical aspects of the State’s forensic case. Had counsel
 9 retained a pathologist, they could have persuasively challenged the State’s claim
10 that the assault against Gunnel was prolonged—and thus more likely
11 premeditated—because Gunnel had a defensive wound. Through a blood-spatter
12 expert, counsel could have conveyed to the jury that the forensic evidence strongly
13 indicated that Gunnel quickly went down once attacked, as well as that several of
14 Tom Bevel’s key conclusions were unsound. (See ROA 225 Ex. 79 at 4.) In so
15 doing, defense counsel could have decimated the testimony of an expert whom the
16 State lionized as a centerpiece of its case. Finally, a crime-scene management expert
17 could have helped trial counsel attack the reasonableness of key aspects of the
18 crime-scene investigation. Such information both would have given the jury reason
19 to view the State’s evidence with great skepticism and would have highlighted the
20 absence of reliable physical evidence of premeditation. See Elmore, 661 F.3d at 870
21 (“With investigation, the jury undeniably would have seen a drastically different—
22 and significantly weaker—prosecution case.”).
23         Critically, an adequate investigation would have allowed counsel to present
24 evidence that both corroborated and provided critical context for Kiles’s testimony.
25 The Ninth Circuit has repeatedly found that the failure to corroborate the
26 defendant’s testimony, when possible to do so, is prejudicial. For example, in Riley
27 v. Payne, counsel was ineffective for failing to call a witness who could have
28 corroborated portions of the defendant’s account of self defense. 352 F.3d 1313,
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 127 of 500



 1 1319–20 (9th Cir. 2003) (finding prejudice when the witness’s “testimony would
 2 have been consistent with [the defendant’s] account and would have created more
 3 equilibrium in the evidence presented to the jury” (internal quotation marks
 4 omitted).). Similarly, the court found Strickland prejudice in Brown v. Myers, when
 5 counsel neglected to have several witnesses testify who could have “buttressed [the
 6 defendant’s] account on [a] crucial point.” 137 F.3d 1154, 1157–58 (9th Cir. 1998);
 7 see also, e.g., Bennett, 407 F. App’x at 215 (“Because [the defendant] took the
 8 stand, it was critical to have any objective physical and forensic evidence to support
 9 his version.”). Accordingly, while Kiles’s testimony would still have been the
10 linchpin of the defense’s case, corroborating that testimony with forensic evidence
11 and with evidence of his impulsivity would have bolstered the defense case
12 immeasurably.
13         Because counsel failed to adequately investigate, they lost the opportunity to
14 present a legally sound, reasonable defense to first-degree murder that was
15 compelling because it both undermined the State’s forensic evidence and explained
16 why Kiles’s character for impulsivity undercut premeditation. And, because
17 counsel had instead opted for a legally and factually problematic defense to the
18 first-degree murder charge for Gunnel’s death, counsel allowed that charge—and
19 Gunnel’s death—to get lost in the stream of information about the remaining
20 murder charges. The result was a breakdown in the adversarial system, sufficient to
21 undermine confidence in the conviction. See Strickland, 466 U.S. at 687. In this
22 case, all that is needed to undermine confidence is a reasonable probability that at
23 least one juror would have rejected first-degree murder in favor of a lesser-included
24 offense, such as second-degree murder. See Jennings v. Woodford, 290 F.3d 1006,
25 1019 (9th Cir. 2002); see also Strickland, 466 U.S. at 694 (declaring that a showing
26 of “a reasonable probability” is a lesser standard than “a preponderance of the
27 evidence”).
28         Here, the jurors could have heard an entirely different story than the one
                                             111
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 128 of 500



 1 presented. They could have heard that key aspects of the State’s forensic case were
 2 exaggerated or wholly unsupportable. They could have heard that the little physical
 3 evidence offered regarding Gunnel’s killing did not suggest, let alone prove, that
 4 the killing was premeditated. They could have learned that Kiles suffered from
 5 brain dysfunction and, consequently, impulsivity, which bore heavily upon whether
 6 he premeditated the killing. Importantly, such powerful evidence that Kiles did not
 7 premeditate Gunnel’s death would not have been lost or obscured in the grand
 8 scheme of the trial. If the jury had been offered this evidence, then “it might
 9 nonetheless have convicted [Kiles of premeditated first-degree murder]. . . . But
10 there is at least a reasonable probability that it would not have done so.” Thomas v.
11 Chappell, 678 F.3d 1086, 1098 (9th Cir. 2012).
12         D.     Counsel were ineffective for failing to object to Kiles’s shackling.
13         Kiles’s counsel were deficient for failing to object to Kiles’s shackling, as
14 well as for failing to ensure that Kiles’s restraints were not visible to the jury, and
15 counsel’s deficient performance prejudiced Kiles.
16         Throughout guilt-phase proceedings, Kiles was forced to wear a leg brace—
17 designed to lock up if a defendant moved too quickly—and ankle shackles. Kiles
18 had to hold the leg brace in place when he was walking, including to the witness
19 stand to testify, to prevent it from locking up as he moved. Multiple jurors saw
20 and/or heard Kiles’s shackles, and at least one juror noticed Kiles’s odd gait,
21 attributable to the leg brace.
22        However, Kiles had a right under the Due Process Clause not to be tried
23 wearing shackles unless there were no acceptable alternatives. The Supreme Court
24 has “defined shackling as ‘the sort of inherently prejudicial practice that . . . should
25 be permitted only where justified by an essential state interest specific to each
26 trial.’” Hedlund v. Ryan, 854 F.3d 557, 568 (9th Cir. 2017) (footnote omitted)
27 (quoting Holbrook v. Flynn, 475 U.S. 560, 568–69 (1986)).
28       Counsel had a duty to protect Kiles from the inherent prejudice of shackling,

                                              112
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 129 of 500



 1 but failed to do so. See Roche v. Davis, 291 F.3d 473, 483 (7th Cir. 2002) (holding
 2 that counsel’s performance was deficient in failing to object to client’s shackling
 3 and in failing to ensure that shackles were not visible to the jury); see also
 4 Strickland, 466 U.S. at 688. Preliminarily, counsel failed to object when the court
 5 neglected to inquire into whether there were compelling circumstances to justify
 6 the use of physical restraints. Spain v. Rushen, 883 F.2d 712, 716 (9th Cir. 1989).
 7 In failing to conduct that individualized inquiry, the court committed constitutional
 8 error. See id.; see also infra, Claim 7. By extension, counsel performed deficiently
 9 in failing to ensure that Kiles’s due-process rights were vindicated.70 See Roche,
10 291 F.3d at 483. Then, having failed to object to the unjustified use of restraints,
11 counsel did not ensure that the jury could not see Kiles’s physical restraints.71 In
12 that way, too, counsel performed deficiently. See id.
13         The prejudice arising from shackling—and the ways in which it undermined
14 Kiles’s rights—is manifold. First, shackling compromises the defendant’s right to
15 a fair trial by (1) crippling the presumption of innocence, and (2) denying the
16 defendant an impartial jury. See Illinois v. Allen, 397 U.S. 337, 344–45 (1970);
17 Estelle v. Williams, 425 U.S. 501, 504–05 (1976) (recognizing shackles as a
18 “constant reminder of the accused’s condition . . . [that] may affect a juror’s
19 judgment” and are “so likely to be a continuing influence throughout the trial that
20 . . . an unacceptable risk is presented of impermissible factors coming into play”);
21
22   70
        Had counsel objected and forced the trial court to conduct the constitutionally
     requisite inquiry, the trial court would likely have determined that less-restrictive
23   alternatives were appropriate. The trial court had a lot of evidence to consider in its
24   individualized review. By the time of trial, Kiles had spent 11 years in jail and
     prison, and his record was exemplary. (See Tr. Apr. 27, 2006 at 6, 31–32 (prison-
25   operations expert testifying that Kiles had zero infractions from 1990 through early
     1998 and that such a spotless record was “baffling . . . I have never seen anything
26   like this”).)
27   71
        Kiles may also have been wearing a stun belt. If that was so, then that restraint,
     even though not visible to the jury, only exacerbated the problems caused by Kiles’s
28   visible restraints. See Gonzalez v. Pliler, 341 F.3d 897, 900 (9th Cir. 2003).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 130 of 500



 1 see also Deck v. Missouri, 544 U.S. 622, 633 (2005) (noting that shackles imply
 2 that the court considers the defendant dangerous, which is “nearly always a relevant
 3 factor in jury decisionmaking” in a capital case). Second, restraints inhibit the
 4 defendant, thereby impeding his ability to assist counsel in his own defense, which
 5 is critical to his ability to present a meaningful defense. See id. at 631–32 (“The use
 6 of physical restraints diminishes that right.”). Shackling has been found to impede
 7 easy communication with counsel. See Allen, 397 U.S. at 344. Physical restraints
 8 can further “confuse and embarrass the defendant, thereby impairing his mental
 9 faculties; and they may cause him pain.” Duckett v. Godinez, 67 F.3d 734, 747–48
10 (9th Cir. 1995) (quoting Spain, 883 F.2d at 720–21). Third, “the use of [shackling]
11 is itself something of an affront to the very dignity and decorum of judicial
12 proceedings.” Allen, 397 U.S. at 344.
13         All of these forms of prejudice plagued Kiles’s guilt-phase proceedings,
14 rendering counsel ineffective for failing to protect Kiles’s rights. See State v.
15 Gomez, 123 P.3d 1131, 1141 (Ariz. 2005) (remanding for new sentencing when
16 shackling of defendant during capital-sentencing proceedings was unjustified and
17 prejudicial). The fragility of the presumption of innocence and the crucial need for
18 an impartial jury were only heightened in Kiles’s case, where at least one juror was
19 aware that Kiles had previously been convicted of the crimes at issue and multiple
20 jurors had been exposed to media about the crimes and Kiles’s legal proceedings.
21 In a case involving such brutal crimes, when jurors were able to see and hear Kiles’s
22 restraints, the jurors were able to quickly and reasonably infer that the court had
23 already deemed him a danger. See Deck, 544 U.S. at 633. As a result, the
24 presumption of innocence was vitiated. See Spain, 883 F.2d at 721 (recognizing
25 that shackling can “revers[e] the presumption of innocence”). Further, the restraints
26 limited Kiles’s ability to communicate freely with his counsel and undermined the
27 dignity and decorum of the judicial proceedings. Given the degree of prejudice on
28 multiple fronts from the visible shackles, there is a reasonable probability that,
                                              114
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 131 of 500



 1 absent counsel’s failures, at least one juror would have voted differently. See
 2 Strickland, 466 U.S. at 694.
 3         E.     Counsel rendered ineffective assistance during the defense’s
                  opening statement.
 4
 5         A criminal defendant has the right to effective assistance of counsel during
 6 the defense’s opening statement. See, e.g., Wilson v. Mazzuca, 570 F.3d 490, 502–
 7 07 (2d Cir. 2009) (finding counsel ineffective in part due to failures during opening
 8 statement). However, Clark’s opening statement worked to Kiles’s detriment in a
 9 number of ways. See Strickland, 466 U.S. at 688.
10         Clark undermined the defense’s credibility from the outset, by making
11 promises he did not keep. See, e.g., Anderson v. Butler, 858 F.2d 16, 17 (1st Cir.
12 1988) (“[L]ittle is more damaging than to fail to produce important evidence that
13 ha[s] been promised in an opening.”). After lauding the State’s blood-spatter
14 evidence as a “forensic fact in this case” that would be “foolish” to challenge72 (Tr.
15 July 10, 2000 at 35), Clark guaranteed the jury that the DNA and blood-spatter
16 evidence would establish that Gunnel died in the leather chair: “[T]he DNA, the
17 blood spatter and Mr. Kiles’ testimony will all tell that that’s where [Gunnel]
18 expired at, in the living room, in that chair.” (Tr. July 10, 2000 at 46.) That never
19 came to pass. The location where Gunnel died was critical to the defense, as it spoke
20 both to premeditation and to the credibility of Kiles’s narrative. But, after having
21 promised this “very scientific” support for Kiles’s testimony (Tr. July 10, 2000 at
22 34), the defense failed to come through. The DNA evidence did not establish that
23 Gunnel died in the chair, because the blood on the chair was never tested by the
24 DNA analyst. (See Tr. July 12, 2000 at 114–16 (DNA analyst listing items with
25 bloodstains that he tested).) Similarly, no blood-spatter evidence established that
26 Gunnel died in the chair, because defense counsel neglected to elicit such evidence
27
   72
      That the defense was, because of counsel’s inadequate investigation, vouching
28 for unreliable blood-spatter evidence was an independent problem.
                                             115
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 132 of 500



 1 when questioning the State’s expert.73 (See Tr. July 14, 2000 at 30–50, 55–59.)
 2         Clark then, for no discernible reason, told the jury the following:
 3                [Kiles] and his friends . . . decide to do what they have done
                  in the past, and that’s—they’re going to shoplift some
 4                Circle K’s. Evidently, it’s an easy thing to do. They steal
 5                some cigarettes and they steal some liquor. They take the
                  cigarettes and trade them for some more cocaine. They do
 6                this three times.
 7 (Tr. July 10, 2000 at 43–44.) Even assuming this information were true, none of it
 8 came into evidence at trial. As counsel knew or should have known, the only
 9 witness noticed by the State who could potentially have testified to these matters
10 was Kale Johnson. (See ROA 446 at 1–2.) Johnson, however, had committed to
11 saying that he did not leave his aunt’s apartment on the day in question. (See Tr.
12 July 14, 2000 at 136–37.) And the State could not produce such “other crimes”
13 evidence during Kiles’s cross-examination. See Ariz. R. Evid. 404(b). The defense
14 thus announced to the jury that their client had spent the day of the crime robbing
15 stores for money for drugs. In doing so, counsel undermined Kiles’s credibility for
16 no reason whatsoever, even though the case hinged on Kiles’s testimony.
17         In sum, then, defense counsel promised corroboration for a key aspect of
18 Kiles’s testimony—one going to whether Kiles premeditated Gunnel’s death—and
19 failed to deliver. In addition, counsel affirmatively undercut Kiles’s credibility by
20
21   73
        Clark made other promises the defense failed to keep. For example, he began his
     opening by insisting that attorneys “don’t come into these rooms at this point in
22   time and ask questions we don’t already know the answers to.” (Tr. July 10, 2000
     at 29.) But defense counsel were repeatedly stumped when State’s witnesses failed
23   to respond to questions as anticipated. As another example, Clark announced, “I’ll
24   tell you now that a great number of these [State’s] witnesses will be recalled in the
     defense’s case in chief. . . . [T]hat’s going to happen.” (Tr. July 10, 2000 at 37.) Of
25   the State’s twenty or so witnesses, the defense recalled only two. (See Tr. July 17,
     2000 at 127, 145.) In doing so after promising “a great number” of witnesses,
26   counsel intimated to the jury that the defense had less to offer—that it was weaker—
27   than anticipated. See, e.g., Williams v. Woodford, 859 F. Supp. 2d 1154, 1173 (E.D.
     Cal. 2012).
28
                                               116
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 133 of 500



 1 alerting the jury that Kiles had been robbing stores for money for drugs, on which
 2 point there was no testimony whatsoever. Given the centrality of Kiles’s testimony
 3 to the case as presented, these errors prejudiced Kiles. See, e.g., United States v.
 4 Gonzalez-Maldonado, 115 F.3d 9, 15 (1st Cir. 1997) (“A defendant’s opening
 5 statement prepares the jury to hear his case. If the defense fails to produce promised
 6 expert testimony that is critical to the defense strategy, a danger arises that the jury
 7 will presume . . . the defense is flawed.”); Cunningham, 704 F.3d at 1168
 8 (Pregerson, J., concurring in part and dissenting in part); see also Strickland, 466
 9 U.S. at 694.
10         F.     Counsel were ineffective for failing to effectively cross-examine
                  crucial State’s witnesses on matters relating to whether Gunnel’s
11                death was premeditated.
12         Trial counsel likewise had a duty under the Sixth Amendment to test the
13 State’s case by adequately cross-examining the State’s witnesses on points critical
14 to the defense. See Crawford v. Washington, 541 U.S. 36, 61 (2004) (recognizing
15 the “testing [of evidence] in the crucible of cross-examination” as crucial
16 constitutional guarantee of reliability); see also, e.g., Richey, 498 F.3d at 362–64
17 (holding counsel ineffective in part for failure to prepare sufficiently to cross-
18 examine State’s witnesses). Again, trial counsel’s strategy was to have Kiles admit
19 that he killed Gunnel, but then to convince the jury that the crime was not
20 premeditated and therefore not first-degree murder. (Tr. July 10, 2000 at 39–40.)
21 Indeed, counsel made a point during closing argument of dismissing the State’s
22 theory that the attack on Gunnel started in the bedroom and moved to the living
23 room—a theory suggestive of a prolonged attack and therefore of premeditation.
24 (Tr. July 19, 2000 at 51.) Having committed to this approach, though, counsel had
25 an obligation to pounce on every opportunity to undercut the State’s case for
26 premeditation. Instead, counsel missed critical chances to effectively cross-examine
27 several of the State’s witnesses, thereby unnecessarily ceding key points to the
28 prosecution.
                                              117
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 134 of 500



 1         For example, as laid out above, counsel failed to cross-examine two of the
 2 State’s forensic experts on key points. At no point during the cross-examination of
 3 Tom Bevel did counsel touch on the blood-stain evidence in the living room. (See
 4 Tr. July 14, 2000 at 30–50, 55–59.) However, had counsel done so, counsel could
 5 have elicited from Bevel that the low-to-the-ground blood spatter and castoff in the
 6 living room suggested that Gunnel was not standing for any blow that produced
 7 such spatter. (Tr. Mar. 27, 2006 at 65–66, 71.) Counsel could moreover have had
 8 Bevel testify that the blood stain in the leather chair was consistent with the blood
 9 source (i.e., Gunnel’s head injury) being low to the chair cushion. (Tr. Mar. 27,
10 2006 at 65–66, 71.) Counsel could even have elicited from Bevel that he had no
11 way of knowing whether the ratchet was originally in the east bedroom and that it
12 could have been moved there after the killings. (Cf. Tr. Mar. 27, 2006 at 113–14.)
13 This testimony—much of which was elicited during the aggravation phase—would
14 have corroborated Kiles’s account of the attack on Gunnel, including that it was not
15 premeditated. (Tr. July 17, 2000 at 165–66); see also Bennett, 407 F. App’x at 215.
16         Similarly, instead of blindly accepting Dr. Mallon’s assertion that Gunnel
17 exhibited “evidence of a defensive wound” (Tr. July 13, 2000 at 99), counsel could
18 have confronted Dr. Mallon with his far-less-definitive statement at the 1989 trial
19 that Gunnel’s forearm wound merely could be a defensive wound.74 (Tr. Dec. 12,
20 1989 at 8.) Clearly counsel was interested in impeaching Dr. Mallon with his prior
21 testimony, as she did so on a different issue. (See Tr. July 13, 2000 at 106–07.) But
22 the failure to cross-examine him about the defensive wound marked another missed
23 opportunity to buttress Kiles’s version of events.75 See Nixon v. Newsome, 888 F.2d
24
25    Relatedly, counsel could have confronted Dr. Mallon with his 1989 testimony
     74

   that he could not say whether Gunnel was conscious for any particular blow. (See
26 Tr. Dec. 12, 1989 at 15 (testifying that “it would be speculation” to say whether
27 Gunnel was conscious after the first blow).)
   75
      Of course, as discussed previously, counsel should have retained experts to help
28 them understand and navigate the State’s experts’ conclusions. Even lacking such
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 135 of 500



 1 112, 114–15 (11th Cir. 1989) (counsel ineffective for failing to cross-examine
 2 witness on the “crucial discrepancies” between her testimony at two trials).
 3         Counsel’s failure to effectively cross-examine extended to lay witnesses. As
 4 an example, counsel did not adequately cross-examine Larry Hawkins using the
 5 affidavit he had provided in 1994, his 1989 testimony, or other impeachment
 6 material. (ROA 1189 at 6.) Hawkins’s Silent Witness Letter and testimony were
 7 key evidence of premeditation (see, e.g., Tr. July 13, 2000 at 32–35), and counsel
 8 missed chances to undermine this testimony. Counsel could have asked Hawkins
 9 about the following sworn statement he made in 1994: “Alvie came to my house
10 the day of the homicides, as I testified in court. He was not himself. He had a crazed
11 look in his eyes and was rambling and at times, incoherent. I don’t know that
12 anything he told me that day was accurate.” (PFR2 Dkt. 20 Ex. 2 at 2–3.)
13 Confronting Hawkins with that prior attestation would have undermined the value
14 of his testimony about what Kiles had said after the homicides. Counsel could
15 further have impeached Hawkins with his 1989 testimony about Kiles’s alcohol
16 problem and that Kiles was “shooting cocaine” when he spoke to Hawkins on
17 February 10, 1989. (Tr. Dec. 13, 1989 (Hawkins testimony) at 27–28.) And,
18 because the State framed Hawkins as Kiles’s confidant from its opening statement
19 onward (see, e.g., Tr. July 10, 2000 at 24), counsel could have elicited testimony
20 from Hawkins that he and Kiles had a falling out when Hawkins beat up Kiles’s
21 sister (see PFR2 Dkt. 21 Ex. 3 at 34). Instead, counsel failed to counter testimony
22 regarding premeditation on which the State relied heavily. See Reynoso v. Giurbino,
23 462 F.3d 1099, 1114 (9th Cir. 2006) (counsel ineffective for failing to investigate
24 material for cross-examination).
25         Counsel could likewise have impeached Kale Johnson with his August 1994
26 affidavit. (See ROA 1189 at 39–40; ROA 225 Ex. 45 at 1–3.) In that affidavit,
27
   help, though, counsel could have better fashioned their attacks on these experts
28 during cross-examination.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 136 of 500



 1 Johnson attested that when he returned with Kiles to Gunnel’s apartment,
 2                  Alvie was not bragging about what he had done at all. He
                    was really freaked out and upset. Alvie was very high on
 3                  drugs and alcohol, and he was staggering. . . . He started
 4                  down the hallway, but because he was so messed up he
                    accidentally stumbled over Valerie’s body. . . . He did not
 5                  deliberately step on Valerie’s face, and he did not step on
                    her face to prove that she was dead.
 6
 7 (ROA 225 Ex. 45 at 2.) While Clark attempted to impeach Johnson’s testimony at
 8 trial, Clark did not use this affidavit. Instead, Clark highlighted Johnson’s April
 9 2000 unsworn statement to defense counsel, as well as Johnson’s 1989 testimony,
10 in which Johnson testified that Kiles stepped on Gunnel on purpose to show that
11 she was dead. (Tr. July 14, 2000 at 165–66.) That counsel failed to use this affidavit
12 for impeachment was not strategic, as much of counsel’s guilt-phase focus was on
13 undercutting Johnson’s testimony.
14       Finally, counsel failed to adequately cross-examine certain law-enforcement
15 witnesses. Perhaps most importantly, counsel did not ask Rodgers, who was the
16 lead investigator on the case, whether the evidence supported the State’s theory that
                                               76
17 the attack on Gunnel started in the bedroom. Had counsel done so, he would
18 presumably have testified as he did during the 2006 aggravation-phase cross-
19 examination: “[A]fter things started, I don’t think [Gunnel] ever made it to the east
20 bedroom.” (Tr. Apr. 3, 2006 at 100.) He could have elaborated that the ratchet,
21 along with Gunnel’s tooth fragment and hair, found in the east bedroom could have
22 been transferred there—there was no way to tell from the physical evidence whether
23 the ratchet was used in the bedroom. (Tr. Apr. 3, 2006 at 99–100.) The State harped
24 on this theory that the attack on Gunnel started in the bedroom; it came up time and
25 time again in the State’s closing as the basis for premeditation. Had Rodgers, the
26 State’s crime-scene management expert (ROA 446 at 2), obliterated that theory, the
27
28   76
          It is unclear whether defense counsel interviewed Rodgers prior to trial.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 137 of 500



 1 State’s case for premeditation would have been in shambles. Counsel were
 2 ineffective for missing—with no justification—such a valuable opportunity to
 3 strike at the core of the State’s case.77 See Reynoso, 462 F.3d at 1099; Richey, 498
 4 F.3d at 362–64.
 5         Counsel’s failures with respect to cross-examination were not based on any
 6 informed, reasoned decisions, but on a lack of preparation and investigation. Had
 7 counsel effectively challenged the testimony of these key State witnesses, there is
 8 a reasonable probability that the jury’s verdict would have been different. See
 9 Strickland, 466 U.S. at 688, 694.
10         G.    Counsel were ineffective for stipulating to the admission of
                 hearsay statements from Gunnel at the guilt-phase proceedings.
11
12         As part of counsel’s duty to test the State’s case, counsel were required to
13 contest the admission of unreliable hearsay. See Pearce v. Nooth, No. 17-35326,
14 2018 WL 3639534, at *2 (9th Cir. Aug. 1, 2018) (finding counsel ineffective for
15 failing to make meritorious hearsay objection). Kiles’s counsel were ineffective for
16 failing to object to such hearsay. (See ROA 1189 at 37–39.)
17         Before Kiles’s guilt-phase proceedings, defense counsel—specifically,
18 VanDreumel—made several stipulations in a letter to the State. (See ROA 497.)
19 One of those stipulations was as follows:
20             Next, consistent with the doctrine of the law of the case,
               [the defense] will not challenge the admissibility of Valerie
21             Gunnel’s statements to ImoJean [sic] Kiles reference her
               needing money because our client took her food stamps.
22             Similarly, we will not challenge the admissibility of Sandra
23             Mercado’s claim that Valerie told her that she (Valerie)
24
   77
      Further, if the defense was aware that Officer David Sherman, Kiles’s arresting
25 officer, had previously falsified a urine test, counsel should have raised that
26 information on cross-examination. Although Sherman did not testify on matters
   related to premeditation, casting his credibility into question could have affected
27 the jurors’ perception of the State’s law enforcement witnesses. And, if the State
   did not disclose this impeachment information about Sherman to the defense, that
28 withholding of material violated Kiles’s rights.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 138 of 500



1                 didn’t have any money, and that she (Valerie) wanted our
                  client to move out, and that our client responded that the
2                 only way he would move out were if she (Valerie) called
3                 the police. Please know that we are not stipulating that
                  these witnesses[’] claims regarding Valerie’s statements
4                 are truthful, and we intend to challenge the testifying
                  witnesses thereon. We simply understand that those
5                 statements will be admitted.
6
     (ROA 497 at 3.) At trial, Imojean Kiles and Sandra Brown (formerly Mercado)
7
     testified to these and other hearsay statements from Gunnel pursuant to counsel’s
8
     stipulation. (See, e.g., Tr. July 11, 2000 at 32 (Imojean Kiles testifying that Gunnel
9
     said that Alvie Kiles had taken her food stamps); Tr. July 12, 2000 at 9–10 (Brown
10
     testifying that Gunnel complained that she wanted Kiles to leave her apartment and
11
     that she was going to throw him out); Tr. July 12, 2000 at 11 (Brown testifying that
12
     Gunnel believed Kiles had taken her purse).)78
13
           Preliminarily, while counsel claimed to be deferring to the law-of-the-case
14
     doctrine, counsel later argued against the doctrine on a matter related to aggravating
15
     circumstances. (See ROA 756 at 2–5.) Accordingly, counsel’s stated justification
16
     for the stipulation is untenable.79
17
           Gunnel’s statements—particularly that she needed money because Kiles had
18
     taken her food stamps and that he would only move out if she called the police on
19
     him—were inadmissible hearsay. The statements were offered to prove the truth of
20
21   78
        At one point during Brown’s testimony, Clark objected to the hearsay. (Tr. July
     12, 2000 at 9.) There was an off-the-record bench conference (Tr. July 12, 2000 at
22   9), at which point Clark was presumably reminded that the defense had stipulated
     to the admission of hearsay testimony. If, instead, the defense withdrew their
23   stipulation, objected to the hearsay, and were overruled by the trial court, the
24   constitutional error lies with the trial court for allowing the admission of unreliable
     hearsay in violation of Kiles’s rights to due process, confrontation, and a fair trial.
25   Regardless, defense did not object to Imojean Kiles’s relaying of hearsay (see Tr.
     July 11, 2000 at 32), and the failure of counsel to ensure a complete record of this
26   important discussion regarding hearsay was ineffective, see infra, Claim 16.
27   79
        Moreover, the hearsay issues were not raised to the Arizona Supreme Court during
     Kiles’s first direct-appeal proceedings. See State v. Kiles, 857 P.2d 1212 (Ariz.
28   1993).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 139 of 500



 1 the matters asserted. Moreover, there was no dispute that, for example, Gunnel was
 2 angry with Kiles at the time of the crime. Because these statements do not fall within
 3 exceptions to the prohibition on hearsay under Arizona law, they were inadmissible.
 4 See, e.g., State v. Charo, 754 P.2d 288 (Ariz. 1988) (holding that hearsay from
 5 deceased victim to prove an unwitnessed prior bad act by the defendant was
 6 inadmissible); Ariz. R. Evid. 803. Accordingly, counsel were deficient in
 7 stipulating to their admission. See Pearce, 2018 WL 3639534, at *2.
 8         Counsel’s failure to object was, moreover, prejudicial. The State relied on
 9 the hearsay in its closing, arguing that the jury should believe Brown’s testimony
10 as to what Gunnel had said and, in turn, reject Kiles’s testimony. (See Tr. July 19,
11 2000 at 25–26.) In particular, Gunnel’s hearsay statements made it harder for a jury
12 to accept that her later fight with Kiles, if attributable to the fact that he took her
13 food stamps, was the adequate provocation necessary for a finding of heat-of-
14 passion manslaughter. If the jury had not heard this hearsay, there is a reasonable
15 probability that it would not have convicted Kiles of first-degree murder for
16 Gunnel’s death. See Strickland, 466 U.S. at 694.
17         H.     Counsel were ineffective for failing to object to the worst of the
                  gruesome photographs repeatedly displayed at trial.
18
19         Despite the excessively disturbing nature of some of the photographs of the
20 victims, Kiles’s counsel failed to object to their admission and repeated display at
21 trial. That failure was particularly abject with respect to the photograph admitted
22 into evidence of LeCresha Kirklin, Gunnel’s nine-month-old daughter. (See 2000
23 Trial Ex. 72.) Because of the particularly haunting nature of that image, counsel’s
24 failure to object to its admission at trial was ineffective. See Strickland, 466 U.S. at
25 688, 694; see also, e.g., Duncan v. Henry, 513 U.S. 364, 366 (1995) (recognizing
26 due-process violation when evidence is admitted that is so inflammatory as to
27 prevent a fair trial); (ROA 1189 at 30–32).
28         Exhibit 72 from the 2000 trial showed LeCresha on an autopsy table, her skin
                                              123
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 140 of 500



 1 grossly discolored and speckled by her prolonged submersion in water. (See Tr.
 2 July 13, 2000 at 103.) The photograph showed her skin slippage and the erosion of
 3 her soft tissue—also attributable to the immersion (Tr. Dec. 12, 1989 at 10; Tr. July
 4 13, 2000 at 103), as well as bites and other marks from fish and aquatic animals (Tr.
 5 Mar. 20, 2006 at 26). LeCresha’s face appeared bloated, and at least one of her eyes
 6 appeared to have been lost when she was submerged.
 7         Defense counsel knew or should have known how inflammatory the
 8 photograph of LeCresha was. During Kiles’s first state post-conviction
 9 proceedings, multiple jurors from his 1989 trial had commented on how troubling
10 the photographs were. (ROA 225 Ex. 49 at 1 (“I remember the case very well,
11 particularly the gruesome photographs. I had nightmares for a long time after seeing
12 them. [They] seemed unnecessary. The photographs really influenced the jury.”);
13 ROA 225 Ex. 51 at 1 (“The photographs of the crime scene and the victims were
14 particularly gruesome and upsetting.”).) Indeed, VanDreumel challenged the
15 admission of Exhibit 72 and other graphic photographs in 2006, before the penalty
16 phase, noting the photograph of LeCresha in particular “still bothers me, that
17 photograph does.” (Tr. Mar. 20, 2006 at 26–27.)
18         As evidenced by the fact that counsel later challenged the photograph,
19 counsel had no justification for failing to do so at the guilt phase. (See Tr. Mar. 20,
20 2006 at 26–27.) VanDreumel even acknowledged that “perhaps, [the failure] was
21 an error of some magnitude” on the defense’s part. (Tr. Mar. 20, 2006 at 35.)
22         Moreover, had counsel challenged the admission of Exhibit 72, they would
23 have prevailed. Inflammatory photographs are inadmissible under Arizona Rule of
24 Evidence 403 when they have little tendency to establish any issue in dispute in the
25 case; in such cases, the photographs serve primarily to inflame the jury. State v.
26 Bocharski, 22 P.3d 43, 56 (Ariz. 2001). Here, the photograph was not probative of
27 any matter in dispute. The defense did not dispute the identity of the child, that she
28 had died, her cause of death, or that she had been placed in the river. The defense
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 141 of 500



 1 disputed only who caused LeCresha’s death, a matter on which the photograph shed
 2 no light whatsoever. Therefore, the photograph was inadmissible. Id. (recognizing
 3 that when defense does not contest the facts of which an inflammatory photograph
 4 is probative, the “prejudicial effect [of such a photograph] can be significant”).80
 5         Powell knew how disturbing—and potent—the image of the decomposed
 6 body of the infant was. (See Tr. July 12, 2000 at 61.) Even so, he displayed Exhibit
 7 72 for the jurors multiple times during the course of the guilt phase. (See Tr. July
 8 12, 2000 at 61; Tr. July 13, 2000 at 103.) The jurors were subjected to a deeply
 9 disturbing image that some continue to find haunting. Because of the power and
10 inflammatory nature of such a photograph, its prejudice is not just limited to crimes
11 against LeCresha; the photograph surely colored the jurors’ view of all of the
12 evidence and affected all of the verdicts. Exhibit 72 was particularly prejudicial
13 with respect to the child-abuse charges, as the photograph showed all sorts of
14 horrifying damage to LeCresha’s body that occurred long after any alleged child
15 abuse by Kiles. Seeing a child in that state, with the effects of the immersion of
16 water, must have made a difference. Had the jury not been repeatedly shown Exhibit
17 72, there is a reasonable probability that its verdicts would have been different. See
18 Strickland, 466 U.S. at 694.
19         I.     Counsel rendered ineffective assistance by failing to request
                  critical jury instructions.
20
21         Defense counsel failed to request several critical jury instructions; the court,
22 accordingly, neglected to instruct the jury appropriately. Because counsel’s failure
23 prejudiced Kiles with respect to his conviction for first-degree murder for the death
24 of Gunnel and his convictions for child abuse, counsel provided ineffective
25 assistance. See Strickland, 466 U.S. at 688, 694; see also Pirtle v. Morgan, 313 F.3d
26
27   Even when the trial court ruled the photograph admissible for the aggravation
     80

   phase, the court acknowledged that the calculus would be different at guilt-phase
28 proceedings, where there would be greater prejudice. (See Tr. Mar. 20, 2006 at 38.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 142 of 500



 1 1160, 1162 (9th Cir. 2002) (deeming counsel ineffective for failing to request a
 2 guilt-phase instruction on diminished capacity).
 3         As Kiles testified that he killed Gunnel, the issue of premeditation—the
 4 difference between first-degree murder and second-degree murder—was pivotal.
 5 (See Tr. July 19, 2000 at 92–93.) Counsel thus had an absolute duty to ensure that
 6 the jury was properly instructed on premeditation. (See ROA 1189 at 42–45); see
 7 also Pirtle, 313 F.3d at 1162 (instructions relating to premeditation were crucial
 8 when “the only issue in dispute was whether [the defendant] acted with
 9 premeditation). The court instructed the jury as follows:
10               Premeditation means the defendant acts with the
                 knowledge that he will kill another human being when such
11               intention or knowledge proceeds [sic] the killing by a
12               length of time to permit reflection. An act is not done with
                 premeditation if there is any instant—if it is the instant
13               effect of a sudden quarrel or heat of passion.
14 (Tr. July 19, 2000 at 92–93.) That statutory definition was confusing, as evidenced
15 by the string of later state-court opinions trying to make sense of the term’s
16 meaning. See, e.g., State v. Thompson, 65 P.3d 420, 425–27 (Ariz. 2003)
17 (discussing various interpretations of “premeditation” over time). Further, the
18 definition    effectively   elided   the   distinction   between    the   elements    of
19 “premeditation” and “knowledge” and robbed “premeditation” of any actual
20 meaning.81 In order to assist the jury in understanding premeditation, counsel
21 should have requested clarifying instructions to supplement and shed light on the
22 definition provided. (See ROA 489 at 1–6 (noting instructions requested by
23 defense).)
24         First, counsel should have asked the court to instruct the jury that it must find
25
26
      The court gave the following unhelpful definition of “knowingly”: “Knowingly
     81

27 means that a defendant acted with awareness of the existence of conduct or
   circumstances constituting an offense. It does not mean that the defendant must
28 have known the conduct is forbidden by law.” (Tr. July 19, 2000 at 91.)
                                              126
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 143 of 500



 1 “beyond a reasonable doubt that the defendant actually reflected.” Thompson, 65
 2 P.2d at 428.82 Such an instruction, which was presaged before Kiles’s trial by State
 3 v. Ramirez, would have made clear to the jury that premeditation was distinct from
 4 knowledge and required actual reflection. 945 P.2d 376, 380–81 (Ariz. 1997) (“Just
 5 as murder requires actual killing, premeditation requires actual reflection.”),
 6 superseded by statute as stated in State v. Zamora, 63 P.3d 1050 (Ariz. Ct. App.
 7 2003). Kiles’s jury was left to deliberate without knowing that premeditation does
 8 in fact require reflection—not merely time to reflect.
 9         Second, and relatedly, counsel should have requested that the court define
10 “reflection” as an intentional act when deciding the issue of premeditation. (See
11 ROA 1189 at 42.) Such an instruction would have further given substance to the
12 meaning of premeditation.
13         Third, to ascertain that the jury understood that premeditation differed from
14 knowledge, counsel should have asked the court to specifically state that “reflection
15 differs from the intent or knowledge that conduct will cause death.” Ramirez, 945
16 P.2d at 378 (quoting Recommended Arizona Criminal Jury Instruction 11.051);
17 (see also ROA 225 at 20). Such an instruction would have ensured that the jury
18 recognized that premeditation did not necessarily follow from knowledge and that
19 it was a discrete element of the crime of first-degree murder. Cf. Riley v. McDaniel,
20 786 F.3d 719, 723–27 (9th Cir. 2015) (holding that a jury instruction that combined
21 defined premeditation in terms of deliberation, another element of the crime,
22 relieved the state of its burden of proof on each distinct element). Informing the
23 jury as much was of particular importance when premeditation was defined in terms
24 of knowledge. (See Tr. July 19, 2000 at 92–93); Riley, 786 F.3d at 723–27.
25         Because these instructions were available under Arizona law, and because
26
27    While Thompson contemplated a revised definition of premeditation, the
     82

   requirement that the jury find actual reflection necessarily applies to the 1989
28 definition of premeditation offered by the trial court.
                                             127
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 144 of 500



 1 premeditation was the primary controverted issue for Gunnel’s death, counsel was
 2 obligated to request these clarifying instructions. Had the jury been given any one
 3 or any combination of these instructions, the jurors would have understood that the
 4 State needed to prove actual reflection and that reflection differed from knowledge.
 5 See Strickland, 466 U.S. at 694; see also Pirtle, 313 F.3d at 1162. If the jury had so
 6 understood, there is a reasonable probability that one juror would not have
 7 convicted Kiles of having premeditated Gunnel’s killing.83
 8         Finally, counsel should have requested clarifying instructions with regard to
 9 the definition of “child abuse.” Specifically, counsel should have requested an
10 instruction making clear to the jury that child abuse had not been proven if the child
11 abuse necessarily occurred as part of the premeditated murder of a child. See State
12 v. Styers, 865 P.2d 765, 771 (Ariz. 1993) (“If a defendant cannot be convicted for
13 an intentional aggravated assault that necessarily occurs when there is a
14 premeditated murder, it logically follows that he also cannot be convicted for an
15 intentional child abuse that necessarily occurs when there is a premeditated murder
16 of a child victim.”) Trial counsel knew full well the import of Styers to Kiles’s case:
17 counsel argued repeatedly before, during, and after trial that the child-abuse
18 charges, and later convictions, should be dismissed under Styers. (See, e.g., ROA
19 443; Tr. July 17, 2000 at 109–13.) However, counsel failed to request a simple
20 instruction that would have clarified for the jurors that, if they concluded that Kiles
21 had committed premeditated murder of one or both children, they could not also
22 convict him of child abuse without finding that he had committed some other
23 harmful act that was separate from the premeditated murder.
24         The prejudice from this error is clear. With respect to Shemaeah, ten jurors
25
26    Counsel should similarly have asked for an instruction explaining that the jury
     83

   could take into account voluntary intoxication when determining whether Kiles was
27 in the “heat of passion,” for the purposes of undercutting premeditation. (See Tr.
   July 19, 2000 at 92–93 (noting that “[a]n act is not done with premeditation . . . if
28 it is the instant effect of a sudden quarrel or heat of passion”); ROA 1189 at 44.)
                                              128
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 145 of 500



 1 found Kiles guilty of premeditated murder. (ROA 482 at 5.) With respect to
 2 LeCresha, seven jurors found Kiles guilty of premeditated murder. (ROA 482 at 6.)
 3 Had the jurors understood that they had to find child abuse separate and apart from
 4 premeditated murder, it is likely that each juror who found premeditated murder
 5 would not have found Kiles guilty of child abuse. Accordingly, Kiles was easily
 6 prejudiced by counsel’s failure to request this important instruction properly
 7 explaining child abuse to the jury.
 8         Trial counsel’s failure to request clarifying instructions on key issues, with
 9 respect to the first-degree murder charge for Gunnel and both child-abuse charges,
10 prejudiced Kiles. See Strickland, 466 U.S. at 688, 694; Pirtle, 313 F.3d at 1162. He
11 is therefore entitled to relief from all three of the resulting convictions.
12         J.     Counsel provided ineffective assistance when they failed to object
                  to numerous aspects of the State’s closing argument.
13
14         Trial counsel listened as the State repeatedly mischaracterized and
15 misrepresented evidence, vouched for witnesses, and otherwise engaged in
16 improper conduct. In failing to object to these and other aspects of the State’s
17 closing argument, counsel were ineffective. See Zapata v. Vasquez, 788 F.3d 1106,
18 1112 (9th Cir. 2015).
19         The most egregious of the State’s transgressions during its closing occurred
20 when the State fabricated evidence supporting its theory of how Gunnel was killed.
21 The Supreme Court has recognized that a prosecutor “overstep[s] the bounds of . . .
22 propriety” when he “put[s] into the mouths of . . . witnesses things which they had
23 not said.” Berger v. United States, 295 U.S. 78, 84 (1935). In doing so, the Court
24 cautioned that “while [a prosecutor] may strike hard blows, he is not at liberty to
25 strike foul ones,” and that it is “his duty to refrain from improper methods calculated
26 to produce a wrongful conviction.” Id. at 88.
27         Here, the State flouted Berger’s proscription against “foul” blows. The State
28 wanted to persuade jurors that Gunnel’s death was premeditated, in part by arguing
                                               129
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 146 of 500



 1 that she endured a prolonged attack that started in the east bedroom and moved to
 2 the living room. (See, e.g., Tr. July 10, 2000 at 13.) To do so, the State relied heavily
 3 on Larry Hawkins’s testimony, and accordingly, focused a great deal during its
 4 closing on depicting Hawkins’s testimony as accurate. “Let’s talk about Larry
 5 Hawkins. Larry Hawkins, he said it all,” the prosecutor proclaimed. (Tr. July 19,
 6 2000 at 14.) He improperly vouched for the correctness of Hawkins’s testimony,
 7 noting that after the initial stumbles during questioning, “[Hawkins] finally said
 8 completely, accurate [sic] everything that was said to him by the defendant.” (Tr.
 9 July 19, 2000 at 16); see also United States v. Sanchez, 176 F.3d 1214, 1224 (9th
10 Cir. 1999) (“As a general rule, a prosecutor may not express his opinion of the
11 defendant’s guilt or his belief in the credibility of government witnesses.”) (quoting
12 United States v. Molina, 934 F.2d 1440, 1444 (9th Cir. 1991). The State continued
13 that Hawkins’s letter to Silent Witness had details that were just “not something . . .
14 Mr. Hawkins would have come up with.” (Tr. July 19, 2000 at 18.) In case the
15 State’s embrace of Hawkins was not yet clear, the State continued, “But we have
16 Larry Hawkins and the [S]tate [is] saying you should believe Larry Hawkins.” (Tr.
17 July 19, 2000 at 19.)
18         Having impressed upon the jury the importance and accuracy of Hawkins’s
19 testimony, the State then spun a tale about what Hawkins had in fact said. At no
20 point had any witness testified that Kiles said that the attack on Gunnel started in
21 the east bedroom. Hawkins certainly had not done so. (See Tr. July 13, 2000 at 3–
22 79.) Instead, Hawkins had testified that after grabbing the tire jack, Kiles went into
23 the apartment and “struck her.” (Tr. July 13, 2000 at 29.) Hawkins made no mention
24 of Kiles attacking Gunnel in the bedroom, either when testifying or in the Silent
25 Witness letter Hawkins had submitted to the police in the wake of the crime. (See
26 2000 Trial Ex. 90 at 1.) That, however, did not prevent the State from asserting,
27 over and over, that Hawkins had testified that the attack on Gunnel started in the
28 bedroom. When trying to discredit Kiles’s testimony, the prosecutor announced,
                                               130
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 147 of 500



 1                However, we also have the ratchet over here in the other
                  bedroom along with the bloody pillow. Now, what makes
 2                more sense? [Kiles’s version or the] Larry Hawkins version
 3                about the thing [i.e., the attack on Gunnel] happening back
                  there first and then coming on out and the rest happening
 4                in the front?
 5 (Tr. July 19, 2000 at 27.) Shortly afterward, the prosecutor again declared,
 6               The ratchet was back in the bedroom along with the blood,
                 just as Larry said.
 7
 8 (Tr. July 19, 2000 at 27.) The State misrepresented Hawkins’s testimony once more
 9 in closing:
10                No reason for that pillow to get bloody unless that is where
                  the assault initiated like Mr. Hawkins told you.
11
12 (Tr. July 19, 2000 at 30.) And, for good measure, when discussing the east bedroom,
13 the State punctuated its rebuttal with one more reference to Hawkins:
14                Look at the photograph of that pillow. You got the jack, the
                  ratchet part in there, but that’s where it began. Again, just
15                like Larry Hawkins’ letter says and just like he testified
16                here. (Tr. July 19, 2000 at 82.)

17 As noted, Hawkins had never said any such thing. But the State’s repetition of its
18 convenient misrepresentation—and trial counsel’s failure to object—would
19 certainly have convinced the jury otherwise. See Berger, 295 U.S. at 88
20 (“[I]mproper suggestions, insinuations, and, especially, assertions of personal
21 knowledge are apt to carry much weight against the accused when they should
22 properly carry none.”).
23          The State’s misrepresentations did not end there. The State made a concerted
24 effort to undermine Kiles’s credibility, telling the jury that, in order to believe Kiles,
25 it would “need to forge through and bastardize the facts of this case.” (Tr. July 19,
26 2000 at 19; Tr. July 19, 2000 at 25–26, 33, 35 (dismissing Kiles’s “concocted”
27 account as an attempt “to put square pegs in the portions of his round holes” in order
28 to challenge premeditation and “maintain[ing]” defendant’s guilt); see Sanchez, 176
                                                131
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 148 of 500



 1 F.3d at 1224. Then, the State proceeded to mischaracterize Kiles’s testimony to
 2 suggest that it could not be reconciled with the physical evidence. When Kiles was
 3 asked whether he struck Gunnel more than once before she hit that chair, Kiles
 4 testified, “I hit her. I – yeah, I guess I hit her more than one time.” (Tr. July 17,
 5 2000 at 166.) Powell, however, claimed that Kiles testified that “he remembers
 6 [hitting Gunnel] once.” (Tr. July 19, 2000 at 27.) The State again misquoted Kiles
 7 in an attempt to damage Kiles’s credibility: “The back of her head is nothing but
 8 blood. Do you think that was from one blow in the living room when she was
 9 standing up?” (Tr. July 19, 2000 at 29.) As even Kiles had acknowledged, it was
10 not. The State had spun yet another tale to persuade the jury to find that Gunnel’s
11 death was premeditated.
12         Beyond misstating the evidence to bolster its case for premeditation,84 the
13 State made a multitude of other improper comments. For example, its closing
14 teemed with inflammatory statements, including the racially tinged and repeated
15 claim that the crimes were “a feeding frenzy” and Powell’s reference to Kiles, Kale
16 Johnson, and Mike Parker as “the three amigos.” (See, e.g., Tr. July 19, 2000 at 30,
17 31, 77); see also Zapata, 788 F.3d at 1114 (declaring improper any inflammatory
18 statements designed to appeal to jury’s passions). When trying to explain his own
19 use of the phrase “feeding frenzy,” Powell offered the inflammatory and wildly
20 speculative claim that the killer was thinking, “I guess since we’re killing one we
21 may as well kill them all. Let’s kill the whole family. Let’s kill two generations.”
22 (Tr. July 19, 2000 at 77); see Zapata, 788 F.3d at 1112–13 (criticizing prosecutor
23 for speculative and “falsified story” of defendant’s last words to victim). The State
24
25   The State’s mischaracterizations of evidence did not end there. As just one more
     84

26 example, the State claimed, “[W]e do know that Valerie had absolutely no drugs in
   her system when she died. . . . You heard that from the doctor.” (Tr. July 19, 2000
27 at 83.) As Dr. Mallon had testified, however, Gunnel’s negative drug test results
   were necessarily limited to the drugs for which Dr. Mallon had tested, and he had
28 not tested her body for marijuana. (Tr. July 13, 2000 at 100–01.)
                                             132
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 149 of 500



 1 further speculated, again improperly, that there were at the time of trial Converse
 2 prints near the river, suggesting that the shoeprints found there earlier should be
 3 dismissed as meaningless. (Tr. July 19, 2000 at 80.)
 4         In addition, the State misrepresented the defense’s position by suggesting
 5 that counsel was arguing for the jury “to excuse[] [Kiles’s] conduct on the murder
 6 of three people” (Tr. July 19, 2000 at 84), when defense counsel were by no means
 7 asking the jury to let Kiles off scot-free for Gunnel’s death. The State also misstated
 8 the law, in telling the jury that premeditation required only “a time to permit
 9 reflection, that can be instantaneous.” (Tr. July 19, 2000 at 35.) The prosecutor even
10 injected into his closing his personal belief that he could not follow the defense’s
11 argument. (See Tr. July 19, 2000 at 30.) As a final example, the State closed its
12 rebuttal argument by basically telling the jurors that it was their duty, in the name
13 of justice, to convict Kiles:
14                The [S]tate is here asking for justice. . . . The best
                  definition of justice I ever heard was assignment of
15                responsibility. Because we base our community and society
16                on acceptance of responsibility, whether it’s done willingly
                  or unwillingly. You get that old speeding ticket and April
17                15th comes around and you write that big check. It is a part
                  of being a citizen. Some people don’t accept it and we have
18                to assign responsibility to them. They won’t accept it. It’s
                  a big job. . . . Ladies and gentlemen, it’s you, and you know
19                who it is. . . . You can assign responsibility. That’s what
20                we’re asking you to do now, ladies and gentlemen, please.
21   (Tr. July 19, 2000 at 85.) In effect, the State ended the trial by telling the jurors that
22 it was their job, as citizens who cared about their community and their society, to
23 convict Kiles. See Sanchez, 176 F.3d at 1224–25 (finding prosecutorial misconduct
24 because it is “improper for the prosecutor to state that the duty of the jury is to find
25 the defendant guilty”).85
26
     The State’s repeated statement that some people do not accept responsibility—
     85

27 and the implication that Kiles was such a person and that he was wrong for not
   accepting responsibility—further suggested to the jury that Kiles was wrong for
28 having asserted his Sixth Amendment right to go to trial on the charges against him.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 150 of 500



 1         Despite all of these errors, defense counsel objected only once to the State’s
 2 closing, when the State improperly “maintain[ed] to you . . . [that] never has a case
 3 exhibited more premeditation” than Kiles’s case. (See Tr. July 19, 2000 at 36–37.)
 4 Even then, counsel did nothing when the trial court gave an instruction that did not
 5 address the underlying problem: that the State expressed its belief that the evidence
 6 before the jury clearly showed premeditation. (See Tr. July 19, 2000 at 36–37.) In
 7 the face of so many other missteps by the State, including the misrepresentation of
 8 evidence going to premeditation—the core issue for Gunnel’s death—trial
 9 counsel’s failure to object was deficient. See Zapata, 788 F.3d at 1112. Because of
10 that deficient performance, the last few things the jury heard were that Hawkins had
11 testified that the attack on Gunnel started in the bedroom, that Kiles’s testimony did
12 not fit with the physical evidence, and that it was the jury’s duty to assign
13 responsibility when Kiles had chosen not to accept it himself. Had counsel objected
14 to this prosecutorial display, at least signaling to the jury that the State was
15 misguided, then there is a reasonable probability that at least one juror would have
16 come out differently with regard to premeditation, and therefore first-degree
17 murder, for Gunnel’s death. See Strickland, 466 U.S. at 694.
18         K.     Counsel also rendered ineffective assistance in failing to ensure
                  that a record was made of key parts of the guilt-phase proceedings.
19
20         As discussed in depth in Claim 16, infra, Kiles’s counsel let significant
21 portions of the pretrial and trial proceedings go unrecorded. Counsel did so despite
22 Kiles’s specific request that a record be made of all proceedings (see, e.g., Tr. Aug.
23 6, 1999 at 13), and despite the need for meaningful appellate review, see Gregg v.
24 Georgia, 428 U.S. 153, 197–98 (1976) (joint opinion of Stewart, Powell, and
25 Stevens, JJ.). In doing so, counsel performed deficiently and prejudiced Kiles. See
26 Strickland, 466 U.S. at 688, 694.
27
28
                                             134
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 151 of 500



 1         L.     Counsel’s numerous errors, individually and cumulatively,
                  undermined the reliability of Kiles’s guilt-phase proceedings.
 2
 3         While each instance of deficient performance described above is prejudicial
 4 on its own, counsel’s guilt-phase errors were decidedly prejudicial when considered
 5 cumulatively. When evaluating an ineffective-assistance claim, this Court must
 6 consider the cumulative impact of counsel’s various errors. As the Supreme Court
 7 has stated, “In making this [prejudice] determination, a court hearing an
 8 ineffectiveness claim must consider the totality of the evidence before the judge or
 9 jury.” Strickland, 466 U.S. at 695; see Williams (Terry) v. Taylor, 529 U.S. 362,
10 397–98 (2000); see also White v. Ryan, 895 F.3d 641, 645 n.1 (9th Cir. 2018) (ruling
11 that the district court erred by granting a certificate of appealability on a portion of
12 an ineffective assistance claim because the petitioner “has but a single claim
13 regarding his right to the effective assistance of counsel at the penalty phase”);
14 Martin, 424 F.3d at 590–92 (“[E]ven if [trial counsel’s] errors, in isolation, were
15 not sufficiently prejudicial, their cumulative effect prejudiced Martin’s defense.”);
16 Alcala v. Woodford, 334 F.3d 862, 882–83 (9th Cir. 2003) (granting relief on basis
17 of cumulative impact of multiple errors by counsel); Lindstadt, 239 F.3d 191, 205
18 (2d Cir. 2001) (granting relief where petitioner was prejudiced by cumulative effect
19 of errors committed by trial counsel); Harris ex rel. Ramseyer v. Wood, 64 F.3d
20 1432, 1439 (9th Cir. 1995) (holding that cumulative impact of numerous
21 deficiencies in defense counsel’s performance was prejudicial, warranting habeas
22 relief).
23         Here, had counsel not performed deficiently, the jury would have heard a
24 legally cognizable and factually supported defense to premeditation, would have
25 seen the State’s forensic case get undercut on cross-examination and by defense
26 experts, and would have been properly instructed that premeditation requires more
27 than just the passage of time. The jury would not have been misled by the State’s
28 closing into overestimating the strength of the State’s case that Gunnel’s death was
                                              135
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 152 of 500



 1 premeditated. Further, the jury would have been spared unduly prejudicial
 2 photographs and would have known the appropriate definition of child abuse under
 3 Arizona law. Had counsel performed competently, there is at least a reasonable
 4 probability that one juror would have decided differently on the first-degree murder
 5 count for Gunnel’s death and on each of the child-abuse counts. See Strickland, 466
 6 U.S. at 694.
 7         M.     The state post-conviction court’s decision that Kiles failed to state
                  a colorable claim is no bar to this Court’s de novo review of this
 8                claim.
 9         The state post-conviction court said the following in rejecting Kiles’s guilt-
10 phase claim of ineffective assistance of counsel:
11                Defendant’s claims regarding deficient attorney
                  performance related to Exhibit 2 [Larry Hawkins’s
12                affidavit from 1994] do not demonstrate a prejudice that
13                would have been suffered by defendant.
                  Defendant’s claims concerning the blood spatter expert and
14                blood volume evidence do not demonstrate a deficient
15                performance by counsel or that the outcome would have
                  been different.
16                Nor has Defendant shown deficient performance or
17                prejudice as to the impeachment of Kale Johnson.
                  Defendant’s claims as to the reflection instruction is [sic]
18                also precluded.
19                Defendant has failed to make the requisite showing as to
                  deficient performance or prejudice in relationship to the
20                Christensen defense . . . and presentation of impulsivity
21                evidence.
22 (ROA 1214 at 2 (emphasis added).)
23         First, the court invoked a procedural bar with respect to “Defendant’s claims
24 as to the reflection instruction.” (ROA 1214 at 2.) Preliminarily, that ruling is
25 insufficiently explicit as to the basis of preclusion to constitute a procedural bar to
26 this Court’s review. See McKenna v. McDaniel, 65 F.3d 1483, 1488 (9th Cir. 1995).
27 More critically, any preclusion bar here is neither adequate nor independent of
28 federal grounds for relief. The state post-conviction court ruled an ineffective-
                                              136
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 153 of 500



 1 assistance-of-counsel claim precluded, even though the claim could not have been
 2 brought during earlier proceedings. See Martinez v. Ryan, 566 U.S. 1, 10–11 (2012).
 3 Because Arizona state courts do not regularly treat ineffective-assistance claims as
 4 precluded during initial state post-conviction proceedings—the state court here did
 5 not attempt to do so with regard to other ineffective-assistance claims—the
 6 procedural ruling is not adequate and is no bar to federal review. See Coleman v.
 7 Thompson, 501 U.S. 722, 729 (1991); Beard v. Kindler, 558 U.S. 53, 60–61 (2009)
 8 (on adequacy requirement); Ford v. Georgia, 498 U.S. 411, 423–24 (1991) (holding
 9 that a state procedural bar is not adequate unless it is “firmly established and
10 regularly followed”).
11         The state-court merits ruling on this claim is, moreover, contrary to and/or
12 an unreasonable application of clearly established federal law for two distinct
13 reasons. See 28 U.S.C. § 2254(d)(1). First, as described below, the court applied the
14 wrong prejudice standard for Strickland claims. Second, the court failed to consider
15 the cumulative impact of counsel’s instances of deficient performance.
16         Under the clearly established federal law in Strickland, counsel’s deficient
17 performance prejudices a defendant when “there is a reasonable probability that,
18 but for counsel’s unprofessional errors, the result of the proceeding would have
19 been different.” 466 U.S. at 687–88, 694. The Strickland Court explicitly rejected
20 an “outcome-determinative standard.” Id. at 693-94. Indeed, any standard other
21 than that explicitly laid out in Strickland is contrary to clearly established Supreme
22 Court precedent. See Williams, 529 U.S. at 397.
23         Here, the state post-conviction court adopted an outcome-determinative
24 standard, as opposed to the Strickland standard. The court dismissed part of Kiles’s
25 claim as not colorable because he did “not demonstrate . . . that the outcome would
26 have been different.” (ROA 1214 at 2.) At no point did the court cite any other
27 prejudice standard for an ineffective-assistance claim, and at no point did the court
28
                                             137
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 154 of 500



 1 cite a case applying the correct Strickland standard.86 (See ROA 1214 at 1-2.)
 2 Accordingly, the state post-conviction court unambiguously applied a standard that
 3 was contrary to and/or an unreasonable application of clearly established federal
 4 law, satisfying 28 U.S.C. § 2254(d)(1). See, e.g., Thomas, 789 F.3d at 767–68
 5 (holding that court’s “would have led to a different result” prejudice standard was
 6 an unreasonable application of Strickland, when the state court did not explain why
 7 there was no prejudice or otherwise demonstrate that it had used the correct
 8 standard); Martin, 424 F.3d at 592 (holding that the state court’s prejudice
 9 inquiry—whether “the result of the proceeding would have been different”—was
10 contrary to Strickland).
11         In addition, under Strickland and other Supreme Court precedent, the court
12 must evaluate prejudice cumulatively. See Strickland, 466 U.S. at 694–95 (“The
13 defendant must show that there is a reasonable probability that, but for counsel’s
14 unprofessional errors, the result of the proceeding would have been different. . . .
15 In making this [prejudice] determination, a court hearing an ineffectiveness claim
16 must consider the totality of the evidence before the judge or jury.”); see also, e.g.,
17 Williams, 529 U.S. at 397–98. In fact, Strickland explicitly adopted the materiality
18 standard in United States v. Agurs, 427 U.S. 97 (1976), for a suppression-of-
19 evidence claim. Strickland, 466 U.S. at 694. The Supreme Court has repeatedly and
20 forcefully held that the materiality standard considers cumulative prejudice; in other
21 words, when assessing materiality, the suppressed evidence must be “considered
22 collectively, not item by item.” Kyles v. Whitley, 514 U.S. 419, 436 (1995).
23 Accordingly, in order to comply with clearly established Supreme Court precedent,
24 “[s]eparate errors by counsel at trial and at sentencing should be analyzed together
25
26   Indeed, at no point did the state post-conviction court cite any case at all. (See
     86

   ROA 1214 at 1-2.) Further, because the state court never gave any indication that it
27 was applying the correct prejudice standard under Strickland, it must have applied
   the incorrect standard—the sole standard for prejudice it cited—to every
28 ineffective-assistance claim it considered.
                                              138
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 155 of 500



 1 to see whether their cumulative effect deprived the defendant of his right to
 2 effective assistance.” Sanders v. Ryder, 342 F.3d 991, 1001 (9th Cir. 2003). “They
 3 are, in other words, not separate claims, but rather different aspects of a single claim
 4 of ineffective assistance of trial counsel.” Id. Even if prejudice does not result from
 5 an individual error, it may nevertheless result from cumulative errors. See Boyde v.
 6 Brown, 404 F.3d 1159, 1176 (9th Cir. 2005).
 7         Kiles’s state post-conviction court, however, considered the prejudice from
 8 each instance of deficient performance (albeit using the wrong standard) separately.
 9 The court did not consider or even allude to cumulative prejudice. Because the state
10 court failed to do so, its ruling was an unreasonable application of and/or contrary
11 to Supreme Court precedent. See Strickland, 466 U.S. at 694–95.
12         The state court’s decision of no colorable showing with respect to deficient
13 performance was likewise an unreasonable application of or contrary to Supreme
14 Court precedent; further, the decision on both prongs turned on an unreasonable
15 determination of fact. See 28 U.S.C. § 2254(d)(2); see also, e.g., Taylor v. Maddox,
16 366 F.3d 992, 999–1001 (9th Cir. 2004) (discussing ways in which § 2254(d)(2)
17 can be satisfied). As just one example, the state court necessarily ignored counsel’s
18 wholesale lack of investigation before adopting a trial strategy, which is an
19 unreasonable application of Strickland and/or an unreasonable determination of
20 fact. See Taylor, 366 F.3d at 1001 (“the state-court fact-finding process is
21 undermined where the state court has before it, yet apparently ignores, evidence
22 that supports the petition’s claim”). Because Kiles has satisfied § 2254(d), this
23 Court’s analysis is “unconstrained” by AEDPA deference.87 See Williams, 529 U.S.
24 at 405–06.
25
26
27  Alternatively, Kiles alleges he can overcome any default by showing cause and
     87

   prejudice attributable to the ineffective assistance of state post-conviction counsel.
28 See Martinez, 566 U.S. at 9; Strickland, 466 U.S. at 688, 694.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 156 of 500



 1          N.    Conclusion.
 2          For the reasons stated above, Kiles’s counsel provided ineffective assistance
 3 at Kiles’s guilt-phase proceedings, thereby prejudicing Kiles. The state-court
 4 decision is no bar to this Court’s de novo review of this claim, and Kiles is entitled
 5 to relief from his unconstitutional convictions.
 6                                         Claim Four
 7          Kiles’s counsel’s ineffective assistance in jury selection at the
            penalty phase of trial deprived Kiles of his rights to counsel, a fair
 8          trial, an impartial jury, reliable sentencing proceedings, due
            process, and equal protection.
 9
10          Kiles’s counsel’s ineffective assistance in penalty-phase jury selection
11 deprived Kiles of his rights to counsel, a fair trial, impartial jury, reliable sentencing
12 proceedings, due process, and equal protection in violation of the Fifth, Sixth,
13 Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles incorporates
14 by specific reference all facts, allegations, and arguments made elsewhere in this
15 Petition.
16          Kiles did not present this claim in state court. Kiles can overcome any default
17 by showing cause and prejudice, as the ineffective assistance of Kiles’s state post-
18 conviction counsel in failing to raise this claim constitutes cause for the default and
19 resulted in prejudice to Kiles. See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Strickland
20 v. Washington, 466 U.S. 668, 688, 694 (1984). Kiles will demonstrate at an
21 evidentiary hearing that state post-conviction counsel fell below the standards of a
22 minimally competent capital post-conviction attorney when they failed to raise this
23 meritorious claim. Because this claim has not been adjudicated by the Arizona state
24 courts, the limitations on relief imposed by 28 U.S.C. § 2254(d) do not apply to this
25 Court’s review, and the Court may consider the merits of the claim de novo.
26          As noted in Claim 2, supra, “the selection of jurors is a critical area of a jury
27 trial, especially in a capital case.” Harris ex rel. Ramseyer v. Blodgett, 853 F. Supp.
28 1239, 1265 (W.D. Wash. 1994); see also Gary Goodpaster, The Trial for Life:
                                               140
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 157 of 500



 1 Effective Assistance of Counsel in Death Penalty Cases, 58 N.Y.U. L. Rev. 299,
 2 325 n.125 (1983) (because a death verdict must be unanimous, “it is critically
 3 important that the defense secure jurors disfavoring the death penalty”).
 4         The Constitution safeguards against a mandatory death sentence upon
 5 conviction. Woodson v. North Carolina, 428 U.S. 280 (1976) (joint opinion of
 6 Stewart, Powell, and Stevens, JJ.). At the core of that protection is the right to be
 7 sentenced by jurors who make an individualized, reasoned moral decision whether
 8 life or death is the appropriate sentence, by considering and giving full effect to all
 9 mitigation. See Lockett v. Ohio, 438 U.S. 586 (1978); Eddings v. Oklahoma, 455
10 U.S. 104 (1982). Thus, in selecting a capital jury, counsel must elicit sufficient
11 information to determine whether a prospective juror has a “substantial[]
12 impair[ment]” regarding sentencing—if the answer is yes, that juror cannot serve.
13 See Morgan v. Illinois, 504 U.S. 719, 728 (1992).
14         Jurors with absolutist views for or against the death penalty must be
15 disqualified. Wainwright v. Witt, 469 U.S. 412, 424–26 (1985). Such jurors include
16 those who would automatically vote for the death penalty if, for example, a certain
17 type of aggravating circumstance were established. “The risk that such jurors may
18 have been empaneled [] and ‘infected petitioner’s capital sentencing [is]
19 unacceptable in light of the ease with which that risk could have been minimized.’”
20 Morgan, 504 U.S. at 736 (quoting Turner v. Murray, 476 U.S. 28, 36 (1986)). To
21 avoid such an outcome, counsel must learn jurors’ feelings on issues relevant to the
22 individual case. Counsel must utilize vigorous voir dire to fully explore each
23 prospective juror’s views and mitigation impairments, which requires familiarity
24 with the information that both parties will likely present at the penalty phase. See
25 Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981) (“Voir dire plays a critical
26 function in assuring the criminal defendant that his [constitutional] right to an
27 impartial jury will be honored. Without an adequate voir dire the trial judge’s
28 responsibility to remove prospective jurors who will not be able impartially to
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 158 of 500



 1 follow the court’s instructions and evaluate the evidence cannot be fulfilled.”)
 2         Because of the critical nature of jury selection, especially in capital cases,
 3 counsel’s failure to engage in adequate voir dire can constitute ineffective
 4 assistance. See Strickland, 466 U.S. at 688, 694; Ybarra v. McDaniel, 656 F.3d 984,
 5 1001 (9th Cir. 2011) (analyzing claim of ineffective assistance of counsel with
 6 respect to jury selection).
 7         The 2003 ABA Guidelines obligated counsel to familiarize themselves “with
 8 the precedents relating to questioning and challenging of prospective jurors,
 9 including the procedures surrounding ‘death qualification’ concerning any
10 prospective juror’s beliefs about the death penalty.” 2003 ABA Guideline
11 10.10.2(B). The Guidelines further required capital counsel to be familiar with how
12 to do the following: (1) expose those prospective jurors who would automatically
13 impose the death penalty following a murder conviction or a finding that the
14 defendant is death-eligible, regardless of the individual circumstances of the case;
15 (2) uncover those prospective jurors who could not give meaningful consideration
16 to mitigating evidence; and (3) rehabilitate prospective jurors whose initial
17 indications of opposition to the death penalty could make them excludable. Id.
18         By the time of Kiles’s 2006 sentencing, the proper methods for selecting a
19 capital jury were established and routinely followed in other cases. While capital
20 jury selection was relatively new to Arizona, others nationwide had engaged in the
21 practice for some time, and literature and trainings were widely available in Arizona
22 well before Kiles’s trial. See, e.g., John H. Blume, et al., Probing “Life
23 Qualification” Through Effective Voir Dire, 29 Hofstra L. Rev. 1209 (2001). The
24 need for training was particularly acute after the switch to jury sentencing in
25 Arizona, given the nuances of effective capital jury selection.
26         Kiles’s counsel, however, lacked the requisite training and experience in
27 capital jury selection. As a result, counsel failed to question prospective jurors in a
28 manner designed to expose and exclude, or rehabilitate if appropriate, jurors
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 159 of 500



 1 impaired under Morgan, given Kiles’s individual circumstances. As elaborated
 2 below, counsel’s voir dire failed to uncover the jurors who were unable to give full
 3 and fair consideration to Kiles’s mitigation evidence as constitutionally required.
 4 Because some jurors unable to do so were then seated, that ineffective voir dire
 5 prejudiced Kiles. See Ybarra, 656 F.3d at 1001 (prejudice from deficient voir dire
 6 shown when “any juror who harbored an actual bias was seated on the jury as a
 7 result of counsel’s failure to voir dire” on the relevant subject matter).
 8         A.     Despite having won the right to question prospective jurors on
                  specific types of mitigation, counsel failed to do so, thereby
 9                prejudicing Kiles.
10         Kiles’s counsel performed deficiently, as the failure to question jurors
11 individually about the specific types of mitigation to be presented, after winning the
12 right to do so, fell short of “prevailing professional norms.” Strickland, 466 U.S. at
13 688. The 2003 ABA Guidelines required counsel to learn techniques for
14 “uncovering those prospective jurors who [were] unable to give meaningful
15 consideration to mitigating evidence.” 2003 ABA Guideline 10.10.2(B). Jury
16 selection is especially critical in a capital case. Harris, 853 F. Supp. at 1265.
17         The right to adequate voir dire as guaranteed by Morgan hinges on counsel
18 making reasoned professional judgments. While counsel’s decisions are typically
19 given deference, this deference applies only insofar as counsel makes a strategic
20 decision based on reasonable professional judgment, based on “thorough
21 investigation of law and facts relevant to plausible options[.]” Strickland, 466 U.S.
22 at 690–91; Williams v. Taylor, 529 U.S. 362, 373 (2000). Deference is not
23 warranted where a decision is based on inattention. See Rompilla v. Beard, 545 U.S.
24 374, 395–96 (2005) (finding prejudice where counsel made a decision that
25 prejudiced a defendant as “the result of inattention, not reasoned strategic
26 judgment”) (quoting Wiggins v. Smith, 539 U.S. 510, 534 (2003)).
27         Kiles’s second counsel, Treasure VanDreumel, knew the importance of
28 questioning prospective jurors individually, particularly on their views on specific
                                              143
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 160 of 500



 1 mitigation. Shortly before voir dire began on March 6, 2006, VanDreumel filed a
 2 “Request to Voir Dire Prospective Jurors re: Mitigating Factors Recognized by
 3 Law,” accompanied by a memorandum arguing the need to question jurors
 4 individually about mitigation, with hypotheticals, to ensure that the jurors would
 5 consider mitigation and not automatically impose the death penalty. (ROA 729.)
 6 When the State opposed the motion (see ROA 742 at 2), VanDreumel urged lead
 7 counsel Clark to argue the motion, noting that where a trial court prevents counsel
 8 from asking about prospective jurors’ views on mitigation through voir dire,
 9 appellate courts have held it a due-process error. Kiles won this motion.
10         However, Clark conducted the voir dire, and he did not ask prospective jurors
11 about specific types of mitigation or hypotheticals relevant to Kiles or his case.
12 Indeed, shortly after jury selection ended, Kiles’s mitigation specialist, Tyrone
13 Mayberry, e-mailed VanDreumel expressing his frustration with the jury selection
14 process, and specifically with the fact that Clark had picked a jury without knowing
15 anything about Kiles’s mitigation. VanDreumel responded that she normally would
16 agree, especially as she fought to win the motion, but that at least none of the seated
17 jurors admitted to being an automatic vote for a death sentence. She noted that
18 asking about Kiles-specific mitigation would have been helpful only if Clark had
19 been well-versed on the Colorado Method,88 which he was not. Lead counsel was
20 not trained to conduct or experienced with the premier method for conducting
21 capital voir dire; even worse, he knew nothing about the mitigation his own team
22 planned to present.89 Still, he conducted the bulk of voir dire at sentencing.
23
24
     88
        The “Colorado Method” is a name for a system of Morgan-based voir dire that
     includes questions on hypothetical, case-specific mitigation, “developed for use [in]
25   capital cases to rate potential jurors . . . based on their views on the death penalty.”
     Fulks v. United States, 875 F. Supp. 2d 535, 600 (D.S.C. 2010). By September
26   2002, the Maricopa County Office of the Public Defender’s Capital Unit required
27   that its attorneys be trained on and use the Colorado Method for jury selection.
     89
        As discussed in Claim 6, infra, lead counsel’s failure to familiarize himself with
28   any of the mitigation pertaining to his capital client, and the team’s general
                                               144
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 161 of 500



 1         Moreover, Clark’s deficient performance prejudiced Kiles, as there was “a
 2 reasonable probability that, but for counsel’s unprofessional errors, the result of the
 3 proceeding would have been different.” Strickland, 466 U.S. at 694. “‘Establishing
 4 Strickland prejudice in the context of juror selection requires a showing that, as a
 5 result of trial counsel’s [error], the jury panel contained at least one juror who was
 6 biased.’” Ybarra, 656 F.3d at 1001 (quoting Davis v. Woodford, 384 F.3d 628, 643
 7 (9th Cir. 2004)) (alteration in original).
 8         Here, counsel failed to question multiple people who served on Kiles’s jury
 9 who indicated that they could not be impartial or fully consider mitigation. For
10 example, Juror 6 wrote repeatedly on his questionnaire that, when he was a child
11 about the same age as a victim in Kiles’s case, his father murdered his mother. He
12 wrote that he received mental-health treatment because of the domestic violence in
13 his home, ending with his father murdering his mother. Juror 6 wrote that his father
14 was paroled after 12½ years, and moreover that parole should not be allowed for
15 such a crime. In response to the question whether a particular life event influenced
16 his view on the death penalty, his questionnaire cited his experience with his
17 mother’s murder. The State asked him about his mother’s murder, and he said that
18 he was adopted by his mother’s side of the family, but he could not specify how her
19 murder affected him, beyond forcing him to grow up quickly. (Tr. Mar. 7, 2006 at
20 7–8.) Inexplicably, Clark asked him zero questions. (Tr. Mar, 7, 2006 at 9.) This
21 juror was victimized by a domestic-violence crime with facts strikingly similar to
22 those alleged by the State in Kiles’s case, calling into question Juror 6’s ability to
23 remain impartial and fair. See Ariz. Rev. Stat. § 13-4401(19).90 It is inexcusable
24 that counsel did not ask him a single question or ask that he be struck for cause. See
25
   dysfunction, denied Kiles effective assistance of counsel throughout proceedings,
26 including at voir dire.
27 90 This Petition cites the current version of the Arizona Revised Statutes (hereinafter
   “A.R.S.”), except when it is not substantially similar to the version of the statute at
28 issue.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 162 of 500



 1 United States v. Gonzalez, 214 F.3d 1109, 1112 (9th Cir. 2000) (explaining that a
 2 court may assume a juror is biased where he “has had some personal experience
 3 that is similar or identical to the fact pattern at issue in the trial”); see also Tinsley
 4 v. Borg, 895 F.2d 520, 528 (9th Cir. 1990) (explaining that “[c]ourts have been
 5 willing to presume bias where a juror or his close relatives have been personally
 6 involved in a situation involving a similar fact pattern”).
 7         Juror 2 said that her sister had been severely beaten and moved “from room
 8 to room” during an assault in her home—another crime notably reminiscent of the
 9 State’s version of the crime at issue. (Tr. Mar. 6, 2006 at 81.) Further, for years
10 Juror 2 had worked on criminal cases in the county attorney’s office, and her best
11 friend’s sister had been killed. (Tr. Mar. 6, 2006 at 81–89.) Again, even though
12 Juror 2’s prior experiences begged for further questioning to explore her ability to
13 be impartial, Clark asked her no questions about her personal experience with
14 violent crime. (Tr. Mar. 6, 2006 at 81–89.) He also did not challenge her for cause,
15 even though such a challenge would have been granted. See Gonzalez, 214 F.3d at
16 1112; Tinsley, 895 F.2d at 528.
17         Clark continued to fail to question prospective jurors on critical topics. Juror
18 3 wrote on her questionnaire that her friend had been killed by a drunk driver. Clark
19 did not ask about this experience or whether it would impair her ability to consider
20 substance-abuse mitigation; he also did not challenge her for cause. (Tr. Mar. 6,
21 2006 at 95–98.) Juror 5’s siblings worked as police officers and for the county
22 attorney. Clark asked Juror 5 no questions on this or whether she would give greater
23 weight to the prosecutor or law-enforcement witnesses because of her familial
24 connections. (Tr. Mar. 7, 2006 at 10–16.) Juror 14 wrote that his wife and step-
25 daughter were in treatment for post-traumatic stress. Clark did not ask why they
26 were in such treatment or whether that could impair his ability to consider
27 mitigation fairly. (Tr. Mar. 15, 2006 at 38–45.)
28         Counsel’s unprofessional failure to ask questions on hypothetical mitigation
                                               146
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 163 of 500



 1 given the facts of the case resulted in the seating of multiple jurors who were
 2 unwilling to consider as mitigating some of the evidence presented at trial or who
 3 were otherwise biased. Ybarra, 656 F.3d at 1001; see also, e.g., Gonzalez, 214 F.3d
 4 at 1112. Accordingly, counsel provided ineffective assistance during the penalty-
 5 phase voir dire.
 6         B.    Counsel deficiently failed to question a number of seated jurors
                 about their pro-death sentence biases, thereby prejudicing Kiles.
 7
 8         Counsel failed to ask any questions of some seated jurors and failed to
 9 meaningfully question other seated jurors. This resulted in multiple people serving
10 on Kiles’s jury who should have been struck for cause because their ability to
11 consider voting for a life sentence was substantially impaired.
12         In Morgan, the Supreme Court reiterated that any juror who would
13 automatically impose the death penalty upon conviction must be disqualified for
14 cause. 504 U.S. at 729, 735–36. The Court further held that capital defendants are
15 constitutionally entitled to examine prospective jurors on voir dire with enough
16 specificity to identify and challenge any juror holding such views. Id. at 729, 735–
17 36. As discussed above, the 2003 ABA Guidelines required capital counsel to be
18 familiar with techniques for upholding a defendant’s rights under Morgan. 2003
19 ABA Guideline 10.10.2(B). Clark was obligated to familiarize himself with
20 techniques for uncovering those prospective jurors who are unable to give
21 meaningful consideration to the mitigating evidence at issue. See 2003 ABA
22 Guideline 10.10.2(B); Morgan, 504 U.S. at 736. Indeed, “the starkest failures of
23 capital voir dire are the failure to uncover jurors who will automatically impose the
24 death penalty following a conviction or finding of the circumstances which make
25 the defendant eligible for the death penalty[.]”). 2003 ABA Guideline 10.10.2(B)
26 cmt.; see also Virgil v. Dretke, 446 F.3d 598, 613 (5th Cir. 2006) (counsel must
27 make reasonable efforts “to explore the depth or intensity” of potentially
28 disqualifying views among the venire).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 164 of 500



 1            Clark repeatedly failed to ask prospective jurors questions sufficient to
 2 uncover biases in favor of death, including biases that might require
 3 disqualification. Moreover, he did so even though the prospective jurors’
 4 questionnaires and other voir dire answers raised serious concerns that they could
 5 not be impartial and could not meaningfully consider mitigation evidence. In doing
 6 so, Clark performed deficiently. See Strickland, 466 U.S. at 694.
 7            For example, Juror 1 wrote on her questionnaire that, if there were a fair trial,
 8 she would support the death penalty; she added that the death penalty was more
 9 appropriate in this case than a life sentence. Juror 2 wrote on her questionnaire that
10 she was okay with the death penalty for first-degree murder if the person was
11 convicted beyond a reasonable doubt; she could vote for life with parole eligibility
12 after 25 years, but she did not like that sentence for such a crime. Instead of
13 challenging these jurors for cause, or questioning them to establish that they should
14 be disqualified as automatic death votes, Clark asked a few questions, and the jurors
15 were seated. (Tr. Mar. 6, 2006 at 70–72, 86–89.) Clark failed to question other
16 people who should have been disqualified or removed via defense peremptory,
17 including Juror 12 wrote who on his questionnaire that the death penalty was
18 appropriate for a first-degree murder conviction, because you pay for what you do
19 in life. Defense counsel did not ask him a single question and did not challenge him
20 for cause. (Tr. Mar. 8, 2006 at 71–72.) Juror 12 was then seated.91
21            Because jurors were seated despite their inability to fairly consider a life
22 sentence, counsel’s deficient performance at voir dire prejudiced Kiles. See Ybarra,
23 656 F.3d at 1001.
24            C.    Counsel deficiently altogether failed to question eight seated
                    jurors, thereby prejudicing Kiles.
25
26            Kiles’s counsel failed to ask a single question of eight jurors who were
27
28   91
          Ultimately, Juror 12 served as an alternate juror. (Tr. Apr. 12, 2006 at 29–30.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 165 of 500



 1 ultimately selected. Kiles’s attorneys failed to use the tools at their disposal, and as
 2 a result, a number of jurors were seated without any defense questions at voir dire.
 3            As discussed above, given the importance of jury selection in a capital case,
 4 it is incumbent upon counsel to ensure that seated jurors are able to consider
 5 mitigating circumstances and are able to consider a life sentence. 2003 ABA
 6 Guideline 10.10.2(B) cmt.; see also Virgil, 446 F.3d at 613. In failing abjectly to do
 7 so, counsel performed deficiently.
 8            More specifically, Kiles’s counsel did not ask a single individual question of
 9 eight people who were selected for Kiles’s jury: Jurors 6, 9, 10, 11, 12, 13, 15 and
10 16.92 (Tr. Mar. 7, 2006 at 9, 117; Tr. Mar. 8, 2006 at 32, 43–44, 71–72; Tr. Mar. 15,
11 2006 at 70, 74.) This was despite statements on their questionnaires and during the
12 State’s voir dire that called into question their ability to be fair and impartial and
13 their ability to fully consider mitigating evidence. In addition to the jurors discussed
14 in Sections A and B, supra, other jurors raised what should have been red flags for
15 the defense. For example, Juror 14 said during the State’s questions that he
16 volunteered at a crisis center for abused children. (Tr. Mar. 15, 2006 at 64.) Given
17 that Kiles had been convicted of the first-degree murder of two children and two
18 counts of child abuse, counsel was required to follow up on how Juror 14’s
19 volunteer work affected his ability to be fair in this case. Similarly, Jurors 11 and 9
20 stated that they were burglary victims. (Tr. Mar. 8, 2006 at 11–12.) Still, Clark
21 asked them no questions.
22            Again, because jurors who harbored actual biases based on their personal
23 experiences were seated because of counsel’s deficient performance during voir
24 dire, Kiles was prejudiced. See Ybarra, 656 F.3d at 1001.
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26
27
28   92
          Jurors 10, 12, and 13 were alternates.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 166 of 500



 1         D.     Counsel failed to question adequately and to challenge for cause
                  jurors who should have been disqualified for cause.
 2
 3         Kiles’s counsel was ineffective in failing to adequately question multiple
 4 jurors whose questionnaires or answers to the State’s questions indicated that the
 5 prospective jurors should be struck for cause. As a result of this failure of advocacy,
 6 Kiles’s counsel had to use peremptory strikes against these jurors, depriving Kiles
 7 of a fair and impartial jury.
 8         As discussed above, counsel conducting capital voir dire must know
 9 techniques for exposing prospective jurors who would automatically impose the
10 death penalty or who are unable to give meaningful consideration to mitigating
11 evidence. 2003 ABA Guideline 10.10.2(A), (B). Such jurors are impaired under
12 Morgan and cannot serve. Morgan, 504 U.S. at 728.
13         Kiles’s counsel unreasonably failed to utilize such techniques. Many jurors
14 against whom defense counsel used peremptory strikes could have been challenged
15 for cause, had counsel properly questioned them. For example, prospective Juror
16 23 wrote on her questionnaire that she believed the death penalty was appropriate
17 for first-degree murder because she believed in an eye for an eye, you get what you
18 give. She wrote that a life sentence was not fair or just: Why should a person be
19 allowed to live when he took a life? She expanded that in prison you get three meals,
20 showers, library, and a clean bed to sleep in. The defense did not even attempt to
21 challenge this juror for cause; counsel instead wasted a peremptory strike.
22         Similarly, prospective Juror 63 said in voir dire that the death penalty should
23 be used in cases with aggravating factors, such as child victims. (Tr. Mar. 7, 2006
24 at 103.) Clark questioned him, but did not ask if he would impose the death penalty
25 in every case with child victims—whether the prospective juror could consider a
26 life sentence in this case. (Tr. Mar. 7, 2006 at 105–06.) Again, defense counsel did
27 not challenge the prospective juror for cause and instead used a peremptory strike.
28         Further, defense counsel failed altogether to question three prospective jurors
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 167 of 500



 1 whom the defense later struck: prospective Jurors 37, 98, and 85. Competent voir
 2 dire would likely have elicited that they were substantially impaired under Morgan.
 3 For example, prospective Juror 37 wrote on her questionnaire and said during the
 4 State’s voir dire that her friend’s two-year-old granddaughter had been killed the
 5 prior year. (Tr. Mar. 7, 2006 at 72.) She said in response to the State’s questioning
 6 that this experience would not affect her; she could be impartial, as long as she was
 7 not facing the person who had killed her friend’s grandchild. (Tr. Mar. 7, 2006 at
 8 73.) However, she wrote on her questionnaire that the death penalty took too long,
 9 hurting victims’ families, and that it was not imposed frequently enough. Clark
10 could have questioned her to elicit specific instances in which she could not be
11 impartial, such as when there was a child victim. Instead, he asked no questions.93
12 (Tr. Mar. 7, 2006 at 75.)
13         While Kiles’s counsel did challenge two prospective jurors for cause,
14 counsel’s failure to effectively argue the challenges caused counsel to lose both
15 times. (See Tr. Mar. 16, 2006 at 9–15.) Counsel made for-cause challenges against
16 only prospective Jurors 78 and 82. (Tr. Mar. 16, 2006 at 9, 13.) But counsel failed
17 to properly ask them questions to fully expose the extent to which they should have
18 been excluded as jurors who would have automatically imposed death. (See Tr.
19 Mar. 8, 2006 at 47–61, 88–106.) Prospective Juror 78 stated on his questionnaire
20 and in voir dire that he would vote for death for first-degree murder if it were an
21 option; if a person were guilty beyond a reasonable doubt, he would give death. (Tr.
22 Mar. 8, 2006 at 58.) Prospective Juror 82 stated that the death penalty should be
23 mandatory where there is no remorse. (Tr. Mar. 8, 2006 at 103–04.) He also said
24 that his aunt was murdered in 2001 by a man who entered her home and beat her,
25
26   Counsel failed to preserve the jury questionnaires of Prospective Jurors 98 and
     93

   85. Given that the defense struck these two prospective jurors, it is likely that the
27 questionnaires contained something indicating that they would be biased against
   the defense. Counsel could have elicited these biases through questioning, obviating
28 the need to use peremptory strikes on these prospective jurors.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 168 of 500



 1 that proceedings were ongoing in that case, and that he had voted to sentence a
 2 person to death while serving on a Nevada jury in the late 1980s. (Tr. Mar. 8, 2006
 3 at 99–102.) When arguing the challenge for cause against Prospective Juror 82,
 4 counsel did not even mention the prospective juror’s aunt was murdered or his prior
 5 capital jury service. As a result, the court did not disqualify these jurors for cause.
 6 (Tr. Mar. 16, 2006 at 13, 15.)
 7           Counsel’s tepid advocacy left counsel with no option but to use peremptory
 8 strikes against these prospective jurors. As a result, once counsel had used all of
 9 their allotted strikes (see ROA 895), counsel were unable to remove biased jurors,
10 including those described above. And, because at least one biased juror served on
11 Kiles’s jury as a result of counsel’s deficient performance, Kiles suffered prejudice.
12 Ybarra, 656 F.3d at 1001.
13           E.    Counsel failed to rehabilitate prospective jurors who expressed
                   discomfort with the death penalty but who still could have
14                 properly served.
15           Not only did defense counsel allow pro-death jurors to serve, counsel made
16 little attempt to rehabilitate jurors who expressed some opposition to the death
17 penalty. Indeed, counsel often stipulated to their removal without questioning them
18 at all.
19           Constitutional principles carefully restrict the disqualification of jurors based
20 on anti-death penalty views. The Supreme Court has made clear that the exclusion
21 of prospective jurors from service solely because they had reservations about capital
22 punishment violated capital defendants’ due process right not to be placed on trial
23 before a “tribunal organized to return a verdict of death.” Witherspoon v. Illinois,
24 391 U.S. 510, 521–22 (1968). The Court has reformulated this rule to forbid courts
25 from disqualifying a juror on the basis of death-penalty opposition unless that
26 opposition is so categorical that it “would prevent or substantially impair the
27 performance of his duties as a juror in accordance with his instructions and his
28 oath.” Witt, 469 U.S. at 420. “Those who firmly believe that the death penalty is
                                                152
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 169 of 500



 1 unjust may nevertheless serve as jurors in capital cases so long as they state clearly
 2 that they are willing to temporarily set aside their own beliefs in deference to the
 3 rule of law.” Lockhart v. McCree, 476 U.S. 162, 176 (1986).
 4         A core obligation for capital counsel is to familiarize themselves “with the
 5 precedents relating to questioning and challenging of prospective jurors, including
 6 the procedures surrounding ‘death qualification’ concerning any prospective juror’s
 7 beliefs about the death penalty.” 2003 ABA Guideline 10.10.2(B); see also Morgan,
 8 504 U.S. at 719, 728. Counsel had a duty to “rehabilitate jurors who appear to have
 9 made it unmistakably clear that they would never vote for death by eliciting that, in
10 some set of circumstances, such a juror could vote for the imposition of the death
11 penalty.” Goodpaster, The Trial for Life, 58 N.Y.U. L. Rev. at 326. Here, however,
12 rather than attempt to rehabilitate these jurors, Kiles’s counsel stipulated with the
13 State to disqualify them. This constituted deficient performance.
14         As far as the record shows, only five of the 142 prospective jurors were
15 challenged for cause by one side.94 A majority of prospective jurors were dismissed
16 via stipulation between Kiles’s counsel and the State. Many expressed the type of
17 opposition to the death penalty for which a person may not constitutionally be
18 excluded. For example, Prospective Juror 59’s questionnaire indicated that she
19 would not administer the death penalty herself and that she did not consider the
20 death penalty a moral and proper function of the justice system. Still, she specified
21 that her decision to impose would depend on the facts and circumstances of the
22 case, she would follow instructions, and she had no objections to the death penalty.
23 She was asked no questions at voir dire, and no reason was given for her dismissal.
24 There were no other obvious grounds for her dismissal.
25         Counsel stipulated with the State to dismiss multiple jurors who, like
26 Prospective Juror 59, indicated some opposition to the death penalty on their
27
   94
      This count excludes prospective jurors who were excused for hardship reasons
28 and challenges for cause that the non-moving party did not oppose.
                                             153
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 170 of 500



 1 questionnaires but may have been eligible to serve. Counsel made no effort to
 2 rehabilitate these jurors, which include Prospective Jurors 110, 136, and 138, even
 3 where they stated they could follow the law. For example, the prosecutor sent a list
 4 to Kiles’s counsel of prospective jurors who should be removed, including
 5 Prospective Jurors 110, 136 and 138, citing their opposition to the death penalty.
 6 Defense counsel appear to have agreed to removing all 22 prospective jurors
 7 suggested by the State without counter-proposing a single prospective juror, as all
 8 were struck without questioning at the day’s start with no names added. (Tr. Mar.
 9 15, 2006 at 3–4.)
10         Further, the court struck one prospective juror for cause because of defense
11 counsel’s failure to adequately rehabilitate her. The State moved to strike
12 Prospective Juror 56 because of her opposition to the death penalty. (Tr. Mar. 16,
13 2006 at 3.) Defense counsel failed to rehabilitate her through voir dire and
14 advocacy. (Tr. Mar. 16, 2006 at 3–5.) Though the prospective juror expressed that
15 she did not personally believe in the death penalty, she also said she could impose
16 it. (Tr. Mar. 7, 2006 at 92–93.) However, after the State argued that she should be
17 dismissed for cause, VanDreumel argued only briefly against it, then quickly ceded
18 that she would “leave this one to the Court’s discretion.” (Tr. Mar. 16, 2006 at 4.)
19 In response, the court stated that he would dismiss the prospective juror because
20 she was “just too conflicted . . . to be fair and impartial.” (Tr. Mar. 16, 2006 at 5.)
21         Kiles’s counsel failed to attempt to rehabilitate jurors who were
22 uncomfortable with the death penalty but could nevertheless have properly fulfilled
23 their duties. Instead, counsel unreasonably stipulated to their removal, in violation
24 of prevailing norms and Kiles’s constitutional rights.
25         Counsel’s failure to rehabilitate these jurors prejudiced Kiles. Had counsel
26 successfully rehabilitated them, they would have either served on Kiles’s jury or
27 the State would have had to use peremptory strikes on them. The resulting jury
28 would have less resembled one “organized to return a verdict of death.”
                                               154
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 171 of 500



 1 Witherspoon, 391 U.S. at 521. The Supreme Court has underscored the importance
 2 of jurors with concerns regarding the death penalty—but still willing to impose it—
 3 serving on a capital defendant’s jury. Where a “scrupled, yet eligible” juror is
 4 removed in violation of Witherspoon and Witt, it constitutes fundamental error, and
 5 prejudice is assumed. Gray v. Mississippi, 481 U.S. 648, 668 (1987). Had counsel
 6 rehabilitated these jurors and avoided the apparent Witherspoon violations, there is
 7 a “probability sufficient to undermine confidence in the outcome” that the
 8 proceeding’s outcome would have differed. Strickland, 466 U.S. at 694.
 9         F.    Counsel failed to challenge the prosecutor’s discriminatory use of
                 peremptory strikes to exclude an African-American prospective
10               juror.
11         Kiles’s counsel provided ineffective assistance in failing to object under
12 Batson v. Kentucky, 476 U.S. 79 (1986), at the penalty-phase jury selection when
13 the State used a peremptory strike to exclude an African American based on race.
14 In Batson, the Supreme Court held that the use of peremptory challenges based on
15 race violates the Equal Protection Clause. Id. at 89.
16         The three-step analysis applied to a Batson challenge is well-known: “First,
17 the defendant must make a prima facie showing that the prosecutor has exercised
18 peremptory challenges on the basis of race.” Hernandez v. New York, 500 U.S. 352,
19 358–59 (1991) (plurality opinion). To establish a prima facie case, a defendant must
20 show “that the totality of the relevant facts gives rise to an inference of
21 discriminatory purpose.” Batson, 476 U.S. at 94. A comparative analysis of seated
22 and challenged jurors may raise an inference of discrimination. Green v. LaMarque,
23 532 F.3d 1028, 1030 n.3 (9th Cir. 2008). The burden to make a prima facie Batson
24 showing is “minimal.” Johnson v. Finn, 665 F.3d 1063, 1071 (9th Cir. 2011).
25 However, counsel must make a timely objection to the discriminatory strike. See
26 Doe v. Ayers, 782 F.3d 425, 432 (9th Cir. 2015).
27         Counsel could have established prima facie discrimination, and the burden
28 would have shifted to the prosecutor to “explain adequately the racial exclusion by
                                            155
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 172 of 500



 1 offering permissible race-neutral justifications for the strikes.” Johnson v.
 2 California, 545 U.S. 162, 168 (2005). The State must “(1) assert that specific, race-
 3 neutral reasons were the actual reasons for the challenged strikes, and (2) offer
 4 some evidence which, if credible, would support the conclusion that those reasons
 5 were the actual reasons for the strikes.” Shirley v. Yates, 807 F.3d 1090, 1104 (9th
 6 Cir. 2016). Finally, the court must determine whether the defendant has proven
 7 purposeful discrimination by a preponderance of the evidence. Hernandez, 500 U.S.
 8 at 359.
 9         At the time of Kiles’s trial, Batson was longstanding precedent. Further, the
10 2003 ABA Guidelines obligated counsel to consider “challenges to the procedures
11 for selecting the jury that would be available in any criminal case (particularly those
12 relating to bias on the basis of race or gender).” 2003 ABA Guideline 10.10.2(A).
13         Given the facts at Kiles’s trial, counsel’s notes, prevailing professional
14 norms, and the “minimal” burden to prove a prima facie Batson case, it was
15 unreasonable for counsel to fail to raise a Batson objection to the strike of
16 Prospective Juror 96. See Doe, 782 F.3d at 432 (counsel performed deficiently
17 where of the four African-American prospective jurors, the State struck one, with
18 no objection from the defense, and one was empaneled). Kiles’s counsel’s notes
19 indicate that, to their knowledge, out of 142 prospective jurors, four were African
20 American. The State used a peremptory strike to remove one, Prospective Juror 96,
21 without apparent cause. (ROA 895 at 4.) Defense counsel wrote “Batson” next to
22 his name, but did not object on the record. (See Tr. Mar. 16, 2006; ROA 804 at 1.)
23 Only one African-American person served on Kiles’s penalty-phase jury.
24         There is no clear reason other than race for the State to have stricken African-
25 American Prospective Juror 96. While he indicated that he had a long-ago
26 acquaintance who had been killed (Tr. Mar. 8, 2006 at 110–11), Juror 6 was seated
27 despite his mother having been killed. (Tr. Mar. 7, 2006 at 7–8.) Prospective Juror
28 96’s father-in-law was a corrections officer (Tr. Mar. 8, 2006 at 110–12), but Jurors
                                              156
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 173 of 500



 1 7 and 9 had close relatives in corrections and were still seated. (Tr. Mar. 7, 2006 at
 2 79–80.) Prospective Juror 96’s father, to whom Prospective Juror 96 had not spoken
 3 in years, had drug problems, but seated Juror 3 also had an immediate family
 4 member with drug problems. Finally, Prospective Juror 96 wrote on his
 5 questionnaire that some people may deserve the death penalty, but he was not sure
 6 if he would be comfortable imposing it. However, he noted that his decision to
 7 impose death would depend on the facts and circumstances of the case, that he
 8 would follow the law, and that he had no objections to the death penalty. When
 9 questioned by the State, he repeated that he would decide on a “case-by-case” basis.
10 (Tr. Mar. 8, 2006 at 113, 116.) When questioned by the defense, he explained his
11 uncertainty was because he did not know the facts of the case. (Tr. Mar. 8, 2006 at
12 115–16.) Multiple jurors who were not African-American were seated even though
13 they expressed similar discomfort with the death penalty; they include Juror 7, who
14 called the death penalty “a necessary evil,” and Juror 16, who wrote that it could be
15 a deterrent but that he worried about error.
16         Kiles was prejudiced by counsel’s failure to object. To prove ineffective
17 assistance for counsel’s failure to make a Batson motion, petitioner must show
18 prejudice by “showing that there is a reasonable probability that the claim [counsel]
19 failed to raise at trial would have prevailed, either at trial or on appeal.” Doe, 782
20 F.3d at 432 (citing Strickland, 466 U.S. at 694). Given the facts at Kiles’s voir dire,
21 and the absence of any reason other than race for the State’s peremptory strike, there
22 is a reasonable probability that counsel would have prevailed on an objection to the
23 State’s discriminatory use of peremptory strikes. Further, a Batson violation is
24 structural, and a conviction must be vacated if a prosecutor’s strike was race-
25 motivated. Turner v. Marshall, 121 F.3d 1248, 1254 n.3 (9th Cir. 1997), overruled
26 on other grounds by Tolbert v. Page, 182 F.3d 677 (9th Cir. 1999) (en banc).
27 Accordingly, had counsel objected and Kiles prevailed on appeal, his conviction
28 would have been vacated.
                                              157
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 174 of 500



 1         G.     Counsel failed to challenge the denial of a fair cross-section of the
                  community in the venire.
 2
 3         As laid out supra, Claim 2, a venire comprised of “a representative cross
 4 section of the community is an essential component of the Sixth Amendment right
 5 to a jury trial.” Taylor v. Louisiana, 419 U.S. 522, 528 (1975). In this case, counsel’s
 6 failure to object to the lack of a fair cross-section was deficient, as Taylor was well-
 7 known and long-established precedent at the time of Kiles’s penalty phase. The
 8 2003 ABA Guidelines also required counsel to consider challenges to the venire.
 9 2003 ABA Guideline 10.10.2(A). Kiles’s counsel’s notes indicate that, to their
10 knowledge, there were four African Americans in the venire, out of 142 people.
11 Counsel’s notes further indicated that counsel knew of the need for a racially
12 representative venire. Given prevailing professional norms, it was unreasonable for
13 counsel to fail to object to the denial of a fair cross-section. See Strickland, 466 U.S.
14 at 688.
15         Moreover, in July 2006, shortly after Kiles’s trial ended, an e-mail from a
16 former Maricopa County Superior Court project manager informed Kiles’s counsel
17 that the program the county had used since 2002 to select the venire was flawed: it
18 was not updated with new census data, division juror usage, or ZIP codes. The
19 program excluded people from certain ZIP codes due to an algorithm failure. An
20 exclusion based on geographical location violated Kiles’s rights. See Lockhart, 476
21 U.S. at 174 (noting that a group whose recognition would advance the purposes of
22 the fair cross-section requirement may not be systematically excluded without a
23 significant government interest). When Kiles’s counsel received this information,
24 instead of seeking to address the violation in Kiles’s case, VanDreumel asked Clark
25 to send her the questionnaires of seated jurors in Kiles’s case—for use in another
26 case.
27         Kiles was prejudiced by his counsel’s failure to object, as the failure to do so
28 deprived Kiles of a fair trial. Strickland, 466 U.S. at 687. Like a Batson violation, a
                                               158
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 175 of 500



 1 violation of the fair cross-section requirement is structural error. United States v.
 2 Rodriguez-Lara, 421 F.3d 932, 940 (9th Cir. 2005), overruled on other grounds by
 3 United States v. Hernandez-Estrada, 749 F.3d 1154 (9th Cir. 2014). Here, had
 4 counsel objected to the denial of the fair cross-section, “there is a reasonable
 5 probability that the claim [counsel] failed to raise at trial would have prevailed,
 6 either at trial or on appeal.” Doe, 782 F.3d at 432 (citing Strickland, 466 U.S. at
 7 694). Then, had Kiles prevailed on appeal, his conviction would have been vacated.
 8 Kiles was therefore prejudiced by his counsel’s deficient performance.
 9         H.    Counsel failed to make a record as to the reasons underlying the
                 removal of many prospective jurors.
10
11         Finally, a complete record regarding jury selection is necessary to protect
12 Kiles’s right to meaningful appellate review. See Gregg v. Georgia, 428 U.S. 153,
13 195 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.); Dobbs v. Zant, 506
14 U.S. 357, 358 (1993) (“We have emphasized before the importance of reviewing
15 capital sentences on a complete record.”).
16         In failing to make such a record, counsel performed deficiently and
17 prejudiced Kiles. See Strickland, 466 U.S. at 688, 694; see also Claim 16, infra. A
18 majority of prospective jurors were removed by stipulation between Kiles’s counsel
19 and the State, without any reason provided on the record as to why they were
20 removed. Many prospective jurors were removed without either side asking a single
21 individual question at voir dire. The official juror sheet lists 23 people struck for
22 cause, where even the fact of their removal—let alone the underlying reasons for
23 their removal—appears nowhere on the record. (See ROA 895; see also generally
24 Tr. Mar. 6, 2006; Tr. Mar. 7, 2006; Tr. Mar. 8, 2006; Tr. Mar. 15, 2006: Tr. Mar.
25 16, 2006.) Thus, Kiles’s appellate lawyer lacked critical information to challenge
26 his sentence, thereby compromising his appeals.
27         In sum, counsel’s voir dire performance did not comport with objective
28 standards of capital representation. The standards were developed to ensure capital
                                             159
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 176 of 500



 1 counsel’s performance adhered to prevailing Supreme Court law, and at the time of
 2 sentencing, counsel were obligated to know and follow these standards. Kiles’s
 3 counsel lacked the necessary knowledge and experience to select jurors who could
 4 and would fully and fairly consider Kiles’s mitigation evidence. Reasonably
 5 competent capital attorneys would have used the common tools to uncover
 6 impairments of jurors that would have removed them for cause, and information
 7 that would have enabled counsel to make informed peremptory strikes. Competent
 8 counsel would have objected to the State’s discriminatory strikes, objected to the
 9 lack of a fair cross-section, and ensured a complete record. Counsel’s deficient
10 performance undermined Kiles’s constitutional right to an individualized
11 sentencing by jurors capable of giving full effect and consideration to his mitigation
12 evidence, entitling Kiles to relief.
13                                        Claim Five
14         Kiles was denied effective assistance of counsel at his aggravation-
           phase proceedings because counsel failed to adequately challenge
15         the alleged aggravating circumstances and otherwise defend against
16         a death sentence.

17         Kiles’s trial counsel failed to investigate and prepare adequately for the
18 aggravation phase of trial, and as a result counsel failed to mount necessary
19 challenges to the State’s aggravation case. Counsel’s deficient performance in that
20 respect and others, both individually and cumulatively, prejudiced Kiles and
21 thereby violated his rights under the Sixth, Eighth, and Fourteenth Amendments to
22 the U.S. Constitution. Kiles incorporates by specific reference all facts, allegations,
23 and arguments made elsewhere in this Petition. Kiles presented this claim below.
24 (ROA 1189 at 32–35, 39–40, 46–48; PFR2 Dkt. 32–36, 39–41, 47–48.)
25      A.   Background on aggravation-phase proceedings.
26         After a delay caused by, among other things, Arizona’s switch to jury
27 sentencing, Kiles’s penalty phase began with his aggravation hearing in March
28 2006. At the aggravation phase, the State sought first to prove that Kiles had
                                              160
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 177 of 500



 1 sufficient personal culpability in the deaths of Shemaeah Gunnel and LeCresha
 2 Kirklin to potentially be eligible for the death penalty. (Tr. Mar. 20, 2006 at 56–57
 3 (court laying out Enmund/Tison factors in preliminary jury instructions).) The State
 4 also alleged and sought to prove the following aggravating factors with respect to
 5 each victim: (1) Kiles was convicted of a prior felony involving the use or threat of
 6 violence, A.R.S. § 13-703(F)(2) (1988); (2) the homicide occurred in a manner that
 7 was “especially heinous, cruel or depraved,” id. § 13-703(F)(6); and (3) Kiles was
 8 convicted of one or more homicides during the commission of the offense, id. § 13-
 9 703(F)(8).95 (ROA 503 at 1–2.) With respect to the deaths of Shemaeah and
10 LeCresha, the State further alleged that Kiles was an adult at the time of the offense
11 and that each victim was under 15 years of age. (ROA 503 at 2); see also A.R.S.
12 § 13-703(F)(9).
13         The State provided notice that it would offer two prior convictions to support
14 the (F)(2) aggravating circumstance: an attempted aggravated assault conviction
15 from 1984, and an aggravated assault conviction from 1986. (ROA 743 at 2.) Before
16 the penalty phase, trial counsel argued that the attempted aggravated assault could
17 not support the (F)(2) aggravating circumstance. (See ROA 743 at 4.) The trial court
18 rejected that argument, even though the Arizona Supreme Court had agreed in State
19 v. Williams that the crime of attempt could not satisfy the (F)(2) aggravating
20 circumstance. 904 P.2d 437, 451 (Ariz. 1995); (Tr. Mar. 20, 2006 at 23). In so
21 ruling, the trial court relied on the opinion in Kiles’s direct appeal upholding the
22 attempted aggravated assault as a valid basis for the (F)(2) aggravating
23 circumstance. (Tr. Mar. 20, 2006 at 23); see State v. Kiles, 857 P.2d 1212, 1224
24 (Ariz. 1993). Trial counsel did not attempt to challenge the aggravated assault as a
25 basis for the (F)(2) aggravating circumstance. (See Tr. Mar. 20, 2006 at 16–17.)
26         Further, trial counsel conceived of the aggravation phase as, in effect, a re-
27
   95
      The State alleged both that the homicides were especially cruel and that they were
28 especially heinous or depraved. (See ROA 719 at 5–6.)
                                             161
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 178 of 500



 1 do of the guilt phase. (See Tr. Mar. 27, 2006 at 40 (counsel informing the court that
 2 they “have been parroting for this jury what took place in Yuma back in 2000); Tr.
 3 Mar. 27, 2006 at 42 (counsel asking court “that th[e] testimony and evidence to be
 4 adduced is the same that was adduced in Yuma [at the guilt phase].”).) Counsel did
 5 so despite the fact that the State was seeking to prove significantly different matters,
 6 for example that the killings were especially cruel, than it had proven at the guilt
 7 phase. But, because counsel were largely seeking to repeat the guilt phase, counsel
 8 conducted no investigation directed toward challenging the alleged aggravating
 9 circumstances.96 The record reflects no attempt to retain an expert for aggravation-
10 phase purposes, even though counsel knew the State intended to present expert
11 testimony. For example, counsel noted on the record that they had not consulted
12 with a crime-scene expert to counter the testimony of State’s expert Tom Bevel,
13 even though “[t]here are experts out there who disagree with Mr. Bevel.” (See Tr.
14 Mar. 27, 2006 at 41.) In fact—despite the centrality of Bevel’s testimony to the
15 State’s case—counsel had not even interviewed Bevel for purposes of the
16 aggravation phase.97 (Tr. Mar. 27, 2006 at 38.) This approach made no sense as an
17 aggravation-phase plan for Kiles’s conviction in Gunnel’s death, where there was
18 no question that Kiles had committed the killing.98 And, because of counsel’s focus
19 on re-doing the guilt phase, counsel missed opportunities to start introducing the
20
21   96
        The most charitable justification for counsel’s focus on guilt-phase issues is that
22   counsel were seeking to establish reasonable doubt on the Enmund/Tison findings
     for the deaths of the children. That, however, cannot justify a failure to investigate
23   counsel’s ability to challenge the aggravators, especially as there was no doubt as
     to who killed Gunnel.
24   97
        Further, counsel did not re-interview guilt-phase witnesses. (See, e.g., Tr. Mar.
25   22, 2006 at 56 (counsel noting that he had interviewed witness Larry Hawkins
     “some years ago”).)
26   98
        While this approach made better sense with respect to the deaths of the children,
27   as counsel could focus on residual doubt (see, e.g., Tr. May 22, 2006 at 48–56),
     counsel needed an approach or approaches that minimized the likelihood of all three
28   death sentences—not just of two out of three.
                                              162
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 179 of 500



 1 jury to Kiles’s mitigation.
 2         After the completion of voir dire, discussed supra, Claim 4, the aggravation
 3 phase continued over 11 days. Two of the centerpieces of the State’s case that
 4 Gunnel’s death was “especially heinous, cruel or depraved” were pathologist
 5 Robert Mallon, M.D., and blood-spatter expert Tom Bevel, both of whom testified
 6 at Kiles’s guilt phase. See supra, Claim 3. Dr. Mallon had conducted the autopsies
 7 of Gunnel and LeCresha. (Tr. Mar. 21, 2006 a.m. at 4, 11; Tr. Mar. 21, 2006 at 8.)
 8 On direct examination, Dr. Mallon reviewed in detail each of Gunnel’s injuries,
 9 which included “extensive trauma mostly to the head and neck area, as well as the
10 upper forearms. And in the rest of the body there wasn’t evidence of trauma.” (Tr.
11 Mar. 21, 2006 a.m. at 15–26; Tr. Mar. 21, 2006 at 4–7.) The prosecutor walked Dr.
12 Mallon through the severity of each wound, including that Gunnel’s skull exhibited
13 a severe fracture that looked like “an eggshell that’s been broken in multiple
14 pieces.” (Tr. Mar. 21, 2006 a.m. at 23.) The prosecutor also had Dr. Mallon confirm
15 that Gunnel’s right forearm wound was “consistent with a defensive wound,” as
16 well as that it would be “axiomatic that a person would have to be conscious to have
17 a defensive wound.” (Tr. Mar. 21, 2006 a.m. at 21.)
18         On cross-examination, defense counsel did not question whether Gunnel’s
19 forearm wound was indeed a defensive wound. (See Tr. Mar. 21, 2006 at 20.)
20 Instead, counsel tried to get Dr. Mallon to acknowledge that it was possible for the
21 forearm wound and one of the facial wounds to have resulted from the same blow.
22 (See Tr. Mar. 21, 2006 at 20–21.) In response to that line of questioning, Dr. Mallon
23 testified that
24                  [Gunnel] could have guarded herself against the first blow.
                    She was conscious and was aware of what was going on,
25                  otherwise she wouldn’t have used her arm. . . . But that
26                  forearm was used. She was conscious and was aware, using
                    that forearm in a defensive posture and as a defensive
27                  method.
28 (Tr. Mar. 21, 2006 at 23.) Dr. Mallon also continued that Gunnel “could very easily
                                               163
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 180 of 500



 1 have sustained those kinds of frontal injuries and still remained conscious. That’s
 2 possible.” (Tr. Mar. 21, 2006 at 24.) Dr. Mallon then proceeded to testify, still on
 3 cross-examination, that Gunnel could have remained conscious for many of the
 4 wounds. (Tr. Mar. 21, 2006 at 24.) He added, “If I were guessing . . . I would say
 5 probably the blow to the forearm was the first one.” (Tr. Mar. 21, 2006 at 27.)
 6         The State also prominently featured the testimony of Tom Bevel, the State’s
 7 blood-spatter expert, in its case for the (F)(6) aggravating circumstance in Gunnel’s
 8 death. Bevel described the blood stains visible in Gunnel’s living room, pointing
 9 out that there were blood stains, fairly low to the ground, on two different walls.
10 (Tr. Mar. 27, 2006 at 62–69.) Bevel explained his opinion that the source of the
11 blood on the walls had to be “lower toward the floor, as opposed to, for example,
12 standing” in order to cause those blood stains. (Tr. Mar. 27, 2006 at 71.) He also
13 testified that the blood stains on two different walls suggested “movement . . .
14 usually the victim and/or the person that is delivering the blows.” (Tr. Mar. 27, 2006
15 at 71.) Bevel also suggested that the blood on the pillowcase found in the east
16 bedroom showed “some movement . . . where the blood source has had lateral
17 motion.” (Tr. Mar. 27, 2006 at 72–73.) Bevel did not testify on these topics at the
18 2000 guilt-phase proceedings, and defense counsel had not interviewed him prior
19 to the 2006 proceedings to prepare themselves for cross-examination. (Tr. Mar. 27,
20 2006 at 38.) Bevel further testified to topics he had addressed in his 2000 testimony,
21 among them the blood spatter in the west bedroom, where the children were killed.
22 (See, e.g., Tr. Mar. 27, 2006 at 82–85.)
23         The defense, with its focus on residual doubt and Kale Johnson’s
24 involvement in the killing of the children, started its cross-examination by
25 questioning Bevel about shoe impressions made in blood. (Tr. Mar. 27, 2006 at 99–
26 101.) Later, after having Bevel confirm that the crime scene had been altered before
27 and while photographs were taken of it (see, e.g., Tr. Mar. 27, 2006 at 106–07, 112),
28 the defense turned to the blood spatter in the room where the children were killed.
                                              164
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 181 of 500



 1 (Tr. Mar. 27, 2006 at 108–12.) Bevel also discussed the blood stain in the chair in
 2 the living room,99 before returning to the blood spatter in the west bedroom and the
 3 shoe impressions (see Tr. Mar. 27, 2006 at 112–18)—matters primarily relevant to
 4 the aggravating factors alleged in the deaths of the children. Counsel accepted
 5 Bevel’s testimony that the source of the blood on the pillowcase found in the east
 6 bedroom moved, but Bevel confirmed that he could not say how the blood source
 7 was moved. (Tr. Mar. 27, 2006 at 119.) Counsel then focused much of the
 8 remainder of cross-examination on questions regarding the bloody shoe
 9 impressions and blood found on Kale Johnson’s shoes and clothing. (See Tr. Mar.
10 27, 2006 at 122–34.)
11         The State also had lead investigator Detective Brian Rodgers testify, as well
12 as Larry Hawkins. (Tr. Mar. 22, 2006 at 31.) Hawkins recounted for the jury Kiles’s
13 statement that he had killed Gunnel with a tire iron by striking her on the head after
14 she had slapped him twice. (Tr. Mar. 22, 2006 at 37–38.) Hawkins testified that he
15 did not remember where Kiles and Gunnel were when he struck her or what Kiles
16 might have done after striking Gunnel, but he did say that Gunnel “asked him why
17 was this happening and I think he said he struck her again.” (Tr. Mar. 22, 2006 at
18 37–39.) The State had Hawkins review line-by-line his Silent Witness letter, which
19 was admitted into evidence. (See Tr. Mar. 22, 2006 at 40–49; see also 2006 Trial
20 Ex. 90.) On cross-examination, counsel tried to establish that Hawkins had based
21 that information on a number of sources, not on Kiles’s statements. (See, e.g., Tr.
22 Mar. 22, 2006 at 61.)
23         Notably, because counsel conceived of the proceedings as a re-do of the guilt
24 phase, counsel allowed the 2000 guilt-phase testimony of several witnesses to be
25
     99
26   Having done insufficient investigation, counsel did not realize there were two
   similar-looking chairs in the living room and so asked Bevel some questions
27 suggesting that a single chair had been moved around the living room. (Tr. Mar. 27,
   2006 at 113–14.) The State later pointed out counsel’s errors on redirect. (Tr. Mar.
28 27, 2006 at 136–37.)
                                             165
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 182 of 500



 1 read into the record. (See, e.g., Tr. Mar. 22, 2006 at 28–30 (discussing testimony);
 2 Tr. Mar. 23, 2006 at 59 (testimony of Sandra Mercado); Tr. Mar. 29, 2006 at 113
 3 (testimony of Harman Burton); Tr. Apr. 4, 2006 at 4–5 (testimony of Cynthia
 4 Anderson).) Counsel even allowed the testimony of Kale Johnson to be read into
 5 the record (see Mar. 23, 2006 at 60; Mar. 27, 2006 at 142), even though that left
 6 them unable to cross-examine him on aggravation-specific issues. Kiles’s guilt-
 7 phase testimony was also read into the record. (Tr. Mar. 23, 2006 at 54–55.) The
 8 defense offered no live witness testimony to the jury. (Tr. Apr. 4, 2006 at 4–5.)
 9         After deliberations, the jury unanimously determined that the Enmund/Tison
10 factors were satisfied for the deaths of Shemaeah and LeCresha; however, for each
11 victim, two jurors did not find that Kiles had actually killed the victim. (See ROA
12 879 at 4.) For the deaths of Shemaeah and LeCresha, the jury found each of the four
13 alleged aggravators proven. (ROA 879 at 5–10, 14–15.)
14         With respect to Gunnel’s death, the jury found the (F)(2) aggravating
15 circumstance proven, with unanimous findings as to each of the prior convictions
16 proffered by the State. (ROA 879 at 11–12.) The jury also unanimously found the
17 (F)(6) aggravating circumstance proven. (ROA 879 at 12.) The only component of
18 that aggravator that the jury unanimously found was “cruelty.” (ROA 879 at 12.)
19 Finally, the jury also found that the State had proven the (F)(8) aggravating
20 circumstance. (ROA 879 at 12.)
21         B.     Trial counsel has a duty to make every effort to avoid a death
                  sentence, including by investigating and contesting the
22                aggravating circumstances alleged against Kiles.
23         Under Supreme Court precedent, the Sixth Amendment right to effective
24 assistance of counsel, and in turn the right to a fair trial, extends to the aggravation
25 phase of trial. See, e.g., Rompilla v. Beard, 545 U.S. 374, 385–93 (2005) (counsel
26 were ineffective in part for failing to investigate State’s aggravation case); see also
27 Strickland v. Washington, 466 U.S. 668, 684 (1984). Capital-defense counsel have
28 an obligation to contest aggravating factors alleged by the State against their client.
                                              166
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 183 of 500



 1 See, e.g., Correll v. Ryan, 539 F.3d 938, 947–48 (9th Cir. 2008) (finding deficient
 2 performance when, among other things, counsel failed to challenge three of five
 3 alleged aggravating factors); 2003 ABA Guideline § 10.11(A) (discussing
 4 counsel’s duty to investigate issues and seek information that establishes mitigation
 5 or rebuts aggravation); id. § 10.11(H) (requiring trial counsel to determine as
 6 quickly as possible what aggravating factors will be alleged and the evidence used
 7 to support them); id. § 10.11(I) (requiring counsel at all stages to consider whether
 8 evidence offered in aggravation is improper, inaccurate, misleading or
 9 inadmissible).
10         Simply put, the aim of a capital-defense attorney at penalty-phase
11 proceedings is to avoid the imposition of the death penalty. See, e.g., 2003 ABA
12 Guideline 10.11(A) (emphasizing “continuing duty” to rebut aggravation and
13 bolster mitigation); 1989 ABA Guideline 11.8.2(E) (requiring counsel to “develop
14 a plan for seeking to avoid the death penalty”). Discharging that duty requires
15 counsel to make every reasonable effort to contest or otherwise undercut the
16 aggravating circumstances alleged by the prosecution. See Correll, 539 F.3d at 948.
17         Kiles’s counsel, however, failed to investigate and make critical challenges,
18 supported by Arizona Supreme Court precedent, to the alleged aggravating
19 circumstances. Instead, counsel treated the aggravation phase as a re-do of the guilt
20 phase. (See, e.g., Tr. Mar. 27, 2006 at 40–41.) Such failures rendered counsel’s
21 performance deficient and prejudiced Kiles. See Strickland, 466 U.S. at 688, 694.
22         C.    Counsel were ineffective for failing to effectively challenge the
                 (F)(2) aggravating circumstance, especially as Kiles’s prior
23               aggravated assault conviction was an invalid basis for that
24               circumstance.

25         The sole prior conviction currently supporting Kiles’s conviction under
26 A.R.S. § 13-703(F)(2) (1988) is a 1986 conviction for aggravated assault. However,
27 that conviction—under Arizona Supreme Court precedent that predated Kiles’s
28 trial—is an invalid basis for the (F)(2) aggravating circumstance. Counsel were
                                             167
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 184 of 500



 1 ineffective for failing to challenge this proffered basis for the (F)(2) aggravating
 2 circumstance. (ROA 1189 at 46–48.)
 3                1.     Kiles’s 1986 conviction for aggravated assault does not
                         qualify as a prior violent felony for the purposes of the (F)(2)
 4                       aggravator.
 5         Prior to the penalty phase, the State alleged the (F)(2) aggravating
 6 circumstance, that “the defendant was previously convicted of a felony in the
 7 United States involving the use or threat of violence on another person.” (ROA 503
 8 at 1 (quoting A.R.S. § 13-703(F)(2) (1988).) In support, the State sought to prove
 9 that Kiles had committed two prior felonies that fell within the ambit of the
10 aggravator: (1) attempted aggravated assault on April 17, 1984, and (2) aggravated
11 assault on May 15, 1986. (ROA 637 at 2.) Trial counsel challenged the attempted
12 aggravated assault vigorously, arguing that under Arizona Supreme Court
13 precedent, the conviction did not qualify for the purposes of the (F)(2) aggravating
14 circumstance. (See ROA 743 at 1.) However, trial counsel did not challenge Kiles’s
15 prior conviction for aggravated assault, even though that conviction too could not
16 support the (F)(2) aggravating circumstance as it was defined in 1989.
17         In 1989, the (F)(2) aggravating circumstance required that the defendant have
18 been “previously convicted of a felony in the United States involving the use or
19 threat of violence on another person.”100 A.R.S. § 13-703(F)(2) (1988). The Arizona
20 Supreme Court then defined “violence” for the purposes of (F)(2) as follows: “the
21 exertion of any physical force with the intent to injure or abuse.” State v. Walden,
22
     100
23      “[I]n 1993, the [Arizona] legislature abandoned the (F)(2) language ‘use or threat
     of violence’ and replaced it with ‘serious offense.’” State v. Martinez, 999 P.2d 795,
24   806 (Ariz. 2000). Kiles was convicted of crimes that occurred in 1989. To avoid a
     violation of the Ex Post Facto Clauses of the state and U.S. Constitutions, the
25   aggravating circumstance as it was defined in 1989—involving “the use or threat
26   of violence”—applies to Kiles’s case. State v. Schackart, 947 P.2d 315, 324–35
     (Ariz. 1997) (rejecting request to apply rewritten (F)(2) aggravating circumstances
27   when capital crime occurred before change in statutory text, because doing so
     would create ex post facto problems); (see also ROA 503 at 1 (State alleging (F)(2)
28   aggravating circumstance as it was worded in 1989)).
                                              168
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 185 of 500



 1 905 P.2d 974, 996 (Ariz. 1995) (citing State v. Fierro, 804 P.2d 72, 82 (Ariz. 1990),
 2 overruled on other grounds by State v. Ives, 927 P.2d 762 (Ariz. 1996)); see also,
 3 e.g., State v. Williams, 904 P.2d 437, 451 (Ariz. 1995) (applying this definition of
 4 “violence” when the capital crime and prior conviction supporting (F)(2) both
 5 occurred in 1990).
 6         When evaluating whether a prior conviction can support the 1989 (F)(2)
 7 aggravator, a court must look to whether the earlier felony “by statutory definition,
 8 involved violence or the threat of violence.” Schackart, 947 P.2d at 323 (emphasis
 9 added). Because “violence” requires “the intent to injure or abuse,” to qualify under
10 (F)(2), the statutory definition of the earlier felony must require the mental state of
11 intent. Id. If the statutory definition of the prior felony does not require that same
12 mental state, then the felony is not a valid basis for the (F)(2) aggravating
13 circumstances. Id.
14         Further, when considering whether a defendant has a prior conviction whose
15 statutory definition qualifies under (F)(2), courts can only consider a limited range
16 of judicial documents. See State v. Rogovich, 932 P.2d 794, 800 (Ariz. 1997)
17 (noting that court can review “relevant statutes, pleadings, jury instructions, and
18 verdicts” when evaluating whether prior conviction qualifies as a basis for (F)(2)
19 aggravating circumstance). However, testimony or other evidence from the victims
20 of the prior crime must not be considered. See, e.g., State v. Van Adams, 984 P.2d
21 16 (1999) (holding that court erred in considering testimony of victim of prior
22 felony to establish basis of (F)(2) aggravating circumstance); State v. Gillies, 662
23 P.2d 1007, 1018 (Ariz. 1983) (“We cannot allow what is, in effect, a second trial
24 on defendant’s prior conviction to establish the existence of an A.R.S. § 13-
25 703(F)(2) aggravating circumstance.”).
26         Kiles was convicted of one count of aggravated assault under A.R.S.
27 § 13-1204(A)(8), a subsection of the aggravated assault statute. (2006 Trial Ex. 140
28 at 10.) Under § 13-1204(A)(8), aggravated assault occurs when a person “commits
                                              169
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 186 of 500



 1 assault as defined in § 13-1203 . . . while the victim is bound or otherwise
 2 physically restrained or while the victim’s capacity to resist is substantially
 3 impaired.” A.R.S. § 13-1204(A)(8) (1985). Assault under § 13-1203 can occur in
 4 one of three ways: (1) “Intentionally, knowingly or recklessly causing any physical
 5 injury to another person,” A.R.S. § 13-1203(A)(1); (2) “Intentionally placing
 6 another person in reasonable apprehension of imminent physical injury,” A.R.S.
 7 § 13-1203(A)(2); or (3) “Knowingly touching another person with the intent to
 8 injure, insult or provoke such person,” A.R.S. § 13-1203(A)(3). In other words,
 9 assault can occur with the mental state of “intentionally,” “knowingly,” or even
10 “recklessly,” for someone charged under § 13-1203(A)(1).
11         Moreover, § 13-1204(A)(8) includes no mens rea requirement at all. See
12 A.R.S. § 13-1204(A)(8) (1989) (aggravated assault occurs when a person “commits
13 assault as defined in § 13-1203 . . . while the victim is bound or otherwise
14 physically restrained or while the victim’s capacity to resist is substantially
15 impaired.”). First, the subsection does not require that the person who commits the
16 assault is the person who restrained the victim or limited the victim’s capacity to
17 resist. In fact, the statute was derived from an older statute, which deemed assault
18 aggravated “when committed by a person of robust health or strength upon one who
19 is decrepit.” Matter of Appeal in Maricopa Cnty. Juvenile Action No. JV-123196,
20 834 P.2d 160, 164 (Ariz. Ct. App. 1992). Decrepitude is not a condition caused by
21 the person committing assault, and likewise the restraint of limited capacity to resist
22 need not be caused by the person committing assault. Second, it is entirely possible
23 to recklessly assault someone who—through no action or intent of the person
24 committing the assault—is restrained or unable to resist.101 Accordingly,
25 § 13-1204(A)(8) does not provide the mens rea necessary for violence that is
26
27   101
     For example, under § 13-1204(A)(8), recklessly throwing a ball in the air—with
   no intent to injure or abuse—and hitting and injuring someone in a wheelchair
28 constitutes aggravated assault.
                                              170
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 187 of 500



 1 missing from § 13-1203.
 2         Then, because aggravated assault under § 13-1204(A)(8) could well be based
 3 on a reckless act under § 13-1201(A)(1), the statutory definition of aggravated
 4 assault does not constitute a crime that necessarily involves violence—the intent to
 5 injure or abuse—for the purposes of the 1989 (F)(2) aggravating circumstance.
 6 Schackart, 947 P.2d at 323.
 7         The Arizona Supreme Court laid this out unambiguously when considering
 8 the (F)(2) aggravating circumstance as it existed in 1989. “If an assault is committed
 9 recklessly pursuant to § 13-1203(A)(1), the former (F)(2) factor cannot be
10 established because the required mental state is lacking.” Id.; see also, e.g., Walden,
11 905 P.2d at 996 (holding that aggravated assault did not provide basis for (F)(2)
12 aggravating circumstance when it could have been committed recklessly); State v.
13 McKinney, 917 P.2d 1214, 1230 (Ariz. 1996) (holding that “because [the
14 defendant’s] prior conviction was for a crime that, on the face of the statute, might
15 have been committed recklessly, it does not qualify as a crime of violence” for the
16 purposes of the former (F)(2) aggravating circumstance).
17         Consequently, unless the conviction reflects that the predicate assault was
18 under § 13-1203(A)(2) or (A)(3)—meaning that the aggravated assault was
19 committed knowingly or intentionally—then aggravated assault under § 13-
20 1204(A)(8) is not a valid basis for the (F)(2) aggravating circumstance.102 See
21 Schackart, 947 P.2d at 323 (rejecting aggravated assault as support for (F)(2) when
22 there was no proof as to which subsection of § 13-1203(A) was the basis for
23 defendant’s prior conviction). As the Arizona Supreme Court erred in 1993 in
24 upholding the attempted aggravated assault as a basis for the (F)(2) aggravating
25 circumstance, so did it err with respect to the aggravated assault. See Kiles, 857
26
27   102
      Moreover, even under § 13-1203(A)(3), it is possible to commit assault with the
   intent to provoke or insult, which does not satisfy the intent requirement of
28 “violence.”
                                              171
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 188 of 500



 1 P.2d at 1223–24.
 2         Here, the State did not specify whether Kiles was convicted under
 3 § 13-1203(A)(1), or § 13-1203(A)(2), or § 13-1203(A)(3).103 (See 2006 Trial Ex.
 4 140 at 8–11.) There is no way to tell whether he was convicted of acting with intent,
 5 knowledge, or just recklessness. As a result, Kiles’s 1986 conviction for aggravated
 6 assault does not support the (F)(2) aggravating circumstance.
 7                2.     Counsel performed deficiently and prejudiced Kiles in
                         failing to challenge the 1986 conviction as a basis for the
 8                       (F)(2) aggravator.
 9         Not only did counsel have a duty to investigate the alleged aggravators,
10 counsel had a further duty to contest them on legal grounds as appropriate. See
11 Correll, 539 F.3d at 947–48. Counsel did make some legal challenges to the alleged
12 aggravators, by arguing for example that Kiles’s prior conviction for attempted
13 aggravated assault could not support the (F)(2) aggravating circumstance.104 (See
14 ROA 743 at 1.) However, counsel failed to contend that the aggravated assault
15 could not support the (F)(2) aggravating circumstance. Instead, when arguing that
16 the attempted aggravated assault should be precluded, counsel conceded, “[t]he
17 other one, the aggravated assault, clearly comes in.” (Tr. Mar. 20, 2006 at 16–17.)
18
19   103
         In fact, the judgment from 1986 originally failed to mention the assault statute
20   altogether and instead mistakenly cited the statute for endangerment. (See Trial Ex.
     140 at 10 (listing conviction for A.R.S. § 13-1201).) In 1990, the superior court
21   corrected the judgment to reflect that Kiles was convicted for assault under A.R.S.
     § 13-1203, instead of for endangerment under A.R.S. § 13-201. Even then, the court
22   provided no indication of which subsection of § 13-1201 was at issue. Powell
     sought to enter the 1990 order correcting the judgment into evidence, but then
23   withdrew the proffered exhibit. (See Tr. Apr. 4, 2006 at 3–4.)
24   104
          While the Arizona Supreme Court had previously upheld the aggravated
     assaulted as a valid basis for the (F)(2) aggravator in this case, it had held the same
25   for the attempted aggravated assault conviction. See State v. Kiles, 857 P.2d 1212,
26   1224 (Ariz. 1993). That ruling had not stopped counsel from challenging the latter
     conviction. (See Tr. Mar. 20, 2006 at 14–20.) Moreover, counsel did try,
27   unavailingly, to challenge the authentication of the State’s evidentiary proof of the
     aggravated assault under the Arizona Rules of Evidence. (See Tr. Apr. 3, 2006 at
28   6–9.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 189 of 500



 1         Counsel were deficient for not disputing whether the aggravated assault
 2 could support the (F)(2) aggravating circumstance. Counsel had an obligation under
 3 the Sixth Amendment to contest aggravators. See White v. Ryan, 895 F.3d 641, 664,
 4 666 (9th Cir. 2018) (recognizing counsel’s obligation to challenge aggravating
 5 circumstances and holding counsel deficient for failing to do so). Here, counsel
 6 made no strategic decision not to contest the aggravating circumstance. Instead,
 7 counsel made a mistake of law. Counsel knew that the former version of the (F)(2)
 8 aggravator applied—they corrected the court’s proposed jury instruction to ensure
 9 that it reflected the statutory text at the time of Kiles’s crime. (See Tr. Mar. 16, 2006
10 at 24.) Even so, counsel did not research adequately and find the Arizona Supreme
11 Court cases making clear that Kiles’s conviction did not suffice under the old
12 statutory text. Counsel wrongly believed that Kiles’s conviction for aggravated
13 assault supported the (F)(2) aggravator. (See Tr. Mar. 20, 2006 at 16–17.) But a
14 mistake of law is not a reasoned judgment; it is deficient performance. See Hinton
15 v. Alabama, 571 U.S. 263, 275 (2014) (deeming counsel’s “inexcusable mistake of
16 law” deficient performance); White, 895 F.3d at 666 (“A decision based on a
17 misunderstanding of the law is not sound trial strategy.”). Accordingly, counsel’s
18 error was unreasonable and deficient.105
19         Had counsel raised this challenge to the trial court, there is a reasonable
20 likelihood that there would have been a different outcome. Because Arizona
21
22   105
       Independently, counsel had an obligation to investigate the basis for the State’s
23 alleged aggravator. See 2003 ABA Guideline 1.1 cmt. (noting that counsel may
   need to mount a collateral attack on a prior conviction); 2003 ABA Guideline 10.7
24 cmt. Had counsel investigated Kiles’s 1986 aggravated assault, upon information
   and belief counsel would have learned that Kiles’s attorney at the time had not
25 interviewed the eye-witnesses to the incident before advising Kiles to plead guilty
26 and that the 1984 attorney was potentially ineffective for failing to have done so.
   Trial counsel might have been able to challenge the conviction directly on
27 constitutional grounds. (Notably, counsel for Kiles’s first state post-conviction
   proceedings had investigated the attempted aggravated assault and had filed a
28 petition challenging that conviction. (See ROA 225 at 80.))
                                               173
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 190 of 500



 1 Supreme Court precedent is clear that Kiles’s aggravated assault did not constitute
 2 a prior violent felony for the purposes of the (F)(2) aggravating circumstance as it
 3 existed in 1989, the trial court could not have submitted the conviction for the jury’s
 4 consideration. That, in turn, would have significantly changed the jury’s calculus,
 5 as Kiles no longer had a pattern of criminal convictions that predated his capital
 6 conviction. (See ROA 911 at 11–12 (noting that every juror found proven that Kiles
 7 was previously convicted of aggravated assault).) This was especially important
 8 because the defense made Kiles’s good behavior—the fact that he was not a future
 9 danger—central to the mitigation story (see Tr. Apr. 27, 2006 at 4–54 (defense
10 expert testimony on Kiles’s exemplary behavior in prison))—and the improper
11 consideration of a prior aggravated assault undercut that story.106 In such
12 circumstances, the fact that the jury improperly considered a prior aggravated
13 assault conviction—indeed, a pattern of escalating criminal violence that the jury
14 should not have seen—undermines the reliability of the verdict. See Strickland, 466
15 U.S. at 694.
16         Even if the trial court had rejected counsel’s challenge, trial counsel’s
17 objection would have preserved the error for appellate review. Had the Arizona
18 Supreme Court properly analyzed the issue instead of relying on its 1993 opinion
19 in Kiles’s case, the court would have been forced to strike down the conviction as
20 a basis for the (F)(2) aggravator. See infra, Claim 12. And, because the court
21 determined that the attempted aggravated assault was likewise invalid as support,
22 the court would have had to strike down the (F)(2) aggravator altogether. The
23 Arizona Supreme Court would then have had to remand the case for a new jury
24 sentencing so that a jury would have the opportunity to determine if the mitigation
25 was sufficiently substantial to call for leniency, in light of the State’s diminished
26   106
       Further, because effective counsel would not only have challenged the
27 aggravated assault as a basis for (F)(2), but also would have presented a
   significantly better mitigation story, see infra, Claim 6, the jury’s entire analysis
28 would have been different. See infra, Claim 39.
                                              174
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 191 of 500



 1 aggravation case. See Ring v. Arizona, 536 U.S. 584, 589 (2002); see also id. at
 2 618–19 (Breyer, J., concurring) (concluding that “the Eighth Amendment requires
 3 individual jurors to make . . . a decision to sentence a person to death”); Claim 21,
 4 infra. At the very least, the Arizona Supreme Court would have had to reweigh the
 5 remaining aggravation, without the (F)(2) aggravator, against all of Kiles’s
 6 mitigation. See Styers v. Schriro, 547 F.3d 1026, 1028 (9th Cir. 2008) (per curiam)
 7 (citing Clemons v. Mississippi, 494 U.S. 738 (1990)). Either way, there can be no
 8 confidence in the reliability of Kiles’s penalty-phase proceeding. See Strickland,
 9 466 U.S. at 694.
10         D.    Counsel were ineffective for failing to investigate and adequately
                 challenge the (F)(6) “especially heinous, cruel or depraved”
11               aggravating circumstance.
12         Because counsel treated the aggravation phase as a reprise of the guilt phase,
13 counsel failed to conduct any investigation geared toward challenging the (F)(6)
14 aggravator, in particular the State’s assertion that the killing of Gunnel was
15 “especially cruel,” prejudicing Kiles. (ROA 1189 at 39–40.)
16         Cruelty concerns primarily the victim’s pain and suffering before death. State
17 v. Anderson, 111 P.3d 369, 394 n.19 (Ariz. 2005). To establish that a crime was
18 “especially cruel,” the State must prove beyond a reasonable doubt that the “victim
19 was conscious during the infliction of the violence and experienced significant
20 uncertainty as to his or her ultimate fate.” Id. Moreover, the State must prove that
21 “[t]he defendant [knew] or should have known that the victim would suffer.” Id.
22         In failing to investigate, counsel squandered the opportunity to develop and
23 present a viable attack on the State’s evidence of cruelty in the killing of Valerie
24 Gunnel. For Gunnel’s death, the State had to rely on some combination of the
25 following evidence in its attempt to establish cruelty: (1) the testimony of the
26 medical examiner, (2) evidence from the crime scene, as interpreted by blood-
27 spatter expert Bevel and as described by lead investigator Rodgers, and (3) the
28 testimony of Hawkins about statements purportedly made to him by Kiles. As the
                                             175
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 192 of 500



 1 State had relied on generally the same types of evidence to establish premeditation
 2 at the guilt phase, counsel should have known what they were facing as the
 3 aggravation phase began. Even so, counsel failed entirely in their duty to
 4 investigate. Because of that failure, the jury unanimously found that the State had
 5 proven cruelty in Gunnel’s killing.107 (ROA 879 at 11–12.) Had counsel adequately
 6 investigated and presented a challenge to the (F)(6) aggravator, there is a reasonable
 7 probability that at least one juror would have found otherwise. See Strickland, 466
 8 U.S. at 694.
 9                1.    Counsel unreasonably failed to investigate in preparation
                        for a challenge to “cruelty” for the purposes of the (F)(6)
10                      aggravating circumstance.
11         Just as with the guilt phase, counsel had a duty to investigate before the
12 aggravation phase. 2003 ABA Guideline 10.11 (“[C]ounsel . . . have a continuing
13 duty to investigate issues bearing upon penalty and to seek information that
14 supports mitigation or rebuts the prosecution’s case in aggravation.”); see also
15 Wiggins v. Smith, 539 U.S. 510, 523 (2003) (ineffectiveness inquiry looks into
16 “whether the investigation supporting counsel’s decision [regarding penalty-phase
17 presentation] was itself reasonable”). And, just as with the guilt phase, counsel
18 failed to do so. In particular, counsel failed to consult with or retain experts who
19 could have helped them combat the State’s case for cruelty. Indeed, counsel did
20 nothing that could constitute investigation with respect to the State’s alleged
21 aggravators, even though proving, for example, cruelty under the (F)(6) aggravator
22 required a different focus than what occurred at Kiles’s guilt phase. There is nothing
23
24   107
        Because the jury did not unanimously find either heinousness or depravity (ROA
     879 at 11–12), the Arizona Supreme Court considered and upheld only the finding
25   of cruelty on direct appeal, State v. Kiles, 213 P.3d 174, 188 (2009). Accordingly,
26   Kiles presently details only counsel’s ineffectiveness with respect to that
     component of the (F)(6) aggravator. However, counsel also could and should have
27   mounted a strong challenge to heinousness and depravity in Gunnel’s killing, by
     presenting evidence of the effects on Kiles of his intoxication at the time of the
28   crime, see infra, Claim 6, and were ineffective for failing to do so.
                                             176
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 193 of 500



 1 to suggest, for example, that counsel re-interviewed any witnesses (see, e.g., Tr.
 2 Mar. 22, 2006 at 56), or adequately reviewed the crime-scene photographs (see Tr.
 3 Mar. 27, 2006 at 136–37 (State eliciting during redirect examination that defense
 4 counsel had misinterpreted the crime-scene photographs).
 5         Most critically, though, counsel once again failed to consult with any expert
 6 prior to the aggravation phase. This, despite the fact that counsel knew full well that
 7 much of the State’s case for (F)(6) hinged on expert testimony. See Hinton, 571
 8 U.S. at 273 (recognizing that in some cases the only available defense strategy
 9 demands expert assistance). That counsel did not even bother to contact an expert
10 before the aggravation phase, even if only to understand the testimony that the
11 State’s experts could offer, was deficient performance. See, e.g., Dees v. Caspiri,
12 904 F.2d 452, 454 (8th Cir. 1990) (per curiam) (determining that counsel had a duty
13 to “make a diligent investigation of the forensic evidence”); Correll, 539 F.3d at
14 947–48 (recognizing that counsel’s duties extend to the State’s aggravation case);
15 2003 ABA Guideline 10.11 cmt. (requiring counsel to “thoroughly investigate to
16 determine whether [the State’s aggravation] can be excluded, rebutted, or
17 undercut”).
18         In light of the types of evidence that counsel knew the State would present in
19 support of cruelty, counsel again should have consulted with the following experts:
20         Pathologist: The State’s medical examiner, Dr. Mallon, testified at the
21 aggravation phase the Gunnel had a defensive wound on her right forearm, and,
22 because of an ill-conceived cross-examination, stated conclusively that Gunnel
23 must have been conscious for the blow that caused that wound. (Tr. Mar. 21, 2006
24 a.m. at 21; Tr. Mar. 21, 2006 at 23–24.) Because counsel had done no reasonable
25 investigation before the guilt or aggravation phases, defense counsel again never
26 questioned Dr. Mallon’s premise: whether the wound was in fact defensive in
27 nature. (See Tr. Mar. 21, 2006 at 20.) Instead, counsel tried repeatedly to establish
28 that the same blow during which Gunnel incurred the wound could also have hit
                                              177
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 194 of 500



 1 her head and knocked her unconscious. (Tr. Mar. 21, 2006 at 21–25.) Counsel
 2 succeed primarily in getting Dr. Mallon to say, over and over, that Gunnel was
 3 conscious and aware for that part of the attack.108 (Tr. Mar. 21, 2006 at 21–25.)
 4         As noted supra, Claim 3, however, counsel should have consulted an
 5 independent pathologist. See Thomas v. Clements, 789 F.3d 760, 769–71 (7th Cir.
 6 2015). Counsel’s disastrous cross-examination revealed a complete lack of
 7 understanding of Dr. Mallon’s findings and how best to address them, which a
 8 consultation with an independent pathologist could have cured. As a pathologist
 9 could have informed counsel and could have testified, there is no way to determine
10 whether Gunnel’s forearm wound was a defensive wound. Gunnel may well have
11 already been dead when the trauma to her arm occurred.
12         That very basic piece of knowledge would have transformed defense
13 counsel’s approach to Dr. Mallon’s testimony. Counsel conceded that Gunnel had
14 a defensive wound and argued about how long she could have remained conscious
15 after the first blow, undercutting Kiles’s testimony that Gunnel went down after the
16 first blow. (See 2006 Trial Ex. 134 at 165–66.) By presenting independent expert
17 testimony or by fashioning a better cross-examination after consulting with an
18 independent expert, counsel could instead have established that what Kiles said—
19 that Gunnel was not conscious after the first blow—was as consistent with the
20 pathologist’s testimony as the State’s theory that Gunnel had remained conscious
21 for some period of time. See Lindstadt v. Keane, 239 F.3d 191, 201–02 (2d Cir.
22 2001) (holding counsel ineffective when counsel failed to educate themselves on
23 the meaning of State’s expert’s findings).
24         Blood-spatter expert: Just as counsel should have consulted with a blood-
25
     108
26    Counsel’s attempt to get Dr. Mallon to say generally that there could have been
   fewer blows that injuries—because a single blow could have caused multiple
27 injuries—also backfired. Dr. Mallon simply explained “And the opposite is true . . .
   [T]he blow in the back of the head could be as a result of one blow or three or four.”
28 (Tr. Mar. 21, 2006 at 17.)
                                             178
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 195 of 500



 1 spatter expert before the guilt phase, they should have done so before the
 2 aggravation phase. See supra, Claim 3; (see also ROA 1189 at 32–35). Through
 3 Tom Bevel, the State elicited that the blood stains on more than one wall of the
 4 living room, where Gunnel was killed, showed “movement.” (Tr. Mar. 27, 2006 at
 5 71.) Bevel said the same for the pillowcase found in the east bedroom, where the
 6 State alleged that the attack on Gunnel began: the blood on the pillowcase evinced
 7 “some movement . . . where the blood source has had lateral motion.” (Tr. Mar. 27,
 8 2006 at 72–73.)
 9         An independent expert could have explained to counsel how to challenge
10 these conclusions, both of which suggested that Gunnel was moving during the
11 attack and was therefore conscious and perhaps aware of the uncertainty of her fate.
12 See Anderson, 111 P.3d at 394 n.19 (defining “especially cruel”). Both conclusions
13 likewise contradicted Kiles’s testimony. (See 2006 Trial Ex. 134 at 165–66.) First,
14 an independent expert would have informed counsel that there is no way to tell
15 whether the blood stains on the various living room walls all occurred during the
16 attack. It is entirely plausible that some of the stains were caused by a flick of a
17 hand with blood on it or the swing of another item with blood after Gunnel’s death.
18 This is especially true as there was a pool of blood on the floor, and people such as
19 Kiles and Kale Johnson were moving around the apartment long before the blood
20 dried. (Tr. July 17, 2000 at 8–9 (Rodgers testifying that the blood in the living room
21 was “still quite wet” when police were at the crime scene); Tr. July 17, 2000 at 190
22 (Kiles testifying that he and Johnson ransacked the apartment looking for things to
23 sell).) Similarly, while counsel accepted Bevel’s testimony that the source of the
24 blood on the pillowcase moved (Tr. Mar. 27, 2006 at 119), an independent expert
25 could have testified that it was plausible that the pillowcase instead moved across a
26 blood source, for example the bloody mattress in the west bedroom (see Tr. Feb.
27 21, 1989 at 37–38 (Rodgers testifying that the blood on the mattress was still wet
28 when police arrived)).
                                             179
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 196 of 500



 1         Armed with such information, counsel could have vigorously challenged
 2 both the State’s assertions that (1) the attack started in the bedroom, where the
 3 pillowcase was found, and (2) Gunnel was conscious and moving around the living
 4 room. (See Tr. Mar. 20, 2006 at 69–70.) Moreover, an independent expert would
 5 have alerted counsel to the fact that Bevel’s methodology for determining the
 6 number of blows was incorrect, as discussed supra, Claim 3; had counsel pointed
 7 this out through a defense expert or through cross-examination, that testimony
 8 would have damaged Bevel’s credibility overall. (See, e.g., ROA 225 Ex. 59.)
 9 Because competent counsel has a duty to “understand the basics of the science
10 involved” in expert testimony, “at least for purposes of cross-examining the State’s
11 experts,” counsel’s failure was deficient. Richey v. Bradshaw, 498 F.3d 344, 362
12 (6th Cir. 2007); see also 2003 ABA Guideline 1.1 cmt. (capital trial counsel “must
13 be able to challenge zealously the prosecution’s evidence and experts through
14 effective cross-examination”).
15         Counsel went into the aggravation phase having conducted no aggravation-
16 focused investigation and entirely unprepared to reasonably challenge the State’s
17 case for cruelty. Had counsel consulted with experts beforehand, counsel would
18 have had the information necessary to develop an appropriate strategy for their
19 presentation and to introduce at least reasonable doubt into the State’s presentation
20 of the aggravating factors. Just as before, though, counsel’s “investigation into the
21 State’s forensic evidence never started,” and so counsel were ill-equipped to make
22 any kind of reasonable decision as to how to proceed. Elmore v. Ozmint, 661 F.3d
23 783, 865 (4th Cir. 2011). But “[u]nder Strickland, counsel’s investigation must
24 determine trial strategy, not the other way around.” Weeden, 854 F.3d at 1070.
25 Because counsel conducted none of the investigation needed to determine strategy,
26 the decisions they made as to how to contest the State’s aggravation case were
27 neither informed nor reasoned. See Wiggins, 539 U.S. at 521; Bemore, 788 F.3d at
28 1162–69.
                                             180
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 197 of 500



 1               2.     Because of the insufficient investigation and lack of
                        preparation, counsel failed to mount an adequate challenge
 2                      to the (F)(6) aggravator, thereby prejudicing Kiles.
 3         Counsel’s unreasoned decision to treat the aggravation phase as a second
 4 guilt phase—in general, the lack of preparation—left counsel scrambling in their
 5 attempt to defend against the State’s allegation that Gunnel’s death was especially
 6 cruel. Instead of corroborating Kiles’s testimony through expert testimony that
 7 Gunnel’s forearm wound could well have occurred after unconsciousness or post-
 8 mortem, counsel had Dr. Mallon state over and over that Gunnel was conscious and
 9 aware past the first blow.109 (Tr. Mar. 21, 2006 at 23–4.) Counsel could have had a
10 blood-spatter expert corroborate Kiles’s testimony, damage Bevel’s credibility, and
11 undermine the theory that Gunnel moved around the apartment by eliciting
12 testimony that the blood-stain evidence was consistent with Gunnel having fallen
13 unconscious (and having remained unconscious) after the initial below. (See, e.g.,
14 ROA 225 Ex. 59.) Instead, counsel allowed Bevel’s testimony to suggest that
15 Gunnel moved around the living room during the attack. (Tr. Mar. 27, 2006 at 62–
16 71.) In so doing, counsel performed deficiently. See Richey, 498 F.3d at 362;
17 Elmore, 661 F.3d at 865.
18         Moreover, because counsel indefensibly treated the aggravation phase as a
19 guilt phase redux, they failed to challenge the lay-witness testimony that supported
20 the State’s depiction of Gunnel’s killing as especially cruel. Notably, the defense
21 did not object when Kale Johnson’s testimony was read into the record. (See Tr.
22 Mar. 23, 2006 at 60; Mar. 27, 2006 at 141.) Indeed, defense counsel actively sought
23 to have the transcript of Johnson’s testimony admitted into the record. (See Tr. Mar.
24
25   109
      As noted supra, Claim 3, counsel also could have confronted Dr. Mallon about
26 his evolving testimony regarding defense wounds, in particular his increasing
   certainty over the years that Gunnel in fact had such a wound and that Gunnel was
27 conscious after the initial blow. (Compare, e.g., Mallon Tr. Dec. 12, 1989 at 8 (such
   wounds “can be defensive wounds”), with Tr. July 13, 2000 at 105 (agreeing that
28 arm wound was a defensive wound)).
                                             181
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 198 of 500



 1 23, 2006 at 60; see also 2006 Trial Ex. 136.) In doing so, counsel sacrificed Kiles’s
 2 opportunity to confront Johnson, even though different issues were important at
 3 aggravation than had been dispositive at the guilt phase. (See ROA 1189 at 39–40.)
 4 For example, at the guilt phase, counsel had attempted to get Johnson to agree that
 5 he had previously testified that his “fingerprints in blood are on the doorframe in
 6 Valerie’s bedroom.” (2006 Trial Ex. 136 at 168.) Johnson repeatedly said, “I don’t
 7 remember” and expressed confusion about the question, so counsel just moved on.
 8 (2006 Trial Ex. 136 at 168–69.) If counsel had properly prepared for the aggravation
 9 phase and had not unreasonably permitted Johnson’s prior testimony to come in,
10 counsel could have elicited testimony about (or impeached him with) his August
11 1994 affidavit. In that affidavit, Johnson stated under oath, “When I was in the
12 apartment, I got some blood on my hands. I tried to get rid of it by wiping my hand
13 on the inside frame of the apartment door.” (ROA 225 Ex. 45 at 2.) Counsel’s failure
14 to elicit such testimony during the aggravation phase was deficient.110
15         Counsel’s unreasonable missteps with respect to the State’s case for cruelty
16 prejudiced Kiles. The Arizona Supreme Court later highlighted the evidence that it
17 believed supported that cruelty had been proven beyond a reasonable doubt:
18               The evidence shows beyond a reasonable doubt that the
                 murder of Valerie was especially cruel. Kiles admitted that
19               Valerie remained conscious after the attack began, and the
20               medical testimony regarding defensive wounds supported
                 that conclusion. . . . A pillow with blood on it consistent
21               with a source that continued to move was found in
                 Valerie’s bedroom. A transfer stain consistent with a
22               person running a bloody hand along a door was also
                 identified. Blood spatter was found between eighteen and
23               twenty-four inches from the ground, indicating that “the
24               source of the blood would be lower toward the floor.” The
                 transfer stain on the door, together with spatter on the lower
25               part of the north and south walls of the living room,
                 indicated that either the blood source or the attacker was
26               moving. A piece of the jack itself was found in the bedroom
27
   110
       Counsel should also have confronted Johnson as discussed supra, Claim 3, as
28 the issues discussed in that section also mattered to aggravation.
                                             182
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 199 of 500



 1                with Valerie’s blood on it. This evidence directly
                  contradicts Kiles’ trial testimony, when, contrary to his
 2                earlier admissions,111 he claimed that when he hit Valerie
 3                with the jack, she fell down in a living room chair and never
                  got up.
 4
     Kiles, 213 P.3d at 188. If counsel had investigated reasonably and presented a
 5
     defense based on that investigation, counsel could have hammered back at nearly
 6
     every piece of evidence later cited by the court. Had counsel performed reasonably,
 7
     the “medical testimony regarding defensive wounds”112 would not have supported
 8
     the conclusion that Gunnel had a defensive wound, but would have said that the
 9
     trauma to Gunnel’s forearm was consistent either with a defensive wound or with a
10
     wound inflicted after loss of consciousness, or even with a wound inflicted after
11
     death. The bloody pillowcase would have suggested only that the pillowcase was
12
     moved while the apartment was ransacked (Tr. July 17, 2000 at 190), not that
13
     Gunnel moved after the attack began. Similarly, the blood stains in the living room
14
     would have been evidence of movement by someone at some time, plausibly after
15
     the attack was over, not movement by Gunnel during the attack. That the jack was
16
     found in the bedroom would have been immaterial, as much of the crime scene had
17
     been compromised by the time it was photographed. And the jury would have
18
     known that Kale Johnson left the transfer stain on the door (see ROA 225 Ex. 45 at
19
     2); Gunnel did not do so during the attack.
20
           Perhaps most importantly, counsel would have neutralized much of the
21
     State’s expert and other testimony that contradicted Kiles’s claim and that therefore
22
     damaged his credibility. Kiles’s testimony was critical, in that it explained to the
23
     jury how this crime could have occurred without being especially cruel under
24
     Arizona law. Accordingly, bolstering Kiles’s credibility—instead of making
25
26   111
       The only contrary statement Kiles purportedly made was the one about which
27 Hawkins   testified. (See Tr. Mar. 22, 2006 at 35–39.)
   112
       Even accepting as true Dr. Mallon’s testimony, Gunnel had only one defensive
28 wound. (See Tr. Mar. 21, 2006 a.m. at 15–26.)
                                              183
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 200 of 500



 1 concessions that affirmatively damaged it—was essential to the defense case. See
 2 Bennett v. Cate, 407 F. App’x 213, 215 (9th Cir. 2010) (“Because [the defendant]
 3 took the stand, it was critical to have any objective physical and forensic evidence
 4 to support his version.”).
 5         Had counsel investigated and prepared in accordance with their Sixth
 6 Amendment obligations, the jury would have been left with no “conclusive
 7 evidence that the victim was conscious during the infliction of the violence and
 8 experienced significant uncertainty as to [her] ultimate fate.” Anderson, 111 P.3d
 9 at 395 n.19. Practically every facet of the State’s case for cruelty would have been
10 countered by equally compelling evidence from the defense. The State could not
11 have proven beyond a reasonable doubt that Gunnel was conscious after the first
12 blow or that she experienced any pain.113 See State v. Clark, 616 P.2d 888, 896
13 (Ariz. 1980) (rejecting a finding of cruelty when there was insufficient evidence
14 that the victims suffered pain). In such circumstances, there is a reasonable
15 probability that at least one juror would have concluded that the State had not
16 proven beyond a reasonable doubt that the killing of Gunnel was especially cruel.
17 See Strickland, 466 U.S. at 694. Counsel were thus ineffective for failing to
18 reasonably challenge the (F)(6) aggravator with respect to Gunnel’s death.
19         E.    Counsel performed deficiently and prejudiced Kiles by failing to
                 frontload mitigation at the aggravation phase.
20
21         As the primary goal of a capital-defense attorney is to avoid a death sentence,
22 counsel must take every reasonable opportunity to ensure that outcome. See 2003
23 ABA Guideline 10.11 (“[c]ounsel at every stage of the case should take advantage
24 of all appropriate opportunities to argue why death is not suitable punishment for
25 their particular client”). One critical way of doing so is to ensure that the jury is
26
27   113
      This is not to suggest that proof beyond a reasonable doubt of consciousness
   alone would have sufficed to establish cruelty. See State v. Soto-Fong, 928 P.2d
28 610, 627–28 (Ariz. 1996).
                                              184
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 201 of 500



 1 introduced to the defense’s mitigation story as early as possible during proceedings.
 2 In other words, counsel must “frontload” the mitigation. See Eaton v. Wilson, No.
 3 09-CV-261-J, 2014 WL 6622512, at *149 (D. Wyo. Nov. 20, 2014) (citing expert
 4 testimony on frontloading and calling the frontloading of mitigation “so crucial in
 5 a death penalty case”). This is especially important as there is “reason to believe
 6 that a number of jurors make up their minds about the defendant’s punishment even
 7 before they hear any evidence in the penalty phase.” Stephen Garvey, Aggravation
 8 and Mitigation in Capital Cases: What Do Jurors Think? 98 Colum. L. Rev. 1538,
 9 1543 (Oct. 1998). Here, given the near certainty that the State would be able to
10 establish at least one aggravator for at least one victim in Kiles’s case, counsel had
11 a duty to frontload mitigation for Gunnel’s death during the aggravation phase. See
12 2003 ABA Guideline 10.11; see also Strickland, 466 U.S. at 688.
13         As the State had alleged Gunnel’s and the children’s deaths were especially
14 heinous and depraved for purposes of the (F)(6) aggravator, trial counsel had an
15 opportunity to frontload mitigation. Under Arizona law, the “terms ‘heinous’ and
16 ‘depraved’ focus on the defendant’s mental state and attitude at the time of the
17 offense as reflected by his words and actions.” Anderson, 111 P.3d at 395 n.19.
18 Because the State put Kiles’s mental state at issue, counsel had a clear opportunity
19 to introduce evidence going to Kiles’s mental state that also previewed for the jury
20 Kiles’s impairments. Indeed, the Ninth Circuit has specifically concluded that
21 evidence of a defendant’s mental impairments can counter the State’s evidence that
22 a crime was committed in an especially heinous manner under Arizona’s (F)(6)
23 aggravator. Summerlin v. Schriro, 427 F.3d 623, 641–42 (9th Cir. 2005) (en banc).
24         Counsel’s failure to frontload mitigation relating to Gunnel’s death was not
25 strategic. Counsel did not even consider the possibility of frontloading mitigation.
26 As counsel did not even make a conscious decision not to begin introducing
27 mitigation at the aggravation phase, counsel’s performance is owed no deference as
28 a matter of strategy. Cf. Wiggins, 539 U.S. at 521–22 (counsel’s decisions are due
                                             185
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 202 of 500



 1 deference only when informed by reasonable investigation).
 2         Had counsel considered introducing mitigation at the aggravation stage,
 3 counsel could have previewed for the jury a number of relevant themes that the jury
 4 later saw. See infra, Claim 6 (discussing mitigation available in this case). For
 5 example, counsel could have offered evidence of Kiles’s impulsivity, a major focus
 6 of the mitigation phase, to rebut the allegation of heinousness; similarly, counsel
 7 could have offered evidence of Kiles’s organic brain dysfunction to demonstrate
 8 Kiles’s state of mind around the time of the crime. (See, e.g., Tr. Apr. 25, 2006 at
 9 101 (defense expert testifying that homicides were, to a reasonable degree of
10 medical certainty, attributable to Kiles’s impulsivity).) In fact, in Summerlin, the
11 Ninth Circuit held that the “strong psychiatric evidence of Summerlin’s lack of
12 impulse and emotional control and organic brain dysfunction could have provided
13 significant mitigating evidence countering the State’s circumstantial evidence” of
14 heinousness. 427 F.3d at 641–42. Kiles’s counsel could have done the same.
15 Moreover, Kiles’s counsel could have started to introduce the jury to Kiles’s
16 addictions and their effects on him. While counsel sporadically had witnesses touch
17 upon Kiles’s drug use during the aggravation phase (see, e.g., Tr. Mar. 22, 2006 at
18 67–68), no effort was made to start explaining to the jury the effects of those
19 addictions on Kiles’s brain and mental state—including the effects of his drug-
20 induced psychosis—around the time of the crime (see, e.g., Tr. Feb. 21, 1996 at
21 177–85). Counsel’s failure to do so was deficient performance.
22         Kiles was, moreover, prejudiced by counsel’s failure. Counsel could have
23 framed the jury’s understanding of Kiles’s crime from the outset in terms of his
24 impairments, giving the jury and integrated understanding of both the crime and
25 why it occurred. As the jurors learned about the crime, they would also have learned
26 about Kiles’s mental illness and impairments. See Eaton, 2014 WL 6622512 at
27 *149 (quoting expert testimony on how frontloading “help[s] the jury to understand
28 [the defendant] as fully human as early as possible”). This approach would have
                                            186
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 203 of 500



 1 helped the jurors absorb Kiles’s ensuing mitigation presentation and use it to give
 2 context to the crime. While this may not have affected the aggravation-phase
 3 outcome, there is a reasonable probability that at least one juror, having heard the
 4 mitigation at the outset and throughout the penalty-phase proceedings, would have
 5 voted differently on the sentence for Gunnel’s death. Cf. Jackson v. Calderon, 211
 6 F.3d 1148, 1164 (9th Cir. 2000) (noting the importance of mitigation and finding
 7 prejudice from deficient performance with respect to mitigation when crime was
 8 “an unplanned encounter between a grossly intoxicated, originally unarmed
 9 defendant and a victim suddenly ending in death”).
10         F.     Counsel were ineffective for failing to properly object to Kiles’s
                  restraints.
11
12         Kiles’s counsel were deficient for failing to properly object to Kiles’s
13 shackling, as well as for failing to ensure that Kiles’s restraints were not visible to
14 the jury, and counsel’s deficient performance prejudiced Kiles.
15         Throughout penalty-phase proceedings, Kiles was forced to wear a leg
16 brace—designed to lock up if he moved too quickly—and an electric stun belt
17 around his waist. Kiles had to hold the leg brace in place at times when he was
18 walking to prevent it from locking up as he moved. At least one juror saw Kiles’s
19 physical restraints—including a belly chain with handcuffs—both when a door
20 opened when he was waiting to come into the courtroom and when he was sitting
21 at the defense table.
22         As detailed supra, Claim 3, Kiles had a right under the Due Process Clause
23 not to be tried wearing shackles unless there were no acceptable alternatives,
24 because of the inherent prejudice of shackles. Holbrook v. Flynn, 475 U.S. 560,
25 568–69 (1986). That right was intended to protect the presumption of innocence
26 and the impartiality of the jury, preserve Kiles’s ability to assist counsel in his own
27 defense, and to ensure the dignity of judicial proceedings. See Illinois v. Allen, 397
28 U.S. 337, 344–45 (1970); see also supra, Claim 3. However, Ninth Circuit
                                              187
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 204 of 500



 1 precedent makes clear that even restraints that are not visible to the jury—namely,
 2 the electric stun belt—can undermine those rights and interests. See Gonzalez v.
 3 Pliler, 341 F.3d 897, 900 (9th Cir. 2003).
 4         Before Kiles’s aggravation phase, trial counsel objected to visible shackling
 5 and leg braces, but did not object to making Kiles wear the electric stun belt. (See
 6 Tr. Feb. 14, 2006 at 41–43 (“I’m agreed with what they make him wear under his
 7 clothes. I just don’t want him to be hobbling in here with those leg things that lock
 8 up.”).) However, as detailed infra, Claim 8, even non-visible restraints such as the
 9 electric stun belt can have a devastating effect on, for example, a defendant’s ability
10 to communicate easily with counsel. Gonzalez, 341 F.3d at 900 (noting that the use
11 of a stun belt “raises all of the traditional concerns about the imposition of physical
12 restraints”.) Accordingly, counsel had a duty to challenge the use of that restraint
13 without an individualized finding of necessity just as much as counsel had a duty
14 to challenge visible shackles. See id.; see also, e.g., Roche v. Davis, 291 F.3d 473,
15 483 (7th Cir. 2002). Moreover, for the reasons infra, Claim 8, and supra, Claim 3,
16 if faced with such a challenge, the trial court likely would not have required Kiles
17 to wear a stun belt, because as even the court recognized, Kiles was no security
18 threat. (Tr. Feb. 14, 2006 at 42 (court “[could not] recall any time that Mr. Kiles
19 ha[d] been a security problem, or risk”).)
20         Counsel’s aggravation-phase failure to protect Kiles’s due-process rights not
21 to be restrained unnecessarily, in conjunction with counsel’s failure to ensure that
22 Kiles’s restraints were not visible, was prejudicial. This is especially true because
23 of the particular dangers of stun belts, see Gonzalez, 341 F.3d at 901, and the fact
24 that at least one juror saw Kiles’s wearing chains around his waist. Had counsel
25 properly protected Kiles’s rights, there is a reasonable probability that at least one
26 juror would have voted differently. See Strickland, 466 U.S. at 694; see also State
27 v. Gomez, 123 P.3d 1131, 1139–42 (Ariz. 2005) (reversing death sentence because
28 capital defendant was shackled without necessary individualized finding).
                                              188
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 205 of 500



 1         G.    Counsel were ineffective for failing to object to, or to request a
                 curative instruction for, the prosecutor’s misconduct in opening
 2               and closing statements.
 3         During the aggravation phase, the prosecutor gave an opening statement that
 4 consisted largely of improper argument and gave a closing statement filled with
 5 vouching, mischaracterizations of the evidence, insults to the defense, and other
 6 misconduct. Counsel were ineffective for failing to object to the State’s closing and
 7 to request a curative instruction regarding the opening or the closing. See Zapata v.
 8 Vasquez, 788 F.3d 1106, 1112 (9th Cir. 2015).
 9      As discussed in detail infra, Claim 9, Powell used his aggravation-phase
10 opening statement to lay out an improper argument, filled with vouching and other
11 misconduct, for the jury. Throughout the statement, Powell repeatedly informed the
12 jury of what “we know.” For example, he declared,
13              February 9th, Thursday. What do we know about that day?
                We know that the defendant and Valerie did laundry. We
14              know that Wade Ward . . . stopped by to visit. Stopped by
15              the apartment to see Shemaeah and to talk to Valerie. And
                we also know that during that day the defendant stole
16              Valerie’s food stamps; the food stamps that she used to feed
                her children. We then know that the defendant sold them so
17              that he could purchase drugs, which he did, so that he and
18              his friends could use drugs, which they did.

19 (Tr. Mar. 20, 2006 at 67–68.) Powell continued in that vein, instructing the jurors
20 as to what the State knew to be true—even though some of this information had
21 been contested at the guilt phase—and therefore throwing the weight of the State
22 behind the credibility and accuracy of certain testimony that was to come. See
23 United States v. Younger, 398 F.3d 1179, 1191 (9th Cir. 2005) (prosecutor should
24 not use the phrase “we know” unless summarizing evidence already admitted at
25 trial). Powell further improperly vouched for the credibility of various pieces of
26 evidence and misled the jury. (See, e.g., Tr. Mar. 20, 2006 at 79 (Powell telling the
27 jury that Hawkins’s Silent Witness letter was “consistent with the physical
28 evidence”)); see also United States v. Kerr, 981 F.2d 1050, 1053 (9th Cir. 1992)
                                             189
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 206 of 500



 1 (“A prosecutor has no business telling the jury his individual impressions of the
 2 evidence.”).
 3         Trial counsel repeatedly objected to the prosecutor’s improper argument (see
 4 Tr. Mar. 20, 2006 at 76, 79), and eventually moved for a mistrial (Tr. Mar. 20, 2006
 5 at 84). The court denied that motion, but failed to give—and counsel failed to
 6 request—a curative instruction as to the prosecutor’s vouching. (See Tr. Mar. 20,
 7 2006 at 91.) Given the obvious harm from the prosecutor’s vouching, counsel
 8 should have requested a jury instruction that the prosecutor’s comments on the
 9 veracity of the evidence or what the State knew to be true should be disregarded.
10 Counsel knew full well how hard it would be for the defense “to unring this bell”
11 (Tr. Mar. 20, 2006 at 87), and counsel were deficient for failing to request an
12 instruction from the court to help them do so. See Strickland, 466 U.S. at 688.
13         Counsel failed also to object to most of the prosecutor’s closing, although
14 that too was littered with instances of misconduct. See Claim 9, infra. Throughout
15 his closing, Powell belittled the defense, calling it “this ruse” and dismissing the
16 “defense story.” (Tr. Apr. 11, 2006 at 18, 22.) Powell even disparaged defense
17 lawyers, proclaiming that “where defense attorneys make their money is arguing
18 reasonable doubt.” (Tr. Apr. 11, 2006 at 39); see Wilson v. Sirmons, 536 F.3d 1064,
19 1119 (10th Cir. 2008) (recognizing that a prosecutor’s attacks on defense counsel
20 can constitute misconduct). Powell further misstated the evidence, just as he had in
21 the guilt phase, for example, by asserting that Larry Hawkins’s Silent Witness letter
22 said that after attacking Gunnel, “the defendant then went out into the living room
23 and sat there.” (Tr. Apr. 11, 2000 at 25); see also supra, Claim 3; infra, Claim 9.
24 But the letter did not even intimate that the attack had moved from room to room.
25 (See 2006 Trial Ex. 90 at 1; see also Tr. Apr. 11, 2006 at 66.) Then, to corroborate
26 his own misstatements of the evidence, Powell repeatedly announced to the jury
27 that “we know,” for example, “that it was a prolonged beating [of Gunnel],” when
28 such matters were in dispute. (See, e.g., Tr. Apr. 11, 2006 at 25); see also United
                                             190
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 207 of 500



 1 States v. Sanchez, 176 F.3d 1214, 1224 (9th Cir. 1999) (“As a general rule, a
 2 prosecutor may not express his opinion of the defendant’s guilt or his belief in the
 3 credibility of government witnesses.”) (quoting United States v. Molina, 934 F.2d
 4 1440, 1444 (9th Cir. 1991). The prosecutor even closed by instructing the jurors as
 5 to exactly what they were going to do: “Twelve people are going to find
 6 unanimously that he killed.” (Tr. Apr. 12, 2006 at 25.)
 7         Even so, trial counsel failed to object to all but one instance of the
 8 prosecutor’s misconduct and failed to seek any kind of curative instruction. (See Tr.
 9 Apr. 11, 2006 at 16–84; Tr. Apr. 12, 2006 at 3–25.) Given the prosecutor’s
10 concerted effort—starting in his opening—to mislead the jury as to the strength of
11 the State’s evidence and to cement in the jury’s minds the credibility of State’s
12 witnesses, that failure was deficient. See Zapata, 788 F.3d at 1112.
13         Moreover, much of prosecutor’s improper argument went directly toward an
14 attempt to establish that Gunnel’s death was especially cruel for the purposes of the
15 (F)(6) aggravator. (See, e.g., Tr. Apr. 11, 2006 at 25.) The harm from that
16 misconduct was only exacerbated by the fact that defense counsel said nothing
17 regarding the evidence in his own opening (see Tr. Mar. 20, 2006 at 94–106),114
18 and, further, lauded Powell as “a very skilled lawyer” and as “a very good lawyer”
19 who “knows what he’s doing” (Tr. Mar. 20, 2006 at 96, 98). Because of the
20 prosecutor’s pervasive misconduct in opening and closing, there is a reasonable
21 probability that absent counsel’s errors in failing to cure that harm at least one juror
22 would have come to a different conclusion. See Strickland, 466 U.S. at 694.
23   114
      Except for the brief mentions of Powell, the defense team, the dates at issue with
24 the crime, and the fact that Kiles would never be eligible for parole, counsel said
   nothing that was specific to Kiles’s case. (See Tr. Mar. 20, 2006 at 94–106.) Instead,
25 perhaps reflecting the fact that he had not worked on the case for counsel said such
26 things as, “During the course of the trial – and in any trial – we are here because of
   a dispute. We’re here because the State has a view of facts different than the
27 defense. We’re here because things have happened outside of your view – outside
   of even your concern at this point – has [sic] brought us to this point, to this precise
28 moment.” (Tr. Mar. 20, 2006 at 97.)
                                              191
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 208 of 500



 1         H.     Counsel were ineffective for failing to object to the trial court’s
                  erroneous instruction defining reasonable doubt.
 2
 3         Counsel were ineffective in failing to object to the reasonable-doubt
 4 instruction given to the jury. The trial court instructed the jury that “[p]roof beyond
 5 a reasonable doubt is proof that leaves you firmly convinced that the alleged
 6 aggravating factor is proven.” (Tr. Apr. 11, 2006 at 7–8.) Later, the court instructed
 7 the jury that “conclusive evidence” of cruelty sufficed to establish the (F)(6)
 8 aggravator. (Tr. Apr. 11, 2006 at 13.) Even though counsel had, at the guilt phase,
 9 objected to the instruction lessening the standard of proof that the State had to
10 satisfy (Tr. July 18, 2000 at 27), counsel neglected to do so at the aggravation phase.
11         But the phrase “firmly convinced” reduced the State’s burden of proof to
12 something less than reasonable doubt; it is akin to “clear and convincing.” See, e.g.,
13 State v. Perez, 976 P.2d 427, 442 (Haw. Ct. App. 1998), aff’d in part, rev’d in part
14 on other grounds, 976 P.2d 379 (Haw. 1999). “[T]he reasonable-doubt standard is
15 indispensable to command the respect and confidence of the community in
16 applications of the criminal law.” In re Winship, 397 U.S. 358, 364 (1970). “It is
17 critical that the moral force of the criminal law not be diluted by a standard of proof
18 that leaves people in doubt whether innocent men are being condemned.” Id. A
19 lesser standard of proof, such as “firmly convinced” violates a defendant’s rights to
20 due process under the Fifth and Fourteenth Amendments to the U. S. Constitution.
21 See id. Given the defense’s focus on reasonable doubt throughout its presentation
22 (see, e.g., Tr. Apr. 11, 2006 at 76), there is a reasonable probability that the
23 proceeding would have had a different outcome if the jury had been properly
24 instructed on the definition of reasonable doubt. See Strickland, 466 U.S. at 694.
25         I.     Counsel were ineffective for failing to ensure that a complete
                  record was made of aggravation-phase proceedings.
26
27         As discussed in Claim 16, infra, Kiles’s counsel permitted significant
28 portions of the aggravation phase to go unrecorded. Counsel did so despite Kiles’s
                                              192
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 209 of 500



 1 specific request that a record be made of all proceedings (see, e.g., Tr. Aug. 6, 1999
 2 at 13), and despite the need for meaningful appellate review, see Gregg v. Georgia,
 3 428 U.S. 153, 197–98 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.).
 4 In doing so, counsel performed deficiently and prejudiced Kiles. See Strickland,
 5 466 U.S. at 688, 694.
 6         J.    Counsel’s numerous errors, individually and cumulatively,
                 undermined the reliability of Kiles’s aggravation phase.
 7
 8         Each instance of deficient performance described above is prejudicial was on
 9 its own, but counsel’s aggravation-phase errors caused even more pronounced
10 prejudice. When evaluating an ineffective-assistance claim, this Court must
11 consider the cumulative impact of counsel’s various errors. As the Supreme Court
12 has stated, “In making this [prejudice] determination, a court hearing an
13 ineffectiveness claim must consider the totality of the evidence before the judge or
14 jury.” Strickland, 466 U.S. at 695; see Williams (Terry) v. Taylor, 529 U.S. 362,
15 397–98 (2000); see also White, 895 F.3d at 645 n.1 (ruling that the district court
16 erred by granting a certificate of appealability on a portion of an ineffective
17 assistance claim because the petitioner “has but a single claim regarding his right
18 to the effective assistance of counsel at the penalty phase”); Martin v. Grosshans,
19 424 F.3d 588, 590–92 (7th Cir. 2005) (“[E]ven if [trial counsel’s] errors, in
20 isolation, were not sufficiently prejudicial, their cumulative effect prejudiced
21 Martin’s defense.”); Alcala v. Woodford, 334 F.3d 862, 882–83 (9th Cir. 2003)
22 (granting relief on basis of cumulative impact of multiple errors by counsel);
23 Lindstadt, 239 F.3d 191, 205 (2d Cir. 2001) (granting relief where petitioner was
24 prejudiced by cumulative effect of errors committed by trial counsel); Harris ex rel.
25 Ramseyer v. Wood, 64 F.3d 1432, 1439 (9th Cir. 1995) (holding that cumulative
26 impact of numerous deficiencies in defense counsel’s performance was prejudicial,
27 warranting habeas relief).
28         Here, had counsel not performed deficiently, the jury would not have heard
                                             193
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 210 of 500



 1 that Kiles had a prior “violent” felony conviction for aggravated assault, but would
 2 instead have been introduced to his brain dysfunction and addictions, giving some
 3 sort of context to the crime. Moreover, the jury would have heard that the State’s
 4 case that Gunnel’s killing was cruel came down to possibilities and conjecture, but
 5 certainly nothing that could establish beyond a reasonable doubt that she was
 6 conscious and in pain for a prolonged beating or that she experienced great
 7 uncertainty as to her fate. Had counsel performed competently, there is at least a
 8 reasonable probability that the outcome of the aggravation phase would have been
 9 different. See Strickland, 466 U.S. at 694.
10         K.    The state post-conviction court’s decision that Kiles did not state
                 a colorable claim is no bar to this Court’s de novo review of this
11               claim.
12         The state post-conviction court’s reasoned decision on this claim stated that,
13 with respect to counsel’s failure to challenge the 1986 aggravated assault as a basis
14 for the (F)(2) aggravating circumstance, Kiles had shown neither deficient
15 performance nor prejudice. (See ROA 1214 at 2.)
16         The state-court merits ruling on this claim is contrary to and/or an
17 unreasonable application of clearly established federal law for two distinct reasons.
18 See 28 U.S.C. § 2254(d)(1). As noted supra, Claim 3, the only standard the state
19 post-conviction court ever stated with respect to the prejudice prong of an
20 ineffectiveness-of-counsel claim was an outcome-determinative standard: whether
21 “the outcome would have been different.” (ROA 1214 at 2.) That standard,
22 however, is contrary to or an unreasonable application of the prejudice standard in
23 Strickland. See, e.g., Thomas, 789 F.3d at 767–68 (holding that court’s “would have
24 led to a different result” prejudice standard was an unreasonable application of
25 Strickland); Martin, 424 F.3d at 592 (holding that the state court’s prejudice
26 inquiry—whether “the result of the proceeding would have been different”—was
27 contrary to Strickland). Moreover, the state court’s failure to consider the
28 cumulative effect of the prejudice from the various challenges to aggravators
                                             194
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 211 of 500



 1 foregone by trial counsel was likewise an unreasonable application of or contrary
 2 to clearly established Supreme Court precedent. See, e.g., Strickland, 466 U.S. at
 3 694–95 (“The defendant must show that there is a reasonable probability that, but
 4 for counsel’s unprofessional errors, the result of the proceeding would have been
 5 different. . . . In making this [prejudice] determination, a court hearing an
 6 ineffectiveness claim must consider the totality of the evidence before the judge or
 7 jury.”); White, 895 F.3d at 671; see also, supra, Claim 3.
 8         In addition, the ruling that there was no showing of deficient performance
 9 was an unreasonable application of Strickland and Wiggins, which unambiguously
10 provide that unreasoned “decisions” based on no investigation or preparation are
11 afforded no deference. See Strickland, 466 U.S. at 688; Wiggins, 539 U.S. at 521.
12 To the extent that the state court made a determination of fact on this front, that too
13 was unreasonable. See 28 U.S.C. § 2254(d)(2); see also, e.g., Taylor v. Maddox,
14 366 F.3d 992, 999–1001 (9th Cir. 2004) (discussing ways in which § 2254(d)(2)
15 can be satisfied). As the state-court record makes clear—indeed, as counsel
16 effectively acknowledged on the record—counsel did no investigation to prepare
17 specifically for the aggravation phase. (See, e.g., Tr. Mar. 22, 2006 at 56; Tr. Mar.
18 27, 2006 at 38.) Given this failure to investigate, counsel’s choices to forego a
19 meritorious challenge to the (F)(2) aggravator and to mount an uninformed defense
20 to the (F)(6) aggravator, among other errors, were necessarily deficient.
21         The finding of no prejudice was likewise unreasonable, both because the state
22 court used the improper legal standard as described above, but also because the state
23 court—to the extent it made a factual finding—relied on an unreasonable
24 determination under § 2254(d)(2). See Taylor, 366 F.3d at 1001 (“[W]here the state
25 courts plainly misapprehend or misstate the record in making their findings, and the
26 misapprehension goes to a material factual issue that is central to petitioner’s claim,
27 that misapprehension can fatally undermine the fact-finding process, rendering the
28 resulting factual finding unreasonable.”). Here, the state post-conviction court
                                              195
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 212 of 500



 1 ignored the prejudice from the improper finding of the (F)(6) aggravator in coming
 2 to this conclusion (see ROA 1214 at 1–2), rendering it unreasonable within the
 3 meaning of § 2254(d)(2).
 4         Because Kiles has satisfied § 2254(d), this Court’s analysis is
 5 “unconstrained” by AEDPA deference.115 See Williams, 529 U.S. at 405–06.
 6         L.     Conclusion.
 7         For the reasons stated above, Kiles’s counsel provided ineffective assistance
 8 at Kiles’s aggravation phase, thereby prejudicing Kiles. The state-court decision is
 9 no bar to this Court’s de novo review of this claim, and Kiles is entitled to relief.
10                                        Claim Six
11         Kiles was denied effective assistance of counsel at his mitigation
           phase when his counsel failed to investigate and present powerful
12         mitigating evidence, among other significant errors.116
13         Counsel’s failure to investigate and present powerful mitigating evidence,
14 and counsel’s other significant errors, violated Kiles’s rights under the Sixth,
15 Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles incorporates
16 by specific reference all facts, allegations, and arguments made elsewhere in this
17 Petition. He presented this claim below in similar form. (ROA 1189 at 23–25, 48–
18 61; PFR2 Dkt. 1 at 23–25, 48–61.)
19       A.    A capital defendant must receive an individualized sentencing
               after a full and fair consideration by the jury.
20
21       “There is no more important hearing in law or equity than the penalty phase
22 of a capital trial.” Correll v. Ryan, 539 F.3d 938, 946 (9th Cir. 2008) (quoting
23 Gerlaugh v. Stewart, 129 F.3d 1027, 1050 (9th Cir. 1997) (Reinhardt, J., concurring
24
     115
25    Alternatively, Kiles alleges he can overcome any default by showing cause and
   prejudice attributable to the ineffective assistance of state post-conviction counsel.
26 See Martinez, 566 U.S. at 9; Strickland, 466 U.S. at 688, 694.
27 116 As noted earlier, Kiles uses “mitigation phase” to describe the phase at which
   the defense put on its case for leniency and “penalty phase” to describe his
28 aggravation and mitigation phases together.
                                             196
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 213 of 500



 1 and dissenting)). The Eighth and Fourteenth Amendments enshrine the guarantee
 2 of individualized sentencing and due process in the capital context. See, e.g.,
 3 Lockett v. Ohio, 438 U.S. 586, 602–05 (1978) (plurality opinion). Accordingly, a
 4 capital sentencer must be afforded the opportunity to assess “the character and
 5 record of the individual offender.” Eddings v. Oklahoma, 455 U.S. 104, 112 (1982)
 6 (quoting Woodson v. North Carolina, 428 U.S. 280, 304 (1976)). As the Supreme
 7 Court has explained,
 8               If the sentencer is to make an individualized assessment of
                 the appropriateness of the death penalty, “evidence about
 9               the defendant’s background and character is relevant
10               because of the belief, long held by this society, that
                 defendants who commit criminal acts that are attributable
11               to a disadvantaged background, or to emotional and mental
                 problems, may be less culpable than defendants who have
12               no such excuse.”
13 Penry v. Lynaugh, 492 U.S. 302, 319 (1989) (quoting California v. Brown, 479 U.S.
14 538, 545 (1987) (O’Connor, J., concurring)), abrogated on other grounds by Atkins
15 v. Virginia, 536 U.S. 304 (2002). The assistance of competent and qualified counsel
16 is necessary to safeguard these fundamental principles. E.g., Strickland v.
17 Washington, 466 U.S. 668, 685 (1984) (“[C]ounsel’s skill and knowledge is
18 necessary to accord defendants the ‘ample opportunity to meet the case of the
19 prosecution to which they are entitled.’”) (quoting Adams v. United States ex rel.
20 McCann, 317 U.S. at 275, 276 (1942)).
21     B.    Kiles’s personal history.
22         Kiles was born on May 21, 1961, to Imojean Long Kiles and Alvie Kiles, Sr.,
23 in Yuma, Arizona. (ROA 225 Ex. 1 at 1.) Imojean met Alvie, Sr. when she was 16
24 years old. (ROA 225 Ex. 37 at 3.) A few years later, after his marriage to another
25 woman was annulled, Alvie, Sr. and Imojean married in 1952. (ROA 225 Ex. 37 at
26 3.) She did not love him and married him only to escape her own violent and erratic
27 father. (ROA 225 Ex. 37 at 3.) Her mother had died when she was 12. Alvie, Sr.
28 sent a letter from California to Imojean, proposing and stating that he needed to be
                                            197
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 214 of 500



 1 married by the year’s end. She agreed, and they married two months later.
 2         Imojean and Alvie, Sr.’s relationship, marred by alcoholism and mental
 3 illness, was chaotic and tenuous from the start. Alvie, Sr. drank often. (ROA 225
 4 Ex. 37 at 3.) The two fought constantly. (ROA 225 Ex. 39 at 1.) Alvie, Sr. began
 5 hitting Imojean whenever she said something he did not like; she quickly learned
 6 that he was mean and violent. (ROA 225 Ex. 37 at 4.) After just four months of
 7 marriage, he beat her so hard she was left with scars on both of her legs. (PFR2 Dkt.
 8 27 Ex. 21 at 21.) She fled back to her abusive and alcoholic father’s house in Yuma,
 9 as even the violence of that home was preferable to her life with Alvie, Sr. (PFR2
10 Dkt. 27 Ex. 21 at 21.) Alvie, Sr. followed her, and she agreed to get back together
11 with him on the condition that they move to Yuma, which they did. (PFR2 Dkt. 27
12 Ex. 21 at 21.) This was the first go-around in an unending cycle of Imojean and
13 Alvie, Sr. separating and reuniting, a pattern that recurred for the duration of their
14 relationship. (ROA 225 Ex. 37 at 7.)
15         When they married, Imojean was unaware of Alvie, Sr.’s addiction to alcohol
16 and its effects. He initially drank heavily only on the weekends, when he was not
17 working. (PFR2 Dkt. 27 Ex. 21 at 20.) But his drinking worsened over time. Alvie,
18 Sr. drank heavily for decades, only stopping when he had to near the end of his life
19 by medical conditions. (PFR2 Dkt. 22 Ex. 3 at 3.) His alcoholism was likely both
20 an inheritance and a coping mechanism. He had come from a family full of people,
21 including his mother and siblings, battling alcohol and drug addictions. (ROA 225
22 Ex. 37 at 5.)
23         Likely unbeknownst to Imojean, Alvie, Sr. had also been struggling with
24 serious mental-health issues. One month before he proposed to her, he was
25 diagnosed with Schizoid Personality Disorder. (ROA 225 Ex. 66 at 4.) At the height
26 of the Korean War, when the military was desperate for servicemen, U.S. Navy
27 medical officers deemed him unfit for service because of his mental illness and
28 discharged him. (ROA 225 Ex. 66 at 5.) There were other indications that he was
                                             198
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 215 of 500



 1 unwell, like reports of his heavy alcohol intake and persistent headaches.
 2         Alvie, Sr. never wanted to have children, while Imojean wanted a big family.
 3 (ROA 225 Ex. 37 at 4.) She miscarried three times before giving birth to a child
 4 that was stillborn; it was the son that she had desperately wanted. (ROA 225 Ex. 37
 5 at 4.) Alvie, Sr. disposed of the baby without getting Imojean’s consent or giving
 6 her the chance to say goodbye. (ROA 225 Ex. 37 at 4.) Their first surviving baby
 7 was Janell Kiles, born in 1956. (ROA 225 Ex. 37 at 4.)
 8         About three years after Janell was born, Imojean’s own mental illness
 9 became unmanageable. Imojean had suffered with mental illness for years, which
10 went untreated because of her impoverished upbringing and dysfunctional
11 childhood. As an adult, her illness was exacerbated by the abuse and unhappiness
12 of her marriage. (ROA 225 Ex. 37 at 1–2, 4.) Eventually, Imojean crumbled into a
13 state of complete emotional distress; she mentally decompensated so thoroughly
14 that she had to be hospitalized. (ROA 225 Ex. 37 at 4.) Her doctor insisted she stay
15 in bed, and Janell was sent to California to stay with Alvie, Sr.’s mother, whom
16 Janell described as “mean.” (ROA 225 Ex. 37 at 4; ROA 225 Ex. 39 at 4.). Imojean
17 was prescribed anti-anxiety medication and antidepressants. (ROA 225 Ex. 60 at
18 28.) Following her mental breakdown, Imojean and Alvie, Sr. continued to fight
19 viciously; she coped by downing alcohol and taking prescription medication. (ROA
20 225 Ex. 37 at 4; ROA 225 Ex. 39 at 4; ROA 225 Ex. 60 at 14–15.)
21         While Imojean drank alcohol daily and ingested medication, a combination
22 that took an irreparable physical toll, she and Alvie, Sr. conceived another child.
23 (ROA 225 Ex. 60 at 14–15.) Because of her history of difficulty in carrying babies
24 to term, she did not expect her baby to survive. Thus, she ignored signs of distress,
25 like her nonstop illness, and continued to drink throughout her pregnancy.
26 However, the child did survive, and Kiles was born in 1961, five years after his
27 sister and only surviving sibling. (ROA 225 Ex. 1 at 1.)
28         Kiles began suffering with asthma as an infant. (ROA 225 Ex. 60 at 3.) He
                                             199
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 216 of 500



 1 was prescribed medication (potentially harmful stimulant drugs) as treatment both
 2 as a child and as an adult. (ROA 225 Ex. 60 at 3, 31–32) At one point, Kiles
 3 experienced life-threatening breathing difficulties—traumatic to a young child—
 4 and was tossed in the back of the family car and rushed to medical treatment. (PFR2
 5 Dkt. 23 Ex. 19 at 5.) His parents were incapable of properly tending to Kiles’s
 6 serious health problems due to their own struggles with addiction and mental
 7 illness. Instead of getting Kiles actual treatment for his asthma, his family told him
 8 to hold a Chihuahua in his lap to “help” him breathe when he struggled for air.
 9         Kiles was hit by a moving vehicle shortly before he turned five and rushed
10 to the doctor. He had to stay in bed for weeks after. Following this, he suffered from
11 regular nosebleeds and severe headaches. (ROA 225 Ex. 60 at 4.) Also as a child,
12 Kiles was struck in the head with a baseball bat and lost consciousness. Kiles
13 suffered chronic headaches into adulthood, and even in prison years later, he
14 requested ibuprofen nearly every day for his debilitating headaches. In addition, as
15 a child Kiles wet the bed; he endured bouts of sleep disturbance, nightmares, and
16 sleepwalking into his teenage years.
17         Alvie, Sr. and Imojean were seemingly good financial providers. They
18 worked a variety of jobs throughout Kiles’s childhood. Kiles’s father did
19 maintenance for U.S. Border Patrol and ran a cleaning business. (ROA 225 Ex. 60
20 at 17.) His mother did domestic work; she also worked at the local country club, a
21 marine base, and a cafeteria. (PFR2 Dkt. 27 Ex. 21 at 14–15.) Though his parents
22 worked hard and tried to maintain a veneer of normalcy outside the home, their
23 struggles with alcohol addiction and mental illness shaped their parenting behind
24 closed doors. (ROA 225 Ex. 60 at 27.)
25         Within their home, Alvie, Sr. and Imojean were ill-equipped to provide a
26 safe, nurturing environment conducive to child-rearing. The home in which Kiles
27 and his sister grew up was an unstable, dangerous place. (ROA 225 Ex. 60 at 28–
28 29.) It was filled with vicious fights and violence. (ROA 225 Ex. 60 at 15.) Alvie,
                                             200
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 217 of 500



 1 Sr. continued to physically assault Imojean and did so in front of Kiles and Janell.
 2 (ROA 225 Ex. 39 at 1.) He “cold-cocked” her on multiple occasions. (ROA 225 Ex.
 3 42 at 1.) The cruelty in their relationship was not one-sided. Imojean mistreated
 4 Alvie, Sr. (ROA 225 Ex. 38 at 4.) They beat each other up, and threatened each
 5 other with weapons, including hatchets and butcher knives. (PFR2 Dkt. 20 Ex. 2 at
 6 1; Tr. May 9, 2006 at 57.) One time, Imojean drew a knife on Alvie, Sr. (Tr. Feb.
 7 20, 1996 at 34.) In another incident after he got another woman pregnant, she hit
 8 him in the head with a telephone. The assault was so brutal that Janell felt ill at the
 9 sight of her father’s bloody head. (ROA 225 Ex. 39 at 1.)
10         Imojean’s alcoholism was one of the greatest sources of turbulence in the
11 family, contributing to the home’s unpredictability and chaos. (ROA 225 Ex. 61 at
12 10.) Her drinking was a source of tension with her husband and emotional distress
13 for her children. (ROA 225 Ex. 61 at 10.) Alcohol fueled her temper, causing her
14 to lash out at those around her, including her son and daughter. Kiles hated that his
15 mother drank and he often had to deal with the aftermath, especially when she was
16 in public in a drunken stupor and he had to retrieve her from a bar and put her to
17 bed. (ROA 225 Ex. 61 at 10–11.) He missed many Mondays at school because he
18 did not want to have to deal with what people said about his mother’s behavior over
19 the weekend. (Tr. May 16, 2006 at 26.)
20         Kiles and Janell were tormented by their parents’ behavior toward each other,
21 and at times threw themselves in between their parents. (ROA 225 Ex. 60 at 15.)
22 The children were, quite literally, caught in the middle; they often had to pull their
23 parents off each other to get them to stop hurting one another. (PFR2 Dkt. 22 Ex. 3
24 at 1.) This incubation of terror had dire effects on Kiles and Janell. The constant
25 fighting terrified them. Kiles and Janell called the police on multiple occasions to
26 beg them to stop the fighting, out of fear of what their parents might do to each
27 other. (PFR2 Dkt. 22 Ex. 3 at 1.) Despite the children’s pleas, the police usually did
28 not come. (PFR2 Dkt. 22 Ex. 3 at 1.)
                                              201
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 218 of 500



 1         When Kiles reached a certain age, he tried to protect his mother from his
 2 father by telling his father not to hit her anymore; that made his mother proud
 3 despite the fact that it thrust Kiles further into his parents’ dysfunctional
 4 relationship. (ROA 225 Ex. 37 at 6; ROA 225 Ex. 60 at 22.) Kiles also had to protect
 5 his father from his mother at times. One time, Kiles had to stop Imojean from
 6 pouring hot grease on Alvie, Sr. while he slept. (Tr. May 9, 2006 at 57.)
 7         The parents were not only violent to each other, they were violent to the
 8 children as well. Kiles and Janell were disciplined harshly. They were beaten if they
 9 did not finish all of the food on their plates, or if they got dirty playing outside.
10 (PFR2 Dkt. 22 Ex. 3 at 2.) Their father derived a sinister pleasure from beating his
11 kids. (ROA 225 Ex. 37 at 6.) Alvie, Sr. left marks and scars on Kiles and Janell
12 after whipping them with belts and cords. (ROA 225 Ex. 60 at 16.) Imojean also hit
13 her kids and threw things at them. (ROA 225 Ex. 60 at 16.) After one particularly
14 severe whipping, Janell was left covered with welts. (PFR2 Dkt. 22 Ex. 3 at 2.) And
15 though Alvie, Sr. favored Janell over Kiles, that did not protect her from the brutal
16 attacks. He whipped Janell hard enough with a rope that he drew blood. (PFR2 Dkt.
17 27 Ex. 21 at 18.)
18         Kiles’s father also verbally and physically assaulted and belittled Kiles.
19 (ROA 225 Ex. 60 at 16.) Alvie, Sr. never wanted a son, and he was jealous of the
20 close relationship that Imojean and Kiles shared. (PFR2 Dkt. 27 Ex. 21 at 20.) He
21 rarely took any interest in Kiles, but when he did, it was violent. Alvie, Sr. once
22 pulled a gun on his own son. (ROA 225 Ex. 60 at 16.)
23         Alvie, Sr. and Imojean also had ongoing, repeated extramarital affairs, which
24 they wielded as weapons against each other. (ROA 225 Ex. 39 at 4.) Alvie, Sr.
25 constantly, and accurately, accused Imojean of sleeping with other men. (ROA 225
26 Ex. 42 at 1.) However, he also serially cheated on her, including with members of
27 her own family. (ROA 225 Ex. 54 at 5) Alvie, Sr. had an affair with Imojean’s sister
28 Darnella, which Imojean discovered while pregnant with Kiles; Alvie, Sr. and
                                             202
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 219 of 500



 1 Darnella even had a child together. Additionally, Alvie, Sr. twice impregnated his
 2 niece, the daughter of another one of Imojean’s sisters.
 3         In 1970, when Kiles was eight years old, Imojean filed for and was granted
 4 a divorce for reasons of cruel treatment causing great mental pain and anguish.
 5 (ROA 225 Ex. 17 at 4, 8.) After his parents’ separation, Kiles lived with his mother,
 6 and his father had visitation rights. (PFR2 Dkt. 27 Ex. 21 at 21.) Post-divorce,
 7 Imojean and Alvie, Sr. continued to fight. Alvie, Sr. did not want Imojean to have
 8 a life without him, so he stalked her, parking his car outside of her house to watch
 9 her. (2006 Trial Ex. 174 at 22.) One time, he saw her boyfriend’s car parked outside
10 and smashed all of the windows. (PFR2 Dkt. 22 Ex. 3 at 4.) Even so, Imojean and
11 Alvie, Sr. remarried in 1976. Kiles was 15 years old, and his parents’ reunion felt
12 like an intrusion into the less chaotic life that Kiles and his mom had created.
13         Imojean regularly threw wild parties at the family home that lasted late into
14 the night. (PFR2 Dkt. 22 Ex. 3 at 4.). People drank, danced, and stripped their
15 clothing off. (Tr. Apr. 26, 2006 at 93.) The next morning, with the adults passed out
16 from drinking too much, Kiles (who was used to alcohol because of his
17 grandfather’s babysitting style) walked through the house, taking sips of alcohol
18 from cups left out. Kiles and other children were left unsupervised at these parties,
19 but they were privy to their parents’ and other adults’ behavior.
20         These parties were symptomatic of the family’s complete lack of appropriate
21 sexual boundaries. At the parties, Kiles’s aunt, Darnella Long, regularly performed
22 sexual dances, during which she moaned and simulated sex, in view of Kiles and
23 the other children. When Kiles was a teenager, Darnella threatened Imojean by
24 telling Imojean that she was going to sleep with Kiles, her nephew. Later, Darnella
25 got into a fight with Kiles’s sister Janell because Darnella tried to sleep with Janell’s
26 husband. Kiles’s uncle and father figure Thom Long was known for sexually
27 propositioning family members and for his fixation with watching his pet rabbits
28 have sex; he constantly invited Kiles to watch. Kiles himself began having sexual
                                               203
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 220 of 500



 1 experiences as young as age six or eight, likely because of the sexual abuse he
 2 experienced.
 3         Throughout his childhood, Kiles was sometimes left to the care of others.
 4 These “caretakers” variously abused and neglected Kiles. At the age of four or five,
 5 his grandfather babysat him and regularly plied him with alcohol. (Tr. May 11, 2006
 6 at 38.) Kiles spent time with his mother’s brother Thom, who was famous in town
 7 for stripping naked and crowing like a rooster. Kiles was left unsupervised with
 8 Janell, who sought him out as a target after suffering through her own beatings. She
 9 regularly kicked him in the face, knocked him down, and otherwise assaulted him.
10 By the time Kiles was a pre-teen, Janell had introduced him to drugs.
11         Kiles and his sister shared traumatic experiences growing up in the same
12 dysfunctional home, and the damaging effects of their childhood manifested
13 throughout their lives in ways both similar and different. Their troubles stemmed
14 from a profound lack of parental instruction in appropriate socialization. (ROA 225
15 Ex. 60 at 27.) They were deprived of stable primary caregivers who modeled
16 appropriate behavior. For example, Alvie, Sr. was a compulsive shoplifter, and he
17 taught Janell to shoplift because it was a fun thing to do. (ROA 225 Ex. 54 at 5.)
18 This behavior haunted Janell from the time she was a young girl through adulthood,
19 as she racked up an extensive history of legal problems related to theft and other
20 charges, and leading to frequent arrests and incarceration. Even when Janell was
21 young and her parents gave her everything she could ever want, she still
22 compulsively stole.
23         Imojean described her daughter as being “trouble since the day she was
24 born.” Janell’s life-long legal troubles were both caused complicated by a relentless
25 battle with addiction. Burdened by a genetic predisposition to alcoholism and
26 shaped by a traumatic childhood, she began drinking when she was just a girl. Janell
27 and Kiles were allowed to drink at home; their mother purchased wine coolers and
28 beer for them. (ROA 225 Ex. 39 at 5.) As a teenager, Janell was already drinking
                                             204
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 221 of 500



 1 heavily; she was ultimately suspended from high school for drinking and fighting,
 2 and she did not graduate. (ROA 225 Ex. 39 at 5.) But Alvie, Sr. and Imojean had
 3 their own problems to deal with, and they never got Janell any help.
 4         It was also during high school that Janell turned to drugs as a means of coping
 5 with her intolerable life. (ROA 225 Ex. 39 at 5.) Janell introduced her younger
 6 brother Kiles to drugs as well—a decision she would later regret. (ROA 225 Ex. 39
 7 at 5.) Janell also ran away from home multiple times. (ROA 225 Ex. 39 at 5.)
 8         In an eerie repeat of Imojean’s history decades earlier, a teenage Janell
 9 attempted to escape her miserable home life by running away with a man. She
10 married him and moved to California. She conceived a child, but the marriage only
11 lasted for a few months. (ROA 225 Ex. 39 at 5–6.) Janell then returned home and,
12 a few years later, married Larry Hawkins, a fellow addict who physically abused
13 and mistreated her. (ROA 225 Ex. 39 at 6.) During one assault, he knocked her front
14 teeth out. Kiles, just a teenager at the time, tried his best to defend his sister from
15 Hawkins’s brutality. (ROA 225 Ex. 39 at 6.)
16         Janell suffered from cocaine addiction and spent years in and out of prison
17 as a result. (PFR2 Dkt. 27 Ex. 21 at 22–23.) The disease of addiction took
18 precedence over everything else for Janell, including her children. (ROA 225 Ex.
19 39 at 7.) Janell ultimately had three daughters, all of whom were raised by Imojean
20 and other family members because Janell was unable to care for them herself.
21 (PFR2 Dkt. 27 Ex. 21 at 25.) At least one of her children was born cocaine-addicted
22 and taken away by the state. (PFR2 Dkt. 27 Ex. 21 at 26.)
23         Kiles, too, failed to escape the long-lasting effects of family dysfunction.
24 Imojean developed an emotionally unhealthy bond—one that was hyper-dependent
25 and pathological—with her son. Everyone in the extended family and in their small
26 town knew that Kiles was close with his mother and that Janell was close with her
27 father; in the Kiles family, each parent had a favorite child. (PFR2 Dkt. 27 Ex. 23
28 at 9.) In a similar vein, Imojean declared that her son was the only man in her life
                                              205
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 222 of 500



 1 (ROA 225 Ex. 37 at 5), and that she loved him more than she loved God. Alvie, Sr.
 2 was jealous of Imojean and Kiles’s close relationship. (ROA 225 Ex. 37 at 5.) Later,
 3 Imojean’s boyfriend was so disturbed by their relationship that the boyfriend
 4 accused Imojean of sleeping with her son. (ROA 225 Ex. 37 at 7.)
 5         Kiles also struggled in school, likely because of his brain damage and
 6 resultant attention-deficit issues. He had no parents to advocate for him, and he
 7 attended a small-town school system ill-equipped to provide for students whose
 8 limitations were not immediately apparent. Eventually, Kiles was put into a
 9 vocational program in high school. He worked at a store for much of the day, and
10 received failing grades in the classes he did take, with no academic assistance.
11         Kiles learned early on, long before he could make reasoned decisions for
12 himself, that alcohol and substances were a means to self-medicate and deal with
13 unpleasant emotions and experiences. (ROA 225 Ex. 60 at 22–23.) The promise of
14 escape through alcohol and other mind-altering drugs was irresistible in a world
15 where he had been exposed daily to circumstances that threatened his existence and
16 over which he had no control. (ROA 225 Ex. 60 at 22–23.) The mental instability
17 that resulted from living in constant fear, desperation, and loneliness further
18 exacerbated the effects of both Kiles’s inherited and acquired mental and physical
19 impairments. The combination allowed his addiction to flourish.
20         Kiles maintained a facade of functionality, even as his dependence on
21 substances increased. He graduated high school, worked low-wage jobs, and made
22 a brief attempt to attend college. (ROA 225 Ex. 4.) But he struggled in the absence
23 of structure, and Kiles realized he was going nowhere; there were no opportunities,
24 and he was falling prey to his addictions. Drugs were heavily trafficked in Yuma
25 and thus were readily available to feed his habit.
26         Growing up in Yuma provided its own threats to Kiles’s development. Yuma
27 is famously an agricultural community and, for long periods, carried with it a
28 serious risk of environmental-toxin exposure. The pesticides used when Kiles was
                                             206
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 223 of 500



 1 a child in the 1960s and 1970s were toxic to a child’s development, and many have
 2 since been banned. Kiles picked fruit for local farmers as a youth, and he spent time
 3 playing in fields with friends, picking fruit off trees and eating it. He fished out of
 4 the Colorado River, which runs through Yuma, and ate the fish that he caught. The
 5 Colorado River was also polluted from pesticides and likely provided Yuma’s
 6 drinking water.117 Yuma is even home to a Superfund site: the Yuma Marine Corps
 7 Air Station, where Kiles’s mother worked. All of these factors affected Kiles’s
 8 environment and potentially his development.
 9         Struggling to find a place for himself, Kiles saw the military as a viable
10 opportunity to make something of himself and get out of Yuma. He knew that if he
11 stayed in Yuma, he would be doomed to a life he knew he didn’t want for himself.
12 He wanted something better. He had relatives, including his father, who had served
13 in the armed forces; he saw examples in other young men from the community who
14 served and returned with good, stable employment. He wanted that for himself.
15         Kiles joined the Air Force and moved out of Yuma to a base in Spokane in
16 an effort to regain control of his life. His effort was not supported by everyone in
17 his family. Imojean could not handle her son’s departure, and she suffered another
18 mental decline because of the separation from her son. (ROA 225 Ex. 60 at 17.)
19 After he left, she drank excessively, cried continuously, and slept in his bed. (ROA
20 225 Ex. 60 at 17.)
21         Kiles enlisted with the full intent and the earnest desire to stop using alcohol
22 and drugs and to embark on a military career. He envisioned a whole future for
23 himself, a full and stable life, including a plan to retire from the military and become
24
25   117
      Yuma experienced excessive pesticide use and studies from the 1960s showed
26 that the Colorado River in Yuma was so polluted by agricultural pesticides that it
   constituted a “serious hazard” to fish and users of its water, which was used for
27 domestic consumption. See EPA, Review and Evaluation Report on Pesticide
   Pollution of the Lower Colorado River (May 1973), https://nepis.epa.gov/Exe/
28 ZyPDF.cgi/91022Q8X.PDF?Dockey=91022Q8X.PDF at 2, 4.
                                              207
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 224 of 500



 1 a firefighter. The structure of the military helped Kiles focus on his future, and he
 2 excelled in some respects in the Air Force. He was selected to return to Yuma to
 3 recruit high school students and march in a parade. But the grip of alcoholism—a
 4 progressive disease worsened by his genetic predisposition to addiction and brain
 5 damage—proved too strong. (ROA 225 Ex. 60 at 25.) Because of his addiction,
 6 Kiles endured an earlier-than-wanted departure from the service and faced a
 7 humiliating return to Yuma.
 8         Kiles’s father, Alvie, Sr., had become ill while Kiles was a teenager, and for
 9 years, Alvie, Sr. dealt with a myriad of health issues. (ROA 225 Ex. 60 at 17–18.)
10 While Kiles was away in the military, his father took a turn for the worse, which
11 greatly upset Kiles. (ROA 225 Ex. 57 at 2.) Shortly after Kiles returned from the
12 military, Alvie, Sr. died. Even though Kiles had endured countless beatings and
13 humiliations at his father’s hand, the death devastated Kiles. (ROA 225 Ex. 60 at
14 28–29.) Kiles was aware that his father resented him, but he was still desperate for
15 his father’s affection. Now, he would never have a chance to gain his approval.
16         Kiles’s ejection from the Air Force in 1983 took a psychological toll on him,
17 and derailed his sole plan for success. Kiles was clinically depressed; he felt
18 defeated, hopeless, and lost, and he coped the same way he learned to cope during
19 his childhood—by escaping with substance abuse. (ROA 225 Ex. 39 at 5; ROA 225
20 Ex. 60 at 35–36.) Friends and family noticed an immediate difference in Kiles after
21 his discharge; “he was empty inside.” He began associating with other addicts. In
22 the ensuing years, Kiles’s life devolved into a pattern of increased drinking and
23 drug dependence linked to legal troubles, multiple incarcerations, difficulty
24 maintaining employment, and general instability.
25         In an attempt to escape his environment, Kiles fled Yuma again for Las
26 Vegas in 1985. There, he was involved in an automobile collision, where he lost
27 consciousness. Despite the head injury and continued substance use, he had been
28 having a modicum of success. He had two jobs and was living with relatives, when
                                             208
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 225 of 500



 1 his mother—grieving the loss of her on-again-off-again husband—threatened to kill
 2 herself if Kiles did not return to Yuma. Kiles was so torn about the prospect of
 3 returning to Yuma that he wept while debating his options with his cousin.
 4         Once forced to return to Yuma, Kiles’s emotional instability worsened by the
 5 day. Every time Kiles attempted to dig himself out, he failed. By this time, his
 6 addiction was dictating his behavior. Every impulsive reaction or decision—the
 7 ones that often led to an altercation or a legal problem—occurred while Kiles was
 8 high. He managed to stay clean when in the structure of a prison setting, but he
 9 struggled when in the community, particularly considering the superficial
10 interventions and limited level of treatment available in Yuma at the time. The
11 parole officer to whom Kiles was assigned did not make Kiles submit to regular
12 urinalysis testing, as required by his conditions of release. He also allowed Kiles to
13 visit the “Black Elks” Club, a well-known local watering hole, full of partying
14 alcoholics.118 Kiles attended some AA/NA meetings and made small steps of
15 progress. He strived for sobriety and began to realize the detrimental effects of
16 growing up in a family of people struggling with addiction. However, he was unable
17 to truly address his addiction without outside support and while still stuck in Yuma.
18         In early 1989, Kiles encountered Kale Johnson at a local park. Johnson, who
19 was also an addict, urged Kiles to shoot up cocaine. The following weeks were one
20 extended drug and alcohol binge, during which Kiles was not eating or sleeping,
21 and was both losing weight and losing touch with reality. In a moment of
22 desperation, he asked his mother to get him into the hospital for help, but he was so
23 impaired that he could not follow through. At her wit’s end, Imojean tried to
24 convince her son’s parole officer to find Kiles in violation of his parole, so that
25 Kiles would end up back in jail and could get some help for his debilitating
26
27   118
      In Yuma, there were two Elks Clubs, and they were divided by race. They were
   referred to as the “Black Elks” and the “White Elks.” Yuma was an extremely
28 racially segregated place, and racism was pervasive.
                                             209
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 226 of 500



 1 addiction. Rather than investigating further and facilitating the appropriate services,
 2 the parole officer was not concerned, even though by that time Kiles was
 3 incoherent, rambling, and paranoid—in the throes of a drug-induced psychosis.
 4 (ROA 225 Ex. 38 at 2–3; ROA 225 Ex. 41 at 1.)
 5         C.     A defendant’s right to a full mitigation investigation and
                  presentation necessitates effective counsel at the mitigation phase
 6                of trial.
 7         As discussed above, a defendant’s right to place before the sentencer all
 8 relevant evidence during the mitigation phase of sentencing hinges on the right to
 9 effective counsel. Kiles’s counsel had a duty to ensure that the jury heard the full
10 scope of mitigating evidence, including Kiles’s full social history. The
11 consideration of the defendant’s life history is a “constitutionally indispensable part
12 of the process of inflicting the penalty of death.” Woodson, 428 U.S. at 304.
13         In Strickland, the Supreme Court outlined the standard for determining when
14 counsel has provided ineffective assistance. See, e.g., Claim 2, supra. Under
15 Strickland, counsel is constitutionally ineffective if (1) “representation fell below
16 an objective standard of reasonableness,” and (2) “there is a reasonable probability
17 that, but for counsel’s unprofessional errors, the result of the proceeding would have
18 been different.” 466 U.S. at 687–88, 694. When evaluating prejudice, a court must
19 consider “the totality of the evidence—both that adduced at trial, and the evidence
20 adduced in the habeas proceeding[s].” Wiggins v. Smith, 539 U.S. 510, 536 (2003)
21 (quoting Williams v. Taylor, 529 U.S. 362, 397–398 (2000)).
22         The Supreme Court has since repeatedly applied the requirements of
23 Strickland and the Sixth Amendment to the capital-sentencing context. It is clearly
24 established federal law that counsel provides ineffective assistance where he or she
25 “fail[s] to investigate and to present substantial mitigating evidence to the
26 sentencing jury.” Williams, 529 U.S. at 390.
27         Absent an objectively reasonable basis for doing otherwise, “counsel must
28 conduct sufficient investigation and engage in sufficient preparation to be able to
                                              210
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 227 of 500



 1 ‘present [ ] and explain[ ] the significance of all the available [mitigating]
 2 evidence.’” Correll, 539 F.3d at 942 (alterations in original) (quoting Mayfield v.
 3 Woodford, 270 F.3d 915, 927 (9th Cir. 2001) (en banc) (quoting Williams, 529 U.S.
 4 at 399)); see also, e.g., Sears v. Upton, 561 U.S. 945, 953 (2010) (holding that trial
 5 counsel’s inadequate investigation, which led to a misleading portrayal of
 6 petitioner’s upbringing, was deficient and prejudicial); Wiggins, 539 U.S. at 534–
 7 35 (counsel’s decision to limit mitigation investigation was unreasonable and
 8 prejudicial); Williams, 529 U.S. at 396 (concluding that counsel’s failure to uncover
 9 and present extensive mitigation was not a tactical decision when counsel had not
10 thoroughly investigated defendant’s background). Of course, individualized
11 sentencing demands that the jury be able to consider mitigating evidence, and so
12 counsel’s duties do not end with unearthing that evidence. The Court has thus also
13 made clear that defense counsel has a constitutional duty to present to the jury the
14 mitigation. See Williams, 529 U.S. at 396 (faulting counsel’s failure to introduce
15 mitigating evidence as an abrogation of duty); Bean v. Calderon, 163 F.3d 1073,
16 1079 (9th Cir. 1998).
17         Further, as noted earlier, the Supreme Court has consistently relied upon
18 guidelines from the ABA and other professional groups to inform the inquiry into
19 reasonable professional conduct. See, e.g., Rompilla v. Beard, 545 U.S. 374, 387 &
20 n.7 (2005). The 2003 ABA Guidelines outlined the key aspects of competent capital
21 representation applicable to Kiles’s mitigation proceeding, which commenced in
22 mid-2006. In fact, at the time of Kiles’s mitigation phase, Arizona Rule of Criminal
23 Procedure 6.8 required counsel to be familiar with the ABA Guidelines to be
24 eligible for appointment. Ariz. R. Crim. P. 6.8(b)(1)(iii) (2000). By the time of
25 Kiles’s penalty phase, there was no question as to counsel’s duty to thoroughly
26 investigate, present, and explain the significance of all relevant mitigation.
27
28
                                              211
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 228 of 500



 1         D.     Lead counsel’s derogation of his duties and the resulting team
                  dysfunction led to a deficient mitigation investigation and
 2                inadequate presentation.
 3         Kiles’s legal team did not operate as a team. Lead counsel Greg Clark
 4 effectively abdicated responsibility for Kiles’s case after the guilt-phase verdicts on
 5 July 20, 2000, leaving second chair Treasure VanDreumel as the sole attorney for
 6 Kiles’s aggravation and mitigation phases.
 7       “Lead counsel bears overall responsibility” for a capital case. 2003 ABA
 8 Guideline 10.4(B). Moreover, “the provision of high quality legal representation in
 9 capital cases requires a team approach that combines the different skills, experience,
10 and perspectives of several disciplines.” 2003 ABA Guideline 10.4(B) cmt. Kiles’s
11 capital representation met neither of these standards. Lead counsel’s failure to
12 assemble and manage a defense team to conduct an investigation fell below
13 prevailing professional norms and resulted in an unreasonable mitigation
14 investigation. See, e.g., Correll, 539 F.3d at 942; Mayfield, 270 F.3d at 927;
15 Williams, 529 U.S. at 399; Sears, 561 U.S. at 953.
16                1.    Lead counsel did not assist in the mitigation-phase
                        investigation, leaving Kiles with one attorney in violation of
17                      prevailing professional norms.
18         Because of the complex nature of capital cases, the 2003 ABA Guidelines
19 called for at least two attorneys in capital cases; even the 1989 ABA Guidelines
20 required two attorneys for a capital case. 2003 ABA Guideline 4.1(A)(1); 1989
21 ABA Guideline 2.1. However, Kiles was effectively left with one attorney for much
22 of the critical investigation portion of his case after the guilty verdict and for much
23 of the mitigation presentation.
24        Clark did little, if any, work for Kiles’s mitigation-phase investigation and
25 trial. Clark’s contract granted a set sum for taking Kiles’s case and an additional set
26 sum if the case went to a guilt-phase trial. See Claim 1, supra. Clark received no
27 further funds for post-guilt-phase proceedings, which stretched on for nearly six
28 years. Other than conducting the penalty-phase voir dire, Clark did little on Kiles’s
                                              212
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 229 of 500



 1 case after the guilty verdict. Clark’s lack of preparation at voir dire was evidenced
 2 by his ignorance of Kiles’s mitigation evidence. See Claim 4, supra. When
 3 VanDreumel requested time after time that Clark contact a single expert, he did not
 4 accomplish even that one task.
 5         Kiles moved to remove Clark for his failure to assist in the mitigation-phase
 6 preparation. (ROA 615.) However, the court permitted Clark to remain on the case,
 7 effectively leaving VanDreumel as Kiles’s sole lawyer throughout the penalty
 8 phase. VanDreumel wrote to the judge on September 10, 2003, requesting
 9 additional funds, because she had exclusively handled the investigation and
10 preparation of the mitigation phase. Her request was granted.
11                2.    Counsel failed to request a mitigation specialist or to begin
                        a mitigation investigation upon appointment.
12
13         Counsel did not request a mitigation specialist or begin a mitigation
14 investigation until after the guilty verdict. Given prevailing professional norms, and
15 that a review of Kiles’s first state post-conviction file would have revealed the vast
16 complexity of potential mitigation evidence, it was unreasonable for counsel to fail
17 to request a mitigation specialist until after Kiles was found guilty.
18         “[L]egal experts agree that preparation for the sentencing phase of a capital
19 case should begin early and even inform preparation for a trial’s guilt phase.” Allen
20 v. Woodford, 395 F.3d 979, 1001 (9th Cir. 2005). The 1989 ABA Guidelines, in
21 effect at the time of Kiles’s guilt phase, required that counsel’s mitigation-phase
22 investigation “begin immediately upon counsel’s entry into the case and should be
23 pursued expeditiously.” 1989 ABA Guideline 11.4.1(A). Attorney Robert J.
24 Roberson, who was appointed in March 1998 to represent Kiles at trial after Kiles
25 obtained state post-conviction relief, asked the court to appoint a mitigation
26 specialist and fact investigator in August 1998.119 (ROA 372 at 1.) Roberson
27
   119
       Roberson argued in his motion that “[c]urrent law clearly provides that the
28 mitigation phase of the sentencing portion of this case is extremely important. . . .
                                              213
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 230 of 500



 1 withdrew for unrelated conflict reasons, and when Clark was appointed, he did not
 2 argue the need for a mitigation specialist despite the pending motion. (See Tr. Aug.
 3 21, 1998 at 40–43.) After the guilt phase, VanDreumel acknowledged that counsel
 4 should have hired a mitigation specialist and begun an investigation upon
 5 appointment.
 6         Kiles was found guilty on July 20, 2000. (ROA 482 at 1–8.) It was not until
 7 October 4, 2000 that Kiles’s counsel moved for appointment of a mitigation
 8 specialist. (ROA 509 at 1.) Within days, the court appointed Jan Dowling, an
 9 experienced mitigation specialist. (ROA 510 at 1.)
10                3.    Counsel’s failure to be involved in the investigation and the
                        subsequent resignation of the mitigation specialist resulted
11                      in a disjointed mitigation investigation.
12         After the court appointed Jan Dowling as the mitigation specialist,
13 VanDreumel failed to provide the resources Dowling requested and to supervise
14 Dowling’s investigation. Because of counsel’s failure to be involved in the
15 mitigation investigation, Dowling resigned, resulting in a disjointed mitigation
16 investigation and an inexperienced mitigation specialist taking over Kiles’s case.
17                      a.     Clark’s abdication and VanDreumel’s unreasonable
                               mitigation decisions led to a team breakdown.
18
19         Dowling began her investigation immediately after her appointment to
20 Kiles’s case, meeting with Kiles within days and his mother within weeks. The
21 team’s lack of communication and direction were apparent from the start, as
22 Dowling reported to VanDreumel that Kiles was annoyed that no one had notified
23 him Dowling had been appointed or that she was visiting him. Throughout late
24 2000, Dowling worked independently on the mitigation investigation, without
25
26 It is suggested that waiting until after sentencing to appoint such a specialist would
   be impractical since the magnitude of the job would take a considerable amount of
27 time. The only real practical way to proceed in this matter is to appoint a mitigation
   specialist now and allow that person to get to work seeking out records, people, and
28 events which would have a bearing on sentencing.” (ROA 372 at 1.)
                                             214
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 231 of 500



 1 direction from counsel, while counsel focused on Kiles’s motion for a new trial. In
 2 December 2000, the court denied defense counsel’s motion for a new trial and set
 3 the penalty-phase hearing for April 2001, at defense counsel’s request. (ROA 518;
 4 Tr. Dec. 29, 2000 at 29.)
 5         Counsel’s failure to maintain contact with Kiles critically hindered the
 6 mitigation investigation. “Adequate consultation between attorney and client is an
 7 essential element of competent representation.” United States v. Tucker, 716 F.2d
 8 576, 581 (9th Cir. 1983); (see also ROA 519). Even after the court denied the
 9 motion for a new trial, the attorneys neither participated in the investigation nor
10 visited Kiles. During this time, Kiles had no contact with Clark and only one phone
11 call with VanDreumel. (ROA 519 at 5.) On January 30, 2001, Kiles filed a pro se
12 request for new counsel, citing counsel’s lack of investigation and lack of
13 communication with him. (ROA 519); see also supra, Claim 1 (discussing
14 attorneys’ lack of communication and conflicts with Kiles). The court scheduled
15 another status hearing for April 2001, to hear Kiles’s motion.120
16         By April 2001, Dowling and VanDreumel’s working relationship had
17 crumbled. As described in detail supra, Claim 1, VanDreumel sent Dowling’s
18 confidential interview memos to Kiles, even though Dowling had warned her that
19 doing so would impede the investigation. (ROA 533 Ex. A at 2.) Then, when
20 Dowling requested VanDreumel’s input into the mitigation investigation,
21 VanDreumel explained that she did not feel it was her role to participate in the
22 mitigation investigation until after Dowling finished interviewing people and
23 gathering information and wrote a final report. Then VanDreumel would decide
24 who would be called to testify. VanDreumel rejected Dowling’s request for team
25 meetings and aid of counsel. Instead, she expected Dowling to interview whoever
26   120
      At a scheduling hearing, Kiles pleaded with the court to set a time for him to
27 speak with his counsel on the phone, as he had been trying since July to reach them.
   The court had to arrange an appointment for Kiles and Clark to speak by phone.
28 (ROA 521 at 1.)
                                            215
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 232 of 500



 1 Dowling could find. She explained that she assumed Dowling knew the statutory
 2 and non-statutory mitigators in Arizona. VanDreumel described Dowling’s visits
 3 to meet with Kiles and his family as “useless” trips.
 4         Dowling wrote a letter to the court to identify her concerns about Kiles’s
 5 attorneys: They showed no interest in the case; they did not want to talk about
 6 potential themes and theories; they did not initiate meetings with witnesses; and
 7 they failed to address questions and issues arising during the investigation. Based
 8 on her extensive experience, she knew that prevailing professional norms required
 9 that counsel provide input on the mitigation investigation. (ROA 533 Ex. A at 2.)
10         On June 4, 2001, Dowling resigned from the case because of ethical concerns
11 regarding Clark’s and VanDreumel’s failure to adequately investigate Kiles’s
12 mitigation and failure to communicate. She noted that counsel had stated incorrectly
13 at the April status hearing that they had “nothing to do at this stage” but wait for
14 her report, that counsel’s lack of participation fell well below the prevailing norms
15 in her other capital cases, and that she had been abandoned by them. She affirmed
16 that Kiles was cooperative and that his repeated complaints about his counsel were
17 “justified and legitimate.” She noted that she had reviewed the files from the first
18 state post-conviction proceedings, which counsel had not done. (ROA 533 Ex. A at
19 3–4.) Kiles then filed a motion echoing Dowling’s statements that his counsel had
20 failed to participate in the investigation.
21         On June 19, 2001, VanDreumel moved for the appointment of a new
22 mitigation specialist and used the filing as an opportunity to lambast Dowling and
23 her work. (ROA 533 Ex. C at 1–2.) VanDreumel rejected Dowling’s assertion that
24 she should have reviewed the first state post-conviction files, as she had reviewed
25 the sworn statements and pleadings provided by the Attorney General’s office.
26 (ROA 533 Ex. C at 3.) VanDreumel reiterated her belief that there was nothing for
27 counsel to discuss with the mitigation specialist. VanDreumel also reported to the
28 court that Dowling had been fired by another capital client, while failing to note
                                                 216
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 233 of 500



 1 that the client had fired the attorney on the case, too. (ROA 533 Ex. C at 5–6.)
 2         Dowling responded to VanDreumel’s motion for appointment of a new
 3 mitigation specialist, explaining to the court counsel’s failure to direct the
 4 mitigation investigation. (ROA 533 Ex. D at 1.) Dowling further noted her belief
 5 that VanDreumel’s lies to the court about Dowling’s investigation warranted
 6 sanction. (ROA 533 Ex. D at 1.) Dowling stated that she had sent counsel memos
 7 starting in October 2000, but months later, it was apparent that counsel had not read
 8 them. Further, she delineated VanDreumel’s various lies, including VanDreumel’s
 9 claim that Dowling was unavailable and had provided no records and the claim that
10 VanDreumel had reviewed records obtained from sources other than Dowling.
11 (ROA 533 Ex. D at 2–3.)
12         Of note, Dowling stated that VanDreumel had lied about possessing vital
13 records from the first state post-conviction proceeding. In November 2000,
14 VanDreumel had e-mailed Dowling to tell her she did not have mental-health
15 records, school records, police or presentence reports on Kiles’s prior convictions;
16 VanDreumel had only documents she and Clark had created for purposes of the
17 guilt phase. (ROA 533 Ex. D at 3.) Dowling noted:
18               It has been my experience that competent counsel in capital
                 cases do meet and discuss testimony with witnesses long
19               before the actual hearing. Competent counsel do not
20               consider witness discussions to be “unnecessary.”. . . I can
                 think of no circumstances under which it is appropriate for
21               counsel in a capital case to not discuss the case with their
                 mitigation specialist.
22
23 (ROA 533 Ex. D at 3.) Dowling pointed out that VanDreumel had not identified
24 any work she had done on the mitigation investigation beyond organizing the file
25 in the eight months since the verdict. (ROA 533 Ex. D at 3.)
26        The court responded to Dowling in a letter on which all parties, including the
27 prosecutor, were copied. The court noted that Kiles and his first state post-
28 conviction counsel, Boyte, had “voiced similar concerns.” However, the court
                                             217
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 234 of 500



 1 wrote, “I strongly suspect that whatever sentence I end up imposing, there will be
 2 filed a petition for post conviction relief alleging ineffective assistance of trial
 3 counsel . . . [T]hat would be the appropriate time for me to take action, if any.”
 4 (ROA 533 Ex. E at 1.) After Dowling resigned, she sent VanDreumel her files and
 5 the records she had gathered.
 6                      b.    Counsel failed to direct the second mitigation
                              specialist.
 7
 8         In moving for a new mitigation specialist, Kiles’s counsel specifically
 9 requested the appointment of Mary Durand, who had a great deal of capital-
10 mitigation experience. (ROA 533 Ex. B at 1) VanDreumel, however, did not first
11 ensure that Durand was available before the court appointed her on June 20, 2001.
12 (ROA 530 at 1.) After the appointment, VanDreumel misrepresented to Durand that
13 the investigation was practically done. As a result, Durand agreed to the
14 appointment but enlisted Tyrone Mayberry, who was quite new to capital
15 mitigation, to take charge of Kiles’s mitigation. (Tr. Dec. 3, 2001 at 17.)
16         Kiles was thus effectively left with only one attorney, who at one point
17 leading up to Kiles’s penalty phase had four other capital cases, and an
18 inexperienced mitigation specialist. VanDreumel’s lack of involvement (and
19 Clark’s complete abdication) was exacerbated by Mayberry’s lack of experience,
20 compromising the mitigation investigation.
21         After Dowling’s withdrawal, the penalty phase was rescheduled for July
22 2002. (ROA 561 at 1.) Two weeks before the penalty phase was scheduled to begin,
23 the U.S. Supreme Court struck down Arizona’s capital-sentencing scheme as
24 unconstitutional in Ring v. Arizona, 536 U.S. 584 (2002). Kiles’s proceedings were
25 delayed further, and VanDreumel turned her attention to motions related to the
26 sentencing scheme. (Tr. July 8, 2002 at 3–4; see also, e.g., ROA 579, ROA 580.)
27         Lead counsel Clark abdicated responsibility for the mitigation investigation.
28 Second chair VanDreumel then failed to direct that investigation, even though the
                                             218
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 235 of 500



 1 mitigation specialist was inexperienced. Due to counsel’s failure to direct the
 2 investigation, the mitigation specialist relied largely on the investigation that had
 3 been done over a decade prior. The result of the team’s dysfunction was an
 4 inadequate and unreasonable investigation during which, as discussed below, the
 5 defense team missed critical red flags that warranted attention. And the result of
 6 that insufficient investigation was an internally contradictory and confusing
 7 mitigation presentation that left the jury unwilling to consider leniency for the
 8 killing of Gunnel.
 9         E.     Trial counsel were ineffective for failing to reasonably investigate,
                  develop, and present important mitigation evidence.
10
11         Competent counsel must conduct a thorough mitigation investigation, and
12 the failure to do so constitutes deficient performance. The Sixth Amendment
13 imposes on a capital-defense attorney “a duty to investigate, develop, and present
14 mitigation evidence during penalty phase proceedings.” Summerlin v. Schriro, 427
15 F.3d 623, 630 (9th Cir. 2005) (en banc). In Porter v. McCollum, the Supreme Court
16 described this obligation as “unquestioned” as of 1988. 558 U.S. 30, 38–39 (2009).
17         “[A] decision not to present . . . particular mitigating evidence is
18 unreasonable unless counsel has explored the issue sufficiently to discover the facts
19 that might be relevant to his making an informed decision.” Lambright v. Schriro,
20 490 F.3d 1103, 1116 (9th Cir. 2007) (citing Wiggins, 539 U.S. 510, 522–23 (2003)
21 and Stankewitz v. Woodford, 365 F.3d 706, 719 (9th Cir. 2004)). It “is imperative
22 that all relevant mitigating information be unearthed for consideration at the capital
23 sentencing phase.” Wharton v. Chappell, 765 F.3d 953, 970 (9th Cir. 2014) (quoting
24 Caro v. Calderon, 165 F.3d 1223, 1227 (9th Cir. 1999)). “To that end, trial counsel
25 must inquire into a defendant’s social background, family abuse, mental
26 impairment, physical health history, and substance abuse history; obtain and
27 examine mental and physical health records, school records, and criminal records;
28 consult with appropriate medical experts; and pursue relevant leads.” Bemore v.
                                             219
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 236 of 500



 1 Chappell, 788 F.3d 1151, 1171 (9th Cir. 2015) (quoting Wharton, 765 F.3d at 970).
 2 “Where counsel is aware of potentially mitigating evidence, he or she must
 3 investigate that evidence, absent a reasonable strategic reason not to do so.” Id.
 4 (quoting Hendricks v. Calderon, 70 F.3d 1032, 1039 (9th Cir. 1995)).
 5         Counsel must decide on a mitigation strategy after a reasonable investigation;
 6 investigation cannot follow an already-settled mitigation strategy. See Wiggins, 539
 7 U.S. at 521–22; Strickland, 466 U.S. at 691. The Ninth Circuit has made clear that
 8 “[a]n uninformed strategy is not a reasoned strategy. It is, in fact, no strategy at all.”
 9 Correll, 539 F.3d at 949. The mitigation that is presented must not just support a
10 “superficially reasonable mitigation theory,” Sears v. Upton, 561 U.S. 945, 953–54
11 (2010), nor may it be “haphazard.” Doe v. Ayers, 782 F.3d 425, 435 (9th Cir. 2015).
12 Pursuant to Strickland, Williams, and Wiggins, in addition to the prevailing
13 professional norms in Arizona at the time, counsel had an obligation to conduct a
14 thorough investigation of Kiles’s background and mitigating evidence in
15 preparation for sentencing.
16                1.     Counsel failed to properly investigate, develop, and present
                         mitigation evidence pertaining to lay witnesses.
17
18         It is imperative that counsel thoroughly investigate a defendant’s background
19 in order to accurately present a complete history of the defendant’s life. See Bemore,
20 788 F.3d at 1171. This investigation should include speaking to lay witnesses such
21 as family members, past and present friends, and co-workers, among many others.
22 See, e.g., Allen, 395 F.3d at 1001; Hamilton v. Ayers, 583 F.3d 1100, 1114 (9th Cir.
23 2009). Both the 1989 and 2003 ABA Guidelines require a full investigation into a
24 defendant’s background, including consultation with lay witnesses. 2003 ABA
25 Guideline 10.11(F)(1), (2); 1989 Guideline 11.8.3(F)(1). It is unreasonable for
26 counsel to fail to interview favorable, willing, and accessible witnesses. See
27 Cannedy v. Adams, 706 F.3d 1148, 1161 (9th Cir. 2013) (counsel deficient for
28 failing to interview potentially favorable witness at the guilt phase “when that
                                               220
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 237 of 500



 1
     witness had been clearly identified, . . . was easily accessible[,] and [was] willing
 2
     to provide information”).
 3
           An investigation into a defendant’s background is critical to show that a
 4
     defendant warrants leniency. Boyde v. California, 494 U.S. 370, 382 (1990); see
 5
     also Douglas v. Woodford, 316 F.3d 1079, 1090 (9th Cir. 2003) (deeming “mental
 6
     health” and “social background” evidence “precisely the type of evidence that we
 7
     have found critical for a jury to consider when deciding whether to impose a death
 8
     sentence”).
 9
           “[W]hen ‘tantalizing indications in the record’ suggest that certain mitigating
10
     evidence may be available, those leads must be pursued.” Lambright, 490 F.3d at
11
     1117 (quoting Stankewitz, 365 F.3d at 719–20). This is particularly true where
12
     defense counsel has possession of files that contain leads to mitigating evidence.
13
     Stankewitz v. Wong, 698 F.3d 1163, 1171 (9th Cir. 2012). Critically, it is not
14
     sufficient to start an investigation and not continue to pursue leads, or to rely on
15
     existing documents. Douglas, 316 F.3d at 1088 (finding ineffective assistance
16
     where counsel’s initial investigation put counsel on notice that defendant had a
17
     difficult childhood, yet there was no attempt to contact additional persons who
18
     might have had more detailed information about the defendant’s past). Kiles’s
19
     mitigation specialist did interview some family members and friends, but this was
20
     not sufficient for a reasonable investigation. See Hamilton, 583 F.3d at 1114
21
     (finding ineffective assistance where counsel conducted some interviews with
22
     family members and people who had information on the client’s childhood, but
23
     failed to further investigate).
24
                         a.      Counsel failed to conduct an adequate investigation
25                               into witnesses who could speak first-hand about
                                 Kiles’s background.
26
27         The defense team failed to locate and investigate readily available mitigation
28 witnesses, including family members, people who had written affidavits in 1994 for
                                              221
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 238 of 500



 1 the first post-conviction proceedings, and, in some cases, testified at the 1996 post-
 2 conviction hearing. Counsel relied heavily on the mitigation investigation
 3 conducted in 1994 for Kiles’s first state post-conviction proceedings. Counsel
 4 should have ensured that these affidavits and interviews were updated and expanded
 5 through continued investigation. The prevailing professional norms for a mitigation
 6 investigation had changed since 1994, with the updated ABA Guidelines going into
 7 effect in 2003. See 2003 ABA Guidelines. Further, there were ample leads from the
 8 1994 investigation that could have been fruitful. The team failed to locate and
 9 follow up with witnesses whom Dowling had identified as needing follow up.
10         VanDreumel had little idea what was going on with the lay-witnesses
11 investigation until just prior to the start of the mitigation phase. While VanDreumel
12 had seen, likely years earlier, the first state post-conviction exhibits with
13 information from lay witnesses, she did not review them again until March 2006,
14 on the eve of Kiles’s penalty-phase trial. She then seemed pleasantly surprised by
15 them, remarking to Mayberry that they were great—previewing that the expert
16 witness testimony she had coordinated had not taken them into account.121 As the
17 mitigation proceeding drew near, VanDreumel revealed that she knew little about
18 the lay witnesses who would testify. Even after jury selection was complete and the
19 aggravation phase had begun, VanDreumel had no sense of who many of the lay
20 witnesses Mayberry wanted to present were and had to ask Mayberry.
21         As part of a reasonable mitigation investigation in which counsel followed
22 prevailing mitigation investigation norms and followed up on “tantalizing leads,”
23 counsel should have contacted or instructed the mitigation specialist to contact at
24 least some of the following witnesses:122
25
     121
       Though VanDreumel had told Kiles in 2001 that she would participate in follow-
26 up interviews with witnesses that Dowling identified, her lack of knowledge of
27 these witnesses on the eve of trial indicates that she did not.
   122
       Some portion of the failure to interview witnesses may be attributable to an
28 inability to locate them; however, many were still living in Yuma. Further, counsel
                                             222
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 239 of 500



 1         Family members: It appears that in Kiles’s family, Mayberry spoke only with
 2 Kiles’s mother Imojean, his sister Janell Hawkins, his niece, and his cousin.
 3 Mayberry spoke with the niece and cousin once each, shortly before the penalty
 4 phase began.
 5         However, Kiles’s first state post-conviction proceedings and Dowling’s
 6 preliminary investigation contained ample evidence that Kiles’s childhood and
 7 family history were essential to mitigation and included numerous investigatory
 8 leads. Relatives could have provided information on Kiles’s childhood and family
 9 history. Further, relatives could have provided more information on his mental
10 health and brain damage, including the head trauma Kiles experienced when struck
11 by a car at age five. Dowling had spoken with many of Kiles’s relatives in May
12 2001, but no one followed up with them or with the other relatives listed in
13 Dowling’s memos. These conversations revealed important red flags for further
14 investigation, including intergenerational substance addiction, mental illness, and
15 other trauma, as well as Kiles’s traumatic childhood and his resultant impairments
16 at the time of the crime. Indeed, in May 2002, Mayberry created a “Family History”
17 document that listed many members of Kiles’s extended family, noting their
18 experiences with substance abuse, domestic violence, and mental illness. This
19 incomplete document shows that Mayberry knew of many relatives whom he did
20 not contact and the critical subjects about which they could speak.
21         Mayberry could have spoken with many other members of Kiles’s large
22 extended family, most of whom were still in close touch with Kiles’s mother and
23 living in Arizona or over the border in California. Many had expressed willingness
24 and eagerness to cooperate with Kiles’s mitigation investigation, as they had
25
26 should have made use of the private investigator, Mary Meyer, who had been
   appointed at the guilt phase and remained technically on the case. (Tr. Oct. 8, 1999
27 at 73–74.) Meyer did little, if any work during the penalty phase—the mitigation
   specialist did not interact with her, and it appears she was only asked to locate one
28 witness.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 240 of 500



 1 cooperated with the first state post-conviction investigation and with Dowling. (See,
 2 e.g., ROA 225 Ex. 54 at 6; ROA 225 Ex. 38 at 3.)
 3         For example, Mayberry should have spoken to Kiles’s aunt Darnella Long.
 4 (ROA 225 Ex. 54; Tr. Feb. 20, 1996 at 110–30.) Her testimony at the first state
 5 post-conviction hearing and affidavit discussed the family history as slaves in
 6 Louisiana, intergenerational domestic violence, mental illness, child abuse,
 7 substance addiction, and racism in Yuma. (ROA 225 Ex. 54; Tr. Feb. 20, 1996 at
 8 110–30.) She also spoke about Imojean’s and Janell’s mental illnesses and alcohol
 9 addictions.123 (ROA 225 Ex. 54; Tr. Feb. 20, 1996 at 127–28.) Kiles’s brother-in-
10 law Larry Hawkins also signed an affidavit for the first state post-conviction
11 proceeding with information on Kiles’s parents’ abusive relationship and the
12 violence they inflicted on their children, Janell’s mental illness, Imojean’s alcohol
13 addiction, and extended relatives’ substance addictions and mental illness. Hawkins
14 attested to Kiles’s substance addiction and mental illness, throughout Kiles’s life
15 and in the days surrounding the crime. (PFR2 Dkt. 20 Ex. 2 at 12–15.) VanDreumel
16 also should have contacted Kiles’s uncle Alan Long, who wrote an affidavit for
17 Kiles’s second post-conviction petition about the family history and racism in
18 Yuma. (PFR2 Dkt. 28 Ex. 29 at 51–52.)
19         Friends who wrote affidavits for the first state post-conviction proceedings:
20 Kiles’s first state post-conviction attorneys gathered signed affidavits from 17
21 people who knew Kiles throughout his life. (ROA 225 Exs. 37–64; PFR2 Dkt. 23
22 Ex. 18 at 1–2.) Of these people, it appears that Mayberry tried to contact only a
23 small number to expand on the information they provided. For example, Mayberry
24 should have interviewed Kiles’s friends from his time in the Air Force, some of
25 whom signed affidavits for Kiles’s first and second post-conviction proceedings,
26 who could have provided insight into the progression of Kiles’s alcoholism and his
27
   123
       Though Darnella Long died in 2003, she could have provided further information
28 and investigative leads to Mayberry.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 241 of 500



 1 efforts to overcome his addiction and mental illness at a turning point in his life.
 2 (E.g., ROA 225 Ex. 57; ROA 225 Ex. 58; PFR2 Dkt. 28 Ex. 31; PFR2 Dkt. 28 Ex.
 3 32.)
 4         People who knew Kiles in the years, and particularly in the weeks, leading
 5 up to the crime could have furnished useful information about Kiles’s addictions
 6 and his worsening mental decompensation at the time of the crime, had the defense
 7 team contacted them for mitigation purposes. For example, Kale Johnson, who pled
 8 guilty to hindering prosecution in Kiles’s case (ROA 75 at 2), signed two affidavits
 9 for the first state post-conviction proceeding and was cooperative with Kiles’s prior
10 counsel. (PFR2 Dkt. 20 Ex. 1.) His affidavit described Kiles as “on a binge” in the
11 weeks leading to the crime and detailed Kiles’s extensive drug use. (PFR2 Dkt. 20
12 Ex. 1 at 1–2.) He described Kiles as “very high on drugs and alcohol” and
13 “staggering” around at the time of the crimes. (PFR2 Dkt. 20 Ex. 1 at 2.)
14 Additionally, Willie Shepherd and Virgil Schultz both saw Kiles around the day of
15 the crime and knew of his substance addiction and intoxication that day, and the
16 resulting mental decompensation. (ROA 225 Ex. 46; Tr. Apr. 26, 2006 at 113; Tr.
17 Apr. 27, 2006 at 62–63.)
18         Family and friends who assisted in the 1989 mitigation investigation: At
19 Kiles’s 1989 trial, people who knew Kiles as a child wrote letters about his character
20 and his childhood. (2006 Tr. Ex. 152; Tr. Apr. 26, 2006 at 40–50.) It is likely that
21 in the intervening years, some may have been willing to speak more openly and
22 provide new leads.
23         Other witnesses named in Kiles’s records: People listed in Kiles’s criminal,
24 medical, school and other records were another obvious source of information. For
25 example, it appears that counsel did not try to contact anyone referenced in Kiles’s
26 records relating to his time on probation and his attempts to obtain vocational
27 rehabilitation and substance abuse counseling, even in the months directly before
28 the crime. These witnesses could have provided insight into Kiles’s struggle to
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 242 of 500



 1 maintain sobriety and his worsening mental illness in the months before the crime.
 2                      b.    Because counsel failed to adequately investigate,
                              counsel could not present lay witnesses who could
 3                            adequately describe Kiles’s history.
 4         To put on a competent mitigation presentation, counsel must “use lay
 5 witnesses as much as possible to provide the factual foundation for the expert’s
 6 conclusions,” as “[f]amily members and friends can provide vivid first-hand
 7 accounts of the poverty and abuse that characterize the lives of many capital
 8 defendants. These witnesses can also humanize the client. . . .” 2003 ABA
 9 Guideline 10.11 cmt. Here, counsel were deficient because, despite the availability
10 of numerous lay witnesses who could have provided compelling testimony, counsel
11 presented next to no first-hand lay-witness testimony.
12         VanDreumel had only two lay witnesses testify about Kiles’s life before the
13 crime: Kathy Perrone, his sister’s high school friend, and Yolanda Biebrich, his
14 high school girlfriend. Neither knew Kiles well, and together they relayed a
15 misleading image that cut against the core of VanDreumel’s mitigation
16 presentation.124 Neither had had much interaction with Kiles in many years. (Tr.
17 Apr. 24, 2006 at 34–35, 51); see Libberton v. Ryan, 583 F.3d 1147, 1168–69 (9th
18 Cir. 2009) (finding ineffective assistance where counsel called only lay witnesses
19 who did not know defendant well). And yet, VanDreumel had them set the stage
20 for the rest of the defense’s mitigation presentation.
21         While Kathy Perrone testified about the whippings Kiles’s sister Janell had
22 endured as a youth and her struggles with shoplifting, fighting, and drug addiction,
23
24   124
         Counsel presented two other lay witnesses: Harold Ulmer and James Prather
     Gill, two correction officers who had overseen Kiles while he was incarcerated.
25   They spoke about his exemplary behavior while in custody, which made him seem
26   like a mentally healthy and well-adjusted person. (See generally Tr. Apr. 26, 2006
     at 4–23.) While it was reasonable to present their testimony, counsel’s decision to
27   present it so early on, without the context of experts who could explain that Kiles
     did well in structured settings, was unreasonable. This supported expert testimony
28   by James Aiken, a prison management expert. (Tr. Apr. 27, 2006 at 5–54.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 243 of 500



 1 she had little to offer about Kiles himself as a child. (Tr. Apr. 24, 2006 at 35, 38,
 2 40–43.) Her testimony was ultimately damaging to Kiles’s case, as she stated that
 3 she chose to live with the Kiles family in high school, undercutting much of the
 4 later testimony about the Kiles’s dysfunctional and violent home. (Tr. Apr. 24, 2006
 5 at 34.) On cross-examination, she testified that she never saw Kiles struck by his
 6 parents and that she never saw him use drugs. (Tr. Apr. 24, 2006 at 45–46.) She
 7 described him as generally a “happy” person who did well in school. (Tr. Apr. 24,
 8 2006 at 37.)
 9         Biebrich similarly minimized the dysfunction of the Kiles home and Kiles’s
10 mother’s mental illness and addiction, stating only that Kiles’s mother had a
11 drinking problem and got “loud.” (Tr. Apr. 24, 2006 at 52.) She painted a picture
12 of Kiles as happy and highly functional, and she took pains to emphasize that he
13 did not use drugs. (Tr. Apr. 24, 2006 at 53–54, 59.) She testified on cross-
14 examination that Kiles had everything he could ever have wanted in terms of
15 material goods and that she had never seen fights at the Kiles home or Kiles struck
16 by either of his parents. (Tr. Apr. 24, 2006 at 61.)
17         Then, instead of presenting vivid first-hand accounts of Kiles’s abusive
18 childhood and resulting addiction and impairment through Kiles’s family and others
19 who knew him, VanDreumel offered the testimony of the mitigation specialist.
20 Mayberry offered second- and third-hand accounts that were misleading and
21 confusing. Mayberry began by reading a set of character letters written for Kiles’s
22 1990 sentencing, which conveyed that Kiles was a happy child who grew up in a
23 nice family, but who had a personality change and turned to drinking and drugs.
24 (Tr. Apr. 26, 2006 at 40–59.) He did so even though the story conveyed in those
25 letters conflicted with many of the mitigation themes VanDreumel was attempting
26 to present at the 2006 mitigation phase.
27         Mayberry also provided second- and third-hand testimony on numerous
28 topics that would have been effective as first-hand testimony. Instead of calling
                                              227
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 244 of 500



 1 Kiles’s friends and family members, VanDreumel had Mayberry—a member of the
 2 defense team—testify about people he had spoken with about Kiles’s childhood,
 3 family, and drug use leading up to and at the time of the crime, some of whom had
 4 previously written affidavits. (E.g., Tr. Apr. 26, 2006 at 85–108; Tr. Apr. 27, 2006
 5 at 59–62, 86–91, 94–109.) He testified about information from a nurse at the Yuma
 6 Jail who saw Kiles after he was first arrested, sharing second-hand that she said that
 7 at the time of his arrest, Kiles showed signs of psychological impairment. (Tr. Apr.
 8 27, 2006 at 82–86.) Mayberry even testified about information provided by Kiles’s
 9 mother and sister regarding such topics as Kiles’s traumatic childhood and the
10 family history of mental illness. (Tr. Apr. 27, 2006 at 111–23.) But as the
11 information did not come directly from the nurse or Kiles’s mother or sister, and
12 the jury would have perceived that they were not willing to testify at Kiles’s
13 mitigation phase, it lacked mitigating effect. See Powell v. Collins, 332 F.3d 376,
14 400 (6th Cir. 2003) (finding ineffective assistance where counsel presented
15 mitigation testimony about a client’s background through an expert discussing
16 information contained in affidavits by friends and family members, instead of
17 through first-hand accounts).
18         As a result, the jury heard a misleading picture of Kiles’s childhood,
19 addictions, and mental illness from Biebrich and Perrone, who knew Kiles for a
20 limited time but who appeared to be the only two of Kiles’s family and friends
21 willing to testify for him. “The inescapable message sent to the jury was that no one
22 who really knew the young man [] found guilty of murder—not parents, not family
23 members, not friends—would take the stand to explain why his life was still worth
24 saving.” Cargle v. Mullin, 317 F.3d 1196, 1211 (10th Cir. 2003). But, in fact, this
25 was not true, as many other individuals could have testified, as described above.
26         Moreover, counsel did not adequately prepare these two witnesses in order
27 to present Kiles’s social history “to the jury in a sufficiently detailed and
28 sympathetic manner.” Douglas, 316 F.3d at 1087–89. Their testimony undermined
                                             228
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 245 of 500



 1 many of the mitigating factors that defense counsel urged that centered on Kiles’s
 2 traumatic childhood and his limitations in functioning. (Tr. May 22, 2006 at 19–
 3 21.) The State used Perrone and Biebrich’s testimony to cross-examine defense’s
 4 mental-health experts on their findings that were based on Kiles and others
 5 reporting that he was abused as a child. (E.g., Tr. May 9, 2006 p.m. at 22–23.)
 6 Moreover, Biebrich’s and Perrone’s in-person testimony likely painted a more vivid
 7 picture than the second- and third-hand accounts Mayberry provided. The ABA
 8 Guidelines note that in-person testimony is more likely to affect a jury’s decision-
 9 making. See 2003 ABA Guideline 10.11 cmt. (explaining that “[c]ounsel should
10 ordinarily use lay witnesses as much as possible to provide the factual foundation
11 for the expert’s conclusions. Community members [with] relevant personal
12 knowledge or experience often speak to the jury with particular credibility.”) Social
13 science research indicates that defense experts are viewed with great skepticism and
14 often regarded as “hired guns” unless their conclusions are supported by abundant,
15 credible evidence from lay witnesses. See, e.g., Scott E. Sundby, The Jury as Critic:
16 An Empirical Look at How Capital Juries Perceive Expert and Lay Testimony, 83
17 Va. L. Rev. 1109 (1997) (finding that two-thirds of the witnesses jurors thought
18 “backfired” were defense experts).
19         In sum, then, the defense’s first two witnesses—and the only two people who
20 knew Kiles before the crime and who testified in person on his behalf—directly
21 contradicted and undermined the credibility of much of the rest of the mitigation
22 presentation, especially the expert mental-health testimony emphasizing Kiles’s
23 addiction, mental illness, and abusive childhood.
24         VanDreumel’s decision to present the lay-witness testimony through
25 Perrone, Biebrich, and Mayberry was not a reasoned decision but the product of a
26 grossly inadequate investigation. Counsel’s failure to be involved in the
27 investigation and preparation of lay witnesses, or to even learn what they were to
28 testify about until shortly before trial, was deficient, and that failure led to a
                                             229
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 246 of 500



 1 disjointed and misleading mitigation presentation. Counsel’s duty to investigate and
 2 present a case to spare a client’s life is not “discharged merely by . . . providing the
 3 sentencing court with a cursory or ‘abbreviated’ presentation of potentially
 4 mitigating factors.” Lambright, 490 F.3d at 1120 (quoting Stankewitz, 365 F.3d at
 5 716). Counsel’s decision to have Mayberry testify about information from lay
 6 witnesses indicates that VanDreumel felt the information was relevant mitigation.
 7 It underscores that the decision to not follow up on these “tantalizing” leads was
 8 not reasonable, and that the investigation was inadequate. VanDreumel also had a
 9 duty to present these witnesses to the jury—to investigate and then reach out to
10 potential lay mitigation witnesses to explain to them the importance of mitigation
11 in an effort to get them to testify. See Allen, 395 F.3d at 1002 (finding deficient
12 performance where at habeas evidentiary hearing, “many family members, friends,
13 and former associates [] affirmed that they would have testified as mitigation
14 witnesses if [] counsel had asked them or if he had explained the importance of their
15 testimony,” which “then-prevailing professional norms required”). The decision to
16 have Mayberry testify second-hand was not the result of a reasoned, strategic
17 decision, but instead was the result of an inadequate investigation by counsel. See
18 Wiggins, 539 U.S. at 521–22; Correll, 539 F.3d at 949.
19         The deficient performance with regard to the lay-witness presentation
20 prejudiced Kiles. This testimony gave jurors the false impression that Kiles was a
21 well-adjusted man who had a fine childhood, calling into doubt the credibility of
22 the experts who followed. See Mayfield, 270 F.3d at 932. VanDreumel should have
23 called such witnesses as Janell Hawkins, Kiles’s uncle Alan Long, and any number
24 of Kiles’s friends and associates from the Air Force. These witnesses could have
25 provided powerful testimony to the jury and helped to “humanize” Kiles. See White
26 v. Ryan, 895 F.3d 641, 671 (9th Cir. 2018). They could have spoken first-hand to
27 Kiles’s addiction at the time of the crime, his mental illness, the abuse he endured
28 as a child, and his family’s multigenerational history of substance addiction and
                                              230
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 247 of 500



 1 mental illness, bolstering and adding color to the expert testimony that was to come.
 2         Instead, VanDreumel had Mayberry read old testimony and affidavits into
 3 the record, resulting in a cursory presentation of Kiles’s social history that was “not
 4 particularly useful or compelling.”125 Douglas, 316 F.3d at 1090 (finding
 5 ineffective assistance where counsel “introduced some of [the defendant’s] social
 6 history” but did so in a “cursory manner that was not compelling”); see also Bean,
 7 163 F.3d at 1081 (finding deficient performance where “numerous” mitigating
 8 factors “were reported to the jury only in the vaguest of terms” in finding deficient
 9 performance); see also Powell, 332 F.3d at 400 (finding prejudice where counsel
10 presented background evidence through an expert, because “if counsel had actually
11 conducted an investigation and produced pertinent witnesses, jurors would have
12 heard first-hand accounts from those who knew Petitioner best. We believe that
13 such personal testimony would have been of significant benefit during the penalty
14 phase”). “[C]ounsel’s gross mishandling of the penalty-phase defense left [her]
15 client’s fate to jurors who could only wonder why . . . [no] member of his family
16 would step up to explain, in personal human terms, why his life should be spared
17 notwithstanding the reprehensible conduct of which he had been found guilty.”
18 Cargle, 317 F.3d at 1211.
19         That the jury did not hear evidence of Kiles’s background and addiction in a
20 reasonable manner “undermine[s] confidence in the outcome” of Kiles’s mitigation
21 hearing. See Douglas, 316 F.3d at 1091 (quoting Strickland, 466 U.S. at 694). Had
22 the jury heard any of this evidence, there is a reasonable probability that at least one
23 juror would have voted for life for the killing of Gunnel. See Bemore v. Chappell,
24 788 F.3d 1151, 1176 (9th Cir. 2015).
25
26   125
      Counsel should have been on notice to the ineffectiveness of this method of
27 presentation, because at the aggravation phase only days before, the jury had asked
   a question about why so much testimony was being read into the record instead of
28 in-person. (See ROA 870 at 1.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 248 of 500



 1               2.     Counsel failed to retain the necessary experts to properly
                        investigate and explain several avenues of mitigation.
 2
 3         Kiles’s counsel were ineffective in failing to hire the necessary and
 4 appropriate experts who could evaluate Kiles and explain his personal history and
 5 impairments to the jury. Hiring appropriate experts is a central duty of capital
 6 counsel. “It is not enough just to present ‘extensive mitigating evidence’ where
 7 particularly persuasive evidence—especially evidence in the form of expert
 8 testimony—was omitted.” Bemore, 788 F.3d at 1172; see also 2003 ABA Guideline
 9 10.11(F)(2), 10.11 cmt.
10         Counsel should have consulted with experts on trauma, brain damage, and
11 neurotoxin exposure. In failing to pursue obvious lines of investigation,
12 VanDreumel’s actions fell below prevailing professional norms. Counsel need not
13 “investigate every conceivable line of mitigating evidence no matter how unlikely
14 the effort would be to assist the defendant at sentencing,” however, a “decision not
15 to investigate [] ‘must be directly assessed for reasonableness in all the
16 circumstances.’” Wiggins, 539 U.S. at 533 (quoting Strickland 466 U.S. at 691).
17 Where “‘tantalizing indications in the record’ suggest that certain mitigating
18 evidence may be available, those leads must be pursued.” Lambright, 490 F.3d at
19 1117 (quoting Stankewitz, 365 F.3d at 719–20). Here, VanDreumel missed just such
20 “tantalizing indications in the record” of necessary follow-up investigation, and the
21 decision not to pursue these paths of mitigation was not based on adequate
22 investigation or sound strategic judgment.
23         In failing, without sound reason, to consult with experts in these fields,
24 counsel failed to properly investigate Kiles’s mitigation and failed to contextualize
25 the mitigation evidence that was presented. Counsel should have consulted with the
26 following experts:
27         Trauma expert: VanDreumel should have consulted with a trauma expert.
28 The mitigation investigation uncovered extensive evidence of Kiles’s childhood
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 249 of 500



 1 trauma, as detailed above, and various experts and the mitigation specialist
 2 presented this to the jury in scattershot form. However, counsel failed to consult a
 3 trauma expert who could have properly investigated Kiles’s childhood trauma and
 4 put his crimes and substance addiction into context by explaining how chronic
 5 abuse of varied kinds during his formative years caused Kiles’s mental illness.
 6 Further, a trauma expert could have properly investigated evidence of sexual abuse,
 7 of which there were many indications. For example, Kiles suffered from
 8 nightmares, sleepwalking, and enuresis as a child—all red flags for potential sexual
 9 abuse. (1990 Trial Def. Ex. 4 at 7.) Kiles’s grandfather regularly babysat Kiles and
10 plied him with alcohol when he was as young as four or five. (Tr. May 11, 2006 at
11 38.) Moreover, Kiles’s childhood was marked by his family’s complete lack of
12 sexual boundaries. His mother regularly threw wild family parties, where his
13 mother and her sisters would take off their clothes. (Tr. Apr. 26, 2006 at 93.)
14 VanDreumel knew as much, as prior mitigation specialist Jan Dowling discussed
15 these parties in memos she gave VanDreumel. At these parties, Kiles’s aunt,
16 Darnella Long, would regularly perform sexual dances in view of the children
17 during which she would moan and simulate sex. Dowling’s memos also noted that
18 Kiles’s father had a child with Darnella (Kiles’s mother’s sister) and that Kiles’s
19 uncle was known for sexually propositioning family members and would frequently
20 invite a young Kiles to watch pet rabbits have sex. The family history compiled by
21 Mayberry, noted that Darnella, Kiles’s aunt, told her sister, Kiles’s mother, that she
22 was going to sleep with Kiles, her nephew. In an affidavit from the first state post-
23 conviction proceeding, Kiles’s mother stated that a boyfriend of hers had accused
24 her of sleeping with her son. (PFR2 Dkt. 23 Ex. 19 at 7.) Kiles began having sexual
25 relations at a young age, another indicator of sexual abuse.
26         Despite these “tantalizing indications,” VanDreumel failed to hire an expert
27 who could have used her specialized skills to investigate and then present to the
28 jury that Kiles was exposed at an early age to sexual violence, was subjected to the
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 250 of 500



 1 complete obliteration of normal adult-child sexual boundaries, and, upon
 2 information and belief, was further sexually abused. See Stankewitz, 365 F.3d at
 3 719. The ABA Guidelines note the need to hire a mental-health expert to examine
 4 sexual abuse, as having suffered such trauma is “common among persons convicted
 5 of violent offenses on death row.” 2003 ABA Guideline 4.1 cmt.; see also 1989
 6 ABA Guideline 11.8.6(B)(5) (obligating counsel to consider presenting evidence
 7 of sexual abuse). The 2003 ABA Guidelines further recognize that it can be difficult
 8 to elicit such information. 2003 ABA Guideline 4.1 cmt. The Supreme Court has
 9 specifically pointed to sexual abuse as the type of “powerful” evidence that, where
10 counsel fails to present it to the jury, the client is prejudiced. Wiggins, 539 U.S. at
11 534–35.
12         Because VanDreumel failed to retain someone with the appropriate expertise
13 to interview Kiles and investigate his abuse and trauma more thoroughly,
14 VanDreumel was unable to appropriately present the full extent of his trauma.
15 Instead, witnesses sporadically alluded to the possibility of childhood sexual abuse,
16 without context or meaning. Because VanDreumel had not adequately investigated,
17 she actively undercut this mitigating evidence. When she asked psychiatrist Albert
18 Globus, M.D., about Kiles’s experience living with his mother, Imojean, and her
19 abusive boyfriend shortly before the crime, VanDreumel noted that Imojean had
20 written in an affidavit that the boyfriend had accused Imojean of sleeping with
21 Kiles. (Tr. Apr. 24, 2006 at 111.) VanDreumel then said she wanted to “clean up”
22 that there was no sexual element to Kiles’s relationship with his mother—despite
23 the fact that such sexual abuse, if present, would be compelling mitigation. (Tr. Apr.
24 25, 2006 at 39); see Wharton v. Chappell, 765 F.3d 953, 978 (9th Cir. 2014) (finding
25 failure to present sexual abuse by parent prejudicial because it was particularly
26 mitigating in part due to its “personal” nature). Dr. Globus answered that, while
27 there was “no specific indication being of a suspicious nature, I’m not so sure. . . .
28 I didn’t find any specific evidence and she certainly didn’t admit it.” (Tr. Apr. 25,
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 251 of 500



 1 2006 at 39.) Due to VanDreumel’s failure to investigate and consult with
 2 appropriate experts, she could not present effective expert testimony regarding
 3 evidence of family sexual abuse.
 4          An expert is important to contextualize and explain the effects of trauma;
 5 such an expert could have shed light on just how out of control and unsafe life was
 6 for Kiles growing up. See, e.g., Caro v. Woodford, 280 F.3d 1247, 1255 (9th Cir.
 7 2002) (“‘[T]he introduction of expert testimony would also have been important’
 8 to explain the effects that ‘serious physical and psychological abuse and neglect as
 9 a child’ had on the defendant” (quoting Ainsworth v. Woodford, 268 F.3d 868, 876
10 (9th Cir. 2001)). As a child, Kiles’s mentally ill parents constantly inflicted violence
11 on each other and on their children. Their children were caught in the middle. Kiles
12 often had to stop his parents from hurting each other—which resulted in physical
13 and psychological abuse directed at him. Kiles’s mother regularly drank to the point
14 where, even as a child, Kiles had to pick her up and carry her home. (Tr. Apr. 27,
15 2006 at 59.) He would miss school after this happened because he was so
16 embarrassed. An expert would have been able to illuminate the degree to which
17 Kiles’s family dynamic shaped Kiles throughout his life, and VanDreumel’s
18 decision not to consult one was unreasonable.
19          Neuroimaging specialist: Trial counsel failed to consult with an expert who
20 could have conducted and evaluated appropriate brain imaging to investigate signs
21 that Kiles had organic brain damage. (ROA 1189 at 48–52, 60–61.) Second state
22 post-conviction counsel hired neuroimaging specialist Joseph Wu, M.D., to
23 perform an MRI of Kiles’s brain, which revealed abnormalities consistent with
24 brain damage. (ROA 1189 at 50; PFR2 Dkt. 28 Ex. 25 at 4–20.) These images
25 revealed observable white-matter hyperintensities in the frontal lobe of Kiles’s
26 brain and a reduced-size corpus callosum. Both are consistent with traumatic brain
27 injury. This type of injury as a child is related to attention-deficit (i.e., impulsivity)
28 disorders. Dr. Wu concluded that Kiles had brain damage. (ROA 1189 at 50.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 252 of 500



 1         The use of brain scans, and in particular MRIs, to investigate (and later
 2 present) brain damage for mitigation purposes was widespread before the 2006
 3 penalty phase. Brain injury is considered “classic mitigation evidence,” and
 4 “Arizona courts place significant weight on brain injuries as mitigating evidence.”
 5 Correll, 539 F.3d at 950, & n.3. The 2003 ABA Guidelines emphasize the need to
 6 investigate brain impairment and that brain scans may be necessary. 2003 ABA
 7 Guideline 4.1 cmt. Further, the Ninth Circuit has made clear that, “where counsel
 8 is on notice that his client may be mentally impaired, counsel’s failure to investigate
 9 his client’s mental condition as a mitigating factor in a penalty phase hearing,
10 without a supporting strategic reason, constitutes deficient performance.”
11 Hendricks v. Calderon, 70 F.3d 1032, 1043 (9th Cir. 1995); see Smith v. Mullin,
12 379 F.3d 919, 943 (10th Cir. 2004) (recognizing jury knew of defendant’s
13 impulsivity and lack of emotional control, but defendant was prejudiced by
14 counsel’s failure to present an explanation of how organic brain damage “caused
15 this ‘kind hearted’ person to commit such a shocking crime”).
16         VanDreumel knew that Kiles had risk factors for and signs of brain damage.
17 For example, medical and legal records available to VanDreumel showed that Kiles
18 was hit by a car around age five, after which he suffered from regular nosebleeds
19 and severe headaches.126 Further, Dr. Globus testified at the first state post-
20 conviction hearing that Kiles was addicted to substances as a consequence of
21 “organic disorders in the brain.” (Tr. Feb. 21, 1996 at 177.) Dr. Globus described
22 Kiles’s impulsivity and specifically noted that impulsivity is often concomitant to
23 brain damage. (Tr. Feb. 21, 1996 at 198.) Moreover, when VanDreumel first
24 requested funds to hire a mitigation specialist in 2000, she wrote: “When the matter
25 was overturned on PCR, the PCR had several affidavits indicating an impulsivity
26 disorder which is likely related to brain damage, so we are pursuing that.” (ROA
27
   126
       Indeed, regular nosebleeds in the wake of a head trauma can indicate a fractured
28 skull.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 253 of 500



 1 509 Ex. A at 1.)
 2         VanDreumel knew that a brain scan was necessary to determine the extent of
 3 Kiles’s brain damage as early as July 2001. Still, counsel failed to hire an expert
 4 who could produce and evaluate brain scans to investigate Kiles’s brain damage.
 5 As a result, VanDreumel failed to procure and present neuroimaging evidence that
 6 Kiles did indeed have brain damage. This failure was particularly unreasonable
 7 given that a central theme at the mitigation-phase trial was Kiles’s impulsivity, a
 8 form of brain dysfunction often attributable to brain damage. (See Tr. May 22, 2006
 9 at 19 (jury instructions listing “possible neurological damage” as a mitigating factor
10 for the jury to consider)); Lambright, 490 F.3d at 1117 (counsel has a duty to pursue
11 “tantalizing indications in the record”). Had VanDreumel retained an expert to
12 investigate Kiles’s brain damage by conducting the proper brain scans, there would
13 have been no question about the neurological damage. (ROA 1189 at 50.)
14         A qualified expert would have obtained the necessary images and would have
15 been able to show the jury Kiles’s brain damage. Instead, the jury heard
16 disorganized and easily dismissed testimony about Kiles’s “possible” brain
17 damage. (E.g., Tr. Apr. 24, 2006 at 86; Tr. May 8, 2006 at 20; Tr. May 10, 2006 at
18 106.) For example, the State elicited from Dr. Globus that there was no evidence of
19 organic brain damage—based on the lack of testing.127 (Tr. May 8, 2006 at 37.)
20         And, critically, irrefutable evidence of brain damage would have undercut a
21 key aspect of the State’s rebuttal evidence. Evidence of brain damage would have
22 harmed the State’s experts’ testimony that Kiles had anti-social personality disorder
23 (“ASPD”), as such a diagnosis requires ruling out that the underlying behavior is
24
   127
       On redirect, Dr. Globus testified incorrectly (without being qualified to do so)
25 that a scan would not have helped determine brain damage, based on the type of
26 damage he believed Kiles had and because Kiles had been off drugs and in prison
   for so long. (Tr. May 8, 2006 at 26.) Dr. Globus though, was not a brain-damage
27 expert; he testified that he did not find Kiles’s severe lifelong headaches to be
   significant, showing his lack of expertise in brain damage. VanDreumel seemed
28 surprised when he answered this way. (Tr. Apr. 24, 2006 at 94.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 254 of 500



 1 not a consequence of head trauma. See Mann v. Ryan, 828 F.3d 1143, 1172 (9th
 2 Cir. 2016) (en banc) (Thomas, C.J., dissenting); Am. Psychiatric Ass’n, Diagnostic
 3 and Statistical Manual of Mental Disorders 630 (4th ed. Text Revision 2000)
 4 (hereinafter “DSM-IV-TR”).
 5         The failure to hire a brain-imaging specialist had further consequences that
 6 reverberated throughout Kiles’s trial. For example, because of the lack of brain
 7 imaging, VanDreumel ultimately decided not to have the substance-abuse expert
 8 they had hired testify. This was because VanDreumel was concerned that the expert
 9 would be cross-examined on the lack of brain-imaging evidence. But, as Kiles’s
10 addictions were central in so many ways to his story—both as the result of his
11 trauma and as direct cause of the crime—the absence of testimony by the substance-
12 abuse expert left a gaping hole in the defense’s presentation.
13         “An uninformed strategy is not a reasoned strategy. . . . [I]n the absence of
14 diligent investigation, counsel cannot make a reasoned tactical decision regarding
15 whether or not to present mitigating evidence.” Correll, 539 F.3d at 949. Here,
16 counsel’s failure to get brain imaging was not strategic. VanDreumel did not have
17 the expertise to make this determination, and it was unreasonable insofar as it was
18 based on a lack of a proper investigation into Kiles’s social history.128 Further,
19 counsel must engage experts to evaluate specific mental conditions: “[c]ounsel’s
20 own observations of the client’s mental status . . . can hardly be expected to be
21 sufficient to detect the array of conditions . . . that could be of critical importance.”
22 2003 ABA Guideline 4.1 cmt.; see also Summerlin, 427 F.3d at 630 (reasoning that
23 counsel must examine client’s physical-health history for evidence of potential
24 organic brain damage.)
25
     128
26     To the extent that VanDreumel’s decision was based on the report of
   neuropsychologist Scott Sindelar, Ph.D., the decision cannot be considered
27 strategic or defensible. As discussed below, Dr. Sindelar was inadequately prepared
   for his examination of Kiles, and his report was accordingly unreliable and
28 demonstrably inaccurate.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 255 of 500



 1         Counsel’s decision to abandon the investigation at a critical juncture, with
 2 red flags of brain damage abounding, was deficient performance, and the lack of
 3 brain-damage evidence at Kiles’s mitigation phase prejudiced him.
 4         Expert in environmental toxins: Kiles was born and raised in Yuma, Arizona,
 5 and lived there at the time of the crimes. Kiles’s family had lived in Yuma for
 6 generations. Yuma is famously an agricultural community, which carried a serious
 7 risk of environmental-toxin exposure.129 Yuma is also home to a Superfund site: the
 8 Yuma Marine Corps Air Station, where Kiles’s mother worked.130
 9         In 2002, the Ninth Circuit found ineffective assistance where counsel
10 consulted four experts, but failed to hire a neurologist or toxicologist to investigate
11 exposure to pesticides and the effects on the client’s brain. Caro v. Woodford, 280
12 F.3d at 1255. Still, Kiles’s counsel did not consult with an expert about this matter.
13 Kiles’s counsel was further on notice because Dowling included in a 2000 memo
14   129
       By 2000, there was widespread knowledge about the long-term dangers—
15 including brain damage—of agricultural toxins, including pesticides used when
   Kiles was a child in the 1960s and 1970s. See, e.g., Natural Resources Defense
16 Council, Trouble on the Farm: Growing Up with Pesticides in an Agricultural
17 Community (Oct. 1998) (discussing Yuma among agricultural communities where
   children are exposed to toxins); see also Matthew L. Wald, Citing Children, EPA
18 is Limiting Use of a Pesticide, N.Y. Times, Aug. 2, 1999 (describing the banning
   of widely used agricultural pesticides); EPA, Review and Evaluation Report on
19 Pesticide Pollution of the Lower Colorado River (May 1973) https://
20 nepis.epa.gov/Exe/ZyPDF.cgi/91022Q8X.PDF?Dockey=91022Q8X.PDF at 2, 4
   (discussing extensive pesticide use in Yuma and how 1960s studies showed that the
21 Colorado River in Yuma was so polluted by agricultural pesticides that it
   constituted a “serious hazard” to fish and users of its water, which was used for
22 domestic consumption); Patricia Sánchez Lizardi et al., The Effects of
   Organophosphate Pesticide Exposure on Hispanic Children's Cognitive and
23 Behavioral Functioning, 33 Journal of Pediatric Psychology, Jan. 1 2008, at 91–
24 101, https://doi.org/10.1093/jpepsy/jsm047 (describing articles from the 1980s
   through early 2000s on the harmful effects of pesticides).
25 130 Superfund sites are designated by the Environmental Protection Agency as
26 containing chemical contaminants that pose an “unacceptable risk to human health
   or the environment.” The Yuma site contains groundwater contaminated by four
27 different contaminants of concern. It was placed on the National Priorities List in
   1990. Environmental Protection Agency, Yuma Marine Corps Air Station:
28 Background, https://cumulis.epa.gov/supercpad/cursites/csitinfo.cfm?id=0900885.
                                              239
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 256 of 500



 1 to counsel that Kiles picked fruit for local farmers. As discussed previously, counsel
 2 knew that Kiles may have had brain damage and that he had other symptoms
 3 associated with pesticide exposure, such as headaches and asthma. (ROA 1189 at
 4 50–51.) Even so, counsel failed to retain the necessary and appropriate expert to
 5 evaluate Kiles to assess his exposure to and the potential effects of environmental
 6 toxins. It was unreasonable to forgo this line of inquiry without good cause. It is
 7 deficient performance where, as here, counsel “ignored pertinent avenues for
 8 investigation of which [she] should have been aware.” Porter, 558 U.S. at 40.
 9         Counsel were ineffective in failing to consult with experts in these fields.
10 “[I]t is not enough that some of the defense witnesses informed the jury of the facts
11 that might underlie a mental health mitigation defense; expert testimony to explain
12 the ramifications of those experiences on [petitioner’s] behavior . . . is necessary.”
13 Bemore, 788 F.3d at 1172 (internal quotation marks omitted). Absent a sound
14 strategic reason for not doing so, counsel were required to conduct sufficient
15 investigation and preparation to be able to present and explain the significance of
16 all the available mitigating evidence. Counsel could not fulfil this duty without
17 consulting the above experts, and as a result, the evidence that the jury saw was
18 incomplete and misleading. Lambright, 490 F.3d at 1120. Because counsel’s
19 decisions to truncate the investigation meant that counsel failed to present a variety
20 of critical and compelling mitigation, counsel’s error “undermine[s] confidence in
21 the outcome” of Kiles’s mitigation-phase hearing. See Douglas, 316 F.3d at 1091.
22                3.    Counsel performed deficiently in failing to provide the
                        experts she did retain with complete and accurate
23                      information.
24         Closely related to the duty to thoroughly investigate and present mitigation
25 is the duty to provide complete and accurate information about the defendant’s
26 background to evaluating mental-health professionals. Counsel have “an
27 affirmative duty to provide mental-health experts with information needed to
28 develop an accurate profile of the defendant’s mental health.” Caro v. Woodford,
                                             240
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 257 of 500



 1 280 F.3d at 1254. The “duty to provide the appropriate experts with pertinent
 2 information about the defendant is key to developing an effective penalty phase
 3 presentation.” Id. at 1255 (citing Bean, 163 F.3d at 1079–80); see also, e.g.,
 4 Lambright, 490 F.3d at 1117 (counsel has an affirmative duty to provide mental-
 5 health experts with social-history information needed to develop an accurate
 6 mental-health profile of the defendant); Clabourne v. Lewis, 64 F.3d 1373, 1384
 7 (9th Cir. 1995) (counsel failed to provide mental-health experts with records
 8 sufficient to develop an accurate psychological profile of defendant). Counsel must
 9 provide their experts with sufficient information to ensure that the experts can
10 “‘present[] and explain[] the significance of all available [mitigating] evidence.’”
11 Correll, 539 F.3d at 942 (alternations in original) (quoting Mayfield, 270 F.3d at
12 927).
13         In order to provide that foundational information, counsel must first conduct
14 a reasonable investigation into mitigation. See Caro v. Woodford, 280 F.3d at 1255
15 (finding deficient performance when counsel “neither investigated fully this history
16 nor informed the experts . . . of those facts that were known to him”). Only once
17 counsel has assembled an adequate social history and provided that information to
18 experts will they be able to conduct and complete a reliable mental-health
19 evaluation and to recommend additional experts as needed. See, e.g., Russell
20 Stetler, Mental Health Evidence and the Capital Defense Function: Prevailing
21 Norms, 82 UMKC L. Rev. 407 (2014); George W. Woods et al., Neurobehavioral
22 Assessment in Forensic Practice, 35 Int’l J. of L. & Psychiatry 432 (2012).
23         Though VanDreumel hired a number of experts, she unreasonably failed to
24 prepare these experts with an adequate social history. As discussed above,
25 VanDreumel did not direct the mitigation investigation insofar as it involved lay
26 witnesses, instead leaving it in the hands of an inexperienced mitigation specialist.
27 The resulting investigation was incomplete and fell below prevailing professional
28 norms. VanDreumel’s unreasonable investigation into Kiles’s life led to an
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 258 of 500



 1 incomplete social history. As a result, the social history provided to experts was
 2 inadequate. Further, VanDreumel did not provide to the experts many records
 3 which were in her possession and which were necessary to allow the experts to
 4 accurately assess Kiles’s mental health. This failure to adequately inform experts
 5 was compounded by counsel’s failure to consult with experts on trauma, brain
 6 damage, and neurotoxin exposure. See, e.g., Bean, 163 F.3d at 1079-80; Lambright,
 7 490 F.3d at 1117; Caro v. Woodford, 280 F.3d at 1255.
 8         In April 2002, with trial scheduled for July 2002, counsel asked the court to
 9 appoint three mental-health experts: Scott Sindelar, Ph.D., a neuropsychologist,
10 Thomas Gaughan, M.D., a psychiatrist, and Ashley Hart, Ph.D., a psychologist.131
11 (Tr. Apr. 8, 2002 at 10, 14.) Dr. Hart was an expert for the State at Kiles’s trial in
12 1989 and 1990, but he then signed an affidavit for the defense in Kiles’s first state
13 post-conviction proceedings.132
14         Following their appointment, Ty Mayberry, the mitigation specialist,
15 contacted VanDreumel to say he wanted to touch base and get on the same page,
16 because Kiles had told him that experts had been hired. Mary Durand, who oversaw
17 the mitigation specialists in Maricopa County, e-mailed Mayberry around the same
18
19   131
         While the transcript reflects that counsel requested and the court appointed all
20   three experts, the filed motion and the order only call for the appointment of Dr.
     Gaughan and Dr. Sindelar. (See ROA 572 at 1; Tr. Apr. 4, 2002 at 10, 14.) This was
21   likely because Clark filed the motion and proposed order, and he was not involved
     in the decision-making or the case beyond the simple tasks delegated to him. Dr.
22   Hart was appointed a month later, when Kiles himself asked the judge about the
     discrepancy. (Tr. May 6, 2002 at 36.)
23   132
         Dr. Hart evaluated Kiles and testified at the first sentencing hearing that Kiles
24   suffered from a personality disorder and would not have committed the crimes had
     a police officer been at his shoulder, rebutting defense counsel’s theory that Kiles
25   was impaired at the time under a statutory mitigator, A.R.S. § 13-703(G)(1). (Tr.
26   Feb. 7, 1990 at 99, 138, 142.) In 1996, he signed an affidavit stating that after
     reviewing the extensive social history created by post-conviction counsel, he
27   concluded that Kiles’s use of intoxicants was an attempt to self-medicate his
     longstanding mental illness. (Tr. May 9, 2006 at 60, 65; ROA 304 Ex. A at 3.) There
28   is nothing to suggest that Dr. Hart conducted an updated evaluation of Kiles.
                                              242
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 259 of 500



 1 time to tell him that she ran into Clark, who had told her they hired Dr. Sindelar;
 2 Durand wished that counsel had let them know in advance, likely so they could
 3 have had input into the decision. As Mayberry was not consulted in connection with
 4 the hiring of experts, the selection of experts was entirely divorced from the little
 5 lay-witness investigation that had occurred.
 6         At the end of May 2002, counsel sent each expert a stack of papers that
 7 constituted counsel’s mitigation “binder.” VanDreumel included a cover letter that
 8 detailed the facts of the crime, rather than any background on Kiles’s social history.
 9 The letter included, on its final page, one paragraph on Kiles’s social history, which
10 focused on the possibility that Kiles suffered from a character trait of impulsivity
11 and lack of anger control and coping mechanisms. The paragraph framed Kiles’s
12 character as the result of the fact that he was struck by a car as a young child, grew
13 up in a household with domestic violence, and had previously been sent to prison
14 for beating a woman after she slapped him.
15         The materials provided lacked many of the documents considered classic
16 examples of social history to be provided to capital sentencing experts.133 See, e.g.,
17 Correll, 539 F.3d at 943; see also Caro v. Calderon, 165 F.3d at 1226–27.
18 VanDreumel provided the experts with some records, including the following:
19 parole records with psychological evaluations and information on Kiles’s attempts
20
21   133
         In July 2002, Dr. Gaughan requested additional documents—the documents that
22   VanDreumel should have initially provided to him and all experts. These included
     the following: witness statements from the first trial and affidavits gathered for the
23   first state post-conviction proceedings; Kiles’s missing medical, birth and school
     records, military records of discipline, military psychological or psychiatric
24   evaluations referenced by date in other evaluations, legible copies of Kiles’s
     Arizona Department of Corrections (hereinafter “ADOC”) records of psychological
25   evaluation and vocational rehabilitation services, ADOC testing from 1986
26   including IQ testing, interviews with Janell Kiles regarding Kiles or their childhood,
     and divorce records of Kiles’s parents. Dr. Gaughan’s request reveals the extent to
27   which the information that counsel initially provided was below prevailing
     professional norms. While counsel sent Dr. Gaughan the materials he requested, it
28   is unclear if Dr. Hart and Dr. Sindelar ever received them.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 260 of 500



 1 to obtain addiction counseling and vocational rehabilitation services after prison;
 2 Kiles’s father’s naval records and other medical records; Kiles’s incarceration and
 3 medical records from ADOC through 1990; medical records from Kiles’s
 4 childhood; only some of his mother’s mental health and medical records; and his
 5 sister’s criminal history and a summary of presentence reports in her cases.
 6 VanDreumel provided a mix of expert testimony and reports on Kiles’s mental
 7 health from the first trial, as well as a mental-health expert’s affidavit from the first
 8 state post-conviction proceedings.134
 9         Counsel had in their possession, but failed to provide to these experts
10 additional critical records including, for example Kiles’s incarceration and medical
11 records beyond 1990; more-complete documentation of his parents’ medical and
12 mental-health history; Kiles’s school records and Air Force records; and legal
13 records from when Kiles was hit by a car as a child.135 (E.g., ROA 225 Exs. 3, 5,
14 16, 19, 22.)
15         In addition to missing critically important school, military, and updated
16
17   134
          Moreover, VanDreumel relayed the documents she did provide in an
18   unreasonable manner which fell below prevailing professional norms. Mayberry,
     new to capital mitigation, sent the documents in a large pile, not in a binder, to save
19   money. Experts received a 950-page pile without any context or indication as to
20   what the documents were and which were important. On top were graphic
     photographs of Valerie Gunnel’s head injuries, photographs of the blood-spattered
21   apartment, and a photograph of the nine-month-old victim after her body was found
     in a river. While these photographs were removed for some of the experts, at least
22   some received them. Counsel did not send photographs of Kiles as a child and in
     the military that Dowling had tracked down. Following the photographs, counsel
23   included police reports on the crime, and Kiles’s and the medical examiner’s
24   graphic 1989 testimony. It was unreasonable for counsel to place these on top of a
     disorganized stack of papers, giving the experts a negative perspective on Kiles
25   from the beginning. Potentially helpful documents, such as the timeline that
     Mayberry compiled, were hidden in the middle of this stack.
26   135
         Other useful documents that counsel should have had from the first post-
27   conviction proceedings include Kiles’s birth certificate and birth-related records,
     his parents’ marriage license and divorce filings, his father’s death certificate, and
28   his sister’s medical and pregnancy records. (ROA 225 Exs. 1, 2, 14, 17, 21, 70.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 261 of 500



 1 ADOC records, VanDreumel failed to provide any of the affidavits painstakingly
 2 collected by Kiles’s first state post-conviction counsel. VanDreumel also failed to
 3 include testimony from the 1996 state post-conviction hearing, which revealed
 4 important details to contextualize Kiles’s life. This mitigation-focused information
 5 from the first state post-conviction proceedings would have provided important
 6 context on, for example, the violent household in which Kiles was raised, childhood
 7 trauma, mental illness, substance addiction, potential brain damage, his mother’s
 8 alcohol and prescription drug use while pregnant with him, and an intergenerational
 9 history of mental illness and substance addiction. These affidavits included ones by
10 Kiles’s mother and sister. (ROA 225 Ex. 37; PFR2 Dkt. 22 Ex. 3.) VanDreumel
11 also did not include testimony from the 1990 trial that spoke about Kiles’s
12 childhood and substance abuse, or any letters written on his behalf as character
13 references for that trial. While counsel could not rely solely on this information as
14 the basis for the mitigation investigation, it was important to provide this already-
15 collected information to experts.
16         Counsel’s failure to provide experts with a full social history, including the
17 already-obtained affidavits and records, was particularly egregious given that Kiles
18 was previously granted relief for ineffective assistance of counsel. In particular,
19 Kiles’s first state post-conviction counsel argued that Kiles’s original trial counsel
20 “failed to gather the records and background information necessary for a thorough
21 and complete mental health evaluation of Alvie Kiles.” (ROA 225 at 69.) First state
22 post-conviction counsel argued that these experts were not adequately informed of
23 Kiles’s social history in rendering their opinions. (ROA 225 at 68–73.)
24         The materials that VanDreumel failed to send were important to making
25 mental health diagnoses. Kiles’s attorney for his first trial failed to provide many of
26 these same materials to experts. Kiles’s first post-conviction counsel later provided
27 these materials to one of those experts, psychiatrist Alexander Don. He then wrote
28 in an affidavit for the first state post-conviction proceedings that after reviewing the
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 262 of 500



 1 new material, he was able to more correctly diagnose Kiles with mental illnesses
 2 than he had been at trial, when he was not provided with all the relevant materials,
 3 underscoring the importance of these materials. (ROA 225 Ex. 78 at 3.) He
 4 specifically listed materials that were not provided to him initially which he later
 5 was able to review; these almost identically match the list of materials counsel
 6 failed to provide to experts at the second trial.136 (ROA 225 Ex. 78 at 2–3.)
 7         Dr. Sindelar was hired to conduct a neuropsychological evaluation of Kiles
 8 to determine if he had issues such as frontal-lobe brain injury, perhaps as a result of
 9 being hit by a car as a child, which caused him to act impulsively. VanDreumel had
10 determined that Kiles’s impulsivity would be a central mitigation theme, even
11 before having contacted any experts. However, due to the failure to provide Dr.
12 Sindelar with adequate background information, it appears that he did not know it
13 was a death-penalty case. The resulting report was unusable and directly
14 contradicted Kiles’s known history. As a result, VanDreumel was not able to
15 provide other experts with a valid, up-to-date neuropsychological assessment of
16 Kiles, nor were the experts able to effectively counter the State’s neuropsychologist
17 at trial. This undermined the entire mitigation investigation and presentation.
18         Beginning in 2004, once it was clear that Kiles would receive a jury
19 sentencing, counsel retained additional mental-health experts.137 In September
20 2005, with trial scheduled for October 2005, counsel contacted Dr. Albert Globus,
21 a psychiatrist who had testified at the 1996 state post-conviction hearing. Dr.
22 Globus agreed to testify, but said he needed to meet with Kiles again. It appears he
23
24   136
       Inexplicably, counsel did not provide this affidavit by Alexander Don, M.D., to
25 the second penalty-phase experts; instead, she gave an earlier one he had written
   before he had an opportunity to review the new information. (ROA 225 Ex. 62.)
26 137
       The penalty-phase trial was delayed for a number of years following Ring;
27 however, it does not appear that any experts hired in 2002 conducted further
   evaluations of Kiles, nor did counsel send them new information beyond updated
28 ADOC records.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 263 of 500



 1 never did. (Tr. Apr. 25, 2006 at 93.) In July 2004, the court appointed Lesley Hoyt
 2 Croft, Ph.D., as a substance-abuse expert. (ROA 630 at 1.) In 2005, counsel began
 3 to consult with Mark Cunningham, Ph.D., a forensic psychologist; the court
 4 appointed him in September 2005. (ROA 681 at 1.)
 5         While counsel appears to have provided at least some experts with essential
 6 social-history records, counsel failed to provide them with “information needed to
 7 develop an accurate profile of defendant’s mental health.” Caro v. Woodford, 280
 8 F.3d at 1254. Counsel gave Dr. Cunningham the social history that had been
 9 developed, including Dowling’s memos, the affidavits from the first state post-
10 conviction proceedings, and the records that she had, but counsel gave Dr. Croft the
11 same minimal information they had given to Drs. Gaughan, Hart, and Sindelar in
12 2002, with the addition of the new expert reports. Ultimately, because they failed
13 to conduct an adequate investigation, counsel failed to provide the mental-health
14 experts with sufficient underlying information. Some experts had largely outdated
15 information, while at least two had not evaluated Kiles in over a decade.
16         VanDreumel hired Dr. Croft because she recognized the need for a
17 substance-abuse expert, given the importance of Kiles’s addiction as a mitigating
18 factor and the effects of substance abuse on the brain. Dr. Croft met with Kiles and
19 drafted multiple versions of her report. However, VanDreumel voiced concern with
20 Dr. Croft’s description of the brain damage sustained by heavy drug users such as
21 Kiles. Ultimately, VanDreumel appears to not have called her because she was
22 concerned that Dr. Croft could be cross-examined on the lack of brain damage
23 evidence.138
24         VanDreumel also failed to work closely with the experts to provide them
25 with adequate information and to ensure that the experts’ testimony, taken together,
26   138
      Kiles’s second state post-conviction counsel retained an expert to conduct
27 neuroimaging, which demonstrated that Kiles had brain damage. (PFR2 Dkt. 28 Ex.
   25 at 1.) VanDreumel was not aware of this due to her failure to hire an expert to
28 conduct the necessary and clearly indicated brain imaging.
                                            247
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 264 of 500



 1 was coherent. This was in part due to Clark’s almost-complete abdication of
 2 responsibilities in this case and to Mayberry’s lack of experience. While
 3 VanDreumel consulted with Mayberry, she repeatedly voiced the need to sit down
 4 with lead counsel, Mayberry, and Durand, who was supposed to be supervising
 5 Mayberry’s investigation. However, it appears that VanDreumel did not make this
 6 happen. When Mayberry sought to be involved in meetings with experts,
 7 VanDreumel declined, saying that she would handle the experts and that he should
 8 focus on the Yuma investigation. In the months before the trial, VanDreumel
 9 reached out to Clark asking for help, saying she was struggling to get the many
10 experts in line by herself. When VanDreumel contacted experts, she noted the need
11 to meet but said she did not have time, given her five capital cases and the time she
12 was losing trying to get Clark up to speed. VanDreumel similarly conveyed to
13 Mayberry in the months before trial that she was overwhelmed and ready to quit
14 because she had not signed up to be in charge. All of this was happening while
15 VanDreumel was attempting to address evidentiary and jury-instruction matters.
16 (E.g., ROA 677, ROA 678, ROA 682, ROA 692.)
17         As jury selection began in March 2006, VanDreumel had not finalized the
18 mitigation presentation nor spoken to all experts about their testimony. Even after
19 jury selection was complete and the penalty phase was beginning, VanDreumel did
20 not even know who many of Mayberry’s intended lay witnesses were.
21         Dr. Globus reached out to VanDreumel in late March 2006, and she
22 responded that she was sorry she could not return his phone calls because she was
23 so busy, but relayed instructions about his testimony via e-mail. VanDreumel e-
24 mailed Dr. Hart—who had evaluated Kiles in 1990—in late April 2006, days before
25 his testimony, to introduce herself and indicate what she hoped he would testify
26 about. (1990 Trial State Ex. 8 at 1; ROA 304 Ex. A.)
27         The resulting presentation of mental-health expert testimony “did not arise
28 from the requisite informed judgment, and constituted ineffective assistance of
                                             248
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 265 of 500



 1 counsel.” See Bean, 163 F.3d at 1079 (internal quotation marks omitted) (finding
 2 counsel performed deficiently where they did not provide experts with records or
 3 prepare them to testify); see also Caro v. Woodford, 280 F.3d at 1254 (extending
 4 this to records that the experts do not specifically request and explaining that the
 5 “duty to provide the appropriate experts with pertinent information about the
 6 defendant is key to developing an effective penalty phase presentation”). Trial
 7 counsel performed deficiently in failing to adequately prepare their experts to
 8 testify. A failure to prepare witnesses is an “inadequac[y] in rudimentary trial
 9 preparation and presentation,” and as such, it is “not a strategic decision.” Bean,
10 163 F.3d at 1079–80 (describing elements of adequate trial preparation as “an
11 integral thread in the fabric of constitutionally effective representation”).
12                4.    Counsel’s unreasonable investigation and failure to provide
                        experts with critical information resulted in the jury hearing
13                      a constitutionally inadequate mitigation presentation.
14         Instead of a credible and persuasive mitigation presentation, counsel’s failure
15 to conduct an adequate investigation resulted in a string of mental-health expert
16 witnesses testifying on an assortment of topics. They did not build on each other or
17 present a coherent story; instead, they undercut each other’s testimony. While some
18 of the evidence that jurors heard may have been persuasive independently, it was
19 contradicted by other testimony. This contradictory presentation underscored that
20 counsel’s strategy was not based on a reasonable investigation. See Correll, 539
21 F.3d at 949. Insofar as there was a theme presented in mitigation, it was that Kiles
22 was a violent individual, which was prejudicial to Kiles.
23         Defense’s mental-health experts failed to present a persuasive mitigation
24 story for Kiles. Their contradictions cut against each other’s credibility. Further,
25 defense counsel continued to frame Kiles’s story as one of aggression and substance
26 use, instead of one about a traumatized man, suffering from brain damage and
27 struggling to overcome his addictions, abuse, and other impairments. Because
28 counsel did not properly investigate Kiles’s childhood sexual abuse, childhood
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 266 of 500



 1 trauma, brain damage or neurotoxin exposure, the mental-health experts were left
 2 to speculate and make conclusions based on incomplete information, leaving them
 3 less credible to the jury and vulnerable on cross-examination. Had counsel
 4 conducted an adequate investigation, their mental-health experts would not have
 5 contradicted each other and undermined both the reliability of their diagnoses and
 6 their own credibility as experts before the jury. Instead, the jury heard a series of
 7 conflicting diagnoses even before the State presented its case.
 8         Dr. Globus diagnosed Kiles with polysubstance abuse, alcohol and cocaine
 9 dependency, chronic depression stemming from childhood, drug use resulting in
10 psychotic decompensation, and some partial fetal alcohol syndrome. (Tr. Apr. 24,
11 2006 at 107, 118; Tr. May 8, 2006 at 14.)
12         Dr. Gaughan testified the day after Dr. Globus, but said that, while Kiles may
13 have faced situations that caused him to feel depressed, he did not diagnose
14 depression—“nothing pervasive or primary.” (Tr. May 9, 2006 a.m. at 37.) He
15 found that Kiles did not have a psychotic disorder, though he did hallucinate under
16 the influence of drugs. (Tr. May 9, 2006 a.m. at 36.) He diagnosed Kiles with Post-
17 Traumatic Stress Disorder (“PTSD”) resulting from his childhood (Tr. May 9, 2006
18 at 53–64) and attention-deficit hyper-activity disorder (“ADHD”), which often
19 follows from fetal alcohol exposure. (Tr. May 9, 2006 a.m. at 64–66.) As a result
20 of his ADHD, Kiles developed substance abuse. (Tr. May 9, 2006 a.m. at 69.)
21 Further, he diagnosed Kiles with obsessive compulsive disorder (“OCD”) and
22 narcissistic personality traits. (Tr. May 9, 2006 a.m. at 75, 80.)
23         Dr. Hart stood by his 1996 diagnoses of Kiles of long-standing dysthymia,
24 depression, and pre-existing bi-polar disorder. (Tr. May 9, 2006 p.m. at 65.)
25         Dr. Cunningham said that Kiles had substance abuse, hyperactivity, and
26 attention-deficit issues, a probable learning disability, indications of attention-
27 deficit issues, cocaine psychosis, fetal alcohol exposure, and potentially OCD. (Tr.
28 May 10, 2006 at 108, 131; Tr. May 11, 2006 at 35, 63; Tr. May 15, 2006 at 38.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 267 of 500



 1         Counsel’s failure to conduct an adequate mitigation investigation and
 2 provide their experts with adequate records and other pertinent information resulted
 3 in an incomprehensible mess of conflicting diagnoses and other contradictory
 4 conclusions. For example, given the State’s focus on portraying Kiles as a high-
 5 functioning individual who was not mentally impaired but chose a “selfish lifestyle”
 6 (Tr. May 22, 2006 at 60), and given defense’s lack of brain imaging, it was
 7 imperative that counsel prepare defense experts to present a coherent story of
 8 Kiles’s mental impairment. This included his performance in school, which was a
 9 focus of the State that they referenced in closing. (Tr. May 22, 2006 at 74.) Instead,
10 while Dr. Cunningham referenced Kiles’s “academic failure” and Dr. Gaughan said
11 he was a “marginal” student whose difficulty in math was “suggestive of a learning
12 disorder,” Dr. Globus said Kiles was an average student in school. (Tr. May 10,
13 2006 at 52; Tr. May 9, 2006 a.m. at 22; Tr. May 8, 2006 p.m. at 20.)
14         Moreover, given the State’s focus on Kiles’s “choice” to drink, it was
15 essential that counsel present a unified story on how and why Kiles turned to
16 alcohol. However, the defense experts provided different reasons as to why Kiles
17 began drinking: Dr. Globus testified it was due to Kiles’s chronic depression,
18 stemming from childhood. (Tr. Apr. 24, 2006 at 118.) Dr. Gaughan testified it was
19 as a result of impaired impulse control, stemming from Kiles’s attention-deficit
20 disorder and fetal alcohol exposure. (Tr. May 9, 2006 a.m. at 69–70.) Dr. Hart
21 testified that it was an attempt to self-medicate his long-standing dysthymia,
22 depression, and bi-polar disorder. (Tr. May 9, 2006 p.m. at 65.) Dr. Cunningham
23 attributed it to a constellation of things, including the fact that Kiles was given
24 alcohol when he was five years old. (Tr. May 15, 2006 at 69.) Additionally, Dr.
25 Globus testified that people are not predisposed to alcohol; instead, they are
26 predisposed to depression, which leads them to alcohol. (Tr. May 8, 2006 at 22.)
27 The very next day, both Drs. Gaughan and Hart testified about predisposition to
28 alcohol (Tr. May 9, 2006 a.m. at 78; Tr. May 9, 2006 p.m. at 66), and a few days
                                             251
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 268 of 500



 1 later Dr. Cunningham testified about predisposition to alcohol and drugs (Tr. May
 2 15, 2006 at 47). The State took advantage of these inconsistencies in cross-
 3 examination and closing.
 4         The failure to provide each of these mental-health experts with proper
 5 records, to prepare them for testimony, and to properly investigate Kiles’s
 6 mitigation to form a reasonable mitigation strategy damaged each expert at trial.
 7 The following examples illustrate the problems that arose at trial due to counsel’s
 8 failures:
 9         Dr. Globus: Though Dr. Globus was a neuropsychiatrist, he was not a brain-
10 damage expert. He testified that he did not find Kiles’s severe lifelong headaches
11 to be significant and did not explore it (Tr. Apr. 24, 2006 at 94), despite chronic
12 headaches being an indication of head injury. In lieu of calling Kiles’s family
13 members or a more qualified expert, counsel asked Dr. Globus to serve as Kiles’s
14 social historian. Dr. Globus provided a cursory overview of Kiles’s child abuse, his
15 parents’ dysfunctional relationship, his family history, and intergenerational cycles
16 of abuse—going back to how Imojean’s great-grandfather was a slave in Louisiana.
17 (Tr. Apr. 25, 2006 at 5–18, 21–24.) This was based on affidavits Kiles’s first state
18 post-conviction counsel gathered in 1994.139
19         Dr. Globus also appears to have testified in lieu of a substance-abuse expert,
20 explaining various drugs and their effects, even though he explained his knowledge
21 came from a textbook. (Tr. Apr. 25, 2006 at 63–68.) Instead of properly presenting
22 drug addiction and impairment as a progressive disease that vitiates a person’s
23 ability to make “choices” in the traditional sense of the word, he repeatedly used
24 disparaging terms—terms that did not evoke any compassion—such as that Kiles
25
     139
26     At times, Dr. Globus was confused as to what he was supposed to be testifying
   to. (Tr. Apr. 25, 2006 at 21.) Counsel did not ask him to elaborate on any of these
27 “tantalizing” leads, such as Kiles’s parents getting divorced and then remarrying,
   likely because he could not—he only knew what was contained in the affidavits he
28 conspicuously read from. (Tr. Apr. 25, 2006 at 22.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 269 of 500



 1 was “acting crazy,” “fried,” “tweaking,” and that people using drugs “freak out.”
 2 (Tr. Apr. 25, 2006 at 69, 71–75.) Juror questions asked at the end of each day of
 3 Dr. Globus’s testimony show that he did not adequately convey that addiction and
 4 depression were uncontrollable diseases that weighed in favor of leniency. For
 5 example, one asked about the percentage of people who return to drugs after
 6 choosing to seek treatment, and another asked: “To what degree is a pathological
 7 lack of personal responsibility contributory to substance abuse and/or addiction?”
 8 (Tr. Apr. 25, 2006 at 102–03.) At the end of his final day of testimony, the jury
 9 asked: “Do people suffering from depression typically act irresponsibly and/or fail
10 to be accountable for their actions?” and “Can a person with depression still act
11 within the legal constraints of society, without treatment?” (Tr. May 8, 2006 p.m.
12 at 49–51.) To the last question, he answered: “most do.” (Tr. May 8, 2006 p.m. at
13 51.) His answers were inadequate, failing to humanize Kiles and make a case for
14 leniency.
15         Dr. Gaughan: Counsel next called Dr. Gaughan, another psychiatrist. (Tr.
16 May 9, 2006 at 4.) Again, his testimony was framed around a theme of a history of
17 “violence” and “drug problems.” (E.g., Tr. May 9, 2006 a.m. at 17–18.) The gap in
18 time between his evaluation in 2003 and his testimony, and counsel’s failure to
19 prepare him, came out as well—he could not recall whether he had reviewed Kiles’s
20 father’s military records: “You know, at this point, I don’t remember. I will be
21 guessing that’s true.” (E.g., Tr. May 9, 2006 a.m. at 19.)
22         Dr. Hart: When Mayberry first contacted Dr. Hart, he indicated that he did
23 not fully stand behind the affidavit that the first state post-conviction counsel had
24 prepared for him. VanDreumel appears to have not followed up on this concern. As
25 a result, when testifying, Dr. Hart told the jury that he had not written the affidavit
26 and that the prior lawyers had “put the grind on” him to sign it. (Tr. May 9, 2006
27 p.m. at 82.) And, he enthusiastically agreed with the State’s theory on cross-
28 examination: that it had been Kiles’s choice to use substances, despite knowing that
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 270 of 500



 1 drinking caused him to be violent, stating: “Yes, the childhood then could have been
 2 abusive, but it doesn’t change the fact that he understood that if he used drugs he
 3 became violent.” (Tr. May 9, 2006 p.m. at 81–82.) He also undercut the defense
 4 theory that Kiles suffered from PTSD when he stated that science said it had to
 5 result from a single event, and he expressed during cross-examination that he shared
 6 the prosecutor’s doubts about Kiles having been abused as a child. (Tr. May 9, 2006
 7 p.m. at 79–81.)
 8         Dr. Cunningham: Dr. Cunningham testified for two-and-a-half days. While
 9 his testimony covered important information for the jury to hear and presented a
10 broad scope of Kiles’s life and family history, it was largely focused on Department
11 of Justice (“DOJ”) studies on the causes of criminal violence. (Tr. May 10, 2006 at
12 20.) Thus, instead of explaining how Kiles’s trauma experiences and genetic
13 dispositions left him mentally ill, brain-damaged, and struggling to overcome his
14 resulting addiction, his testimony instead told the jury how Kiles ended up a violent
15 person with “bad outcomes:” “psychological disorder, victimized relationships,
16 drug dependency, criminal activity.” (Tr. May 10, 2006 at 37.) While Dr.
17 Cunningham discussed risk factors and adverse developmental factors that shaped
18 Kiles, and how trauma shapes a person throughout his life, the complete picture
19 painted was that Kiles was a violent person who was not deserving of leniency. (See
20 Tr. May 10, 2006 at 93–106, 135.) Counsel’s questions were framed in terms of
21 violence and further supported this picture. (See, e.g., Tr. May 10, 2006 at 85.)
22         Further, VanDreumel’s failure to adequately Dr. Cunningham led her to elicit
23 testimony that seemed to suggest a connection between race and violence. At trial,
24 Dr. Cunningham referenced a series of studies. One looked at delinquency rates in
25 three Washington, D.C. neighborhoods, and reported that in these neighborhoods,
26 80% of young men are “actively involved in criminal activity.” (Tr. May 11, 2006
27 at 15.) He continued on to reference a NAACP study that, “at any given point in
28 time in Washington, D.C. or Baltimore, about half of the black males are in the
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 271 of 500



 1 criminal justice system.” (Tr. May 11, 2006 at 16.) He also cited a study that found
 2 that the rate of homicide among black males 18 to 24 is “about 30 times greater”
 3 than in the population as a whole. (Tr. May 11, 2006 at 17.) While Dr. Cunningham
 4 tried to explain that it is “not about race. It isn’t being black that creates that issue,”
 5 he failed. (Tr. May 11, 2006 at 16–17.) A juror submitted a question asking how
 6 Yuma could be compared to Washington, D.C., which the juror wrote was 99%
 7 black and had the highest crime rate in the nation.140 (Tr. May 11, 2006 at 88.) Race
 8 was on the jurors’ minds, and Dr. Cunningham was raising questions in at least
 9 some jurors’ minds on the connection between race and violent crime. Cf. Buck v.
10 Davis, 137 S. Ct. 759, 775 (2017) (finding ineffective assistance where capital-
11 defense counsel called an expert who presented evidence that African-American
12 client’s race increased his risk of being a continuing threat to society, reasoning that
13 “race [is] among factors that are ‘constitutionally impermissible or totally irrelevant
14 to the sentencing process’” (quoting Stephens, 462 U.S. at 885) and further that
15 “[n]o competent defense attorney would introduce [racially prejudicial] evidence
16 about his own client”). VanDreumel’s elicitation of this troubling testimony
17 amounts to ineffective assistance.
18         Had counsel conducted an adequate mitigation investigation, consulted with
19 the necessary experts, and provided their experts with proper information, they
20 could have presented Kiles to the jury as described above, in section B: a seriously
21 impaired man, who suffered brain damage as the result of being hit by a car as a
22 child, with mental illness that he inherited from his parents, all of which was
23 compounded by childhood trauma of being raised in a terrifying and chaotic home
24 with parents and a sister who abused him as the result of their own mental illness,
25
     140
26    In responding to the jury question, Dr. Cunningham again said that “black
   overrepresentation in criminality and violence” was not because of race. (Tr. May
27 11, 2006 at 90–91.) He then added that most of the homicides among African-
   American men were because “[t]hey’re killing their own.” (Tr. May 11, 2006 at
28 92.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 272 of 500



 1 substance addictions, and an intergenerational history of trauma. The jury could
 2 have learned that despite his life-long efforts to escape and project a veneer of
 3 normalcy, Kiles was ultimately unable to overcome his limitations, overcome his
 4 addictions, or escape the traumatic family dynamic that had shaped his life. Counsel
 5 failed to conduct sufficient investigation and engage in sufficient preparation to
 6 ensure that the experts could “present and explain the significance of all available
 7 mitigating evidence.” Correll, 539 F.3d at 942.
 8         Instead, based on the inadequate investigation, counsel arrived at an
 9 incoherent and ultimately harmful theme of mitigation: that Kiles was violent as a
10 result of his violent parents and his drug abuse. Kiles’s traumatic childhood was
11 framed as the reason why Kiles was violent, not why he was a mentally ill
12 individual, warranting leniency. His substance use was similarly framed as the
13 reason he became aggressive and violent before and leading up to the crime, instead
14 of being framed as a disease that, when compounded with his brain damage,
15 seriously impaired him.
16         This was the mitigation VanDreumel offered the jury to request leniency for
17 the premeditated murder by bludgeoning. These errors were only compounded by
18 counsel’s incompetent handling of the State’s rebuttal evidence.
19                5.    Counsel provided ineffective assistance in failing to
                        adequately investigate and address the State’s evidence and
20                      arguments in mitigation rebuttal.
21         The State hired John Scialli, M.D., a psychiatrist, and John Moran, Ph.D., a
22 clinical psychologist, who then interviewed Kiles together in 2003. (Tr. May 16,
23 2006 at 16, 19.) Defense counsel failed to investigate these experts and the validity
24 of their test results and reports, resulting in a failure to object to their improper
25 testimony, an inadequate cross-examination, and a failure to properly prepare
26 defense’s own witnesses to rebut the state’s witnesses.
27         While the only statutory limit on the State’s rebuttal evidence at the
28 mitigation phase is that it must be “relevant” to the mitigation, the rebuttal evidence
                                              256
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 273 of 500



 1 is also constrained by the Due Process Clause of the Fourteenth Amendment. State
 2 v. Hampton, 140 P.3d 950, 962 (Ariz. 2006); see also Gardner v. Florida, 430 U.S.
 3 349, 358 (1977) (plurality opinion) (“the sentencing process . . . must satisfy the
 4 requirements of the Due Process clause”). “Trial courts should not allow the penalty
 5 phase to devolve into a limitless and standardless assault on the defendant’s
 6 character and history.” Hampton, 140 P.3d at 963. Further, trial counsel had a duty
 7 under the Sixth Amendment to test the State’s case by adequately cross-examining
 8 the State’s witnesses on points critical to the defense. See Crawford v. Washington,
 9 541 U.S. 36, 61 (2004) (recognizing the “testing [of evidence] in the crucible of
10 cross-examination” as central to the constitutional guarantee of reliability).
11            To discharge their duty to provide effective assistance, counsel should have
12 been present at the experts’ interviews of Kiles, interviewed the experts,
13 investigated the experts’ opinions and the bases for their conclusions, and objected
14 to the experts’ testimony. Tucker, 716 F.2d at 581 (“Pretrial investigation and
15 preparation are the keys to effective representation of counsel. Courts have
16 repeatedly stressed the importance of . . . interviewing of important witnesses.”);
17 see also 2003 ABA Guideline 10.11 cmt. (“[c]ounsel should also object to and be
18 prepared to rebut arguments that improperly minimize the significance of
19 mitigating evidence”).
20            However, VanDreumel was not present when the State’s experts interviewed
21 Kiles, despite Dr. Scialli’s testimony that counsel could have attended and he often
22 did interviews with defense counsel present. (Tr. May 16, 2006 at 22.)
23 Compounding this error, counsel failed to interview the State’s experts in advance
24 of trial, despite being permitted to do so.141 See Ariz. R. Crim. P. 14.1(b)(1);
25 15.3(a)(2). VanDreumel also failed to adequately investigate how to undercut the
26 State’s rebuttal evidence. See 2003 ABA Guideline 10.11 cmt. Instead, counsel sat
27
28   141
           In contrast, the State interviewed many of the defense experts before trial.
                                                 257
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 274 of 500



 1 idly while the jurors heard the following inadequately challenged evidence that
 2 shaped their decision:
 3         Dr. Scialli: In a full day’s worth of testimony, Dr. Scialli gave misleading
 4 testimony on Kiles’s childhood abuse and his family’s histories of mental illness
 5 and addiction. (E.g., Tr. May 16, 2006 at 27–30.) He minimized Kiles’s struggles
 6 in school and his neurological impairments. (Tr. May 16, 2006 at 28.) He
 7 characterized Kiles as a violent person who was not impulsive but instead felt a
 8 need to hurt others as retribution for perceived transgressions. (Tr. May 16, 2006 at
 9 33–36.) He diagnosed Kiles with ASPD and attributed many mitigating factors,
10 including Kiles’s impulsivity and his genetic predisposition to alcoholism, to
11 ASPD.142 (Tr. May 16, 2006 at 40, 44, 56.)
12         VanDreumel failed to object when Dr. Scialli testified on topics he was
13 unqualified to discuss. For example, he testified that Kiles did not have Fetal
14 Alcohol Syndrome (“FAS”), because such a diagnosis requires a low birth weight.
15 (Tr. May 16, 2006 at 38.) This was false. Still, counsel neither objected to Dr. Scialli
16 testifying outside his expertise nor cross-examined Dr. Scialli on the matter.143
17 Relatedly, counsel failed to impeach Dr. Scialli when his testimony differed from
18 his report. For example, Dr. Scialli testified that Kiles did not have PTSD because
19 he did not have symptoms such as “vigilance,” and he had not experienced any
20 precipitating event like threatened death. (Tr. May 16, 2006 at 51.) However, he
21 wrote in his report that, as a result of Kiles’s parents’ violence, Kiles was “vigilant”
22 and a “sentry,” and that Kiles was shot at multiple times in his youth. Counsel failed
23
     142
24        Counsel should have objected to the prosecutor’s misconduct during his
     examination. For example, when Dr. Scialli could not answer a question about
25   Kiles’s parents’ substance abuse, Powell answered his own question. (Tr. May 16,
     2006 at 29.) Counsel also failed to object when the State asked questions in a
26   leading and prejudicial manner. For example, Powell asked Dr. Scialli: “Doctor,
27   tell us about the defendant’s progression of violence.” (Tr. May 16, 2006 at 30.)
     143
         Powell referenced this specific testimony in closing and highlighted that it came
28   from a “doctor.” (Tr. May 22, 2006 at 72.) See Claim 9, infra.
                                              258
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 275 of 500



 1 to point out this obvious inconsistency in testimony in cross-examination. (Tr. May
 2 16, 2006 at 72–130.)
 3         Dr. Scialli also provided damaging testimony dismissing the genetic
 4 component of substance and alcohol addiction and, instead, suggested that
 5 addiction can be attributed to ASPD. (Tr. May 16, 2006 at 43–44.) He emphasized
 6 that even for an alcoholic, the decision to drink is a choice. (Tr. May 16, 2006 at
 7 47.) While counsel attempted to cross-examine Dr. Scialli on this issue, counsel did
 8 not call or recall a witness, such as an FAS expert or a substance-abuse expert, to
 9 rebut Dr. Scialli’s harmful and false claims. Counsel contacted Dr. Cunningham
10 after Dr. Scialli’s testimony to ask about the link between genetics and non-alcohol
11 substance abuse, and the expert provided scientific studies that rebutted Dr. Scialli’s
12 conclusions, but by that time it was too late to cross-examine Dr. Scialli with the
13 information. She did not recall Dr. Cunningham to the stand.
14         Through Dr. Scialli, the State propounded its theory that Kiles was a violent
15 person with ASPD who sought to inflict violence on anyone who he perceived as
16 slighting him. (Tr. May 16, 2006 at 32–36.) Powell finished his direct examination
17 of Dr. Scialli by returning to his theme of choice: He asked if Kiles’s substance
18 addiction “in any way negated his ability to make choices” including on the night
19 of the crime. Dr. Scialli answered no. (Tr. May 16, 2006 at 71.) Counsel did not
20 object, allowing the jury to believe that relevant mitigation was limited to that with
21 a casual nexus to the crime or that which proved the statutory (G)(1) mitigator. 144
22         Dr. Moran: During his day-long testimony, Dr. Moran mainly read aloud the
23   144
      A.R.S. § 13-703(G)(1) (renumbered § 13-751(G)(1)) provided that the sentencer
24 “shall consider as mitigation” that the “defendant’s capacity to appreciate the
   wrongfulness of his conduct or conform his conduct to the requirements of law was
25 significantly impaired, but not so impaired as to constitute a defense to
26 prosecution.” VanDreumel was ineffective for failing to allege this as a mitigating
   factor. There was no justification for completely foreclosing this avenue. A wealth
27 of information, of which VanDreumel was aware, supported a “(G)(1)” finding in
   this case, including Kiles’s mental impairments, brain damage, mental illness, and
28 intoxication. However, VanDreumel did not allege any statutory mitigators.
                                              259
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 276 of 500



 1 results of the Millon Clinical Multiaxial Inventory-III (“MCMI”) test, which he
 2 used to diagnose Kiles with ASPD. (Tr. May 17, 2006 at 4–57.)
 3         The MCMI was widely discredited as a mental-health assessment by the time
 4 of trial. It is not a diagnostic measure of mental disorders, nor does it formally
 5 evaluate the DSM criteria for psychiatric diagnoses. See Richard Rogers, Forensic
 6 Use and Abuse of Psychological Tests: Multiscale Inventories, 9(4) Journal of
 7 Psychiatric Practice 316, 319 (2003) (hereinafter “Rogers”).145 The MCMI is
 8 particularly unreliable in a forensic context, because there is no “normal” reference
 9 group and the test “exaggerates an individual’s psychopathology.” Gerald Young,
10 et. al., Causality of Psychological Injury: Presenting Evidence in Court, Springer
11 (2007) (“In forensic work, in contrast, the exaggeration can make a ‘normal’
12 individual appear psychologically pathological.”) Most importantly, “MCMI-III
13 scales cannot be used to diagnose DSM-IV personality disorders; the test may
14 generate errors in about 80% of diagnosed cases.” Rogers at 319. Experts have
15 pointed to the diagnosis of ASPD as an improper use of the MCMI: “Should
16 elevations on these scales–even marked ones—be seen as evidence of antisocial
17 personality disorder? The answer is definitely not.” Rogers at 319–20. Courts have
18 forbidden the use of the MMPI, a similar multiscale inventory, because of the
19 “inadequacy of the correlation factors and the validity factors.” Usher v. Lakewood
20 Engineering & Mfg. Co., 158 F.R.D. 411, 413 (N.D. Ill. 1994.) All of this was
21 known for years before the penalty phase; however, counsel inexplicably failed to
22 object to the use of the tests, and to Dr. Moran’s testimony about the substance of
23 his results. (See Tr. May 17, 2006.) She failed to offer any expert to rebut it.
24
   145
       Multi-scale inventories like the MCMI are sometimes referred to as “objective
25 tests” because answers are input into a testing service, which spits out a series of
26 potentially responsive answers. However, “the term ‘objective tests’ is a
   misnomer. . . . Although the scoring is objective, the interpretation is not.” Rogers
27 at 316. The clinician chooses from multiple set interpretations; this leads to cherry-
   picking and confirmation-bias errors, which Dr. Moran did. (Tr. May 17, 2006 at
28 23 (“I included in the report only information that I thought was confirmed.”).)
                                              260
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 277 of 500



 1         Dr. Moran’s resulting testimony was highly damaging, painting a picture of
 2 Kiles as someone who exploited others and who did not think that rules applied to
 3 him. (Tr. May 17, 2006 at 26.) Beyond diagnosing Kiles with ASPD, Dr. Moran
 4 expanded on the MCMI results without support, noting for example that “[t]he
 5 highest elevation on [Kiles’s] Millon is sadism. And sadism is a person who derives
 6 pleasure from inflicting pain or humiliation.” (Tr. May 17, 2006 at 29.) He further
 7 testified that
 8                  So he’s an impulsive person who instead of taking
                    responsibility and saying I shouldn’t get angry, I have to
 9                  find some way of approaching this that’s polite and
10                  acceptable and constructive, he’s like I’m angry. It’s okay
                    if I express it I think because he felt that he was entitled, he
11                  had some special entitlement to be the person that he was.
                    . . . And that he’s, you know, he’s a dangerous person
12                  because of that sadistic quality and because of the fact he
                    doesn't feel empathy.
13
14 (Tr. May 17, 2006 at 30.) Counsel did not object to Dr. Moran’s “explanation” of
15 the already-invalid MCMI results, which were pure speculation. Counsel also did
16 not object when Dr. Moran used the MCMI results to rebut the concept of mitigation
17 in general: “So again, we’re looking at his way of thinking. Is he taking personal
18 responsibility or is he saying I behaved badly because of things that happened to
19 me or because people mistreated me.” (Tr. May 17, 2006 at 28–29); see also 2003
20 ABA Guideline 10.11 cmt. n.315 (noting that counsel should object on Eighth
21 Amendment grounds to rebuttal testimony that seeks to nullify virtually all
22 mitigation evidence).
23         Rather than framing Kiles’s substance addiction as an illness, Dr. Moran used
24 it as an example of his belief that the rules did not apply to him. He explained it as
25 a method which Kiles used to relieve himself of the guilt he normally felt about
26 discharging his hostile impulses, which Dr. Moran summed up as: “instant A-hole,
27 just add alcohol.” (Tr. May 17, 2006 at 33–34.) Still, VanDreumel did not object.
28         During cross-examination, VanDreumel neglected to confront Dr. Moran
                                                 261
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 278 of 500



 1 with the well-established problems with the MCMI, the basis of hours of disastrous
 2 testimony. See Driscoll v. Delo, 71 F.3d 701, 709 (8th Cir. 1995) (even when
 3 defense counsel elicited a concession from state expert, counsel was deficient for
 4 having failed to take measures to understand the testing performed and the meaning
 5 of the results). While she got Dr. Moran to say that the results of the MCMI testing
 6 only “probably” applied to Kiles (Tr. May 17, 2006 at 64), that hardly sufficed to
 7 counteract the damage.
 8         Dr. Moran testified next about another inapplicable and speculative test,
 9 which he said could be used to predict future violent behavior: the Violence Risk
10 Assessment Guide (“VRAG”). (Tr. May 17, 2006 at 48.) The VRAG was not in Dr.
11 Moran’s report, and on this basis alone, counsel should have objected to Dr.
12 Moran’s testimony. Moreover, the VRAG was both widely criticized and
13 inapplicable to Kiles. See Daryl G. Kroner, A Coffee Can, factor analysis, and
14 prediction of antisocial behavior: The structure of criminal risk, Internat’l J.L. &
15 Psychiatry, 28(4), 360–74 (2005) (finding that the VRAG did not predict post-
16 release failure better than randomly-generated instruments); See John M. Fabian, A
17 Literature Review of the Utility of Selected Violence and Sexual Violence Risk
18 Assessment Instruments, J. Psychiatry & L., 34(3), 307–50 (2006) (explaining that
19 the VRAG was meant to measure short-term, low-risk offenders’ risk of
20 reoffending when released from secure confinement, not to measure the risk of
21 reoffending in a high-security prison). The State wielded the VRAG to rebut Dr.
22 Cunningham’s testimony on Kiles’s upbringing and Aiken’s testimony on his
23 likelihood of future lack of violence in prison. (Tr. May 17, 2006 at 53–54.)
24         Powell concluded his direct examination by having Dr. Moran testify that
25 Kiles was able to make the choice to stop drinking, and that none of the factors that
26 the mental-health experts on both sides had identified—including Kiles’s
27 childhood, substance abuse, and ASPD—negated Kiles’s ability to make choices
28 the night of the crime. (Tr. May 17, 2006 at 55–56.) Counsel should have objected
                                             262
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 279 of 500



 1 to the State’s continued effort to mischaracterize the nature of the mitigation at issue
 2 and to mislead the jury that a causal nexus was required.
 3         VanDreumel had Dr. Moran’s report, which indicated that he was going to
 4 discuss the MCMI, in 2003, years ahead of trial. Still, counsel did not make any
 5 attempt to investigate its validity with the help of experts, and she did not prepare
 6 defense experts to rebut it in advance. She did not try to prevent the use of
 7 invalidated testing, she did not interview Dr. Moran before he testified, and she did
 8 not object to this testimony at trial. The 2003 ABA Guidelines obligate counsel to
 9 “consider witnesses familiar with and evidence . . . that . . . would rebut or explain
10 evidence presented by the prosecutor” and “expert and lay witnesses along with
11 supporting documentation . . . to rebut or explain evidence presented by the
12 prosecutor.” 2003 ABA Guideline 10.11(F)(1),(2). There is no evidence that it was
13 a strategic decision to conduct at most a perfunctory investigation of the State’s
14 experts and their reports. Counsel’s failure was deficient.
15         Dr. Scialli and Dr. Moran reframed and mischaracterized Kiles’s mitigation
16 evidence to portray him as a violent, anti-social pleasure-seeker who sought to get
17 high and hurt people, instead of a man with a constellation of impairments including
18 substance addiction, whose traumatic abuse was crushingly formative. Each
19 testified for a whole day, stating unsupported conclusions that painted Kiles as a
20 monster, with the imprimatur of expertise. They used subjective, irrelevant tests to
21 discredit the already disjointed mitigation evidence Kiles’s counsel presented,
22 minimizing Kiles’s impairments and psychological trauma to support the narrative
23 that Kiles was undeserving of leniency.
24         Had counsel objected to this testimony before it was introduced, or objected
25 to the State’s experts’ testing measures, there is a probability the jury never would
26 have heard any of this damaging evidence. Moreover, counsel should have
27 prepared, and recalled, if necessary, defense experts to rebut the invalid testing and
28
                                              263
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 280 of 500



 1 conclusions of the State’s witnesses.146 It was imperative that counsel at least recall
 2 Dr. Cunningham to explain to the jury that ASPD and the effects of trauma and
 3 mental illness are often conflated, as well as that substance addiction is not a choice.
 4 But counsel did not. Instead, the last testimony the jurors heard before determining
 5 whether Kiles should live or die was two full days of the State’s inflammatory,
 6 unsubstantiated, and largely unchallenged witnesses. Had counsel performed
 7 adequately, it would have substantially “altered the sentencing profile presented”
 8 to the jury, Strickland, 466 U.S. at 700, and there is a reasonable probability that at
 9 least one juror would have voted for life. See Bemore, 788 F.3d at 1176.
10                6.    Counsel’s mitigation-phase closing argument constituted
                        deficient performance that prejudiced Kiles.
11
12         Competent counsel must “take advantage of all appropriate opportunities to
13 argue why death is not [a] suitable punishment for their particular client.” 2003
14 ABA Guideline 10.11(L). There is perhaps no more important moment to fulfill this
15 obligation than closing argument. “The right to effective assistance extends to
16 closing arguments. . . . Closing arguments should ‘sharpen and clarify the issues for
17 resolution by the trier of fact. . . .’” Yarborough v. Gentry, 540 U.S. 1, 5-6 (2003)
18 (citation omitted) (quoting Herring v. New York, 422 U.S. 853, 862 (1975)); see
19 also Strickland, 466 U.S. at 669.
20         However, VanDreumel failed to use this critical opportunity and performed
21 deficiently. VanDreumel failed to argue that there was mitigation to warrant
22 leniency for all three crimes for which Kiles faced death. Instead, she spent an
23 inordinate amount of the closing arguing the circumstances supporting residual
24 doubt that Kiles was responsible for the deaths of the two child victims. (Tr. May
25 22, 2006 at 48–56, 76–77.) That this affected the jury is clear given that the jury
26   146
      For example, counsel could have presented expert testimony explaining that the
27 DSM-IV-TR requires that, to diagnose any personality disorder, the underlying
   behavior cannot be due to the effect of a medical condition such as head trauma.
28 DSM IV-TR at 630. Brain imaging evidence would have addressed this as well.
                                              264
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 281 of 500



 1 sentenced Kiles to death for the adult victim, but failed to reach a verdict on the two
 2 child victims—surely an unusual result. Despite not receiving death on two counts,
 3 Kiles was still sentenced to death at the end of the mitigation phase. Counsel failed
 4 to make the case for life with respect to all three counts.
 5         Instead of making the case for life, VanDreumel continued to push the
 6 narrative that everything in Kiles’s life had made Kiles inherently and inevitably
 7 violent. She argued that, based on Kiles’s life, “subsequent violence should not
 8 surprise anybody in here,” and that abused children “are more likely to be arrested
 9 as juveniles and adults for violent crime.” (Tr. May 22, 2006 at 31, 32.) She asked:
10 “Does it surprise anybody that Alvie’s crime was a crime of domestic violence?”
11 (Tr. May 22, 2006 at 40.) In addition to repeating that Kiles was violent, framing
12 the crime as domestic violence was confusing, as the crime had not been presented
13 that way—indeed, this contradicted the defense’s theory that this was an impulsive
14 crime, and not based on the patterns inherent in domestic violence. This was
15 particularly damaging given that one of the jurors had written extensively on his
16 questionnaire that his father had murdered his mother, a “victim of domestic
17 violence.” Counsel magnified the error later by again later characterizing the crime
18 as “horrific domestic violence committed by Alvie.” (Tr. May 22, 2006 at 43.)
19         VanDreumel minimized Kiles’s serious mental illness, neurological
20 impairments, brain dysfunction, and addiction as “mental health problems,
21 educational difficulties, alcohol and drug abuse.” (Tr. May 22, 2006 at 32.) She
22 repeatedly described his addiction as “drinking and drugging.” (Tr. May 22, 2006
23 at 41.) VanDreumel asked: “Did Alvie drink to self-medicate to quash the
24 depression? Don’t know. That’s one of the reasons people use drugs.” (Tr. May 22,
25 2006 at 81.) This failed to sharpen the issues for consideration and contradicted the
26 testimony of defense experts, further confusing the issues. Instead of framing
27 cocaine’s effect as mental impairment, counsel framed it as: “cocaine causes
28 aggression. Cocaine causes hostility. Cocaine causes impulsivity.” (Tr. May 22,
                                              265
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 282 of 500



 1 2006 at 34.) Counsel needlessly highlighted to the jurors an image of Kiles as a
 2 violent, aggressive man.
 3         VanDreumel highlighted inconsistencies in defense experts’ testimony,
 4 listing all of their diagnoses on large sheets of paper, despite the fact that some had
 5 directly contradicted each other, noting “you know, for the most part, all of the
 6 doctors agree, even the State’s doctors.” (Tr. May 22, 2006 at 33.) She inherently
 7 highlighted the lack of consensus. The bottom line, she said, was that “Alvie acts
 8 impulsively” (Tr. May 22, 2006 at 34), and not that Kiles was neurologically
 9 impaired, brain-damaged, or mentally ill.147 (Tr. May 22, 2006 at 31.)
10         Moreover, VanDreumel early in her closing repeated the State’s greatest
11 theme: that Kiles “had a choice, he chose drugs, he could have just stopped.” (Tr.
12 May 22, 2006 at 28.) She further argued that she had no “quarrel” with the State’s
13 diagnoses, despite the extended time she spent eliciting testimony from her own
14 witnesses that Kiles did not have ASPD, and despite the State’s inflammatory,
15 damaging testimony that included for example, that Kiles was a sadist. (Tr. May
16 22, 2006 at 38; Tr. May 17, 2006 at 29.) After she effectively conceded the State’s
17 damaging diagnoses, she next argued that the only question was how he ended up
18 that way. This was not going to convince any juror that leniency was warranted.
19         Had Kiles’s counsel offered the jury some explanation as to how Kiles’s
20 mitigation warranted leniency, there is a reasonable probability that the outcome of
21 the proceeding would have been different. See Smith v. Spisak, 558 U.S. 139, 155
22 (2010) (recognizing the importance of having fresh in jurors’ minds the connection
23 between mitigating circumstances and the crimes). Had VanDreumel focused on
24 why leniency was warranted for all three convictions, or had she not undermined
25
     147
26    Counsel made odd arguments based on race to try to explain why Kiles had not
   been forthcoming about his traumatic childhood: “And don’t even think about
27 speaking badly about your parents if you are black because there is a real loyalty
   there. It is embedded in the culture. Did it take this trial for us to learn that?” (Tr.
28 May 22, 2006 at 39.)
                                              266
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 283 of 500



 1 her own presentation by framing Kiles as a violent person lacking morality, there is
 2 a reasonable probability that the outcome of the proceeding would have been
 3 different. Kiles was thus prejudiced by counsel’s deficient performance at closing
 4 argument. See Strickland, 466 U.S. at 669.
 5                7.    Counsel provided ineffective assistance when she failed to
                        object to numerous aspects of the State’s closing argument.
 6
 7         Trial counsel failed to object during the State’s closing argument to several
 8 instances of misconduct. See Claim 9, infra.
 9         The purpose of closing argument “is to explain to the jury what it has to
10 decide and what evidence is relevant to its decision.” Sandoval v. Calderon, 241
11 F.3d 765, 776 (9th Cir. 2000). Arguments that frustrate this purpose are improper.
12 Id. When a prosecutor crosses the line of permissible advocacy, a defendant relies
13 on his attorney to challenge the misconduct and seek corrective action, by objecting,
14 urging curative or limiting instructions, or seeking a mistrial. See Zapata v.
15 Vasquez, 788 F.3d 1106, 1116 (9th Cir. 2015) (finding ineffective assistance for
16 failing to object to prosecutor’s closing). Counsel’s decision to sit idly during the
17 prosecutor’s misconduct was unreasonable.
18         Most egregiously, the prosecutor urged jurors to disregard the law and the
19 Constitution’s requirements. Noting that the instructions permitted the jurors to
20 sentence Kiles to life based on mercy without finding any specific mitigation
21 proven, Powell argued “that might be the law, but is that justice? Is that right?” (Tr.
22 May 22, 2006 at 75.)
23         Additionally, the prosecutor misled the jury on the law. For example, he
24 argued that, while he agreed that childhood trauma affects adult behavior and that
25 substance use affects people, it only affects moral culpability “when it takes away
26 volition, when a person cannot control, when it’s to that degree or to that extent.”
27 (Tr. May 22, 2006 at 58.) The State argued throughout its closing that Kiles retained
28 the ability to make choices, and so, leniency was not warranted. For example,
                                              267
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 284 of 500



 1 Powell argued that, even if Kiles did suffer child abuse, the jury had to decide “the
 2 grade agent, how much is there, if it was really so bad that it took away his ability
 3 to make choices, to make proper choices.” (Tr. May 22, 2006 at 73–74; see also Tr.
 4 May 22, 2006 at 58–59, 71.) This implied that the jury could only consider
 5 mitigation evidence if it rendered a defendant incapable of volition or if it had a
 6 causal connection to the crime.148 The Supreme Court has repeatedly held this is
 7 unconstitutional. See, e.g., Tennard v. Dretke, 542 U.S. 274, 284–87 (2004).
 8         The prosecutor also argued non-statutory aggravating factors and urged
 9 jurors to consider mitigation evidence as aggravation, in violation of the Due
10 Process Clause. See A.R.S. § 13-703(F) (1988). For example, the State argued that
11 Kiles’s model behavior in prison should weigh against him, as it showed he could
12 do the right thing when he wanted to. (Tr. May 22, 2006 at 59, 61.) The prosecutor
13 told the jury to consider the victims, as “we have aggravation as well as mitigation.”
14 (Tr. May 22, 2006 at 75.) This was improper. See Humphries v. Ozmint, 397 F.3d
15 206, 235 (4th Cir. 2005) (Wilkinson, C.J., dissenting) (arguing to overturn a death
16 sentence where the State urged the jury to weigh the victim’s life against the
17 defendant’s, as “[n]o person should be executed in America on the theory that his
18 life is of less worth than that of someone else.”).
19         The prosecutor also misrepresented the evidence in order to mislead the jury.
20 See Darden v. Wainwright, 477 U.S. 168, 181–82 (1986); see also Berger, 295 U.S.
21 at 88 (prosecutor’s improper suggestions “are apt to carry much weight against the
22 accused when they should properly carry none”). For example, Powell emphasized
23 that Dr. Scialli testified that one has to have low birth weight to be diagnosed with
24
25   148
      The Ninth Circuit has held that Arizona’s use of a causal-nexus test was contrary
26 to clearly established federal law. McKinney v. Ryan, 813 F.3d 798, 821 (9th Cir.
   2015) (en banc). Although the Arizona courts paid lip service to Tennard at the time
27 of Kiles’s penalty-phase, see, e.g., State v. Anderson, 111 P.3d 369, 391 (Ariz.
   2005), the errors continued in part because prosecutors urged juries to give no
28 weight to mitigation evidence alleged not to have a causal nexus.
                                             268
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 285 of 500



 1 fetal “exposure or to have any type of syndrome or anything like that.” (Tr. May
 2 22, 2006 at 72.) Because Kiles did not have a low birth weight, “[w]e don’t have
 3 anything there.” (Tr. May 22, 2006 at 72.) This was false, as Dr. Scialli was
 4 specifically discussing FAS, not any of the related disorders. (Tr. May 16, 2006 at
 5 37.) Dr. Cunningham and Dr. Gaughan made clear that FAS and fetal alcohol
 6 exposure are not the same thing and that Kiles had the latter. (Tr. May 9, 2006 a.m.
 7 at 40–41; Tr. May 15, 2006 at 38.) As another example, Powell stated that Kiles
 8 was never in special education or “anything like that,” when Kiles had been placed
 9 in a vocational program in high school. (Tr. May 22, 2006 at 74.)
10         Further, the prosecutor stated that Kiles cut a man with a box-cutter “just
11 because of a foul in a basketball game”—conveniently leaving out that the man had
12 knocked out Kiles’s teeth. (Compare Tr. May 22, 2006 at 61 with Tr. May 9, 2006
13 p.m. at 34.) He said that Kiles had assaulted his brother-in-law, but made no
14 mention of the fact that Kiles was protecting his sister from a beating. (Compare
15 Tr. May 22, 2006 at 62 with Tr. May 9, 2006 a.m. at 27.)
16         The prosecutor argued facts outside of the record when he told the jury a
17 detail of the crime that was not in the evidence; it had come up only at Kiles’s 1990
18 hearing. (Tr. May 22, 2006 at 63 (stating that Kiles took Gunnel’s food stamps
19 while she was in the shower); Tr. Feb. 7, 1990 at 133; PFR2 Dkt. 27 Ex. 23 at 2.)
20         The prosecutor improperly vouched for evidence presented at trial. See
21 United States v. Younger, 398 F.3d 1179, 1190 (9th Cir. 2005). For example, he
22 repeatedly used the term “we know” to describe a sequence of events that had not
23 been proven. (Tr. May 22, 2006 at 64.) The Ninth Circuit has specifically cautioned:
24 “We emphasize that prosecutors should not use ‘we know’ statements in closing
25 argument.” Younger, 398 F.3d at 1191.
26         Counsel also failed to object to Powell’s improper inflammatory comments.
27 See Zapata, 788 F.3d at 1114 (declaring inflammatory statements designed to
28 appeal to jury’s passions improper, and ineffective assistance where defense fails
                                             269
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 286 of 500



 1 to object). For example, the prosecutor told the jurors that life outside of prison was
 2 “like a jungle for [Kiles],” relying on racist and prejudicial stereotypes. (Tr. May
 3 22, 2006 at 61.) “The Constitution prohibits racially biased prosecutorial
 4 arguments.” McCleskey v. Kemp, 481 U.S. 279, 309 n.30 (1987). Additionally, the
 5 prosecutor preyed on the jurors’ fears, telling them that, if Kiles was not sentenced
 6 to death and put in solitary confinement, he would be around other people and
 7 “someone might touch him inappropriately. And who knows what will happen at
 8 that time.” (Tr. May 22, 2006 at 61.) This was misleading, as Kiles had not been on
 9 death row in the eight prior years and had been a model inmate. (E.g., Tr. Apr. 27,
10 2006 at 32.)
11         The prosecutor’s misleading and prejudicial remarks prejudiced Kiles by
12 creating the risk that he was sentenced to death in an arbitrary and capricious
13 manner. See Furman, 408 U.S. at 274 (Brennan, J., concurring). Had trial counsel
14 objected and the trial court appropriately restrained the State, there is a reasonable
15 probability that the outcome of the sentencing proceeding would have been
16 different. The failure was also prejudicial because it limited appellate review to
17 independent review of the “propriety of the sentence.” See Kiles, 213 P.3d at 187.
18                8.    Counsel’s deficient performance at the mitigation phase
                        prejudiced Kiles.
19
20         As discussed above, defense counsel conducted a deficient mitigation
21 investigation. Had counsel adequately investigated and prepared for mitigation,
22 Kiles’s jury would “have been faced with a strikingly different and more accurate
23 picture” of Kiles’s life circumstances. Hovey v. Ayers, 458 F.3d 892, 927 (9th Cir.
24 2006). A defendant is prejudiced where there is a reasonable probability that at least
25 one juror would have been persuaded to vote for life by what could have been
26 presented in mitigation had counsel not performed deficiently. See, e.g., Sears, 561
27 U.S. at 954–55.
28         In sum, because of counsel’s insufficient investigation and unreasoned
                                              270
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 287 of 500



 1 decisions, the mitigation presentation consisted of two lay witnesses who did not
 2 know Kiles well, but who suggested he had a fine childhood and was a well-
 3 functioning individual; a member of the defense team who testified to second- and
 4 third-hand information, and who gave the impression that no family member was
 5 willing to testify on Kiles’s behalf; multiple witnesses who testified that Kiles
 6 behaved well in prison—which, when not given the appropriate neuropsychological
 7 context, implied that Kiles could behave well when he chose to do so; mental-health
 8 experts who failed to properly describe addiction as a disease and conveyed that
 9 Kiles was violent; and Dr. Hart, who essentially testified for the State.
10         This was the mitigation VanDreumel offered the jury to request leniency for
11 the premeditated murder of Gunnel.
12         The State followed this ineffectual presentation by offering two full days of
13 testimony by experts who hammered that Kiles had ASPD and was a selfish, violent
14 person who enjoyed inflicting pain on others. They dismissed Kiles’s serious
15 mental illness, childhood trauma, and substance addiction, instead attributing
16 everything to his ASPD and violent choices. Dr. Moran read from and expanded on
17 the baseless MCMI results as if they were fact. VanDreumel did not object to any
18 of this and failed to meaningfully cross-examine the State’s experts, underscoring
19 the impression of validity.
20         VanDreumel herself focused on a theme of Kiles as an inherently violent and
21 aggressive individual with a quick temper, which she drove home in questioning
22 witnesses and in closing. (E.g., Tr. May 9, 2006 a.m. at 67–68; Tr. May 22, 2006 at
23 31, 38, 45.) She minimized his mental illness, substance addiction and childhood
24 trauma. Thus, she framed the question to the jury as whether this violent and
25 aggressive man (who may have become this way through no fault of his own, but
26 instead due to his family and how he was raised) warranted leniency. Had counsel
27 conducted an adequate investigation, the discussion at the mitigation phase would
28 not have been about a violent man, but a mentally ill man, struggling to overcome
                                             271
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 288 of 500



 1 lifelong trauma and substance addiction.
 2         With an adequate mitigation investigation and testimony from a trauma
 3 expert, an addiction expert, and a brain-damage expert, the jury would have heard
 4 a properly contextualized mitigation story. These experts could have shown the jury
 5 how Kiles suffered brain damage, and explained how it impaired his ability to cope
 6 with the world around him. A substance-abuse expert could have explained the truth
 7 about addiction: it is a disease, not a choice, that over time damages a person’s brain
 8 and ability to engage in impulse control and emotional regulation. A trauma expert
 9 could have explained how the instability and constant state of fear that Kiles
10 experienced as a child—and the family dysfunction that continued throughout his
11 life—shaped him and impaired his ability to respond to life’s challenges. These
12 experts could have explained how Kiles’s organic brain damage, combined with his
13 traumatic childhood and addiction, caused a number of deficits that seriously
14 impaired his ability to cope with the world around him, despite his desperate efforts
15 to overcome his limitations and make a better life for himself. A brain-damage
16 expert, a substance-abuse expert and a trauma expert would have contextualized
17 Kiles’s brain damage, traumatic childhood and addiction and explained why these
18 factors warranted leniency. These experts could have humanized Kiles as mentally
19 ill man.
20         Further, an adequate investigation would have undercut key elements of the
21 State’s case. First, appropriate and adequately prepared experts would have been
22 able to directly undercut the State’s claims about Kiles’s ASPD and the MCMI
23 results. Further, the State would not have been able to hammer its point about the
24 lack of concrete brain damage evidence. This would have provided a counterweight
25 to the State’s efforts to reframe the results of Kiles’s mental illness, addiction, and
26 life-shaping trauma as signs of a personality disorder. Additionally, it would have
27 counteracted the State’s claims that Kiles’s mental-health and background-centered
28 mitigation was all based on Kiles’s self-report—which he had a motive to lie about.
                                              272
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 289 of 500



 1 (Tr. May 9, 2006 p.m. at 24, 26; Tr. May 15, 2006 at 27–29, 50; Tr. May 22, 2006
 2 at 72.)
 3           Had counsel provided effective assistance to Kiles, the question to the jury
 4 would not have been whether this violent man had the capacity to make choices,
 5 but instead whether a mentally ill man in the throes of addiction warranted mercy.
 6 Had Kiles’s jury been presented with this more accurate picture, there is a
 7 reasonable probability that at last one of Kiles’s jurors would have imposed a
 8 sentence less than death. Hovey, 458 F.3d at 927. This is especially true where the
 9 jury “ultimately return[ed] a death verdict [for one death] and a verdict of life
10 without parole [for the other deaths].” Bean, 163 F.3d at 1081. Because counsel
11 failed to present a variety of critical and compelling mitigation, counsel’s error
12 undermines confidence in the outcome of Kiles’s mitigation-phase hearing.
13           F.    Counsel provided ineffective assistance in failing to request a
                   special verdict form listing which mitigating circumstances the
14                 jury found proven.
15           Trial counsel performed deficiently and prejudiced Kiles when counsel failed
16 to ask that the court use special verdict forms at the mitigation phase, which would
17 have clarified what mitigating circumstances the jury found proven in imposing
18 death. The Eighth and Fourteenth Amendments require states to provide a
19 mechanism for meaningful direct review of death sentences. Gregg v. Georgia, 428
20 U.S. 153, 197–98 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.); see
21 also State v. Brewer, 826 P.2d 783, 790 (Ariz. 1992). To achieve such meaningful
22 review, “it is important that the record on appeal disclose to the reviewing court the
23 considerations which motivated the death sentence in every case in which it is
24 imposed.” Gardner, 430 U.S. at 361 (plurality opinion). Arizona law helps to ensure
25 meaningful review in non-capital cases, for which the court is required to state for
26 the record the mitigating and aggravating factors it considers and applies when
27 imposing any sentence other than the presumptive term. A.R.S. § 13-701(C); State
28 v. Harrison, 985 P.2d 486 (Ariz. 1999). However, Arizona law fails to offer such
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 290 of 500



 1 protections to capital defendants. Arizona’s death-penalty statute does not require
 2 the jury to identify in its verdict form which mitigating circumstances individual
 3 jurors deemed proven. See A.R.S. § 13-701 (1988). Counsel must request that
 4 specific findings be made. Because Kiles’s counsel did not make such a request, the
 5 verdict forms in Kiles’s case reflect only the ultimate sentence the jury imposed for
 6 each first-degree murder conviction. (See ROA 919 at 1–3.)
 7         As a result, when the Arizona Supreme Court conducted its independent
 8 review of the “aggravation, mitigation, and the propriety of the sentence” in Kiles’s
 9 case, Kiles, 213 P.3d at 187, it did so without the benefit of knowing which
10 mitigating circumstances jurors had found proven. In other words, the court
11 conducted its appellate review without knowing the considerations that motivated
12 the death sentence. That appellate review was not the meaningful review
13 contemplated by Gregg. See Gardner, 430 U.S. at 361 (plurality opinion). That such
14 a review—done without information on what informed the jury’s decision—could
15 not have been meaningful is especially true in this case, where the jury was asked
16 to consider 30 mitigating circumstances and where the jury determined that death
17 was the appropriate sentence on one count but that life imprisonment was
18 appropriate for other counts. (See Tr. May 22, 2006 at 19–21; ROA 919 at 1–3.)
19         Counsel’s failure to request special verdict forms indicating which mitigating
20 circumstances the jurors had found proven deprived Kiles of an adequate appellate
21 review and violated his rights under the Eighth and Fourteenth Amendments to the
22 U.S. Constitution. Kiles was thus prejudiced by counsel’s deficient performance.
23         G.    Counsel were ineffective in failing to object to juror questionnaires
                 and jury instructions that primed the jury to find that death was
24               the appropriate sentence.
25         The Eighth Amendment demands a heightened degree of “reliability in the
26 determination that death is the appropriate punishment in a specific case.”
27 Woodson, 428 U.S. at 305. A sentencer must make an “individualized determination
28 on the basis of the character of the individual and the circumstances of the crime.”
                                             274
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 291 of 500



 1 Stephens, 462 U.S. at 879. Moreover, the Sixth Amendment requires that an
 2 independent and impartial jury, not a judge, make the requisite findings for a death
 3 sentence. See Ring, 536 U.S. at 609. Consequently, for a death sentence to pass
 4 constitutional muster, an independent jury must impose it after an individualized
 5 determination of the appropriate punishment.
 6         Counsel provided ineffective assistance in failing to object to the juror
 7 questionnaires and the jury instructions on the grounds that they conditioned the
 8 jury to favor the death penalty. As a result, Kiles did not receive an independent or
 9 individualized jury sentencing.
10         From the first part of the penalty phase, jurors were given the impression that
11 they needed to be comfortable with imposing death because their role was to
12 sentence Kiles to death. In the questionnaire, 10 of the 67 questions were about the
13 death penalty, whereas only two asked about a life sentence. Moreover, the
14 questions implied that it was the jury’s duty to impose the death penalty. For
15 example, question 56 asked:
16               Assume you are on a jury to determine the punishment for
                 a defendant who has already been convicted of murder and
17               the law gives you a choice of imposing death or life
18               imprisonment with parole eligibility after 25 years. Please
                 check the statement below that best describes your feelings.
19               Check only one.
20 Jurors were given the following four options, all focused on the death penalty:
21               (1) I cannot vote to give the death penalty under any
                 circumstances.
22
                 (2) I am opposed to the death penalty but could vote to
23               impose it in a proper case.
24               (3) My decision on whether to impose the death penalty
                 would depend upon the facts and circumstances of the case.
25               (4) I would vote to impose the death penalty in every case
26               where I could.
27 The questionnaire did not frame the jurors’ choice as one between life or death, but
28 instead as among four different death-focused options. Through such questions, the
                                              275
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 292 of 500



 1 jurors were conditioned from the outset to view death as the default sentence,149
 2 with no objection from trial counsel.
 3         The mitigation-phase instructions similarly primed jurors to favor a death
 4 sentence. The jurors received instructions at the beginning of the mitigation phase
 5 and at the end, shortly before they began deliberations. (Tr. Apr. 24, 2006 at 4–10;
 6 Tr. May 22, 2006 at 14–26.) The instructions made the desired end point clear from
 7 the start, declaring that this was a “death penalty case[.]” (Tr. Apr. 24, 2006 at 7.)
 8 The instructions stated that the jurors needed to decide “whether to oppose the death
 9 penalty” and that “each juror may vote for death or against,” again framing a
10 decision for a life sentence as a contrary or aberrant position. (Tr. Apr. 24, 2006 at
11 8–9 (emphasis added); Tr. May 22, 2006 at 23.) Further, the instructions framed the
12 question for the jurors as “whether to impose the death penalty” without providing
13 a sentence of life as the other, equal choice. (Tr. Apr. 24, 2006 at 9; Tr. May 22,
14 2006 at 23.) Life in prison was not presented as an equally appropriate sentence.
15         Both the preliminary and final mitigation-phase instructions included the
16 following particularly stark statement: “If your verdict is that the Defendant should
17 be sentenced to death, the Defendant will be sentenced to death. If your verdict is
18 that the Defendant should be sentenced to life, the Defendant will not be sentenced
19 to death and the Court will sentence the Defendant to life in prison.” (Tr. Apr. 24,
20 2006 at 9–10; Tr. May 22, 2006 at 24.). Again, the instruction insinuated to the jury
21 that its duty was to impose death and that, should the jury abdicate that duty, then
22 the court would be forced to step in and sentence the defendant.
23         In acceding to such instructions, counsel allowed the sentencing jurors to be
24 given the impression that they had to act outside of the norm to impose a life
25 sentence. As a result, Kiles’s sentencing jurors were primed to impose death,
26 instead of making an independent and individualized decision based on the facts of
27
   149
       Given the importance of primacy in learning, this emphasis on the death penalty
28 when the jurors were first introduced to the case would have had a profound effect.
                                             276
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 293 of 500



 1 his case. See Hurst, 136 S. Ct. at 624; see also Ring, 536 U.S. at 597. Counsel’s
 2 failure to object to these instructions undermined Kiles’s constitutional right to a
 3 reliable, individualized sentencing determination made by an unbiased jury; this
 4 failure amounts to deficient performance. Moreover, this failure prejudiced Kiles:
 5 had counsel objected to the instructions, there is a reasonable probability that the
 6 court would have reworded the instructions and that, in turn, at least one juror would
 7 have voted differently. Accordingly, Kiles’s counsel were constitutionally
 8 ineffective with respect to the mitigation-phase instructions, and Kiles is entitled to
 9 sentencing relief.
10         H.     The cumulative effect of trial counsel’s many instances of deficient
                  performance deprived Kiles of his right to counsel at the
11                mitigation phase and resulted in an unreliable sentencing
12                proceeding.

13         While each instance of trial counsel’s deficient performance prejudiced
14 Kiles, the cumulative effect of those unreasonable missteps was particularly
15 pronounced.
16         Even in a case in which error examined in isolation is not sufficiently
17 prejudicial to warrant reversal, the cumulative effect of multiple errors can still
18 require relief. See Alcala v. Woodford, 334 F.3d 862, 882–83 (9th Cir. 2003)
19 (affirming grant of habeas relief on basis of cumulative effect of multiple errors by
20 counsel); Killian v. Poole, 282 F.3d 1204, 1211 (9th Cir. 2002) (stating that the
21 cumulative effect of errors may be so prejudicial as to require reversal); Harris By
22 & Through Ramseyer v. Wood, 64 F.3d 1432, 1439 (9th Cir. 1995) (holding that the
23 cumulative impact of numerous deficiencies in defense counsel’s performance was
24 prejudicial). Even if this Court finds that no single error caused prejudice, it
25 nonetheless should apply cumulative error principles to grant relief. See Boyde v.
26 Brown, 404 F.3d 1159, 1176 (9th Cir. 2005).
27         Counsel committed multiple errors during Kiles’s mitigation proceeding.
28 Even if this Court were to find that no single error merits relief, the cumulative
                                              277
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 294 of 500



 1 effect of all the errors is so prejudicial that Kiles is entitled to relief on that basis.
 2         To the extent the post-conviction court declined to find cumulative error
 3 because the Arizona state courts do not recognize the doctrine of cumulative
 4 prejudice, its decision contravenes Strickland. See 28 U.S.C. § 2254(d); see also
 5 White, 895 F.3d at 671 (holding that the Arizona post-conviction court erred by
 6 separately addressing the prejudice arising from separate deficiencies at mitigation
 7 phase and observing that “[t]he test is whether it is reasonably likely that the result
 8 of the proceeding would have been different but for counsel’s ‘errors’” (quoting
 9 Strickland, 466 U.S. at 694)).
10         Kiles’s counsel’s failure to object to Kiles being visibly physically restrained
11 and to ensure a complete record to protect Kiles’s right to meaningful appellate
12 review compounded all of counsel’s errors during the mitigation phase and
13 throughout trial. See Claim 3, supra and Claim 16, infra. Counsel’s errors were
14 cumulatively so serious that they deprived him of “a trial whose result is reliable.”
15 Strickland, 466 U.S. at 687. Had counsel provided effective assistance at the
16 mitigation phase and throughout trial, there is a reasonable probability that at least
17 one juror would have not have voted to impose death. See Bemore, 788 F.3d at
18 1176. This Court should find that, taken together, the multiple unreasonable actions
19 and errors of trial counsel warrant relief.
20         I.     The state post-conviction court’s decision that Kiles did not state
                  a colorable claim is no bar to this Court’s de novo review of this
21                claim.
22         The state post-conviction court’s reasoned decision on this claim, with
23 respect to counsel’s failures in the mitigation phase of trial, including the failure to
24 present brain scans and evidence of intermittent explosive disorder, stated that Kiles
25 had shown neither deficient performance nor prejudice. (See ROA 1214 at 2.)
26         The state-court merits ruling on this claim is contrary to and/or an
27 unreasonable application of clearly established federal law for two distinct reasons.
28 See 28 U.S.C. § 2254(d)(1). As noted supra, Claim 3, the only standard the state
                                                278
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 295 of 500



 1 post-conviction court ever stated with respect to the prejudice prong of an
 2 ineffectiveness-of-counsel claim was an outcome-determinative standard: whether
 3 “the outcome would have been different.” (ROA 1214 at 2.) That standard,
 4 however, is contrary to or an unreasonable application of the prejudice standard in
 5 Strickland. See, e.g., Thomas v. Clements, 789 F.3d 760, 767–68 (7th Cir. 2015)
 6 (holding that the state court’s “would have led to a different result” prejudice
 7 standard was an unreasonable application of Strickland); Martin v. Grosshans, 424
 8 F.3d 588, 592 (7th Cir. 2005) (holding that the state court’s prejudice inquiry—
 9 whether “the result of the proceeding would have been different”—was contrary to
10 Strickland). Moreover, as noted earlier, the state court’s failure to consider the
11 cumulative effect of the prejudice from the various failures by trial counsel in the
12 mitigation investigation and presentation was likewise an unreasonable application
13 of or contrary to clearly established Supreme Court precedent. See, e.g., Strickland,
14 466 U.S. at 694–95 (“The defendant must show that there is a reasonable probability
15 that, but for counsel’s unprofessional errors, the result of the proceeding would
16 have been different. . . . In making this [prejudice] determination, a court hearing
17 an ineffectiveness claim must consider the totality of the evidence before the judge
18 or jury.”); Williams, 529 U.S. at 397–98; see also, supra, Claim 3.
19         In addition, the ruling that there was no showing of deficient performance
20 was an unreasonable application of Strickland and Wiggins, which unambiguously
21 provide that unreasoned “decisions” based on an unreasonable investigation are
22 afforded no deference. See Strickland, 466 U.S. at 688; Wiggins, 539 U.S. at 521.
23 The Supreme Court has made clear that a state court must look beyond whether the
24 mitigation presented supports a “superficially reasonable mitigation theory” and to
25 the underlying investigation. Sears, 561 U.S. at 953–54.
26         To the extent that the state court made a determination of fact on this front,
27 that too was unreasonable. See 28 U.S.C. § 2254(d)(2); see also, e.g., Taylor v.
28 Maddox, 366 F.3d 992, 999–1001 (9th Cir. 2004) (discussing ways in which
                                             279
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 296 of 500



 1 § 2254(d)(2) can be satisfied). As the state-court record makes clear, counsel failed
 2 to investigate obvious lines of mitigation; failed to hire crucial experts who could
 3 investigate such lines of mitigation, including brain damage; failed to provide their
 4 own experts with critical information, failed to investigate the State’s rebuttal
 5 experts and failed to develop a theory of mitigation that would persuade any jury
 6 that leniency was warranted. In light of this failure to investigate, counsel’s choice
 7 to present no lay witnesses who knew Kiles well, to present no brain-damage expert
 8 or evidence of brain damage, to present no trauma expert or anyone who could
 9 properly explain and contextualize Kiles’s traumatic upbringing, and to present a
10 mitigation theory that centered on Kiles as a violent individual, among other errors,
11 were necessarily deficient.
12         The finding of no prejudice was likewise unreasonable, both because the state
13 court used the improper legal standard, as described above, but also because the
14 state court—to the extent it made a factual finding—relied on an unreasonable
15 determination under § 2254(d)(2). See Taylor, 366 F.3d at 1001 (“[W]here the state
16 courts plainly misapprehend or misstate the record in making their findings, and the
17 misapprehension goes to a material factual issue that is central to petitioner’s claim,
18 that misapprehension can fatally undermine the fact-finding process, rendering the
19 resulting factual finding unreasonable.”). Here, the state post-conviction court
20 ignored the prejudice demonstrated by the totality of persuasive mitigation evidence
21 that trial counsel could have presented had they conducted an adequate
22 investigation and been able to present and explain the significance of all relevant
23 mitigating evidence. The finding was thus unreasonable within the meaning of
24 § 2254(d)(2). See Williams, 529 U.S. at 397–398; Wiggins, 539 U.S. at 536.
25         Because Kiles has satisfied § 2254(d), this Court’s analysis is
26 “unconstrained” by AEDPA deference.150 See Williams, 529 U.S. at 405–06.
27
   150
       Alternatively, Kiles alleges he can overcome any default by showing cause and
28 prejudice attributable to the ineffective assistance of state post-conviction counsel.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 297 of 500



 1         J.     Conclusion
 2         For the reasons stated above, Kiles’s counsel provided ineffective assistance
 3 at Kiles’s mitigation phase, thereby prejudicing Kiles. The state-court decision is
 4 no bar to this Court’s de novo review of this claim, and Kiles is entitled to relief.
 5                                       Claim Seven
 6         The trial court’s numerous errors during the guilt phase of trial
           violated Kiles’s constitutional rights.
 7
 8         The trial court committed numerous errors during Kiles’s guilt phase,
 9 infringing upon his rights under the Fifth, Sixth, Eighth, and Fourteenth
10 Amendments to the U.S. Constitution. Kiles incorporates by specific reference all
11 facts, allegations, and arguments made elsewhere in this Petition.
12        A.     The trial court erred by not appointing qualified, un-conflicted
                 counsel, violating Kiles’s rights under the Sixth and Fourteenth
13               Amendments.
14         This claim was presented in Kiles’s state post-conviction relief petition.
15 (ROA 1189 at 10–18, 23–30.) The state post-conviction court denied the claim on
16 the merits. (ROA 1214 at 1). For the reasons below, the state court’s denial of this
17 claim constituted an unreasonable application of clearly established federal law, 28
18 U.S.C. § 2254(d)(1), and an unreasonable determination of the facts, id.
19 § 2254(d)(2). Accordingly, § 2254(d) places no limitation on relief, and this Court
20 may review the exhausted claims de novo.
21                1.    The trial court erred by failing to conduct an appropriate
                        inquiry into counsel’s conflicts.
22
23         Kiles petitioned the trial court for appointment of un-conflicted counsel on
24 numerous occasions. (See ROA 392 at 5; ROA 407 at 4; ROA 413 at 1–2; ROA
25 519 at 4; ROA 522 at 1–3; ROA 585 at 7.) There were two specific conflicts which
26 the trial court was constitutionally required to address to ensure the Sixth
27
     See Martinez, 566 U.S. at 9; Strickland, 466 U.S. at 688, 694.
28
                                              281
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 298 of 500



 1 Amendment right to counsel. See Cuyler v. Sullivan, 446 U.S. 335, 347 (1980). The
 2 first was the irrevocably fractured relationship between Kiles and Greg Clark, who
 3 was Kiles’s lead counsel. The second was the conflict of interest with co-counsel,
 4 Treasure VanDreumel.151 Clark hired VanDreumel to defend Clark’s conduct as an
 5 attorney before the Arizona State Bar Association (“Bar”). (ROA 585 at 7.) At the
 6 same time, VanDreumel was representing Kiles while he was actively litigating
 7 Clark’s ineffective assistance and conduct as an attorney in front of the Arizona
 8 Supreme Court and the Bar. (Tr. Jan. 7, 2002 at 68–69.) See Claim 1, supra. The
 9 court failed to address either, and as a result Kiles was deprived of his right to have
10 effective assistance of counsel in violation of the Sixth Amendment.
11         Despite Kiles “alleg[ing] an actual conflict and adverse effect in sufficient
12 and not implausible detail,” the court failed to conduct more than perfunctory,
13 superficial hearings on the truth of the allegations. United States v. Hearst, 638 F.2d
14 1190, 1195 (9th Cir. 1980). The first time Kiles requested new counsel, the court
15 accused Kiles of trying to inject error into the proceedings.152 (Tr. Jan. 22, 1999 at
16 14.) In another hearing, Kiles informed the court, “[i]f you keep Mr. Clark on my
17 case, I don’t know how he is going to be able to defend me because there is some
18 things I need to tell my attorney, but I will not tell him.” (Tr. Aug. 6, 1999 at 17.)
19
     151
20       There were two other issues which Kiles alerted the court to regarding counsel:
     (1) Clark was unqualified to be appointed as capital counsel under the Arizona
21   Rules of Criminal Procedure, and (2) the contract structure under which both his
     attorneys were paid created a conflict of interest. See Claim 1, supra. As to the first,
22   the trial court held a hearing about Clark’s qualifications, but deemed him qualified
     partly based on misrepresentations by Clark. (Tr. Oct. 7, 1998 at 21.) And as to the
23   second, the court decided that claim was best left for collateral review to determine
24   whether a “plausible alternative defense strategy or tactic might have been pursued
     but was not” due to the attorneys’ financial interests. United States v. Wells, 394
25   F.3d 725, 733 (9th Cir. 2005).
     152
26       Inexplicably, the court also believed that because Kiles was facing capital
     punishment, his attorney did not need to meet with him or have substantive
27   communication with him. “Well, if this were a simple burglary case, I would have
     expected Mr. Clark to be down and have a heart-to-heart conversation with Mr.
28   Kiles.” (Tr. Jan. 22, 1999 at 10.)
                                               282
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 299 of 500



 1 The court failed to recognize the irreparable conflict between Kiles and Clark, and
 2 instead held that Kiles to that point had not yet received ineffective assistance of
 3 counsel. (Tr. Aug. 6, 1999 at 47.)
 4         Often the court would choose to do whatever was most expedient rather than
 5 consider Kiles’s pleas for his right to counsel. For instance, when the conflict was
 6 first raised, the court said, “I think if I appoint new counsel, we are going to be no
 7 further ahead. In fact, we will be—in terms of time—we will be that much farther
 8 behind.” (Tr. Jan. 22, 1999 at 10.) This was nearly 18 months before Kiles’s trial
 9 began. And when Kiles alerted the court of the conflict under which VanDreumel
10 represented him, the court, without any reasoning, denied the request for un-
11 conflicted counsel. The court was clearly leaving the issue for appeal, as all he
12 stated as a basis for his denial was, “[W]e are making a record.” (Tr. Jan. 7, 2002
13 at 70.) This was not a determination on the merits, as constitutionally required.
14 Schell v. Witek, 218 F.3d 1017, 1025 (9th Cir. 2000).
15         Therefore, the superficial hearings and cursory dismissals of Kiles’s repeated
16 pleas fell well short of the trial court’s duty to ensure Kiles’s right to effective
17 representation.
18               2.     The trial court erred by failing to appoint qualified,
                        un-conflicted counsel.
19
20         “[A] court confronted with and alerted to possible conflicts of interest must
21 take adequate steps to ascertain whether the conflicts warrant separate counsel.”
22 Wheat v. United States, 486 U.S. 153, 160 (1988); see also Holloway v. Arkansas,
23 435 U.S. 475, 483–84 (1978); Cuyler, 446 U.S. at 347.
24         Under the Sixth Amendment’s right to counsel, “a state trial court has no
25 discretion to ignore an indigent defendant’s timely motion to relieve an appointed
26 attorney.” Schell, 218 F.3d at 1025. Where there is a conflict, generally a court may
27 not resort to a concern about a delay in the proceedings in denying a request for
28 appointment of un-conflicted counsel. See United States v. Moore, 159 F.3d 1154,
                                             283
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 300 of 500



 1 1161 (9th Cir. 1998) (holding that if a request for un-conflicted counsel was not on
 2 the eve of trial, a court may not dismiss such a request on the basis of meeting a
 3 trial schedule or because to appoint new counsel would require a continuance).
 4         The trial court here was continually “confronted with and alerted to possible
 5 conflicts of interest.” Wheat, 486 U.S. at 160. Kiles informed the court explicitly in
 6 pro per motions and at hearings that he had an irreparably fractured relationship
 7 with lead counsel. (See, e.g., ROA 413 at 1–2; Tr. Aug. 6, 1999 at 12–15.) Kiles
 8 alerted the court that Clark had hired VanDreumel to represent Clark in Bar
 9 proceedings, creating a conflict between VanDreumel’s loyalties to both clients.
10 (Tr. Jan. 7, 2002 at 68–69.) Because Kiles’s motions and statements on the conflicts
11 made “a strong showing,” and the “matter was called to the attention of the trial
12 court well before the date of trial,” the “denial of appellant’s motion for a change
13 of appointed counsel was error.” United States v. Williams, 594 F.2d 1258, 1261
14 (9th Cir. 1979).
15         “[T]o compel one charged with [a] grievous crime to undergo a trial with the
16 assistance of an attorney with whom he has become embroiled in irreconcilable
17 conflict is to deprive him of the effective assistance of any counsel whatsoever.”
18 Brown v. Craven, 424 F.2d 1166, 1170 (9th Cir.1970). The trial court deprived
19 Kiles of his Sixth Amendment right to counsel, leading to a “substantial and
20 injurious effect” on his conviction. See Brecht v. Abrahamson, 507 U.S. 619, 623
21 (1993). As such, Kiles’s habeas relief must be granted.
22         B.     The trial court denied Kiles a fair trial by denying his motion for
                  a change of venue.
23
24         Kiles raised this claim in his direct appeal. (DA2 Dkt. 86 at 85–90.) The state
25 court denied the claim. See State v. Kiles, 213 P.3d 174, 184–85 (Ariz. 2009). The
26 state court’s determination constituted an unreasonable application of clearly
27 established federal law, 28 U.S.C. § 2254(d)(1), and an unreasonable determination
28 of the facts, id. § 2254(d)(2). Therefore the strictures of § 2254(d) do not apply and
                                              284
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 301 of 500



 1 this Court can review the exhausted claims de novo.
 2                1.    Kiles’s trial was marked by pervasive, prejudicial media
                        coverage.
 3
 4         “The requirement that a jury’s verdict must be based upon the evidence
 5 developed at the trial goes to the fundamental integrity of all that is embraced in the
 6 constitutional concept of trial by jury.” Turner v. Louisiana, 379 U.S. 466, 472
 7 (1965) (internal quotation marks omitted). Given the rampant, negative publicity
 8 Kiles and his case had received in Yuma, Kiles’s defense counsel submitted a
 9 pretrial motion for a change of venue. Defense counsel argued pretrial publicity had
10 the probable effect of precluding a trial of fair and impartial jurors. (Tr. Apr. 11,
11 2000 at 10.)
12         At argument on the motion, defense counsel stated, “Since the inception of
13 this case there’s been two motions for change of venue. Both times it was reported
14 in the press, and not only was it reported in the press, but the comments made by
15 defense counsel as to why venue should be changed was reported.” (Tr. Apr. 11,
16 2000 at 7.) In other words, because of how extensively the press was covering the
17 proceedings, counsel’s complaints about what the press were reporting were then
18 re-reported in the press, exacerbating the very problem counsel hoped to proscribe.
19         The State told the court, “I really don’t care where we try this case” (Tr. Apr.
20 11, 2000 at 29), but believed the motion for change of venue was premature because
21 there had not yet been any voir dire. (Tr. Apr. 11, 2000 at 29.)
22         The court denied the motion, in part because the judge stated if he had not
23 been involved, he personally “would really have remembered very little about this
24 case.” (Tr. Apr. 11, 2000 at 33–34.) And the court did acknowledge that the press
25 coverage had been prejudicial against Kiles: “You kind of have to trust the press to
26 give a balanced account. I would hope from this point forward the press does give
27 a balanced account and that their news accounts would not seem to have Mr. Kiles
28 convicted before the trial even starts.” (Tr. Apr. 11, 2000 at 34.) Still, the court
                                              285
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 302 of 500



 1 agreed to file the change-of-venue motions under seal, as they would be reported
 2 on and further prejudice Kiles. (Tr. Apr. 11, 2000 at 35–36.)
 3         Upon that denial, defense counsel filed a petition for special action with the
 4 Arizona Supreme Court, arguing that the media coverage was so pervasive and
 5 negative to Kiles he could not receive a fair trial in Yuma. (Case No. M-00-0006,
 6 Pet. For Special Action, Mar. 10, 2000.) The Arizona Supreme Court declined to
 7 accept jurisdiction over the complaint. (ROA 441 at 1.)
 8                2.    Clearly established federal law required a change of venue
                        to ensure Kiles’s due process rights.
 9
10         “[T]he right to jury trial guarantees to the criminally accused a fair trial by a
11 panel of impartial, indifferent jurors” whose decisions “must be based upon the
12 evidence developed at the trial.” Irvin v. Dowd, 366 U.S. 717, 722 (1961) (internal
13 citation and quotation marks omitted). While total ignorance of the facts and issues
14 is not required, a court “cannot foreclose inquiry as to whether, in a given case, the
15 application of that rule works a deprivation of the prisoner’s life or liberty without
16 due process of law.” Id. at 723 (quoting Lisenba v. People of State of California,
17 314 U.S. 219, 236 (1941)). Where, as in Kiles’s case, the “build-up of prejudice is
18 clear and convincing,” the trial court erred in denying a motion for change of venue.
19 Irvin, 366 U.S. at 725.
20         In Irvin, the facts are remarkably similar to those in Kiles’s case. In that case,
21 news stories revealed the details of the petitioner’s prior crimes and called him a
22 “confessed slayer.” Id. at 725–26. Specifically, the newspaper articles in Irvin
23 “reported petitioner’s offer to plead guilty if promised a 99-year sentence, but also
24 the determination, on the other hand, of the prosecutor to secure the death penalty.”
25 Id. at 725–726. No matter jurors’ statements at voir dire, “influence that lurks in an
26 opinion once formed is so persistent that it unconsciously fights detachment from
27 the mental processes of the average man.” Id. at 727–28 (internal citations
28
                                               286
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 303 of 500



 1 omitted).153
 2         A court has committed error in failing to grant a motion for change of venue
 3 if there was “reasonable likelihood that prejudicial news prior to trial . . .
 4 prevent[ed] a fair trial.” Sheppard v. Maxwell, 384 U.S. 333, 363 (1966). Prejudice
 5 is presumed where the pretrial publicity is “massive,” “pervasive,” and “virulent.”
 6 Id. at 335, 354. When determining whether a change of venue is warranted, courts
 7 must analyze such factors as the timing of the media, the degree of exposure to the
 8 investigation, and whether the media is primarily factual or prejudicial. See Casey
 9 v. Moore, 383 F.3d 896, 907–08 (9th Cir. 2004); Ainsworth v. Calderon, 138 F.3d
10 787, 795 (9th Cir. 1998), as amended, 152 F.3d 1223 (9th Cir. 1998).
11                3.    As the media attention prevented Kiles from receiving a fair
                        trial, the trial court erred in denying the motion for change
12                      of venue.
13         The trial court erred in not granting Kiles’s motion for change of venue, as
14 the pervasive, negative, prejudicial media denied his constitutional right to trial
15 before a fair and unbiased jury.
16         Here, the media reporting on Kiles’s case was pervasive enough that motions
17 had to be filed under seal. Defense counsel reported that the press was reporting on
18 motions as she filed them. (Tr. Apr. 11, 2000 at 8.) There was no break in time
19 between reporting and Kiles’s trial, and he was tried before a biased jury as a result.
20         In addition, the reporting was not factual but highly prejudicial. One article
21 printed in the Yuma Sun before Kiles’s second trial commenced declared, “Judge
22 Denies Killer Use of a Pen.” (Tr. Apr. 11, 2000 at 25–26; Case No. CV-00-0143,
23
24   153
         As Justice Frankfurter wrote regarding the inherent tensions in deciding such
     issues, “One of the rightful boasts of Western civilization is that the State has the
25   burden of establishing guilt solely on the basis of evidence produced in court and
26   under circumstances assuring an accused all the safeguards of a fair procedure. . . .
     The Court has not yet decided that, while convictions must be reversed and
27   miscarriages of justice result because the minds of jurors or potential jurors were
     poisoned, the poisoner is constitutionally protected in plying his trade.” Irvin, 366
28   U.S. at 729–30 (Frankfurter, J. concurring).
                                              287
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 304 of 500



 1 Pet. For Special Action, May 5, 2000 at 44.) Other headlines included, “Retrial for
 2 Convicted Murderer in Limbo” (Case No. CV-00-0143, Pet. For Special Action,
 3 May 5, 2000 at 37) and “Convicted Killer’s Attorney Gets More Time to Appeal.”
 4 (Case No. CV-00-0143, Pet. For Special Action, May 5, 2000 at 43.) As in Irvin,
 5 366 U.S. at 725–26, news articles in Yuma before Kiles’s trial in 2000 consistently
 6 reported that Kiles had been convicted before “based on overwhelming evidence of
 7 premeditation” and that he had confessed to multiple people. (Case No. CV-00-
 8 0143, Pet. For Special Action, May 5, 2000 at 36; Tr. Apr. 11, 2000 at 16.) And as
 9 in Irvin, news articles also published statements from Kiles’s prior trial and
10 appellate attorneys that Kiles was not innocent and would have pleaded guilty but
11 for the State seeking the death penalty. (Tr. Apr. 11, 2000 at 13–15.)
12         Moreover, the press was reporting inflammatory details that jurors would
13 never have heard in the courtroom. For instance, the newspapers reported in detail
14 about Kiles’s prior violent felony—details that were so similar to the facts of the
15 current case that they “could never come inside of a criminal trial.” (Tr. Apr. 11,
16 2000 at 11.)
17         Finally, using materials from the first trial, newspaper articles in Yuma
18 opined on the testimony and credibility of witnesses at the second trial, including
19 Kiles himself. (Tr. Apr. 11, 2000 at 20–21.) Given the ineffective assistance of
20 counsel that Kiles received at his first trial, “there was plenty of testimony and
21 information that came in that was totally excludable from any other criminal case.”
22 (Tr. Apr. 11, 2000 at 26.) As a result, the press reporting was much more damaging
23 than in the majority of cases covered by the media, and as such, there is a reasonable
24 likelihood Kiles failed to receive a fair trial in Yuma.
25         Because the newspaper reporting of Kiles’s case was “massive,” “pervasive,”
26 and “virulent,” there was a “reasonable likelihood that prejudicial news prior to trial
27 . . . prevent[ed] a fair trial.” Sheppard, 384 U.S. at 335, 363. As such, the trial court
28 was in error and violated Kiles’s Fifth, Sixth, Eighth, and Fourteenth Amendment
                                               288
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 305 of 500



 1 rights. See Brecht, 507 U.S. at 623. Relief must be granted.
 2         C.     The trial court erred by not dismissing the venire after a highly
                  prejudicial statement poisoned the jury pool.
 3
 4         Kiles did not present this claim in state court. Kiles can overcome any default
 5 by showing cause and prejudice, as the ineffective assistance of Kiles’s state post-
 6 conviction counsel in failing to raise this claim constitutes cause for the default and
 7 resulted in prejudice to Kiles. See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Strickland
 8 v. Washington, 466 U.S. 668, 688, 694 (1984). Kiles will demonstrate at an
 9 evidentiary hearing that state post-conviction counsel fell below the standards of
10 minimally competent capital post-conviction attorneys when they failed to raise this
11 meritorious claim.
12         Because this claim has not been adjudicated by the Arizona state courts, the
13 limitations on relief imposed by 28 U.S.C. § 2254(d) do not apply to this Court’s
14 review, and the Court may consider the merits of the claim de novo.
15              1.   A prospective juror disclosed highly prejudicial information
                     before the venire.
16
17         The voir dire for Kiles’s second trial was conducted on July 7, 2000. Before
18 any juror questionnaires had been given out or counsel had an opportunity to ask
19 questions, the court began by asking the entire venire, “Have any of you ever seen
20 or heard or read anything about this case or have any of you ever heard anyone
21 express an opinion about this case?” (Tr. July 7, 2000 at 39.) The question itself
22 was anodyne, but invited prospective jurors to introduce extraneous information
23 about the case to the entire venire if they offered details beyond a yes or no answer.
24         At the court’s instigation, one person did just that. One venire member who
25 raised her hand told the judge that Shemaeah Gunnel’s uncle worked with her
26 husband and was a family friend when the crime occurred. Rather than speak to the
27 potential juror individually, the court asked follow-up questions before the entire
28 venire, inviting details. The court asked, “Did you talk to the—talk about the case
                                              289
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 306 of 500



 1 either to him or talk to your husband and he talked about things. . . .” The juror
 2 answered that the uncle had told them about the crime, and told them about the
 3 service held for the child. The court continued, and asked a question that would
 4 naturally elicit prejudicial details:
 5                THE COURT: Do you feel that you perhaps might have
 6                some inside information that other people don't?
                  JUROR: No.
 7
                  THE COURT: Okay.
 8
                  JUROR: I just don’t -- when they found the defendant
 9                guilty I was happy, you know.
10 (Tr. July 7, 2000 at 45–46.)
11        Defense counsel immediately requested that questioning stop being
12 conducted in this manner and moved to strike the venire. (Tr. July 7, 2000 at 46.)
13 Counsel correctly pointed out that a curative instruction would only have
14 exacerbated the problem, drawing more attention to the juror’s statements about
15 Kiles’s prior conviction. (Tr. July 7, 2000 at 47.) The judge denied the motion,
16 saying that it was premature, as the court and counsel could continue asking
17 individual jurors generally about media exposure to Kiles’s case. It is worth noting
18 that the judge failed to even identify the problem, as the prejudicial information
19 introduced to the venire was not from the media, but rather from a prospective juror
20 who stated that she was happy when she learned of Kiles’s previous conviction.
21         Despite this being a capital case, the court failed to take even basic
22 precautions to ensure Kiles received his right to a fair and impartial jury.
23              2.    The trial court erred by failing to grant the motion to
                      dismiss the venire.
24
25         “The requirement that a jury’s verdict must be based upon the evidence
26 developed at the trial goes to the fundamental integrity of all that is embraced in the
27 constitutional concept of trial by jury.” Turner v. Louisiana, 379 U.S. 466, 472
28 (1965) (internal quotation marks omitted). The integrity of the jury, especially in a
                                              290
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 307 of 500



 1 capital case, is paramount, and “any ground of suspicion that the administration of
 2 justice has been interfered with” cannot be tolerated. Mattox v. United States, 146
 3 U.S. 140, 149 (1892), superseded by rule as stated in Pena-Rodriguez v. Colorado,
 4 137 S. Ct. 855 (2017). Additionally, “[i]t is vital in capital cases that the jury should
 5 pass upon the case free from external causes tending to disturb the exercise of
 6 deliberate and unbiased judgment.” Id.
 7         Here a juror introduced highly inflammatory, prejudicial information to the
 8 entire venire that the court and both parties had “gone to extraordinary lengths” to
 9 keep out of the proceedings. (Tr. July 7, 2000 at 46.) The court could not have
10 conducted an inquiry into whether this extraneous information biased jurors without
11 further reference to that prejudicial information. Though constitutional rights
12 should never be subject to scheduling concerns, as this information was introduced
13 on the first day of venire, the court could easily have dismissed the pool of
14 prospective jurors and started without a biased jury pool.
15         To ensure due process, “the right to jury trial guarantees to the criminally
16 accused a fair trial by a panel of impartial, indifferent jurors” whose decisions “must
17 be based upon the evidence developed at trial.” Irvin, 366 U.S. at 722 (internal
18 quotation marks and citations omitted). Here, because the court denied the motion
19 to strike the venire, Kiles was denied his constitutional right to a fair and impartial
20 jury. Moreover, as noted by defense counsel, a number of jurors most certainly
21 overheard that prejudicial, extraneous information introduced. (Tr. July 7, 2000 at
22 46.) If even one juror’s deliberations were affected, the defendant is denied the
23 constitutional right to an impartial jury. Mach v. Stewart, 137 F.3d 630, 633 (9th
24 Cir. 1997). The trial court’s denial of the motion to strike the venire violated Kiles’s
25 due process rights under the Fourteenth Amendment and had a “substantial and
26 injurious effect” on his conviction. See Brecht, 507 U.S. at 623.
27
28
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 308 of 500



 1         D.     The trial court’s admission of an excessively gruesome photograph
                  during Kiles’s trial resulted in the denial of a fair trial and due
 2                process.
 3         The admission of a photograph of LeCresha’s decomposed body (see 2000
 4 Trial Ex. 72) was raised by Kiles’s appellate counsel as both a guilt-phase and
 5 penalty-phase trial-court error. (DA2 Dkt. 86 at 56–66.) The Arizona Supreme
 6 Court held that because the penalty-phase jury did not sentence Kiles to death for
 7 the killing of the children, Kiles suffered no prejudice. See Kiles, 213 P.3d at 183.
 8 Where, as in Kiles’s case, there were two different juries for conviction and
 9 sentence, the court’s holding was unreasonable. It failed to recognize that regardless
10 of the ultimate sentence imposed, the photograph was so unduly prejudicial that it
11 rendered the guilt-phase proceeding fundamentally unfair. Therefore, the state
12 court’s denial of this claim was an unreasonable application of or contrary to clearly
13 established federal law, see 28 U.S.C. § 2254(d)(1), and rested on an unreasonable
14 determination of the facts, id. § 2254(d)(2). Accordingly, the strictures of § 2254(d)
15 do not apply to this claim, and this Court may review the merits of this claim de
16 novo.
17                1.    The trial court failed to exclude an irrelevant and gruesome
                        autopsy photograph during the guilt-phase proceedings.
18
19         During questioning of the medical examiner, the State introduced Exhibit 72,
20 a gruesome photograph of the body of LeCresha Kirklin, to the jury. (Tr. July 13,
21 2000 at 101–03; 2000 Trial Ex. 72.) LeCresha’s body had been discovered in a
22 Mexican canal two weeks after her death. The photograph was illustrative not of
23 her injuries from the crime but of the grisly result of decomposition from having
24 been in the water for an extended period of time. The photograph showed “skin
25 slippage,” skin discoloration, soft tissue loss, and damage from crabs and other
26 aquatic animals feeding on the body. (Tr. July 13, 2000 at 102–03.)
27         Notably, because of the damage to the body, the photograph could not
28 demonstrate the wounds which caused LeCresha’s death. While the photograph
                                             292
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 309 of 500



 1 showed “evidence of skin laceration” which may have been caused during the
 2 assault, the medical pathologist stated that the “hole in the skull where the soft tissue
 3 has been eroded” was “all probably due—part of it—due to immersion” in the
 4 water. (Tr. July 13, 2000 at 103.) The photograph showed no evidence of an assault
 5 otherwise. The photograph served no evidentiary purpose, as it did not illustrate or
 6 support the medical examiner’s testimony about LeCresha’s cause of death.
 7         The defense asked no questions about LeCresha’s autopsy or the photo, as
 8 there were no material issues of fact for which the photograph had any evidentiary
 9 value. (Tr. July 13, 2000 at 103–07.)
10         As there was no probative value to the photograph except to inflame and
11 appall the jury, the court’s failure to strike the photograph was a violation of Kiles’s
12 due process rights.
13                2.     The trial court’s admission of an excessively gruesome
                         photograph to the jury was violative of due process and
14                       undermined the fairness of the proceedings.
15         The introduction of gruesome photographs of victims in capital trials raises
16 issues of constitutional dimension. In Zant v. Stephens, the Supreme Court held that
17 the jury should not be allowed to consider evidence that is “totally irrelevant to the
18 sentencing process” and fails to focus on “the character of the individual and the
19 circumstances of the crime.” 462 U.S. 862, 879, 885 (1983). In addition, if the jury
20 is permitted to consider evidence that is so unduly prejudicial that it renders the trial
21 fundamentally unfair, the Due Process Clause of the Fourteenth Amendment has
22 been violated. See Romano v. Oklahoma, 512 U.S. 1, 12 (1994); Darden v.
23 Wainwright, 477 U.S. 168, 179-83 (1986); Donnelly v. DeChristoforo, 416 U.S.
24 637, 643 (1974).
25         Here, the admission of the photograph undermined the fairness of the trial
26 and “so infected the sentencing proceeding with unfairness as to render the jury’s
27 imposition of the death penalty a denial of due process.” Romano, 512 U.S. at 12;
28 Bruton v. United States, 391 U.S. 123, 131 n.6 (1968) (“An important element of a
                                               293
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 310 of 500



 1 fair trial is that a jury consider only relevant and competent evidence bearing on the
 2 issue of guilt or innocence.”). The medical examiner’s testimony regarding the
 3 victims’ injuries and causes of death was uncontroverted by the defense. (Tr. July
 4 13, 2000 at 103–07.) The medical examiner gave a cause of death without reference
 5 to the photograph. (Tr. July 13, 2000 at 101–03). The presentation of the gruesome
 6 photographs added nothing probative to the evidence, especially as the photograph
 7 was not illustrative of the injuries suffered, but rather of the state of the body after
 8 having been in the water for two weeks.
 9         The admission of Exhibit 72 at trial only served to incite the passions of the
10 jurors. The highly prejudicial effect of this evidence easily outweighed any
11 potential minimal probative value, and the introduction of the photograph
12 undermined the fairness of the trial and sentencing proceeding. It had a “substantial
13 and injurious effect” on Kiles’s conviction. See Brecht, 507 U.S. at 623. The trial
14 court abused its discretion by allowing the photo to be admitted by the jury and
15 violated Kiles’s right to due process under the Fourteenth Amendment. See
16 Romano, 512 U.S. at 12; Bruton, 391 U.S. at 131 n.6.
17         E.     The trial court declined to give the jury instructions to which Kiles
                  was constitutionally entitled.
18
19         At Kiles’s guilt phase, despite the fact that Kiles had been charged with
20 premeditated murder, the trial court declined to instruct the jury that it could
21 consider an intoxication defense. The court likewise declined to properly instruct
22 the jury on premeditation and on reasonable doubt. The court’s ineffectual jury
23 instructions denied Kiles his rights to a fair trial, to a complete defense, and to due
24 process under the Fifth, Sixth, and Fourteenth Amendments to the U.S.
25 Constitution.
26         Except as noted below, Kiles presented this claim on direct appeal. (DA2
27 Dkt. 86 at 42–56.) The Arizona Supreme Court’s denial of this claim was contrary
28 to or involved an unreasonable application of the clearly established federal law
                                              294
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 311 of 500



 1
     discussed below, see 28 U.S.C. § 2254(d)(1); it further rested on an unreasonable
 2
     determination of fact, see id. § 2254(d)(2).
 3
                  1.    The trial court erred in failing to instruct the jury that
 4                      premeditation requires actual reflection.
 5         Despite Arizona law explaining that premeditation requires actual reflection,
 6 the trial court declined to give an instruction properly defining premeditation. The
 7 court instructed the jury as follows:
 8                Premeditation means the defendant acts with the
                  knowledge that he will kill another human being when such
 9                intention or knowledge proceeds [sic] the killing by a
10                length of time to permit reflection. An act is not done with
                  premeditation if there is any instant – if it is the instant
11                effect of a sudden quarrel or heat of passion.
12 (Tr. July 19, 2000 at 92–93.) Without additional clarification, the jury could not tell
13 whether premeditation required actual reflection or simply time to premeditate.
14 Further, the trial court’s definition amounted to telling the jury that premeditation
15 equaled knowledge plus “a length of time to permit reflection.” In other words,
16 premeditation equaled knowledge plus time. But then the prosecutor argued that
17 premeditation “can be instantaneous. I mean that can be so fast.” (Tr. July 19, 2000
18 at 35.) In essence, the court’s instruction, especially as eroded by the State’s
19 argument, informed the jury that the State did not need to prove Kiles actually
20 reflected for the jury to convict him of premeditated murder.
21        Under Arizona law, however, premeditation required actual reflection. State
22 v. Thompson, 65 P.3d 420, 428 (Ariz. 2003) (explaining that the jury must find
23 “beyond a reasonable doubt that the defendant actually reflected”); see also State
24 v. Dann, 74 P.3d 231, 239 (Ariz. 2003) (“[I]f a court’s instruction or a prosecutor’s
25 comment to the jury signals that the mere passage of time will suffice to establish
26 the element of premeditation, those instructions or comments constitute error.”);
27 supra, Claim 3. Because the jury was not so instructed, it did not need to find
28 anything more than knowledge and time in order to find Kiles guilty of Gunnel’s
                                              295
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 312 of 500



 1 premeditated first-degree murder.
 2         The omission of actual reflection from the jury instructions meant that,
 3 ultimately, the State was relieved of its burden to prove Kiles guilty of every
 4 element of first-degree murder. That violated one of the most basic tenets of due
 5 process: “the Due Process Clause protects the accused against conviction except
 6 proof beyond a reasonable doubt of every fact necessary to constitute the crime with
 7 which he is charged.” In re Winship, 397 U.S. 358, 364 (1970); see also Sullivan v.
 8 Louisiana, 508 U.S. 275, 277–78 (1993). The Arizona Supreme Court decision
 9 contravened and/or unreasonably applied this Supreme Court precedent and,
10 further, relied on an unreasonable determination of fact that the jury instruction
11 conveyed that premeditation required reflection. State v. Kiles, 213 P.3d 174, 179–
12 80 (Ariz. 2009). Premeditation was the only issue in dispute for Gunnel’s death,
13 and the defense sought to argue that her killing was not first-degree murder because
14 it was not premeditated. (See Tr. July 19, 2000 at 92–93); see also supra, Claim 3.
15 Because of the singular importance of premeditation in this case and the
16 fundamental nature of the constitutional violation that occurred, the violation had a
17 substantial and injurious effect on the verdict. Brecht, 507 U.S. at 623.
18                2.    The trial court erred in denying Kiles an intoxication
                        defense, which he was constitutionally entitled to present.
19
20         Kiles was charged with the knowing premeditated first-degree murder of
21 Gunnel. Kiles, 213 P.3d at 181. The State charged Kiles with knowing, instead of
22 intentional, murder to take advantage of a workaround in Arizona law: a defendant
23 charged with intentional first-degree murder may raise the defense of voluntary
24 intoxication under Arizona law, but a defendant charged with knowing first-degree
25 murder may not. Id. at 182 (noting that A.R.S. § 13-503 (1989) “unambiguously
26 provides that intoxication is a defense only against the culpable mental state of
27 intentionally”). Because Kiles was not charged with a crime of intent, the trial court
28 declined to instruct the jury that intoxication was a defense to the crime of first-
                                             296
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 313 of 500



 1 degree murder. (See Tr. July 19, 2000 at 86–99.) As a result, the jury had no legal
 2 avenue to consider whether and how Kiles’s intoxication at the time of the crime
 3 bore upon the element of premeditation. (See, e.g., Tr. July 17, 2000 at 157–58,
 4 177.)
 5          The court’s denial of an instruction on an intoxication defense was
 6 unconstitutional for multiple reasons. First, it resulted from arbitrary State action,
 7 in violation of Kiles’s due-process and equal-protection rights. Kiles was charged
 8 with a crime of knowledge solely to vitiate his intoxication defense. Cf. State v.
 9 Lavers, 814 P.2d 333, 346 (Ariz. 1991) (“Even if the State charged knowingly
10 rather than intentionally to preclude the introduction of evidence of defendant’s
11 intoxication, we find such a legal strategy acceptable.”). However, in the context of
12 premeditated murder, there is no meaningful difference between intentional murder
13 and knowing murder. Under Arizona law, “‘[p]remeditation’ is the distinguishing
14 feature of first degree murder. Its essence is reflective intent to kill.” State v. Walton,
15 650 P.2d 1264, 1271 (Ariz. Ct. App. 1982 (quoting Judge R. Gerber, Criminal Law
16 of Arizona at 147 (1978)).154 In such a scheme, allowing a State to discriminate
17 against certain comparably situated defendants, who could be charged with either
18 knowing or intentional premeditated first-degree murder, based on whether the
19 State wants to give the defendant the opportunity to present an intoxication defense
20 is both a due-process and an equal-protection violation. Cf. Walton, 650 P.2d at
21 1270 (recognizing that “[a] statute which prescribes different degrees of
22 punishment for the same acts committed under like circumstances by persons in
23 like situations is violative of a person’s right to equal protection of the laws”
24
25   154
      This is in part because the definition of premeditated knowing murder, as given
26 to Kiles’s jury and as discussed above, makes little sense and effectively stripped
   “premeditation” of any meaning. Even the standard legal meaning of premeditation
27 incorporates intent: premeditation is defined as the “[c]onscious consideration and
   planning that precedes an act.” Black’s Law Dictionary (10th ed. 2014).
28 “[P]lanning” necessarily involves intent.
                                                297
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 314 of 500



 1 (alteration in original) (quoting People v. Calvaresi, 534 P.2d 316, 318 (Colo.
 2 1975)).
 3         Second, the denial of the intoxication defense infringed on Kiles’s right to
 4 present a complete defense. “Whether rooted directly in the Due Process Clause of
 5 the Fourteenth Amendment or in the Compulsory Process or Confrontation clauses
 6 of the Sixth Amendment, the Constitution guarantees criminal defendants ‘a
 7 meaningful opportunity to present a complete defense.’” Crane v. Kentucky, 476
 8 U.S. 683, 690 (1986) (quoting California v. Trombetta, 467 U.S. 479, 485 (1984)
 9 (citations omitted); see also Simmons v. South Carolina, 512 U.S. 154, 175 (1994)
10 (O’Connor, J., concurring) (“[O]ne of the hallmarks of due process in our adversary
11 system is the defendant’s ability to meet the State’s case against him.”). While a
12 State can limit the availability of an affirmative defense based on a “valid” reason
13 without contravening due process, Montana v. Egelhoff, 518 U.S. 37, 53, 56 (1996),
14 the State cannot do so arbitrarily. Arizona allows defendants charged with crimes
15 of intent access to an intoxication defense; it can have no valid reason to deny other
16 defendants the ability to meet the State’s case against them.
17         The denial of the opportunity to present a meaningful defense is particularly
18 stark in this context because, under Arizona law, the State need not prove actual
19 reflection. Thompson, 65 P.3d at 427 (premeditation requires actual reflection, but
20 the State need not offer direct proof of that actual reflection). When the State need
21 not directly prove premeditation, eliminating the intoxication defense drastically
22 curtails the opportunity to fairly challenge the element of premeditation, even when
23 the defendant was intoxicated to the point that he lacked the capacity to premeditate.
24 Especially in these circumstances, the denial of the intoxication defense amounted
25 to the denial of Kiles’s right to present a meaningful defense.
26         Finally, given that the State need not offer direct proof of premeditation, the
27 denial of the intoxication defense effectively allowed the jury to find the defendant
28 guilty without the State having to prove every element of the crime. See In re
                                              298
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 315 of 500



 1 Winship, 397 U.S. at 364.
 2         The court unconstitutionally denied Kiles the right to present an intoxication
 3 defense, and the Arizona Supreme Court’s contrary decision was an unreasonable
 4 application of the clearly established federal law cited herein. A legal mechanism
 5 for consideration of his intoxication evidence would have altered the jury’s analysis
 6 considerably, and so the court’s error violated Kiles’s rights.155 See Brecht, 507 U.S.
 7 at 623.
 8                3.    The trial court erred in improperly instructing the jury on
                        the definition of “reasonable doubt.”
 9
10         Kiles did not present this issue in state court. Kiles alleges he can overcome
11 any default by showing cause and prejudice because of the ineffective assistance of
12 appellate and state post-conviction counsel. See Martinez, 566 U.S. at 9; Evitts v.
13 Lucey, 469 U.S. 387, 396 (1985); Strickland, 466 U.S. at 688, 694. Because this
14 claim has not been adjudicated by the Arizona state courts, the limitations on relief
15 imposed by 28 U.S.C. § 2254(d) do not apply to this Court’s review, and the Court
16 may consider the merits of the claim de novo.
17         Contrary to the wishes of trial counsel, the court instructed the jury that
18 “[p]roof beyond a reasonable doubt is proof that leaves you firmly convinced of the
19 defendant’s guilt.” (Tr. July 19, 2006 at 87; see also Tr. July 18, 2006 at 27–28
20 (counsel requesting a different instruction on the definition of reasonable doubt).)
21 The phrase “firmly convinced” reduced the standard of proof the State had to satisfy
22 to something less than reasonable doubt; it is akin to “clear and convincing.” See,
23 e.g., State v. Perez, 976 P.2d 427, 442 (Haw. Ct. App. 1998), aff’d in part, rev’d in
24 part on other grounds, 976 P.2d 379 (Haw. 1999).
25         The reasonable-doubt standard “is indispensable to command the respect and
26 confidence of the community in applications of the criminal law.” In re Winship,
27
   155
       That the court’s instructions on intoxication were unclear only exacerbated the
28 problem. See United States v. Bagby, 451 F.2d 920, 927 (9th Cir. 1971).
                                              299
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 316 of 500



 1 397 U.S. at 364. “It is critical that the moral force of the criminal law not be diluted
 2 by a standard of proof that leaves people in doubt whether innocent men are being
 3 condemned.” Id. As there is a reasonable likelihood that the jury interpreted “firmly
 4 convinced” as a lesser standard of proof than “beyond a reasonable doubt,” the
 5 court’s instruction violated Kiles’s rights to due process and trial by jury under the
 6 Fifth, Sixth, and Fourteenth Amendments to the U.S. Constitution. See id.; see also
 7 Sullivan, 508 U.S. at 278; Estelle v. McGuire, 504 U.S. 62, 72 (1991). Further,
 8 given the nature of this constitutional error and the fact that the defense contended
 9 that the State could not prove issues like premeditation beyond a reasonable doubt,
10 the error was not harmless. See Brecht, 507 U.S. at 623.
11         F.     The trial court unconstitutionally required that Kiles be physically
                  restrained at the guilt phase.
12
13         Kiles did not present this claim in state court. Kiles alleges he can overcome
14 any default by showing cause and prejudice because of the ineffective assistance of
15 appellate and state post-conviction counsel. See Martinez, 566 U.S. at 9; Evitts, 469
16 U.S. at 396; Strickland, 466 U.S. at 688, 694. Because this claim has not been
17 adjudicated by the Arizona state courts, the limitations on relief imposed by 28
18 U.S.C. § 2254(d) do not apply to this Court’s review, and the Court may consider
19 the merits of the claim de novo.
20         The trial court abused its discretion by requiring that Kiles be physically
21 restrained during the guilt-phase proceeding in violation of Kiles’s rights under the
22 Fifth, Sixth and Fourteenth Amendments to the U.S. Constitution. As discussed in
23 Claims 3 and 5, supra, Kiles had a due-process right to be tried without physical
24 restraints absent a compelling justification that those restraints were necessary.
25         “[G]enerally, a criminal defendant has a constitutional right to appear before
26 a jury free of shackles.” Gonzalez v. Pliler, 341 F.3d 897, 900 (9th Cir. 2003)
27 (quoting Spain v. Rushen, 883 F.2d 712, 716 (9th Cir. 1989)). Absent a
28 determination by the trial court that a compelling circumstance justifies their use to
                                              300
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 317 of 500



 1 maintain courtroom security, and that there is no less restrictive measure to achieve
 2 that aim, the Constitution prohibits the use of physical restraints during any phase
 3 of a capital case. See Gonzalez, 341 F.3d at 900.
 4         For the duration of his guilt-phase proceedings, Kiles was forced to wear a
 5 leg brace and ankle shackles. The leg brace would lock up if Kiles moved too
 6 quickly, forcing him to hold the leg brace in place while he was walking. This
 7 included walking to the witness stand to testify in front of the jury. Multiple jurors
 8 saw and/or heard the shackles, or noticed Kiles’s odd gait due to the leg brace.
 9         By failing to determine that shackling was necessary before requiring
10 restraints, the trial court denied Kiles the right to a fair trial. Juror observance of
11 shackling undermined the presumption of innocence to which Kiles was entitled,
12 and it denied him an impartial jury. See Illinois v. Allen, 397 U.S. 337, 344–45
13 (1970); Estelle v. Williams, 425 U.S. 501, 504–05 (1976) (recognizing shackles as
14 a “constant reminder of the accused’s condition . . . [that] may affect a juror’s
15 judgment” and are “so likely to be a continuing influence throughout the trial that
16 . . . an unacceptable risk is presented of impermissible factors coming into play”);
17 see also Deck v. Missouri, 544 U.S. 622, 633 (2005) (noting that shackles imply
18 that the court considers the defendant dangerous, which is “nearly always a relevant
19 factor in jury decisionmaking” in a capital case).
20         The Supreme Court has “defined shackling as ‘the sort of inherently
21 prejudicial practice that . . . should be permitted only where justified by an essential
22 state interest specific to each trial.’” Hedlund v. Ryan, 854 F.3d 557, 568 (9th Cir.
23 2017) (footnote omitted) (quoting Holbrook v. Flynn, 475 U.S. 560, 568–69
24 (1986)). In failing to conduct any inquiry into whether an essential state interest
25 justified shackling Kiles, the court violated Kiles’s due process rights and had a
26 “substantial and injurious effect” on his conviction. See Brecht, 507 U.S. at 623;
27 see also State v. Gomez, 123 P.3d 1131, 1139–42 (Ariz. 2005) (vacating death
28 sentence because defendant was shackled at penalty phase without individualized
                                              301
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 318 of 500



 1 finding of necessity).
 2         G.     The trial court failed to make a complete record of the guilt-phase
                  proceeding in violation of Kiles’s constitutional rights.
 3
 4         Kiles did not present this claim in state court. Kiles alleges he can overcome
 5 any default by showing cause and prejudice because of the ineffective assistance of
 6 appellate and state post-conviction counsel. See Martinez, 566 U.S. at 9; Evitts, 469
 7 U.S. at 396; Strickland, 466 U.S. at 688, 694. Because this claim has not been
 8 adjudicated by the Arizona state courts, the limitations on relief imposed by 28
 9 U.S.C. § 2254(d) do not apply to this Court’s review, and the Court may consider
10 the merits of the claim de novo.
11         As discussed in Claim 16, infra, a complete record is necessary to protect
12 Kiles’s Fourteenth Amendment right to meaningful appellate review. In capital
13 cases, where heightened reliability is required, see Woodson v. North Carolina, 428
14 U.S. 280, 305 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.), the U.S.
15 Supreme Court has “emphasized repeatedly the crucial role of meaningful appellate
16 review in ensuring that the death penalty is not imposed arbitrarily or irrationally.”
17 Parker v. Dugger, 498 U.S. 308, 321 (1991). To ensure that reliability, a defendant
18 must be provided “a sufficiently complete record of the trial proceedings,” Draper
19 v. Washington, 372 U.S. 487, 500 (1963), in order to have “an adequate opportunity
20 to present his claims fairly in the context of the [s]tate’s appellate process.” Ross v.
21 Moffitt, 417 U.S. 600, 616 (1974).
22         During the guilt-phase proceeding, the trial court failed to record bench-
23 conferences (see, e.g., Tr. July 12, 2000 at 82 (“THE COURT: We are back on the
24 record. We talked about several things.”); Tr. July 18, 2000 at 31 (“THE COURT:
25 Okay. If you will stick around, we will informally go over the forms of verdict. MS.
26 VANDREUMEL: Thank you, Judge.”); conferences on jury instructions (Tr. July
27 18, 2000 at 2); discussions on how Kiles’s penalty-phase would proceed after
28 Arizona’s sentencing scheme was declared unconstitutional in Ring v. Arizona, 536
                                              302
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 319 of 500



 1 U.S. 584 (2002) (ROA 584 at 1); and a conference on the failure to give appropriate
 2 jury instructions resulting in a questionable verdict (Tr. July 20, 2000 at 3). The
 3 failure to make a record is not harmless; these off-the-record conferences raise
 4 serious, substantive constitutional issues that required appellate review to ensure
 5 Kiles was not denied his fundamental rights. See Brecht, 507 U.S. at 623.
 6         In Kiles’s case there was not a “‘record of sufficient completeness,’ for
 7 adequate consideration of the errors assigned.” Draper, 372 U.S. at 497 (quoting
 8 Coppedge v. United States, 369 U.S. 438, 446 (1962)). As the trial court’s failures
 9 denied Kiles meaningful appellate review in violation of his due process rights,
10 relief must be granted.
11         H.    The trial court violated Kiles’s right to be free from double
                 jeopardy and a reliable sentencing determination.
12
13         Kiles did not present this claim in state court. Kiles alleges he can overcome
14 any default by showing cause and prejudice because of the ineffective assistance of
15 appellate and state post-conviction counsel. See Martinez, 566 U.S. at 9; Evitts, 469
16 U.S. at 396; Strickland, 466 U.S. at 688, 694. Because this claim has not been
17 adjudicated by the Arizona state courts, the limitations on relief imposed by 28
18 U.S.C. § 2254(d) do not apply to this Court’s review, and the Court may consider
19 the merits of the claim de novo.
20         With respect to the children, Kiles was indicted on and charged with six
21 counts: two counts of premeditated murder, two counts of child abuse, and two
22 counts of felony murder. (ROA 1 at 2.) He was convicted on all six counts. (ROA
23 482 at 5–8.) As explained in Claim 11, infra, by allowing the child-abuse
24 convictions to stand, the trial court subjected Kiles to double jeopardy. A child-
25 abuse charge necessarily merges with premeditated murder where the only child
26 abuse alleged is the premeditated murder. As the Arizona Supreme Court explained:
27              [T]he child abuse-murder situation is akin to the assault-
                murder situation. Although “assault and battery are always
28              included in an unlawful homicide, they are not degrees of
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 320 of 500



 1                such offense requiring the court where death results, to
                  instruct that the defendant may be found guilty thereof.”
 2
 3 State v. Styers, 865 P.2d 765, 771 (Ariz. 1993) (quoting State v. Myers, 125 P.2d
 4 441, 444 (Ariz. 1942)). Notably, Kiles was only charged with a single count against
 5 Valerie Gunnel—premeditated murder. He was not also charged with her assault.
 6 (ROA 1 at 2.)
 7         Since the child-abuse convictions should be subsumed by the premeditated
 8 murder convictions for his child victims, Kiles’s separate child abuse convictions
 9 are a violation of his right to be free from double jeopardy under the Fifth
10 Amendment to the U.S. Constitution. Included in that Fifth Amendment right is
11 “protect[ion] against multiple punishments for the same offense.” North Carolina
12 v. Pearce, 395 U.S. 711, 717 (1969). This is precisely what Kiles was subject to.
13         While the prosecution for both child abuse and premeditated murder was
14 itself improper, the trial court erred by not striking the child-abuse convictions upon
15 receipt of the jury verdicts. A number of jurors found Kiles guilty of premeditated
16 murder and child abuse, thereby convicting Kiles of the same crime twice. The
17 defense requested the child abuse charges be vacated, as the Arizona Supreme Court
18 had explicitly held that “[t]he first degree murder statute, A.R.S. § 13-1105(A)(l ),
19 not the child abuse statute, applies when a person intentionally kills a child victim.”
20 Styers, 865 P.2d at 772 (emphasis added). But rather than address the multiple
21 convictions on the same offense, the trial court stated that while the defense motion
22 raised “interesting issues,” it would not vacate the child-abuse verdicts. (Tr. Dec.
23 29, 2000 at 19–20.)
24         As Kiles was subject to double jeopardy, the trial court’s error violated
25 Kiles’s Fifth Amendment right and had “a substantial and injurious effect” on the
26 reliability of his conviction. See Brecht, 507 U.S. at 623.
27         I.     The cumulative effect of these trial-court errors prejudiced Kiles.
28         The Ninth Circuit recognizes that the cumulative effect of multiple errors

                                              304
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 321 of 500



 1 may prejudice a defendant, even where no single trial error examined alone does
 2 so. See Parle v. Runnels, 505 F.3d 922, 934 (9th Cir. 2007) (finding habeas relief
 3 warranted when combined effect of multiple trial errors resulted in injurious effect
 4 on jury’s verdict); Alcala v. Woodford, 334 F.3d 862, 894–95 (9th Cir. 2003)
 5 (affirming grant of habeas relief where multiple errors by court and counsel
 6 deprived defendant of a fundamentally fair trial); Killian v. Poole, 282 F.3d 1204,
 7 1211 (9th Cir. 2002) (stating that the cumulative effect of errors may be so
 8 prejudicial as to require reversal).
 9          The trial court committed numerous errors during the guilt phase of Kiles’s
10 trial. Even if this Court were to find that none of them merits relief alone, the
11 cumulative effect of all the errors is so prejudicial that Kiles is also entitled to relief
12 on that basis.
13                                         Claim Eight
14          The trial court’s numerous errors during the penalty phase of trial
            violated Kiles’s constitutional rights.
15
16          The trial court committed numerous errors during Kiles’s penalty phase,
17 infringing upon his rights under the Fifth, Sixth, Eighth, and Fourteenth
18 Amendments to the U.S. Constitution. Kiles incorporates by specific reference all
19 facts, allegations, and arguments made elsewhere in this Petition.
20          Except as noted below, Kiles did not present this claim in state court. Kiles
21 alleges that any procedural bar is not adequate or independent and/or that imposing
22 default would be a miscarriage of justice. Alternatively, Kiles alleges he can
23 overcome any default by showing cause and prejudice, including the ineffective
24 assistance of state counsel. See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Strickland
25 v. Washington, 466 U.S. 668 (1984). Because this claim has not been adjudicated
26 by the Arizona state courts, the limitations on relief imposed by 28 U.S.C. § 2254(d)
27 do not apply to this Court’s review, and the Court may consider the merits of the
28 claim de novo.
                                                305
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 322 of 500



 1         A.     The trial court unconstitutionally required that Kiles be physically
                  restrained at the penalty phase.
 2
 3         The trial court’s error in requiring that Kiles be physically restrained during
 4 the penalty phase of trial violated his rights under the Fifth, Sixth and Fourteenth
 5 Amendments to the U.S. Constitution.
 6         As discussed in Claims 3, 5, and 7, supra, Kiles had a right under the Due
 7 Process Clause and the fair-trial guarantee not to be tried wearing physical restraints
 8 unless there was a compelling reason. “[G]enerally, a criminal defendant has a
 9 constitutional right to appear before a jury free of shackles.” Gonzalez v. Pliler, 341
10 F.3d 897, 900 (9th Cir. 2003) (quoting Spain v. Rushen, 883 F.2d 712, 716 (9th Cir.
11 1989)). The use of a stun belt in particular both “raises all of the traditional concerns
12 about the imposition of physical restraints” and interferes with “a different set of a
13 defendant’s constitutionally guaranteed rights.” Gonzalez, 341 F.3d at 900 (quoting
14 United States v. Durham, 287 F.3d 1297, 1305 (11th Cir. 2002)). These include the
15 Sixth Amendment right to confer with counsel at trial and to participate in his case.
16 Gonzalez, 341 F.3d at 900. Absent a determination by the trial court that a
17 compelling circumstance justifies their use to maintain courtroom security, and that
18 there is no less restrictive measure to achieve that aim, the Constitution prohibits
19 the use of physical restraints during any phase of a capital case. See Gonzalez, 341
20 F.3d at 900.
21         Throughout penalty-phase proceedings, Kiles was forced to wear a leg brace
22 and an electric stun belt around his waist.156 Kiles had to hold the leg brace in place
23
     156
24      As the Ninth Circuit explained:
     A stun belt is an electronic device that is secured around a prisoner’s waist. Powered
25   by nine-volt batteries, the belt is connected to prongs attached to the wearer’s left
26   kidney region. When activated remotely, the belt delivers a 50,000-volt, three to
     four milliampere shock lasting eight seconds. Upon activation of the belt, an
27   electrical current enters the body near the wearer’s kidneys and travels along blood
     channels and nerve pathways. The shock administered from the activated belt
28   ‘causes incapacitation in the first few seconds and severe pain during the entire
                                               306
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 323 of 500



 1 at times when he was walking to prevent it from locking up as he moved. At least
 2 one juror saw Kiles’s physical restraints—including, once, a belly chain with
 3 handcuffs—both as Kiles was waiting to enter the courtroom and when he was
 4 sitting at the defense table.
 5         The court failed to make the required finding before forcing Kiles to wear
 6 physical restraints. On February 14, 2006, defense counsel raised the issue of
 7 restraints at a hearing. (Tr. Feb. 14, 2006 at 41.) The trial judge agreed that he would
 8 not have Kiles shackled while in the courtroom as he could not “recall any time that
 9 Mr. Kiles has been a security problem, or risk.” (Tr. Feb. 14, 2006 at 42.) The
10 prosecutor agreed that Kiles was not a bad inmate and said he did not see any need
11 for shackles. (Tr. Feb. 14, 2006 at 42.) However, the prosecutor argued for leg
12 braces, and the parties determined that they needed someone from the Sheriff’s
13 Office to be involved. (Tr. Feb. 14, 2006 at 43.) They agreed that, at an already-
14 scheduled hearing the following week, they would discuss shackling with someone
15 representing the Sheriff’s Office. (Tr. Feb. 14, 2006 at 45.) However, the record on
16 appeal contains no minute order nor transcript from a hearing taking place that day.
17         Regardless of what transpired at that hearing, Kiles was ultimately restrained
18 at trial in a stun belt and leg braces, despite the court and the prosecutor agreeing
19 that Kiles did not present a security risk. This violated Kiles’s constitutional
20 rights.157
21
22 period. Activation may also cause immediate and uncontrolled defecation and
   urination, and the belt’s metal prongs may leave welts on the wearer’s skin requiring
23 as long as six months to heal. Activation of a stun belt can cause muscular weakness
   for approximately 30–45 minutes and heartbeat irregularities or seizures.
24 Accidental activations are not unknown.
25 Gonzalez, 341 F.3d at 901 (citations and internal quotation marks omitted).
   157
26     Further, to the extent that the Sheriff’s Office made the decision regarding the
   stun belt, that decision process was unconstitutional. See Gonzalez, 341 F.3d at 902
27 (finding a court violated defendant’s constitutional rights where correctional
   officers made the stun belt determination, as “[t]he use of physical restraints is
28 subject to close judicial, not law enforcement, scrutiny”).
                                              307
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 324 of 500



 1         Because of the variety of prejudices attributable to restraints—both visible to
 2 the jury and not—that the trial court forced Kiles to wear restraints without an
 3 individualized finding of necessity violated Kiles’s rights to a fair trial, to an
 4 impartial jury, and to effective assistance of counsel. With respect to the stun belt
 5 in particular, “the nature of the device and its effect upon the wearer when activated,
 6 requiring an unwilling defendant to wear a stun belt during trial may have
 7 significant psychological consequences . . . [which] cannot be understated.”
 8 Gonzalez, 341 F.3d at 900. Even more so than shackles, the stun belt “may impede
 9 the defendant’s ability to communicate with his counsel and to participate in the
10 defense of the case.” Gonzalez, 341 F.3d at 900; see also Deck v. Missouri, 544
11 U.S. 622, 631–32 (2005). All of these forms of prejudice infected Kiles’s penalty-
12 phase proceedings and had a “substantial and injurious effect” on his sentence. See
13 Brecht v. Abrahamson, 507 U.S. 619, 623 (1993); see also State v. Gomez, 123 P.3d
14 1131, 1139–42 (Ariz. 2005) (vacating death sentence because defendant was
15 shackled at penalty phase without individualized finding of necessity). Kiles is
16 entitled to relief.
17         B.     The trial court violated Kiles’s constitutional rights during his
                  penalty-phase voir dire.
18
19         As discussed in Claim 4, supra, the Constitution safeguards against a
20 mandatory death sentence upon conviction. Woodson v. North Carolina, 428 U.S.
21 280 (1976). At the heart of that protection is the right to be sentenced by jurors who
22 make an individualized and reasoned moral decision whether life or death is the
23 appropriate sentence by considering and giving full effect to all mitigation. See,
24 e.g., Lockett v. Ohio, 438 U.S. 586 (1978).
25               1.    The trial court should not have struck Prospective Juror 56
                       based on her views of the death penalty, as she evidenced her
26                     ability to be fair and impartial.
27         The trial court’s removal of Prospective Juror 56 for cause violated Kiles’s
28 federal constitutional rights. As discussed in Claim 4, supra, a state may not
                                              308
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 325 of 500



 1 “entrust the determination of whether a man should live or die to a tribunal
 2 organized to return a verdict of death.” Witherspoon v. Illinois, 391 U.S. 510, 521
 3 (1968). In Witherspoon, the Supreme Court held that “a sentence of death cannot
 4 be carried out if the jury that imposed or recommended it was chosen by excluding
 5 veniremen for cause simply because they voiced general objections to the death
 6 penalty or expressed conscientious or religious scruples against its infliction.” Id.
 7 at 522. The imposition of death upon a criminal defendant by “a hanging jury”
 8 simply “cannot be squared” with the due process guarantee. Id. at 522–23. The
 9 Supreme Court has since clarified that the operative question is “whether the juror’s
10 views would ‘prevent or substantially impair the performance of his duties as a juror
11 in accordance with his instructions and his oath.’” Wainwright v. Witt, 469 U.S.
12 412, 424 (1985) (quoting Adams v. Texas, 448 U.S. 38, 45 (1980)).
13         In Adams, the Court reversed a defendant’s death sentence under
14 circumstances similar to those in Kiles’s case. There, a trial court excused
15 prospective jurors from jury service who stated during voir dire “that they would
16 be ‘affected’ by the possibility of the death penalty, but who apparently meant only
17 that the potentially lethal consequences of their decision would invest their
18 deliberations with greater seriousness and gravity or would involve them
19 emotionally.” 448 U.S. at 49. The trial court also excluded for cause jurors who
20 “were unable positively to state whether or not their deliberations would in any way
21 be ‘affected.’” Id. at 50. In reversing the defendant’s death sentence, the Supreme
22 Court stated: “[N]either nervousness, emotional involvement, nor inability to deny
23 or confirm any effect whatsoever is equivalent to an unwillingness or an inability
24 on the part of the jurors to follow the court’s instructions and obey their oaths,
25 regardless of their feelings about the death penalty.” Id. It concluded that the trial
26 court’s “grounds for excluding these jurors were consequently insufficient under
27 the Sixth and Fourteenth Amendments.” Id.
28         As in Adams, the trial court’s for-cause removal of Prospective Juror 56 due
                                             309
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 326 of 500



 1 to her views on capital punishment violated Kiles’s constitutional rights. The record
 2 contains no indication that Prospective Juror 56’s views on capital punishment
 3 “would prevent or substantially impair the performance of [her] duties as a juror[.]”
 4 Wainwright, 469 U.S. at 434. Indeed, the record illustrates that Prospective Juror
 5 56 instead expressed that, though she did not personally believe in the death penalty,
 6 she could impose it. (Tr. Mar. 7, 2006 at 93.) The court stated that he would dismiss
 7 her because she did not want to be a part of the process and was “just too conflicted,
 8 I think, in her views to be fair and impartial.” (Tr. Mar. 16, 2006 at 5.) However,
 9 Prospective Juror 56 stated in voir dire that she could consider all evidence and
10 keep an open mind. (Tr. Mar. 7, 2006 at 92–93.) She explained more than once that
11 she would follow the law. (Tr. Mar. 7, 2006 at 94, 96.) In sum, she was qualified to
12 serve on Kiles’s jury.
13         The trial court’s decision to strike Prospective Juror 56 for cause prejudiced
14 Kiles. Where a “scrupled, yet eligible” juror is removed in violation of Witherspoon
15 and Witt, it constitutes prejudice and no harmless-error analysis is required. Gray
16 v. Mississippi, 481 U.S. 648, 668 (1987).
17               2.     The trial court should have struck Prospective Jurors 78
                        and 82 for cause based on their views of the death penalty.
18
19         The trial court erred in refusing to strike for cause Prospective Jurors 78 and
20 82, who would have automatically imposed the death penalty and were substantially
21 impaired in their ability to be fair and impartial. Under the Sixth and Fourteenth
22 Amendments, a defendant has a right to an unbiased and impartial jury. Morgan v.
23 Illinois, 504 U.S. 719, 727 (1992). In Morgan, the Supreme Court emphasized that
24 any juror who would automatically impose the death penalty upon conviction of the
25 capital offense charged must be disqualified for cause. 504 U.S. at 729, 735–36.
26         Kiles’s counsel moved to strike Prospective Jurors 78 and 82 for cause
27 because their ability to act impartially was substantially impaired by their strong
28 support for the death penalty and other facts. (Tr. Mar. 16, 2006 at 9–15.) These
                                              310
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 327 of 500



 1 were the only two prospective jurors whom counsel moved to strike for cause.
 2         Prospective Juror 78 stated on his questionnaire and in voir dire that he would
 3 vote for death for first-degree murder if it were an option, that he would give death
 4 if a person were guilty beyond a reasonable doubt, and that a person should “expect
 5 the max.” (Tr. Mar. 8, 2006 at 55.) The court stated that he would not dismiss
 6 Prospective Juror 78 for cause because:
 7                a lot of people come into the process thinking that if you’re
                  convicted it’s an automatic thing, the death penalty’s an
 8                automatic thing, and they kind of have to be educated and
 9                they have to be impartially so, so I don’t give an extreme
                  amount of weight to those comments.
10
11 (Tr. Mar. 16, 2006 at 12.) This reasoning flies in the face of constitutional
12 precedent. The court conceded that “it’s a little bit of a close case.” (Tr. Mar. 16,
13 2006 at 12.) The prospective juror’s statements were particularly concerning given
14 that a different jury had already found Kiles guilty beyond a reasonable doubt in
15 2000; this jury was going to be instructed to rely on that finding.
16       Prospective Juror 82 stated that the death penalty should be required where

17 there is no remorse. (Tr. Mar. 8, 2006 at 103–04.) He also said that his aunt was
18 beaten and murdered in 2001 by a man who entered her home, that proceedings
19 were ongoing for mental-illness reasons, and that he had sentenced a person to death
20 while serving on a Nevada jury in the late 1980s. (Tr. Mar. 8, 2006 at 99–102.) The
21 court denied counsel’s motion to dismiss him for cause because he felt his concerns
                                                                      158
22 could be addressed with jury instructions and arguments of counsel. (Tr. Mar. 16,
23
24   158
        The court relied on the State’s arguments that both Prospective Jurors 78 and 82
     said that they could follow instructions. Promises that a juror can be fair or follow
25   the law are insufficient under the Constitution. “It may be that a juror could, in good
26   conscience, swear to uphold the law and yet be unaware that maintaining such
     dogmatic beliefs about the death penalty would prevent him or her from doing so.”
27   Morgan, 504 U.S. at 735 (footnote omitted). The court failed to search beyond the
     promise to be fair, to follow instructions, to inquire into the dogmatic beliefs of the
28   jurors as required by Morgan.
                                               311
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 328 of 500



 1 2006 at 15.)
 2         In order to determine if a defendant was prejudiced by the trial court’s failure
 3 to excuse a biased juror for cause, this Court must determine whether the
 4 composition of the jury panel as a whole was affected by the trial court’s error.
 5 Gray, 481 U.S. at 665. This decision by the trial court was in error and prejudiced
 6 Kiles. Preliminarily, the “presence of a biased juror cannot be harmless; the error
 7 requires a new trial without a showing of actual prejudice.” United States v.
 8 Gonzalez, 214 F.3d 1109, 1111 (9th Cir. 2000) (quoting Dyer v. Calderon, 151 F.3d
 9 970, 973 n.2 (9th Cir. 1998)); Hughes v. United States, 258 F.3d 453, 463 (6th Cir.
10 2001). Here, as a result of the trial court’s errors, defense counsel was required to
11 use two peremptory strikes to remove these biased jurors from the panel. This was
12 improper and a violation of Kiles’s Sixth Amendment rights. See Ross v. Oklahoma
13 487 U.S. 81, 89 (1988) (“[T]he right to peremptory challenges is denied or impaired
14 only if the defendant does not receive that which state law provides.” (internal
15 quotation marks omitted)). Further, the trial court’s failure to strike these
16 prospective jurors meant that Kiles’s peremptory challenges were unavailable to
17 remove other jurors who ultimately served on his jury even though they too were
18 biased against Kiles. See Claim 4, supra. The trial court’s refusal to strike these two
19 prospective jurors for cause had a “substantial and injurious effect” on Kiles’s
20 sentence. See Brecht, 507 U.S. at 623.
21                3.    The trial court erred in permitting statements in voir dire
                        and on the juror questionnaire that implied that, if
22                      sentenced to life in prison, Kiles would be eligible for parole
23                      in 25 years.

24         Both the juror questionnaire and voir dire proceedings included multiple
25 statements that implied that Kiles could be eligible for parole after serving 25 years.
26 This was not accurate based on the crimes of which he had been convicted. While
27 the court later attempted to correct this misstep with a jury instruction (Tr. May 22,
28 2006 at 15; Tr. Mar. 16, 2006 at 17–19), that instruction was insufficient to counter
                                              312
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 329 of 500



 1 the belief implanted in the jurors’ minds from the outset that Kiles could be eligible
 2 for parole after 25 years in prison. This was particularly damaging given that Kiles
 3 had already served 17 years in prison by the time the penalty phase commenced.
 4         The Supreme Court has held that a jury must be properly informed of a
 5 defendant’s lack of eligibility for parole. See Simmons v. South Carolina, 512 U.S.
 6 154, 163 (1994); see also Lynch v. Arizona, 136 S. Ct. 1818, 1819 (2016).
 7         The first page of the juror questionnaire stated that, if the jury found that
 8 there were aggravating factors in this case, they would determine the penalty to be
 9 imposed. The questionnaire indicated, “[t]here would be two options. They include
10 (a) death or (b) life in prison for which the defendant will be eligible for parole after
11 serving 25 years. There are no other possible sentences for the murder charge.” This
12 statement was misleading, as it (1) failed to mention that Kiles already faced two
13 sentences of 35 years in prison without the possibility of parole for his child-abuse
14 convictions, and (2) minimized that Kiles had been found guilty of three counts of
15 first-degree murder. The questionnaire asked jurors their feelings on “a sentence of
16 life in prison with parole eligibility after 25 years for a person convicted of first-
17 degree murder.” The questionnaire also posed a question that started as follows:
18 “Assume you are on a jury to determine the punishment for a defendant who has
19 already been convicted of murder and the law gives you a choice of imposing death
20 or life imprisonment with parole after 25 years.” Throughout voir dire, prosecutor
21 Powell made reference to these questions, including when speaking to jurors who
22 were eventually seated. (E.g., Tr. Mar. 6, 2006 at 98, 129; Tr. Mar. 8, 2006 at 53,
23 102.)
24         This clearly influenced prospective jurors, likely including those who were
25 ultimately seated. The majority of the venire voiced objections to the release of a
26 person convicted of first-degree murder after 25 years. (ROA 760 at 4.) After voir
27 dire, defense counsel argued a motion to clarify that Kiles would not be eligible for
28 parole after 25 years. (Tr. Mar. 16, 2006 at 18.) The court admitted his error during
                                               313
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 330 of 500



 1 voir dire, stating: “Yeah, and I feel bad about that.” (Tr. Mar. 16, 2006 at 19.) The
 2 court decided that they could “probably undo the damage.”159 He continued: “I
 3 wasn’t thinking in terms of the 35 with the kids, and I was only thinking about the
 4 murder counts. I wasn’t even factoring in the child abuse.” (Tr. Mar. 16, 2006 at
 5 19.). Even the prosecutor noted: “That was the one theme that ran through all the
 6 juror questionnaires more than anything else. People were concerned with life with
 7 a possibility in 25.” (Tr. Mar. 16, 2006 at 26.)
 8         The trial court’s error in permitting the jurors to hear via questionnaire and
 9 voir dire that Kiles would be eligible for parole after 25 years had a “substantial and
10 injurious effect” on Kiles’s sentence. See Brecht, 507 U.S. at 623. Jurors who
11 believed that Kiles could be released if they did not sentence Kiles to death were
12 much more likely to vote for death. See Simmons, 512 U.S. at 163 (“Holding all
13 other factors constant, it is entirely reasonable for a sentencing jury to view a
14 defendant who is eligible for parole as a greater threat to society than a defendant
15 who is not.”). “The shorter the period of time a juror thinks the defendant will be
16 imprisoned, the more likely he or she is to vote for death on the final ballot.” John
17 H. Blume, et al., Future Dangerousness in Capital Cases: Always “At Issue,” 86
18 Cornell L. Rev. 397, 404 (2001). Kiles was prejudiced and is entitled to relief.
19         C.     The trial court erred in denying defense counsel’s motion for a
                  directed verdict on the “especially heinous, cruel or depraved”
20                aggravating circumstance.
21         The trial court denied defense counsel’s motion pursuant to Arizona Rule of
22 Criminal Procedure 20 for a directed verdict on the “especially heinous, cruel or
23 depraved” aggravator under A.R.S. § 13-703(F)(6) (1988). (Tr. Apr. 4, 2006 at 25.)
24 That denial was of constitutional magnitude, as no reasonable factfinder could find
25
26   159
      The trial court further compounded this error—and did not undo the damage—
27 by declining to sentence Kiles on the two child abuse counts prior to the aggravation
   phase, as defense counsel requested, to make clear to the jury that Kiles was not
28 going to be released from prison. (Tr. Mar. 16, 2006 at 30.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 331 of 500



 1 beyond a reasonable doubt that the aggravating circumstance existed based on the
 2 facts presented at trial.
 3         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 91–92.) The Arizona
 4 Supreme Court determined that its analysis of this claim was subsumed by its
 5 independent review of the aggravating circumstances and denied the claim. State v.
 6 Kiles, 213 P.3d 174, 188 n.18 (Ariz. 2009). As explained in Claim 12, infra, that
 7 ruling was an unreasonable application of or contrary to clearly established federal
 8 law, see 28 U.S.C. § 2254(d)(1), and was based on unreasonable determination of
 9 facts, see id. § 2254(d)(2). Preliminarily, the Arizona Supreme Court relied upon
10 Kiles’s “admissions” and the testimony regarding “defensive wounds” in finding
11 that the State had established “cruelty.” Kiles, 213 P.3d at 188. Kiles made only one
12 admission about how Gunnel’s death unfolded, to Larry Hawkins, and there was
13 testimony about only one defensive wound. (Tr. July 13, 2000 at 99; see also Tr.
14 Mar. 21, 2006 at 21.) The Arizona Supreme Court also relied, for example, on the
15 transfer blood stain on the door as evidence that Gunnel or her attacker was moving;
16 however, Kiles’s friend, Kale Johnson, had given a sworn statement acknowledging
17 that he had caused the blood stain on the door. (Tr. July 14, 2000 at 134–35; Tr.
18 July 17, 2000 at 35; Tr. Apr. 27, 2006 at 78; PFR2 Dkt. 20 Ex. 1 at 7.)
19         As explained in detail in Claim 12, infra, based on the State’s evidence at
20 trial, no reasonable jury could find the (F)(6) aggravating circumstance proven
21 beyond a reasonable doubt. Lewis v. Jeffers, 497 U.S. 764, 783 (1990). The trial
22 court’s finding that sufficient evidence existed to support this aggravator “was so
23 arbitrary or capricious as to” violate Kiles’s due process and Eighth Amendment
24 rights. See id. at 780. “Cruelty” was the sole aspect of the (F)(6) aggravator found
25 unanimously by the jury and affirmed on appeal with respect to Gunnel’s death, and
26 the elimination of the (F)(6) aggravator would have significantly affected the jury’s
27 sentencing deliberations. The trial court’s denial thus had a substantial and injurious
28 effect on the sentencing verdict. See Rogers v. McDaniel, 793 F.3d 1036, 1042 (9th
                                              315
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 332 of 500



 1 Cir. 2015) (“[W]here a judge in a habeas proceeding is in grave doubt as to the
 2 harmlessness of the error, the habeas petitioner must win.” (quoting Pensinger v.
 3 Chappell, 787 F.3d 1014, 1029 (9th Cir. 2015)).
 4         D.    The trial court erred in not striking the (F)(8) aggravator as
                 unconstitutionally vague.
 5
 6         After the aggravation phase, the jury made Enmund/Tison findings regarding
 7 the deaths of the two children. (See ROA 879 at 1–4.) Those findings reflected that
 8 two of the jurors were not convinced beyond a reasonable doubt that Kiles himself
 9 killed the children. (ROA 879 at 1–4.) Even so, the jury proceeded to find that the
10 State had proven the (F)(8) aggravator for multiple homicides. (See ROA 879 at 6,
11 9, 12); see also A.R.S. § 13-703(F)(8) (1988) (“[t]he defendant has been convicted
12 of one or more other homicides . . . committed during the commission of the
13 offense”).
14         Accordingly, the jury applied the (F)(8) aggravator even though it found the
15 State had not proven beyond a reasonable doubt that the defendant himself killed
16 more than one victim. If the aggravating circumstance applies in such broad
17 circumstances, it fails to genuinely narrow the class of offenders eligible for the
18 death penalty. See Maynard v. Cartwright, 486 U.S. 356, 363 (1988) (aggravating
19 circumstances that do not appropriately limit application of the death penalty are
20 unconstitutional because they fail to adequately channel the sentencing discretion
21 of the jury). The (F)(8) aggravator thus runs afoul of the Eighth Amendment. See
22 id.; see also, e.g., Godfrey v. Georgia, 446 U.S. 420, 433 (1980).
23         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 92–93.) However,
24 at no point did the Arizona Supreme Court consider or address Kiles’s argument of
25 vagueness under the Eighth Amendment. Instead of considering the issue raised by
26 Kiles, the court misconstrued Kiles’s argument and reaffirmed that the jury finding
27 of the (F)(8) aggravator was not in error. Kiles, 213 P.3d at 186. Because the state
28 court did not adjudicate this claim on the merits, this Court is not bound by the
                                            316
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 333 of 500



 1 strictures of § 2254(d). The trial court erred in not striking this aggravator as vague,
 2 and—because Arizona is a weighing state in which jurors weigh the aggravators
 3 against the mitigation—that error was substantial and injurious. See Brecht, 507
 4 U.S. at 623; see also Brown v. Sanders, 546 U.S. 212, 220 (2006).
 5         E.     The trial court denied Kiles’s due-process rights by admitting a
                  gruesome and unduly prejudicial photograph.
 6
 7         Over defense objection, the trial court admitted into evidence a gruesome
 8 photograph, described in Claims 3 and 7, supra, at Kiles’s aggravation phase. (Tr.
 9 Mar. 20, 2006 at 25–38; see also 2006 Trial Ex. 72.) The admission of that
10 photograph, which was so haunting as to infect the reliability of Kiles’s entire
11 penalty phase, violated Kiles’s due-process rights. See, e.g., Zant v. Stephens, 462
12 U.S. 862, 879, 885 (1983) (the jury should not be allowed to consider evidence that
13 is “totally irrelevant to the sentencing process” and fails to focus on “the character
14 of the individual and circumstances of the crime”); Romano v. Oklahoma, 512 U.S.
15 1, 12 (1994).
16         Kiles raised this claim on appeal. (DA2 Dkt. 86 at 56–66) As discussed
17 supra, Claim 7, the Arizona Supreme Court’s determination that this photograph
18 did not prejudice Kiles, see Kiles, 213 P.3d at 183, was an unreasonable application
19 of or contrary to clearly established Supreme Court precedent, see 28 U.S.C.
20 § 2254(d)(1), and rested on an unreasonable determination of fact, see id.
21 § 2254(d)(2). Certainly the prejudice from such a disturbing image can infect
22 matters beyond whether the defendant is sentenced to death for killing the particular
23 victim in the photograph. Because of the horrifying nature of Exhibit 72 and its
24 tendency to arouse emotion in the jurors, along with its complete lack of probative
25 value, the trial court’s admission of the photograph violated Kiles’s due-process
26 rights and prejudiced him. See Brecht, 507 U.S. at 623.
27
28
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 334 of 500



 1         F.     The trial court unconstitutionally permitted the victims’ attorney
                  to file pleadings, including a requested jury instruction.
 2
 3         The trial court permitted the victims’ attorney to file pleadings and suggest
 4 jury instructions. This caused the victims’ attorney to effectively become a second
 5 prosecutor, which violated Kiles’s rights to due process and to a fair trial under the
 6 Sixth, Eighth, and Fourteenth Amendments to the U.S. Constitution.
 7         The laws of Arizona prescribe in detail the rights of victims. Here, the trial
 8 court erred when it permitted the victims’ attorney to file pleadings. The victims’
 9 attorney both filed a motion in response to the defense’s motion to preclude victim-
10 impact evidence and filed a motion in limine to request a jury instruction on victim-
11 impact evidence (ROA 724; ROA 775.) The court adopted this instruction, but
12 added limitations. (Tr. May 22, 2006 at 22.)
13         That the trial court allowed Kiles to face prosecution by not one, but two,
14 entities violated his constitutional rights to due process and a fair trial. This error
15 had a “substantial and injurious effect” on Kiles’s sentence. See Brecht, 507 U.S. at
16 623. Kiles is entitled to relief.
17         G.     The trial court unconstitutionally permitted the introduction of
                  victim-impact evidence.
18
19         The trial court violated Kiles’s constitutional rights when it permitted
20 prejudicial victim-impact evidence to be presented to the jury. The admission at a
21 capital-sentencing proceeding of any victim-impact evidence violates the Sixth,
22 Eighth, and Fourteenth Amendments to the U.S. Constitution. The constitutionality
23 of a capital-sentencing proceeding hinges entirely on its reliability—on minimizing
24 the risk that the sentencer will impose a death sentence based on an impermissible
25 consideration. See, e.g., Gardner v. Florida, 430 U.S. 349, 358 (1977) (plurality
26 opinion) (“It is of vital importance to the defendant and to the community that any
27 decision to impose the death sentence be, and appear to be, based on reason rather
28 than caprice or emotion.”); Gregg v. Georgia, 428 U.S. 153, 189 (1976) (joint
                                              318
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 335 of 500



 1 opinion of Stewart, Powell, and Stevens, JJ.) (declaring that “where discretion is
 2 afforded a sentencing body on a matter so grave as the determination of whether a
 3 human life should be taken or spared, that discretion must be suitably directed and
 4 limited so as to minimize the risk of wholly arbitrary and capricious action”).
 5         Victim-impact evidence is emotionally laden; it provokes in jurors a response
 6 that is neither reasoned nor rational and that jurors are ill-equipped to set aside.
 7 Accordingly, victim-impact evidence is inadmissible at a capital-sentencing
 8 proceeding. See Susan A. Bandes & Jessica M. Salerno, Emotion, Proof and
 9 Prejudice: The Cognitive Science of Gruesome Photos and Victim Impact
10 Statements, 46 Ariz. St. L.J. 1003, 1035–36 (2014) (citing research on the increased
11 punitiveness of jurors exposed to victim-impact evidence); but see Payne v.
12 Tennessee, 501 U.S. 808 (1991). The admission of Gunnel’s family’s emotionally
13 fraught statements, alongside the pictures, prejudiced Kiles.
14         The Supreme Court has recognized that victim-impact evidence can be so
15 unduly prejudicial as to render a sentencing fundamentally unfair. See Payne, 501
16 U.S. at 825; see also Gretzler v. Stewart, 112 F.3d 992, 1009 (9th Cir. 1997). And,
17 when members of the victim’s family offer characterizations and opinions about the
18 crime, the defendant suffers a fundamental violation of his due-process and Eighth-
19 Amendment rights. See Booth v. Maryland, 482 U.S. 496, 509 (1987), overruled on
20 other grounds by Payne, 501 U.S. at 808.
21         The parties litigated the admissibility of and restrictions on victim-impact
22 evidence in 2000 and then again in 2005. (Tr. Dec. 29, 2000 at 28–29; ROA 512 at
23 1; ROA 517 at 1; ROA 722 at 1; ROA 724 at 1; ROA 733 at 1.) The court precluded
24 victim-impact evidence from the presentence report but determined that victims
25 could make impact statements at the hearing. (ROA 481 at 1; Tr. Dec. 29, 2000 at
26 27–29.) In 2005, defense counsel sought to have victim-impact evidence precluded
27 altogether and, failing that, to have limitations placed on the evidence to cabin its
28 prejudicial nature. (See ROA 695 at 1).
                                             319
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 336 of 500



 1         After defense counsel’s opening statement, the State presented victim-impact
 2 statements. (Tr. Apr. 24, 2006 at 22–27.) The attorney for the victims read a letter
 3 by Gunnel’s brother. (Tr. Apr. 24 2006 at 22–24.) Gunnel’s mother then made a
 4 statement in person. (Tr. Apr. 24, 2006 at 24–26.) She then read a letter by Gunnel’s
 5 sister. (Tr. Apr. 24, 2006 at 26–27.) While the jury listened to the victim-impact
 6 statements, the State displayed a large exhibit on an easel that was a collage of
 7 photographs of the victims. (Tr. Apr. 24, 2006 at 22; 2006 Trial Ex. 163 at 1–2.)
 8         The victim-impact evidence at trial violated Kiles’s constitutional rights to a
 9 fair trial and a reliable sentence by injecting an irrelevant and highly prejudicial
10 characterization of the crime into his capital sentencing proceedings. The
11 statements detailing the victims’ lives from childhood on, in conjunction with
12 numerous photographs shown to the jury, were so prejudicial as to undermine the
13 reliability of the sentencing proceeding. (Tr. Apr. 24, 2006 at 22, 24–26.) It likely
14 aroused in jurors enormous sympathy toward the victims and antipathy toward the
15 defendant, especially when the grandmother detailed how her granddaughter’s body
16 was found floating in a river. (Tr. Apr. 24, 2006 at 26.) Accordingly, the victim-
17 impact testimony in this case violated Kiles’s constitutional rights by inviting a
18 verdict based on sentiment, instead of the requisite reasoned judgment.
19         Finally, witnesses, including victim-impact witnesses, making statements at
20 penalty-phase proceedings must be under oath and subject to cross-examination.
21 The Sixth and Fourteenth Amendments guarantee a defendant the “right to be
22 confronted with the witnesses against him.” See Pointer v. Texas, 380 U.S. 400,
23 405 (1965) (internal quotation marks omitted). The Supreme Court made clear in
24 Crawford v. Washington that the Confrontation Clause guarantees confrontation
25 against those “who bear testimony” against a defendant. 541 U.S. 36, 51 (2004).
26 The right to confrontation is the favored procedure for determining the reliability
27 of a witness’s statements, see id. at 61, and nowhere is that reliability more
28 necessary than in a capital-sentencing proceeding, see Woodson, 428 U.S. at 305.
                                              320
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 337 of 500



 1 Accordingly, all who bear witness during the penalty phase of a capital trial must
 2 be subject to confrontation.
 3         Here, the State presented one in-person victim-impact witness who was not
 4 under oath or subject to cross-examination, and read two letters by people who were
 5 not present. (Tr. Apr. 24, 2006 at 22–27.) Kiles was thus denied the opportunity to
 6 cross-examine these witnesses, and that denial prejudiced Kiles and violated his
 7 Sixth and Fourteenth Amendment rights.
 8         The presentation of victim-impact evidence influenced the jury. One juror
 9 commented that as soon as they saw the photographs, they had made up their mind
10 on death. The admission of victim-impact evidence prejudiced Kiles as it had a
11 “substantial and injurious effect” on Kiles’s sentence. See Brecht, 507 U.S. at 623.
12 Accordingly, Kiles is entitled to relief.
13         H.     The trial court unconstitutionally permitted the State to ask
                  witnesses at trial about statements contained in the reports of
14                experts who testified at the first trial but not at the second trial, in
15                violation of Kiles’s rights.

16         The trial court violated Kiles’s rights under the Sixth and Fourteenth
17 Amendments when it permitted the State to ask witnesses about the content of
18 reports by experts who testified at Kiles’s first trial in 1990, but who did not testify
19 at the second trial in 2006.
20        As discussed above, the Sixth and Fourteenth Amendments guarantee a
21 criminal defendant the “right to be confronted with the witnesses against him.”
22 Pointer, 380 U.S. at 405 (internal quotation marks omitted). The Supreme Court
23 has repeatedly held that admitting testimonial out-of-court statements where
24 defense counsel has not had the opportunity to cross-examine the witness violates
25 these principles. E.g., Crawford, 541 U.S. at 68–69 (“Where testimonial statements
26 are at issue, the only indicium of reliability sufficient to satisfy constitutional
27 demands is the one the Constitution actually prescribes: confrontation.”); see also
28 State v. Prince, 250 P.3d 1145, 1159 (Ariz. 2011) (holding that a “defendant has a
                                               321
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 338 of 500



 1 right to confront testimonial hearsay evidence introduced to establish an
 2 aggravating factor”). The defendant’s right to cross-examine all who would offer
 3 evidence at trial is necessary to ensure the reliability of proceedings required by the
 4 due process clause, and nowhere is that reliability more necessary than in a capital-
 5 sentencing proceeding. See Woodson, 428 U.S. at 305. Testimonial evidence—that
 6 is, evidence prepared in anticipation of trial—must be presented by the person who
 7 prepared it. See, e.g., Melendez-Diaz v. Massachusetts, 557 U.S. 305, 308–11
 8 (2009).
 9         At trial, the State directly asked multiple experts about Kiles’s statements
10 that experts retained for the first penalty-phase hearing in 1990 recorded in their
11 reports. (E.g., Tr. May 8, 2006 at 41–44; Tr. May 9, 2006 p.m. at 11–12; Tr. May
12 15, 2006 at 50, 55.) However, the proceedings for which these reports were
13 produced were deemed unreliable because of the ineffective assistance of counsel,
14 and Kiles was granted state post-conviction relief. (See ROA 314 at 4.)
15 Nevertheless, the court allowed the State to ask the experts about the content of
16 these reports and whether they differed from Kiles’s later statements. (E.g., Tr. May
17 8, 2006 at 41–44; Tr. May 9, 2006 p.m. at 11–12; Tr. May 15, 2006 at 50, 55.)
18         VanDreumel objected the first time the State did this, because permitting
19 these statements to come in violated Kiles’s constitutional confrontation clause
20 rights under Crawford. (Tr. May 8, 2006 at 41, 43, 54.) She argued that Kiles was
21 being denied his right to cross-examine the doctors who wrote the reports as to
22 whether Kiles made the statements in question. (Tr. May 8, 2006 at 54.) While
23 VanDreumel objected during the testimony, the grounds for her objection were not
24 placed on the record until the end of the day, and the court did not clearly rule on
25 the objection on the record. (Tr. May 8, 2006 at 54–58.) The court did state that he
26 would not allow a particular question. (Tr. May 8, 2006 at 44.) However, Powell
27 continued to ask questions along these lines, apparently with the court’s approval,
28 even though these reports were clearly testimonial, as they had been prepared in
                                              322
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 339 of 500



 1 advance of the first trial and entered into evidence at the first trial. (Tr. May 8, 2006
 2 at 44–47; 1990 Trial Def. Ex. 3; 1990 Trial Def. Ex. 4; 1990 Trial State Ex. 7.)
 3         Putting this evidence before the jury violated Kiles’s Sixth and Fourteenth
 4 Amendment rights to confront the witnesses against him, and was inconsistent with
 5 the Supreme Court’s Sixth Amendment jurisprudence including Crawford. Even if
 6 the rules of evidence regarding “hearsay” did not apply to the State’s penalty-phase
 7 presentation, the Sixth Amendment demands more. See Crawford, 541 U.S. at 68.
 8         Kiles suffered prejudice from the court permitting the contents of prior
 9 experts’ reports into evidence. Throughout the penalty phase, the State hammered
10 the theme that Kiles was not telling the truth—in particular, that his story had
11 changed over the years. (E.g., Tr. May 22, 2006 at 72; Tr. May 8, 2006 at 48; Tr.
12 May 9, 2006 p.m. at 11–12; Tr. May 15, 2006 at 55.) As a result, the State argued
13 that the jury should not believe his mitigation pertaining to his traumatic childhood,
14 substance abuse, and mental illness. (E.g., Tr. May 22, 2006 at 72.) In closing, the
15 State focused on how Kiles’s experts’ diagnoses were based on Kiles’s “self-
16 serving” statements. (Tr. May 22, 2006 at 72.) The State went so far as to say “as
17 you have heard from some of the earlier doctors that examined him, everything was
18 fine,” as if those doctors had testified. (Tr. May 22, 2006 at 73.) However, Kiles
19 did not have a chance to cross-examine these doctors, as required by Crawford. The
20 jury was likely influenced by this testimony, which became central to the State’s
21 penalty-phase case. The constitutional violation therefore had a substantial and
22 injurious effect at the penalty phase. See Ocampo v. Vail, 649 F.3d 1098, 1114 (9th
23 Cir. 2011) (citing Brecht, 507 U.S. at 623, in finding that a confrontation clause
24 violation warranted habeas relief.). Accordingly, Kiles is entitled to relief.
25         I.     The trial court unconstitutionally failed to provide the jury with a
                  special verdict form listing the specific mitigating factors they
26                found proven, violating Kiles’s rights.
27         The trial court violated Kiles’s rights under the Eighth and Fourteenth
28 Amendments to the U.S. Constitution because it did not require the jurors to make
                                               323
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 340 of 500



 1 specific findings as to each proffered mitigating factor.
 2         The Eighth and Fourteenth Amendments require states to provide a
 3 mechanism for meaningful direct review of death sentences. Gregg, 428 U.S. at
 4 197–98 (joint opinion of Stewart, Powell, and Stevens, JJ.). In order to achieve such
 5 meaningful review, “it is important that the record on appeal disclose to the
 6 reviewing court the considerations which motivated the death sentence in every
 7 case in which it is imposed.” Gardner, 430 U.S. at 361 (plurality opinion). Arizona
 8 law helps to ensure meaningful review in non-capital cases, for which the court is
 9 required to state for the record the mitigating and aggravating factors it considers
10 and applies when imposing any sentence other than the presumptive term. A.R.S. §
11 13-701(C); State v. Harrison, 985 P.2d 486 (Ariz. 1999). However, Arizona fails
12 to offer such protections to capital defendants. The trial court did not require the
13 jury to identify in its verdict form which mitigating circumstances individual jurors
14 deemed proven. See A.R.S. § 13-701. The verdict forms in Kiles’s case thus reflect
15 only the ultimate sentence the jury deemed appropriate for each first-degree murder
16 conviction. (See ROA 919 at 1–3.)
17         As a result, when the Arizona Supreme Court conducted its independent
18 review of the “aggravation, mitigation, and the propriety of the sentence” in Kiles’s
19 case, see Kiles, 213 P.3d at 187–92, it did so without the benefit of knowing which
20 mitigating circumstances jurors had found proven. In other words, the court
21 conducted its appellate review without knowing the considerations that motivated
22 the death sentence. That appellate review was not the meaningful review
23 contemplated by Gregg. See Gardner, 430 U.S. at 361 (plurality opinion). That such
24 a review—done without information on what informed the jury’s decision—could
25 not have been meaningful is especially true in this case, where the jury was asked
26 to consider an enumerated list of mitigating circumstances and where the jury
27 determined that death was the appropriate sentence on one count of first-degree
28 murder but that life imprisonment was appropriate for two other counts. (See Tr.
                                             324
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 341 of 500



 1 May 22, 2006 at 19–21; ROA 919 at 1–3.)
 2         The trial court’s failure to require special verdict forms indicating which
 3 mitigating circumstances the jurors found proven deprived Kiles of an adequate
 4 appellate review and violated his rights under the Eighth and Fourteenth
 5 Amendments to the U.S. Constitution. This error had a “substantial and injurious
 6 effect” on Kiles’s sentence. See Brecht, 507 U.S. at 623. Accordingly, Kiles is
 7 entitled to relief.
 8         J.     The trial court unconstitutionally failed to make a complete record
                  at trial, in violation of Kiles’s rights.
 9
10         As discussed above, a complete record is necessary to protect Kiles’s
11 Fourteenth Amendment right to meaningful appellate review. See Gregg, 428 U.S.
12 at 195 (joint opinion of Stewart, Powell, and Stevens, JJ.); Dobbs v. Zant, 506 U.S.
13 357, 358 (1993). A state must provide the defendant “a sufficiently complete record
14 of the trial proceedings,” Draper v. Washington, 372 U.S. 487, 500 (1963), to
15 “assure the indigent defendant an adequate opportunity to present his claims fairly
16 in the context of the [s]tate’s appellate process.” Ross v. Moffitt, 417 U.S. 600, 616
17 (1974).
18         Kiles’s trial court failed to make a record of a number of essential penalty-
19 phase proceedings. For example, there is no transcript or other record of any
20 discussion regarding either party’s proposed penalty-phase jury instructions.
21 Further, at multiple points, counsel approached the bench and had discussions that
22 were not recorded. (E.g., Tr. Apr. 27, 2006 at 50; Tr. May 16, 2006 at 45.) In
23 addition, the questionnaires completed by Prospective Jurors 98 and 85, whom the
24 defense struck using peremptory strikes, were not preserved. (ROA 895 at 4.)
25         The omissions from the trial court record deprived Kiles of meaningful
26 review, because it was impossible for counsel or the courts after the conviction to
27 conduct a proper review of the proceedings against Kiles. This knowledge is crucial
28 to a meaningful review of counsel’s performance, and to meaningful appellate
                                             325
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 342 of 500



 1 review of Kiles’s convictions and sentence. The trial court’s failure to ensure a
 2 complete record deprived Kiles of a meaningful appellate review and violated his
 3 rights under the Eighth and Fourteenth Amendments. This error had a “substantial
 4 and injurious effect” on Kiles’s sentence. See Brecht, 507 U.S. 619 at 623.
 5 Accordingly, Kiles is entitled to relief.
 6         K.     The cumulative effect of these trial-court errors prejudiced Kiles.
 7         The Ninth Circuit recognizes that the cumulative effect of multiple errors
 8 may still prejudice a defendant where no single trial error examined in isolation is
 9 sufficiently prejudicial to warrant reversal. See Parle v. Runnels, 505 F.3d 922, 934
10 (9th Cir. 2007) (finding habeas relief warranted when combined effect of multiple
11 trial errors resulted in injurious effect on jury’s verdict); Alcala v. Woodford, 334
12 F.3d 862, 894–95 (9th Cir. 2003) (affirming grant of habeas relief where multiple
13 errors by court and counsel deprived defendant of a fundamentally fair trial); Killian
14 v. Poole, 282 F.3d 1204, 1211 (9th Cir. 2002) (stating that the cumulative effect of
15 errors may be so prejudicial as to require reversal).
16         The trial court committed numerous errors during the mitigation phase of
17 Kiles’s trial. Even if this Court were to find that none of them merit relief alone, the
18 cumulative effect of all the errors is so prejudicial that Kiles is entitled to relief on
19 that basis. For all the reasons discussed above, Kiles’s constitutional rights were
20 violated, and he is entitled to relief.
21                                         Claim Nine
22         Kiles was deprived of his right to due process and a fair trial because
           the prosecutor engaged in pervasive misconduct.
23
24         The State’s misconduct violated Kiles’s rights to a fair trial, to present a
25 complete defense, to due process, and to reliable guilt and sentencing
26 determinations in violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments
27 to the U.S. Constitution. Kiles incorporates by specific reference all facts,
28 allegations, and arguments made elsewhere in this Petition.
                                               326
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 343 of 500



 1         This claim was raised by Kiles’s appellate counsel, but it was waived because
 2 Kiles’s appellate attorney failed to argue the claim in his opening brief. (See ROA
 3 1189 at 64–65); see Claim 11, infra. However, the claim was addressed on the
 4 merits by the state post-conviction court when the court considered appellate
 5 counsel’s ineffective assistance. (ROA 1214 at 2; see also ROA 1189 at 61–65.)
 6 The state court’s denial of this claim as not colorable was an unreasonable
 7 application of or contrary to clearly established federal law, see 28 U.S.C.
 8 § 2254(d)(1), and rested on an unreasonable determination of the facts, id.
 9 § 2254(d)(2). Accordingly, the strictures of § 2254(d) do not apply to this claim,
10 and this Court may review the merits of this claim de novo.160
11         Prosecutors occupy a unique position in the justice system and are therefore
12 subject to uniquely rigorous standards. Although a prosecutor “may strike hard
13 blows, he is not at liberty to strike foul ones. It is as much his duty to refrain from
14 improper methods calculated to produce a wrongful conviction as it is to use every
15 legitimate means to bring about a just one.” Berger v. United States, 295 U.S. 78,
16 88 (1935). His interest in a criminal prosecution is not to win a case, but “that justice
17 shall be done.” Id. at 88; see also United States v. Kojayan, 8 F.3d 1315, 1323 (9th
18 Cir. 1993) (explaining that a “prosecutor’s job isn’t just to win, but to win fairly,
19 staying well within the rules”). Kiles’s prosecutor David Powell engaged in
20 misconduct: he vouched for witnesses, mischaracterized or misstated evidence, put
21 words into the mouths of witnesses, and put his own testimony into the record. The
22 cumulative effect of Powell’s acts rendered the trial fundamentally unfair and
23 prejudiced Kiles’s substantive rights.
24         To prevail on a prosecutorial misconduct claim, a petitioner must
25 demonstrate that the prosecutor’s conduct either (1) prejudiced a substantive right,
26   160
      Alternatively, Kiles alleges he can overcome any default by showing cause and
27 prejudice attributable to the ineffective assistance of state post-conviction counsel.
   See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Strickland v. Washington, 466 U.S.
28 668, 688, 694 (1984).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 344 of 500



 1 see Donnelly v. DeChristoforo, 416 U.S. 637, 643 (1974) (citing Griffin v.
 2 California, 380 U.S. 609 (1965)), or (2) rendered the trial fundamentally unfair, see
 3 Berger, 295 U.S. at 78. When evaluating instances of prosecutorial misconduct, the
 4 reviewing court must consider the cumulative effect of the harm. See Berger, 295
 5 U.S. at 89 (awarding a new trial because of “probable cumulative effect” of
 6 instances of prosecutorial misconduct). Here, Kiles can show that the prosecutor’s
 7 conduct both prejudiced his substantive rights and rendered the trial fundamentally
 8 unfair. Thus, the prosecutorial misconduct had a “substantial and injurious effect”
 9 on Kiles’s convictions and sentences. See Brecht v. Abrahamson, 507 U.S. 619, 623
10 (1993).
11         A.    The prosecutor committed misconduct in the guilt-phase
                 proceedings.
12
13         Powell argued a theory of how the crime was committed that could not be
14 reasonably inferred from the evidence. See United States v. Hermanek, 289 F.3d
15 1076, 1101 (9th Cir. 2002) (holding that the prosecutor committed misconduct in
16 urging the jury to assume facts that were not in evidence and could not be
17 reasonably inferred from the evidence). There was little evidence to support
18 Powell’s theory of how the crime occurred. (See Tr. July 12, 2000 at 104–41; Tr.
19 July 13, 2000 at 93–107; Tr. July 14, 2000 at 4–61; Tr. Mar. 21, 2006 at 4–34; Tr.
20 Mar. 27, 2006 at 11–140; Tr. Mar. 29, 2006 at 26–74.)
21         Additionally, Powell’s misleading and inflammatory arguments were not
22 based on the evidence and were improper. See Darden v. Wainwright, 477 U.S. 168,
23 180–81 (1986) (explaining that a prosecutor commits misconduct when he
24 manipulates or misstates the evidence at trial); Zapata v. Vasquez, 788 F.3d 1106,
25 1113–14 & n.6 (9th Cir. 2015) (explaining that the prosecutor committed “serious
26 misconduct” by offering “as though it was fact” a “fictional” account of the
27 defendant’s use of racial slurs as the victim died).
28
                                             328
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 345 of 500



 1               1.     The prosecutor repeatedly mischaracterized testimony,
                        made speculative arguments, and used inflammatory
 2                      language in its guilt-phase opening and closing.
 3         A prosecutor may not make inaccurate statements about the record that may
 4 mislead or confuse the jury. See King v. United States, 372 F.2d 383, 395 (D.C. Cir.
 5 1966); United States v. Robledo-Vela, 45 F. App’x 567, 568 (9th Cir. 2002) (finding
 6 “significant prosecutorial misconduct in the form of misstating evidence, and that
 7 this error was not harmless”). A prosecutor’s comments create prejudicial error if
 8 they constitute personal and institutional guarantees of trustworthiness of the
 9 government and its case. See United States v. Smith, 962 F.2d 923, 933 (9th Cir.
10 1992).
11       As discussed in Claim 3, supra, Powell’s theory of the crime had next to no
12 support from the evidence. In his guilt-phase opening statement, Powell claimed
13 that Kiles began beating Valerie Gunnel in her bedroom. (Tr. July 10, 2000 at 13.)
14 The beating continued into the living room, where Gunnel died. (Tr. July 10, 2000
15 at 13.) Presumably, Powell’s objective was to convey that the prolonged, moving
16 attack was evidence that Kiles premeditated the killing. However, as Detective
17 Brian Rodgers testified, there was no blood spatter or castoff on the walls in
18 Gunnel’s bedroom. (Tr. July 17, 2000 at 65.) Though a bloody pillow and a ratchet
19 were found in Gunnel’s bedroom, Rodgers testified that items were moved around
20 after the murder in what looked like an attempt to clean up the scene. (Tr. July 11,
21 2000 at 166–67.) Powell never asked the State’s experts—the pathologist or the
22 blood-spatter expert—about evidence probative of where the attack on Gunnel had
23 started. (Tr. July 13, 2000 at 93–107; Tr. July 14, 2000 at 4–61.) Regardless, Powell
24 asserted that Gunnel was first attacked in her bedroom.
25        Because Powell had little evidentiary support for this theory, he
26 mischaracterized—and even made up—testimony to support his claim that Kiles
27 had first hit Gunnel in her bedroom. Perhaps most egregious were Powell’s repeated
28 and forceful misrepresentations during closing argument of Larry Hawkins’s
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 346 of 500



 1 testimony. See supra, Claim 3. For instance, Powell proclaimed several times that
 2 Hawkins had testified that Kiles first attacked Gunnel in her bedroom. (Tr. July 18,
 3 2000 at 22; Tr. July 19, 2000 at 27; Tr. July 19, 2000 at 30; Tr. July 19, 2000 at 81–
 4 82.) However, Hawkins never testified to this. (Tr. July 13, 2000 at 3–80.) Rather,
 5 Hawkins stated that after grabbing the tire jack, Kiles went into the apartment and
 6 “struck [Valerie].” (Tr. July 13, 2000 at 29.) Also contrary to Powell’s claim,
 7 Hawkins’s Silent Witness letter nowhere suggested that Kiles beat Gunnel in her
 8 bedroom. (Tr. Mar. 20, 2006 at 77.) Powell further alleged in closing that Gunnel
 9 “put up a fight,” and he claimed that Hawkins had testified to that point. (Tr. July
10 19, 2000 at 82.) But Hawkins never did. (Tr. July 13, 2000 at 3–80.) Powell
11 intentionally misstated Hawkins’s testimony to mislead the jury into believing the
12 State had a clear-cut case that Gunnel’s death was premeditated.
13         Powell also told the jury in closing that photographs of blood patterns from
14 the crime scene were “physical evidence.” Powell continued, “Like [defense]
15 counsel told you in opening, it can’t be argued with.” (Tr. July 19, 2000 at 29.) In
16 so arguing, Powell purposefully misstated defense counsel’s position and conflated
17 physical evidence with scientific or forensic evidence. Defense counsel had
18 conveyed in opening that the scientific evidence in Kiles’s case was not subject to
19 argument. (Tr. July 10, 2000 at 34–35); see, e.g., Claim 3, supra. However, counsel
20 had not said the same of the photographs. Moreover, there was no scientific
21 evidence that Gunnel was attacked in her bedroom; none of the State’s experts gave
22 any such testimony at the guilt phase. (Tr. July 12, 2000 at 104–41; Tr. July 13,
23 2000 at 93–107; Tr. July 14, 2000 at 4–61.) Rather, Powell told the jury, “Let’s all
24 be blood spatter experts for a little bit now, okay.” (Tr. July 19, 2000 at 28.) Powell
25 misled the jurors, insinuating that the State’s theory of the crime and the “physical
26 evidence” had the same credibility as the testimony given by experts on forensic
27 evidence.
28         Compounding the mischaracterizations of evidence, Powell made comments
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 347 of 500



 1 intended to inflame the jury. For example, he announced that Gunnel had “savage
 2 wounds” on her; the wound on her face was “ungodly.” (Tr. July 19, 2000 at 28.)
 3 He also made speculative and inflammatory comments during his rebuttal
 4 argument, surmising that Kiles’s thought process must have been, “I guess since
 5 we’re killing one we may as well kill them all. Let’s kill the whole family. Let’s
 6 kill two generations.” (Tr. July 19, 2000 at 77.)
 7         Finally, in his closing statement of the guilt-phase proceeding, Powell told
 8 the jury: “The [S]tate maintains to you, ladies and gentlemen, never has a case
 9 exhibited more premeditation than the one we exhibit now.” (Tr. July 19, 2000 at
10 36–37.) Powell’s comments created prejudicial error as they constituted personal
11 and institutional guarantees of trustworthiness of the government and its case. See
12 Smith, 962 F.2d at 933.
13         The purpose of a closing argument “is to explain to the jury what it has to
14 decide and what evidence is relevant to its decision.” Sandoval v. Calderon, 241
15 F.3d 765, 776 (9th Cir. 2000). Instead of offering relevant evidence, Powell gave
16 the jury extraneous information about this case by comparing it to other government
17 cases—information that the jury could not consider in its deliberations. See Fields
18 v. Brown, 503 F.3d 755, 779 (9th Cir. 2007) (holding that “evidence developed
19 against a defendant must come from the witness stand”). This was improper and
20 prejudicial. See Darden, 477 U.S. at 180–81; Smith, 962 F.2d at 933; Robledo-Vela,
21 45 F. App’x at 568; Zapata, 788 F.3d at 1113–14.
22               2.    The prosecutor mischaracterized the scientific evidence
                       during the guilt phase.
23
24         In his opening statement in the guilt-phase proceeding, Powell also misled
25 the jury in a different way, by misrepresenting what the scientific evidence in
26 Kiles’s case could prove. Powell stated that DNA could show the “chronology of
27 what happened inside [Gunnel’s] apartment” and “it’s going to prove to you what
28 the defendant did, that he killed three people.” (Tr. July 10, 2000 at 16–17.) But
                                             331
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 348 of 500



 1 DNA testing can do neither of those things. In this case, it was used to determine
 2 whether an “individual can be the source of this stain” of blood taken from the crime
 3 scene. (Tr. July 12, 2000 at 112–13.) The State’s expert described it as “a simple
 4 pattern comparison”—either an individual likely was the source of a blood sample
 5 or likely was not—and nothing more. (Tr. July 12, 2000 at 112–13.) Still, Powell
 6 attempted to falsely ascribe forensic certainty to the State’s theory. See United
 7 States v. Ruiz, 710 F.3d 1077, 1085 (9th Cir. 2013) (holding that improper vouching
 8 includes “suggesting that information not presented to the jury supports the
 9 witness’s testimony”); see also United States v. Kerr, 981 F.2d 1050, 1053 (9th Cir.
10 1992) (holding that a prosecutor “has no business telling the jury his individual
11 impressions of the evidence”).
12         Powell also misled the jury as to what the blood-spatter expert, Tom Bevel,
13 could tell them when he testified at trial. Powell told them that Bevel would tell the
14 jury “what happened in that west bedroom to those two children.” (Tr. July 10, 2000
15 at 20.) Blood-spatter science is an inexact one, and while it can perhaps provide
16 background on how blood evidence came to be in a crime scene, like DNA it cannot
17 tell the jury who did the crime or how the crime happened. (Tr. July 12, 2000 at
18 112–13.)
19         Powell’s repeated insistence that the scientific and forensic evidence given
20 at trial supported the State’s theory of the crime was misleading. Powell tried to
21 stamp the State’s theory of the crime with the imprimatur of scientific certainty (see
22 Tr. July 10, 2000 at 16–17), and, in doing so, committed misconduct.
23                3.    The prosecutor improperly testified on the record during
                        the guilt phase.
24
25         Powell improperly put his own testimony on the record when questioning
26 witnesses. In one example, when Powell was questioning a witness for the State
27 about statements made by Kiles, Powell asked leading, testimonial questions:
28             Q. Do you recall him saying anything about, Valerie just

                                             332
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 349 of 500



 1               went off on me. I had no choice in the matter. I had to beat
                 her to death.
 2
                 A. No, sir, no, sir.
 3               Q. Did he tell you anything about, I’m really in a bind, I
 4               got three bodies I need to get rid of here?
 5               A. No, sir, no, sir.
                 Q. Did he mention anything about the two guys that also
 6               helped him kill someone leaving him in a lurch?
 7               A. He didn’t mention nothing like that to me, sir.
 8 (Tr. July 10, 2000 at 173.) That Powell testified to the crime and how it was
 9 committed, rather than eliciting that testimony from the witness, was misconduct.
10 While the jury was instructed before deliberations that “what the lawyers said is not
11 evidence” (Tr. July 19, 2000 at 87), that charge was far from adequate to cure the
12 State’s pattern of improper questioning.
13               4.    The prosecutor failed to disclose information on one of its
                       witnesses.
14
15         Kiles’s arresting officer, Officer David Sherman, who testified for the State,
16 had committed malfeasance by previously falsifying a urine test. The malfeasance
17 was discovered prior to Kiles’s trial, and Sherman chose to retire rather than face
18 disciplinary sanctions.
19         Under Brady v. Maryland, 373 U.S. 83 (1963), the State was required to
20 disclose this impeachment information about Sherman to the defense. It is unclear
21 whether this material was disclosed to defense counsel in a timely manner. Without
22 this information, defense counsel was hindered from effectively impeaching
23 Sherman. Any withholding of this or other impeachment material by the State
24 constituted misconduct. See Brady, 373 U.S. at 90.
25               5.     The prosecutor improperly dehumanized the defendant in
                        the guilt-phase closing.
26
27         “[P]resented with a criminal defendant, even well-meaning people fall prey
28 to the stereotype that, whether for reason of biology or culture, Black people are
                                             333
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 350 of 500



 1 inherently violent and dangerous.” See Br. for the Nat’l Black Law Students Ass’n
 2 as Amicus Curiae in Support of Pet’r, Buck v. Davis, 137 S. Ct. 759 (2017) (No.
 3 15-8049), at 2.
 4         Where the State could not support its narrative with evidence, it tried to draw
 5 on jurors’ implicit racial biases. The State improperly used the phrase “feeding
 6 frenzy” to dehumanize Kiles, an African-American man, and to invoke the racial
 7 stereotype of African-American men as dangerous and animalistic.161 “By
 8 describing a defendant in animalistic terms, a prosecutor is improperly bringing
 9 race into the courtroom.” Shana Heller, Dehumanization and Implicit Bias: Why
10 Courts Should Preclude References to Animal Imagery in Criminal Trials, 51 No.
11 4 Crim. L. Bulletin ART 4 (Summer 2015).
12         Powell first used the term while cross-examining Kiles. Powell asked Kiles
13 about Kale Johnson, another African-American male, and his involvement in the
14 crime. Kiles testified that Johnson killed the children. Powell asked, “Was it like a
15 feeding frenzy now?” Kiles answered, “I can’t answer for Kale Johnson. I can only
16 answer for myself, sir.” (Tr. July 17, 2000 at 209.)
17         In closing, Powell repeatedly invoked this highly prejudicial phrase against
18 Kiles. “[I]t’s gory, this feeding frenzy.” (Tr. July 19, 2000 at 30.) Powell went on
19 to say “feeding frenzy was a word I generated, of course, because. . . . How else do
20 you describe that?” (Tr. July 19, 2000 at 77.) In his attempt to portray Kiles as a
21 hyper-violent predator, Powell told the jury that, when Kiles was beating the
22 children, he was “just walking around, just making sure they were dead.” (Tr. July
23 19, 2000 at 36.) Such statements were intended to play on the jury’s implicit biases
24 about African-American men as dangerous and predatory.
25
     161
26    According to Merriam-Webster, a “feeding frenzy” is defined as “a wildly
   aggressive attack of prey by an animal or group of animals” or an “aggressive
27 human activity likened to frenzied feeding by predatory animals.” Merriam-
   Webster, Feeding Frenzy (Sept. 18, 2018), https://www.merriam-
28 webster.com/dictionary/feeding%20frenzy.
                                              334
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 351 of 500



 1         Studies have confirmed that implicit racial biases affect how jurors make
 2 determinations of guilt or innocence. See, e.g., Justin D. Levinson et al., Devaluing
 3 Death: An Empirical Study of Implicit Racial Bias on Jury-Eligible Citizens in Six
 4 Death Penalty States, 89 N.Y.U. L. Rev. 513, 563 (2014). Crucially, “jurors
 5 unknowingly misremember case facts in racially biased ways.” Justin D. Levinson,
 6 Forgotten Racial Equality: Implicit Bias, Decisionmaking, and Misremembering,
 7 57 Duke L.J. 345 (2007). The State’s invoking of a racial stereotype to improperly
 8 influence the jurors’ determinations prejudiced Kiles and rendered his conviction
 9 unreliable. As the prosecutor’s conduct during the guilt phase both prejudiced
10 Kiles’s substantive rights and rendered the trial fundamentally unfair, habeas relief
11 is warranted. Donnelly, 416 U.S at 643. These errors individually and cumulatively
12 caused prejudice. See Berger, 295 U.S. at 89 (granting a new trial because of
13 “probable cumulative effect” of instances of prosecutorial misconduct).
14         B.    The prosecutor committed further misconduct in the penalty-
                 phase proceedings.
15
16         The State’s misconduct continued during the penalty-phase proceeding,
17 prejudicing Kiles. Kiles can again show that the prosecutor’s conduct both
18 prejudiced his substantive rights and rendered the trial fundamentally unfair. See
19 Donnelly, 416 U.S. at 643; Berger, 295 U.S. at 78.
20             1.    The prosecutor improperly struck a juror on the basis of
                     race during voir dire.
21
22         The State committed misconduct in using a peremptory strike to exclude an
23 African-American prospective juror from the jury based on race. In Batson v.
24 Kentucky, 476 U.S. 79 (1986), the Supreme Court held that the use of peremptory
25 challenges to strike jurors based on race violates the Equal Protection Clause.
26 Kiles’s counsel’s notes indicate that there were four African-American prospective
27 jurors of 142. Only one African-American person ultimately served on Kiles’s jury.
28 (ROA 895.) The State used a peremptory strike to remove another African-
                                             335
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 352 of 500



 1 American person, Prospective Juror 96, without apparent cause. (ROA 895 at 4.)
 2 As discussed supra, Claim 4, nothing in the juror’s questionnaire evidenced a
 3 justification for the strike, and several white jurors who expressed similar
 4 discomfort with the death penalty (and who were comparable to Prospective Juror
 5 96 in other ways) were not struck. See Miller-El v. Dretke, 545 U.S. 231, 241 (2005)
 6 (holding “[i]f a prosecutor’s proffered reason for striking a black panelist applies
 7 just as well to an otherwise-similar nonblack who is permitted to serve, that is
 8 evidence tending to prove purposeful discrimination”). Because the prosecutor’s
 9 race-based strike undermined the fairness of Kiles’s trial, the misconduct by the
10 State prejudiced Kiles. Id.
11                  2.   The prosecutor improperly vouched for witnesses and
                         evidence.
12
           Powell’s opening statement at the aggravation phase of Kiles’s trial involved
13
     repeated improper vouching, “placing the prestige of the government behind a
14
     witness through personal assurances of the witness’s veracity, or suggesting that
15
     information not presented to the jury supports the witness’s testimony.” United
16
     States v. Necoechea, 986 F.2d 1273, 1276 (9th Cir. 1993). Powell told the jury he
17
     was going to prove the case through “good police work.” (Tr. Mar. 20, 2006 at 72.)
18
     He also vouched for the letter Hawkins had written, telling the jury it was
19
     “consistent with the physical evidence.” (Tr. Mar. 20, 2006 at 79.) But doing so was
20
     misconduct. See United States v. Kerr, 981 F.2d 1050, 1053 (9th Cir. 1992) (“A
21
     prosecutor has no business telling the jury his individual impressions of the
22
     evidence.”).
23
           In addition, in his opening, Powell repeatedly—and improperly—used the
24
     phrase “we know” to tell the jury what facts “we know” about the crime. (Tr. Mar.
25
     20, 2006 at 67–69, 71, 72, 73.) For instance, after listing several things “we know,”
26
     Powell told the jury, “We know this because the defendant admitted it to several
27
     people” (Tr. Mar. 20, 2006 at 68), though these admissions were contested by
28
                                              336
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 353 of 500



 1 witnesses at the guilt phase. (Tr. July 10, 2000 at 165–66; Tr. July 13, 2000 at 12;
 2 Tr. July 17, 2000 at 149; Tr. July 17, 2000 at 195–96.) The use of the phrase “we
 3 know” by a prosecutor blurs the line between improper vouching and legitimate
 4 summary. United States v. Younger, 398 F.3d 1179, 1191 (9th Cir. 2005). The Ninth
 5 Circuit has held that “we know” is only properly used if it is used “to marshal
 6 evidence actually admitted at trial and reasonable inferences from that evidence,
 7 not to vouch for witness veracity or suggest that evidence not produced would
 8 support a witness’s statements.” Id. In Kiles’s case, the State told the jury “we
 9 know” to establish the State’s theory of the crime before any evidence or witnesses
10 had been introduced to the jury. It therefore amounted to misconduct.
11         Because of the improper vouching and argument in Powell’s opening at the
12 aggravation phase, the defense moved for a mistrial. (Tr. Mar. 20, 2006 at 84–88.)
13 As the prosecutor had the opportunity in the opening statement to set the stage for
14 the rest of the penalty-phase proceeding, defense counsel argued it would be “hard
15 to unring this bell.” (Tr. Mar. 20, 2006 at 87.) Despite recognizing that “Mr. Powell
16 did cross the line in terms of arguing his case,” the trial court denied the motion,
17 and the jury were left with the State’s insupportable theory framing the proceedings.
18 (Tr. Mar. 20, 2006 at 91.) The court declined to issue a contemporaneous curative
19 instruction (Tr. Mar. 20, 2006 at 91), and the State’s vouching went uncured,
20 causing prejudice to Kiles.
21               3.     The prosecutor continued to advance an unsupported
                        theory of the crime through improper questioning of expert
22                      witnesses.
23
           Rather than eliciting testimony based on the facts of the crime, at the penalty
24
     phase Powell asked hypothetical questions of the State’s forensics experts in order
25
     to support his theory of the crime. As Powell’s hypotheticals were divorced from
26
     the evidence, this method of questioning was misleading to the jury. Powell
27
     questioned the medical examiner who autopsied Gunnel with such a hypothetical:
28
                                              337
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 354 of 500



 1                Q. Doctor, if the testimony in this case were that an assault
                  took place on Valerie in one room and that she was knocked
 2                unconscious and that she later regained consciousness and
 3                walked into another room where the assault continued,
                  would that mean to you that she was awake at the time?
 4                A. Well, she would have to be able to walk.
 5                Q. And that means the first blow would not have been the
                  fatal blow?
 6
                  A. That’s correct.
 7
                  MR. POWELL: Nothing further. Thank you.
 8
 9 (Tr. Mar. 21, 2006 at 34.) Of course, there was no such testimony in this case.
10         In similar fashion, Powell asked the State’s blood-spatter expert, Tom Bevel,
11 to opine on hypotheticals outside of Bevel’s area of expertise to try to establish the
12 State’s theory of the crime:
13                Q. And have you learned from your studies and your
                  experience, the type of force that is necessary to generate
14                energy like that to cause a skull to fracture like that?
15                MR. CLARK: Objection, judge. We don’t know if this is
                  skull. We don’t know what it is.
16                MR. POWELL: If we were to assume this is skull?
17                THE COURT: Objection is overruled.
18                THE WITNESS: And I’m sorry. What was the question
                  now?
19                BY MR. POWELL:
20                Q. The type of force that would need to be generated to
21                create a fracture so that bone would break off the skull?
                  A. It was certainly forceful, yes, sir.
22
     (Tr. Mar. 27, 2006 at 68.) Beyond the unsupported hypothetical, Bevel was not a
23
     medical examiner or a forensic pathologist. That, however, did not stop Powell from
24
     trying to elicit testimony beyond the scope of Bevel’s expertise. See Cheney v.
25
     Washington, 614 F.3d 987, 996 n.4 (9th Cir. 2010) (holding that “prosecutorial
26
     misconduct may occur through the prosecutor’s own vouching remarks or when the
27
     prosecutor elicits vouching testimony from witnesses”).
28
                                              338
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 355 of 500



1          Finally, Powell misstated Kiles’s testimony to confirm the State’s
2 allegations. As one example, while questioning a detective about Kiles’s arrest,
3 Powell asked, “[W]e have a man who’s testified that he killed his girlfriend and her
4 two children by beating them to death and there’s no blood on those shoes, correct?”
5 (Tr. Apr. 3, 2006 at 130.) But Kiles had never testified that he had killed the
6 children. (Tr. July 17, 2000 at 151–224.) Powell’s assertion was “calculated to
7 mislead the jury,” undermining the integrity of the trial and prejudicing Kiles. See
8 Berger, 295 U.S. at 85.
9                 4.     The prosecutor used inflammatory language to influence the
                         jury.
10
           As he had done during the guilt phase, Powell improperly used inflammatory
11
     phrases during the penalty phase. He told the jurors they would see “ungodly
12
     amounts of blood” from Valerie’s murder. (Tr. Mar. 20, 2006 at 70.) He said that
13
     “as disturbing as that is,” Kiles then beat the girls, and “[h]e beat them so fiercely
14
     that one of his hands become [sic] raw, torn, and bloody.” (Tr. Mar. 20, 2006 at 70–
15
     71.) In truth, the testimony had been that Kiles’s hand was “scratched up” (Tr. July
16
     17, 2000 at 223), and that Kiles had “a few scars on his hand” (Tr. July 10, 2000 at
17
     144–45). Powell called the crime scene “carnage.” (Tr. Mar. 20, 2006 at 71.) Powell
18
     used such language to inflame the jury and influence their deliberations.
19
                  5.     The prosecutor’s theory of the crime was not reasonably
20                       inferred from the evidence.
21
           Once again, the State’s theory of the crime was not a reasonable inference
22
     based on the evidence presented at trial. See Hermanek, 289 F.3d at 1101.
23
           Detective Brian Rodgers again testified at the penalty phase that there was
24
     no blood spatter or castoff in Gunnel’s bedroom to support the State’s theory. (Tr.
25
     Apr. 3, 2006 at 22.) Though there were individual bloody items found in Gunnel’s
26
     bedroom, Rodgers testified he believed they had been transferred there, as many of
27
     the items in the house were moved after the crime. (Tr. Apr. 3, 2006 at 99–100.)
28
                                              339
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 356 of 500



 1 Moreover, Rodgers was the only person to testify directly about the validity of the
 2 State’s theory. Rodgers, an experienced detective and lead investigator on Kiles’s
 3 case, opined, “I don’t think [Gunnel] was—after things started, I don’t think she
 4 ever made it to the east bedroom.” (Tr. Apr. 3, 2006 at 100.)
 5         Even so, in his closing, Powell continued to assert the State’s fictional story
 6 of the crime by saying that “the physical evidence is very strong” that Gunnel “ran
 7 to the east bedroom. The defendant chased her there.” (Tr. May 22, 2006 at 64.)
 8 Gunnel’s death “had to be a long, drawn out fight.” (Tr. May 22, 2006 at 64.) These
 9 allegations were still almost wholly unsupported by the evidence and were far from
10 a reasonable inference from the evidence. (Tr. July 12, 2000 at 104–41; Tr. July 13,
11 2000 at 93–107; Tr. July 14, 2000 at 4–61; Tr. Mar. 21, 2006 at 4–34; Tr. Mar. 27,
12 2006 at 11–141; Tr. Mar. 29, 2006 at 26–74.) They served only to influence the jury
13 in its determination of Kiles’s sentence.
14         As the prosecutor’s penalty-phase misconduct both prejudiced Kiles’s
15 substantive rights and rendered the trial fundamentally unfair, habeas relief is
16 warranted. See Griffin, 380 U.S. at 623; Zapata, 788 F.3d at 1114–15; Hermanek,
17 289 F.3d at 1101; Berger, 295 U.S. at 78.
18         C.     The prosecutor’s performance rendered the trial fundamentally
                  unfair and violated Kiles’s substantive rights.
19
20         A prosecutor oversteps “the bounds of that propriety and fairness which
21 should characterize the conduct of such an officer” when he, among other things,
22 misstates facts in his cross-examination of witnesses, “put[s] into the mouths of
23 such witnesses things which they had not said,” and assumes prejudicial facts not
24 in evidence. Berger, 295 U.S. at 84. As the Supreme Court has acknowledged, “the
25 average jury, in a greater or less degree, has confidence that these obligations . . .
26 will be faithfully observed. Consequently, improper suggestions, insinuations, and,
27 especially, assertions of personal knowledge are apt to carry much weight against
28 the accused when they should properly carry none.” Id. at 88.
                                               340
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 357 of 500



 1         The State committed each of these indiscretions, prejudicing Kiles. The
 2 cumulative effect of the State’s misconduct rendered Kiles’s proceedings unfair and
 3 violated his due-process rights. See Wood v. Ryan, 693 F.3d 1104, 1116 (9th Cir.
 4 2012) (explaining that “[e]ven when separately alleged incidents of prosecutorial
 5 misconduct do not independently rise to the level of reversible error, ‘[t]he
 6 cumulative effect of multiple errors can violate due process.’” (quoting United
 7 States v. Nobari, 574 F.3d 1065, 1082 (9th Cir. 2009))). The State’s misconduct
 8 had a substantial and injurious effect on Kiles’s convictions and sentences. See
 9 Brecht, 507 U.S. at 623. Kiles is therefore entitled to habeas relief.
10                                        Claim Ten
11         Juror misconduct at Kiles’s guilt- and penalty-phase proceedings
           deprived Kiles of his rights to a fair and impartial jury, the
12         assistance of counsel, confrontation, equal protection, and a fair
13         trial.

14         Because of juror misconduct, Kiles was denied the right to be tried by a fair
15 and impartial jury, and to a fair trial, among other rights, in violation of the Fifth,
16 Sixth, Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles
17 incorporates by specific reference all facts, allegations, and arguments made
18 elsewhere in this Petition.
19         While this claim was not presented below, there was no adequate state-court
20 mechanism for this claim to be heard previously. See 28 U.S.C. § 2254(b)(1)(B).
21 Under Rule 32 of the Arizona Rules of Criminal Procedure, extra-record claims are
22 appropriately brought in state post-conviction proceedings. See, e.g., Lambright v.
23 Stewart, 241 F.3d 1201, 1203–04 (9th Cir. 2001) (explaining that Arizona courts
24 required that claims needing factual development be raised in post-conviction relief
25 proceedings rather than on direct appeal); State v. Blazak, 643 P.2d 694, 700 (Ariz.
26 1982) (“The alleged misconduct of the county attorney and the extent of that alleged
27 misconduct is better shown at a proper post-conviction hearing, at which time
28 evidence may be taken to show the truth or falsity of defendant’s allegations.”);
                                              341
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 358 of 500



 1 State v. West, 845 P.2d 1097, 1102 (Ariz. Ct. App. 1992) (explaining that
 2 petitioner’s claims of prosecutorial misconduct “would require an evidentiary
 3 record that could be created through a petition for post-conviction relief pursuant
 4 to Rule 32, Arizona Rules of Criminal Procedure”).162 In this case, however, state
 5 post-conviction counsel were precluded by order from speaking to jurors. (ROA
 6 1056 at 1.) Because this claim has not been adjudicated by Arizona state courts, the
 7 limitations on relief imposed by 28 U.S.C. § 2254(d) do not restrict review, and the
 8 Court may consider the claim de novo.163
 9         The Supreme Court has long held that “[t]he requirement that a jury’s verdict
10 must be based upon the evidence developed at the trial goes to the fundamental
11 integrity of all that is embraced in the constitutional concept of trial by jury.” Turner
12 v. Louisiana, 379 U.S. 466, 472 (1965) (internal quotation marks omitted). The
13 integrity of the jury is paramount, and “any ground of suspicion that the
14 administration of justice has been interfered with” cannot be tolerated. Mattox v.
15 United States, 146 U.S. 140, 149 (1892), superseded by rule as stated in Pena-
16 Rodriguez v. Colorado, 137 S. Ct. 855 (2017). Additionally, “[i]t is vital in capital
17 cases that the jury should pass upon the case free from external causes tending to
18 disturb the exercise of deliberate and unbiased judgment.” Id.
19
20   162
         Though the Arizona Supreme Court has recently stated that juror-misconduct
21   claims are not appropriate for state post-conviction proceedings, this holding was
     not in effect at the time of Kiles’s trial, and the trial court and counsel could not
22   have predicted this ruling. See, e.g., State v. Kolmann, 367 P.3d 61, 67 (Ariz. 2016)
     (holding that “[b]ecause claims of juror misconduct can be raised on post-trial
23   motion under Rule 24, Kolmann generally is precluded from raising them in a
24   petition for post-conviction relief. Ariz. R. Crim. P. 32.2(a)(1)”). If trial counsel
     should have raised this claim, then they were ineffective for failing to do so. State
25   post-conviction counsel’s ineffectiveness excuses the default of the ineffective-
     assistance-of-trial-counsel claim. See Martinez v. Ryan, 566 U.S. 1, 9 (2012);
26   Strickland v. Washington, 466 U.S. 668, 688, 694 (1984).
27   163
         Alternatively, Kiles alleges he can overcome any default by showing cause and
     prejudice attributable to the ineffective assistance of state post-conviction counsel.
28   See Martinez, 566 U.S. at 9; Strickland, 466 U.S. at 688, 694.
                                               342
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 359 of 500



 1         If a juror brings in extraneous evidence and introduces it to the jury,
 2                [A] defendant has effectively lost the rights of
                  confrontation, cross-examination, and the assistance of
 3                counsel with regard to jury consideration of the extraneous
 4                evidence. In one sense the violation may be more serious
                  than where these rights are denied at some other stage of
 5                the proceedings because the defendant may have no idea
                  what new evidence has been considered. It is impossible to
 6                offer evidence to rebut it, to offer a curative instruction, to
                  discuss its significance in argument to the jury, or to take
 7                other tactical steps that might ameliorate its impact.
 8
 9 Gibson v. Clanon, 633 F.2d 851, 854 (9th Cir. 1980); see also Sassounian v. Roe,
10 230 F.3d 1097, 1108 (9th Cir. 2000); Fields v. Brown, 503 F.3d 755, 779 (9th Cir.
11 2007) (“[E]vidence developed against a defendant must come from the witness
12 stand.”).
13         Moreover, misconduct need not have infected the entire jury. If even one
14 juror has committed misconduct affecting his or her own deliberations, the
15 defendant is denied the constitutional right to an impartial jury. Mach v. Stewart,
16 137 F.3d 630, 633 (9th Cir. 1997). And because of the potential for prejudice, it is
17 immaterial whether a juror or the jury admits that the extraneous information
18 mattered to the ultimate decision, as “[t]estimony as to the subjective effects of
19 extraneous information is outside the relevant scope of inquiry of a reviewing
20 court.” Jeffries v. Blodgett, 5 F.3d 1180, 1191 (9th Cir. 1993) (citing United States
21 v. Bagnariol, 665 F.2d 877 (9th Cir. 1981)).
22         Jurors in Kiles’s guilt- and penalty-phase proceedings variously considered
23 extraneous evidence (including extraneous information regarding race), slept
24 through portions of trial, and compromised or curtailed their deliberations because
25 of an ill juror. Individually and cumulatively, these incidents of juror misconduct
26 denied Kiles’s rights to due process, a fair trial, and a fair and impartial jury.
27
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 360 of 500



 1         A.     Jurors considered extraneous evidence at Kiles’s guilt-phase
                  proceedings.
 2
 3         Upon information and belief, Kiles’s rights to due process, confrontation, and
 4 a fair and impartial jury, among others, were violated by the introduction of
 5 extraneous information into a juror’s deliberations. See generally Turner, 379 U.S.
 6 at 472.
 7         The court admonished Kiles’s guilt-phase jury on multiple occasions to avoid
 8 media during the trial. Jurors were first admonished after being sworn in. The judge
 9 instructed the jurors to “avoid any reading of newspapers or watching TV news
10 accounts and things like that during the trial, and if you do encounter something
11 about this case in the news media during the trial we ask that you end your exposure
12 to it immediately and also bring that to my attention through the court staff.” (Tr.
13 July 7, 2000 at 183.) The judge reminded the jurors of the admonition continually
14 throughout the proceedings. (See, e.g., Tr. July 7, 2000 at 82, 174; Tr. July 10, 2000
15 at 83; Tr. July 11, 2000 at 63, 101, 177; Tr. July 12, 2000 at 94.)
16         Upon information and belief, at least one juror consistently ignored the
17 admonition and read the newspaper every day during the trial. Given the pervasive
18 news coverage of trial, the juror would have been exposed to extrinsic information
19 about the case on which he was empaneled.164 Also upon information and belief,
20 another juror was aware of the extraneous and prejudicial information that Kiles
21 had previously been convicted for the crimes for which he was on trial.
22         The jury’s knowledge of and reliance upon extrinsic evidence violated
23 Kiles’s constitutional rights to confrontation, due process, a fair trial, assistance of
24
   164
       The media coverage of Kiles’s case was extensive. The defense’s petition for
25 special action with the Arizona Supreme Court for a change of venue contained
26 detailed information on the numerous news articles and extensive news coverage
   of the trial in Yuma. (Case No. CV-00-0143, Pet. for Special Action, May 5, 2000
27 at 4–46.) Additionally, the Yuma Sun published information about Kiles’s prior
   trial and conviction after winning the right to do so based on First Amendment
28 grounds. (ROA 491 at 3–8; Tr. July 7, 2000 at 9–14.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 361 of 500



 1 counsel, and a fair and impartial jury. A jury’s verdict “must be based upon the
 2 evidence developed at the trial” to ensure the integrity of the constitutional right to
 3 trial by jury. Irvin v. Dowd, 366 U.S. 717, 722 (1961); see also Fields v. Brown,
 4 503 F.3d 755, 779 (9th Cir. 2007). In addition, bringing extrinsic facts into
 5 deliberations implicates the Confrontation Clause. Sassounian, 230 F.3d at 1108.
 6 Upon information and belief, these constitutional violations were not harmless
 7 errors; the extrinsic information had a “substantial and injurious effect or influence”
 8 in determining at least one juror’s verdict. Brecht v. Abrahamson, 507 U.S. 619,
 9 623 (1993); Mach, 137 F.3d at 634.
10         B.     Jurors committed misconduct in multiple ways at Kiles’s penalty-
                  phase proceeding.
11
12         Multiple jurors in Kiles’s case sought out and considered evidence
13 extraneous to the proceedings, slept through trial, and considered incorrect and
14 extraneous information about race during their deliberations. In addition, the jury
15 compromised or curtailed deliberations due to the severe illness of one of the jurors.
16 This violated Kiles’s rights to due process and a fair trial, among other rights. See
17 Turner, 379 U.S. at 472.
18             1.     Jurors’ deliberations were informed by extraneous
                      influences.
19
20         Once empaneled, the judge gave the jurors at Kiles’s penalty phase an
21 admonition. The admonition stated, “Do not do any research or make any
22 investigation about the case on your own.” (Tr. Mar. 20, 2006 at 54–55.) In addition,
23 the judge instructed, “Do not talk to anyone about the case.” (Tr. Mar. 20, 2006 at
24 55.) The jurors were again reminded of the admonition throughout the proceedings.
25 (See, e.g., Tr. Mar. 20, 2006 at 160; Tr. Mar. 22, 2006 at 29; Tr. Mar. 27, 2006 at
26 35, 142.)
27         However, upon information and belief, several jurors actively sought out
28 extraneous information to assist in deliberations. This violated Kiles’s
                                              345
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 362 of 500



 1 constitutional rights to confrontation, assistance of counsel, and a fair and impartial
 2 jury. “Private communications, possibly prejudicial, between jurors and third
 3 persons . . . are absolutely forbidden, and invalidate the verdict, at least unless their
 4 harmlessness is made to appear.” Mattox, 146 U.S. at 150; see also Fields, 503 F.3d
 5 at 779 (“[E]vidence developed against a defendant must come from the witness
 6 stand.”). Jurors researched Kiles’s case—seeking out extraneous information—
 7 because they were curious about information beyond what was being presented at
 8 trial. Especially given the extensive media coverage that had surrounded Kiles’s
 9 earlier proceedings, including his original trial and death sentences, this error was
10 not harmless. See, e.g., Bulger v. McClay, 575 F.2d 407, 409, 412 (2d Cir. 1978)
11 (affirming grant of habeas relief where one juror later admitted that he changed his
12 vote after another juror discussed contents of a newspaper article during
13 deliberations).
14         In addition, upon information and belief, one juror spoke to her husband, who
15 was incarcerated at the time, to assess the credibility and accuracy of penalty-phase
16 defense expert James Aiken. Aiken testified about the classification system in
17 Arizona prisons; he further testified about Kiles’s history as a model prisoner. (See
18 Tr. Apr. 27, 2006 at 4–54.) Aiken told the jury:
19                Like I said, I have been in this business well over 30 years,
                  and I have classified a lot of inmates, thousands and
20                thousands of inmates. And they come in and they commit
21                some type of violation. Some type of violation, whether it’s
                  not tucking their shirt in or having a junkie room, and this
22                is baffling. I mean, I don’t see one significant report in
                  relationship to [Kiles’s] behavior while confined. And like
23                I said, I have been doing this for many, many years. And
                  counsel can tell you I had to go back through it and look
24                through it and back through it and check and double-check,
25                because I have never seen anything like this.
26 (Tr. Apr. 27, 2006 at 32.)
27         However, after asking her husband about Aiken’s testimony, the juror then
28 conveyed to the panel her husband’s opinion that Aiken’s testimony was not
                                               346
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 363 of 500



 1 credible—it was either an exaggeration or flatly inaccurate. This undermined the
 2 credibility of a defense expert during the mitigation stage of Kiles’s proceedings,
 3 and the defense had no opportunity to address or correct the information the jury
 4 received. See Gibson, 633 F.2d at 854; Sassounian, 230 F.3d at 1108. Moreover,
 5 jurors were in effect told, by what appeared to be a well-informed source, that a
 6 defense expert was lying. This also undercut the credibility of defense counsel and
 7 the entire defense mitigation presentation—including the other defense experts who
 8 formed the bulk of the defense case for leniency. Additionally, the extraneous
 9 information was singularly important, as it contradicted the defense’s argument that
10 Kiles posed no future danger if sentenced to life in prison. Notably, future
11 dangerousness is always a matter of significant concern for capital juries. See John
12 H. Blume, Stephen P. Garvey & Sheri Lynn Johnson, Future Dangerousness in
13 Capital Cases: Always “At Issue,” 86 Cornell L. Rev. 397, 410 (2001). If Aiken’s
14 testimony was dismissed, jurors would have been more likely to consider the factor
15 of Kiles’s potential for future violence in their vote for a death sentence. That the
16 jury heard such extraneous information was prejudicial. Jeffries, 5 F.3d at 1191.
17          Given the importance of the mitigation phase of a capital trial, it is critical
18 that the jurors charged with determining the appropriate punishment consider all of
19 the mitigation evidence presented to them, without being influenced by information
20 outside the proceedings. See Lockett v. Ohio, 438 U.S. 586, 605 (1978) (“Given that
21 the imposition of death by public authority is so profoundly different from all other
22 penalties, we cannot avoid the conclusion that an individualized decision is
23 essential in capital cases.”). Juror misconduct thus undermined the integrity of the
24 deliberations, prejudicing Kiles. See Brecht, 507 U.S. at 623.
25                2.    Jurors slept through the proceedings.
26         At least three jurors slept through various parts of Kiles’s aggravation phase.
27 Defense counsel notified the court that Jurors 9, 11, and 13 were nodding off; Juror
28 13 slept soundly enough that counsel “thought he was going to fall out of his chair
                                              347
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 364 of 500



 1 a couple times.” (Tr. Mar. 22, 2006 at 4.) The defense asked the record to reflect
 2 that, with respect to Jurors 11 and 13, “they have been continually nodding off.”
 3 (Tr. Mar. 22, 2006 at 4.) Juror 9 was “a newcomer to the sleep fest here.” (Tr. Mar.
 4 22, 2006 at 4.) The prosecutor confirmed that Juror 11 may have been sleeping;
 5 also, he (the prosecutor) and members of his team had seen Juror 13 sleep “on a
 6 pretty regular basis” for substantial periods of time. (Tr. Mar. 22, 2006 at 5–6.)
 7 While Juror 13 was made an alternate, Jurors 9 and 11 participated in deliberations.
 8 (Tr. Apr. 12, 2006 at 29–30.)
 9         Given the importance of the penalty phase of a capital trial, the jurors charged
10 with determining the appropriate punishment must hear and consider all of the
11 evidence presented to them. See Lockett, 438 U.S. at 605; see also Eddings v.
12 Oklahoma, 455 U.S. 104, 110 (1982). Prolonged juror inattentiveness in a criminal
13 trial, especially a capital trial, jeopardizes the defendant’s Sixth, Eighth, and
14 Fourteenth Amendment rights. See Pena-Rodriguez v. Colorado, 137 S. Ct. 855,
15 866 (2017). “A fair trial presupposes careful attention by the jurors to all of the
16 testimony, and that both the court and counsel must do all in their power to ensure
17 that jurors do not in fact sleep through any part of the proceedings.” Welch v. United
18 States, 807 A.2d 596, 604 n.8 (D.C. 2002); see also United States v. Freitag, 230
19 F.3d 1019, 1023 (7th Cir. 2000) (“If sleep by a juror makes it impossible for that
20 juror to perform his or her duties or would otherwise deny the defendant a fair trial,
21 the sleeping juror should be removed from the jury.”).
22         Here, as reflected on the record, jurors were seen sleeping during at least one
23 day of the State’s presentation supporting the charged aggravators. Among other
24 witnesses, these jurors missed the questioning of Imojean Kiles, who was a key
25 witness testifying largely in Kiles’s favor. As neither the court nor counsel took
26 affirmative steps to correct the jurors’ behavior (Tr. Mar. 22, 2006 at 6), it is likely
27 that these and other jurors missed evidence and testimony that was important to
28 their deliberations.
                                              348
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 365 of 500



 1          Jurors sleeping through proceedings is not harmless conduct, especially
 2 given the law’s requirement of heightened reliability in capital cases. See United
 3 States v. Barrett, 703 F.2d 1076, 1083 (9th Cir. 1983); see also Romano v.
 4 Oklahoma, 512 U.S. 1, 20–21 (1994) (“[T]his Court’s Eighth Amendment
 5 jurisprudence instructs, capital sentencing procedures must be especially reliable”
 6 given the jury’s “awesome responsibility.”) (quoting Caldwell v. Mississippi, 472
 7 U.S. 320, 329 (1985)). This form of juror misconduct had a substantial and injurious
 8 effect on the outcome of Kiles’s capital sentencing. See Brecht, 507 U.S. at 623.
 9                3.     Jurors improperly considered extraneous and incorrect
                         information about race and criminality during their
10                       deliberations.
11          Upon information and belief, the jury in Kiles’s penalty phase considered
12 Kiles’s race, in the context of extraneous and incorrect information about African
13 Americans, during their penalty-phase deliberations. This violated, among other
14 rights, Kiles’s rights to a fair and impartial jury, equal protection, and a fair trial.
15          During the mitigation presentation, the defense called psychologist Mark
16 Cunningham, Ph.D., to discuss the predictors of violence. (Tr. May 11, 2006 at 3.)
17 Dr. Cunningham was asked to explain how broad historic and socio-cultural factors
18 can affect individual decision-making. (Tr. May 11, 2006 at 10–22.) He told the
19 jury that a study found that, “at any given point in time in Washington, D.C. or
20 Baltimore, about half of the black males are in the criminal justice system.” (Tr.
21 May 11, 2006 at 16.) Dr. Cunningham clarified that “[t]his is not about race. It isn’t
22 being black that creates the issue.” However, he told the jury that the rate of
23 homicide for black males was “[a]bout 30 times greater” than that of white males.
24 (Tr. May 11, 2006 at 16–17.)
25          Unfortunately, Dr. Cunningham’s testimony supported racial stereotypes of
26 black men as more dangerous and violent.165 Regardless of whether the testimony
27
   165
       “[P]resented with a criminal defendant, even well-meaning people fall prey to
28 the stereotype that, whether for reason of biology or culture, Black people are
                                                349
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 366 of 500



 1 was that black men are inherently more violent because of their race, or that black
 2 men end up more violent because of historic, economic, or socio-cultural factors,
 3 the jurors would have had the same takeaway: black men are more violent.
 4         It was clear that race and criminality were on the jurors’ minds after Dr.
 5 Cunningham’s testimony. The jury submitted the following question to Dr.
 6 Cunningham:
 7                For your representative city regarding violent crime, you
                  chose the District of Columbia. As D.C. is 99% Black and
 8                has the highest violent crime rate in the nation, is that an
 9                accurate comparison to a community like Yuma, AZ?
                  According to Professor John Lott’s book “More Guns, Less
10                Crime,” the disproportional rate of crime is due to the fact
                  that D.C. has the strictest gun laws in the nation, rather than
11                socio-economic conditions. Does your comparison still
                  apply regarding Yuma?
12
13 (ROA 885 at 1.) The juror’s question, which was read in open court, introduced
14 extraneous information about race and criminality, as well as about the expert’s
15 credibility, into the proceedings. Particularly concerning is that it raised incorrect
16 extraneous information about race and criminality to determine the credibility of
17 expert testimony. It was incorrect because (1) while exact numbers for 2006 are
18 unknown, according to the U.S. Census, in 2000, D.C. was 60% black; by 2010 the
19 black population had dropped to 51%,166 (2) in 2006, D.C. did not even make the
20 top 25 most dangerous cities,167 and (3) John Lott’s scholarship has been
21
22 inherently violent and dangerous.” See Br. for the Nat’l Black Law Students Ass’n
   as Amicus Curiae in Support of Pet’r, Buck v. Davis, 137 S. Ct. 759 (2017) (No.
23 15-8049), at 2; see also Justin D. Levinson et al., Devaluing Death: An Empirical
   Study of Implicit Racial Bias on Jury-Eligible Citizens in Six Death Penalty States,
24 89 N.Y.U. L. Rev. 513, 563 (2014).
25 166 See United States Census Bureau, District of Columbia (last visited Sept. 19,
   2018), https://factfinder.census.gov/faces/nav/jsf/pages/communityfacts.xhtml?
26 src=bkmk.
27 167 See Les Christie, Top 25: Most Dangerous and Safest Cities, CNN Money (Oct.
   30, 2006), https://money.cnn.com/2006/10/30/realestate/Mostdangerouscities/
28 index.htm.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 367 of 500



 1 discredited.168
 2         Unfortunately, Dr. Cunningham’s reply could not correct the error—the juror
 3 had already entered extraneous information into the proceedings that both cast
 4 doubt on Dr. Cunningham’s testimony and explicitly linked race to criminality. And
 5 Dr. Cunningham’s reply did not address the juror’s erroneous information about
 6 race and crime rates in the District of Columbia. Indeed, the reply may have offered
 7 more support for the extraneous, incorrect information injected into the proceedings
 8 by even more explicitly connecting race and criminality.169 (Tr. May 11, 2006 at
 9 90–92.)
10         It is clear that jurors were considering race and racial stereotypes in relation
11 to criminality and dangerousness, including extraneous information, during their
12 deliberations. This was improper. “Permitting racial prejudice in the jury system
13 damages ‘both the fact and the perception’ of the jury’s role as ‘a vital check against
14 the wrongful exercise of power by the State.’” Pena-Rodriguez, 137 S. Ct. at 868
15 (quoting Powers v. Ohio, 499 U.S. 400, 411 (1991)).
16         The juror’s introduction of incorrect information regarding the link between
17 race and criminality into the proceedings constituted misconduct, and prejudiced
18 Kiles. See Brecht, 507 U.S. at 637–38.
19                4.    Jurors curtailed their deliberations or compromised their
                        votes because one member of the jury was gravely ill.
20
21         Upon information and belief, the jurors at Kiles’s mitigation phase curtailed
22 their deliberations, as one juror was gravely ill and was delaying cancer treatments
23
     168
24       See Emily Badger, More Guns, Less Crime? Not Exactly, The Washington Post
     (July 29, 2014), https://www.washingtonpost.com/news/wonk/wp/2014/07/29/
25   more-guns-less-crime-not-exactly/.
     169
26       Dr. Cunningham responded to the question saying, “Nationwide, I think about
     14 percent of the population is African-American. And my recollection is that those
27   individuals account for about half of the homicides, about three times the expected
     rate nationwide. . . . They’re killing their own.” (Tr. May 11, 2006 at 90–92); see
28   Claim 6, supra.
                                              351
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 368 of 500



 1 until a verdict was reached. Had the jury not rushed deliberations so that one of its
 2 members could receive medical treatment, there is a reasonable probability that
 3 Kiles would not have received a death sentence. Cf. United States v. Evanston, 651
 4 F.3d 1080, 1087–88 (9th Cir. 2011) (holding that outside influences being injected
 5 into the jury’s deliberative process raised the specter of jury coercion).
 6         At Kiles’s mitigation phase, the jury was scheduled to deliberate for only two
 7 days, including one partial day. (ROA 888 at 1.) The schedule was set partly
 8 because one of the jurors had to begin a course of radiation and chemotherapy,
 9 which was set to last for six weeks. (ROA 888 at 1.)
10         The Arizona Constitution requires that “[t]he right of trial by jury shall
11 remain inviolate. . . . In all criminal cases the unanimous consent of all the jurors
12 shall be necessary to render a verdict.” Ariz. Const. art. II, § 23. Upon information
13 and belief, some of the jurors were holding out for a life sentence for the killing of
14 Gunnel. If they had not been rushed to reach a verdict to allow a juror necessary
15 medical treatment, there is a reasonable probability the jury would not have been
16 unanimous with respect to Gunnel’s death sentence. The jury’s compromised and
17 curtailed deliberations prejudiced Kiles. See Brecht, 507 U.S. at 623.
18         C.     Juror misconduct throughout the course of proceedings violated
                  Kiles’s right to due process and a fair trial.
19
20         The number of jurors affected by the misconduct “does not weigh heavily in
21 the prejudice calculus for even a single juror’s improperly influenced vote deprives
22 the defendant of an unprejudiced, unanimous verdict.” Lawson v. Borg, 60 F.3d
23 608, 613 (9th Cir. 1995); see also Parker v. Gladden, 385 U.S. 363, 366 (1966) (a
24 defendant is “entitled to be tried by 12, not 9 or even 10, impartial and unprejudiced
25 jurors”). In Kiles’s case, these instances of misconduct demonstrate that jurors were
26 improperly influenced in multiple ways, individually and cumulatively causing a
27 substantial and injurious effect on the juries’ verdicts and rendering Kiles’s
28 convictions and death sentence unreliable. See Brecht, 507 U.S. at 623. Kiles is
                                             352
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 369 of 500



 1 therefore entitled to relief.
 2                                      Claim Eleven
 3         Kiles’s appellate counsel failed to provide effective assistance.
 4         Kiles was denied the effective assistance of appellate counsel in violation of
 5 the Sixth and Fourteenth Amendments to the U.S. Constitution. Kiles incorporates
 6 by specific reference all facts, allegations, and arguments made elsewhere in this
 7 Petition.
 8        “Is it a violation of the ABA standards not to brief mitigation in an appellate
 9 case?”
10       The Arizona Supreme Court asked this question of Paul Mattern, Kiles’s
11 counsel on direct appeal, during oral argument. Mattern had started his argument
                                                                                 170
12 by apologizing for not briefing the issue of the court’s independent review.
13 Mattern then spent the majority of his time before the court trying to argue a claim
14 that was not cognizable on appeal: ineffective assistance of trial counsel. When one
15 of the justices interrupted him to ask about his own failure to address a key issue in
16 the case, Mattern had no answer.
17         Kiles previously raised several aspects of this claim in his state post-
18 conviction proceedings. (ROA 1189 at 31–32, 61–69.) The state court denied these
19 claims on the merits, saying that Kiles had not stated a colorable claim for relief.
20 (ROA 1214 at 2.) The state court’s denial of these claims constituted an
21 unreasonable application of or was contrary to clearly established federal law, 28
22 U.S.C. § 2254(d)(1), and rested on an unreasonable determination of the facts, id.
23 § 2254(d)(2). Accordingly, § 2254(d) places no limitation on relief, and this Court
24 may review the exhausted sections de novo.
25       Parts B(4) through B(7) of this claim were not raised in Kiles’s state-court
26   170
      Because Kiles was convicted of a crime that occurred before August 1, 2002, by
27 statute the Arizona Supreme Court was required to independently review Kiles’s
   death sentence. See State v. Grell, 291 P.3d 350, 351 (Ariz. 2013); A.R.S.
28 § 13-755(A)–(C) (Supp. 2008).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 370 of 500



 1 proceedings. Kiles alleges he can overcome any default by showing cause and
 2 prejudice, including because of the ineffective assistance of state post-conviction
 3 counsel. See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Edwards v. Carpenter, 529
 4 U.S. 446, 453 (2000); Strickland v. Washington, 466 U.S. 668, 687–88 (1984); but
 5 see Davila v. Davis, 137 S. Ct. 2058 (2017). Kiles will demonstrate at an evidentiary
 6 hearing that post-conviction counsel’s performance fell below the standards of
 7 minimally competent capital attorneys and that counsel’s failures prejudiced him.
 8 Alternatively, Kiles alleges that any procedural bar is not adequate or independent
 9 and that imposing default would be a miscarriage of justice.
10         Effective assistance of appellate counsel is guaranteed by the Due Process
11 Clause of the Fourteenth Amendment. Evitts v. Lucey, 469 U.S. 387, 396 (1985)
12 (“A first appeal as of right . . . is not adjudicated in accord with due process of law
13 if the appellant does not have the effective assistance of an attorney.”); see id. at
14 395 (“Because the right to counsel is so fundamental to a fair trial, the Constitution
15 cannot tolerate trials in which counsel, though present in name, is unable to assist
16 the defendant to obtain a fair decision on the merits.”). As such, “nominal
17 representation” during an appeal “does not suffice to render the proceedings
18 constitutionally adequate.” Id. at 396.
19         Claims of ineffective assistance of appellate counsel are governed by the
20 standard of review set forth in Strickland, 466 U.S. at 686–87. See Smith v. Robbins,
21 528 U.S. 259, 285 (2000). Accordingly, Kiles must show that appellate counsel’s
22 representation “fell below an objective standard of reasonableness,” Strickland, 466
23 U.S. at 688, and that “there is a reasonable probability that, but for counsel’s
24 unprofessional errors, the result of the proceeding would have been different,” id.
25 at 694. In addition, the ABA Guidelines are instructive in evaluating the
26 reasonableness of counsel’s conduct. See, e.g., Rompilla v. Beard, 545 U.S. 374,
27 387 (2005). Regarding appellate counsel’s performance, the ABA Guidelines
28 indicate that “counsel should seek to litigate all issues . . . that are arguably
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 371 of 500



 1 meritorious[.]” 2003 ABA Guideline § 10.15.1(C). Therefore, when appellate
 2 counsel fails to raise a meritorious issue and there is a reasonable probability that
 3 such a challenge would have resulted in the reversal of a conviction or sentence,
 4 counsel has necessarily caused prejudice to the defendant. See, e.g., Strickland, 466
 5 U.S. at 694. Because he fixated on a claim he could not bring on direct appeal,
 6 Mattern failed to raise several viable claims. This failure prejudiced Kiles because,
 7 as described below, the claims Mattern failed to raise have merit.
 8         A.     Appellate counsel focused his efforts on a claim that was not
                  cognizable on appeal.
 9
10         Kiles’s appellate attorney unreasonably focused his investigation and
11 briefing on a single claim: ineffective assistance of trial counsel. This narrow focus
12 was inexplicable, because in Arizona ineffective-assistance claims—particularly
13 those that depend on extra-record evidence—are not cognizable on appeal. In
14 Arizona, it has been long established that claims about the ineffective assistance of
15 trial counsel are properly brought in a state post-conviction petition. See Ariz. R.
16 Crim. P. 32; e.g., State v. Spreitz, 39 P.3d 525, 527 (Ariz. 2002). In fact, in Kiles’s
17 case, the Arizona Supreme Court explained:
18               Because we cannot consider facts outside the record, our
                 consideration of ineffective assistance of counsel claims on
19               direct appeal would rarely result in reversal. We caution
                 that raising an argument such as this on direct appeal gains
20               very little, but risks a great deal, as the defendant who asks
21               this Court to determine issues of ineffectiveness on the
                 appellate record faces the possibility of later preclusion.
22
23 State v. Kiles, 213 P.3d 174, 183–84 (Ariz. 2009) (citing Ariz. R. Crim. P. 32.2(a)(2)
24 (“A defendant shall be precluded from relief under this rule based upon any ground
25 . . . [f]inally adjudicated on the merits on appeal or in any previous collateral
26 proceeding. . . .”)). Despite the clear, then-existing authority to the contrary,
27 Mattern nevertheless pursued an ineffective-assistance claim during the appeal, to
28 Kiles’s detriment.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 372 of 500



 1         Mattern was appointed as Kiles’s attorney on direct appeal on June 21, 2006.
 2 (ROA 931 at 1.) Kiles was Mattern’s first capital appellate client, and Mattern made
 3 many critical mistakes. The first was in building an inappropriate relationship with
 4 Kiles that revolved around the ineffective assistance of Kiles’s trial counsel, which,
 5 as explained above, Mattern could not properly bring as a claim on direct appeal.
 6         Mattern’s correspondence with Kiles was filled with foul language, diatribes
 7 against courts, lawyers, and the justice system, and a fixation specifically on Kiles’s
 8 prior counsel, Clark and VanDreumel. Kiles was particularly vulnerable, having
 9 just been sentenced to death for a second time, and Mattern’s correspondence was
10 often unprofessional. Mattern promised he would risk financial ruin, his reputation,
11 and even his health in his crusade to defend Kiles. By Mattern’s second letter to
12 Kiles, his focus on Clark was evident. Mattern acknowledged to Kiles that
13 information about Clark’s ineffectiveness would not legally assist Kiles in his
14 appeal, but Mattern nonetheless told Kiles that he was going to follow that lead.
15         Mattern did not direct his efforts toward reviewing the record for claims that
16 were appropriate to bring on appeal. See Kiles, 213 P.3d at 183. Instead, Mattern
17 investigated Clark and VanDreumel, drafted complaints about Clark for Kiles to
18 file with the State Bar, and spent considerable time trying to obtain extra-record
19 materials from VanDreumel that could not be submitted to support claims in Kiles’s
20 direct appeal. Mattern’s insistence on obtaining records from VanDreumel that
21 could not be cited in his appeal was finally resolved by court order, only a month
22 before Mattern’s opening brief was initially due. (ROA 1016 at 1–2.) Though
23 Mattern gained the ability to access files best left for state post-conviction
24 proceedings, he wasted time that he could have spent identifying, researching, and
25 presenting cognizable and meritorious claims.
26         Kiles’s opening brief on appeal was filed on July 14, 2008. (DA2 Dkt. 86.)
27 The brief was 97 pages long, but the statement and facts of the case comprised a
28 full 42 pages of the brief, most of which were irrelevant to the legal claims raised
                                              356
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 373 of 500



 1 therein. As noted by the Arizona Supreme Court during argument, Mattern failed
 2 in his remaining pages to argue that mitigation in Kiles’s case was compelling
 3 enough to warrant leniency.171 Of the pages remaining for substantive legal
 4 arguments, Mattern devoted nearly half to the non-cognizable ineffective-
 5 assistance-of-counsel claim. (DA2 Dkt. 86 at 66–84.)
 6         Mattern’s singular focus on the ineffective-assistance claim was not
 7 “reasonable considering all the circumstances.” Strickland, 466 U.S. at 688.
 8 Although defense counsel has broad discretion when making strategic decisions,
 9 those decisions must be reasonable and informed. Id. at 691; see also Correll v.
10 Ryan, 539 F.3d 938, 949 (9th Cir. 2008) (holding that an “uninformed strategy” is
11 “no strategy at all”). In fact, the Arizona Supreme Court stated that, as the
12 ineffective-assistance claim was improvidently raised, it would not consider the
13 merits of the argument. Kiles, 213 P.3d at 183–84. Focusing one’s effort on a claim
14 that the appellate court predictably finds was improvidently raised does not amount
15 to reasonable professional judgment.
16         As justification for pursuing his non-cognizable claim, Mattern repeatedly
17 invoked the 2003 ABA Guidelines, which state that appellate counsel should “make
18 every professionally appropriate effort to present issues in a manner that will
19 preserve them for subsequent review.” 2003 ABA Guideline 10.15.1(C). Had the
20 Arizona Supreme Court decided to rule on the merits of the ineffectiveness claims
21
22   171
       This failure is particularly striking in that the Arizona Supreme Court had
23 repeatedly addressed similar failures in opinions issued before the brief in this case
   was filed. State v. Andriano, 161 P.3d 540, 554 n.11 (Ariz. 2007) (“Andriano did
24 not argue why the Court should find in its independent review that the mitigating
   circumstances were ‘sufficiently substantial to call for leniency.’ A.R.S.
25 § 13-703(E). Counsel in capital cases ‘should take advantage of all appropriate
26 opportunities to argue why death is not suitable punishment for their particular
   client.’ ABA Guidelines for the Appointment and Performance of Defense Counsel
27 in Death Penalty Cases Guideline 10.11(L) (2003).”); see also State v. Garza, 163
   P.3d 1006, 1021 n.16 (Ariz. 2007) (same); State v. Morris, 160 P.3d 203, 219 n.10
28 (Ariz. 2007) (same).
                                             357
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 374 of 500



 1 as raised, Kiles would then have been precluded from raising them in his state post-
 2 conviction proceedings, when he would have had the opportunity to investigate,
 3 develop, and present extra-record evidence in support of his claims. Rather than
 4 preserving issues for subsequent review, Mattern risked forfeiting Kiles’s chance
 5 to raise the claims in a procedurally appropriate manner.
 6         That this singular focus on a non-cognizable claim worked to the detriment
 7 of raising meritorious claims was clear at oral argument. Mattern spent all of his
 8 available time at argument either addressing the issue he acknowledged he failed to
 9 raise—the Arizona Supreme Court’s independent review—or arguing with the
10 justices about his decision to inappropriately bring an ineffective-assistance-of-
11 counsel claim on direct appeal. Several cognizable issues that required appellate
12 review in Kiles’s case therefore went un-briefed and un-argued.
13         B.     Appellate counsel was ineffective for failing to raise meritorious
                  claims.
14
15         Because Mattern was so focused on bringing a non-cognizable claim on
16 direct appeal, he failed to identify and properly brief important appellate issues that
17 were apparent from the record. If Kiles had had competent appellate counsel, there
18 is a reasonable probability he would have had his conviction or death sentence
19 reversed. See Strickland, 466 U.S. at 694.
20              1.     Appellate counsel failed to challenge the child-abuse
                       convictions.
21
22         Mattern stated in his opening brief that his challenges were limited to the
23 premeditated murder of Valerie Gunnel and the imposition of the death sentence
24 for her murder. (DA2 Dkt. 86 at 2.) Therefore, he neglected to bring the meritorious
25 claim that Kiles’s child-abuse convictions should have been dismissed by the court.
26         Kiles was indicted on first-degree premeditated murder charges for LeCresha
27 Kirklin and Shemaeah Gunnel; the State charged him in the alternative with felony
28 murder, based upon the predicate felony of child abuse. (ROA 1 at 2.) Before
                                              358
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 375 of 500



 1 Kiles’s guilt-phase proceedings, defense counsel submitted a pretrial motion to
 2 dismiss the child-abuse charges pursuant to State v. Styers, 865 P.2d 765 (1993).
 3 (ROA 443 at 3–6.) Styers held that a separate child-abuse conviction cannot stand
 4 in a case where the premeditated murder of the child is the abuse alleged in a
 5 separate count. The Arizona Supreme Court made it clear that child abuse may still
 6 be a predicate felony for felony murder where the abuse results in the death of the
 7 child. This, however, is at odds with premeditated murder, where a person
 8 knowingly or intentionally causes the death of another. “Although felony murder is
 9 first degree murder, it is arrived at differently than premeditated murder.” Styers,
10 865 P.2d at 772. One cannot be guilty of murder for the death of a child as the result
11 of intentional child abuse, where the only act of child abuse is the premeditated
12 murder of the child.
13         The Arizona Supreme Court’s holding in Styers emphasized the fact that the
14 defendant had been convicted of premeditated murder. Any assault on a child
15 during a premeditated murder of that child necessarily merged with the murderous
16 assault. “If a defendant cannot be convicted for an aggravated assault that
17 necessarily occurs when there is a premeditated murder, it logically follows that he
18 also cannot be convicted for an intentional child abuse that necessarily occurs where
19 there is a premeditated murder of a child victim.” Styers, 865 P.2d at 771.
20         Kiles’s counsel argued this issue multiple times at trial, including in a pretrial
21 motion requesting that the child-abuse charges be struck. (ROA 443 at 3–6.) The
22 State responded that Kiles’s motion was premature. (ROA 444 at 2.) There was no
23 argument on the issue before trial. After the State rested its case, however, defense
24 counsel moved for a directed verdict on the two counts each of child abuse and
25 felony murder based on the holding in Styers. (Tr. July 17, 2000 at 109–25; Tr. July
26 18, 2000 at 3–11.) Defense counsel urged that the State had failed to support a
27 felony-murder charge, as it had presented no evidence that the deaths of the children
28 were in “furtherance” of the alleged child abuse. (Tr. July 17, 2000 at 113–14.) The
                                               359
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 376 of 500



 1 court denied the motion as premature, saying, “[W]e can vacate some of the verdicts
 2 if that’s what needs to be done, but I think I mostly agree with Mr. Powell that this
 3 is a jury question to determine what happened and it is premature at this present
 4 point for me to take anything from the jury.” (Tr. July 17, 2000 at 125.)
 5         The jury verdict, however, made the issue ripe, as some guilt-phase jurors
 6 found Kiles guilty of premeditated murder of the children and also guilty of child
 7 abuse. (ROA 482 at 5–8.) That even one juror so found invalidated the child-abuse
 8 verdicts. The defense thus renewed its motion to have the felony-murder and child-
 9 abuse convictions vacated. (ROA 488 at 2–8.) Despite Arizona Supreme Court
10 precedent, the trial court said that, while the defense had raised “interesting issues,”
11 it would not vacate the child-abuse verdicts. (Tr. Dec. 29, 2000 at 19–20.)
12         The trial court’s decision to allow the child-abuse convictions to stand,
13 despite the findings of premeditated murder, was in error and was ripe for appellate
14 review.172 Mattern should have been on notice of the issue, given the concerted
15 efforts of trial counsel during Kiles’s proceedings. Trial counsel raised the issue in
16 motions practice (ROA 443 at 3–6), requested a directed verdict (Tr. July 17, 2000
17 at 109–25; Tr. July 18, 2000 at 3–11), filed a motion for judgment of acquittal on
18 the child-abuse charges (ROA 488 at 1–8), included the issue in a motion for new
19 trial (ROA 500 at 17–18), and presented the issue at argument (Tr. Dec. 29, 2000
20 at 2–12). Moreover, the trial court’s suggestion that the issue could be addressed at
21 a later time “if that’s what needs to be done” should have alerted Mattern to its
22 suitability for appellate review.
23         Mattern failed to challenge this issue, despite the likelihood of a successful
24 challenge, given the clear precedent on the same issue and near-identical facts. The
25 Arizona Supreme Court had explicitly said, “The first degree murder statute, A.R.S.
26 § 13-1105(A)(l), not the child abuse statute, applies when a person intentionally
27
   172
       While Mattern could also have challenged the felony-murder convictions under
28 Styers, Kiles is not challenging those convictions at this time.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 377 of 500



 1 kills a child victim.” Styers, 865 P.2d at 772 (emphasis added). In failing to
 2 challenge the trial court’s error that disregarded that holding, Mattern provided
 3 ineffective assistance, and Kiles was thereby prejudiced. See Evitts, 469 U.S. at
 4 396; Strickland, 466 U.S. at 694.
 5                2.    Appellate counsel failed to challenge the trial court’s denial
                        of a mistrial due to prosecutorial misconduct.
 6
 7         Mattern also failed to challenge in his direct appeal the improper
 8 prosecutorial opening argument during the aggravation phase of Kiles’s trial. (ROA
 9 1189 at 62.)
10         After the State’s opening statement in the aggravation phase, the defense
11 moved for a mistrial. (Tr. Mar. 30, 2006 at 84–88.) Prosecutor Powell’s opening
12 statement repeatedly commented on the evidence, told the jurors to be prepared for
13 “ungodly amounts of blood,” improperly vouched for witnesses and evidence by
14 repeating phrases like “we know” and “I believe,” and improperly misstated Kiles’s
15 former testimony. (Tr. Mar. 30, 2006 at 84–88.) Kiles’s defense counsel stated that
16 the remarks hamstrung the defense from the beginning. When Powell, as a
17 representative of the State, commented on evidence or vouched for witnesses,
18 Kiles’s counsel asked the court, “I mean, how are we going to confront that?” (Tr.
19 Mar. 30, 2006 at 91.) The court agreed that “to some extent Mr. Powell did cross
20 the line in terms of arguing his case,” but denied the motion for a mistrial.173 (Tr.
21 Mar. 30, 2006 at 91); see Claim 8, supra.
22         Mattern was deficient in failing to challenge on appeal the judge’s denial of
23 the mistrial. This failure prejudiced Kiles, as there was a reasonable probability that
24 the trial-court error claim before the Arizona Supreme Court would have prevailed.
25 In Arizona, a conviction may be reversed on appeal for prosecutorial misconduct if
26 “(1) misconduct is indeed present; and (2) a reasonable likelihood exists that the
27
   173
       Relatedly, the trial court’s error in denying the motion for mistrial violated
28 Kiles’s constitutional rights to due process and a fair trial.
                                              361
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 378 of 500



 1 misconduct could have affected the jury’s verdict, thereby denying [the] defendant
 2 a fair trial.” State v. Gallardo, 242 P.3d 159, 167 (2010) (quoting State v. Velazquez,
 3 166 P.3d 91, 102 (Ariz. 2007)). If the defendant objects, the trial court’s
 4 determination is reviewed for harmless error. Id.
 5         In Kiles’s case, the prosecutor’s opening statement contained pervasive
 6 improper vouching, “placing the prestige of the government behind a witness
 7 through personal assurances of the witness’s veracity, or suggesting that
 8 information not presented to the jury supports the witness’s testimony.” United
 9 States v. Necoechea, 986 F.2d 1273, 1276 (9th Cir. 1993); see also United States v.
10 Younger, 398 F.3d 1179, 1191 (9th Cir. 2005) (recognizing that the use of the phrase
11 “we know” by a prosecutor blurs the line between improper vouching and
12 legitimate summary). The Ninth Circuit has held that “we know” is only properly
13 used if it is used to “to marshal evidence actually admitted at trial and reasonable
14 inferences from that evidence, not to vouch for witness veracity or suggest that
15 evidence not produced would support a witness’s statements.” Younger, 398 F.3d
16 at 1191. In Kiles’s case, where “we know” was used by the State before any
17 evidence or witnesses had even been introduced to the jury, it amounted to
18 prosecutorial misconduct.
19         Additionally, in his opening statement, Powell repeatedly and improperly
20 conveyed his personal beliefs about the credibility of the witnesses. (Tr. Mar. 20,
21 2006 at 72, 79); State v. Lamar, 72 P.3d 831, 841 (Ariz. 2003) (“A prosecutor must
22 not convey his personal belief about the credibility of a witness.”). And as the
23 prosecutor had set the stage for the rest of the penalty-phase proceeding, defense
24 counsel argued it would be “hard to unring that bell.” (Tr. Mar. 20, 2006 at 87.)
25 Given the extent of the prosecutor’s misconduct, there is a reasonable likelihood
26 that the conduct denied Kiles a fair trial, and the trial court’s error was not harmless.
27         There was no reasonable strategy for Mattern to fail to raise this claim on
28 appeal. However, Mattern’s opening brief contained only one brief reference to
                                               362
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 379 of 500



 1 prosecutorial misconduct. (DA2 Dkt. 86 at 47.) His reply brief attempted to raise,
 2 for the first time, an additional nine arguments in support of the prosecutorial
 3 misconduct claim. (ROA 1189 at 64–65.) But having failed to raise the arguments
 4 in his opening brief, Mattern had waived them. See State v. Aleman, 109 P.3d 571,
 5 575 (Ariz. Ct. App. 2005) (holding issues raised for first time in reply brief untimely
 6 and may be disregarded by court); see also State v. Carver, 771 P.2d 1382, 1390
 7 (Ariz. 1989) (stating “opening briefs must present significant arguments, supported
 8 by authority, setting forth an appellant’s position on the issues raised”).
 9         Because of Mattern’s deficient performance, the appellate court was denied
10 the ability to assess the cumulative impact of repeated instances of prosecutorial
11 misconduct on the jury’s verdict. (ROA 1189 at 64–65.) A pattern of pervasive
12 misconduct was reasonably likely to have affected the outcome of the trial. “[E]ven
13 if there [is] no error or an error [is] harmless and so by itself does not warrant
14 reversal, an incident may nonetheless contribute to a finding of persistent and
15 pervasive misconduct if the cumulative effect of the incidents shows that the
16 prosecutor intentionally engaged in improper conduct and ‘did so with indifference,
17 if not a specific intent, to prejudice the defendant.’” State v. Morris, 160 P.3d 203,
18 214 (Ariz. 2007) (quoting State v. Roque, 141 P.3d 368, 403 (Ariz. 2006)).
19 Mattern’s failure to preserve arguments for appellate review fell short of the
20 standards of reasonableness required for appellate counsel. See ABA Guideline
21 10.15.1(C).
22         When appellate counsel fails to raise meritorious issues that could have
23 resulted in a reversal of conviction or a sentence, counsel has necessarily caused
24 prejudice to the defendant. There was a reasonable probability that the Arizona
25 Supreme Court would have found that the trial court’s denial of a mistrial, as well
26 as the pervasive prosecutorial misconduct, required reversal of Kiles’s sentence.
27 Thus, Kiles was prejudiced due to his appellate counsel’s ineffective assistance. See
28 Strickland, 466 U.S. at 694 (prejudice occurs when, absent counsel’s deficiencies,
                                              363
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 380 of 500



 1 there is a reasonable probability that the result of proceeding would have been
 2 different).
 3               3.     Appellate counsel failed to adequately brief his challenge to
                        the improperly admitted gruesome photographs.
 4
 5         Mattern failed to adequately challenge inflammatory and unduly prejudicial
 6 photographs introduced as evidence during Kiles’s trial.
 7         Kiles’s opening brief on appeal objected to a number of gruesome
 8 photographs that were improperly introduced during the guilt-phase proceeding
 9 without objection by trial counsel.174 (DA2 Dkt 86 at 56.) While Mattern listed
10 several exhibits that should not have been admitted, the Arizona Supreme Court
11 held that the claim was inadequately briefed: “Kiles’ opening brief does not specify
12 his objection to any but two of the challenged photographs. He has therefore waived
13 any argument as to the other photographs.” Kiles, 213 P.3d at 183. The court found
14 the two photographs that Mattern sufficiently objected to did not prejudice Kiles.
15 This was due to Mattern’s failure to challenge the child abuse convictions. Id.
16         As a result of Mattern’s failure to provide reasoning for his challenges to all
17 of the photographs, as well as his failure to challenge the child-abuse convictions,
18 the trial court found that there was no prejudice to Kiles. Mattern’s deficient
19 performance resulted in the waiver of claims regarding several inflammatory
20 photographs. The 2003 ABA Guidelines state that appellate counsel are required to
21 litigate all issues “that are arguably meritorious under the standards applicable to
22 high quality defense representation,” as well as “make every professionally
23 appropriate effort to present issues in a manner that will preserve them for
24 subsequent review.” 2003 ABA Guideline 10.15.1(C). Mattern failed to do either.
25
     174
26     Defense counsel later tried to object to the photographs being introduced as
   evidence at the penalty phase, stating, “We didn’t litigate this prior to the guilt
27 phase. And we never filed the motion to preclude photographs in the guilt phase.
   And, perhaps, that was an error of some magnitude on our part.” (Tr. Mar. 20, 2006
28 at 35.) The court denied the motion. (Tr. Mar. 20, 2006 at 38.)
                                              364
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 381 of 500



 1 Given Mattern’s failure to raise claims on appeal adequately to ensure effective
 2 review, the state post-conviction court’s holding that Mattern was not ineffective
 3 was an unreasonable application of both law and fact under § 2254(d).
 4                4.    Appellate counsel failed to challenge the trial court’s error
                        in allowing the State to question statements made to defense
 5                      experts in a prior trial.
 6         Mattern failed to raise a claim that the trial court erred by letting the State
 7 cross-examine defense experts from Kiles’s previous trial regarding statements
 8 Kiles made to them in the course of that trial, when the verdicts from that trial were
 9 overturned due to the ineffective assistance of counsel. Although trial counsel
10 objected to this line of cross-examination, the trial court overruled the objection.
11 (Tr. May 8, 2006 at 54–55.) Mattern should have been on notice that this issue
12 presented a claim ripe for appellate review, as the State explicitly said, “This is
13 something that hasn’t been resolved yet. . . . It’s for the appellate courts to decide
14 later.” (Tr. May 8, 2006 at 56.) Mattern’s unreasonable failure to recognize and
15 allege this meritorious claim amounts to deficient performance. See Strickland, 466
16 U.S. at 694.
17         Effective counsel would have brought a claim that the trial court improperly
18 allowed the questioning based on an evidentiary ruling that was determined in a
19 “never, neverland” where “the Rules of Evidence could not apply.” (Tr. May 8,
20 2006 at 55.) Because Kiles’s prior statements to the experts directly undermined his
21 counsel’s strategy at trial, there is a reasonable probability that their admission
22 affected the outcome of his trial. Upon review, there is a reasonable probability that
23 the Arizona Supreme Court would have recognized that allowing testimony to
24 Kiles’s statements made in the course of a case that was overturned due to
25 ineffective assistance of counsel would be unduly prejudicial in Kiles’s second trial.
26 The mistakes of previous counsel, especially where those mistakes would not have
27 been made but for previous counsel’s deficient performance, should not then be
28 repeated. To allow the use of reports produced through the ineffectiveness of prior
                                              365
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 382 of 500



 1 counsel is to deny the curative value of a new trial. See Claim 8, supra. Thus,
 2 Mattern’s failure to challenge the admissibility of this line of cross-examination on
 3 appeal prejudiced Kiles. See Evitts, 469 U.S. at 396; Strickland, 466 U.S. at 694.
 4                5.    Appellate counsel failed to present an argument for leniency
                        on independent review by the Arizona Supreme Court.
 5
 6         As stated above, for any capital murder committed before August 1, 2002,
 7 the Arizona Supreme Court was required to “independently review the propriety of
 8 the death sentence.” Grell, 291 P.3d at 351. The question in this independent review
 9 was “not whether the trial court properly imposed the death penalty, but whether,
10 based upon the record before [the Arizona Supreme Court], we believe that the
11 death penalty should be imposed.” State v. Trostle, 951 P.2d 869, 888 (Ariz. 1997)
12 (quoting State v. Watson, 628 P.2d 943, 946 (Ariz. 1981)).
13         By his own admission, Mattern failed to include argument in his opening
14 brief regarding the Arizona Supreme Court’s independent review, the only issue on
15 which Kiles was entitled to de novo review. When the justices asked Mattern at oral
16 argument to address independent review, he was unprepared to discuss
17 mitigation.175 And after argument, Mattern was ineffective in failing to challenge
18 independent review in the motion for reconsideration, especially in light of his
19 admission that he had neglected to adequately brief the issue. (DA2 Dkt. 118 at 1.)
20         For a defendant, independent review was a second chance to argue his
21 mitigation case—“something anathema in any other context.” State v. Stuard, 863
22 P.2d 881, 902 (Ariz. 1993) (quoting State v. Salazar, 844 P.2d 566, 585 (Ariz. 1992)
23 (Martone, J., specially concurring)). This second chance had proven successful for
24
   175
       Though Mattern was able to identify some of the mitigation that was introduced
25 at the penalty phase, he also argued that the guilty verdicts returned on the children
26 in Kiles’s guilt phase were invalid based on the evidence presented. This was not
   an issue the Arizona Supreme Court could have considered in its independent
27 review. Rather, the court must “independently review the aggravating and
   mitigating factors found by the trial court to ensure that they were properly
28 determined and weighed.” State v. Fierro, 804 P.2d 72, 81 (Ariz. 1990).
                                             366
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 383 of 500



 1 many defendants. The Arizona Supreme Court has overturned several death
 2 sentences based on its independent review of aggravating and mitigating
 3 circumstances. See, e.g., Grell, 291 P.3d at 351; Roque, 141 P.3d at 405–06; Trostle,
 4 951 P.2d at 888; Stuard, 863 P.2d at 902; State v. Herrera, 850 P.2d 100, 113 (Ariz.
 5 1993); State v. Jiménez, 799 P.2d 785, 801 (Ariz. 1990); State v. Rockwell, 775 P.2d
 6 1069, 1080 (Ariz. 1989); State v. Mauro, 766 P.2d 59, 81 (Ariz. 1988); State v.
 7 Valencia, 645 P.2d 239, 241 (Ariz. 1982); Watson, 628 P.2d at 947.
 8         The 2003 ABA Guidelines emphasize that capital counsel have a
 9 professional obligation to “take advantage of all appropriate opportunities to argue
10 why death in not a suitable punishment” for their client. 2003 ABA Guideline
11 10.11(L). Mattern failed to do so, offering no reasonable explanation at oral
12 argument, instead stating: “I neglected to brief independent review. It’s my own
13 fault entirely. I accept responsibility.” Cf. Correll, 539 F.3d at 949 (holding that an
14 “uninformed strategy” is “no strategy at all”).
15         If Mattern had briefed independent review, there is a reasonable likelihood
16 the Arizona Supreme Court would not have ignored or mischaracterized the
17 mitigation evidence when conducting its independent review. As laid out in greater
18 detail in Claim 12, infra, the court failed to consider the majority of the 30 non-
19 statutory mitigators Kiles alleged at trial (Tr. May 22, 2006 at 19–21), claimed Kiles
20 failed to prove two statutory mitigators when neither was alleged (Tr. May 22, 2006
21 at 19–21), and discounted the extensive evidence presented that Kiles had an
22 abusive childhood. Kiles, 213 P.3d at 189.
23         Mattern may have offered to take responsibility, but it is Kiles who must bear
24 the punishment due to Mattern’s deficient performance. Mattern squandered Kiles’s
25 opportunity to have his death sentence reduced to life in prison, prejudicing Kiles.
26                6.    Appellate counsel failed to adequately challenge the (F)(2)
                        aggravating circumstance.
27
28         The State alleged the (F)(2) aggravator in the aggravation phase of Kiles’s
                                              367
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 384 of 500



 1 trial. The relevant version of the (F)(2) aggravator applies when a defendant “was
 2 previously convicted of a felony in the United States involving the use or threat of
 3 violence on another person.” (ROA 503 at 1 (quoting A.R.S. § 13-703(F)(2)
 4 (1988).) The State alleged that Kiles had committed two prior felonies that
 5 qualified—an attempted aggravated assault and an aggravated assault. Trial counsel
 6 challenged the attempted aggravated assault, claiming it did not qualify under
 7 (F)(2), but lost. Mattern then successfully challenged the attempted assault as a
 8 basis for the (F)(2) aggravator on appeal. See Kiles, 213 P.3d at 185–86. However,
 9 appellate counsel failed to challenge the use of Kiles’s aggravated assault as a basis
10 for the (F)(2) aggravating circumstance. This failure was unreasonable, given that
11 Mattern clearly realized that challenging the (F)(2) aggravator was a viable strategy.
12 Mattern’s deficient performance prejudiced Kiles, because, as discussed supra,
13 Claim 5, and infra, Claim 12, there is a reasonable likelihood the Arizona Supreme
14 Court would have found that Kiles’s aggravated assault conviction did not support
15 the (F)(2) aggravator and that the aggravator was therefore invalid.
16                7.    Appellate counsel failed to challenge Kiles’s shackling
                        during his proceedings.
17
18         Mattern failed to challenge the use of shackles and a stun belt, which Kiles
19 was forced to wear throughout his proceedings. “[G]enerally, a criminal defendant
20 has a constitutional right to appear before a jury free of shackles.” Gonzalez v.
21 Pliler, 341 F.3d 897, 900 (9th Cir. 2003) (quoting Spain v. Rushen, 883 F.2d 712,
22 716 (9th Cir. 1989) (citing Wilson v. McCarthy, 770 F.2d 1482, 1484 (9th Cir.
23 1985)). The trial court failed to make a required finding that shackles and a stun
24 belt were required, as discussed in Claims 3, 5, 7, and 8, supra. Had Mattern raised
25 this claim, there is a reasonable likelihood it would have succeeded on appeal. Kiles
26 was thus prejudiced.
27       C.     Conclusion.
28                Individually and cumulatively, these deficiencies constitute ineffective

                                              368
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 385 of 500



 1 assistance of appellate counsel. The state court’s determination that this claim was
 2 not colorable and did not warrant an evidentiary hearing constituted an
 3 unreasonable application of clearly established federal law, 28 U.S.C. § 2254(d)(1),
 4 and an unreasonable determination of the facts, id. § 2254(d)(2). As to sections
 5 B(4)–B(7), the ineffective assistance of Kiles’s post-conviction counsel in failing
 6 to raise these parts of this claim constitutes cause for the default and resulted in
 7 prejudice to Kiles. See Martinez, 132 S. Ct. at 1320; but see Davila, 137 S. Ct. at
 8 2065. Kiles is therefore entitled to relief.
 9                                        Claim Twelve
10         The Arizona Supreme Court’s decision affirming Kiles’s death
           sentence violated Kiles’s constitutional rights.
11
12         The Arizona Supreme Court’s decision affirming Kiles’s death sentence
13 violated Kiles’s rights under the Sixth, Eighth, and Fourteenth Amendments to the
14 U.S. Constitution. Kiles hereby incorporates by specific reference all facts,
15 allegations, and arguments made elsewhere in this Petition.
16         This claim is exhausted, as the Arizona Supreme Court considered and ruled
17 on its merits on direct appeal.176 See Kiles, 213 P.3d at 187–92. The state-court
18 decision was an unreasonable application of, or contrary to, clearly established
19 federal law, see 28 U.S.C. § 2254(d)(1), and an unreasonable determination of the
20 facts, id. § 2254(d)(2). Accordingly, § 2254(d) places no limitation on relief, and
21 this Court should review the claim de novo.
22
     176
23      To the extent this claim was not raised on direct appeal, it was still exhausted
     because “[e]ven if a petitioner fails to raise a constitutional claim in state court, the
24   exhaustion requirement may be satisfied . . . where the state court itself exhausts
     the claim.” Comer v. Schriro, 480 F.3d 960, 981 (9th Cir. 2007). The Arizona
25   Supreme Court did so in conducting its independent review. State v. Kiles, 213 P.3d
26   174, 187 (Ariz. 2009). In the alternative, if any portion of this claim was found not
     to have been decided by the state court on the merits, the ineffective assistance of
27   Kiles’s post-conviction counsel in failing to raise this claim constitutes cause for
     the default and resulted in prejudice to Kiles. See Martinez v. Ryan, 566 U.S. 1, 9
28   (2012); Strickland v. Washington, 466 U.S. 668, 688, 694 (1984).
                                                369
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 386 of 500



 1         In order to try to satisfy the heightened standard of reliability necessary in
 2 the death-penalty context, see Woodson v. North Carolina, 428 U.S. 280, 305
 3 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.), the U.S. Supreme Court
 4 has “emphasized repeatedly the crucial role of meaningful appellate review in
 5 ensuring that the death penalty is not imposed arbitrarily or irrationally.” Parker v.
 6 Dugger, 498 U.S. 308, 321 (1991); see also Zant v. Stephens, 462 U.S. 862, 890
 7 (1983) (“Our decision in this case depends in part on the existence of an important
 8 procedural safeguard, the mandatory appellate review of each death sentence by the
 9 Georgia Supreme Court to avoid arbitrariness and to assure proportionality.”).
10         As the purpose of appellate review is to ensure the constitutionality of a death
11 sentence, the review must itself be constitutional. Cf. Clemons v. Mississippi, 494
12 U.S. 738, 748–51 (1990) (evaluating constitutionality of appellate review). To that
13 end, meaningful appellate review cannot lose sight of the fact that “[t]he primary
14 concern in the Eighth Amendment context [is] that the sentencing decision be based
15 on the facts and circumstances of the defendant, his background, and his crime.” Id.
16 at 748; cf. Smith v. Texas, 543 U.S. 37, 44–45 (2004) (rejecting state court’s reliance
17 during appellate review on causal-nexus text that limited consideration of relevant
18 mitigation). Moreover, the appellate review must not inject “arbitrar[iness] or
19 irrational[ity]” into the sentencing process. Parker, 498 U.S. at 321. Finally, once
20 a state has provided a mechanism for meaningful appellate review, it must follow
21 its own laws regarding that mechanism; the failure to do so results in the denial of
22 a liberty interest protected by the Due Process Clause of the Fourteenth
23 Amendment. See Hicks v. Oklahoma, 447 U.S. 343, 346 (1980) (recognizing that
24 the grant of a state-law procedural right to a criminal defendant at sentencing can
25 give rise to a constitutionally protected liberty interest).
26         The Arizona Supreme Court has defined its procedure for independent
27 review:
28                When a death sentence is imposed in Arizona, this court
                                               370
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 387 of 500



1                independently reviews the entire record for error,
                 determines whether the aggravating circumstances have
2                been proved beyond a reasonable doubt, considers any
3                mitigating circumstances, and then weighs the aggravating
                 and mitigating circumstances in deciding whether there are
4                mitigating circumstances sufficiently substantial to call for
                 leniency.
5
     State v. Stokley, 898 P.2d 454, 465 (1995). The court has emphasized that
6
     independent review is broad: “We must [] conduct a de novo review of the trial
7
     court’s rulings concerning aggravation and mitigation, and then decide
8
     independently whether the death sentence should be imposed.” State v. Brewer, 826
9
     P.2d 783, 790–91 (Ariz. 1992). The court must “painstakingly examine the record
10
     to determine whether [the death penalty] has been erroneously imposed.” State v.
11
     Stuard, 863 P.2d 881, 897 (Ariz. 1993) (quoting State v. Richmond, 560 P.2d 41,
12
     51 (Ariz. 1976)). The Arizona Supreme Court itself has recognized that it must
13
     follow its own procedures: “we are bound by the gravity of the death penalty to
14
     insure proper compliance with Arizona’s death penalty statute.” Brewer, 826 P.2d
15
     at 790.
16
           In 2009, the Arizona Supreme Court conducted an independent review of
17
     Kiles’s death sentence under A.R.S. § 13-755(A)-(C). Kiles, 213 P.3d at 187. The
18
     manner in which the Arizona Supreme Court conducted its independent review
19
     violated Kiles’s constitutional rights by denying him meaningful appellate review
20
     and due process, in violation of the Sixth, Eighth, and Fourteenth Amendments.
21
           A.    The Arizona Supreme Court violated Kiles’s due process rights in
22               its review of the prior-conviction aggravating circumstance.
23
           The Arizona Supreme Court violated federal constitutional guarantees in its
24
     review of whether the (F)(2) aggravator had been properly found.
25
                 1.    The Arizona Supreme Court denied Kiles his right to due
26                     process in upholding the prior-conviction aggravating
                       circumstance.
27
28         The Arizona Supreme Court violated Kiles’s rights when it improperly
                                             371
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 388 of 500



 1 upheld the (F)(2)177 aggravating circumstance based upon Kiles’s 1986 conviction
 2 for aggravated assault, which was in fact not a valid basis for the circumstance. See
 3 Claim 5, supra.
 4         The (F)(2) aggravating circumstance applies when the defendant was
 5 previously convicted of a felony in the United States “involving the use or threat of
 6 violence on another person.” A.R.S. § 13-703(F)(2) (1988). At the aggravation
 7 phase of trial, the jury found the (F)(2) aggravator proven based on two prior
 8 offenses, an aggravated assault under A.R.S. § 13-1204(A)(8) and § 13-1203, and
 9 an attempted aggravated assault under A.R.S. § 13-1001(A). Kiles, 213 P.3d at 185;
10 (see also ROA 879 at 5–6).
11         In its decision, the Arizona Supreme Court correctly held that Kiles’s prior
12 attempted aggravated assault could not establish the (F)(2) aggravator, as by the
13 crime’s statutory definition it could have been committed without the use or threat
14 of violence. Kiles, 213 P.3d at 185–86 (citing State v. McCray, 183 P.3d 503, 508
15 (Ariz. 2008)); see also State v. Williams, 904 P.2d 437, 451 (Ariz. 1995).
16         However, the court did not review whether this same reasoning applied to
17 the aggravated assault conviction. The court had a duty to do so as part of its
18 established independent review procedure. The court addressed the (F)(2)
19 aggravator twice in its decision: first in part (III)(A), and again as part of its
20 independent review in part (IV). Kiles, 213 P.3d at 185, 187–88. In each instance,
21 the court summarily assumed that Kiles’s aggravated assault conviction satisfied
22 (F)(2). However, A.R.S. § 13-1204(A)(8) does not by its statutory definition
23 necessarily involve the mens rea necessary to establish the use or threat of violence.
24 Nor does the general assault statute. See Claim 5, supra.
25         Prior to its review of Kiles’s case, the Arizona Supreme Court had analyzed
26
27   177
      As noted supra, Claim 5, the text of the (F)(2) aggravating circumstance was
   changed in 1993. State v. Martinez, 999 P.2d 795, 806 (Ariz. 2000). The pre-1993
28 version of the aggravating circumstance applies to Kiles’s case.
                                             372
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 389 of 500



 1 the (F)(2) aggravating circumstance applicable here (i.e., the pre-1993 version),
 2 which requires the use or threat of violence, and had found it was not supported by
 3 a prior conviction for aggravated assault. See, e.g., State v. Walden, 905 P.2d 974,
 4 996 (Ariz. 1995) (holding that aggravated assault did not provide basis for (F)(2)
 5 aggravating circumstance when it could have been committed recklessly),
 6 overruled on other grounds by State v. Ives, 927 P.2d 762 (Ariz. 1996); State v.
 7 McKinney, 917 P.2d 1214, 1230 (Ariz. 1996) (holding that “because [the
 8 defendant’s] prior conviction was for a crime that, on the face of the statute, might
 9 have been committed recklessly, it does not qualify as a crime of violence” for the
10 purposes of the former (F)(2) aggravating circumstance); State v. Schackart, 947
11 P.2d 315, 323 (Ariz. 1997). Thus the Arizona Supreme Court should have similarly
12 struck the (F)(2) aggravator in Kiles’s case, as neither the conviction for aggravated
13 assault nor the conviction for attempted aggravated assault were sufficient to prove
14 the (F)(2) aggravator under the version of the statute applicable in this case.
15         The Eighth Amendment requires capital sentencing to meet exacting
16 standards. “The fundamental respect for humanity underlying the Eighth
17 Amendment’s prohibition against cruel and unusual punishment gives rise to a
18 special ‘need for reliability in the determination that death is the appropriate
19 punishment’ in any capital case.” Johnson v. Mississippi, 486 U.S. 578, 584 (1988)
20 (quoting Gardner v. Florida, 430 U.S. 349, 363–64 (1977) (White, J., concurring
21 in judgment)). Further, capital sentencing must be individualized. Clemons, 494
22 U.S. at 748. Such reliable, individualized sentencing does not occur when a death
23 sentence is imposed based in part on an invalid aggravating factor. See Johnson,
24 486 U.S. at 585.
25         The Eighth Amendment error is even more serious where the invalid
26 aggravating factor caused the jury to consider irrelevant evidence, such as
27 inapplicable prior convictions. Id. at 590; see also Brown v. Sanders, 546 U.S. 212,
28 220 (2006). This concern is particularly heightened in a “weighing” state like
                                             373
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 390 of 500



 1 Arizona, where the jury must weigh the aggravators and mitigators against each
 2 other to determine whether to impose death. See Styers v. Schriro, 547 F.3d 1026,
 3 1034 (9th Cir. 2008). The court should have struck the (F)(2) aggravator and
 4 remanded to a jury for resentencing. See Apprendi v. New Jersey, 530 U.S. 466
 5 (2000); Ring v. Arizona, 536 U.S. 584 (2002); Hurst v. Florida, 136 S. Ct. 616
 6 (2016); Pavatt v. Royal, 894 F.3d 1115, 1152–53 (10th Cir. 2017) (Briscoe, C.J.,
 7 concurring in part and dissenting in part) (noting that, in light of Ring’s and Hurst’s
 8 holdings that a defendant is entitled to a jury determination of all facts that can
 9 increase his sentence, Clemons’s rule permitting reweighing by an appellate court
10 was unconstitutional, as Hurst and Ring explicitly overruled the cases on which
11 Clemons was based). Though a jury resentencing was constitutionally mandated, at
12 a minimum, the court should have conducted its own reweighing of the remaining
13 aggravators and all of the mitigation.
14         The Arizona Supreme Court’s failure to painstakingly review the entire
15 record in search of error, including this significant error regarding the (F)(2)
16 aggravator, injected arbitrariness and irrationality into the sentencing process and
17 denied Kiles the due-process protections afforded other capital defendants in
18 Arizona. The Arizona Supreme Court’s decision was thus contrary to clearly
19 established federal law. See 28 U.S.C. § 2254(d)(1); Parker, 498 U.S. at 321; Hicks,
20 447 U.S. at 346. Its finding that the (F)(2) aggravator was applicable based on
21 Kiles’s prior convictions also amounts to an unreasonable determination of fact in
22 light of the evidence presented at trial. See 28 U.S.C. § 2254(d).
23                2.    The Arizona Supreme Court violated Kiles’s rights by
                        summarily determining that the invalidation of one prior
24                      conviction was immaterial.
25         The Arizona Supreme Court violated Kiles’s right to be free from cruel and
26 unusual punishment under the Eighth Amendment and his right to due process
27 under the Fourteenth Amendment when it summarily determined that the
28 invalidation of his prior conviction for attempted aggravated assault as a basis for
                                              374
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 391 of 500



 1 the (F)(2) aggravator was immaterial. Kiles, 213 P.3d at 188.
 2         As discussed above, the Arizona Supreme Court should have struck the
 3 (F)(2) aggravating circumstance entirely. Setting aside the court’s error with respect
 4 to the aggravated assault conviction explained above, the court erred in summarily
 5 upholding the (F)(2) aggravator when it struck one of the supporting convictions.
 6 The court correctly held that one of the prior convictions that the jury found
 7 supported the (F)(2) aggravating circumstance was legally inadequate to establish
 8 that circumstance. Id. at 186 (“the attempted aggravated assault conviction does not
 9 establish the (F)(2) aggravator”). But the court committed constitutional error by
10 then summarily upholding the (F)(2) aggravating circumstance with no further
11 discussion. Id. at 188.
12         That conclusion was contrary to clearly established federal law, as the
13 Arizona Supreme Court failed to follow its own procedures requiring it to “consider
14 the quality and the strength, not simply the number, of aggravating and mitigating
15 factors,” see id. at 187; see Hicks, 447 U.S. at 346. Whether the aggravating
16 circumstance was supported by multiple or only one prior conviction went directly
17 to the quality and strength of that aggravating circumstance and was therefore of
18 great significance. The Arizona Supreme Court’s failure to conduct a “painstaking”
19 de novo review of the trial court’s determination regarding the legally valid bases
20 for the (F)(2) aggravator and the propriety of the death sentence violated Kiles’s
21 Eighth and Fourteenth Amendment rights and was an unreasonable application of
22 federal law. See Hicks, 447 U.S. at 346.
23         The magnitude of the Arizona Supreme Court’s constitutional error in
24 summarily dismissing the invalid prior conviction as immaterial is exacerbated by
25 the fact that the jury considered irrelevant evidence—the inapplicable prior
26 conviction—as aggravating evidence. See Johnson, 486 U.S. at 590. It was
27 improper for the court not to analyze whether the additional prior conviction may
28 have affected the jury’s deliberations. This need is particularly heightened in a
                                              375
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 392 of 500



 1 “weighing” state like Arizona, where the jury must weigh the aggravators and
 2 mitigators against each other to determine whether to impose death. In Kiles’s case,
 3 the court instructed the jury that the decision whether there was mitigation
 4 sufficiently substantial to call for leniency was to be based on “each juror’s
 5 individual qualitative evaluation of the facts of the case, the severity of the
 6 aggravating factors, and the quality of any mitigating evidence.” (Tr. May 22, 2006
 7 at 23–24 (emphasis added).) It is evident that where there was a pattern of prior
 8 convictions, as opposed to just one, jurors were likely to find the aggravating
 9 circumstance more severe and weigh it more heavily against the mitigating factors.
10 A capital sentence is unconstitutional where, as here, an element of an invalid
11 sentencing factor adds an “improper element to the aggravation scale in the
12 weighing process.” Sanders, 546 U.S. at 220. None of the other sentencing factors
13 enabled the sentencer to give aggravating weight to the same facts and
14 circumstances as Kiles’s inapplicable prior conviction. It was an unreasonable
15 application of federal law for the Arizona Supreme Court to summarily conclude
16 that the partial invalidation of an aggravating circumstance based on an inapplicable
17 prior conviction was immaterial. See Johnson, 486 U.S. at 585. As discussed above,
18 the court should have remanded for jury resentencing or at a minimum, conducted
19 an appellate reweighing. See Ring, 536 U.S. at 589; Hurst, 136 S. Ct. at 616; Pavatt,
20 894 F.3d at 1152–53 (Briscoe, C.J., concurring in part and dissenting in part).
21         The court’s summary conclusion that the removal of one of the convictions
22 supporting the (F)(2) factor did not affect Kiles’s sentence violated Kiles’s
23 constitutional rights under the Eighth and Fourteenth Amendments. Accordingly,
24 Kiles is entitled to relief.
25         B.     The Arizona Supreme Court denied Kiles meaningful appellate
                  review when it arbitrarily upheld the (F)(6) aggravating factor.
26
27         The evidence in Kiles’s case did not support the (F)(6) aggravating factor
28 beyond a reasonable doubt; the Arizona Supreme Court violated his constitutional
                                             376
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 393 of 500



 1 rights in upholding it.178 An appellate court cannot uphold a death sentence that
 2 rests on an aggravating circumstance “that upon the record evidence adduced at the
 3 trial no rational trier of fact could have found [proven] beyond a reasonable doubt.”
 4 Jackson v. Virginia, 443 U.S. 307, 324 (1979); see also Lewis v. Jeffers, 497 U.S.
 5 764, 781 (1990) (applying the standard from Jackson to the question whether, on
 6 habeas review, an aggravating circumstance was unsupported by the record).
 7         The Arizona Supreme Court deprived Kiles of meaningful appellate review
 8 when it upheld the (F)(6) aggravating factor where it could not have been proven
 9 beyond a reasonable doubt had the court “review[ed] the entire record.” Stokley,
10 898 P.2d at 465. The court cherry-picked parts of the record that supported this
11 factor, while ignoring entirely those that did not. It is critical that an aggravator is
12 proven beyond a reasonable doubt. “The specified statutory aggravators in
13 Arizona’s death penalty scheme are designed to narrow, in a constitutional manner,
14 the class of first degree murderers who are death-eligible. If proof of an aggravator
15 does not rise to the necessary standard, the aggravator has not been proven and may
16 not be considered at sentencing.” State v. Soto-Fong, 928 P.2d 610, 626 (Ariz.
17 1996).
18         The court upheld the (F)(6) aggravator based on a finding of cruelty. Kiles,
19 213 P.3d at 188. The State argued at trial its theory that Kiles began attacking
20 Gunnel in her bedroom, where he struck her a number of times in the head with a
21 tire iron and she lost consciousness. (See Tr. Apr. 11, 2006 at 34–35; Tr. May 22,
22 2006 at 64.) The State argued that she then regained consciousness and came into
23
24   178
         The (F)(6) aggravating circumstance, see A.R.S. § 13-703(F)(6) (1988), is also
     unconstitutionally overbroad and vague. See infra, Claim 30; see also Maynard v.
25   Cartwright, 486 U.S. 356, 363 (1988); Walton v. Arizona, 497 U.S. 639, 654 (1990)
26   (finding that Arizona’s especially heinous, cruel, or depraved aggravating
     circumstance was facially vague, but did not violate the Eighth and Fourteenth
27   Amendments because capital-sentencing decisions were made by trial judges, who
     could be presumed to follow the law), overruled on other grounds by Ring, 536
28   U.S. 584.
                                              377
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 394 of 500



 1 the living room, where Kiles killed her. The Arizona Supreme Court adopted the
 2 State’s theory of the crime, even though it was not supported by the evidence
 3 beyond a reasonable doubt. See Claim 9, supra. In upholding the (F)(6) aggravator,
 4 the court found that “the evidence shows that Valerie was conscious after the attack
 5 began.” Kiles, 213 P.3d at 188. The court based this finding on its conclusion that
 6 “Kiles admitted that Valerie remained conscious after the attack began, and the
 7 medical testimony regarding defensive wounds supported that conclusion.” Id. The
 8 court apparently based this finding on Kiles’s purported admission after-the-fact to
 9 his brother-in-law, Larry Hawkins.179 See id. (“Additional evidence supports the
10 (F)(6) aggravator and the version of events Kiles admitted to Hawkins.”).
11         However, at the aggravation phase, Hawkins’s testimony did not support this
12 theory. He testified twice that he did not remember Kiles telling him where in the
13 apartment Kiles struck Gunnel. (Tr. Mar. 22, 2006 at 38, 39.) Both in his testimony
14 and in a Silent Witness letter describing a version of events, Hawkins made no
15 mention of Gunnel moving from room to room. (2006 Trial Ex. 90 at 1; Tr. July 13,
16 2000 at 3–79.) Notably, the detective who investigated the case, Brian Rodgers,
17 testified at the aggravation phase that “I don’t think [Gunnel] was – after things
18 started, I don’t think she ever made it to the east bedroom.” (Tr. Apr. 3, 2006 at
19 100.) Thus even the State’s lead investigator rejected the State’s theory of the crime.
20         Moreover, there was ample reason to doubt Hawkins’s testimony and letter
21 on this purported admission. Hawkins was telling a story second-hand, based on
22 what Kiles told him while intoxicated on alcohol, cocaine, and other drugs. (Tr.
23 July 13, 2000 at 60–62.) At the guilt phase, Hawkins admitted that his letter was
24 only a rough picture of what Kiles had told him. (Tr. July 13, 2000 at 18.) Further,
25 he testified at the aggravation phase that he wrote the letter after seeing news reports
26 about the crime and speaking to other people, including the detective investigating
27
   179
       The State never alleged that Hawkins was present for the crime; instead, his
28 testimony was based on what he remembered Kiles telling him after the crime.
                                              378
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 395 of 500



 1 the crime, which would have improperly infected his recollection of what Kiles told
 2 him. (Tr. Mar. 22, 2006 at 61–63, 75.)
 3         The Arizona Supreme Court stated that additional evidence supported the
 4 version of events Kiles purportedly admitted to Hawkins. Kiles, 213 P.3d at 188.
 5 But, the physical evidence the court did have before it did not prove at all, much
 6 less beyond a reasonable doubt, that Gunnel regained consciousness. For example,
 7 the court noted that a piece of the jack was found in Gunnel’s bedroom. Id.
 8 However, many sources, including Rodgers, testified that items in the house were
 9 moved after the crime.180 (Tr. July 11, 2000 at 166–67; Tr. Apr. 3, 2006 at 99–100.)
10 The court itself recognized that Kiles attempted to clean up the scene—and
11 therefore that the crime scene was compromised—as reason for discounting his
12 intoxication as a mitigating factor. Kiles 213 P.3d at 190.
13         The court also pointed to a pillow that was found with blood on it “consistent
14 with a source that continued to move.” Id. at 188. However, the testimony of Tom
15 Bevel, the blood-spatter expert, was that something was “smearing the blood,”
16 which indicated that “the blood source or something that is in fact bloody, isn’t just
17 resting down.” (Tr. Mar. 27, 2006 at 72–73.) This smear easily could have occurred
18 while Kiles was moving things around, or after the victim was deceased. See Claim
19 5, supra. The court also cited “a transfer stain consistent with a person running a
20 bloody hand along a door” as evidence supporting the theory that Gunnel regained
21 consciousness during the attack. But the evidence demonstrated that it was not
22 Gunnel who had made the transfer stain. Kale Johnson, who pleaded guilty to
23 hindering the prosecution in Kiles’s case, testified via affidavit that he got blood on
24 his hand and tried to wipe it off on the inside frame of the apartment door; this
25 sworn statement was read into the record at the mitigation phase. (Tr. July 14, 2000
26 at 134–35; Tr. July 17, 2000 at 35; Tr. Apr. 27, 2006 at 78; PFR2 Dkt. 20 Ex. 1 at
27
   180
       Rodgers also testified at the aggravation phase that there was no blood spatter or
28 castoff in Gunnel’s bedroom to support the State’s theory. (Tr. Apr. 3, 2006 at 22.)
                                              379
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 396 of 500



 1 7.) The court noted that this transfer stain, along with blood-spatter evidence,
 2 “indicated that either the blood source or the attacker was moving.” Kiles, 213 P.3d
 3 at 188 (emphasis added). The ambiguous blood-stain evidence certainly does not
 4 prove beyond a reasonable doubt that Gunnel was conscious after the attack began.
 5 (Tr. July 13, 2000 at 93–107; Tr. July 14, 2000 at 4–61.)
 6         The Arizona Supreme Court similarly erred when it cited the medical
 7 examiner’s testimony on “defensive wounds” as supporting the conclusion that
 8 Gunnel remained conscious. The medical expert testified that Gunnel’s arm had
 9 evidence of a single “defensive wound.” (Tr. July 13, 2000 at 99; see also Tr. Mar.
10 21, 2006 at 21 (Gunnel’s injury “consistent with” a defensive wound).)
11         Finally, the court distinguished Kiles’s case from Soto-Fong, in which it
12 rejected the (F)(6) factor because, although the defendant thought a victim remained
13 conscious, it was not proven beyond a reasonable doubt. See Soto-Fong, 928 P.2d
14 at 625 (it would be unconstitutional for “an alternative finding based on a
15 hypothetical set of facts” to support an aggravating factor). The Arizona Supreme
16 Court referred to Kiles’s “admissions” as evidence supporting the finding that
17 Gunnel regained consciousness. But Hawkins’s testimony and Silent Witness letter
18 alone did not support that finding beyond a reasonable doubt, and the State
19 presented no other alleged admission from Kiles regarding how Gunnel’s death
20 unfolded. In fact, Kiles later testified on the stand that, once he hit Gunnel with the
21 jack, she fell down in a chair and never got up. (Tr. July 17, 2000 at 165.) And there
22 was no other evidence to support the (F)(6) aggravator beyond a reasonable doubt.
23          Thus, in upholding the (F)(6) aggravator, the court appears to have relied on
24 argument and hypotheticals offered by the State, not on testimony by medical or
25 other witnesses. (Tr. Mar. 21, 2006 at 34); see Claim 9 supra. “To conclude that a
26 murder would be especially cruel or heinous if committed in an assumed manner,
27 without evidence that it was committed in that manner, falls short of the mark.”
28 Soto-Fong, 928 P.2d at 626. On this record, no rational factfinder could have found
                                              380
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 397 of 500



 1 beyond a reasonable doubt that Gunnel regained consciousness after Kiles struck
 2 her, a requirement for finding cruelty. See Lewis, 497 U.S. at 781. The Arizona
 3 Supreme Court’s decision upholding this aggravating factor unconstitutionally
 4 denied Kiles his right to meaningful appellate review and amounts to an
 5 unreasonable application of federal law.181 See Parker, 498 U.S. at 321; Jackson,
 6 443 U.S. at 324; Lewis, 497 U.S. at 781.
 7         C.    The Arizona Supreme Court denied meaningful appellate review
                 by inflating the weight of the (F)(8) aggravating circumstance.
 8
 9         The Arizona Supreme Court deprived Kiles of meaningful appellate review
10 by automatically assigning “extraordinary weight” to the multiple-homicides
11 aggravating circumstance. See A.R.S. § 13-703(F)(8) (1988). Without considering
12 the specific circumstances of Kiles’s case, the court stated that this circumstance
13 “receives extraordinary weight.” Kiles, 213 P.3d at 191 (quoting State v. Boggs,
14 185 P.3d 111, 130 (Ariz. 2008)). This violated Kiles’s constitutional rights. See
15 Parker, 498 U.S. at 321.
16         That premise originated in State v. Rogovich, 932 P.2d 794 (Ariz. 1997), in
17 which the defendant had been found guilty of four counts of first-degree murder
18 and two counts of armed robbery, among other convictions. Id. at 796. The trial
19 court found in aggravation that the defendant had “been convicted of: (1) another
20 offense in the United States for which under Arizona law a sentence of life
21 imprisonment or death was imposable; (2) a felony involving the use or threat of
22 violence on another person; and (3) one or more other homicides committed during
23 the commission of the offense.” Id. at 800 (citations omitted). During its appellate
24 review, the Arizona Supreme Court found that, of the three aggravating
25 circumstances found, “the (F)(8) circumstance carrie[d] the most weight.” Id. at
26 802.
27
   181
       The court compounded this constitutional harm when it arbitrarily decided to
28 accord “significant weight” to the (F)(6) aggravator. Kiles, 213 P.3d at 191.
                                              381
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 398 of 500



 1         Since Rogovich, however, the Arizona Supreme Court has made an
 2 unconstitutional blanket declaration that the multiple-homicides aggravating
 3 circumstance warrants “extraordinary weight.” The court has then cited to
 4 Rogovich, or to a case citing Rogovich, despite the fact that Rogovich does not
 5 support such a declaration. For example, in State v. Hampton, the defendant was
 6 convicted of murdering a man and a pregnant woman, and the jury found that two
 7 aggravating circumstances, including multiple homicides, had been proven. 140
 8 P.3d 950, 954–55 (Ariz. 2006). During its independent review, the Arizona
 9 Supreme Court declared that “[t]he (F)(8) multiple homicides aggravator is
10 extraordinarily weighty.” Id. at 967. And the court cited Rogovich, which made no
11 such sweeping statement. More recently, the Arizona Supreme Court has cited
12 Hampton for the principle that the multiple-murders circumstance carries
13 “extraordinary weight.” See, e.g., Boggs, 185 P.3d at 118, 130, 132 (upholding
14 death sentences in a case where defendant was convicted of three counts of first-
15 degree murder).
16         The Arizona Supreme Court in this case likewise afforded the multiple-
17 homicides aggravating circumstance “extraordinary weight,” with no support or
18 explanation beyond the citation to Boggs. Kiles, 213 P.3d at 191. The court ignored
19 the fact that, in the Enmund/Tison findings for the two child victims, the jury could
20 not reach a unanimous verdict as to whether Kiles had intentionally killed them. Id.
21 at 186. The court did not consider this nuance during its independent review.182 The
22 court should further have considered that Kiles did not receive death sentences for
23 all of the victims, likely the result of lingering doubt. Instead, the court assigned the
24 multiple-homicide aggravating circumstance the same “extraordinary weight” that
25
     182
26     The court further erred when it stated that “Kiles no longer disputes that he
   murdered the children.” Kiles, 213 P.3d at 188. Kiles did not concede his guilt, but
27 instead made a strategic decision to waive his appellate rights to challenge the
   convictions and sentences to avoid two additional potential death sentences. (See
28 DA2 Dkt. 86 at 12, 13.)
                                               382
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 399 of 500



 1 the court would have afforded it had Kiles been sentenced to death for all three
 2 convictions.
 3         The court’s arbitrary assigning of extraordinary weight to the multiple-
 4 homicides      aggravating   circumstance,    with   complete     disregard   for   the
 5 circumstances of the offense, violates the individualized sentencing at the
 6 cornerstone of Eighth-Amendment jurisprudence and is contrary to federal law. See
 7 Parker, 498 U.S. at 321 (“[M]eaningful appellate review requires that the appellate
 8 court consider the defendant's actual record. ‘What is important . . . is an
 9 individualized determination on the basis of the character of the individual and the
10 circumstances of the crime.’” (quoting Stephens, 462 U.S. at 879)). A denial of this
11 individualized consideration thus equates to a denial of meaningful appellate
12 review. See id.; see also Eddings v. Oklahoma, 455 U.S. 104, 112 (1982) (“[A]
13 consistency produced by ignoring individual differences is a false consistency.”).
14         D.     The Arizona Supreme Court denied Kiles his constitutionally
                  protected right to meaningful independent review when it ignored
15                many of his mitigating factors and mischaracterized others.
16         Because Arizona defined its appellate review process to include independent
17 review, its independent review was required to comport with the requirements of
18 the Sixth, Eighth, and Fourteenth Amendments. See Hicks, 447 U.S. at 346. It was
19 also required to comport with the requirements that the Arizona Supreme Court has
20 itself outlined, described above. Here, the court did not conduct a “de novo,”
21 “painstaking” review. Instead, it upheld all of the aggravators with little thought
22 and misconstrued or minimized mitigating evidence. Though Kiles alleged 30 non-
23 statutory mitigating factors, the court did not even mention or address most of them.
24 See Kiles, 213 P.3d at 189; (see also Tr. May 22, 2006 at 19–21). In its
25 “independent” review, the court instead discussed Kiles’s failure to prove two
26 statutory factors. Id. But, at trial Kiles did not allege either of those two statutory
27 mitigators. (Tr. May 22, 2006 at 19–21.) The court similarly misconstrued Kiles’s
28 extensive mental-health evidence as an attempt to prove the statutory mitigating
                                              383
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 400 of 500



 1 factor of impaired capacity. Kiles, 213 P.3d at 189. In fact, the defense sought to
 2 use that evidence to prove a variety of non-statutory mitigating circumstances,
 3 including depression, possible neurological damage, and psychological disorders,
 4 in order to demonstrate that Kiles warranted leniency. (Tr. May 22, 2006 at 19–21.)
 5 In discussing Kiles’s abusive childhood, the court focused disproportionately on the
 6 few pieces of evidence that pointed to a happy childhood and discounted extensive
 7 testimony to the contrary. Kiles, 213 P.3d at 189. The court found only that his
 8 childhood was “less than ideal.” Id. In sum, the Arizona Supreme Court failed to
 9 independently and fairly analyze whether mitigation was sufficiently substantial to
10 warrant leniency, in violation of Kiles’s rights to due process and meaningful
11 appellate review. Its decision is therefore contrary to clearly established federal law.
12 See Hicks, 447 U.S. at 346; Parker, 498 U.S. at 321.
13         E.     The Arizona Supreme Court’s decision denied Kiles meaningful
                  appellate review by irrationally discounting and failing to give
14                effect to the mitigating circumstances it did acknowledge.
15         To achieve the reliability demanded of a capital sentence, state courts must
16 not only provide meaningful appellate review, but must ensure that the review does
17 not inject any irrationality into the sentencing process. See Parker, 498 U.S. at 321.
18 Moreover, the process must allow the sentencer not only to consider, but also to
19 give effect to, mitigation. Tennard v. Dretke, 542 U.S. 274, 285 (2004). And, just
20 as the jury must be able to give effect to mitigation in a rational manner, so must a
21 state appellate court. Cf. Eddings, 455 U.S. at 114–15.
22         When considering mitigating factors, the Arizona Supreme Court has
23 developed a body of case law to determine what weight to give to each factor. The
24 effect of this case law, however, is that individualized consideration of the
25 defendant’s character is gutted based on irrelevancies. See Eddings, 455 U.S. at 112
26 (requiring focus “on the characteristics of the person who committed the crime”
27 (quoting Gregg v. Georgia, 428 U.S. 153, 197 (1976) (joint opinion of Stewart,
28 Powell, and Stevens, JJ.)). Moreover, the considerations the state supreme court
                                              384
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 401 of 500



 1 uses to determine the weight to give a particular mitigating circumstance ultimately
 2 preclude the court from giving effect to certain types of mitigation. See Tennard,
 3 542 U.S. at 285.
 4         The court made an unconstitutional error in imposing a causal-nexus
 5 requirement on the mitigating factors it found proven. Kiles, 213 P.3d at 191.
 6 Because the psychiatric testimony “did not establish a sufficient connection to the
 7 murder to warrant significant weight,” the court essentially discounted it. Id.
 8 Similarly, the court held that Kiles’s childhood “carries minimal weight ‘because
 9 the evidence . . . is far removed from the crime.’” Id. (quoting State v. Armstrong,
10 189 P.3d 378, 392–93 (Ariz. 2008)). The U.S. Supreme Court has repeatedly held
11 that such a causal-nexus test violates the Eighth and Fourteenth Amendments
12 because it precludes the sentencer from giving effect to certain types of mitigation.
13 See Tennard, 542 U.S. at 285. The Arizona Supreme Court’s use of a causal-nexus
14 test in reviewing Kiles’s sentence is contrary to Edding’s clearly established federal
15 law. See McKinney v. Ryan, 813 F.3d 798, 821 (9th Cir. 2015) (en banc).
16         The court discounted the other mitigation it found Kiles had proven for
17 various arbitrary reasons. For example, it arbitrarily discounted Kiles’s model
18 behavior in prison: “though Kiles established that he has been a model prisoner
19 since being taken into custody, this Court accords this mitigating factor minimal
20 weight because of the expectation that prisoners behave in prison.” Kiles, 213 P.3d
21 at 191 (quoting State v. Dann, 207 P.3d 604, 628 (Ariz. 2009)). This was not
22 individualized consideration, as it failed to take into account that Kiles had spent
23 nearly 20 years in various prison and jail settings and had demonstrated exemplary
24 behavior in all of them.183 This was also in violation of clearly established federal
25 law, as the U.S. Supreme Court held in Skipper v. South Carolina, 476 U.S. 1, 5,
26   183
       Two of Kiles’s former prison guards testified on his behalf at his penalty-phase
27 trial. (Tr. Apr. 26, 2006 at 4–23.) A prison management expert testified that he had
   never seen a record as spotless as Kiles’s. (Tr. Apr. 27, 2006 at 32); see Claim 6,
28 supra.
                                             385
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 402 of 500



 1 (1986), that a capital sentencer must give consideration to a defendant’s good
 2 behavior in custody as mitigation evidence.
 3         The court further dismissed Kiles’s “psychiatric testimony” because “at most
 4 it established his bad judgment, not his inability to judge.” Kiles, 213 P.3d at 191
 5 (citing State v. Tucker, 160 P.3d 177, 202 (Ariz. 2007) and State v. Pandeli, 161
 6 P.3d 557, 576 (Ariz. 2007) for the proposition that “insubstantial impairment and
 7 defendant’s ability to discern right from wrong lead to according such mitigation
 8 lesser weight”).) If Kiles had a psychiatric condition that rendered him unable to
 9 judge right from wrong, he could not have been held legally accountable for the
10 crimes at issue. To refuse to give effect to any mitigation that falls below this
11 threshold is unconstitutional. See Eddings, 455 U.S. at 114–15.
12         Moreover, the court held that it would not give great weight to the fact that
13 Kiles acted impulsively, “suggesting this means he could not control his behavior,”
14 because this “does not account for the sustained attack on Valerie, nor his decision
15 to murder the children.” Kiles, 213 P.3d at 191. As discussed above, the State did
16 not prove beyond a reasonable doubt that there was a sustained attack on Gunnel.
17 Second, in so concluding, the court improperly relied on facts not found by the jury:
18 neither the guilt-phase jury nor the penalty-phase jury unanimously found that Kiles
19 had made a premeditated “decision” to kill the children. Kiles, 213 P.3d at 186. The
20 Sixth Amendment does not allow a defendant to be “expose[d] . . . to a penalty
21 exceeding the maximum he would receive if punished according to the facts
22 reflected in the jury verdict alone.” Apprendi, 530 U.S. at 483. This applies to
23 capital sentencing as well: a defendant is “entitled to a jury determination” of facts
24 that can increase the sentence he faces. Ring, 536 U.S. at 589.
25         Finally, the court deemed that Kiles had established the mitigation of chronic
26 intoxication, but that it warranted reduced weight “given that his efforts to cover up
27 the crime demonstrate his knowledge of its wrongfulness.” Kiles 213 P.3d at 191
28 (citing State v. Rienhardt, 951 P.2d 454, 466–67 (Ariz. 1997)). The blanket
                                             386
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 403 of 500



 1 application of a rule like this is arbitrary and contrary to federal law. See Parker,
 2 498 U.S. at 321. Moreover, the court ignored the fact that Kiles’s ineffectual and
 3 haphazard effort to clean up the crime scene also involved ransacking the apartment
 4 to find property to sell for drugs—again, a product of Kiles’s intoxication and
 5 addictions.
 6         The court effectively and unreasonably eviscerated mitigation stemming
 7 from Kiles’s background and character. The court relied on illogical considerations
 8 to undercut established mitigating factors’ weight, thereby arbitrarily failing to give
 9 that form of mitigation any effect.
10         The Arizona Supreme Court’s consideration of Kiles’s mitigating
11 circumstances violated the bedrock principles of reliability in sentencing. See, e.g.,
12 Tennard, 542 U.S. at 285; Eddings, 455 U.S. at 112–15. By conditioning the value
13 of a factor like mental health or intoxication on the circumstances of the crime, the
14 court failed to take into account Kiles’s personal characteristics, as required by
15 Eddings and the Eighth Amendment. See Eddings, 455 U.S. at 112. Further, the
16 court injected an impermissible dose of irrationality into capital sentencing. See
17 Parker, 498 U.S. at 321. And, by applying a causal-nexus test and otherwise
18 arbitrarily undercutting the significance of mitigating circumstances, the court
19 failed to give effect to mitigation. See Tennard, 542 U.S. at 285. As a result, the
20 Arizona Supreme Court’s decision is contrary to clearly established federal law.
21 See 28 U.S.C. § 2254(d)(1).
22         Because the procedure used to affirm Kiles’s sentence did not satisfy the
23 standard required in capital cases, see Woodson, 428 U.S. at 305, Kiles’s sentence
24 is constitutionally infirm, and he is entitled to relief.
25         F.     The Arizona Supreme Court’s individual and cumulative errors
                  deprived Kiles of his constitutional rights.
26
27         The Arizona Supreme Court’s various errors, including the denial of
28 meaningful appellate review, due process, and individualized sentencing, violated
                                               387
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 404 of 500



 1 Kiles’s rights under the Sixth, Eighth, and Fourteenth Amendments. Moreover,
 2 each of the court’s errors deprived Kiles of his protected liberty interest in the
 3 Arizona Supreme Court’s independent review. See Hicks, 447 U.S. at 346. Had the
 4 court provided meaningful appellate review unmarred by constitutional error, it
 5 would not have upheld Kiles’s lone death sentence.
 6         G.     This Court may review this claim de novo.
 7         This Court may review this claim de novo, as 28 U.S.C. § 2254(d) poses no
 8 bar to relief. The state court’s decision was contrary to, or involved an unreasonable
 9 application of, clearly established federal law, as determined by U.S. Supreme
10 Court precedent. See 28 U.S.C. § 2254(d)(2); see also, e.g., Hicks, 447 U.S. at 346
11 (due process requires meaningful appellate review); Parker, 498 U.S. at 321
12 (meaningful appellate review in the capital-sentencing context requires an
13 individualized determination based on the character of the individual and the
14 circumstances of the crime); Lewis, 497 U.S. at 781 (1990) (aggravating factor
15 cannot be upheld where no rational trier of fact could have found it proven beyond
16 a reasonable doubt); Johnson, 486 U.S. at 585 (death sentence cannot be imposed
17 based in part on invalid aggravating factor); Tennard, 542 U.S. at 285 (sentencer
18 must be able to give effect to all mitigation). Moreover, the state-court decision was
19 based on an unreasonable determination of the facts in light of the evidence
20 presented, as discussed above. See 28 U.S.C. § 2254(d)(2). Accordingly, Kiles is
21 entitled to relief.
22                                     Claim Thirteen
23         Kiles’s jury-imposed death sentence unconstitutionally relied upon
           two invalid prior convictions.
24
25         Kiles was sentenced to death by a jury that considered two prior convictions
26 that were legally insufficient to support Arizona’s (F)(2) aggravator, see A.R.S.
27 § 13-703(F)(2) (1988), in violation of Kiles’s rights under the Sixth, Eighth, and
28 Fourteenth Amendments to the U.S. Constitution. Kiles incorporates by specific
                                             388
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 405 of 500



 1 reference all facts, allegations, and arguments made elsewhere in this Petition.
 2         This claim was effectively addressed on the merits by the state post-
 3 conviction court when it held that there was no colorable showing of prejudice
 4 regarding trial counsel’s ineffective assistance with respect to the invalid (F)(2)
 5 aggravator. (ROA 1214 at 2; see also ROA 1189 at 46–48; PFR2 Dkt. 1 at 47–48.)
 6 The state court’s denial of this claim was an unreasonable application of or contrary
 7 to the clearly established Sixth and Eighth Amendment precedent discussed below,
 8 see 28 U.S.C. § 2254(d)(1), and rested on an unreasonable determination of the
 9 facts, id. § 2254(d)(2). The strictures of § 2254(d) thus do not apply to this claim,
10 and this Court may review the merits of this claim de novo.184
11         Because of the particular need for reliability in capital cases, no death
12 sentence “predicated on mere ‘caprice’ or on ‘factors that are constitutionally
13 impermissible’” may stand. Johnson v. Mississippi, 486 U.S. 578, 584–85 (1988)
14 (quoting Zant v. Stephens, 462 U.S. 862, 885 (1983)). In particular, no death
15 sentence may stand when based in part on a conviction that was impermissible
16 support for an aggravating circumstance. See id. at 585–89 (deeming
17 unconstitutional a death sentence based in part on prior conviction that had been
18 reversed). Further, in a state where the jury has to “weigh” the aggravation versus
19 the mitigation in arriving at its sentencing decision, the determination is necessarily
20 affected by the consideration of an impermissible aggravator, especially one based
21 on an invalid prior conviction. See Stringer v. Black, 503 U.S. 222, 232–33 (1992)
22 (“But when the sentencing body is told to weigh an invalid factor in its decision . . .
23 the weighing process itself has been skewed. . . .”). Succinctly put,
24
25
26   184
      Alternatively, Kiles alleges he can overcome any default by showing cause and
27 prejudice attributable to the ineffective assistance of state post-conviction counsel.
   See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Strickland v. Washington, 466 U.S.
28 668, 688, 694 (1984).
                                              389
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 406 of 500



 1                [a]n invalidated sentencing factor (whether an eligibility
                  factor or not) will render the sentence unconstitutional by
 2                reason of its adding an improper element to the aggravation
 3                scale in the weighing process unless one of the other
                  sentencing factors enables the sentencer to give
 4                aggravating weight to the same facts and circumstances.
 5 Brown v. Sanders, 546 U.S. 212, 220 (2006) (footnote omitted).
 6      Moreover, when the basis of an aggravator found by the jury is invalid, the
 7 only constitutional recourse under the Sixth Amendment is a remand for a new
 8 sentencing before a jury. See Apprendi v. New Jersey, 530 U.S. 466, 469, 497
 9 (2000); Ring v. Arizona, 536 U.S. 584, 588 (2002); Hurst v. Florida, 136 S. Ct. 616,
10 621 (2016); Pavatt v. Royal, 894 F.3d 1115, 1152–53 (10th Cir. 2017) (Briscoe,
11 C.J., concurring in part and dissenting in part) (explaining that in light of Ring and
12 Hurst, which held that a defendant is entitled to a jury determination of all facts that
13 can increase his sentence, appellate reweighing is no longer constitutional); see also
14 infra, Claim 21.
15         As explained in depth in Claims 5, 11, and 12, supra, Kiles’s penalty-phase
16 jury considered two prior felony convictions that were legally insufficient to
17 establish the (F)(2) aggravator. The Arizona Supreme Court on direct appeal
18 acknowledged that the first of those two convictions, an attempted aggravated
19 assault conviction, could not support the (F)(2) aggravator. State v. Kiles, 213 P.3d
20 174, 185–86 (Ariz. 2009). The court did not similarly re-evaluate whether Kiles’s
21 prior conviction for aggravated assault was likewise invalid and so wrongly upheld
22 that conviction as a basis for the aggravator. See id.; see supra, Claim 5. The court
23 then concluded that the invalidated basis was immaterial, as there existed a separate
24 conviction to support the (F)(2) aggravator, and upheld Kiles’s death sentence. Id.
25 at 186, 192.
26         This procedure was unconstitutional in light of the U.S. Supreme Court’s
27 Sixth and Eighth Amendment jurisprudence. First, the weighing process itself was
28 skewed by the jury’s consideration of the attempted aggravated assault conviction,
                                              390
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 407 of 500



 1 as the jury could not otherwise have considered this prior conviction as aggravation.
 2 See Brown, 546 U.S. at 220. As a result, under the Eighth Amendment, Kiles’s
 3 death sentence could not stand. See id.; Johnson, 486 U.S. at 584–85. That error
 4 was compounded by the Arizona Supreme Court’s failure to strike the aggravated
 5 assault prior conviction for the purposes of the (F)(2) aggravator and, by extension,
 6 to strike the aggravator altogether. See, e.g., Claims 5, 12, supra.
 7         In sum, the jury was given two prior convictions, evincing a pattern of
 8 escalating violence, to consider as aggravation under the (F)(2) aggravator. The
 9 State told the jury that its finding should be clear-cut (Tr. Apr. 11, 2006 at 31–32),
10 and even the defense did not contest that the aggravated assault satisfied the (F)(2)
11 aggravator. (Tr. Apr. 11, 2006 at 80 (“That attempted assault doesn’t qualify, but
12 the other assault conviction—aggravated assault—does. And it proved the factor
13 period.”).) But the jury should not have been able to consider either conviction as
14 aggravation; the jury should not have been able to consider the (F)(2) aggravating
15 circumstance at all. In such circumstances, the constitutional error was substantial
16 and injurious, infecting Kiles’s entire penalty phase. See Brecht v. Abrahamson,
17 507 U.S. 619, 637–38 (1993). Kiles is entitled to relief.
18                                     Claim Fourteen
19         Kiles’s second state post-conviction counsel were constitutionally
           ineffective.
20
21         Kiles’s second state post-conviction counsel were ineffective and deprived
22 Kiles of his constitutional rights to due process and effective assistance of counsel
23 in violation of the Sixth and Fourteenth Amendments to the U.S. Constitution. Kiles
24 incorporates by specific reference all facts, allegations, and arguments made
25 elsewhere in this Petition.
26         By the nature of this claim, these proceedings are the first in which Kiles can
27 raise these issues. Because no state court has decided the merits of this claim, the
28 limitations on relief imposed by 28 U.S.C. § 2254(d) do not apply, and this Court’s
                                              391
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 408 of 500



 1 review of this claim should be de novo.
 2         In Arizona, “the initial-review collateral proceeding is the first designated
 3 proceeding for a prisoner to raise a claim of ineffective assistance at trial, the
 4 collateral proceeding is in many ways the equivalent of a prisoner’s direct appeal.”
 5 Martinez v. Ryan, 566 U.S. 1, 11 (2012). And the direct appeal is a critical
 6 component of a constitutional sentencing scheme. Parker v. Dugger, 498 U.S. 308,
 7 321 (1991) (“[The Supreme Court] has emphasized repeatedly the crucial role of
 8 meaningful appellate review in ensuring that the death penalty is not imposed
 9 arbitrarily or irrationally.”).
10         “Without the help of an adequate attorney, a prisoner will have . . .
11 difficulties vindicating a substantial ineffective-assistance-of-trial-counsel claim.”
12 Martinez, 566 U.S. at 11. Ineffective-assistance claims “often require investigative
13 work and an understanding of trial strategy. When the issue cannot be raised on
14 direct review, moreover, a prisoner asserting an ineffective-assistance-of-trial
15 counsel claim” during post-conviction proceedings cannot “rely on a court opinion
16 or the prior work of an attorney addressing that claim.” Id. at 11–12. Thus, “[t]o
17 present a claim of ineffective assistance at trial in accordance with the State’s
18 procedures . . . a prisoner likely needs an effective attorney.” Id.
19         Kiles’s second state post-conviction team failed to provide effective
20 representation. Kerrie Droban (DA2 Dkt. 126 at 1) and Sharmila Roy (ROA 1035
21 at 1), Kiles’s appointed counsel, had a difficult time working together. The physical
22 file was divided between their offices, and their approach was divided as well. Their
23 conflicts adversely affected the rest of the team. They let go of an experienced
24 mitigation specialist because of personality conflicts and hired someone with no
25 capital mitigation experience. They could not agree on what was important at
26 mitigation, leading to a disjointed, incomplete presentation of Kiles’s personal
27 mitigating history to the state court. And their inability to work together culminated
28 in a failure to file a reply brief in Kiles’s second state post-conviction proceedings.
                                              392
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 409 of 500



 1         The 2003 ABA Guidelines state that post-conviction counsel have a duty to
 2 “seek to litigate all issues, whether or not previously presented, that are arguably
 3 meritorious under the standards applicable to high quality capital defense
 4 representation, including challenges to any overly restrictive procedural rules.”
 5 2003 ABA Guideline 10.15.1(C). This Droban and Roy did not do. Their
 6 representation fell below the standards required for constitutionally effective post-
 7 conviction counsel. See Martinez, 566 U.S. at 11–12.
 8         Kiles’s state post-conviction counsel were deficient in a number of ways,
 9 elaborated upon below, and Kiles was prejudiced.
10         A.    Post-conviction counsel were ineffective.
11         For the reasons articulated throughout this Petition, Kiles’s second state post-
12 conviction counsel’s performance fell below the standard of minimally competent
13 assistance. Three non-exhaustive examples underscore post-conviction counsel’s
14 deficiencies. Because Kiles did not receive effective assistance during his state
15 post-conviction proceedings, he failed to have effective post-conviction review of
16 a number of meritorious claims, including ineffective assistance of trial and
17 appellate counsel, before the state courts.
18               1.     Post-conviction counsel failed to adequately raise claims.
19         State post-conviction counsel failed to raise several meritorious claims,
20 specifically ineffective-assistance-of-counsel claims, which could only be
21 appropriately raised in a state post-conviction proceeding. See State v. Kiles, 213
22 P.3d 174, 183–84 (Ariz. 2009).
23         For example, Droban and Roy did not raise ineffective-assistance claims for
24 failure to competently conduct voir dire at the guilt and penalty phases, see Claims
25 2 and 4, supra, failure to make a complete record, see Claim 16, infra, and failure
26 to challenge Kiles’s grand-jury proceedings, see Claim 15, infra. Notably, post-
27 conviction counsel raised a challenge to Kiles’s grand-jury proceedings as a
28 standalone constitutional claim, even though counsel knew or should have known
                                              393
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 410 of 500



 1 that such a claim would be precluded. This is especially problematic when the
 2 record itself included signs of deficient performance by trial counsel: counsel
 3 requested an extension of time to file a motion to challenge the grand-jury
 4 proceedings, but then never subsequently filed the motion. (ROA 388 at 1–2.)
 5         Droban and Roy therefore failed to bring meritorious ineffective-assistance
 6 claims for state post-conviction review, fell below the standards expected of post-
 7 conviction counsel, and prejudiced Kiles. See Kiles, 213 P.3d at 183; Martinez, 566
 8 U.S. at 11; Strickland v. Washington, 466 U.S. 668 (1984); see also 2003 ABA
 9 Guideline 10.15.1(C).
10               2.     Post-conviction counsel failed to adequately develop
                        mitigation evidence with both lay and expert witnesses.
11
12         Post-conviction counsel failed to uncover significant mitigation. Their
13 performance was deficient as to both lay witnesses and experts.
14         Droban and Roy’s initial error was dismissing a seasoned mitigation
15 specialist in part because of a personality conflict. Moreover, as an experienced
16 mitigation specialist, she believed that more extensive efforts would be required to
17 conduct a reasonable mitigation investigation, relative to what the attorneys were
18 willing to undertake. As a replacement, they hired a mitigation investigator with no
19 capital mitigation experience. Jeff Trollinger had never previously worked on a
20 capital mitigation case, received no training prior to his appointment, and got very
21 little direction from Droban and Roy. As a result, he did not conduct an
22 independent, thorough mitigation investigation but rather focused on re-
23 investigating the crime. He mainly chose to interview witnesses who had signed
24 affidavits during Kiles’s first state post-conviction proceedings to determine
25 whether their statements were still consistent. Because of his lack of training, the
26 majority of his questions went toward re-investigating the facts of Kiles’s guilt
27
28
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 411 of 500



 1 rather than building a mitigation history.185 He failed to conduct a mitigation
 2 investigation beyond the record that already existed, which defeated the purpose of
 3 state post-conviction proceedings. Due to counsel’s failure to conduct a thorough
 4 investigation into Kiles’s mitigating personal history, Kiles never had his mitigation
 5 effectively reviewed by the state post-conviction court.
 6         While Trollinger failed to work effectively with lay witnesses for Kiles’s
 7 post-conviction mitigation presentation, Droban and Roy failed to work effectively
 8 with mitigation experts. First, Droban and Roy failed to hire a trauma specialist to
 9 interview Kiles and present a compelling portrait of the trauma he had suffered and
10 the effect it had on him. They failed to reasonably present to the state post-
11 conviction court that starting at a young age, Kiles had suffered from mental illness
12 and depression, which stemmed from abuse, neglect, and the predisposition toward
13 mental illness and addiction in his family. They further failed to adequately explain
14 that, compounding Kiles’s genetic predisposition toward addiction, Kiles had been
15 given alcohol from a young age and his sister had exposed him to drugs by the time
16 he was a pre-teen. Counsel did not adequately convey the level of abuse and
17 dysfunction present around Kiles throughout his formative years, further hindering
18 his ability to function successfully as an adult.
19         Rather than hire an appropriate trauma specialist, Droban and Roy hired an
20 expert who could discuss the effects of race broadly on African Americans, but who
21 had little to offer about the effects of racism on Kiles specifically. (ROA 1189 at
22 52–57.) For example, while the expert stated that certain events “may have resulted
23 in racism-based traumatic stress,” some of these events concerned Yuma broadly,
24 rather than Kiles specifically. And while the expert interviewed Kiles, he did not
25 interview his family and was thus unable to present a compelling narrative about
26
27   185
      For instance, Trollinger spent a considerable amount of time trying to investigate
   a baseless rumor that Gunnel’s daughter Shemaeah was not dead but had been
28 trafficked.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 412 of 500



 1 how racism specifically impacted Kiles due to intergenerational trauma. Moreover,
 2 the expert’s report was unable to explain how the trauma that African-Americans
 3 endure in general in America manifested in Kiles in particular, which was necessary
 4 for the report to be compelling as mitigation. Had Droban and Roy hired appropriate
 5 experts in trauma, they would have been able to present evidence that was both
 6 comprehensive and also specific to Kiles, his family, and his history.
 7         Second, Droban and Roy hired a series of neuropsychologists to evaluate
 8 Kiles. (ROA 1047 at 1; ROA 1057 at 1; ROA 1132 at 1.) However, each
 9 neuropsychologist was directed to give the same or similar tests, rendering the
10 results of certain testing unreliable due to the practice effect. “[U]nder the practice
11 effect, a person scores higher on a test when it is readministered within a short
12 period of time because he has become familiar with the test.” See Smith v. Ryan,
13 813 F.3d 1175, 1183 (9th Cir. 2016). Droban and Roy should have been aware of
14 the practice effect, as Arizona courts had already recognized its existence. See State
15 ex rel. Thomas v. Duncan, 216 P.3d 1194, 1195 n.4 (Ariz. Ct. App. 2009) (“The
16 practice effect occurs when a person performs better on a test because he or she has
17 taken it before.”). Clinical guidelines widely available at the time also recognized
18 the practice effect. See, e.g., Am. Psychiatric Ass’n, Diagnostic and Statistical
19 Manual of Mental Disorders 37 (5th ed. 2013) (“DSM-5”).
20         In defiance of best practices and prevailing clinical information on
21 neuropsychological      testing,   Droban    and    Roy    elected   to   have   three
22 neuropsychologists evaluate Kiles using the same or similar tests within a short
23 period. Two neuropsychologists visited Kiles just a year apart: neuropsychologist
24 Paul Connor, Ph.D., administered tests on April 12 and 13, 2012, and John Toma,
25 Ph.D., tested Kiles on May 8 and 10, 2013.186 (PFR2 Dkt. 27 Ex. 24 at 1.) While
26   186
      The practice effect varies depending on the test given, but clinicians have
27 recognized that the practice effect can render scores unreliable even if several years
   have passed between tests. See, e.g., United States v. Williams, 1 F. Supp. 3d 1124,
28 1143–45 (D. Haw. 2014) (discussing practice effect).
                                               396
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 413 of 500



 1 some of Dr. Toma’s results remain well-founded, some are affected by the practice
 2 effect and cannot be considered reliable. (ROA 1189 at 57–58.) It is worth noting
 3 that the third neuropsychologist who was asked to evaluate Kiles, Karen Froming,
 4 Ph.D., refused to re-test Kiles, citing the practice effect. Post-conviction counsel’s
 5 deficient performance left Kiles unable to present reliable neuropsychological
 6 results to the state post-conviction court. Had counsel obtained valid
 7 neuropsychological test results, they would have found that, for example, Kiles had
 8 deficits related to memory and deficits indicative of impaired executive functioning.
 9 These results would have corroborated Kiles’s history of trauma and the resultant
10 neural dysfunction. They would also have informed Kiles’s other experts as they
11 explored issues such as the nature and extent of Kiles’s brain damage.187
12         Third, Droban and Roy retained psychiatrist Joseph Wu, M.D., to do
13 neuropsychiatric imaging of Kiles’s brain. However, some of Dr. Wu’s quantitative
14 results were unreliable. While there are clear signs of brain damage on the images,
15 Dr. Wu used a diffusion tensor imaging (“DTI”) scan, which is very sensitive and
16 specific to the scanner used. (PFR2 Dkt. 28 Ex. 25 at 5.) Therefore, any quantitative
17 analysis of a DTI scan should be made using a comparison group that was imaged
18 with the same scanner. Here, Dr. Wu did not do so. Instead, he compared Kiles’s
19 images to images developed on a different scanner. Additionally, Dr. Wu failed to
20 include in his report critical information about the comparison group whose DTI
21 scans were used for Kiles’s comparison.188 (PFR2 Dkt. 28 Ex. 25 at 16.)
22         Perhaps most concerning, Dr. Wu failed to comment upon signs of brain
23 damage that are indisputable based on a visual review of Kiles’s brain scans. These
24
     187
25     State post-conviction counsel’s inability to get valid neuropsychological test
   results only exacerbated trial counsel’s failure to do the same years before, after
26 inadequately preparing neuropsychologist Scott Sindelar, Ph.D., to evaluate Kiles.
27 See supra, Claim 6.
   188
       There is no information, for example, about whether the comparison group
28 controlled for age. (PFR2 Dkt. 28 Ex. 25 at 16.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 414 of 500



 1 mistakes should have been obvious to an expert in Dr. Wu’s field. While Dr. Wu
 2 was correct in concluding that Kiles has brain damage, some of his quantitative
 3 conclusions are suspect, and he failed to note some of the obvious damage revealed
 4 by the brain scans. Had Droban and Roy obtained a reliable and credible expert in
 5 the field, they would have been able to present more persuasive and credible
 6 findings of brain damage.
 7         Finally, Droban and Roy retained pharmacologist Edward French, Ph.D., to
 8 evaluate how Kiles’s polysubstance abuse affected his behavior. Dr. French’s report
 9 was not filed with the post-conviction petition. State post-conviction counsel
10 maintained that this was because Dr. French would not say with certainty that, while
11 under the influence of cocaine, Kiles could do routine acts like driving, but would
12 still have significant impairment in decision-making ability and perception of
13 reality. This was an inaccurate interpretation of Dr. French’s report, as the report
14 explained that while cocaine use can cause psychotic symptoms and severely impair
15 impulse control, it does not impair the ability to engage in organized activities like
16 driving or speaking with others. Because post-conviction counsel failed to read their
17 own expert’s report thoroughly and undertake basic, necessary follow-up with the
18 expert, they failed to present additional, compelling mitigation information to the
19 post-conviction court.189
20         Individually and cumulatively, these mistakes prevented Kiles from having
21 an effective post-conviction review of his prior state proceedings. Kiles was thus
22 prejudiced. See Martinez, 566 U.S. at 9; Strickland, 466 U.S. at 694.
23
24
25   189
       This was especially troubling in light of the pervasive effects of Kiles’s
26 addictions and trial counsel’s ineffectiveness in failing to have a substance-abuse
   expert counter the State’s narrative that addiction is a choice. See supra, Claim 6.
27 Further, despite counsel’s reservations about Dr. French’s report, they shared it with
   at least one other expert, who then relied on it to inform his own findings. (See
28 PFR2 Dkt. 28 Ex. 25 at 2 (Dr. Wu discussing Dr. French’s conclusions).)
                                             398
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 415 of 500



 1               3.     Post-conviction counsel failed to file a reply.
 2         Kiles’s second state post-conviction counsel failed to file a reply in support
 3 of Kiles’s petition for post-conviction relief, prejudicing his ability to have a full
 4 and effective review of meritorious claims raised in the opening brief.
 5         Kiles’s state post-conviction opening brief was filed on November 24, 2014.
 6 (ROA 1189 at 1.) The State’s response was filed on July 6, 2015. (ROA 1198 at 1.)
 7 On February 1, 2016, the date the reply brief was due, Kiles’s state post-conviction
 8 counsel filed a motion asking the court to allow Roy to withdraw and requesting a
 9 short extension of time. (ROA 1213 at 1–2.) The motion stated that Roy’s “personal
10 and family circumstances have prevented her from drafting her portion of the
11 reply.” (ROA 1213 at 2.) Additionally, “Roy’s inability to contribute as expected
12 to the drafting of this reply has caused conflict between her and Ms. Droban, which
13 is likely to impair the representation of Mr. Kiles from this time forward.” (ROA
14 1213 at 3–4.) Droban stated in the motion she would be able to complete the petition
15 with only a two-week extension of time, asking for a new filing date of February
16 15, 2016. (ROA 1213 at 5.)
17         Two days later, without ruling on either Roy’s request to withdraw or
18 Droban’s request for a short extension of time, and thus without the benefit of a
19 reply brief, the state post-conviction court issued its order denying post-conviction
20 relief. (ROA 1214 at 1–2.)
21         The failure to file a reply brief in Kiles’s case was not a strategic decision
22 that would require deference. Indeed, the motion that Droban and Roy filed
23 requesting a short extension of time explicitly acknowledged that Roy had provided
24 ineffective assistance to Kiles. The failure to file a reply brief denied a full and
25 effective review of Kiles’s state post-conviction claims.
26         Further, the failure to file a reply was not a harmless error. The State argued
27 in its response brief that claims were, for instance, procedurally precluded, or that
28 they failed to meet the standard required for establishing a colorable claim. (ROA
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 416 of 500



 1 1198 at 8–10.) Without the chance to reply, Droban and Roy were unable to refute
 2 these points and correct points of law and fact the State misstated in its response.
 3 Moreover, the 2003 ABA Guidelines provide that state post-conviction counsel
 4 have a duty to “seek to litigate all issues, whether or not previously presented, that
 5 are arguably meritorious under the standards applicable to high quality capital
 6 defense representation, including challenges to any overly restrictive procedural
 7 rules.” 2003 ABA Guideline 10.15.1(C). Therefore, under the prevailing standards,
 8 Droban and Roy were required to file a reply that not only argued all meritorious
 9 claims, but that also (1) refuted the State’s arguments regarding reclusion, and (2)
10 explained where the State applied the law incorrectly.
11         Droban and Roy’s deficient performance hindered the post-conviction
12 court’s opportunity to adequately and effectively rule on Kiles’s claims. It also
13 prejudiced Kiles, as there was a reasonable likelihood that with adequate briefing
14 the post-conviction court would have found these claims colorable. See Strickland,
15 466 U.S. at 694.
16         B.     Post-conviction counsel’s ineffectiveness excuses any procedural
                  default of claims raised throughout this Petition.
17
18         This Court may consider the merits of any claims that would otherwise be
19 procedurally defaulted because Kiles can demonstrate cause and prejudice to
20 overcome any default. See generally Edwards v. Carpenter, 529 U.S. 446, 451
21 (2000); see also Smith v. Murray, 477 U.S. 527, 533 (1986). “Inadequate assistance
22 of counsel at initial-review collateral proceedings may establish cause for a
23 prisoner’s procedural default of a claim of ineffective assistance at trial.” Martinez,
24 566 U.S. at 9.
25         Kiles can demonstrate cause under Martinez because the underlying claims
26 (i.e., the defaulted claims) are substantial, and post-conviction counsel’s
27 performance was inadequate. See id. at 14. To show his claims are “substantial,”
28 Kiles needs to demonstrate they have “some merit.” Id. at 12. In Martinez, the Court
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 417 of 500



 1 specifically cited the standard for issuance of a Certificate of Appealability
 2 (“COA”). Id. at 14 (citing Miller-El v. Cockrell, 537 U.S. 322 (2003)). By citing
 3 Miller-El’s discussion of COA standards, the Court indicated that the COA standard
 4 applies when determining if an underlying claim is “substantial.” Under the COA
 5 standard, “[t]he petitioner must demonstrate that reasonable jurists would find the
 6 district court’s assessment of the constitutional claims debatable or wrong.” Slack
 7 v. McDaniel, 529 U.S. 473, 484 (2000). Slack’s holding “would mean very little if
 8 appellate review were denied because the prisoner did not convince a judge, or, for
 9 that matter, three judges, that he or she would prevail.” Miller-El, 537 U.S. at 337.
10 The COA standard is a low bar intended to screen out only the clearly frivolous
11 claims, and therefore, any doubt whether Kiles has advanced a non-frivolous claim
12 should be resolved in his favor. See Lambright v. Stewart, 220 F.3d 1022, 1025 (9th
13 Cir. 2000). Further, “[a]lthough not dispositive,” a death sentence “is a proper
14 consideration” in deciding whether to issue a COA. Id. (internal quotation marks
15 omitted).
16         Conducting a full merits review on the undeveloped record would frustrate
17 the intention of Martinez to avoid the circumstance of a prisoner never receiving a
18 proper hearing on a claim involving a “bedrock principle,” Martinez, 566 U.S. at 1,
19 the right to effective trial counsel. The Ninth Circuit’s jurisprudence on Martinez
20 supports these principles. In Detrich v. Ryan, a four-judge plurality explained that,
21 where a prisoner demonstrates that his post-conviction counsel performed
22 deficiently and failed to raise a “substantial” claim of ineffective assistance of trial
23 counsel, the prisoner satisfies Martinez’s cause-and-prejudice standard. 740 F.3d
24 1237, 1245 (9th Cir. 2013) (en banc). A petitioner shows cause by showing post-
25 conviction counsel was deficient and demonstrates prejudice by showing that the
26 ineffective-assistance-of-trial-counsel claim is substantial. Id. at 1245–46. Judge
27 Fletcher explained that, for the “narrow purpose” of showing cause under Martinez,
28 a “prisoner need not show actual prejudice resulting from his [post-conviction]
                                              401
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 418 of 500



 1 counsel’s deficient performance, over and above his required showing that the trial-
 2 counsel [ineffectiveness] claim be ‘substantial[.]’” Id. The plurality reasoned that,
 3 if a petitioner “were required to show that the defaulted trial-counsel
 4 [ineffectiveness] claims fully satisfied Strickland . . . this would render superfluous
 5 the first Martinez requirement of showing that the underlying Strickland claims
 6 were ‘substantial[.]’” Id. at 1246.
 7         In Dickens v. Ryan, an eight-judge majority largely paralleled the plurality’s
 8 analysis in Detrich. 740 F.3d 1302 (9th Cir. 2014) (en banc). In Dickens, the Court
 9 instructed that the petitioner could show cause for default if he could show the first
10 two Martinez elements: “(1) the [defaulted] claim is substantial and (2) his PCR
11 counsel was ineffective under Strickland.” Id. at 1320. Thus, because Kiles’s post-
12 conviction counsel were inadequate and substantial claims went un-reviewed in
13 state court, he can show cause to overcome any procedural default.
14         The prejudice element of the cause-and-prejudice test remains settled.
15 Generally, once the petitioner has shown cause, the Court should consider whether
16 there is prejudice based on the underlying constitutional claim. See, e.g., Walker v.
17 Martin, 562 U.S. 307, 315 (2011) (describing cause and prejudice as “cause for the
18 delay in asserting his claims and actual prejudice resulting from the State’s alleged
19 violation of his constitutional rights”); Smith, 477 U.S. at 533 (“actual prejudice
20 resulting from the alleged constitutional violation” (quoting Wainwright v. Sykes,
21 433 U.S. 72, 84 (1997))).
22         Thus, this Court should determine whether there is a reasonable probability
23 that the errors alleged undermined confidence in the outcome of the proceedings
24 against Kiles. In undertaking this analysis, the Court should bear in mind that
25 Martinez provided an equitable avenue for federal courts to review the merits of
26 non-frivolous constitutional violations, and that evidentiary development is
27 necessary to establishing cause and prejudice. See, e.g., Woods v. Sinclair, 764 F.3d
28 1109, 1138 n.16 (9th Cir. 2014) (rejecting argument that “Pinholster
                                              402
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 419 of 500



 1 and 2254(e)(2) categorically bar [habeas petitioners] from obtaining such a hearing
 2 or from presenting extra-record evidence to establish cause and prejudice for the
 3 procedural default”).
 4         The circumstances described above and those uncovered during habeas
 5 counsel’s investigation of this case demonstrate post-conviction counsel were
 6 ineffective. That ineffectiveness provides cause and prejudice sufficient to excuse
 7 the default of the claims raised in this Petition.
 8         C.     Post-conviction counsel’s ineffectiveness entitles Kiles to relief.
 9         While acknowledging contrary authority, see Coleman v. Thompson, 501
10 U.S. 772, 757 (1991), Kiles respectfully asserts that he is constitutionally entitled
11 to the effective assistance of post-conviction counsel, and this Court should grant
12 relief on this basis. Arizona’s post-conviction process was inadequate and
13 ineffective to protect Kiles’s constitutional right to counsel, and his post-conviction
14 counsel performed deficiently and prejudiced him. As explained in Martinez,
15 Arizona prisoners must raise ineffectiveness of trial counsel in a petition for post-
16 conviction relief, not on direct appeal. See State v. Spreitz, 39 P.3d 525, 527 (Ariz.
17 2002). Kiles’s post-conviction proceedings were his only opportunity to pursue
18 ineffective-assistance claims (and, for that matter, any other claims that relied on
19 more than the cold trial record). Thus, those post-conviction proceedings were a
20 “first appeal as of right” as to those claims, and he should have a constitutional right
21 to the effective assistance of counsel in those proceedings. See Evitts v. Lucey, 469
22 U.S. 387, 396 (1985).
23       In Arizona, post-conviction proceedings are part of an established,
24 mandatory appellate process, initiated by the Arizona Supreme Court. See Ariz. R.
25 Crim. P. 32.4(a) (on issuance of mandate affirming conviction and death sentence
26 on direct appeal, clerk of court files automatic notice for post-conviction relief);
27 State v. Bolton, 896 P.2d 830, 839 (Ariz. 1995) (explaining that Rule 32 proceeding
28 is mandatory on affirmance of death sentence). Here, state post-conviction
                                              403
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 420 of 500



 1 proceedings are not only automatic on the affirmance of a death sentence; they are
 2 also a defendant’s only chance to present constitutional claims based on evidence
 3 outside the record, including the ineffective assistance of trial and appellate counsel.
 4 They are, thus, appeals “as of right” for these claims, and the State must provide
 5 the effective assistance of counsel. See Jackson v. State, 732 So. 2d 187, 190 (Miss.
 6 1999) (“The reality is that post-conviction efforts, though collateral, have become
 7 an appendage, or part, of the death penalty appeal process at the state level.”). By
 8 not assuring competent counsel for these claims, post-conviction review of the
 9 competence of capital attorneys becomes a “meaningless ritual.” See Evitts, 469
10 U.S. at 394 (internal quotation marks omitted); see also Jackson v. Weber, 637
11 N.W.2d 19, 24–25 (S.D. 2001) (“If the defense attorney was ineffective in the
12 original criminal proceeding and habeas counsel was thereafter ineffective in
13 ferreting out the invalidity of the conviction, we may never know if the convicted
14 person had a fair trial or, God forbid, was actually innocent.”).
15         Further, because Arizona entitles a defendant to the appointment of state
16 post-conviction counsel and provides standards in an attempt to ensure counsel’s
17 competence, due process requires that counsel be effective. Implementation of this
18 statutorily provided right must comport with due process: “when a State opts to act
19 in a field where its action has significant discretionary elements, it must nonetheless
20 act in accord with the dictates of the Constitution—and, in particular, in accord with
21 the Due Process Clause.” Evitts, 469 U.S. at 401. Due process demands that when
22 a statutory right to counsel is established, the concomitant right to effective
23 assistance of counsel must also be recognized; otherwise, the statutory right would
24 be meaningless. See id. at 396 (“[A] party whose counsel is unable to provide
25 effective representation is in no better position than one who has no counsel at all.”).
26         Other state courts have recognized that, because their state statutes provide
27 for counsel in post-conviction proceedings, due process demands that counsel
28 perform effectively: “[W]e will not presume that our legislature has mandated some
                                              404
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 421 of 500



 1 ‘useless formality’ requiring the mere physical presence of counsel as opposed to
 2 effective and competent counsel.” Jackson, 637 N.W.2d at 23. Their reasoning has
 3 been based on the well-established principle that the right to counsel means the right
 4 to the effective assistance of counsel. The Due Process Clause of the Constitution
 5 ensures fundamental fairness. If Arizona ignores the dictates of its own statute and
 6 appoints incompetent counsel, the petitioner is entitled to relief. Cf. Lozada v.
 7 Warden, 613 A.2d 818, 822 (Conn. 1992) (“[F]undamental fairness opens the door
 8 for relief by habeas corpus when the state, in discharging its statutory duty, appoints
 9 incompetent counsel.”).
10         In sum, Kiles’s post-conviction counsel were ineffective. This deprived him
11 of his constitutional rights to due process and the effective assistance of counsel,
12 and also provides cause and prejudice to overcome the default of any claims raised
13 in this Petition. Kiles is entitled to evidentiary development and relief.
14                                     Claim Fifteen
15         Trial counsel was ineffective for failing to file a motion to remand
           because of errors rendering the grand-jury proceedings
16         unconstitutional.
17         Kiles’s counsel’s ineffective assistance in failing to file a motion to remand
18 for new grand-jury proceedings deprived Kiles of his rights to counsel, reliable
19 proceedings, due process, and equal protection in violation of the Sixth, Eighth, and
20 Fourteenth Amendments to the U.S. Constitution. Kiles incorporates by specific
21 reference all facts, allegations, and arguments made elsewhere in this Petition.
22         Kiles did not present this claim in state court. Kiles alleges he can overcome
23 any default by showing cause and prejudice, as the ineffective assistance of Kiles’s
24 state post-conviction counsel in failing to raise this claim constitutes cause for the
25 default and resulted in prejudice to Kiles.190 See Martinez v. Ryan, 566 U.S. 1, 9
26
27   190
      Kiles’s state post-conviction counsel did raise a standalone challenge to the
   grand-jury proceedings, but should have anticipated that the court would deem that
28 challenge defaulted. (See ROA 1214 at 1 (“The court rejects Defendant’s arguments
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 422 of 500



 1 (2012); Strickland v. Washington, 466 U.S. 668, 688, 694 (1984). Kiles will
 2 demonstrate at an evidentiary hearing that state post-conviction counsel fell below
 3 the standards of minimally competent capital post-conviction attorneys when they
 4 failed to raise this meritorious claim. Because this claim has not been adjudicated
 5 by the Arizona state courts, the limitations on relief imposed by 28 U.S.C. § 2254(d)
 6 do not apply to this Court’s review, and the Court may consider the merits of the
 7 claim de novo.
 8         “Pretrial investigation and preparation are the keys to effective representation
 9 of counsel.” United States v. Tucker, 716 F.2d 576, 581 (9th Cir. 1983); see also
10 Strickland, 466 U.S. at 684 (guaranteeing defendants the effective assistance of
11 counsel under the Sixth Amendment); supra, Claim 2 (discussing Strickland
12 standard). Filing relevant pretrial motions—particularly one that counsel himself
13 describes as significant—constitutes rudimentary trial preparation. Failure to file
14 such motions “is not a strategic decision.” Strickland, 466 U.S. at 689–90; Wiggins
15 v. Smith, 539 U.S. 510, 521–22 (2003); see also Kimmelman v. Morrison, 477 U.S.
16 365, 384 (1986) (finding counsel ineffective for failing to file a pretrial motion). It
17 is deficient where counsel’s decisions result from inattention instead of reasoned
18 judgment. See Wiggins, 539 U.S. at 534. Further, under the 1989 ABA Guidelines,
19 counsel were obligated to examine a case’s charging documents to identify “any
20 issues, constitutional or otherwise” that could be raised to attack them. 1989 ABA
21 Guideline 11.4.1(D)(1)(C). The 1989 ABA Guidelines also include that counsel
22 should consider pretrial motions related to “potential defects in the charging
23 process.” 1989 ABA Guideline 11.5.1(B)(3); see also 1989 ABA Guideline
24 11.5.1(B) (instructing counsel to consider all pretrial motions potentially available).
25
26
27
   regarding the grand jury composition and the testimony of Imogene Kiles before
28 the grand jury. Those claims are precluded under the rule.”).)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 423 of 500



 1         A.     Counsel planned to file a motion to remand to address
                  improprieties with the grand-jury session and the resulting
 2                indictment.
 3         As early as fall 1998, Kiles’s trial counsel Greg Clark planned to file a motion
 4 to remand for a new grand-jury proceeding, based largely on the unconstitutional
 5 elements of the grand-jury proceedings described below. (Tr. Oct. 30, 1998 at 47;
 6 PFR2 Dkt. 21 Ex. 6 at 1–11.) In October 1998, the court ordered that the motion be
 7 filed within a reasonable time. (Tr. Oct. 30, 1998 at 47.) Kiles’s counsel during his
 8 first state post-conviction proceedings had extensively investigated the underlying
 9 support for the motion; it was clear the claims were well-supported. (See PFR2 Dkt.
10 23 Ex. 19; PFR2 Dkt. 27 Ex. 22; ROA 225 Ex. 55; ROA 225 Ex. 63; Tr. Feb. 20,
11 1996 at 40–43, 47–49, 53–55, 71–75, 90–96; Tr. Feb. 22, 1996 at 225–26.) Indeed,
12 Clark asked for and received multiple extensions of time to file a motion to remand
13 based on challenges to the grand-jury proceedings. (Tr. Dec. 9, 1998 at 4; Tr. Jan.
14 22, 1999 at 11.)
15       In February 1999, the parties stipulated to extending the deadline for Clark
16 to file a motion to remand. (ROA 397 at 1.) Clark exchanged drafts of this motion
17 with Mary Boyte, who was briefly his co-counsel and who had been Kiles’s counsel
18 in his first state post-conviction proceedings.191 (PFR2 Dkt. 21 Ex. 6 at 1–11.)
19        In April 1999, Clark stated at a status hearing that he and the prosecutor were
20 going to sit down to discuss the motion and potentially enter into a stipulation to
21 remand. (Tr. Apr. 2, 1999 at 4.) He said: “I thought the issues we have developed
22 in that regard are significant to the point where I think that’s justified and it may be
23 fruitful and it would certainly save a tremendous amount of court time just from
24 that standpoint.” (Tr. Apr. 2, 1999 at 4.) In July 1999, Kiles filed a pro per motion
25
26   191
      Second state post-conviction counsel attached one of these drafts as an exhibit
27 to Kiles’s second post-conviction petition, but Boyte had urged Clark to include
   additional claims not listed in that draft, including racial discrimination in grand-
28 jury selection. (See PFR2 Dkt. 21 Ex. 6 at 1–11.)
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 424 of 500



 1 complaining that the motion to remand had not yet been filed, and he did not know
 2 why. (ROA 407 at 7.) Also in July 1999, Boyte filed a motion to withdraw as
 3 counsel based on Clark’s incompetent representation and failure to communicate
 4 with her and Kiles. (ROA 409 at 2.) This was based in part on the fact that she had
 5 prepared the motion to remand, but Clark had not filed it—she did not know and
 6 could not determine why. (Tr. Aug. 6, 1999 at 15.) In October 1999, Kiles stated at
 7 a status hearing that he did not know what was happening with the motion, though
 8 he had seen a draft. (Tr. Oct. 8, 1999 at 75.)
 9         Although his co-counsel had sent him a draft, Clark never filed this motion.
10 The failure to file this motion was not based on reasoned strategic judgment.
11 Strickland, 466 U.S. at 689–90.
12         B.    Counsel was deficient in failing to file a motion to remand based
                 on the fact that a grand juror had prior knowledge of the facts of
13               the crime.
14         Clark was ineffective for failing to file a motion to remand for a new
15 indictment because one of the grand jurors knew about the facts of the crime from
16 Valerie Gunnel’s brother-in-law.
17         A defendant has a right to be “prosecuted only ‘on the basis of the facts
18 presented to the grand jury. . . .’” United States v. Du Bo, 186 F.3d 1177, 1179 (9th
19 Cir. 1999) (quoting United States v. Rosi, 27 F.3d 409, 414 (9th Cir. 1994)). It
20 violates due process where a defendant is tried “on an indictment returned by a
21 biased grand jury.” United States v. Samango, 607 F.2d 877, 881 (9th Cir. 1979)
22 (overturning an indictment where the prosecutor’s conduct created a biased jury).
23 Further, the prosecutor has a duty to ensure the “wise exercise” of the grand jury’s
24 investigatory power. Hoffman v. United States, 341 U.S. 479, 485 (1951). While
25 prosecutors have broad discretion before a grand jury, “this prosecutorial discretion
26 is not boundless.” United States v. De Rosa, 783 F.2d 1401, 1404 (9th Cir. 1986)
27 (quoting United States v. Al Mudarris, 695 F.2d 1182, 1185 (9th Cir. 1983)). “The
28 prosecutor may not circumvent the constitutional safeguard of a grand jury by
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 425 of 500



 1 overreaching conduct that impinges on the grand jury’s autonomy and interferes
 2 with its exercise of unbiased judgment.” De Rosa, 783 F.2d at 1404.
 3         Kiles’s grand-jury proceedings violated his rights because one grand juror
 4 knew the facts of the crime before serving on the grand jury. At the start of the
 5 grand-jury hearing, after mentioning the victims’ names, Yuma County Attorney
 6 Phillip Hall asked the grand jurors if they had any reason to believe they could not
 7 be fair and impartial. (Tr. Feb. 21, 1989 at 9.) One grand juror raised his hand and
 8 explained that he worked with Gunnel’s brother-in-law, Nate Bailey; upon further
 9 prompting, he added that Bailey had told him about the crime a few days earlier.
10 (Tr. Feb. 21, 1989 at 9.) Hall pressed on, asking if he had any conversations with
11 Bailey about the alleged evidence or what may have occurred and who was
12 responsible. (Tr. Feb. 21, 1989 at 9–10.) The grand juror responded that Bailey had
13 told him “what had happened to the woman; the injuries she received.” (Tr. Feb.
14 21, 1989 at 10.) Instead of removing this man from the grand jury based on his
15 extraneous knowledge, Hall asked him:
16                So, I guess, I have got to come back to you and ask you
                  whether or not you can lay aside any conversations that you
17                may have had with Mr. Bailey and determine based solely
18                upon the evidence presented here whether or not probable
                  cause exists to believe that Mr. Kiles or anyone else for that
19                matter should be indicted for the death of Mrs. Gunnell
                  [sic].
20
21 (Tr. Feb. 21, 1989 at 10.) The grand juror stated that he did not have any prejudice,
22 and Hall allowed him to remain. (Tr. Feb. 21, 1989 at 10.) This was an abuse of
23 prosecutorial discretion. Hall should not have allowed that grand juror to consider
24 the indictment, given that he had first-hand outside information. Instead, Hall
25 perfunctorily asked the grand juror if he could lay it aside, and the juror agreed.
26 Where a juror is biased, it is not sufficient for him to perfunctorily agree that he can
27 be fair. See Morgan v. Illinois, 504 U.S. 719, 735 (1992).
28        It was below prevailing professional norms for counsel to fail to file a motion

                                               409
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 426 of 500



 1 to remand because a grand juror had outside knowledge of the crime, which resulted
 2 in Kiles being charged based on facts outside of the grand jury presentation. Clark’s
 3 stated plan to file the motion, and his assertion that he thought there was strong
 4 support for it, further underscore this.192 Had counsel filed the motion to remand,
 5 the constitutionally deficient indictment would have required reversal. See Du Bo,
 6 186 F.3d at 1179. “Failing to enforce this requirement would allow a court to ‘guess
 7 as to what was in the minds of the grand jury at the time they returned the
 8 indictment.’” Id. (quoting United States v. Keith, 605 F.2d 462, 464 (9th Cir. 1979)).
 9 Clark’s failure thus prejudiced Kiles.
10         C.     Counsel was deficient in failing to file a motion to remand based
                  on the fact that the State knew that Imojean Kiles was an
11                incompetent witness during her grand-jury testimony.
12         The grand-jury proceedings were further infected by prosecutorial
13 misconduct because the prosecutor knew that a central witness, Kiles’s mother
14 Imojean Kiles, was an incompetent witness. (Tr. Feb. 21, 1989 at 52–83.) The
15 morning of her grand-jury testimony, Imojean took two nerve pills and shots of
16 brandy. (PFR2 Dkt. 23 Ex. 19 at 9.) She arrived at court, but she was told to return
17 in the afternoon, so she went home and drank more brandy. (PFR2 Dkt. 23 Ex. 19
18 at 9.) Before taking the stand that afternoon, Imojean told Hall and the lead detective
19 on the case, Detective Brian Rodgers, that she needed to take a nerve pill. Hall gave
20 her a glass of water, and he and Rodgers watched her take the pill. (PFR2 Dkt. 23
21 Ex. 19 at 9.) In an affidavit written for the first state post-conviction proceedings,
22 she explained her resulting mental state on the stand: “I was really out of it. I was
23 so confused. I had trouble thinking clearly. I didn’t understand some of the
24 questions. I said things I knew wasn’t right but I was so out of it I no longer knew
25 what was right anymore. I don’t remember much of it.” (PFR2 Dkt. 23 Ex. 19 at 9–
26 10.) Imojean Kiles’s friend Geraldine Dickey accompanied her to the grand-jury
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   192
       It was also important for Clark to file pretrial motions to strengthen the defense’s
28 position during the ongoing plea negotiations.
                                              410
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 427 of 500



 1 proceedings and swore in an affidavit to Imojean Kiles’s drinking, pill-taking, and
 2 resultant incompetence on the stand. (PFR2 Dkt. 27 Ex. 22 at 2.)
 3         Imojean Kiles was a key witness at the grand-jury proceedings. She testified
 4 about Kiles’s admission to her that he killed Valerie Gunnel. (Tr. Feb. 21, 1989 at
 5 52–60.) However, her testimony reflected that she was impaired and confused on
 6 the stand. (E.g., Tr. Feb. 21, 1989 at 63–64.) At the second grand-jury hearing in
 7 April 1989, the prosecutor gave the grand jurors a transcript of the prior
 8 proceedings, including Imojean Kiles’s testimony. (Tr. Apr. 4, 1989 at 31.)
 9         As discussed above, a prosecutor has a duty to ensure that justice is done at
10 a grand-jury proceeding. He violated this duty—and Kiles’s due process rights—
11 when he put Imojean Kiles on the stand to testify in front of the grand jury, knowing
12 that she was an incompetent witness. Clark was deficient for failing to file the
13 motion to remand on this basis when he knew that the motion was “significant” and
14 when his failure had no strategic justification. (Tr. Apr. 2, 1999 at 4.) This
15 prejudiced Kiles, as it is probable that the cumulative errors at his grand-jury
16 proceedings would have warranted a remand.
17         D.     Counsel was ineffective for failing to file a motion to remand
                  because Kiles was denied his right to a grand jury free from
18                discrimination.
19         Given prevailing professional norms and well-known constitutional
20 precedent, it was unreasonable for counsel to fail to file a motion to remand, because
21 Kiles was charged by a jury selected on the basis of race. See Strickland, 466 U.S.
22 at 688.
23         It violates the Equal Protection Clause of the Fourteenth Amendment where
24 there is racial discrimination in the grand-jury selection process. Even a conviction
25 cannot “cure the taint attributable to a charging body selected on the basis of race.”
26 Vasquez v. Hillery, 474 U.S. 254, 264 (1986). The Supreme Court has established
27 “mandatory reversal” in this circumstance. Id. at 264. The Court has emphasized
28 that, “having found discrimination in the selection of a grand jury, we simply cannot
                                             411
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 428 of 500



 1 know that the need to indict would have been assessed in the same way by a grand
 2 jury properly constituted.” Id. A defendant need not be the same race as excluded
 3 jurors to challenge a grand jury infected by discrimination. Campbell v. Louisiana,
 4 523 U.S. 392, 398 (1998) (“Regardless of his or her skin color, the accused suffers
 5 a significant injury in fact when the composition of the grand jury is tainted by
 6 racial discrimination.”)
 7         In Castaneda v. Partida, 430 U.S. 482 (1977), the Supreme Court articulated
 8 a three-part test to evaluate allegations of equal-protection violations in the context
 9 of grand-jury selection:
10                The first step is to establish that the group is one that is a
                  recognizable, distinct class, singled out for different
11                treatment under the laws, as written or as applied. Next, the
12                degree of underrepresentation must be proved, by
                  comparing the proportion of the group in the total
13                population to the proportion called to serve as grand jurors.
                  . . . Finally, as noted above, a selection procedure that is
14                susceptible of abuse or is not racially neutral supports the
                  presumption of discrimination raised by the statistical
15                showing. Once the defendant has shown substantial
16                underrepresentation of his group, he has made out a prima
                  facie case of discriminatory purpose and the burden then
17                shifts to the State to rebut that case.
18 Id. at 494–95 (internal citations omitted). Racial discrimination in grand-jury
19 selection may be inferred via statistical underrepresentation combined with
20 subjective selection procedures. Id.
21       A Yuma County grand jury indicted Kiles in February and April 1989. (ROA
22 1; CR89-15577 ROA 1.) Nearly the same grand jury panel indicted him both times.
23 (Tr. Apr. 4, 1989 at 3–4.) At the time of the 1990 U.S. census, Yuma County was
24 2.9% African-American and 40.6% “Hispanic origin.” See U.S. Bureau of the
25 Census, 1990 Census: Arizona, Table 5: Race and Hispanic Origin,
26 https://www2.census.gov/library/publications/decennial/1990/cp-1/cp-1-4.pdf at
27 29. The February grand jury included three individuals of Hispanic origin out of 15
28 grand jurors, or 20% of the panel. (ROA 225 at 4–5.) The April grand jury included
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 429 of 500



 1 three individuals of Hispanic origin out of 15 grand jurors, or 13% of the panel.
 2 (ROA 225 at 5.) No grand juror in either February or April 1989 was African
 3 American. (ROA 225 at 4.)
 4         The grand-jury selection procedure at the time of Kiles’s indictments resulted
 5 in a significant underrepresentation of non-white grand jury members. The selection
 6 process was subject to abuse because of an excess of unsupervised discretion. (ROA
 7 225 Ex. 63 at 2.) The Jury Commissioner selected prospective juror names from
 8 voter-registration and Department of Motor Vehicles lists and mailed
 9 questionnaires. (ROA 225 Ex. 63 at 2.) Whenever those letters were returned due
10 to a bad address, no one attempted to locate that individual. (ROA 225 Ex. 55 at 1.)
11 Similarly, no one followed up with people who did not return their questionnaires.
12 (ROA 225 Ex. 55 at 1.) The Jury Commissioner reviewed juror questionnaires and
13 had total discretion to remove names from consideration based on their responses.
14 (ROA 225 Ex. 63 at 2.) The prospective juror questionnaires were destroyed after
15 90 days, without any possibility for review by litigants or judicial officers. (ROA
16 225 Ex. 63 at 3.) Of the 60 potential grand jurors called to court, the judge and
17 county attorney selected 16 grand jurors and four alternates. (ROA 225 Ex. 63 at
18 3.) It is unclear what, if any, criteria they used.
19         It is improper to allow a jury commissioner unfettered discretion in selecting
20 potential grand jurors. When statistics demonstrate dramatic under-representation
21 of a suspect class, together with a selection procedure that systematically excludes
22 a great proportion of those classes, that discretion must be challenged. See
23 Castaneda, 430 U.S. at 482 (holding it unconstitutional where statistical
24 underrepresentation of Mexican-Americans in grand-jury services was the result of
25 “highly subjective” selection procedures). It is difficult to imagine a process more
26 susceptible to abuse than one in which not only the Jury Commissioner, but also the
27 defendant’s prosecutor, have unbridled discretion to exclude potential grand jurors.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 430 of 500



 1 The facts of Kiles’s case are very similar to those in Castaneda.193
 2         It was unreasonable and fell below prevailing professional norms for counsel
 3 to fail to challenge this unconstitutional selection process. Vasquez and Castaneda
 4 were both well-known, longstanding precedent by the time of Kiles’s case. The
 5 need to examine the record for any instances of racial discrimination should have
 6 been clear to competent counsel. Further, Clark was on notice of this concern
 7 because the first state post-conviction counsel had raised this claim in their petition.
 8 (ROA 225 at 3–9; ROA 268 at 5–21.) The 1999 Arizona Capital Case Defense
 9 Manual, which counsel had, also instructed counsel to investigate the composition
10 of the grand and petit venires. In addition, correspondence shows that Mary Boyte
11 urged Clark to include this challenge in his motion to remand. (PFR2 Dkt. 21 Ex. 6
12 at 1–11.) In February and March 1999, she sent him the materials from the first
13 state post-conviction proceedings and urged him to include this challenge.
14         Counsel’s failure to file a motion to remand based on the grand jury’s racially
15 discriminatory composition prejudiced Kiles. Had counsel challenged the grand
16 jury composition, “there is a reasonable probability that the claim [counsel] failed
17 to raise at trial would have prevailed, either at trial or on appeal.” Doe v. Ayers, 782
18 F.3d 425, 432 (9th Cir. 2015) (citing Strickland, 466 U.S. at 694). Then, had Kiles
19 prevailed at trial or on appeal, his indictment would have been vacated. See
20 Vasquez, 474 U.S. at 264. Kiles was therefore prejudiced by his counsel’s deficient
21 performance.
22         E.     Conclusion.
23         In sum, Clark provided ineffective assistance by failing to file a motion to
24
25   193
       The state post-conviction court ruled in 2016 that Kiles had not shown a
26 colorable claim as to discriminatory intent in grand jury composition. (ROA 1214
   at 1.) This ruling on the merits is contrary to and/or an unreasonable application of
27 clearly established federal law under Castaneda. See 28 U.S.C. § 2254(d)(1). To
   the extent that the state court made a determination of fact, that too was
28 unreasonable, as described above. See 28 U.S.C. § 2254(d)(2).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 431 of 500



 1 remand for new grand-jury proceedings. He planned to file the motion and knew
 2 that it was “significant.” (Tr. Apr. 2, 1999 at 4.) His failure to do so was not based
 3 on reasoned strategic judgment, but was instead inexplicable and unjustifiable. Had
 4 Clark filed and argued this motion, he likely would have succeeded, based on the
 5 facts described above. Further, it would have put him in an advantageous position
 6 to settle—particularly important because the crime had occurred a decade earlier,
 7 and Kiles was eager to settle for a life sentence. Where counsel, like Clark, performs
 8 ineffectively, it undermines the reliability of the proceedings. Strickland, 466 U.S.
 9 at 693; see also Woodson v. North Carolina, 428 U.S. 280, 305 (1976) (joint
10 opinion of Stewart, Powell, and Stevens, JJ.).
11                                      Claim Sixteen
12         Counsel were ineffective for failing to ensure that critical portions
           of the record were preserved and recorded.
13
14         Trial counsel’s failure to ensure that all proceedings were recorded and that
15 all crucial documents were preserved hindered Kiles’s ability to effectively
16 challenge his convictions and sentences, violating his rights under the Sixth, Eighth,
17 and Fourteenth Amendments to the U.S. Constitution. Kiles incorporates by
18 specific reference all facts, allegations, and arguments made elsewhere in this
19 Petition.
20         Kiles did not present this claim in state court. Kiles can overcome any default
21 by showing cause and prejudice, as the ineffective assistance of Kiles’s state post-
22 conviction counsel in failing to raise this claim constitutes cause for the default and
23 resulted in prejudice to Kiles. See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Strickland
24 v. Washington, 466 U.S. 668, 688, 694 (1984). Kiles will demonstrate at an
25 evidentiary hearing that state post-conviction counsel fell below the standards of
26 minimally competent capital post-conviction attorneys when they failed to raise this
27 meritorious claim. Because this claim has not been adjudicated by the Arizona state
28 courts, the limitations on relief imposed by 28 U.S.C. § 2254(d) do not apply to this
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 432 of 500



 1 Court’s review, and the Court may consider the merits of the claim de novo.
 2         A.    Trial counsel failed to preserve evidence needed for proper
                 consideration of Kiles’s claims on appeal.
 3
 4         Kiles’s counsel made a practice of conducting proceedings off the record and,
 5 as a result, failed to preserve critical portions of the record for subsequent review.
 6 In the capital context, where heightened reliability is required, see Woodson v.
 7 North Carolina, 428 U.S. 280, 305 (1976) (joint opinion of Stewart, Powell, and
 8 Stevens, JJ.), the Supreme Court has “emphasized repeatedly the crucial role of
 9 meaningful appellate review in ensuring that the death penalty is not imposed
10 arbitrarily or irrationally.” Parker v. Dugger, 498 U.S. 308, 321 (1991); see also
11 Zant v. Stephens, 462 U.S. 862, 890 (1983) (recognizing mandatory appellate
12 review as “an important procedural safeguard . . . to avoid arbitrariness.”)
13 Counsel’s failure to ensure a complete record crippled Kiles’s ability to seek
14 meaningful appellate review. This was deficient and prejudiced Kiles. See
15 Strickland, 466 U.S. at 694; see also 2003 ABA Guideline 10.7 (“Counsel at every
16 stage have an obligation to satisfy themselves independently that the official record
17 of the proceedings is complete and to supplement it as appropriate.”).
18              1.    Trial counsel denied Kiles’s right to be present at
                      unrecorded proceedings.
19
20         First, during pretrial proceedings, Kiles specifically informed his trial
21 counsel that he would like to be present for any off-record conferences between the
22 State, defense counsel, and the court. (Tr. Aug. 6, 1999 at 14.) Kiles was concerned
23 that these informal meetings were not recorded and could not be challenged, so he
24 requested that he at least be present for them. (Tr. Aug. 6, 1999 at 13–14.) But
25 Kiles’s attorney refused the request and indicated that he would continue to have
26 off-the-record discussions. (Tr. Aug. 6, 1999 at 14.)
27         Kiles’s request was well-founded. For example, Kiles expressed concern to
28 counsel about a minute entry dated October 7, 2002, where defense counsel waived
                                             416
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 433 of 500



 1 his presence and no transcript was made of the proceedings. (ROA 584 at 1.)
 2 Though the minute entry states “no real substance [was] being discussed,” the
 3 discussion was likely about how Kiles’s sentencing would move forward after Ring
 4 v. Arizona, 536 U.S. 584 (2002), in which the Supreme Court had found Arizona’s
 5 death-penalty scheme unconstitutional just a few months earlier. (ROA 584 at 1.)
 6 This conference may have contained critical information for appellate counsel.
 7 Counsel were ineffective both for an unauthorized waiver of his client’s rights, see
 8 Claim 1, supra, and for failing to make a record such that appellate counsel could
 9 ensure a meaningful review of the proceedings. See Strickland, 466 U.S. at 694.
10               2.     Trial counsel failed to record and retain evidence during
                        voir dire.
11
12         Defense counsel failed to maintain a record and preserve evidence necessary
13 to allow Kiles effective review on appeal of his jury selection. During voir dire at
14 the guilt phase, defense counsel erred in failing to add a question about the
15 prospective jurors’ race to the State’s questionnaire. (CR89-15577 ROA 169 at 2–
16 11.) Without a question regarding the race of the juror, appellate counsel could not
17 determine whether the State sought to remove jurors by stipulation or peremptory
18 challenge based on race, which would be impermissible under Batson v. Kentucky,
19 476 U.S. 79 (1986). Trial counsel then failed to preserve the guilt-phase juror
20 questionnaires, frustrating appellate counsel’s ability to determine if there were
21 other errors that needed to be raised to the Arizona Supreme Court.
22         Compounding these hindrances to effective review of voir dire, Kiles’s trial
23 counsel failed to note on the record why each juror was excluded. The majority of
24 prospective jurors, 41 in the guilt phase, were removed by stipulation between
25 Kiles’s counsel and the State, without any reason on the record justifying removal.
26 (ROA 456 at 1.) In the penalty phase, 23 prospective jurors were struck for cause,
27 though even the fact of their removal, let alone the reasons underlying removal,
28 appears nowhere on the record during jury selection. (ROA 895; Tr. Mar. 6, 2006;
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 434 of 500



 1 Tr. Mar. 7, 2006; Tr. Mar. 8, 2006; Tr. Mar. 15, 2006; Tr. Mar. 16, 2006.) Thus,
 2 Kiles’s appellate lawyers lacked critical information necessary to challenge his
 3 convictions and sentence, prejudicing his appeals.
 4         Defense counsel was ineffective for failing to maintain a complete and proper
 5 record of the voir dire proceedings in both the guilt and penalty phase, including
 6 why each juror was excluded. These errors prevented Kiles from effectively raising
 7 claims regarding the death-qualification of jurors or other potential voir dire issues.
 8                3.    Trial counsel failed to ensure bench conferences were on the
                        record.
 9
10         On numerous occasions in the state-court proceedings, the court and counsel
11 held off-the-record discussions without making a record of, in many instances, what
12 was discussed or argued or, in other instances, the reasons specific decisions were
13 made. During the guilt phase, a review of pretrial and trial transcripts reveals at
14 least 15 separate instances of unrecorded bench conferences between the trial judge
15 and counsel. (See Tr. July 7, 2000 at 139; Tr. July 10, 2000 at 82; Tr. July 10, 2000
16 at 140; Tr, July 10, 2000 at 174; Tr. July 11, 2000 at 62; Tr. July 11, 2000 at 83; Tr.
17 July 12, 2000 at 9; Tr. July 12, 2000 at 30; Tr. July 12, 2000 at 82 (“THE COURT:
18 We are back on the record. We talked about several things.”); Tr. July 13, 2000 at
19 75; Tr. July 17, 2000 at 144; Tr. July 17, 2000 at 224; Tr. July 18, 2000 at 31 (“THE
20 COURT: Okay. If you will stick around, we will informally go over the forms of
21 verdict. MS. VANDREUMEL: Thank you, Judge.”); Tr. July 20, 2000 at 2; Tr. July
22 20, 2000 at 3.) The specific contents of these bench conferences is, of course,
23 unknown, but a review of the record surrounding the conferences suggests that they
24 included discussions regarding whether the State could impeach its own witnesses,
25 whether testimony from the victim was hearsay and should be excluded (the
26 testimony was subsequently given), objections to juror questions, an issue with the
27 jury verdicts, and various unknown subjects.
28         Counsel were no more effective at ensuring that a complete record of
                                              418
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 435 of 500



 1 proceedings was made during Kiles’s penalty phase. There were again numerous
 2 off-the-record bench conversations. (See Tr. Mar. 20, 2006 at 178; Tr. Mar. 21,
 3 2006 at 66; Tr. Mar. 21, 2006 at 98; Tr. Mar. 22, 2006 at 7; Tr. Mar. 22, 2006 at 27;
 4 Tr. Mar. 22, 2006 at 79; Tr. Mar. 23, 2006 at 31; Tr. Mar. 23, 2006 at 60; Tr. Mar.
 5 29, 2006 at 54; Tr. Apr. 3, 2006 at 6; Tr. Apr. 3, 2006 at 76; Tr. Apr. 4, 2006 at 3–
 6 4; Tr. Apr. 4, 2006 at 5–6; Tr. Apr. 12, 2006 at 30; Tr. Apr. 26, 2006 at 23; Tr. Apr.
 7 27, 2006 at 50; Tr. May 11, 2006 at 87–88; Tr. May 16, 2006 at 45.) Some of these
 8 bench conferences may have been about juror questions, hearsay objections, and
 9 the admission of exhibits, but for the majority of these off-the-record discussions,
10 their content is entirely opaque. Because the preserved record was so far from
11 complete, appellate counsel had little idea what happened at numerous important
12 points during the proceedings below. This prevented Kiles from receiving effective
13 assistance of appellate counsel and meaningful appellate review of key issues raised
14 at trial.
15                 4.   Trial counsel failed to ensure conferences on jury
                        instructions were on the record.
16
17         One example from the guilt-phase trial highlights the difficulties created by
18 a Swiss-cheese record. There were a series of informal conferences about the jury
19 instructions at the guilt-phase proceeding. The judge stated on the record, “The
20 record will show that I have been meeting informally with counsel and the
21 defendant has been here regarding the process of arriving at jury instructions that
22 are still in progress, but I think we can make a record at this point.” (Tr. July 18,
23 2000 at 2.) However, defense counsel were ineffective for not ensuring the
24 conferences themselves were on the record. Without a complete record, appellate
25 counsel was unable to effectively challenge any issues raised regarding jury
26 instructions.
27         These off-the-record conferences may have ultimately led to a problem with
28 the verdict. After the judge received the verdict from the jury, he announced:
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 436 of 500



 1                THE COURT: Ladies and gentlemen, the possibility
                  exists—and I and the attorneys aren’t sure that you
 2                misunderstood the numerical part of the calculations of the
 3                verdict, so what I’m going to do is ask you to go back down
                  to the jury room and the attorneys and I will meet and
 4                discuss it further. We may be resubmitting that portion of
                  the verdict to you for your further deliberation, because our
 5                instructions may not have been all that great. I’ll have you
 6                go back down with Ms. Robbins and go back down to the
                  jury room and we’ll proceed. Counsel wish to meet in
 7                chambers to discuss this?
 8                MR. CLARK: Yes.
 9 (Tr. July 20, 2000 at 3.) A problem with jury instructions and verdicts in the guilt-
10 phase proceeding would be a proper issue for appellate review. This is especially
11 critical in a capital case, where the reliability of verdicts is of utmost importance.
12 Unfortunately, defense counsel’s ineffectiveness at ensuring the conferences were
13 on the record before and after the verdict forms were submitted to the jury precluded
14 meaningful review of the issue.
15         B.     Counsel’s ineffectiveness for failing to ensure a complete record
                  violated Kiles’s rights.
16         “As any effective appellate advocate will attest, the most basic and
17 fundamental tool of his profession is the complete trial transcript, through which
18 his trained fingers may leaf and his trained eyes may roam in search of an error, a
19 lead to an error, or even a basis upon which to urge a change in an established and
20 hitherto accepted principle of law.” Hardy v. United States, 375 U.S. 277, 288
21 (1964) (Goldberg, J., concurring). The Supreme Court has made clear that an
22 indigent defendant has both due-process and equal-protection rights to the “basic
23 tools” of a constitutionally complete and adequate judicial review—a
24 constitutionally effective attorney acting as an advocate, e.g., Strickland, 466 U.S.
25 at 684–85; Evitts v. Lucey, 469 U.S. 387 (1985), and a record that will permit
26 meaningful, effective presentation of his claims, e.g., Griffin v. Illinois, 351 U.S.
27 12, 18–19 (1956).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 437 of 500



 1         In the death-penalty context, the opportunity to have “meaningful appellate
 2 review” is especially crucial “in ensuring that the death penalty is not imposed
 3 arbitrarily or irrationally.” Parker, 498 U.S. at 321. There must be a “‘record of
 4 sufficient completeness,’ for adequate consideration of the errors assigned.” Draper
 5 v. Washington, 372 U.S. 487, 497 (1963) (quoting Coppedge v. United States, 369
 6 U.S. 438, 446 (1962)). In the absence of a “complete verbatim transcript,” a “record
 7 of sufficient completeness” must include an “equivalent report of the events at trial
 8 from which the appellant’s contentions arise.” Mayer v. City of Chicago, 404 U.S.
 9 189, 194 (1971) (quoting Draper, 372 U.S. at 495–96).
10         Because Kiles has no way of knowing what was discussed at the many
11 unrecorded bench conferences throughout his proceedings, he could not previously
12 and cannot here raise constitutional claims arising out of those discussions. For
13 example, courts have held that prejudicial comments made by the judge during a
14 bench conference and overheard by the jury could be cause for a mistrial. See, e.g.,
15 Coast-to-Coast Stores, Inc. v. Womack-Bowers, Inc., 818 F.2d 1398, 1402 (8th Cir.
16 1987) (stating that the district court judge’s comments made during a bench
17 conference, “if overheard by the jury, constituted prejudicial error” and would have
18 been grounds for mistrial if properly presented to the district court (emphasis
19 omitted)). But, on this incomplete and insufficient record, there is no way of
20 knowing whether this or other errors of constitutional magnitude occurred during
21 Kiles’s trial. Trial counsel’s failure to object to the lack of recording was deficient
22 performance. See Strickland, 466 U.S. at 688. Further, trial counsel’s failure to
23 maintain a complete and proper record of the voir dire proceedings, including why
24 each juror was excluded, has prevented Kiles from effectively raising certain claims
25 regarding the death-qualification of jurors, the exclusion of jurors based on race in
26 his guilt-phase proceedings under Batson, 476 U.S. at 79, and other potential issues
27 related to voir dire. (See, e.g., Tr. Mar. 8, 2006 at 2–3); see also Claim 4, supra.
28         Throughout Kiles’s proceedings, trial counsel consistently, and therefore
                                              421
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 438 of 500



 1 ineffectively, failed to preserve these crucial pieces of the record. This prejudiced
 2 Kiles, because it has deprived and continues to deprive him of an adequate and
 3 complete review and undermines confidence in the reliability of his proceedings.
 4 See Strickland, 466 U.S. at 694. Kiles is therefore entitled to relief.
 5                                     Claim Seventeen
 6         Capital punishment is per se cruel and unusual.
 7         Capital punishment is per se cruel and unusual, in violation of the Eighth and
 8 Fourteenth Amendments to the U.S. Constitution. Kiles incorporates by specific
 9 reference all facts, allegations, and arguments made elsewhere in this Petition.
10         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 94.) The Arizona
11 Supreme Court noted in the Appendix to its Opinion that this claim was preserved
12 and had previously been rejected. State v. Kiles, 213 P.3d 174, 192 (Ariz. 2009).
13 That notation does not constitute an adjudication on the merits, so the limitations
14 on relief laid out by 28 U.S.C. § 2254(d) do not apply to this Court’s review of this
15 claim. Even if noting this issue in the Appendix does qualify as a decision on the
16 merits, the state court’s denial of this claim was (1) contrary to, or involved an
17 unreasonable application of, clearly established federal law, and (2) based on an
18 unreasonable determination of the facts. 28 U.S.C. § 2254(d). Section 2254(d) thus
                           194
19 places no bar on relief.
20       The Eighth Amendment precludes the imposition of punishments that are
21 “cruel and unusual” as assessed according to the “evolving standards of decency
22 that mark the progress of a maturing society.” Trop v. Dulles, 356 U.S. 86, 100–01
23 (1958). In 1976, the Supreme Court held the “the death penalty is not a form of
24 punishment that may never be imposed,” on the assumption that the penalty could
25 further “two principal social purposes,” namely retribution and deterrence. Gregg
26 v. Georgia, 428 U.S. 153, 183, 187 (1976) (joint opinion of Stewart, Powell, and
27
   194
       To conserve space and avoid unnecessary repetition, Kiles will incorporate this
28 discussion of the applicability of § 2254(d) into subsequent claims as appropriate.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 439 of 500



 1 Stevens, JJ.). Since that time, however, scholarship and empirical work has
 2 emerged eroding these two justifications for capital punishment. See, e.g., Carol S.
 3 Steiker, No, Capital Punishment Is Not Morally Required: Deterrence, Deontology,
 4 and the Death Penalty, 58 Stan. L. Rev. 751, 766–76, 786–89 (2005); John J.
 5 Donohue & Justin Wolfers, Uses and Abuses of Empirical Evidence in the Death
 6 Penalty Debate, 58 Stan. L. Rev. 791, 794 (2005). Because the death penalty serves
 7 neither retribution nor deterrence, and given the evolving standards of decency, the
 8 death penalty is unconstitutional.
 9         In addition, the death penalty is cruel for two reasons: it is both unreliable
10 and arbitrarily imposed. First, in spite of the need for heightened reliability in a
11 proceeding when a sentence of death is at stake, see Woodson v. North Carolina,
12 428 U.S. 280, 305 (1976), capital punishment is unreliable because of the
13 significant risk that an innocent person will be sentenced to death or even executed.
14 See Glossip v. Gross, 135 S. Ct. 2726, 2757 (2015) (Breyer, J., dissenting). Between
15 1989 and 2012, there were 115 exonerations from capital convictions; there were
16 six more based on actual innocence in 2014 alone. Id. Research suggests that 4.1%
17 of the people on death row are actually innocent. See id. at 2758 (citing Samuel R.
18 Gross et al., Rate of False Conviction of Criminal Defendants Who Are Sentenced
19 to Death, 111 Proc. of the Nat’l Acad. of Sci. 7230 (2014)). Moreover, there is
20 compelling evidence that innocent individuals have in fact been executed. See, e.g.,
21 David Grann, Trial by Fire: Did Texas Execute an Innocent Man?, The New Yorker
22 (Sept. 7, 2009), http://www.newyorker.com/magazine/2009/09/07/trial-by-fire.
23         Capital punishment is also unreliable because it is frequently imposed on
24 people whose impairments make them insufficiently culpable for such a sentence.
25 The Supreme Court has held that the death penalty cannot be imposed on those
26 without extreme culpability. See Atkins v. Virginia, 536 U.S. 304, 319 (2002).
27 Those who are impaired as the result of mental illness, intellectual limitation, child
28 abuse, substance addiction, or other deprivation have lessened moral culpability.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 440 of 500



 1 See, e.g., Steiker, supra, at 766–67; see also, e.g., California v. Brown, 479 U.S.
 2 538, 545, (1987) (O’Connor, J., concurring) (“evidence about the defendant’s
 3 background and character is relevant because of the belief, long held by this society,
 4 that defendants who commit criminal acts that are attributable to a disadvantaged
 5 background, or to emotional and mental problems, may be less culpable than
 6 defendants who have no such excuse”). Even so, people whose impairments make
 7 them insufficiently culpable for capital punishment are routinely sentenced to death
 8 and executed, rendering the death penalty unreliable. See, e.g., Steiker, supra, at
 9 766–68.
10         Second, the death penalty is cruel because it is wholly arbitrary. The
11 imposition of the death penalty should turn on the crime and the offender’s
12 culpability; capital punishment is to be reserved for “those offenders . . . whose
13 extreme culpability makes them ‘the most deserving of execution.’” Roper v.
14 Simmons, 543 U.S. 551, 568 (2005) (quoting Atkins, 536 U.S. at 319). Instead,
15 research demonstrates that a number of irrelevant factors, including the race and
16 gender of the victim or defendant and the geographic location of the crime, have an
17 impermissible bearing on the probability of a death sentence. See, e.g., Steven F.
18 Shatz & Terry Dalton, Challenging the Death Penalty with Statistics: Furman,
19 McCleskey, and a Single County Case Study, 34 Cardozo L. Rev. 1227, 1244–56
20 (2013) (citing studies finding gender, racial, and geographic disparities in the
21 imposition of death sentences).
22         That the death penalty is both unreliable and turns on constitutionally
23 irrelevant factors renders it cruel. Cf. Furman v. Georgia, 408 U.S. 238, 309–10
24 (1972) (Stewart, J., concurring) (deeming “cruel and unusual” the “wanton[] and so
25 freakish[]” imposition of death sentences).
26         The death penalty has also become unusual. The number of death sentences,
27 the number of states that use the death penalty, and the number of executions
28 nationally have declined significantly over the last 15 years. See Glossip, 135 S. Ct.
                                             424
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 441 of 500



 1 at 2772–75. Perhaps most striking is the “consistency of the direction of change.”
 2 Atkins, 536 U.S. at 315. As a result, the vast majority of death sentences originate
 3 in just a handful of counties. See Glossip, 135 S. Ct. at 2774. Now, especially,
 4 geography “plays an important role in determining who is sentenced to death,” and
 5 “[b]etween 2004 and 2009, for example, just 29 counties (fewer than 1% of counties
 6 in the country) accounted for approximately half of all death sentences imposed
 7 nationwide.” See id. at 2761.
 8         The death penalty is cruel and unusual and incompatible with the evolving
 9 standards of decency; it is therefore unconstitutional. Accordingly, Kiles’s death
10 sentence is unconstitutional, and he is entitled to relief.
11                                      Claim Eighteen
12         Arizona’s death-penalty statute unconstitutionally serves no
           deterrent purpose, exceeds any legitimate retributive aim, is
13         without penological justification, and results in the gratuitous
14         infliction of suffering.

15         Because Arizona’s death-penalty statute serves no deterrent purpose, exceeds
16 any legitimate retributive aim, is without penological justification, and results in the
17 gratuitous infliction of suffering, the statute violates the Eighth and Fourteenth
18 Amendments to the U.S. Constitution. Kiles incorporates by specific reference all
19 facts, allegations, and arguments made elsewhere in this Petition.
20         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 97.) For the reasons
21 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) places no limitation on relief.
22         The Supreme Court recognized two potential “principal social purposes:
23 retribution and deterrence of capital crimes by prospective offenders.” Gregg, 428
24 U.S. at 183 (joint opinion of Stewart, Powell, and Stevens, JJ.). However, the Court
25 also declared that a “sanction imposed cannot be . . . totally without penological
26 justification.” Id. Unless the death penalty “measurably contributes to one or both
27 of the[] goals [of retribution and deterrence], ‘it is nothing more than the
28 purposeless and needless imposition of pain and suffering,’ and hence an
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 442 of 500



 1 unconstitutional punishment.” Enmund v. Florida, 458 U.S. 782, 798 (1982)
 2 (quoting Coker v. Georgia, 433 U.S. 584, 592 (1977) (plurality opinion)). Kiles’s
 3 death sentence serves neither of these purposes, particularly now, more than 28
 4 years after he was first sentenced to death. See Foster v. Florida, 537 U.S. 990
 5 (2002) (mem.) (Breyer, J., dissenting from denial of certiorari); Lackey v. Texas,
 6 514 U.S. 1045 (1995) (mem.) (Stevens, J., respecting denial of certiorari); see also
 7 supra, Claim 17; infra, Claim 34.
 8         First, the death penalty serves no deterrent value. The theory of deterrence
 9 assumes that humans will not commit a crime if the consequence of committing
10 that crime becomes too high. Frank G. Carrington, Deterrence, Death, and the
11 Victims of Crime: A Common Sense Approach, 35 Vand. L. Rev. 587, 588 (1982).
12 This deterrence theory assumes all individuals act rationally and will undertake a
13 cost/benefit analysis before acting. See Rudolph J. Gerber, Economic and Historical
14 Implications for Capital Punishment Deterrence, 18 Notre Dame J.L. Ethics & Pub.
15 Pol’y 437, 440 (2004). This assumption has proven faulty. Murders are often
16 committed by perpetrators who lack the capacity to act rationally, perhaps because
17 they are under the influence of alcohol or drugs, in a sudden fit of rage, or mentally
18 impaired. See Jeffrey Fagan, Death and Deterrence Redux: Science, Law and
19 Causal Reasoning on Capital Punishment, 4 Ohio St. J. Crim. L. 255, 276–77
20 (2006). Relatedly, even for potential perpetrators who might have the capacity to
21 be deterred, the arbitrariness of the imposition of the death penalty, the length of
22 time that elapses between the crime and any execution, and the real possibility that
23 no execution will ever occur wholly undercut any possible deterrent effect. See,
24 e.g., Glossip, 135 S. Ct. at 2767–68 (Breyer, J., dissenting); Coleman v. Balkcom,
25 451 U.S. 949 (1981) (mem.) (Stevens, J., respecting denial of certiorari)
26 (recognizing that an execution adds no deterrent value beyond that of the lengthy
27 incarceration that precedes it); see also Claim 19, infra.
28         Recent studies largely confirm that the death penalty has no measurable
                                             426
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 443 of 500



 1 deterrent effect. See Thomas E. Robins, Retribution, the Evolving Standard of
 2 Decency, and Methods of Execution: The Inevitable Collision in Eighth Amendment
 3 Jurisprudence, 119 Penn. St. L. Rev. 885, 897 (2015) (“[a] recent study conducted
 4 by the National Academy of Sciences found no evidence that capital punishment
 5 affected homicide rates”); Michael L. Radelet & Traci L. Lacock, Do Executions
 6 Lower Homicide Rates?: The Views of Leading Criminologists, 99 J. Crim. L. &
 7 Criminology 489, 489–90 (2009) (“The findings demonstrate an overwhelming
 8 consensus among these criminologists that the empirical research conducted on the
 9 deterrence question strongly supports the conclusion that the death penalty does not
10 add deterrent effects to those already achieved by long imprisonment.”).
11         Second, the death penalty does not measurably advance any legitimate
12 retributive goal. That it is regularly imposed on individuals with mild or borderline
13 intellectual disability, organic brain damage, severe mental illness, and other forms
14 of mental impairments—individuals such as Kiles—demonstrate as much, given
15 the lessened culpability of such individuals. See Atkins, 536 U.S. at 319
16 (recognizing that mentally impaired offenders are less culpable and therefore less
17 deserving of retribution); see also, e.g., Ex parte Moore, 548 S.W.3d 552 (Tex.
18 Crim. App. 2018) (deeming petitioner not intellectually disabled, and so not exempt
19 from death penalty, despite—as acknowledged in the dissent—broad consensus
20 otherwise); Frank R. Baumgartner & Betsy Neill, Does the death penalty target
21 people who are mentally ill? We checked, Wash. Post, Apr. 3 2017, https://
22 www.washingtonpost.com/news/monkey-cage/wp/2017/04/03/does-the-death-pen
23 alty-target-people-who-are-mentally-ill-we-checked/?noredirect=on&utm_term=.
24 c64ca4c30c28 (describing a study which found that “43 percent of inmates executed
25 between 2000 and 2015 had received a mental illness diagnosis at some point in
26 their lives”); see also Bob Taft and Joseph E. Kernan, End the death penalty for
27 mentally ill criminals, Wash. Post, Mar. 24 2017, https://www.washingtonpost.
28 com/opinions/end-the-death-penalty-for-mentally-ill-criminals/2017/03/24/f0796
                                             427
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 444 of 500



 1 74e-0506-11e7-b1e9-05d3c21f7cf_story.html?Noredirect=on&utm_term=.20f93
 2 2350b6d (describing that recently executed prisoners include a man diagnosed with
 3 bipolar disorder and placed on lithium at age four and a decorated Vietnam War
 4 veteran who qualified for 100 percent disability because of his PTSD and bipolar
 5 disorder).
 6         And, as with deterrence, the marginal retributive value of execution over a
 7 sentence of life imprisonment is negligible at best. See Glossip, 135 S. Ct. at 2769.
 8 Finally, any interest in retribution is eroded by the time that passes between the
 9 crime and the ultimate punishment. See Knight v. Florida, 528 U.S. 990 (1999)
10 (mem.) (Breyer, J., dissenting from denial of certiorari) (“[The] longer the delay,
11 the weaker the justification for imposing the death penalty in terms of punishment’s
12 basic retributive or deterrent purposes.”).
13         The “pointless and needless extinction of life with only marginal
14 contributions to any discernible social or public purposes . . . [is] patently excessive
15 and . . . violative of the Eighth Amendment.” Furman, 408 U.S. at 312 (White, J.,
16 concurring). As the death penalty, including in Arizona, serves no cognizable
17 penological end, it amounts to the infliction of gratuitous suffering and violates the
18 Eighth and Fourteenth Amendments. Accordingly, Kiles’s sentence is
19 unconstitutional, and he is entitled to relief.
20                                      Claim Nineteen
21         Arizona’s capital-sentencing scheme unconstitutionally does not
           genuinely narrow the murder cases eligible for the death penalty
22         and fails to channel the discretion of the sentencing jury.
23         Because Arizona’s capital-sentencing scheme does not genuinely narrow the
24 murder cases eligible for the death penalty and fails to channel the discretion of the
25 sentencing jury, it is arbitrary and irrational and violates the Eighth and Fourteenth
26 Amendments to the U.S. Constitution. Kiles incorporates by specific reference all
27 facts, allegations, and arguments made elsewhere in this Petition.
28         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 95.) For the reasons
                                              428
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 445 of 500



 1 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) does not limit relief.
 2         Arizona’s death-penalty statute makes nearly everyone involved in a murder
 3 eligible for the death penalty. See A.R.S. § 13-1105. Further, Arizona’s aggravating
 4 circumstances sweep broadly and fail to guide the sentencing jury in selecting who
 5 should receive the death penalty. See A.R.S. § 13-703(F) (1988).195 As a result, the
 6 capital-sentencing statute fails to narrow the class of death-eligible persons, to
 7 reasonably justify the imposition of a harsher penalty, and to channel the
 8 sentencer’s discretion in imposing the death penalty. Thus, in Arizona, the
 9 distinction between capital and non-capital cases is not meaningful but is instead
10 unconstitutionally arbitrary and irrational.
11         In Furman, the Supreme Court declared that a capital-sentencing scheme is
12 unconstitutional when it provides “no meaningful basis for distinguishing the few
13 cases in which [death] is imposed from the many cases in which it is not.” 408 U.S.
14 at 313 (White, J., concurring). “Furman mandates that where discretion is afforded
15 a sentencing body on a matter so grave as the determination of whether a human
16 life should be taken or spared, that discretion must be suitably directed and limited
17 so as to minimize the risk of wholly arbitrary and capricious action.” Gregg, 428
18 U.S. at 189 (joint opinion of Stewart, Powell, and Stevens, JJ.).
19         For the death penalty to be constitutional, the legislature must establish a
20 narrowing process. See id. at 207 (the selection of who can be prosecuted and
21 ultimately sentenced to death “[must] always [be] circumscribed by . . . legislative
22 guidelines”); Lowenfield v. Phelps, 484 U.S. 231, 246 (1988) (the “legislature”
23 must provide a means of “narrow[ing] the class of death-eligible murderers”). “Part
24 of a State’s responsibility in this regard is to define the crimes for which death may
25 be the sentence in a way that obviates ‘standardless [sentencing] discretion.’”
26 Godfrey v. Georgia, 446 U.S. 420, 428 (1980) (alteration in original) (quoting
27
   195
       The current version, at A.R.S. § 13-751(F), includes additional aggravating
28 circumstances.
                                             429
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 446 of 500



 1 Gregg, 428 U.S. at 196 n.47 (joint opinion of Stewart, Powell, and Stevens, JJ.)).
 2 Ultimately, “[t]o pass constitutional muster, a capital sentencing scheme must
 3 ‘genuinely narrow the class of persons eligible for the death penalty and must
 4 reasonably justify the imposition of a more severe sentence on the defendant
 5 compared to others found guilty of murder.’” Lowenfield, 484 U.S. at 244 (quoting
 6 Zant v. Stephens, 462 U.S. 862, 877 (1983)); see also Brown v. Sanders, 546 U.S.
 7 212, 216 (2006) (explaining the Supreme Court has “required States to limit the
 8 class of murderers to which the death penalty may be applied.”)
 9         Arizona’s statute violates these mandates. While narrowing can occur with
10 either the defining of death-eligible murder or the requirement of aggravating
11 circumstances that apply to only a fraction of murders, Arizona’s statute features
12 neither approach. First, the narrowing process does not occur with Arizona’s
13 definition of death-eligible murders. Under Arizona law, first-degree murder is
14 comprised of a broad range of conduct, including intentional killings, knowing
15 killings, premeditated killings, and killings committed in the course of numerous
16 other crimes. See A.R.S. § 13-1105(A). This “pool” of crimes initially eligible to
17 be charged as capital crimes is so broadly defined that it encompasses the vast
18 majority of murders actually committed. This is seen both through a reading of the
19 statute, which fails to meaningfully distinguish between first-degree murder and
20 second-degree murder, and through a review of actual cases, which demonstrates
21 that almost all murders in Arizona qualify as first-degree murder. See Hidalgo v.
22 Arizona, 138 S. Ct. 1054, 1055 (2018) (mem.) (Breyer, J., respecting denial of
23 certiorari) (“Perhaps not surprisingly, Arizona did not argue below and does not
24 suggest now that the State’s first-degree murder statute196 alone can meet the Eighth
25
     196
26     The homicide statute and the section of the capital-punishment statute on
   aggravating circumstances have been modified since 1988 but are largely
27 unchanged. While not every aggravating circumstance relied upon in Hidalgo
   existed in the statute under which Kiles was sentenced, the vast majority did,
28 including the particularly broad-reaching circumstance that applies when “[t]he
                                             430
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 447 of 500



 1 Amendment’s narrowing requirement.”).
 2         The narrowing function, then, is ostensibly performed by the aggravating
 3 circumstances; a jury must find at least one to make a first-degree-murder defendant
 4 death-eligible. See id. (“Because Arizona law broadly defines capital murder, the
 5 State has sought to comply with the narrowing requirement through the second
 6 method—namely, by setting forth statutory ‘aggravating circumstances’ designed
 7 to permit the ‘jury . . . at the penalty phase’ to make ‘findings’ that will narrow the
 8 legislature’s broad definition of the capital offense.” (quoting Lowenfield, 484 U.S.
 9 at 246)). However, Arizona’s aggravating circumstances are so expansive that they
10 do not meaningfully separate out the group of defendants whose crimes are so
11 egregious they should be eligible for the death penalty. See Hidalgo, 138 S. Ct. at
12 1056 (mentioning unrebutted evidence that “‘one or more aggravating
13 circumstances were present in’” 98 percent of first-degree murder defendants
14 prosecuted between 2002 and 2012 in Maricopa County, Arizona (quoting State v.
15 Hidalgo, 390 P.3d 783, 789 (Ariz. 2017)). Moreover, individual aggravating
16 circumstances cover a wide swath of conduct. See, e.g., Claim 30, infra.
17 Accordingly, Arizona’s aggravating circumstances do not serve to narrow the pool
18 of death-eligible murders.
19         Where there is no meaningful basis to distinguish between those first-degree
20 murder defendants who do receive the death penalty and those who do not, and a
21 sentencer’s discretion to impose the death penalty is not adequately channeled, the
22 imposition of the death penalty is arbitrary and irrational. Furman, 408 U.S. at 313.
23 Kiles’s sentence of death is arbitrary and irrational since he is not among the worst
24 criminals, for whom because of their “extreme culpability” the death penalty is
25 reserved. Simmons, 543 U.S. at 568. There is no rational, constitutionally
26 permissible basis for distinguishing Kiles’s case, or the few cases in which the death
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   defendant committed the offense in an especially heinous, cruel or depraved
28 manner.” See A.R.S. § 13-703(F)(6) (1988).
                                              431
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 448 of 500



 1 penalty has been imposed in Arizona and in the United States, from the majority of
 2 first-degree murder cases in which it has not been imposed. The arbitrary
 3 application of the death penalty in Kiles’s case amounts to cruel and unusual
 4 punishment in violation of the Eighth Amendment and violates his rights to a
 5 reliable sentence and due process under the Eighth and Fourteenth Amendments to
 6 the U.S. Constitution. See Glossip, 135 S. Ct. at 2755–56 (Breyer, J., dissenting);
 7 Jeffers v. Lewis, 38 F.3d 411, 425 (9th Cir. 1994) (en banc) (Noonan, J., dissenting)
 8 (“[T]he administration of the death penalty in Arizona is so arbitrary as to constitute
 9 cruel and unusual punishment . . . .”). Accordingly, Kiles’s death sentence is
10 unconstitutional, and Kiles is entitled to relief.
11                                      Claim Twenty
12         Arizona’s capital-sentencing scheme unconstitutionally affords the
           prosecutor unlimited discretion to seek the death penalty.
13
14         Because Arizona’s capital-sentencing scheme affords the prosecutor
15 unlimited discretion to seek the death penalty, it violates the Eighth and Fourteenth
16 Amendments to the U.S. Constitution. Kiles incorporates by specific reference all
17 facts, allegations, and arguments made elsewhere in this Petition.
18         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 96.) For the reasons
19 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) places no limitation on relief.
20         In Arizona, each prosecutor has the sole authority and complete discretion to
21 determine whether to seek the death penalty as a sentencing option, following his
22 or her unreviewable determination that one or more aggravating circumstances
23 exists. The prosecutor’s discretion is limited only by his or her individual whims as
24 to which cases are appropriate for the death penalty. See State v. Harding, 670 P.2d
25 383, 397 (Ariz. 1983). Further, each prosecutor has significant discretion to choose
26 whether to accept a plea deal in exchange for a sentence of life in each case. Here,
27 the prosecutor stated on the record that with regard to plea deals, “it’s my case; I
28 make the calls on it.” (Tr. Aug. 6, 1999 at 38–39.) Thus, whether a defendant is
                                              432
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 449 of 500



 1 offered a plea deal or sentenced to death may arbitrarily turn on such a factor as the
 2 prosecutor’s personal relationship with defense counsel, which may have occurred
 3 in this case,197 instead of on a constitutionally required determination based on “the
 4 character and record of the individual offender.” Eddings v. Oklahoma, 455 U.S.
 5 104, 112 (1982).
 6         Arizona’s scheme therefore allows arbitrary and capricious charging
 7 decisions and creates a substantial risk of variation between similar cases. Such
 8 “arbitrary and wanton” discretion in seeking a death sentence, see Woodson v.
 9 North Carolina, 428 U.S. 280, 303 (1976), leads to the “wanton[] and so freakish[]”
10 imposition of the death penalty, see Furman, 408 U.S. at 310 (Stewart, J.,
11 concurring).
12         That Arizona prosecutors have unbridled discretion, without objective
13 standards, to seek the death penalty—and to decide not to continue seeking the
14 death penalty—violates the Eighth and Fourteenth Amendments. See Godfrey, 446
15 U.S. at 428; Gregg, 428 U.S. at 195 n.47 (joint opinion of Stewart, Powell, and
16 Stevens, JJ.); Furman, 408 U.S. at 313 (White, J., concurring). Accordingly, Kiles’s
17 sentence is unconstitutional, and he is entitled to relief.
18                                    Claim Twenty-One
19         Arizona’s capital-sentencing scheme is unconstitutional because it
           does not require the State to prove, or the jury to find beyond a
20         reasonable doubt, that the aggravating factors outweighed the
21         mitigating circumstances.

22         Because Arizona’s capital-sentencing scheme does not require the State to
23 prove beyond a reasonable doubt that the aggravation outweighs the mitigation and
24 that the death penalty is the appropriate sentence, the scheme violates the Fifth,
25 Sixth, Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles
26
27   197
       Other impermissible considerations include race, the prosecutor’s career
   ambitions, and the wishes of the victims—the last of which may also have played a
28 role in this case.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 450 of 500



 1 incorporates by specific reference all facts, allegations, and arguments made
 2 elsewhere in this Petition.
 3           Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 96.) For the reasons
 4 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) places no limitation on relief.
 5           A.    The trial court’s penalty-phase instructional error regarding the
                   burden and standard of proof, derived from Arizona’s
 6                 unconstitutional statute, violated Kiles’s rights under clearly
 7                 established precedent.

 8           Before the jury may impose a death sentence, Arizona’s death-penalty statute
 9 requires the jury to find that aggravating circumstances outweigh mitigating
10 circumstances. However, Arizona’s capital-sentencing scheme does not specify
11 either which party bears the burden of proof or what the appropriate standard of
12 proof is with regard to the weighing of aggravating and mitigating circumstances.
13 See A.R.S. § 13-751(E). The trial court in Kiles’s case accordingly instructed the
14 jurors only that they “decide whether there is mitigation that is sufficiently
15 substantial to call for leniency.” (Tr. May 22, 2006 at 24.) At no point did the trial
16 court instruct the jury about a burden of persuasion with regard to the weighing of
17 aggravating and mitigating circumstances. (See Tr. May 22, 2006 at 14–26.) Like
18 Arizona’s statute, the jury instructions therefore relieved the prosecutor of his
19 burden of proving beyond a reasonable doubt that the mitigation was not
20 sufficiently substantial to call for leniency. By extension, the instructions also
21 relieved the jury of having to determine beyond a reasonable doubt that the death
22 penalty was the appropriate punishment. This violated Kiles’s clearly established
23 rights.
24           The Supreme Court has repeatedly held that “any fact (other than prior
25 conviction) that increases the maximum penalty for a crime must be charged in an
26 indictment, submitted to a jury, and proven beyond a reasonable doubt.” Jones v.
27 United States, 526 U.S. 227, 243 n.6 (1999); see also Apprendi v. New Jersey, 530
28 U.S. 466, 476 (2000) (applying this principle to states through the Fourteenth
                                               434
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 451 of 500



 1 Amendment). The Court reaffirmed this principle in the capital context in Ring v.
 2 Arizona: “If a State makes an increase in a defendant’s authorized punishment
 3 contingent on the finding of a fact, that fact—no matter how the State labels it—
 4 must be found by a jury beyond a reasonable doubt.” 536 U.S. 584, 602 (2002); see
 5 also id. at 610 (Scalia, J., concurring) (“[T]he fundamental meaning of the jury-trial
 6 guarantee of the Sixth Amendment is that all facts essential to imposition of the
 7 level of punishment that the defendant receives—whether the statute calls them
 8 elements of the offense, sentencing factors, or Mary Jane—must be found by the
 9 jury beyond a reasonable doubt.”). Because aggravating circumstances must be
10 found to outweigh mitigating circumstances before a death sentence can be imposed
11 in Arizona, under Ring and its antecedents, that weighing is a fact that must be
12 found by a jury beyond a reasonable doubt. See Murdaugh v. Ryan, 724 F.3d 1104,
13 1115 (9th Cir. 2013) (“In [Ring], the Supreme Court described several
14 determinations that had to occur under Arizona law before a defendant became
15 death-eligible, including the judge’s determination that ‘there are no mitigating
16 circumstances sufficiently substantial to call for leniency.’”).
17         The accuracy of Kiles’s position on appeal was made explicit when the
18 Supreme Court decided Hurst v. Florida, 136 S. Ct. 616 (2016), in which the Court
19 held that the failure to require a jury to determine the relative weight of aggravating
20 and mitigating circumstances beyond a reasonable doubt violates the Sixth
21 Amendment right to a jury trial as well as the Fourteenth Amendment’s Due Process
22 Clause. The Court reiterated the Sixth Amendment’s basic requirement that “any
23 fact that ‘expose[s] the defendant to a greater punishment than that authorized by
24 the jury’s guilty verdict’ is an ‘element’ that must be submitted to the jury.” Id. at
25 621 (quoting Apprendi, 530 U.S. at 494). The Court also emphasized that under
26 Ring, this principle applies with equal force to death-penalty statutes: “The Sixth
27 Amendment requires a jury, not a judge, to find each fact necessary to impose a
28 sentence of death.” Id. at 619. The Court further recognized that under Alleyne v.
                                              435
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 452 of 500



 1 United States, 133 S. Ct. 2151, 2156 (2013), “each element of a crime [must] be
 2 proved to a jury beyond a reasonable doubt.” Hurst, 136 S. Ct. at 621;
 3 see also Apprendi, 530 U.S. at 498 (Scalia, J., concurring) (stating that charges
 4 against the accused, and the corresponding maximum exposure he faces, must be
 5 determined “beyond a reasonable doubt by the unanimous vote of 12 of his fellow
 6 citizens”).
 7         In Hurst, the State of Florida argued that the weighing process fell outside
 8 the ambit of Ring and Apprendi, as the defendant was death eligible after the jury
 9 found at least one aggravating circumstance. Hurst, 136 S. Ct. at 622. The Court
10 rejected this contention, and Hurst therefore stated what earlier Sixth Amendment
11 precedent had already established: It is not constitutionally sufficient for a jury to
12 find the existence of at least one aggravating circumstance beyond a reasonable
13 doubt, because the determination regarding the relative weight of aggravating and
14 mitigating circumstances is also a factual finding necessary to a defendant’s
15 eligibility for a sentence of death. Id.; see also Rauf v. State, 145 A.3d 430 (Del.
16 2016) (per curiam) (striking down Delaware’s capital sentencing scheme on the
17 basis of Hurst and determining that the Sixth Amendment requires a jury to find,
18 beyond a reasonable doubt, each aggravating circumstance and that the aggravation
19 outweighs mitigation); Hurst v. State, 202 So.3d 40, 57 (Fla. 2016) (finding that
20 Hurst “mandates that all the findings necessary for the imposition of a death
21 sentence are ‘elements’ that must be found by a jury” and holding that “before the
22 trial judge may consider imposing a sentence of death, the jury in a capital case
23 must . . . unanimously find that the aggravating factors outweigh the mitigating
24 circumstances”).
25         Hurst built upon Ring and Apprendi but did not create new law.
26 Section 2254(d)(1) is no bar to relief, because the state court’s failure to recognize
27 the violation of Kiles’s rights was an unreasonable application of clearly established
28 federal law, and Kiles is entitled to relief.
                                              436
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 453 of 500



 1         B.    If Hurst instead announced a new rule of constitutional law, it is
                 retroactive to cases on collateral review.
 2
 3         In the alternative, if Hurst did not simply apply existing precedent and instead
 4 created a new rule of constitutional law, that ruling applies retroactively on
 5 collateral review. But see Ybarra v. Filson, 869 F.3d 1016, 1033 (9th Cir. 2017).
 6 First, Hurst is retroactive because it is substantive. See Montgomery v. Louisiana,
 7 136 S. Ct. 718, 728 (2016) (explaining that under Teague v. Lane, 489 U.S. 288
 8 (1989), “courts must give retroactive effect to new substantive rules of
 9 constitutional law”). The Supreme Court consistently held that decisions
10 establishing a requirement of proof beyond a reasonable doubt apply retroactively.
11 See Hankerson v. North Carolina, 432 U.S. 233 (1977); Ivan V. v. City of New York,
12 407 U.S. 203, 205 (1972) (per curiam). Under Teague’s framework, rules about the
13 standard of proof are retroactive because they lessen the “risk that a
14 defendant . . . faces a punishment that the law cannot impose upon him.” Schriro v.
15 Summerlin, 542 U.S. 348, 351–52 & n.4 (2004); cf. In re Winship, 397 U.S. 358,
16 363 (1970). Hurst, which implicates the standard of proof by which the weighing
17 finding must be made, is similarly substantive in nature and therefore retroactive.
18         Further, Hurst is substantive because it prohibits the death penalty—a
19 category of punishment—for those made eligible for the penalty other than by a
20 jury finding beyond a reasonable doubt that aggravation outweighs mitigation—a
21 class of defendants. See Montgomery, 136 S. Ct. at 728. Hurst also imposes a new
22 burden on the State whenever it seeks a death sentence and places that punishment
23 outside the power of the State unless that burden has been met. See Summerlin, 542
24 U.S. at 352 (describing “substantive” rules as those that put particular punishments
25 beyond the power of the State to impose). Finally, Hurst narrowed the scope of
26 Arizona’s capital sentencing statute, which does not impose any standard of proof
27 on a capital jury’s weighing determination, by making it more difficult for juries to
28 return death verdicts. See id. at 351 (describing “substantive” rules as those that
                                              437
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 454 of 500



 1 “narrow the scope of a criminal statute by interpreting its terms”).
 2         Even if procedural and not substantive, Hurst’s beyond-a-reasonable-doubt
 3 holding would constitute a “watershed” procedural rule under Teague. See Powell
 4 v. State, 153 A.3d 69, 74–75 (Del. 2016) (finding retroactive its prior decision in
 5 Rauf, which invalidated Delaware’s death penalty statute under Hurst, because it
 6 fell “squarely within the second exception set forth in Teague requiring retroactive
 7 application of ‘new rules’ of criminal procedure”). This is because Hurst
 8 “implicate[s] the fundamental fairness and accuracy,” of sentencing. Welch, 136 S.
 9 Ct. at 1264. Hurst does so by mandating the use of the beyond-a-reasonable-doubt
10 standard, which “is a prime instrument for reducing the risk of convictions resting
11 on factual error.” Ivan, 407 U.S. at 204 (quoting Winship, 397 U.S. at 363–64).
12 Hurst, if deemed procedural, would therefore constitute a watershed new rule and
13 would be retroactive. Accordingly, if the Court finds that Hurst announced a new
14 rule of constitutional law, it applies retroactively to Kiles’s case.
15         C.     Conclusion
16         The statutorily driven failure to instruct Kiles’s jury on the proper burden of
17 proof is structural error not subject to harmlessness review. See Sullivan v.
18 Louisiana, 508 U.S. 275, 281 (1993) (refusing to apply harmless-error analysis
19 where trial court erred in describing burden of proof in a criminal case, reasoning
20 that “a misdescription of the burden of proof . . . vitiates all the jury’s findings”).
21 Even if the error was not structural, Kiles was prejudiced. See Valerio v. Crawford,
22 306 F.3d 742, 763 (9th Cir. 2002) (noting that the inquiry under Brecht v.
23 Abrahamson, 507 U.S. 619, 637–38 (1993), is whether “a single member of the
24 jury . . . could have” found in favor of the petitioner). The jury instructions in this
25 case violated Kiles’s rights, and Arizona’s statute is unconstitutional. Under any
26 construction of the import of Hurst, Kiles is entitled to relief.
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                                              438
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 455 of 500



 1                                  Claim Twenty-Two
 2         Arizona’s capital-sentencing scheme unconstitutionally requires a
           defendant to affirmatively prove that the jury should spare his life.
 3
 4         Arizona’s death-penalty statute creates a presumption that death is the
 5 appropriate sentence and forces the defendant to affirmatively prove that the jury
 6 should spare his life, in violation of the Fifth, Eighth, and Fourteenth Amendments
 7 to the U.S. Constitution. Kiles incorporates by specific reference all facts,
 8 allegations, and arguments made elsewhere in this Petition.
 9         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 95.) For the reasons
10 stated in Claim 17, supra, 28 U.S.C. § 2254(d) does not limit relief.
11         Arizona law required Kiles to prove mitigating circumstances by a
12 preponderance of the evidence before the sentencing jury could rely on those
13 circumstances to spare his life. See A.R.S. § 13-751(C); (Tr. May 22, 2006 at 18);
14 see also State v. Ramirez, 871 P.2d 237, 252–53 (Ariz. 1994) (requiring the
15 defendant to prove mitigating evidence by a preponderance of the evidence before
16 the sentencer may “accept[]” the evidence as mitigating). Further, Arizona law
17 required the jury to weigh the aggravation against the mitigation and determine
18 whether the mitigation was “sufficiently substantial” before deciding whether to
19 impose a death sentence. See Richmond v. Lewis, 506 U.S. 40, 47 (1992). In effect,
20 then, Arizona law required the jury to presume that death was the appropriate
21 sentence for Kiles and for him to prove that it was not.198
22         However, the Eighth Amendment demands a heightened degree of
23 “reliability in the determination that death is the appropriate punishment in a
24 specific case.” Woodson, 428 U.S. at 305 (joint opinion of Stewart, Powell, and
25 Stevens, JJ.). That reliability is undermined when a jury is instructed to presume
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27   198
      Arizona’s capital statute also requires a sentence of death when one aggravating
   circumstance is proven and no sufficiently substantial mitigation is proven, see
28 A.R.S. § 13-751(E), further entrenching the presumption in favor of death.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 456 of 500



 1 that death is appropriate. See Walton v. Arizona, 497 U.S. 639, 687–88 (1990)
 2 (Blackmun, J., dissenting) (recognizing that, with the statutory presumption of
 3 death, imposing a death sentence may “run[] directly counter to the Eighth
 4 Amendment requirement” of reliability set out in Woodson), overruled on other
 5 grounds by Ring, 536 U.S. at 584.
 6           In Kansas v. Marsh, 548 U.S. 163 (2006), the Supreme Court indirectly
 7 questioned the constitutionality of Arizona’s death-penalty statute when it upheld
 8 the Kansas statute, which permitted a death sentence when the aggravating and
 9 mitigating circumstances were in equipoise. The Court noted that Arizona’s statute
10 is comparable to that of Kansas, except that Arizona, “once the State has met its
11 burden, tasks the defendant with the burden of proving sufficient mitigating
12 circumstances to overcome the aggravating circumstances and that a sentence less
13 than death is therefore warranted.” Id. at 173. Unlike Arizona’s statute, “the Kansas
14 statute requires the State to bear the burden of proving to the jury, beyond a
15 reasonable doubt, that aggravators are not outweighed by mitigators and that a
16 sentence of death is therefore appropriate; it places no additional evidentiary burden
17 on the capital defendant.” Id. The Court noted that “[t]his distinction operates in
18 favor of Kansas capital defendants,” and in light of this distinction, the Court upheld
19 Kansas’s statute as constitutional. Id.
20           Without such safeguards, Arizona’s capital-sentencing scheme cannot ensure
21 the requisite reliability, and accordingly, it violated Kiles’s rights under the Fifth,
22 Eighth, and Fourteenth Amendments to the U.S. Constitution. See Woodson, 428
23 U.S. at 305; Patterson v. New York, 432 U.S. 197, 210–11 (1977). But see Walton,
24 497 U.S. at 651–52. Kiles’s sentence is unconstitutional, and he is entitled to habeas
25 relief.
26                                  Claim Twenty-Three
27           Arizona’s capital-sentencing scheme unconstitutionally fails to
             require the cumulative consideration of mitigation.
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                                              440
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 457 of 500



 1         Arizona’s capital-sentencing scheme violates the Eighth and Fourteenth
 2 Amendments to the U.S. Constitution because it does not require the cumulative
 3 consideration of mitigation. Kiles incorporates by specific reference all facts,
 4 allegations, and arguments made elsewhere in this Petition.
 5         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 96.) For the reasons
 6 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) does not bar relief.
 7         The Eighth Amendment requires that a sentencer “be able to consider and
 8 give effect to” all mitigating evidence when making its sentencing determination.
 9 Penry v. Lynaugh, 492 U.S. 302, 319 (1989) (emphasis added), abrogated on other
10 grounds by Atkins, 536 U.S. at 304. “[E]ven if [specific mitigating facts] are not in
11 themselves cause for a sentence less than death, they are still relevant to mitigation
12 and must be weighed in conjunction with other factors to determine if all of the
13 circumstances together warrant a lesser sentence.” Smith v. McCormick, 914 F.2d
14 1153, 1168 (9th Cir. 1990).
15         At trial, the court instructed the jury that its sentencing decision came down
16 to “whether there is mitigation that is sufficiently substantial to call for leniency.”
17 (Tr. May 22, 2006 at 24.) However, the court did not make clear that each juror
18 could consider the cumulative effect of the mitigation, as opposed to considering
19 only whether each piece of mitigation individually was sufficiently substantial to
20 warrant leniency. (See Tr. May 22, 2006 at 14–26.) Indeed, some of the court’s
21 instructions suggested the opposite: “A mitigating factor that motivates one juror to
22 vote for a sentence of life in prison may be evaluated by another juror as . . . not
23 significant to the assessment of the appropriate penalty.” (Tr. May 22, 2006 at 22–
24 23.) Absent an explicit instruction to consider the cumulative effect of the
25 mitigation, and with individual instructions implying that the jury should not do so,
26 Kiles’s jury was unable to adequately give effect to the sum of the mitigation
27 presented in his case.
28         Due process requires that a jury be fully and correctly instructed on
                                              441
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 458 of 500



 1 sentencing law to prevent an unconstitutional and arbitrary deprivation of the
 2 defendant’s liberty. See Hicks v. Oklahoma, 447 U.S. 343, 346–47 (1980); see also
 3 Taylor v. Kentucky, 436 U.S. 478, 488–89 (1978) (holding that the “arguments of
 4 counsel cannot substitute for instructions by the court”). The jury instructions in
 5 this case on the consideration of mitigation did not—and Arizona’s death-penalty
 6 statute does not—comply with the Eighth and Fourteenth Amendments to the U.S.
 7 Constitution. As a result, Kiles’s death sentence is unconstitutional, and he is
 8 entitled to relief.
 9                                  Claim Twenty-Four
10         Arizona’s death-penalty statute is unconstitutional because it fails
           to require the jury to make specific findings as to each mitigating
11         circumstance.
12         Arizona’s death-penalty statute violates the Eighth and Fourteenth
13 Amendments to the U.S. Constitution because it neglects to require the jurors to
14 make specific findings as to each proffered mitigating factor. Kiles incorporates by
15 specific reference all facts, allegations, and arguments made elsewhere in this
16 Petition.
17         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 96.) For the reasons
18 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) does not bar relief.
19         The Eighth and Fourteenth Amendments require states to provide a
20 mechanism for meaningful direct review of death sentences. Gregg, 428 U.S. at
21 197–98 (joint opinion of Stewart, Powell, and Stevens, JJ.); see also State v.
22 Brewer, 826 P.2d 783, 790 (Ariz. 1992) (“Appellate review of sentencing is, of
23 course, even more necessary in the context of a capital case. The penalty of death
24 differs from all other forms of criminal punishment in terms of severity and
25 irrevocability, and may not be exacted in the absence of certain constitutional
26 safeguards.”). In order to achieve such meaningful review, “it is important that the
27 record on appeal disclose to the reviewing court the considerations which motivated
28 the death sentence in every case in which it is imposed.” Gardner v. Florida, 430
                                             442
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 459 of 500



 1 U.S. 349, 361 (1977) (plurality opinion). Arizona law helps to ensure meaningful
 2 review in non-capital cases, for which the court is required to state for the record
 3 the mitigating and aggravating factors it considers and applies when imposing any
 4 sentence other than the presumptive term. A.R.S. § 13-701(C); State v. Harrison,
 5 985 P.2d 486 (Ariz. 1999). However, Arizona fails to offer such protections to
 6 capital defendants.
 7         Under Arizona law, the trier of fact in a capital case is charged with
 8 determining whether the mitigating circumstances are “sufficiently substantial to
 9 call for leniency”; whether a mitigating circumstance is proven is determined by
10 each juror individually. A.R.S. § 13-751(C), (E). But Arizona’s death-penalty
11 statute does not require the jury to identify in its verdict form which mitigating
12 circumstances individual jurors deemed proven. See id. The verdict forms in Kiles’s
13 case thus reflect only the ultimate sentence the jury deemed appropriate for each
14 first-degree murder conviction. (See ROA 919 at 1–3.)
15         As a result, when the Arizona Supreme Court conducted its independent
16 review of the “aggravation, mitigation, and the propriety of the sentence” in Kiles’s
17 case, Kiles, 213 P.3d at 187, the court did so without the benefit of knowing which
18 mitigating circumstances jurors had found proven. In other words, the court
19 conducted its appellate review without knowing the considerations that motivated
20 the death sentence. That appellate review was not the meaningful review
21 contemplated by Gregg. See Gardner, 430 U.S. at 361 (plurality opinion). That such
22 a review—done without information on what informed the jury’s decision—could
23 not have been meaningful is especially true in this case, where the jury was asked
24 to consider an enumerated list of mitigating circumstances and where the jury
25 determined that death was the appropriate sentence on one count but that life
26 imprisonment was appropriate for other counts. (See Tr. May 22, 2006 at 19–21;
27 ROA 919 at 1–3.)
28         The trial court’s failure to require special verdict forms indicating which
                                             443
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 460 of 500



 1 mitigating circumstances the jurors had found proven—and the fact that such forms
 2 are not statutorily required—deprived Kiles of an adequate appellate review and
 3 violated his rights under the Eighth and Fourteenth Amendments to the U.S.
 4 Constitution. Accordingly, Kiles is entitled to relief.
 5                                   Claim Twenty-Five
 6         Arizona’s capital-sentencing scheme unconstitutionally limits the
           jury’s full consideration of mitigation by requiring that mitigating
 7         circumstances be proven by a preponderance of the evidence.
 8         In requiring that mitigation be proven by a preponderance of the evidence,
 9 Arizona’s capital-sentencing scheme violates the Eighth and Fourteenth
10 Amendments to the U.S. Constitution. Kiles incorporates by specific reference all
11 facts, allegations, and arguments made elsewhere in this Petition.
12         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 96.) For the reasons
13 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) places no limitation on relief.
14         At trial, in accordance with Arizona statute, the court instructed the jury as
15 follows: “The burden of proving the existence of mitigation is on the defendant.
16 The defendant must prove the existence of mitigation by a preponderance of the
17 evidence.” (Tr. May 22, 2006 at 18); see also A.R.S. § 13-751(C). The court further
18 instructed the jury that “[a] party having the burden of proof by a preponderance of
19 the evidence must persuade you by the evidence that the claim or a fact is more
20 probably true than not true. This means the evidence that favors that party
21 outweighs the opposing evidence.” (Tr. May 22, 2006 at 18.) By requiring Kiles to
22 prove mitigation by a preponderance of the evidence, the jury instruction
23 constrained the jury’s ability to consider all of the mitigation presented.
24         In Lockett v. Ohio, the United States Supreme Court concluded that, “in all
25 but the rarest kind of capital case,” the sentencer must “not be precluded from
26 considering, as a mitigating factor, any aspect of a defendant’s character or record
27 and any of the circumstances of the offense . . . [offered] as a basis for a sentence
28 less than death.” 438 U.S. 586, 604–05 (1978) (emphasis omitted). Moreover, “it is
                                              444
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 461 of 500



 1 not enough simply to allow the defendant to present mitigating evidence to the
 2 sentencer. The sentencer must also be able to consider and give effect to that
 3 evidence in imposing [the] sentence.” Penry, 492 U.S. at 319, abrogated on other
 4 grounds by Atkins, 536 U.S. at 304; see also Tennard v. Dretke, 542 U.S. 274, 285
 5 (2004) (“[T]he ‘Eighth Amendment requires that the jury be able to consider and
 6 give effect to’ a capital defendant’s mitigating evidence.”) (quoting Boyde v.
 7 California, 494 U.S. 370, 377–78 (1990)). Imposing a standard that limits the
 8 mitigating evidence considered by the jury violates the Eighth Amendment’s
 9 requirement that the sentencer be allowed to consider any aspect of the defendant’s
10 character or record that counsels in favor of a sentence other than death. See, e.g.,
11 Smith v. Texas, 543 U.S. 37 (2004) (per curiam); Tennard, 542 U.S. at 285; Lockett,
12 438 U.S. at 604. But see Walton, 497 U.S. at 649–51 (plurality opinion), overruled
13 on other grounds by Ring, 536 U.S. at 584.
14         The jury instruction limiting the mitigation the jury could consider, alone and
15 when considered cumulatively with the other instructional errors, violated Kiles’s
16 constitutional rights and prejudiced him. Kiles’s death sentence is therefore
17 unconstitutional, and he is entitled to relief.
18                                   Claim Twenty-Six
19         Arizona’s capital-sentencing scheme unconstitutionally fails to set
           forth objective standards to guide the sentencer in weighing the
20         aggravating circumstances against the mitigating circumstances.
21         Because Arizona’s death-penalty statute offers no objective standards to
22 guide the sentencer in weighing the aggravating versus mitigating evidence, the
23 statute violates the Eighth and Fourteenth Amendments to the U.S. Constitution.
24 Kiles incorporates by specific reference all facts, allegations, and arguments made
25 elsewhere in this Petition.
26         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 96.) For the reasons
27 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) places no limitation on relief.
28         Under the Eighth and Fourteenth Amendments to the U.S. Constitution, a
                                              445
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 462 of 500



 1 capital defendant is entitled to an individualized sentencing determination. See
 2 Stephens, 462 U.S. at 879. That determination cannot be arbitrary, see Furman, 408
 3 U.S. at 310 (Stewart, J., concurring), or made without adequate consideration of
 4 factors that might call for a sentence less than death. See, e.g., Atkins, 536 U.S. at
 5 320–21. Kiles was denied a constitutionally appropriate individualized sentencing
 6 determination because his sentencing jury had no objective guidance in determining
 7 whether the mitigating evidence presented was sufficiently substantial to call for
 8 leniency. (See Tr. May 22, 2006 at 22 (“Sufficiently substantial to call for leniency
 9 means that the mitigation must be of such quality or value that it is adequate in the
10 opinion of an individual juror to persuade that juror to vote for a sentence of life
11 imprisonment.”)); see also State ex rel. Thomas v. Granville, 123 P.3d 662, 666
12 (Ariz. 2005) (recognizing that, under Arizona’s statute, neither party bears the
13 burden on whether the mitigation warrants leniency). In the absence of such
14 guidance, there is an intolerably high risk that Kiles’s death sentence was the result
15 of unfettered discretion. See, e.g., Furman, 408 U.S. at 239–40 (1972) (per curiam).
16 Accordingly, Kiles’s sentence is unconstitutional, and he is entitled to relief.
17                                 Claim Twenty-Seven
18         Arizona’s capital-sentencing scheme unconstitutionally denies
           capital defendants the benefit of proportionality review of their
19         sentences.
20         The capital-sentencing scheme in Arizona under which Kiles was sentenced
21 denies a proportionality review in violation of the Fifth, Eighth, and Fourteenth
22 Amendments of the U.S. Constitution. Kiles incorporates by specific reference all
23 facts, allegations, and arguments made elsewhere in this Petition.
24         Kiles raised this claim on direct appeal. (DA2 Dkt. 86 at 97.) For the reasons
25 set forth in Claim 17, supra, 28 U.S.C. § 2254(d) places no limitation on relief.
26         The Arizona Supreme Court failed to conduct a comparative proportionality
27 review of Kiles’s death sentence, rendering the sentence unconstitutional. When the
28 United States Supreme Court sanctioned the modern death-penalty scheme, it did
                                              446
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 463 of 500



 1 so based on the belief that state supreme courts would conduct careful and effective
 2 proportionality reviews in individual cases to guard against the arbitrary and
 3 capricious infliction of the death penalty. See Gregg, 428 U.S. at 203–06 (joint
 4 opinion of Stewart, Powell, and Stevens, JJ.) (highlighting proportionality review
 5 on appeal as an important protection against caprice in sentencing); Proffitt v.
 6 Florida, 428 U.S. 242, 258 (1976) (joint opinion of Stewart, Powell, and Stevens,
 7 JJ.) (same); see also Glossip, 135 S. Ct. at 2763 (Breyer, J., dissenting) (recognizing
 8 the importance of comparative proportionality review to avoid arbitrary imposition
 9 of the death penalty). But see Pulley v. Harris, 465 U.S. 37, 50–51 (1984). The
10 Arizona Supreme Court, however, has abandoned this procedural safeguard. See
11 State v. Salazar, 844 P.2d 566, 583–84 (Ariz. 1992). The denial of proportionality
12 review allows for the death penalty to be applied arbitrarily in Arizona and violates
13 the Fifth, Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles’s
14 sentence, affirmed without such a review, is constitutionally unsound, and Kiles is
15 entitled to relief.
16                                  Claim Twenty-Eight
17         Arizona’s    capital-sentencing scheme    unconstitutionally
           discriminates against poor, young, African-American male
18         defendants.
19         Kiles was sentenced to death under a statutory scheme that discriminates
20 against poor, young, African-American males in violation of the Fourteenth
21 Amendment to the U.S. Constitution. Kiles incorporates by specific reference all
22 facts, allegations, and arguments made elsewhere in this Petition.
23         This claim was not raised in state court. Kiles alleges he can overcome any
24 default of this claim by showing that it was caused by the ineffective assistance of
25 appellate and state post-conviction counsel and that he was prejudiced by the
26 default. See Martinez v. Ryan, 566 U.S. 1, 9 (2012); Edwards v. Carpenter, 529
27 U.S. 446, 453 (2000); but see Davila v. Davis, 137 S. Ct. 2058 (2017). Kiles will
28 demonstrate at an evidentiary hearing that appellate and post-conviction counsel’s
                                              447
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 464 of 500



 1 performance fell below the standards of minimally competent capital attorneys and
 2 that their failures prejudiced him. Alternatively, he alleges that any procedural bar
 3 is neither adequate nor independent and that imposing default would be a
 4 miscarriage of justice. Because this claim has not been adjudicated on the merits by
 5 the Arizona state courts, the barrier to relief imposed by 28 U.S.C. § 2254(d) does
 6 not apply, and the Court may consider the merits of the claim de novo.
 7         Kiles, an African-American male, who was 27 years old at the time of the
 8 crime for which he was later convicted and sentenced to death (see ROA 1 at 1;
 9 ROA 225 Ex. 1), was condemned pursuant to a statutory scheme that is
10 discriminatorily applied. The Fourteenth Amendment guarantees that no state shall
11 “deny to any person within its jurisdiction the equal protection of the laws.” U.S.
12 Const. amend. XIV, § 1. The Equal Protection Clause protects criminal defendants
13 from being sentenced based on purposeful discrimination. McCleskey v. Kemp, 481
14 U.S. 279, 292 (1987). Still, Arizona’s death row is predominantly populated by
15 indigent males. For example, although women commit nearly 12 percent of all
16 murders and non-negligent manslaughters, only three of the 117 persons on
17 Arizona’s death row are women. See FBI, Crime in the United States 2015, Table
18 42: Arrests by Sex, 2015, https://ucr.fbi.gov/crime-in-the-u.s/2015/crime-in-the-
19 u.s.-2015/tables/table-42; Arizona Department of Corrections, Death Row
20 Demographics (last visited Aug. 13, 2018), http://corrections.az.gov/node/431.
21 Indeed, research suggests that “women homicide defendants receive more favorable
22 treatment at each stage of the criminal process,” even in capital cases. Shatz &
23 Dalton, supra, at 1251–53 (citing studies finding gender disparities in the
24 imposition of death sentences).
25         Additionally, studies have found that, along with gender, “the racial
26 composition of and distribution within a county plays an important role” in
27 determining who receives the death penalty while “proper factors—such as
28 ‘egregiousness’—do not.” Glossip, 135 S. Ct. at 2760–62 (Breyer, J., dissenting).
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 465 of 500



 1 That Kiles was sentenced by a Maricopa County jury on its own likely affected his
 2 sentence. See, e.g., Levinson, Smith, & Young, Devaluing Death: An Empirical
 3 Study of Implicit Racial Bias on Jury–Eligible Citizens in Six Death Penalty States,
 4 89 N.Y.U. L. Rev. 513, 533–536 (2014). As “numerous studies have criticized the
 5 death penalty as disproportionately affecting defendants of color,” and defendants
 6 have had death sentences “fortuitously imposed simply because of the county” in
 7 which the defendant is sentenced, “our historic inability to devise a method to
 8 implement the death penalty free from human bias and error” has been laid bare.
 9 State v. Bush, 423 P.3d 370, 395–96 (Ariz. 2018) (Winthrop, J., dissenting). Given
10 that race, gender, geography, and access to resources determine the likelihood of a
11 death sentence, there is no question that Kiles, a poor, young, African-American
12 man, was subject to the arbitrary imposition of a capital sentence. See, e.g., Shatz
13 & Dalton, supra, at 1245–51; Stephen Bright, Counsel for the Poor: The Death
14 Sentence Not for the Worst Crime but for the Worst Lawyer, 103 Yale L.J. 1835
15 (1994).
16         If a defendant similarly situated to Kiles happened to have been a woman, or
17 white, or wealthy, there would likely have been no sentence of death imposed.
18 Nothing regarding the nature of the crime, or the aggravating or mitigating
19 circumstances, can explain this disproportionate pattern other than systemic
20 discrimination on the basis of age, race, class, and sex. The discriminatory
21 application of the death penalty in Arizona violates Kiles’s constitutional rights as
22 guaranteed by the Due Process and Equal Protection Clauses of the Fourteenth
23 Amendment to the U.S. Constitution. This discrimination prejudiced Kiles at all
24 phases of his proceedings, and he is entitled to relief.
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 466 of 500



 1                                  Claim Twenty-Nine
 2         The death qualification of Kiles’s guilt- and penalty-phase juries
           was unconstitutional.
 3
 4         Kiles’s convictions and death sentence result from the unconstitutional
 5 “death qualification” of his guilt- and penalty-phase juries, in violation of the Sixth,
 6 Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles incorporates
 7 by specific reference all facts, allegations, and arguments made elsewhere in this
 8 Petition.
 9         Before Kiles’s guilt phase, defense counsel moved to preclude the “death
10 qualification” of the jury. (ROA 493 at 2–3 (citing studies showing that “death
11 qualified juries are substantially more likely to convict or to convict on more serious
12 charges than juries on which opponents of capital punishment are permitted to
13 serve”).) The trial court denied Kiles’s request and proceeded to excuse prospective
14 jurors because of their opposition to the death penalty. (See, e.g., Tr. July 7, 2000
15 at 67, 157.) The trial court also excused at least one prospective juror at Kiles’s
16 penalty phase because she expressed some opposition to the death penalty. (See,
17 e.g., Tr. Mar. 16, 2006 at 3–5.) Because there was a substantial record made at the
18 trial-court level, the Arizona Supreme Court was on notice of this claim, and it was
19 impliedly exhausted during that court’s independent review in this case. See Comer
20 v. Schriro, 480 F.3d 960, 981 (9th Cir. 2007) (en banc) (finding that “[e]ven if a
21 petitioner fails to raise a constitutional claim in state court, the exhaustion
22 requirement may be satisfied . . . where the state court itself exhausts the claim”).
23 The state-court denial of this claim was contrary to or an unreasonable application
24 of Supreme Court precedent; the denial further turned on an unreasonable
25 determination of facts. See 28 U.S.C. § 2254(d). Accordingly, this Court may
26 review the merits of this claim de novo.199
27
   199
       To the extent that this claim is not sufficiently exhausted, Kiles alleges he can
28 overcome any default of this claim by showing that it was caused by the ineffective
                                              450
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 467 of 500



 1         Death qualification—“the exclusion for cause, in capital cases, of jurors
 2 opposed to capital punishment,” Wainwright v. Witt, 469 U.S. 412, 439 (1985)
 3 (Brennan, J., dissenting)—violates the Sixth, Eighth, and Fourteenth Amendments
 4 for two reasons. First, it produces a biased jury. Second, by excluding a segment of
 5 the population, death qualification violates the fair cross-section requirement of the
 6 Sixth Amendment.
 7         A defendant has the right to an unbiased and impartial jury. Morgan v.
 8 Illinois, 504 U.S. 719, 726–27 (1992) (identifying an impartial tribunal as a
 9 fundamental requirement of due process); see also Groppi v. Wisconsin, 400 U.S.
10 505, 509 (1971). The “‘presence of a biased juror cannot be harmless; the error
11 requires a new trial without a showing of actual prejudice.’” United States v.
12 Gonzalez, 214 F.3d 1109, 1111 (9th Cir. 2000) (quoting Dyer v. Calderon, 151 F.3d
13 970, 973 n.2 (9th Cir. 1998)).
14         The process of death qualification, however, produces not an unbiased jury,
15 but a jury predisposed both to convict and to impose death. Empirical research
16 demonstrates that the death-qualification process facilitates the selection of jurors
17 who are more likely to return a guilty verdict and then more likely to return a death
18 sentence. See Susan D. Rozelle, The Principled Executioner: Capital Juries’ Bias
19 and the Benefits of True Bifurcation, 38 Ariz. St. L.J. 769, 784–85 (2006)
20 (reviewing data showing that “[t]he death qualification process today still seats
21 juries uncommonly willing to find guilt, and uncommonly willing to mete out
22 death”); William J. Bowers & Wanda D. Foglia, Still Singularly Agonizing: Law’s
23 Failure to Purge Arbitrariness from Capital Sentencing, 39 Crim. L. Bull. 51, 61–
24 66 (2003) (reviewing studies demonstrating that death-qualified jurors are more
25
26 assistance of appellate and state post-conviction counsel and that he was prejudiced
   by the default. See Martinez, 566 U.S. at 9; Carpenter, 529 U.S. at 453;
27 but see Davila, 137 S. Ct. at 2058. Alternatively, he alleges that any procedural bar
   is neither adequate nor independent and that imposing default would be a
28 miscarriage of justice.
                                             451
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 468 of 500



 1 likely to convict and to return a death verdict); see also Wainwright, 469 U.S. at
 2 460 & n.11 (Brennan, J., dissenting) (“Death-qualification works to the advantage
 3 of only the prosecutor; if not carefully controlled, it is [a] tool with which the
 4 prosecutor can create a jury perhaps predisposed to convict and certainly
 5 predisposed to impose the ultimate sanction.” (footnote omitted)).
 6         Moreover, research has established that even the process of death
 7 qualification influences jurors to adopt pro-conviction and pro-death attitudes. See,
 8 e.g., Craig Haney, On the Selection of Capital Juries: The Biasing Effects of the
 9 Death-Qualification Process, 8 L. & Hum. Behav. 121 (1984), available at
10 https://capitalpunishmentincontext.org/files/resources/deathqual/Haney1984.pdf.
11 Haney’s study confirmed this:
12                Exposure to death qualification increased subjects’ belief
                  in the guilt of the defendant and their estimate that he would
13                be convicted. It also increased their estimate of the
14                prosecutor, defense attorney, and judge’s belief in the guilt
                  of the defendant. The death qualification process led
15                subjects to perceive both prosecutor and judge as more
                  strongly in favor of the death penalty, and to believe that
16                the law disapproves of people who oppose the death
                  penalty. And it led jurors to choose the death penalty as an
17                appropriate punishment much more frequently than
18                persons not exposed to it. Thus, persons who had been
                  exposed to death qualification not only differed from non-
19                death-qualified subjects, but they differed in ways that
                  were consistently prejudicial to the interests and rights of
20                the defendants.
21 Id. at 128–29. The effects of death qualification are enhanced because “the voir dire
22 phase of the trial represents the jurors’ first introduction to the substantive factual
23 and legal issues in a case.” Powers v. Ohio, 499 U.S. 400, 412 (1991) (internal
24 quotation marks omitted) (recognizing that “[t]he influence of the voir dire process
25 may persist through the whole course of the trial proceedings”). Critically, when a
26 sentencing jury is death-qualified and therefore biased in favor of death, any
27 resulting death sentence is not a reliable indicator of the defendant’s culpability, as
28 is required by the Eighth Amendment. See Woodson v. North Carolina, 428 U.S.
                                               452
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 469 of 500



 1 280, 305 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.).
 2         Apart from generating a biased jury, death qualification violates the
 3 defendant’s right to a jury pool that represents a fair cross-section of the community.
 4 A jury unlikely to reflect such community views violates the Sixth Amendment.
 5 See Taylor v. Louisiana, 419 U.S. 522, 537 (1975). However, the process of death
 6 qualification permits the broad exclusion of jurors, even though some may possess
 7 the ability to judge impartially, regardless of their beliefs about the death penalty.
 8 With the exclusion of a broad segment of the community, the right to a fair cross-
 9 section is lost.
10         Because Kiles’s guilt-phase and sentencing-phase juries were selected using
11 death qualification, his convictions and sentences are unconstitutional under the
12 Sixth, Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles is
13 entitled to relief.
14                                      Claim Thirty
15         The “especially heinous, cruel or depraved”                 aggravating
           circumstance is unconstitutionally vague.
16
17         The move to jury sentencing in Arizona rendered the “especially heinous,
18 cruel or depraved” aggravating circumstance, which the jury found proven in
19 Kiles’s case, unconstitutionally vague under the Eighth and Fourteenth
20 Amendments to the U.S. Constitution. Kiles incorporates by specific reference all
21 facts, allegations, and arguments made elsewhere in this Petition.
22         Before the sentencing phase, defense counsel moved to dismiss the “heinous,
23 cruel, or depraved” aggravating circumstance, arguing that it was unconstitutionally
24 vague and overbroad and that it was applied in an arbitrary and capricious manner.
25 (ROA 600); see A.R.S. §13-703(F)(6) (1988). Counsel cited Maynard v.
26 Cartwright, 486 U.S. 356, 363 (1988), and Gregg, 428 U.S. at 158 (joint opinion of
27 Stewart, Powell, and Stevens, JJ.), to establish that the Supreme Court had
28 previously struck language that was no more vague than the aggravating
                                              453
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 470 of 500



 1 circumstance in Kiles’s case. The trial court denied Kiles’s request without fully
 2 addressing the merits, ruling not that the statute was constitutional, but that the court
 3 could attempt to deal with the vagueness through jury instructions. (ROA 650 at 1;
 4 Tr. Feb. 15, 2005 at 28.)200 Because there was a substantial record made at the trial-
 5 court level, the Arizona Supreme Court was on notice of this claim, and it was
 6 impliedly exhausted during that court’s independent review in this case. See Comer,
 7 480 F.3d at 981 (en banc) (finding that “[e]ven if a petitioner fails to raise a
 8 constitutional claim in state court, the exhaustion requirement may be satisfied . . .
 9 where the state court itself exhausts the claim”). The state-court denial of this claim
10 was contrary to or an unreasonable application of Supreme Court precedent; the
11 denial further turned on an unreasonable determination of facts. See 28 U.S.C.
12 § 2254(d). Accordingly, this Court may review the merits of this claim de novo.201
13         The Eighth Amendment requires that the aggravating circumstances within a
14 state’s capital-sentencing scheme genuinely narrow the class of offenders who are
15 eligible for the death penalty. See, e.g., Loving v. United States, 517 U.S. 748, 755
16 (1996); Stephens, 462 U.S. at 877. To comply with the Eighth Amendment, states
17 must establish a threshold below which the death penalty cannot be imposed and
18 must “establish rational criteria that narrow the decisionmaker’s judgment as to
19 whether the circumstances of a particular defendant’s case meet the threshold.”
20
21   200
      “I’m going to deny the request. You’ve made a great record. We’ll see where we
22 end up. I feel hesitant to just say we’re totally precluded at this point from at least
   attempting to fashion some kind of instruction that—that gets it right for the jury
23 and for all of us.” (Tr. Feb. 15, 2005 at 28.)
24
   201
       To the extent that this claim is not sufficiently exhausted, Kiles alleges he can
25 overcome any default of this claim by showing that it was caused by the ineffective
26 assistance of appellate and state post-conviction counsel and that he was prejudiced
   by the default. See Martinez, 566 U.S. at 9 (2012); Carpenter, 529 U.S. at 453;
27 but see Davila, 137 S. Ct. at 2058. Alternatively, he alleges that any procedural bar
   is neither adequate nor independent and that imposing default would be a
28 miscarriage of justice.
                                               454
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 471 of 500



 1 McCleskey, 481 U.S. at 305; see also Lowenfield, 484 U.S. at 231; Stephens, 462
 2 U.S. at 877. Further, a state’s sentencing procedure must suitably direct and limit
 3 the sentencing body’s discretion “so as to minimize the risk of wholly arbitrary and
 4 capricious action.” Stephens, 462 U.S. at 874 (quoting Gregg, 428 U.S. at 189 (joint
 5 opinion of Stewart, Powell, and Stevens, JJ.)). Vague standards are unconstitutional
 6 because they fail to adequately “channel the sentencing decision patterns of juries.”
 7 Gregg, 428 U.S. at 195 n.46 (joint opinion of Stewart, Powell, and Stevens, JJ.).
 8         The Supreme Court has repeatedly held that, on their face, aggravating
 9 circumstances based on the heinousness, cruelty, or depravity of a murder fail to
10 narrow death-penalty eligibility because their text is too vague to adequately guide
11 the discretion of the sentencer. See Cartwright, 486 U.S. at 363 (“There is nothing
12 in these few words, standing alone, that implies any inherent restraint on the
13 arbitrary and capricious infliction of the death sentence.” (quoting Godfrey, 446
14 U.S. at 428–29)); see also Walton, 497 U.S. at 654, overruled on other grounds by
15 Ring, 536 U.S. at 584 (finding that Arizona’s “especially heinous, cruel or
16 depraved” aggravating circumstance is facially vague). The plain language of the
17 heinous, cruel, or depraved aggravating circumstance could easily apply to any
18 intentional or knowing homicide and therefore fails to “suitably direct[] and limit[]”
19 the sentencer’s discretion in imposing the death penalty. See Gregg, 428 U.S. at
20 189.
21         In Walton, the Supreme Court noted that “there is no serious argument that
22 Arizona’s ‘especially heinous, cruel or depraved’ aggravating factor is not facially
23 vague.” 497 U.S. at 654. The Court went on to conclude that while Arizona’s
24 especially heinous, cruel, or depraved aggravating circumstance was facially vague,
25 it did not violate the Eighth and Fourteenth Amendments because sentencing was
26 the responsibility of the trial judge, and the judge could be presumed to follow the
27 narrowed definition of the aggravating circumstance as construed by the Arizona
28 Supreme Court. Id. at 653–54. However, Walton does not apply in the context of
                                             455
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 472 of 500



 1 jury sentencing. Id. at 653 (distinguishing prior cases which struck similar
 2 aggravating circumstance under jury-sentencing schemes because the “logic of
 3 those cases has no place in the context of sentencing by a trial judge”).
 4         With the shift to jury sentencing in Arizona, this aggravating circumstance
 5 became unconstitutionally vague. When the jury is the factfinder, the vague
 6 statutory definition of especially cruel does not suffice. How the jury interprets this
 7 factor can “only be the subject of sheer speculation.” Godfrey, 446 U.S. at 429
 8 (discussing the aggravating circumstance of “outrageously or wantonly vile,
 9 horrible and inhuman”). A standardless capital-punishment statute allows for the
10 imposition of the death penalty in an arbitrary and capricious manner, violating the
11 Eighth Amendment. Cartwright, 486 U.S. at 361–62.
12         In addition, state-court interpretations of the heinous, cruel, or depraved
13 aggravating circumstance, and any jury instructions based on such interpretations,
14 have failed to narrow the class of offenders eligible for the death penalty. For
15 example, in Arizona, a murder in which the killer uses excessive force is considered
16 “cruel” for purposes of the death penalty. State v. Summerlin, 675 P.2d 686, 696
17 (Ariz. 1983). But using insufficient force to commit a murder is also “cruel.” See
18 State v. Chaney, 686 P.2d 1265, 1282 (Ariz. 1984) (finding “cruelty” because
19 defendant used insufficient force, causing the victim to suffer). Given the
20 susceptibility of this aggravating circumstance to arbitrary imposition, this Court
21 cannot be sure that Kiles’s death sentence was not imposed in a wanton and freakish
22 manner. Cf. Gregg, 428 U.S. at 195. Thus, the fact that the trial court defined the
23 element of cruelty as whether the infliction of pain was “in an especially wanton”
24 or “insensitive” manner did not constitutionally narrow this facially vague
25 aggravating circumstance. (ROA 909 at 12.) If anything, the terms used by the trial
26 court make the aggravating circumstance more arbitrary and fluid.
27         In any event, jury instructions cannot cure the unconstitutional vagueness.
28 Jurors, unlike judges who see a range of first-degree murders, have no points of
                                              456
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 473 of 500



 1 comparison as to whether a particular murder imposes “extreme” pain or mental
 2 anguish. Jurors are quite likely to believe that every murder causes extreme pain or
 3 anguish. Cf. Cartwright, 486 U.S. at 364 (“[A]n ordinary person could honestly
 4 believe that every unjustified, intentional taking of human life is ‘especially
 5 heinous.’”). Additionally, in this case, the definitions offered to the jury were
 6 hopelessly convoluted. For example, the jury was instructed that it could consider
 7 whether the murder was “senseless” to help determine whether the crime was
 8 “heinous or depraved.” (ROA 909 at 13.) Recognizing that all murders are
 9 senseless, the court tried to clarify this further, instructing the jury that a
10 “‘senseless’ murder is one that is unnecessary to achieve Defendant’s objective.”
11 (ROA 909 at 13–14.) This “clarification” only further confused and expanded the
12 aggravating circumstance. See Cartwright v. Maynard, 822 F.2d 1477, 1489 (10th
13 Cir. 1987) (“Vague terms do not suddenly become clear when they are defined by
14 reference to other vague terms.”). The jury instructions in the instant case failed to
15 cure the statute’s unconstitutionality; instead, they further enabled the jury to
16 capriciously apply the aggravating circumstance.
17           Arizona’s shift to jury sentencing undermines Walton’s analysis on whether
18 the “especially heinous, cruel or depraved” aggravating circumstance passes
19 constitutional muster. Arizona’s heinous, cruel, or depraved aggravating
20 circumstance is vague and overbroad and fails to adequately narrow the class of
21 offenders subject to the death penalty. Accordingly, Kiles was sentenced to death
22 in violation of his Eighth and Fourteenth Amendment rights, and he is entitled to
23 relief.
24                                   Claim Thirty-One
25           Arizona’s prior felony conviction aggravating circumstance is
             unconstitutionally vague.
26
27           The aggravating circumstance of a prior conviction does not genuinely
28 narrow the class of death-eligible offenders and therefore violates the Eighth and
                                             457
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 474 of 500



 1 Fourteenth Amendments to the U.S. Constitution. Kiles incorporates by specific
 2 reference all facts, allegations, and arguments made elsewhere in this Petition.
 3         While Kiles did not present this claim in state court, the Arizona Supreme
 4 Court implicitly considered the claim when it affirmed this aggravating
 5 circumstance during its independent review of the aggravating factors and
 6 mitigating circumstances. See Kiles, 213 P.3d at 187–88; see also Comer, 480 F.3d
 7 at 981 (en banc) (finding that “[e]ven if a petitioner fails to raise a constitutional
 8 claim in state court, the exhaustion requirement may be satisfied . . . where the state
 9 court itself exhausts the claim”). The denial of this claim (1) was contrary to, or
10 involved an unreasonable application of, clearly established federal law, and (2)
11 was based on an unreasonable determination of the facts. 28 U.S.C. § 2254(d).202
12         The Eighth Amendment requires that a state’s capital-sentencing scheme
13 genuinely narrow the class of offenders eligible for the death penalty, which some
14 states achieve by requiring proof of at least one aggravating circumstance before a
15 death sentence can be imposed. See Stephens, 462 U.S. at 877; Loving, 517 U.S. at
16 755. Aggravating circumstances that do not appropriately limit application of the
17 death penalty are unconstitutional because they fail to adequately channel the
18 sentencing discretion of the jury. Cartwright, 486 U.S. at 361–62.
19         The (F)(2) aggravating circumstance applies when the defendant was
20 previously convicted of a violent offense. A.R.S. § 13-703(F)(2) (1988). Under
21 Arizona law, a prior conviction satisfies the (F)(2) circumstance if “by its statutory
22 definition” the prior conviction “involves violence or the threat of violence on
23
      To the extent that this claim was not adequately presented below, Kiles alleges
     202
24 he can overcome any default of this claim by showing cause and prejudice,
   including because of the ineffective assistance of appellate and state post-
25 conviction counsel. See Martinez, 566 U.S. at 9; Carpenter, 529 U.S. at 453;
26 Strickland, 466 U.S. at 687–88; but see Davila, 137 S. Ct. at 2058. Alternatively,
   any procedural bar is neither adequate nor independent, and imposing default would
27 be a miscarriage of justice. If this claim was not adjudicated on the merits below,
   the limitations on relief imposed by 28 U.S.C. § 2254(d) do not apply to this Court’s
28 review, and the Court may consider the merits of the claim de novo.
                                              458
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 475 of 500



 1 another person.” State v. Gillies, 662 P.2d 1007, 1018 (Ariz. 1983). The trial court
 2 may not look to the underlying facts of the prior conviction. See id. (“We cannot
 3 allow what is, in effect, a second trial on defendant’s prior conviction to establish
 4 the existence of an A.R.S. § 13-703(F)(2) aggravating circumstance.”).
 5         Because the (F)(2) aggravating circumstance does not discriminate among
 6 prior violent felonies, it impermissibly fails to genuinely narrow the class of death-
 7 eligible defenders. See Loving, 517 U.S. at 755. The (F)(2) aggravating
 8 circumstance fails to differentiate between a defendant who has multiple prior
 9 murder convictions as a principal and a defendant who has been convicted of a
10 single, far less violent offense as an accomplice. As a result, such a broad swathe
11 of capital defendants satisfy this aggravating circumstance that it does not “establish
12 rational criteria that narrow the decisionmaker’s judgment” as to whether death may
13 be an appropriate sentence. McCleskey, 481 U.S. at 305.
14         Kiles was sentenced on the basis of an unconstitutional aggravating
15 circumstance, and he is therefore entitled to relief. See Johnson v. Mississippi, 486
16 U.S. 578, 580, 590 (1988).
17                                   Claim Thirty-Two
18         Kiles is innocent of first-degree murder and of the death penalty.
19         Because Kiles is innocent both of first-degree murder in the death of Valerie
20 Gunnel and of the death penalty, his conviction and sentence violate the Fifth, Sixth,
21 Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles incorporates
22 by specific reference all facts, allegations, and arguments made elsewhere in this
23 Petition.
24         Kiles did not present this claim in state court. However, because declining to
25 hear this claim on the merits would result in a fundamental miscarriage of justice,
26 this Court should disregard any default.203 See Coleman v. Thompson, 501 U.S. 722,
27
   203
       Indeed, procedural default should not apply to freestanding innocence claims
28 precisely because of the gravity of the constitutional interests at stake.
                                              459
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 476 of 500



 1 735 n.1 (1991). Alternatively, Kiles alleges he can overcome any default of this
 2 claim by showing that it was caused by the ineffective assistance of appellate and
 3 state post-conviction counsel and that he was prejudiced by the default.
 4 See Martinez, 566 U.S. at 9; Carpenter, 529 U.S. at 453; but see Davila, 137 S. Ct.
 5 at 2058. He further alleges that any procedural bar asserted by Respondents is
 6 neither adequate nor independent. As this claim has not been adjudicated on the
 7 merits by the state courts, the barrier to relief imposed by 28 U.S.C. § 2254(d) does
 8 not apply, and this Court may consider the merits of the claim de novo.
 9         Kiles is innocent of the crime of first-degree murder with which he was
10 charged. At the time of the crime, first-degree murder under Arizona law required
11 either premeditation or felony murder, meaning that the killing occurred in the
12 course of, in furtherance of, or in the immediate flight from an enumerated offense.
13 See A.R.S. § 13-1105(A) (1988). Kiles was not charged with felony murder in the
14 killing of Valerie Gunnel; he was charged with, and convicted of, only premeditated
15 murder. (See ROA 1 at 1–2; ROA 482 at 1.) However, as detailed previously, Kiles
16 did not premeditate the murder. Not only did he have a tendency toward impulsivity
17 as a result of extensive childhood trauma, prior head injuries, and the disease of
18 addiction, see supra, Claim 3, he also was in a drug-induced psychosis at the time
19 of the crime and was therefore, at that moment, incapable of premeditating, see
20 supra, Claim 6. The killing was unplanned; it involved no time for reflection and
21 no actual reflection. Instead, when he felt provoked by Gunnel’s slap, he
22 immediately and reflexively picked up a nearby instrument and attacked. Because
23 there was no premeditation involved, no rational trier of fact could find proof of
24 guilt beyond a reasonable doubt, and Kiles is innocent of first-degree murder. See
25 Herrera v. Collins, 506 U.S. 390, 429 (1993) (White, J., concurring). Accordingly,
26 neither his first-degree murder conviction nor his resultant death sentence can stand.
27         Kiles is independently innocent of the death penalty. Kiles was death-eligible
28 for the murder of Gunnel because the jury found that the State had proven beyond
                                             460
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 477 of 500



 1 a reasonable doubt the three aggravating circumstances it had alleged: (1) prior
 2 conviction of a violent felony, A.R.S. § 13-703(F)(2) (1988), (2) the offense was
 3 “especially heinous, cruel or depraved,” id. § 13-703(F)(6), and (3) multiple
 4 homicides during the commission of the offense, id. § 13-703(F)(8). (See ROA 911
 5 at 11–13.) First, as discussed earlier, Kiles’s 1986 aggravated-assault conviction is
 6 an invalid basis for the (F)(2) aggravating circumstance; as that conviction is the
 7 sole support for that aggravator, the (F)(2) aggravating circumstance must be
 8 stricken. See, e.g., supra, Claim 5. As illustrated by Claim 12 and Claim 11, supra,
 9 among others, no rational trier of fact could find any of these three aggravating
10 circumstances beyond a reasonable doubt. See Herrera, 506 U.S. at 429 (White, J.,
11 concurring). Moreover, the (F)(2) and (F)(6) aggravating circumstances are
12 unconstitutionally overbroad and thus cannot stand as aggravating circumstances in
13 this case. See infra Claim 30; Claim 31. Because no constitutional aggravating
14 circumstance supported by the evidence exists in this case, Kiles is innocent of the
15 death penalty, and he is entitled to relief from his capital sentence.
16                                  Claim Thirty-Three
17         Kiles’s death sentence constitutes an impermissible violation of the
           Ex Post Facto Clause.
18
19         Kiles’s death sentence results from the unconstitutional ex post facto
20 application of Arizona’s current death-penalty statute to his crime. Kiles
21 incorporates by specific reference all facts, allegations, and arguments made
22 elsewhere in this Petition.
23         This claim was not raised in state court. Kiles alleges he can overcome any
24 default of this claim by showing that it was caused by the ineffective assistance of
25 appellate and state post-conviction counsel and that he was prejudiced by the
26 default. See Martinez, 566 U.S. at 9; Carpenter, 529 U.S. at 453; but see Davila,
27 137 S. Ct. at 2058. Kiles will demonstrate at an evidentiary hearing that appellate
28 and post-conviction counsel’s performance fell below the standards of minimally
                                              461
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 478 of 500



 1 competent capital attorneys and that their failures prejudiced him. Alternatively, he
 2 alleges that any procedural bar is neither adequate nor independent and that
 3 imposing default would be a miscarriage of justice. Because this claim has not been
 4 adjudicated on the merits by the Arizona state courts, the barrier to relief imposed
 5 by 28 U.S.C. § 2254(d) does not apply, and the Court may consider the merits of
 6 the claim de novo.
 7         Article I, section 10 of the U.S. Constitution prohibits ex post facto laws. In
 8 Weaver v. Graham, the Supreme Court recognized that the problem with ex post
 9 facto laws is “the lack of fair notice and governmental restraint when the legislature
10 increases punishment beyond what was prescribed when the crime was
11 consummated.” 450 U.S. 24, 30 (1981). Pursuant to Weaver, a newly enacted law
12 is being applied in violation of the ex post facto doctrine when (1) the law “appl[ies]
13 to events occurring before its enactment,” and (2) the law disadvantages the
14 defendant with respect to a substantial, not procedural, right. Id. at 29 & n.12.
15         The application of Arizona’s current death-penalty scheme to Kiles
16 constitutes an ex post facto violation under Weaver. First, the offense for which
17 Kiles was convicted and sentenced to death occurred on February 10, 1989. (ROA
18 1 at 1–2.) The statute under which Kiles was charged capitally in 1989 was
19 unconstitutional. (See ROA 1 at 1–2 (citing A.R.S. § 13-703)); Ring, 536 U.S. at
20 609 (striking down Arizona’s then-extant capital-sentencing statute as
21 unconstitutional under the Sixth Amendment because it did not require that a jury
22 find the aggravating circumstances that rendered a capital defendant death-eligible).
23 The statute enforced at Kiles’s sentencing trial was not enacted until August 1,
24 2002, well over a decade after the crime in question. 2002 Ariz. Sess. Laws, 5th
25 Spec. Sess., ch.1. The newly enacted statute was therefore applied retrospectively
26 to a crime predating its enactment. See Weaver, 450 U.S. at 29.
27         Second, the enactment of the new statute changed substantial rights and
28 disadvantaged Kiles. In compliance with Ring, the statute required that a jury find
                                              462
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 479 of 500



 1 the enumerated aggravating factors, which “operate as ‘the functional equivalent of
 2 an element of a greater offense.’” 536 U.S. at 609 (quoting Apprendi v. New Jersey,
 3 530 U.S. 466, 494 n.19 (2000)). Further, the new law expanded the State’s authority
 4 to present “any evidence that demonstrates that the defendant should not be shown
 5 leniency.” A.R.S. § 13-752(G). The new law also allowed for victim-impact
 6 evidence in any format, id. § 13-752(Q), and it did not require any special verdict
 7 form. See A.R.S. § 13-752. Such changes implicated substantial rights and
 8 disadvantaged Kiles. At its core, the change allowed Arizona to sentence Kiles to
 9 death even though no constitutionally sound death-penalty statute existed at the
10 time of the crime.
11         The application to Kiles of Arizona’s current death-penalty statute
12 “increase[d] the possible penalty” he faced, Lindsey v. Washington, 301 U.S. 397,
13 401 (1937), thereby violating the Ex Post Facto Clause. But see Dobbert v. Florida,
14 432 U.S. 282, 294 (1977); Summerlin, 542 U.S. at 358. Kiles is entitled to relief.
15                                   Claim Thirty-Four
16         Executing Kiles after more than 28 years on death row violates the
           Eighth and Fourteenth Amendments.
17
18         To subject Kiles to execution after nearly 30 years either charged with a
19 capital crime or on death row violates the Eighth and Fourteenth Amendments to
20 the U.S. Constitution. Kiles incorporates by specific reference all facts, allegations,
21 and arguments made elsewhere in this Petition.
22         Kiles presented this claim in his direct appeal. (DA2 Dkt. 86 at 97.) For the
23 reasons set forth in Claim 17, supra, 28 U.S.C. § 2254(d) places no limitation on
24 relief. In the event that this Court determines that this claim is not yet ripe, Kiles
25 nevertheless intends to preserve it for future review in light of Allen v. Ornoski, 435
26 F.3d 946, 958 (9th Cir. 2006).
27         The Eighth and Fourteenth Amendments require that state-imposed
28 punishment remain within civilized standards. See Robinson v. California, 370 U.S.
                                              463
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 480 of 500



 1 660, 675 (1962) (Douglas, J., concurring). Kiles has been in prison for nearly 30
 2 years, of which he has spent approximately 20 years on death row.204 For several
 3 reasons, executing Kiles after so long on death row does not fall within those
 4 civilized bounds.
 5         First, executing Kiles after so long spent on death row is inconsistent with
 6 the history of the Eighth Amendment and foundational British and American
 7 jurisprudence. At the time the Bill of Rights was adopted, the Anglo-American legal
 8 tradition—which had a direct influence on the framers of the U.S. Constitution—
 9 had uniformly denounced undue delays between death sentences and executions as
10 cruel and unusual. See, e.g., Blackstone’s Commentaries on the Laws of England,
11 Book IV, reprinted in 2 Jones, Blackstone at 2650 (1976) (“[I]t has been well
12 observed, that it is of great importance, that [capital] punishment should follow the
13 crime as early as possible.”); Beccaria, An Essay on Crimes and Punishments, ch.
14 XIX at 73 (5th ed. 1804) (immediate punishment will be more just “because it
15 spares the criminal the cruel and superfluous torment of uncertainty . . .; and
16 because the privation of liberty, being [in and of itself] a punishment, ought to be
17 inflicted before condemnation, but for as short a time as possible”); see also, e.g.,
18 Harmelin v. Michigan, 501 U.S. 957, 966 (1991) (there is no doubt the English
19 Declaration of Rights of 1689, which prohibited “cruel and unusual punishments,”
20 is the “antecedent of our constitutional text[s]”); Ex parte Grossman, 267 U.S. 87,
21 108–09 (1925) (Eighteenth-century English criminal jurisprudence directly
22 relevant to determining what framers intended in drafting Bill of Rights).
23         The framers’ writings confirm that they also viewed such inordinate delay as
24 inherently “cruel and unusual.” See, e.g., 2 Robert Green McCloskey, The Works
25
     204
26     That Kiles has been imprisoned for so long before entering federal-habeas
   proceedings is not his own fault, but is largely attributable to his counsel’s
27 ineffective assistance at Kiles’s initial state-court proceedings, resulting in a new
   trial and delays outside of Kiles’s control between his second trial and sentencing
28 phases.
                                             464
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 481 of 500



 1 of James Wilson at 629–30 (1957); 2 The Papers of John Marshall 208 (Univ. of
 2 N.C. Press 1977) (clemency petition filed by Marshall and others sought
 3 commutation in part because prisoner’s execution was delayed five months).
 4 Historically, then, executing Kiles after nearly 30 years charged with a capital crime
 5 or on death row would have been considered cruel and unusual.
 6         Second, such a punishment is no less cruel and unusual under modern
 7 jurisprudence. The current death-penalty scheme is purported to serve two
 8 purposes: retribution and deterrence. Gregg, 428 U.S. at 183 (joint opinion of
 9 Stewart, Powell, and Stevens, JJ.). But, the “longer the delay, the weaker the
10 justification for imposing the death penalty in terms of punishment’s basic
11 retributive or deterrent purposes.” Knight, 528 U.S. at 990 (mem.) (Breyer, J.,
12 dissenting from denial of certiorari); see also Lackey, 514 U.S. at 1045 (mem.)
13 (Stevens, J., dissenting from denial of certiorari) (“It is arguable that neither
14 [retribution nor deterrence] retains any force for prisoners who have spent some 17
15 years under a sentence of death.”). The lengthy delay between the day of
16 incarceration and the day of execution “can inflict ‘horrible feelings’ and ‘in (sic)
17 immense mental anxiety amounting to a great increase of the offender’s
18 punishment.’” Foster v. Florida, 537 U.S. 990, 992 (2002) (mem.) (Breyer, J.,
19 dissenting from denial of certiorari). After inflicting such anxiety on the petitioner
20 by making him wait long periods before carrying out his death sentence, the State
21 hardly furthers the goal of retribution by finally executing him. See, e.g., District
22 Attorney for the Suffolk Cnty. Dist. v. Watson, 411 N.E.2d 1274, 1287 (Mass. 1980).
23 Further, the added deterrent effect of executing someone who has spent a long time
24 on death row awaiting his execution is slight indeed. See Coleman v. Balkcom, 451
25 U.S. 949, 952 (1981) (mem.) (Stevens, J., respecting denial of certiorari). When the
26 death penalty ceases to realistically further the purposes of retribution and
27 deterrence, its imposition is simply “the pointless and needless extinction of life
28 with only marginal contributions to any discernible social or public purposes.”
                                             465
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 482 of 500



 1 Lackey, 514 U.S. at 1046 (mem.) (Stevens J., dissenting from denial of certiorari)
 2 (quoting Furman, 408 U.S. at 312 (White, J., concurring)). “A penalty with such
 3 negligible returns to the State would be patently excessive and cruel and unusual
 4 punishment violative of the Eighth Amendment.” Id.
 5         Any penological goals served in 1990, when Kiles was first sentenced to
 6 death, no longer apply. Executing Kiles, almost three decades after the crime for
 7 which he was condemned, can have no deterrent or retributive purpose.
 8         Third, the stress of living under threat of death for lengthy periods is so
 9 oppressive that it, on its own, can constitute cruel and inhuman treatment. See infra,
10 Claim 37. Conditions of confinement on death row can be “so degrading and
11 brutalizing to the human spirit as to constitute psychological torture.” People v.
12 Anderson, 493 P.2d 880, 894 (Cal. 1972), superseded as stated in Strauss v. Horton,
13 207 P.3d 48 (Cal. 2009); see also Solesbee v. Balkcom, 339 U.S. 9, 14 (1950)
14 (Frankfurter, J., dissenting) (“[T]he onset of insanity while awaiting execution of a
15 death sentence is not a rare phenomenon.”); In re Medley, 134 U.S. 160, 172 (1890)
16 (“[W]hen a prisoner sentenced by a court to death is confined in the penitentiary
17 awaiting execution of the sentence, one of the most horrible feelings to which he
18 can be subjected during that time is the uncertainty during the whole of it.”).
19 “Whatever one believes about the cruelty of the death penalty itself, this violence
20 done to the prisoner’s mind must afflict the conscience of enlightened government
21 and give the civilized heart no rest.” Watson, 411 N.E.2d at 1291 (Liacos, J.,
22 concurring). Certainly, then, such cruel treatment also renders any further
23 punishment, namely execution, unconstitutional.
24         Finally, Kiles spent 12 years in solitary confinement—in the particularly
25 oppressive conditions that prevailed on Arizona’s death row—after his 2006
26 sentencing. The Supreme Court in 1890 recognized time spent in solitary
27 confinement awaiting execution as “an additional punishment of the most important
28 and painful character,” In re Medley, 134 U.S. 160, 171 (1890) (Brewer and
                                             466
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 483 of 500



 1 Bradley, JJ., dissenting), and “research still confirms what [the] Court suggested
 2 over a century ago: Years on end of near-total isolation exact a terrible price.” Davis
 3 v. Ayala, 135 S. Ct. 2187, 2210 (2015) (Kennedy, J., concurring). Accordingly, the
 4 American Bar Association and the United Nations Special Rapporteur on Torture
 5 have recommended limitations on the use of solitary confinement. See Glossip, 135
 6 S. Ct. at 2765 (Breyer, J., dissenting). Indeed, foreign courts have found that
 7 extended delay in the imposition of a death sentence “renders ultimate execution
 8 inhuman, degrading, or unusually cruel.” Knight, 528 U.S. at 990 (Breyer, J.,
 9 dissenting from denial of certiorari). Execution after 12 years in solitary
10 confinement is cruel and unusual.
11         Given the length of time Kiles has spent on death row, the conditions of
12 confinement, including the unique stress of living under threat of execution,
13 historical understandings of “cruel and unusual” punishment, and the evolving
14 standards of decency, executing Kiles at this time would constitute cruel and
15 unusual punishment in violation of the Eighth and Fourteenth Amendments to the
16 U.S. Constitution.
17                                   Claim Thirty-Five
18         Due process requires that this Court re-evaluate Kiles’s death
           sentence in light of the significant changes to Kiles’s circumstances
19         in the 12 years since he was sentenced.
20         Kiles’s death sentence must be reevaluated to satisfy the due-process and
21 reliability requirements of the Fifth, Eighth, and Fourteenth Amendments to the U.S
22 Constitution. Kiles incorporates by specific reference all facts, allegations, and
23 arguments made elsewhere in this Petition.
24         This claim was not raised in state court because this claim previously was not
25 available or ripe for review, and there is no longer any mechanism for state merits
26 review. See 28 U.S.C. § 2254(b); see also Panetti v. Quarterman, 551 U.S. 930,
27 947 (2007). Because this claim has not been adjudicated by Arizona state courts,
28 the limitations on relief imposed by 28 U.S.C. § 2254(d) do not restrict review, and
                                              467
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 484 of 500



 1 the Court may consider the claim de novo.
 2         Kiles was sentenced to death over 12 years ago; he is currently approaching
 3 60 years of age and has an impeccable prison record. In light of these circumstances,
 4 due process requires that his death sentence be re-evaluated.
 5         “The fundamental requirement of due process is the opportunity to be heard
 6 ‘at a meaningful time and in a meaningful manner.’” Mathews v. Eldridge, 424 U.S.
 7 319, 333 (1976) (quoting Armstrong v. Manzo, 380 U.S. 545, 552 (1965)). A capital
 8 sentencing “must satisfy the requirements of the Due Process Clause,” Gardner v.
 9 Florida, 430 U.S. 349, 358 (1977) (plurality opinion), and capital defendants retain
10 a liberty interest in life even after conviction and sentence, see Ohio Adult Parole
11 Auth. v. Woodard, 523 U.S. 272, 288 (1998) (O’Connor, J., concurring in part and
12 concurring in the judgment, joined by Souter, J., Ginsburg, J., and Breyer, J.); id. at
13 290–91 (Stevens, J., concurring in part and dissenting in part). In accordance with
14 these principles and the heightened reliability requirement for the death penalty, if
15 a defendant’s circumstances change significantly between the time when his death
16 sentence is imposed and the time when it will be carried out, due process requires
17 that the propriety of the sentence be re-evaluated in light of the changed
18 circumstances and characteristics of the defendant. See Kelly v. Brewer, 525 F.2d
19 394, 399–400 (8th Cir. 1975) (finding due process required meaningful periodic
20 reviews of inmates in segregation to determine if segregation is still appropriate).
21         The Court should consider whether a capital sentence is still appropriate for
22 Kiles. Since Kiles was sentenced in 2006, he has been successfully incarcerated,
23 and he has demonstrated that he is non-violent in a structured prison setting.
24 Moreover, he has been a model of good behavior. See State v. Watson, 628 P.2d
25 943, 945 (Ariz. 1981) (setting aside death sentence in part because of defendant’s
26 good conduct while in prison); State v. Richmond, 886 P.2d 1329, 1336–37 (Ariz.
27 1994) (reducing death sentence to life imprisonment in part because of defendant’s
28 changed character), abrogated on other grounds by State v. Mata, 916 P.2d 1035
                                              468
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 485 of 500



 1 (Ariz. 1996).
 2         Recently, Arizona made significant changes to the housing of death-row
 3 prisoners; these changes diminish the differences between the incarceration
 4 conditions of those sentenced to life without the possibility of parole and those
 5 sentenced to death. See generally Gabriella Robles, Condemned to Death—And
 6 Solitary Confinement, The Marshall Project (July 23, 2017), https://www.
 7 themarshallproject.org/2017/07/23/condemned-to-death-and-solitary-confinement
 8 (explaining policy change allowing death-row prisoners with suitable disciplinary
 9 records to be housed in lower-security settings). Under the old rules, death-row
10 prisoners were automatically classified as maximum security and kept in solitary
11 confinement. New rules permit death-row prisoners who do not pose a security
12 threat to be kept in lower-security settings with more out-of-cell time, contact visits
13 with family and legal counsel, outdoor group recreation, and the opportunity to
14 work or take education courses. In recognition of Kiles’s consistently good
15 behavior on death row, Kiles was granted close-custody status and moved to the
16 lower-security facility. He continues to do well in this setting.
17         In addition, since his reclassification, the Arizona Department of Corrections
18 has entrusted Kiles to be an aide for another prisoner constrained by disability
19 issues. Kiles assists the prisoner with reading and writing, cleans his cell for him,
20 and ensures that he is able to participate in activities. Kiles has therefore contributed
21 to smooth functioning of the prison and to the well-being of the prison community.
22         Kiles is now approaching 60 years of age. He is not the same person who was
23 sentenced to death in 2006 and certainly not the same person he was when first
24 sentenced to death in 1990. He has not committed any violence in this setting, is
25 unlikely to do so in the future, and should be able to continue being of assistance to
26 others, especially given that he is incarcerated with an aging population
27 increasingly in need of such aid. Due process dictates that Kiles have the
28 appropriateness of his death sentence re-evaluated in light of the changes that have
                                               469
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 486 of 500



 1 occurred since he was sentenced. At an evidentiary hearing, Kiles will demonstrate
 2 that these changes are significant and that they change the calculus of whether his
 3 death sentence is an appropriate punishment. Accordingly, Kiles is entitled to relief.
 4                                    Claim Thirty-Six
 5         Executing Kiles is unconstitutional because he has a serious mental
           illness.
 6
 7         Because Kiles has a serious mental illness, his sentence of death violates the
 8 Fifth, Sixth, Eighth, and Fourteenth Amendments to the U.S. Constitution. Kiles
 9 incorporates by specific reference all facts, allegations, and arguments made
10 elsewhere in this Petition.
11         This claim was not raised in state court. Kiles alleges he can overcome any
12 default of this claim by showing that it was caused by the ineffective assistance of
13 appellate and state post-conviction counsel and that he was prejudiced by the
14 default. See Martinez, 566 U.S. at 9; Carpenter, 529 U.S. at 453; but see Davila,
15 137 S. Ct. at 2058. Kiles will demonstrate at an evidentiary hearing that appellate
16 and post-conviction counsel’s performance fell below the standards of minimally
17 competent capital attorneys and that their failures prejudiced him. Alternatively, he
18 alleges that any procedural bar is neither adequate nor independent and that
19 imposing default would be a miscarriage of justice. Because this claim has not been
20 adjudicated on the merits by the Arizona state courts, the barrier to relief imposed
21 by 28 U.S.C. § 2254(d) does not apply, and the Court may consider the merits of
22 the claim de novo.
23         Kiles suffers from serious mental illness. Though experts differed on their
24 specific diagnoses at his trial, they all agreed that Kiles suffered from serious mental
25 illness. (See Tr. May 22, 2006 at 32–34 (counsel listing in closing the experts’
26 various mental-illness diagnoses).) Additional experts hired in state post-conviction
27 proceedings similarly found that Kiles was mentally ill. (See ROA 1189 at 60.) As
28 a result of Kiles’s serious mental illness discussed throughout this Petition, he
                                              470
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 487 of 500



 1 suffered substantial impairment of his ability to appreciate and understand the
 2 actions of others, to act rationally, to make fully reasoned decisions, and to
 3 otherwise conform his conduct to the requirements of the law and societal norms.
 4 The imposition of the death penalty on an individual like Kiles, who suffers from
 5 mental illness that limits his ability to modulate or control his behavior, violates his
 6 right to be free from cruel and unusual punishment, and his rights to a fair trial, due
 7 process, equal protection, and punishment that is not arbitrarily, wantonly, and
 8 capriciously imposed, as guaranteed by the Fifth, Sixth, Eighth, and Fourteenth
 9 Amendments.
10         The Eighth Amendment precludes the imposition of punishments that are
11 “cruel and unusual,” as assessed according to the “evolving standards of decency
12 that mark the progress of a maturing society.” Trop, 356 U.S. at 100, 101. “The
13 Eighth Amendment ‘is not fastened to the obsolete but may acquire meaning as
14 public opinion becomes enlightened by a humane justice.’” Hall v. Florida, 134 S.
15 Ct. 1986, 1992 (2014) (quoting Weems v. United States, 217 U.S. 349, 378 (1910)).
16 The evolving standards of decency embodied in the Eighth and Fourteenth
17 Amendments demand that the imposition of the death penalty on seriously mentally
18 ill defendants be recognized as unconstitutional.
19         Whether someone is constitutionally eligible for the death penalty under the
20 Eighth Amendment turns on whether he is sufficiently “culpable” to deserve such
21 a penalty. See, e.g., Tison v. Arizona, 481 U.S. 137, 149 (1987); California v.
22 Brown, 479 U.S. 538, 545 (1987) (O’Connor, J., concurring). Personal culpability
23 hinges upon a defendant’s ability to make fully reasoned decisions and conform his
24 behavior to societal norms. Thompson v. Oklahoma, 487 U.S. 815, 835 (1988)
25 (plurality opinion). Moreover, in order for the death penalty to be constitutional, it
26 must serve either the goal of retribution or that of deterrence of capital crimes; when
27 it does not, “it ‘is nothing more than the purposeless and needless imposition of
28 pain and suffering,’ and hence an unconstitutional punishment.” Enmund v.
                                              471
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 488 of 500



 1 Florida, 458 U.S. 782, 798 (1982) (quoting Coker v. Georgia, 433 U.S. 584, 592
 2 (1977) (plurality opinion)). Based on these considerations, in Atkins, 536 U.S. at
 3 304, Simmons, 543 U.S. at 551, and Ford v. Wainwright, 477 U.S. 399 (1986), the
 4 Supreme Court ruled categorically unconstitutional the execution of, respectively,
 5 intellectually disabled individuals, juveniles, and those who are incompetent.
 6         The reasoning underlying Atkins and Simmons, in particular, applies with
 7 equal force to a person who suffers from serious mental illness like Kiles. Those
 8 who are seriously mentally ill are defined by characteristics that diminish their
 9 culpability in precisely the ways the Supreme Court has relied on in establishing
10 the categorical exemptions in Atkins and Simmons. “The diminished capacity of the
11 intellectually disabled lessens moral culpability and hence the retributive value of
12 the punishment.” Hall, 134 S. Ct. at 1993. For example, in Atkins, one cited
13 characteristic that decreased the culpability of people with intellectual disability
14 was “significant limitations in adaptive skills such as communication, self-care, and
15 self-direction.” 536 U.S. at 318. Serious mental illness similarly results in extreme
16 functional impairments and limitations in adaptive behavior. See Helen Shin, Note,
17 Is the Death of the Death Penalty Near? The Impact of Atkins and Roper on the
18 Future of Capital Punishment for Mentally Ill Defendants, 76 Fordham L. Rev. 465,
19 488 (2007). The Atkins Court also focused on the cognitive deficiencies suffered by
20 the intellectually disabled. Atkins, 536 U.S. at 320. Mentally ill individuals typically
21 experience disorganized thinking and “deficits in sustaining attention and
22 concentration.” Indiana v. Edwards, 544 U.S. 164, 176 (2008). The nature of the
23 impairments relied on in Atkins and Simmons as indicators of lessened culpability
24 are directly analogous to the impairments suffered by the seriously mentally ill.
25         Moreover, in holding the death penalty unconstitutional for juveniles, the
26 Supreme Court reasoned that the limitations of juveniles make them less likely to
27 engage in the “cost-benefit analysis that attaches any weight to the possibility of
28 execution.” Simmons, 543 U.S. at 571–72 (quoting Thompson, 487 U.S. at 837).
                                              472
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 489 of 500



 1 The same is true of those with serious mental illness. They suffer from directly
 2 comparable deficits in cognitive and adaptive functioning, thus the distant
 3 possibility of execution does not act as an effective deterrent. Any decision-making
 4 process is infected by the deficits in perception that are characteristic of serious
 5 mental illness; in short, “[c]ertainly no one believes that the death penalty can deter
 6 people from becoming psychotic.” Amnesty Int’l, United States of America: The
 7 Execution of Mentally Ill Offenders 50, Al Index AMR 51/003/2006 (Jan. 2006),
 8 www.amnesty.org/en/documents/AMR51/003/2006/en/.
 9         A person who is seriously mentally ill is also likely to have his or her rights
10 to a fair trial and to the effective assistance of counsel compromised by illness. The
11 Supreme Court has reasoned that the intellectually disabled face “a special risk of
12 wrongful execution” because they are more likely to give false confessions, are
13 often poor witnesses, and are less able to give meaningful assistance to their
14 counsel. Hall, 134 S. Ct. at 1993 (quoting Atkins, 536 U.S. at 320–21). The same is
15 true of those with serious mental illness. See, e.g., Brandon L. Garrett, The
16 Substance of False Confessions, 62 Stan. L. Rev. 1051, 1067 (2010) (“[P]olice have
17 long known that suspects may admit to crimes that they did not commit for a range
18 of reasons, including mental illness.”).
19         Finally, both legal and professional mental-health organizations have
20 expressed their opposition to the execution of the seriously mentally ill. The ABA
21 and most major mental health professional associations in the United States
22 recognize that executing mentally ill persons serves no penological purpose, and
23 advocate an end to executing mentally ill offenders. See, e.g., ABA, Death Penalty
24 Representation Project, Mental Illness Resolution (2006), www.americanbar.org/
25 groups/committees/death_penalty_representation/resources/dp-policy/mental-illne
26 ss-2006.html;     Am.     Psychiatric   Ass’n    Position    Statement,    Diminished
27 Responsibility in Capital Sentencing (2004).
28         The imposition of the death penalty on the seriously mentally ill, like its
                                              473
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 490 of 500



 1 imposition on the intellectually disabled, juveniles, and incompetent, does not
 2 further either retribution or deterrence. It amounts to the infliction of gratuitous
 3 suffering. As executing Kiles, who is seriously mentally ill, serves no cognizable
 4 penological end, Kiles’s sentence is unconstitutional, and he is entitled to relief.
 5                                   Claim Thirty-Seven
 6         Subjecting Kiles to execution in Arizona will deny his fundamental
           human rights under binding international law norms.
 7
 8         The death penalty as carried out in Arizona denies Kiles’s fundamental
 9 human rights under international law and thereby violates the Eighth Amendment
10 to the U.S. Constitution. Kiles incorporates by specific reference all facts,
11 allegations, and arguments made elsewhere in this Petition.
12         This claim was not raised in state court. Kiles alleges he can overcome any
13 default of this claim by showing cause and prejudice, including because of the
14 ineffective assistance of appellate and state post-conviction counsel. See Martinez,
15 566 U.S. at 9; Carpenter, 529 U.S. at 453; Strickland, 466 U.S. at 687–88; but see
16 Davila, 137 S. Ct. at 2058. Appellate and post-conviction counsel’s performance
17 fell below the standards of minimally competent capital attorneys and prejudiced
18 Kiles; alternatively, any procedural bar is neither adequate nor independent, and
19 imposing default would be a miscarriage of justice.205 As this claim has not been
20
     205
       Procedural default and other bars to this claim are themselves a violation of
21 international law in a capital case. See Germany v. United States, 2001 I.C.J. 466
22 (2001); Mexico v. United States, 2004 I.C.J. 12 (2004); IACHR, Report No. 78/15,
   Case 12.831. Merits (Publication). Kevin Cooper. United States. Oct. 28, 2015, at
23 ¶ 125. AEDPA and the doctrines of exhaustion and procedural default restrict
   safeguards that ensure Kiles a full and effective review of his trial and sentence,
24 bringing the United States in violation of its obligations under the International
   Covenant on Civil and Political Rights [“ICCPR”], adopted Dec. 19, 1966, 999
25 U.N.T.S. 171 (entered into force Mar. 23, 1976). Under Article 6, “Every human
26 being has the inherent right to life. This right shall be protected by law. No one shall
   be arbitrarily deprived of his life.” Per the Safeguards Guaranteeing Protections of
27 the Rights of those Facing the Death Penalty, the United Nations council clarified:
   “Capital punishment may only be carried out . . . after legal process which gives all
28 possible safeguards to ensure a fair trial[.]” E.S.C. Res. 1948/50, U.N. ESCOR,
                                              474
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 491 of 500



 1 adjudicated on the merits, the limitations on relief imposed by 28 U.S.C. § 2254(d)
 2 do not apply to this Court’s review, and the Court may consider the merits of the
 3 claim de novo.
 4         First, Kiles’s prolonged stay on death row violates his basic human rights as
 5 guaranteed under international law. Kiles was first sentenced to death in 1990 (see
 6 ROA 174 at 3–5); he has remained in prison since that time and has been on death
 7 row for approximately twenty years (see ROA 345 at 1; ROA 924 at 3–4). The
 8 Inter-American human-rights system has previously found that keeping those
 9 sentenced to death on death row for a significant amount of time amounts to a denial
10 of an individual’s human rights. In Hilaire, Constantine and Benjamin et al. v.
11 Trinidad and Tobago, Judgment of June 21, 2002. (Ser. C) No. 94, ¶ 170, the Inter-
12 American Court of Human Rights found that the harsh conditions on death row over
13 extended periods “impinge[d] on the [prisoners’] physical and psychological
14 integrity and therefore constitute[d] cruel, inhuman and degrading treatment.” The
15 European Court of Human Rights has held similarly, finding that “the
16 foreknowledge of death at the hands of the State must inevitably give rise to intense
17 psychological suffering.” Detaining prisoners on death row for extended periods
18 thus violates Article 3 of the European Charter of Human Rights, “which prohibits
19 torture and inhumane or degrading treatment or punishment.” Al-Saadoon and
20 Mufdhi v. United Kingdom, App. No. 61498/08, Eur. Ct. H.R., ¶ 137 (Apr. 10,
21 2010).
22         Other nations that retain the death penalty have limited the time a prisoner
23 can remain on death row before such detention violates a prisoner’s human rights.
24 In Uganda, for example, it is three years on death row after the sentence is finalized;
25
26 Supp. No. 1, at 33, U.N. Doc. E/1984/92, 5 (1984). Additionally, “‘arbitrariness’ is
   not to be equated with ‘against the law’, but must be interpreted more broadly to
27 include elements of inappropriateness, injustice and lack of predictability.” U.N.
   Doc. CCPR/C/39/D/305/1988, Hugo van Alphen v. the Netherlands, adopted 23
28 July 1990.
                                              475
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 492 of 500



 1 in Zimbabwe, it is four and one-half years. See Supreme Court of Uganda in
 2 Attorney General v. Susan Kigula and 417 others (Constitutional Appeal No. 3 of
 3 2006), 2009 (holding that it is unconstitutional to execute a prisoner who has spent
 4 over three years on death row after his sentence is final); Judgment of the Supreme
 5 Court of Zimbabwe of June 24, 1993 in Catholic Commissioner for Justice and
 6 Peace in Zimbabwe v. Attorney General (4) SA 239 (ZS). Kiles has been either on
 7 death row or facing capital charges for nearly 30 years, a clear violation of his
 8 human rights as protected by international law.
 9         Second, the death penalty as carried out in Arizona is a per se violation of
10 international law norms. Subjecting Kiles to death by lethal injection or lethal gas
11 is nonconsensual human experimentation and a grave violation of the customary
12 international law norms as originally set out in the Nuremberg Code.206 See, e.g.,
13 Ben Crair, Lethal Entanglements, The New Republic (May 20, 2015), https://
14 newrepublic.com/article/121845/lethal-injection-has-become-testing-ground-toxic
15 -drugs (reporting that Arizona executed death-row prisoner with an illegal drug).
16 The Commentary to the Geneva Convention Relative to the Protection of Civilian
17 Persons in Time of War makes explicit that medical experimentation must be
18 consensual, and “[p]rotected persons must not in any circumstances be used as
19 ‘guinea pigs’ for medical experiments.” Commentary on the Geneva Conventions
20 of 12 August 1949: IV Geneva Convention Relative to the Protection of Civilian
21 Persons in Time of War 224 (Oscar Uhler and Henri Coursier eds., 1958). Under
22 United States law, “protected persons” include those in vulnerable positions, such
23 as prisoners. Cf. 45 C.F.R. § 46.302; 43 Fed. Reg. 53652 (Nov. 16, 1978).
24         Nonconsensual human experimentation is prohibited by a wide range of
25 treaties and agreements, as well as by customary international law. See generally
26   206
       In Arizona, death sentences are inflicted by lethal injection. See A.R.S. Const.
27 art. 22 § 22. Because, however, Kiles’s crime predated the adoption of that
   constitutional provision, Kiles will have the choice between lethal injection and
28 lethal gas. See id.
                                            476
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 493 of 500



 1 Abdullahi v. Pfizer, 562 F.3d 163 (2d Cir. 2009). Article 7 of the ICCPR reads, “No
 2 one shall be subjected to torture or to cruel, inhuman or degrading treatment or
 3 punishment. In particular, no one shall be subjected without his free consent to
 4 medical or scientific experimentation.” 999 U.N.T.S. 171.207 Arizona is currently
 5 under a stipulated agreement to not utilize a specific lethal-injection method in
 6 executions. See Order for Dismissal of Claim One, First Amendment Coal. of Ariz.
 7 v. Ryan, No. 2:14-CV-01447-NVW (D. Ariz. Dec. 22, 2016), ECF No. 155; Order
 8 for Dismissal of Claims Six and Seven, First Amendment Coal. of Ariz. v. Ryan,
 9 No. 2:14-CV-01447-NVW (D. Ariz. June 22, 2017), ECF No. 187. However,
10 nothing is preventing the State from moving forward under a new, untested
11 execution protocol. This puts Kiles at risk of being subject not only to
12 nonconsensual human experimentation, but also to torture, should the experimental
13 method not proceed as the State intends. See Filártiga v. Peña-Irala, 630 F.2d 876,
14 884 (2d Cir. 1980) (“[W]e conclude that official torture is now prohibited by the
15 law of nations. The prohibition is clear and unambiguous.”).
16         As early as 1900, the Supreme Court recognized that “[i]nternational law is
17 part of our law, and must be ascertained and administered by the courts of justice
18 of appropriate jurisdiction, as often as questions of right depending upon it are duly
19 presented for their determination.” The Paquete Habana, 175 U.S. 677, 700 (1900).
20 International legal norms have binding effect where it is “accepted and recognized
21 by the international community of states as a whole as a norm from which no
22 derogation is permitted and which can be modified only by a subsequent norm of
23 general international law having the same character.” Siderman de Blake v.
24 Republic of Argentina, 965 F.2d 699, 714 (9th Cir. 1992). Pursuant to binding
25 international law norms, (1) the constraints imposed by AEDPA on habeas
26
27   207
      The treaty makes clear that this right is non-derogable; even those who have
   been convicted of crimes may not be stripped of this right and involuntarily
28 experimented upon by the State.
                                             477
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 494 of 500



 1 proceedings, see Section VI, supra, (2) the prolonged period of time a person
 2 spends on death row, and (3) the experimental and nonconsensual nature of
 3 executions violate basic human rights. Accordingly, the death penalty, as applied
 4 in Arizona, violates the Eighth and Fourteenth Amendments to the U.S.
 5 Constitution.
 6         Further, the Supreme Court has explained that the Eighth Amendment’s
 7 prohibition on cruel and unusual punishments takes into account “the evolving
 8 standards of decency” as reflected, in part, by international legal norms. Simmons,
 9 543 U.S. at 560–61; id. at 575 (“[A]t least from the time of the Court’s decision in
10 Trop [356 U.S. at 86], the Court has referred to the laws of other countries and to
11 international authorities as instructive for its interpretation of the Eighth
12 Amendment’s prohibition of ‘cruel and unusual punishments.’”). While the
13 international community has largely evolved away from capital punishment,
14 Arizona has remained committed to this irrevocable sanction—and has become an
15 outlier in a world that regards the death penalty as a violation of fundamental human
16 rights. Amnesty International, Global Report: Death Sentences and Executions
17 2017 5 (Apr. 2018), https://www.amnesty.org/download/Documents/ACT
18 5079552018ENGLISH.PDF (reporting that by the end of 2017, “106 countries had
19 abolished the death penalty in law for all crimes and 142 countries had abolished
20 the death penalty in law or practice,” while “[o]nly an isolated minority of countries
21 continue to resort to executions”).
22         Because the U.S. Constitution specifies that states are bound by international
23 treaties, see U.S. Const. art. VI, cl. 2, and because the constitutionality of Arizona’s
24 death penalty must be measured against the “evolving standards of decency that
25 mark the progress of a maturing society,” Trop, 356 U.S. at 101, Kiles’s sentence
26 is unconstitutional. He is entitled to relief.
27
28
                                               478
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 495 of 500



 1                                   Claim Thirty-Eight
 2         Kiles will be unable to receive a fair clemency process in Arizona.
 3         Kiles will be denied a fair clemency process, in violation of the Eighth and
 4 Fourteenth Amendments to the U.S. Constitution. Kiles incorporates by specific
 5 reference all facts, allegations, and arguments made elsewhere in this Petition.
 6         Kiles has not yet presented this claim to the state courts, as his opportunity
 7 to seek executive clemency has not yet become ripe. He presents this claim now in
 8 order to avoid difficulties with raising this claim in future habeas proceedings. See
 9 Stewart v. Martinez-Villareal, 523 U.S. 637, 643–46 (1998).
10         Under Arizona law, Kiles has the right to seek executive clemency before
11 execution. See Ariz. Const. art. V, § 5; A.R.S. §§ 31-401–31-403 (2016). Clemency
12 is, in effect, part of the constitutional scheme that ensures the reliability of criminal
13 convictions and the propriety of sentences. See Herrera v. Collins, 506 U.S. 390,
14 415 (1993). Accordingly, Kiles has a due-process liberty interest in the impartiality
15 of the system by which clemency may be afforded to him. See generally Mathews
16 v. Eldridge, 424 U.S. 319 (1976).
17         Contrary to the dictates of due process, Kiles’s clemency proceedings will
18 not be impartial. Arizona’s Board of Executive Clemency (“the Board”) consists of
19 five members appointed by the Governor, who also designates the Board’s
20 chairman. A.R.S. § 31-401(A), (F). The Governor can remove Board members for
21 cause. Id. § 31-401(E). Pursuant to statute, the Attorney General’s Office, which
22 advocated for Kiles’s death at trial, on appeal, and in state post-conviction
23 proceedings, is involved with training Board members regarding their duties. Id.
24 § 31-401(C). On information and belief, Kiles asserts that both the selection process
25 for members of the Board and the conflicting roles of the Attorney General’s
26 Office—as his litigation adversary and as the office that trains the arbiters of
27 clemency—will work to deprive him of a fair clemency proceeding. See Concrete
28 Pipe & Prods. of Cal., Inc. v. Constr. Laborers Pension Trust for S. Cal., 508 U.S.
                                               479
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 496 of 500



 1 602, 617–18 (1993) (declaring that due process demands a neutral arbiter). Without
 2 judicial review of the bias inherent in the clemency process, Kiles will not have an
 3 opportunity to vindicate his right to a fair and impartial clemency proceeding. For
 4 these reasons, Arizona’s clemency procedures do not comport with the procedural
 5 due-process protections guaranteed to Kiles by the Eighth and Fourteenth
 6 Amendments to the U.S. Constitution, and he is entitled to relief.
 7                                  Claim Thirty-Nine
 8         Kiles’s convictions and sentences must be vacated because of the
           cumulative prejudicial effect of all of the errors in this case.
 9
10         The cumulative prejudice of the constitutional errors in Kiles’s case demands
11 that his convictions and sentences be vacated under the Fifth, Sixth, Eighth, and
12 Fourteenth Amendments to the U.S. Constitution. Kiles incorporates by specific
13 reference all facts, allegations, and arguments made elsewhere in this Petition. He
14 also re-urges and incorporates by specific reference all objections, arguments, and
15 claims of error made at trial, on appeal, and during post-conviction proceedings.
16         Kiles presented this claim below. (See ROA 1189 at 23, 25, 61; PFR2 Dkt. 1
17 at 23, 25, 61.) If the state court is deemed to have adjudicated this claim on the
18 merits, the denial of this claim (1) was contrary to, or involved an unreasonable
19 application of, clearly established federal law, and (2) was based on an
20 unreasonable determination of the facts. 28 U.S.C. § 2254(d). Should this Court
21 consider this claim defaulted, Kiles alleges he can overcome any default of this
22 claim by showing cause and prejudice, including because of the ineffective
23 assistance of appellate and state post-conviction counsel. See Martinez, 566 U.S. at
24 9; Carpenter, 529 U.S. at 453; Strickland, 466 U.S. at 687–88; but see Davila, 137
25 S. Ct. at 2058. Alternatively, any procedural bar is neither adequate nor
26 independent, and imposing default would be a miscarriage of justice. If this claim
27 was not adjudicated on the merits below, the limitations on relief imposed by 28
28 U.S.C. § 2254(d) do not apply to this Court’s review, and the Court may consider
                                             480
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 497 of 500



 1 the merits of the claim de novo.
 2         The combination of errors in this case, discussed in the preceding claims,
 3 deprived Kiles of such rights as his rights to a fair trial, trial by impartial jury, equal
 4 protection, due process, effective assistance of counsel, freedom from cruel and
 5 unusual punishment, presentation of a complete defense, confrontation, a reliable
 6 determination at both the guilt and penalty phases, and fundamental fairness. Even
 7 if the errors are deemed harmless when viewed individually, their cumulative effect
 8 substantially prejudiced Kiles and undermined the fairness and reliability of his
 9 proceedings.
10         Even in cases where no single trial error examined on its own is sufficiently
11 prejudicial to warrant reversal, the cumulative effect of multiple errors may still
12 prejudice a defendant. See, e.g., Parle v. Runnels, 505 F.3d 922, 934 (9th Cir. 2007)
13 (affirming grant of habeas relief based on the cumulative prejudicial effect of
14 multiple errors); Alcala v. Woodford, 334 F.3d 862, 894–95 (9th Cir. 2003) (same);
15 Duckett v. Mullin, 306 F.3d 982, 992 (10th Cir. 2002) (“[T]he ‘cumulative effect of
16 two or more individually harmless errors has the potential to prejudice a defendant
17 to the same extent as a single reversible error.’” (quoting United States v. Rivera,
18 900 F.2d 1462, 1469 (10th Cir. 1990))). When evaluating cumulative error, while
19 only guilt-phase errors are relevant to Kiles’s convictions, “all errors are relevant
20 to the sentence.” Darks v. Mullin, 327 F.3d 1001, 1018 (10th Cir. 2003); see also
21 Satterwhite v. Texas, 486 U.S. 249, 261 (1988) (Marshall, J., concurring).
22         In this case, as a result of the cumulative effect of the errors in the guilt and
23 penalty phases, Kiles’s convictions and sentences were unlawfully and
24 unconstitutionally imposed. The aggregate harm of these constitutional violations
25 warrants granting this petition without any determination of whether these
26 violations substantially affected or influenced the jury’s verdict. See Brecht, 507
27 U.S. at 638 n.9. Further, these constitutional violations so infected the integrity of
28 the proceedings that the errors cannot be deemed harmless, and they did in fact have
                                                481
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 498 of 500



 1 a substantial and injurious effect on the guilt and penalty judgments. Considering
 2 all the errors above, this Court should conclude that Kiles was denied fair and
 3 reliable proceedings and grant him habeas relief.
 4                                 PRAYER FOR RELIEF
 5         WHEREFORE, Kiles respectfully prays this Court to do the following:
 6         1.     Order that Kiles be granted leave to conduct discovery pursuant to
 7 Rule 6 of the Rules Governing Section 2254 Cases and permit him to use the
 8 processes of discovery set forth in Federal Rules of Civil Procedure 26 through 37,
 9 to the extent necessary to fully develop and identify the facts supporting his Petition
10 and any defenses thereto raised by Respondents’ answer;
11         2.     Order that upon completion of discovery, Kiles be granted leave to
12 amend his Petition to include any additional claims or allegations not presently
13 known to him or his counsel, which are identified or uncovered in the course of
14 discovery, and that Kiles be granted leave to expand the record pursuant to Rule 7
15 of the Rules Governing Section 2254 Cases to include additional materials related
16 to the Petition;
17         3.     Grant an evidentiary hearing pursuant to Rule 8 of the Rules
18 Governing Section 2254 Cases, at which proof may be offered concerning the
19 allegations set forth in this Petition;
20         4.      Issue a writ of habeas corpus to have Kiles brought before this Court,
21 to the end that he may be discharged from his unconstitutional confinement and
22 restraint;
23         5.      In the alternative to the relief requested in Paragraph 4, if this Court
24 should deny the relief as requested in Paragraph 4, issue a writ of habeas corpus to
25 have Kiles brought before this Court to the end that he may be relieved of his
26 unconstitutional sentences; and
27         6.     Grant such other relief as may be appropriate and dispose of the matter
28 as law and justice require.
                                              482
     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 499 of 500



1         Respectfully submitted this 26th day of September, 2018.
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                                         Jon M. Sands
3                                        Federal Public Defender
4                                        District of Arizona
5
                                         Mridula S. Raman
6                                        Sara Chimene-Weiss
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9                                        By s/Mridula S. Raman
                                         Counsel for Petitioner
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     Case 2:17-cv-04092-GMS Document 33 Filed 09/26/18 Page 500 of 500



1                                Certificate of Service
2         I hereby certify that on September 26, 2018, I electronically filed the
3 foregoing Petition for Writ of Habeas Corpus with the Clerk’s Office by using the
4 CM/ECF system. I certify that all participants in the case are registered CM/ECF
5 users and that service will be accomplished by the CM/ECF system.
6
7 s/ Catherine Jacobs
  Assistant Paralegal
8
  Capital Habeas Unit
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